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                                                       capacity as    Attorney General
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                                                                               General of
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                                     CFIUS CASE 20-100
                                                20-100
                                             Presentation to
                                             Presentation to the Committee on
                                                             the Committee   on Foreign
                                                                                Foreign
                                                  Investment in
                                                  Investment  in the United States
                                                                 the United States
                                                                                            September 17,
                                                                                            September 17, 2021
                                                                                                          2021

ByteDance Participants
ByteDance  Participants                                                  Oracle Participants (telephonic)
                                                                         Oracle Participants (telephonic)                                          Counsel
                                                                                                                                                   Counsel
• Erich
•    Erich Andersen
           Andersen –  — General
                         General Counsel
                                 Counsel and
                                         and Head
                                             Head of
                                                  of Corporate Affairs
                                                     Corporate Affairs   • Edward
                                                                         •    Edward Screven
                                                                                        Screven — – Chief Corporate Architect
                                                                                                    Chief Corporate Architect                      • Michael
                                                                                                                                                   •            Leiter (Skadden),
                                                                                                                                                       Michael Leiter             David Fagan
                                                                                                                                                                       (Skadden), David Fagan (Covington),
                                                                                                                                                                                                (Covington), Brian Williams
                                                                                                                                                                                                             Brian Williams
••   Vanessa Pappas
     Vanessa Pappas (telephonic)
                    (telephonic) –
                                 — TikTok
                                   TikTok Chief
                                          Chief Operating
                                                Operating Officer
                                                          Officer        • Craig
                                                                         •    Craig Stephen
                                                                                     Stephen –    Senior Vice
                                                                                                — Senior Vice President,
                                                                                                              President, Research
                                                                                                                         Research and
                                                                                                                                   and Development
                                                                                                                                       Development     (Covington), Tatiana
                                                                                                                                                       (Covington),         Sullivan (Skadden),
                                                                                                                                                                    Tatiana Sullivan (Skadden), Katie
                                                                                                                                                                                                  Katie Clarke (Skadden),
                                                                                                                                                                                                        Clarke (Skadden),
••   Will Farrell
     Will Farrell –
                  — TikTok Head of
                    TikTok Head of Global
                                   Global Cyber
                                          Cyber and Data Defense
                                                and Data Defense         • Scott
                                                                         •    Scott Gaetjen
                                                                                     Gaetjen — – Vice
                                                                                                 Vice President,
                                                                                                      President, Cloud
                                                                                                                 Cloud Chief
                                                                                                                       Chief Architect
                                                                                                                             Architect                 and B.J.
                                                                                                                                                       and      Altvater (Covington)
                                                                                                                                                           B.J. Altvater (Covington) on
                                                                                                                                                                                     on behalf
                                                                                                                                                                                        behalf of ByteDance
                                                                                                                                                                                               of ByteDance
••   Matt Penarczyk —
     Matt Penarczyk – TikTok
                      TikTok Head
                             Head of Legal, Americas
                                  of Legal, Americas                     •
                                                                         •    Brian Higgins
                                                                              Brian Higgins -– Senior Vice President,
                                                                                               Senior Vice President, Legal
                                                                                                                      Legal                       •
                                                                                                                                                  •    Giovanna Cinelli
                                                                                                                                                       Giovanna Cinelli and Christian Kozlowski
                                                                                                                                                                        and Christian Kozlowski from
                                                                                                                                                                                                from Morgan
                                                                                                                                                                                                     Morgan Lewis
                                                                                                                                                                                                            Lewis on
                                                                                                                                                                                                                  on
••   Sarah Aleem
     Sarah Aleem —
                 – TikTok
                   TikTok Senior
                          Senior Legal
                                 Legal Counsel,
                                       Counsel, North America
                                                North America                                                                                          behalf
                                                                                                                                                       behalf of
                                                                                                                                                              of Oracle
                                                                                                                                                                 Oracle




                                                                                                     APP-262
                                                                                                     APP-262
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Topics for Today's
Topics for Today’s Discussion
                   Discussion


        Key objectives
        Key objectives in
                       in designing the governance
                          designing the            model for
                                        governance model for TikTok
                                                             TikTok operations
                                                                    operations in
                                                                               in the
                                                                                  the United
                                                                                      United
    1
    1
        States
        States


    2
    2   Overview
        Overview of
                 of proposed
                    proposed governance model for
                             governance model for TikTok
                                                  TikTok operations
                                                         operations in
                                                                    in the
                                                                       the United
                                                                           United States
                                                                                  States



    3
    3   Conclusions and Q&A
        Conclusions and Q&A




                                              APP-263
                                              APP-263                                          2
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Key Governance
Key Governance Objectives
               Objectives

 0    Safeguard Protected
      Safeguard
      influence
                  Protected Data,
                             Data, provide
                (together, the
      influence (together,
                                   provide software
                           the "National
                                           software assurance,
                               “National Security
                                                    assurance, and
                                         Security Functions").
                                                  Functions”).
                                                               and defend
                                                                   defend against malign foreign
                                                                          against malign foreign




 44   Maintain a
      Maintain   global, interoperable
               a global,               short-form video
                         interoperable short-form video platform
                                                        platform business that ensures
                                                                 business that ensures continued
                                                                                       continued
      consistency
      consistency between    U.S. and
                  between U.S.    and non-U.S.
                                      non-U.S. user  experiences.
                                                user experiences.




      Implement an
      Implement   an operationally feasible agreement
                     operationally feasible agreement that
                                                      that has
                                                           has robust, sustainable compliance
                                                               robust, sustainable            and
                                                                                   compliance and
      oversight functions as
      oversight functions as the
                             the business   evolves.
                                 business evolves.




                           Business Confidential FIFkrww-
                           Business Confidentl   – Pursuant    to 50
                                                            ituto 50 U.S.C.
                                                                     U.S.C. §  4565
                                                                             § 4565
                             Protected from D
                             Protected from    APP-264
                                                  pr.ffir Under
                                            Disclosure      Eibr 55 U.S.C.
                                                                    U.S.C. §
                                                                           § 552
                                                                             552                       3
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I   Development of
    Development
    Questions
                of Governance
              Presented
    Questions Presented
                              Model
                   Governance Model
                                      Key Considerations
                                      Key Considerations

                                      •• Identify
                                         Identify U.S.
                                                  U.S. user
                                                       user data and who
                                                            data and who needs
                                                                           needs access
                                                                                  access toto itit
                                      •• Deploy
                                         Deploy ByteDance
                                                  ByteDance software
                                                             software code   securely for
                                                                      code securely    for the
                                                                                           the appapp and
                                                                                                       and back-end
                                                                                                           back-end
    How do
    How  do we
             we secure
                secure the U.S.
                       the U.S.
                                      •• Provide
                                         Provide day-to-day  operation of
                                                  day-to-day operation     the platform
                                                                        of the platform
    National Security
    National Security Functions
                      Functions for
                                for
                                      •• Understand
                                         Understand andand address
                                                           address national
                                                                   national security
                                                                             security concerns      related to
                                                                                      concerns related      to content
                                                                                                               content
    a global
    a global platform?
             platform?
                                      Must identify
                                      Must identify the right resources,
                                                    the right resources, management,
                                                                         management, and partners to
                                                                                     and partners to accomplish
                                                                                                     accomplish all
                                                                                                                all of
                                                                                                                    of the
                                                                                                                       the foregoing.
                                                                                                                           foregoing.

                                      •• Streamline    Non-National Security
                                         Streamline Non-National              Functions across
                                                                     Security Functions across a
                                                                                               a globally
                                                                                                 globally integrated
                                                                                                          integrated platform
                                                                                                                      platform
    How can
    How  can we  secure the
             we secure  the           •• Protect
                                         Protect intellectual
                                                  intellectual property
                                                               property developed
                                                                        developed by  ByteDance that
                                                                                   by ByteDance  that drives the platform
                                                                                                      drives the platform
    National Security
    National Security Functions
                      Functions       •• Satisfy
                                         Satisfy duty
                                                 duty toto shareholders, who are
                                                           shareholders, who  are predominantly Western/non-Chinese, to
                                                                                  predominantly Western/non-Chinese,     to maintain
                                                                                                                            maintain
    without breaking
    without breaking the
                      the business
                          business       profitability and growth
                                         profitability and  growth
    in and
    in and outside
           outside the United
                   the United
    States?
    States?                           To
                                       To accomplish
                                          accomplish thethe foregoing requires talented,
                                                            foregoing requires talented, experienced  management; experience
                                                                                         experienced management;     experience with
                                                                                                                                with TikTok
                                                                                                                                     TikTok
                                      itself and
                                      itself     its technologies;
                                             and its technologies; and
                                                                    and clear
                                                                        clear alignment  in business
                                                                              alignment in  business objectives
                                                                                                     objectives and incentives.
                                                                                                                and incentives.
                                      •• TikTok
                                         TikTok is
                                                 is aa global
                                                        global business  that must
                                                               business that  must have
                                                                                   have a
                                                                                        a sustainable
                                                                                          sustainable governance
                                                                                                       governance andand operational
                                                                                                                         operational model
                                                                                                                                     model that
                                                                                                                                           that
                                         also can
                                         also       fit with
                                              can fit   with legal
                                                             legal and regulatory requirements
                                                                   and regulatory requirements in  other countries,
                                                                                                in other countries, including
                                                                                                                    including Chinese export
                                                                                                                              Chinese export
    How can
    How  can the
             the model
                  model comply
                        comply
                                         control  restrictions
                                         control restrictions
    with global
    with global regulatory
                regulatory
    requirements?
    requirements?
                                      The
                                      The solution must be
                                          solution must be one
                                                           one that
                                                               that considers holistically the
                                                                    considers holistically     impact on
                                                                                           the impact on the business and
                                                                                                         the business and operations in
                                                                                                                          operations in
                                      the U.S. and abroad, and to the extent possible anticipates future regulatory developments.
                                      the U.S. and abroad, and to the extent possible anticipates future regulatory developments.


                                                                 APP-265
                                                                 APP-265                                                                          4
                                                                                                                                                  4
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Development of
Development of Governance Model
               Governance Modo-
Conclusions
Conclusions from in-depth planning
            from in-depth planning exercise
                                   exercise driven by the
                                            driven by the foregoing
                                                          foregoing considerations:
                                                                    considerations:


              National Security
              National Security Functions
                                 Functions should
                                           should be
                                                   be in
                                                      in a special security
                                                         a special security organization
                                                                            organization that
                                                                                         that has  fully
                                                                                              has fully
    1
    1         independent
              independent governance
                            governance of
                                        of said functions, with
                                           said functions, with TTP
                                                                TTP and
                                                                     and third-party  monitoring to
                                                                          third-party monitoring to provide
                                                                                                    provide
              additional
              additional protections
                         protections



     2
     2        Enable the
              Enable the business
                         business facing functions to
                                  facing functions to remain globally integrated
                                                      remain globally            with current
                                                                      integrated with         management
                                                                                      current management



              Build alignment
              Build alignment by
                              by identifying  the right
                                  identifying the       management for
                                                  right management        TikTok U.S.
                                                                      for TikTok  U.S. Ops,
                                                                                       Ops, having   BD minority
                                                                                             having BD   minority
     3
     3        board
              board representation
                     representation on
                                     on TikTok  U.S. Ops,
                                        TikTok U.S.   Ops, and
                                                           and providing   for clear
                                                               providing for   clear operating
                                                                                     operating principles
                                                                                               principles on
                                                                                                          on
              certain
              certain business management and
                      business management      and planning
                                                    planning tools (e.g., budget,
                                                             tools (e.g., budget, performance    metrics)
                                                                                   performance metrics)


                 ByteDance has
                 ByteDance has undertaken
                               undertaken an   intense effort
                                            an intense effort to build the
                                                              to build     governance model
                                                                       the governance   model
                       –
                       — and build out
                         and build out TikTok
                                       TikTok U.S.
                                              U.S. Ops
                                                   Ops –  based on
                                                        — based   on these  principles.
                                                                      these principles.

                                     Business Confidential FIFkr%yM,to
                                     Business Confidentl   – Pursuant to 50
                                                                         50 U.S.C.
                                                                            U.S.C. §  4565
                                                                                    § 4565
                                       Protected
                                       Protected from   APP-266
                                                 from Disclosure
                                                            o u Underr 5 5 U.S.C.
                                                                           U.S.C. §
                                                                                  § 552
                                                                                    552                             5
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Challenges with
Challenges with Governance
                Governance at
                           at TikTok Inc.
                              TikTok Inc
             Objective
             Objective         I                                                               TikTok Inc.
                                                                                               TikTok Inc.

                                        ••   TikTok Inc.
                                             TikTok  Inc. manages
                                                          manages aspects
                                                                  aspects of of its
                                                                                its business well-beyond the
                                                                                    business well-beyond the National
                                                                                                             National Security  Functions; wrapping
                                                                                                                      Security Functions;  wrapping all
                                                                                                                                                     all the
                                                                                                                                                         the
                                             mitigation under
                                             mitigation under TikTok
                                                              TikTok Inc.
                                                                     Inc. is unnecessary and
                                                                          is unnecessary    and overbroad  and would
                                                                                                overbroad and  would be
                                                                                                                      be significantly
                                                                                                                         significantly harder
                                                                                                                                       harder to operationalize
                                                                                                                                              to operationalize
                                             and monitor.
                                             and  monitor.
 Secure National
 Secure National Security
                 Security Functions
                          Functions
                                        ••   Focusing the
                                             Focusing the operation  of the
                                                           operation of     National Security
                                                                        the National          Functions in
                                                                                     Security Functions in TikTok U.S. Ops
                                                                                                           TikTok U.S. Ops ensures high level
                                                                                                                           ensures high level of focus and
                                                                                                                                              of focus and
                                             operational control.
                                             operational control.


                                        ••   High risk
                                             High risk of
                                                       of "breaking
                                                          “breaking the
                                                                      the business"
                                                                           business” through  excessive segregation
                                                                                     through excessive   segregation of
                                                                                                                     of the U.S. operations
                                                                                                                        the U.S.            from the
                                                                                                                                 operations from the rest
                                                                                                                                                     rest of
                                                                                                                                                          of the
                                                                                                                                                             the
                                             world, and
                                             world, and interjection
                                                         interjection of  outsiders who
                                                                       of outsiders who lack  the requisite
                                                                                         lack the requisite experience and background
                                                                                                            experience and  background to  manage and
                                                                                                                                        to manage  and operate
                                                                                                                                                        operate aa
 Preserve interoperability
 Preserve interoperability for
                           for Global
                               Global        hugely complex
                                             hugely            and inherently
                                                     complex and    inherently global  social media
                                                                                global social media business.
                                                                                                     business.
   Business
   Business with  respect to
             with respect  to Non-
                              Non-
    National Security
    National  Security Functions
                       Functions        ••   Core  non-National Security
                                             Core non-National            Functions for
                                                                Security Functions   for the U.S. market
                                                                                         the U.S. market can   not be
                                                                                                         can not   be disentangled  from the
                                                                                                                      disentangled from  the global
                                                                                                                                              global business and
                                                                                                                                                     business and
                                             integration would not
                                             integration would not be
                                                                   be possible  under a
                                                                       possible under  a independent
                                                                                          independent governance
                                                                                                      governance at at TikTok
                                                                                                                       TikTok Inc.–
                                                                                                                              Inc.— instead, the business
                                                                                                                                    instead, the business would
                                                                                                                                                           would
                                             effectively be
                                             effectively be operated
                                                            operated in
                                                                     in a silo and
                                                                        a silo and separated  from the
                                                                                   separated from  the rest
                                                                                                       rest of
                                                                                                            of the world.
                                                                                                               the world.



                                        ••   If ByteDance
                                             If ByteDance is  rendered to
                                                           is rendered to a
                                                                          a minority
                                                                            minority position
                                                                                     position or
                                                                                              or passive
                                                                                                 passive over
                                                                                                         over the entire U.S.
                                                                                                              the entire U.S. business,
                                                                                                                              business, itit will
                                                                                                                                             will not
                                                                                                                                                  not be able to
                                                                                                                                                      be able to
   Comply with
   Comply with Global Regulatory
               Global Regulatory             secure the
                                             secure      necessary authorizations
                                                     the necessary  authorizations from
                                                                                   from Chinese   regulators.
                                                                                        Chinese regulators.
          Requirements
          Requirements
                                        ••   Further, a
                                             Further, a change of control
                                                        change of         for Rest
                                                                  control for Rest of World operations
                                                                                   of World operations could
                                                                                                       could trigger regulatory review
                                                                                                             trigger regulatory review in
                                                                                                                                       in other jurisdictions.
                                                                                                                                          other jurisdictions.




                                                        Business           APP-267
                                                                 Confidential – Pursuant to 50
                                                        Business ConfidentAPIP46-irto       50 U.S.C.
                                                                                               U.S.C. §§ 4565
                                                                                                         4565
                                                                                                                                                                     6
                                                          Protected
                                                          Protected from
                                                                    from Disclosure
                                                                         Disclosure Under
                                                                                    Under 5 5 U.S.C.
                                                                                              U.S.C. §
                                                                                                     § 552
                                                                                                       552
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                                                                                                                           We   believe the
                                                                                                                           We believe   the following   governance
                                                                                                                                             following governance

            Proposed Governance
            Proposed            Model
                     Governance Model                                                                                      structure
                                                                                                                           structure will resolve national
                                                                                                                                     will resolve
                                                                                                                               concerns
                                                                                                                               concerns while
                                                                                                                                                   national security
                                                                                                                                          while also
                                                                                                                                                            security
                                                                                                                                                      preserving
                                                                                                                                                 also preserving
                                                                                                                                 TikTok’s
                                                                                                                                  TikTok's global   presence.
                                                                                                                                            global presence.

                                                             Shareholder: TikTok
                                                             Shareholder:        Inc.
                                                                          TikTok Inc.


                                                          TikTok U.S. Ops
                                                          TikTok U.S. Ops Board
                                                                          Board Directors
                                                                                Directors                                                                  Oracle
                                                                                                                                                           Oracle
ByteDance
ByteDance
                  TikTok Inc.
                  TikTok Inc.                                                            Security Director
   Ltd.
   Ltd.                                                                                  Security Director
                                                                                                                                                          Trusted
                                                                                                                                                          Trusted
                                ByteDance
                                ByteDance        ByteDance
                                                 ByteDance        Security  Director /
                                                                  Security Director/        // Chair
                                                                                               Chair of
                                                                                                     of         Security
                                                                                                                Security
                                 Director
                                 Director         Director
                                                  Director        Chair
                                                                  Chair of
                                                                        of the Board
                                                                           the Board       Compliance
                                                                                           Compliance           Director
                                                                                                                Director                                Technology
                                                                                                                                                        Technology
                                                                                           Committee
                                                                                           Committee                                                     Provider
                                                                                                                                                         Provider
ByteDance
ByteDance         Compliance
                  Compliance
                                                                                                L
                                                                r
   POC
   POC              Officer
                    Officer                           I
                                    No National
                                    No National Security
                                                Security                                                                                                 Technology
                                                                                                                                                         Technology
                                                                             Full National
                                                                             Full National Security Responsibility
                                                                                           Security Responsibility                                         Officer
                                       Responsibility
                                       Responsibility                                                                                                      Officer

                                                                                                                                                             •

                                                                 TikTok U.S. Ops
                                                                 TikTok U.S. Ops                                                    Content Advisory
                                                                                                                                    Content Advisory
                                                                   Security
                                                                   Security Officer
                                                                            Officer                                                     Council
                                                                                                                                        Council
Indicates communication
Indicates communication with
                        with                                             A
 CFIUS
 CFIUS Monitoring  Agencies
        Monitoring Agencies

                                            Third Party                                                Third Party
                                                                                                       Third Party



   1                  1
                                            Third Party
                                             Auditor
                                             Auditor                                                     Monitor
                                                                                                         Monitor



                                            CFIUS Monitoring Agencies
                                            CFIUS Monitoring Agencies (with Review &
                                                                      (with Review   Inspection Rights)
                                                                                   & Inspection Rights)

                                                   Business           APP-268
                                                            Confidential – Pursuant to 50
                                                   Business ConfidentAPIP4e8to         50 U.S.C.
                                                                                          U.S.C. §§ 4565
                                                                                                    4565
                                                                                                                                                                    7
                                                     Protected
                                                     Protected from
                                                               from Disclosure
                                                                    Disclosure Under
                                                                               Under 5 5 U.S.C.
                                                                                         U.S.C. §
                                                                                                § 552
                                                                                                  552
                                                                                                                                                                         Access to
                                                                                                                                                                         Access    Protected Data
                                                                                                                                                                                to Protected Data



 TikTok U.S. Ops Functions
                                           USCA Case #24-1113         Document #2060757                    Filed: 06/20/2024   Page 16 of 276                            Support Function;
                                                                                                                                                                         Support Function; No
                                                                                                                                                                                           No

 TikTok      Ops Functions                                                                                                                                               access to
                                                                                                                                                                         access    Protected Data
                                                                                                                                                                                to Protected Data


 To segregate these
 To segregate  these National
                     National Security
                              Security Functions,
                                       Functions, TikTok
                                                   TikTok U.S.
                                                          U.S. Ops
                                                               Ops will
                                                                   will need
                                                                        need to
                                                                             to transfer and hire
                                                                                transfer and hire approximately
                                                                                                  approximately 1,500 personnel before
                                                                                                                1 500 personnel before itit is
                                                                                                                                            is operational;
                                                                                                                                               operational; this
                                                                                                                                                            this number
                                                                                                                                                                 number will
                                                                                                                                                                        will
 continue
 continue to grow over
          to grow over time given the
                       time given     scale of
                                  the scale of the
                                               the business.
                                                   business.


                                                                                   TikTok U.S. Ops
                                                                                   TikTok U.S. Ops
                                                                                  Head
                                                                                  Head of
                                                                                       of TikTok
                                                                                          TikTok U.S.
                                                                                                 U.S. Ops
                                                                                                      Ops




 Subset of
 Subset of
                         Ads
                         Ads               Subset of
                                           Subset of            U.S.
                                                                U.S.                   U.S. Trust
                                                                                       U.S. Trust              Legal &
                                                                                                              Legal  &           Human
                                                                                                                                 Human               General
                                                                                                                                                     General
 Product &
 Product &                                                                                                                                                                       Finance
                                                                                                                                                                                 Finance
                       Integrity
                       Integrity           Security
                                           Security           Operations
                                                              Operations               & Safety
                                                                                       &  Safety             Compliance
                                                                                                             Compliance         Resources
                                                                                                                                Resources            Services
                                                                                                                                                     Services
    RD
    RD
Requires access
Requires    access   Requires access
                     Requires   access   Requires access
                                         Requires    access   Requires access
                                                              Requires   access       Requires access
                                                                                      Requires    access       Support for
                                                                                                               Support  for     Support
                                                                                                                                Support for
                                                                                                                                        for        Support for
                                                                                                                                                   Support    for              Support for
                                                                                                                                                                               Support  for
to PD
to PD for:
       for:          to PD
                     to PD for:
                           for:          to PD
                                         to PD for:
                                                for:          to PD
                                                              to PD for:
                                                                    for:              to PD
                                                                                      to PD for:
                                                                                             for:             -- Compliance
                                                                                                                 Compliance     -Implementing
                                                                                                                                -Implementing      administrative
                                                                                                                                                   administrative              -Revenue and
                                                                                                                                                                               -Revenue   and
-Infrastructure
-Infrastructure      -Ads integrity
                     -Ads integrity      -CIB Defense
                                         -CIB  Defense                                -Safety
                                                                                      -Safety                  obligations
                                                                                                               obligations      people
                                                                                                                                people             and support
                                                                                                                                                   and   support               cash
                                                                                                                                                                               cash
-Platform
-Platform            -Model training
                     -Model  training    -Threat detection
                                         -Threat  detection   -User Support
                                                              -User  Support          Operations
                                                                                      Operations               -Employment
                                                                                                              -Employment       philosophy
                                                                                                                                philosophy         teams including:
                                                                                                                                                   teams    including:         management
                                                                                                                                                                               management
-Product
-Product             -Fraud detection
                     -Fraud detection    & response
                                         &  response          -Product
                                                              -Product                -Risk Models
                                                                                      -Risk Models             support
                                                                                                               support          -Making key
                                                                                                                                -Making key        -IT services,
                                                                                                                                                   -IT services,               -Accounting
                                                                                                                                                                               -Accounting
                                         -Data protection
                                         -Data  protection    Operations
                                                              Operations              -Strategy and
                                                                                      -Strategy   and                           people decisions
                                                                                                                                people decisions   -Admin services,
                                                                                                                                                   -Admin    services,         -Tax
                                                                                                                                                                               -Tax
*Includes
*Includes                                -Security &
                                         -Security   &        -Tools &
                                                              -Tools &                analytics
                                                                                      analytics                                                    -Real estate
                                                                                                                                                   -Real   estate and
                                                                                                                                                                  and          -Financial
                                                                                                                                                                               -Financial
Monetization
Monetization                             Privacy
                                         Privacy              Reporting
                                                              Reporting               -Law
                                                                                      -Law                                                         facilities
                                                                                                                                                   facilities                  planning
                                                                                                                                                                               planning and
                                                                                                                                                                                         and
Product
Product                                  Compliance
                                         Compliance           -Insights &
                                                              -Insights &             Enforcement
                                                                                      Enforcement                                                                              analysis
                                                                                                                                                                               analysis
                                                              Analytics
                                                              Analytics




 Est. Head
 Est. Head            Est. Head
                      Est. Head I           Est. Head
                                            Est. Head          Est. Head
                                                               Est. Head                Est. Head
                                                                                        Est. Head              Est. Head
                                                                                                               Est. Head          Est. Head
                                                                                                                                  Est. Head          Est. Head
                                                                                                                                                     Est. Head                  Est. Head
                                                                                                                                                                                Est. Head
Count =
Count  = 375
         375          Count =
                      Count = 15
                              15           Count =
                                           Count  = 150
                                                    150       Count =
                                                              Count  = 375
                                                                       375             Count =
                                                                                       Count  = 550
                                                                                                550            Count =
                                                                                                               Count = 10
                                                                                                                       10         Count = 20
                                                                                                                                  Count = 20         Count =
                                                                                                                                                     Count = 25
                                                                                                                                                             25                 Count =
                                                                                                                                                                                Count = 10
                                                                                                                                                                                        10

*Teams
*Teams that
       that do
            do not access Protected
               not access Protected Data, such as
                                    Data, such as Product
                                                  Product &
                                                          & Engineering
                                                             Engineering not
                                                                          not described
                                                                              described above,
                                                                                        above, Global
                                                                                               Global Business
                                                                                                      Business Solutions
                                                                                                               Solutions (sales),
                                                                                                                         (sales), Creator
                                                                                                                                  Creator & Artist Partnerships,
                                                                                                                                          & Artist Partnerships, Business
                                                                                                                                                                 Business
Development,
Development, Communications,   and Government
              Communications, and   Government Relations
                                                Relations will
                                                          will remain at TikTok
                                                               remain at TikTok Inc.
                                                                                Inc. &
                                                                                     & ByteDance
                                                                                       ByteDance to
                                                                                                 to ensure global business
                                                                                                    ensure global          alignment.
                                                                                                                  business alignment.

                                                                Business
                                                                  Protected
                                                                  Protected from
                                                                                      APP-269
                                                                         Confidential – Pursuant
                                                                Business ConfidentjAppLs2
                                                                            from Disclosure
                                                                                              •• ib to
                                                                                 Disclosure Under
                                                                                            Un er 5
                                                                                                 •
                                                                                                     o 50
                                                                                                       50 U.S.C.
                                                                                                          U.S.C. §
                                                                                                       5 U.S.C.
                                                                                                         U.S.C. §
                                                                                                                  § 4565
                                                                                                                    4565
                                                                                                                § 552
                                                                                                                  552                                                                      8
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      Independent Directors
      Independent Directors will
                            will control
                                 control decision-
                                         decision-
      making over
      making      National Security
             over National Security Functions
                                    Functions
                               TikTok U.S.
                               TikTok U.S. Ops Board
                                           Ops Board
                                                                                                             Independent Security
                                                                                                             Independent             Directors approved
                                                                                                                            Security Directors approved
                                                                                                              by the
                                                                                                              by  the CMAs
                                                                                                                      CMAs will  hold a
                                                                                                                            will hold   majority position
                                                                                                                                      a majority position
                                                                                                            on
                                                                                                            on the
                                                                                                                the TikTok
                                                                                                                     TikTok U.S.
                                                                                                                            U.S. Ops  Board with
                                                                                                                                  Ops Board       respect
                                                                                                                                             with respect
                                              Security Director / Chairperson
                                              Security Director/  Chairperson of
                                                                              of the
                                                                                 th
                                                                                                                 to non-National Security
                                                                                                                 to non-National           Functions.
                                                                                                                                  Security Functions.
                                                              Board
                                                              Board



        ByteDance
        ByteDance        ByteDance
                         ByteDance               Security
                                                 Security               Security
                                                                        Security
         Director
         Director         Director
                          Director               Director
                                                 Director               Director
                                                                        Director                              National Security
                                                                                                              National           Function decision-
                                                                                                                        Security Function decision-
                                                                                                             making is
                                                                                                             making    solely vested
                                                                                                                    is solely        in the
                                                                                                                              vested in     Security
                                                                                                                                        the Security
                                                                                                                           Directors.
                                                                                                                           Directors.

                                                  Security
                                                  Security Committee
                                                           Committee
L



    ByteDance directors
    ByteDance  directors (which may be
                         (which may be from
                                        from TikTok Inc. or
                                             TikTok Inc. or TikTok Ltd.) add
                                                            TikTok Ltd.)      business
                                                                         add business
    experience
    experience and
               and expertise  and help
                    expertise and help ensure
                                       ensure alignment
                                              alignment on
                                                         on objectives
                                                             objectives with
                                                                        with the ROW
                                                                             the ROW
                                        business
                                        business


                                                        Business Confidential   —R4-
                                                                                –    Auant to
                                                                                  Pursuant to 50
                                                                                              50 U.S.C.
                                                                                                 U.S.C. §§ 4565
                                                                      APP-270
                                                        Business Confi "• •                                4565
                                                          Protected from Disclosure
                                                          Protected fr      II cT   rYUnder
                                                                                      Under 5 5 U.S.C.
                                                                                                U.S.C. §
                                                                                                       § 552
                                                                                                         552                                                9
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I   TikTok U.S.
    TikTok U.S. Ops
                Ops – Multi-Layered
                      Multi-Layered Operational
                                    Operational
    Security and
    Security and Governance
                 Governance
          TikTok U.S. Ops
          TikTok U.S.     Board Directors
                      Ops Board Directors
                                                                    ..
                                                                     CMA
                                                                    .4
                                                                       CMA review

                                                                       decisions
                                                                                      and approval
                                                                             review and
                                                                     Security
                                                                       Security Committee
                                                                                           approval at
                                                                                 Committee has
                                                                                   related to
                                                                       decisions related
                                                                                              has sole
                                                                                                      at almost
                                                                                                         almost every
                                                                                                   sole authority
                                                                                              Privacy and
                                                                                           to Privacy
                                                                                                                  every level
                                                                                                          authority for
                                                                                                        and Data
                                                                                                                          level
                                                                                                                     for key
                                                                                                                         key national
                                                                                                             Data Security,
                                                                                                                              national security
                                                                                                                                        security
                                                                                                                    Security, Cybersecurity,
                                                                                                                                Cybersecurity, and
                                                                                                                                                and
           Security
           Security          Security
                             Security      Security
                                           Security
           Director
           Director          Director
                             Director      Director
                                           Director                    National
                                                                       National Security
                                                                                 Security
                                                                     Citizenship
                                                                    .4               and Residency
                                                                       Citizenship and    Residency Requirements
                                                                                                       Requirements for  for key
                                                                                                                             key roles  and
                                                                                                                                  roles and
                      Security Committee
                      Security Committee                               responsibilities
                                                                       responsibilities
    L                                                   II
                                                                       Hiring Protocols
                                                                     Hiring
                                                                    .4        Protocols for
                                                                                          for all
                                                                                              all employees
                                                                                                  employees
                                                                     Outsourced
                                                                    .4 Outsourced Protected       Data storage
                                                                                     Protected Data     storage and
                                                                                                                  and Software     Assurance to
                                                                                                                       Software Assurance      to
                                                                       independent and
                                                                       independent     and trusted
                                                                                           trusted third
                                                                                                    third party
                                                                                                           party in
                                                                                                                 in TTP
                                                                                                                    TTP
    Security Officer
    Security         & Key
             Officer & Key Management
                           Management Personnel
                                      Personnel
                                                                     No
                                                                    .4 No direct  reporting relationship
                                                                           direct reporting  relationship ofof TikTok
                                                                                                               TikTok U.S.
                                                                                                                       U.S. Ops
                                                                                                                              Ops personnel    to
                                                                                                                                    personnel to
                                                                       ByteDance
                                                                       ByteDance personnel
                                                                                     personnel
                                                                       Access to
                                                                     Access
                                                                    .4             Protected Data
                                                                                to Protected   Data will
                                                                                                     will be  on a
                                                                                                           be on  a need-to-have
                                                                                                                    need-to-have basis
                                                                                                                                     basis
        Employees with
        Employees with Access
                       Access to
                              to Protected
                                 Protected Data
                                           Data                        TTP grants,
                                                                     TTP
                                                                    .4      grants, controls,   and monitors
                                                                                      controls, and             all Access
                                                                                                     monitors all   Access to    Protected Data
                                                                                                                              to Protected  Data
                                                                       TTP ultimately
                                                                     TTP
                                                                    .4                   has the
                                                                            ultimately has        ability to
                                                                                             the ability  to suspend
                                                                                                             suspend thethe U.S.   TT App
                                                                                                                             U.S. TT  App and
                                                                                                                                           and TT
                                                                                                                                                TT
                                                                       U.S. Platform
                                                                       U.S. Platform
              Trusted
              Trusted Technology Provider
                      Technology Provider


                                               Business Confidential D
                                                                     – idrgno
                                                                       Pursuant to 50
                                                                                   50 U.S.C.
                                                                                      U.S.C. §  4565
                                                                  APP-271
                                               Business ConfidentiAl                          § 4565
                                                 Protected
                                                 Protected from Disclosure
                                                           from DMoi-    ir Underr 5
                                                                                   5 U.S.C.
                                                                                     U.S.C. §
                                                                                            § 552
                                                                                              552                                                     10
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    TikTok Inc.
    TikTok Inc. &
                & TikTok
                  TikTok U.S.
                         U.S. Ops Alignment
                              Ops Alignment
]
                    TikTok Inc.
                    TikTok Inc.
                                                                                                                     L    TikTok U.S. Ops
                                                                                                                           ikTok U.S. Op il


                 Key Functions*
                     Functions* r                                                                              WW I
                 Key                         ill                                                                           Key Functions
                                                                                                                           Key Functions        1. 1
                                                              TikTok Inc. will
                                                              TikTok Inc. will continue
                                                                               continue to
                                                                                        to
       Global
       Global Business Solutions // Sales
              Business Solutions    Sales                     manage non-US
                                                              manage   non-US National
                                                                                 National                           Ads Integrity
                                                                                                                    Ads Integrity &
                                                                                                                                  & Reporting
                                                                                                                                    Reporting
                                                                  Security Functions
                                                                  Security Functions
           Creator & Artist
           Creator & Artist Partnerships
                            Partnerships                                                                                 U.S.
                                                                                                                         U.S. Trust & Safety
                                                                                                                              Trust & Safety
                                                                                                               (U.S. policy
                                                                                                               (U.S. policy development & enforcement)
                                                                                                                            development & enforcement)
              Business Development
              Business Development                                                                                          U.S
                                                                                                                            U.S Security
                                                                                                                                 Security
                                                                                                                  (Securing the
                                                                                                                  (Securing the safety
                                                                                                                                safety of
                                                                                                                                       of U.S. users)
                                                                                                                                          U.S. users)
                     Marketing
                     Marketing                              TikTok  Inc. and
                                                            TikTok Inc.  and TikTok
                                                                              TikTok U.S.
                                                                                      U.S. Ops
                                                                                           Ops
                                                           coordinate
                                                                                                                    Subset of Product
                                                                                                                    Subset of Product &
                                                                                                                                      & R&D
                                                                                                                                        R&D
                                                           coordinate with  respect to
                                                                       with respect     National
                                                                                     to National
                  Global
                  Global Security
                         Security                                                                                   (Ensure stable
                                                                                                                    (Ensure stable deployment
                                                                                                                                    deployment of
                                                                                                                                                of
                                                            Security  Functions between
                                                            Security Functions   between U.S.
                                                                                           U.S.
               (Alignment to
               (Alignment to ensure
                             ensure the
                                    the                                                                                TikTok App in
                                                                                                                       TikTok App  in the U.S.)
                                                                                                                                      the U.S.)
                                                                   and  ROW platform.
                                                                   and ROW     platform.
              safety of users
              safety of users worldwide)
                              worldwide)
                                                                                                                 U.S. User &
                                                                                                                 U.S. User & Product
                                                                                                                             Product Operations
                                                                                                                                     Operations
              Global Product &
              Global Product & R&D
                               R&D
                                                                                                                         Insights &
                                                                                                                         Insights & Analytics
                                                                                                                                    Analytics
               Global Trust &
               Global Trust & Safety
                              Safety
                                                                                                                  HR, Legal, and
                                                                                                                  HR, Legal, and other
                                                                                                                                 other support
                                                                                                                                       support
                 Global
                 Global Operations
                        Operations
                                                                                                                         Trusted
                                                                                                                         Trusted Technology
                                                                                                                                 TechnAii
     *Personnel who work
     *Personnel who  work for
                          for the  TikTok United
                               the TikTok United                                                                              Provider
                                                                                                                              Provider
     States
     States business
            business and  maintain global
                      and maintain  global
     alignment & interoperability.
     alignment & interoperability.                                  APP-272
                                                                    APP-272                                                                              11
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Robust Independent
Robust Independent Monitor'
                   Monitoring for
                              for Compliancr
                                  Compliance
CFIUS   has multiple
CFIUS has   multiple monitoring
                     monitoring &
                                & oversight  roles available
                                  oversight roles  available to
                                                             to ensure
                                                                ensure TikTok
                                                                       TikTok U.S.
                                                                               U.S. Ops,
                                                                                    Ops, TikTok Inc., and
                                                                                         TikTok Inc., and
ByteDance’s ("Transaction
ByteDance's  (“Transaction Parties')
                            Parties”) continued
                                      continued compliance
                                                 compliance with   NSA obligations
                                                              with NSA obligations –
                                                                                   — above
                                                                                     above and  beyond governance
                                                                                            and beyond  governance
structure.
structure.

 One-Time
 One-Time Cybersecurity
          Cybersecurity
                             ••   TikTok U.S.
                                  TikTok  U.S. Ops will submit
                                               Ops will         to a
                                                        submit to  a one-time
                                                                     one-time cybersecurity
                                                                              cybersecurity audit
                                                                                            audit of
                                                                                                  of the
                                                                                                     the TikTok
                                                                                                         TikTok U.S. Platform by
                                                                                                                U.S. Platform    a U.S.-
                                                                                                                              by a U.S.-
                                  based  independent third
                                  based independent    third party
                                                             party to ensure the
                                                                   to ensure     Transaction Parties
                                                                             the Transaction Parties compliance  with their
                                                                                                      compliance with their NSA
                                                                                                                            NSA
         Audit
         Audit
                                  obligations.
                                  obligations.



    Third-Party Auditor
    Third-Party Auditor
                             ••   The CFIUS
                                  The       Monitoring Agencies
                                      CFIUS Monitoring   Agencies may
                                                                  may request
                                                                       request an
                                                                               an annual
                                                                                   annual audit
                                                                                          audit by a U.S.-based
                                                                                                by a U.S.-based third-party
                                                                                                                third-party
                                  independent auditor to
                                  independent auditor to assess
                                                         assess the
                                                                the overall
                                                                    overall compliance with the
                                                                            compliance with the NSA
                                                                                                NSA by
                                                                                                     by the
                                                                                                        the Transaction Parties.
                                                                                                            Transaction Parties.



    Third-Party Monitor
    Third-Party Monitor
                             ••   TikTok U.S.
                                  TikTok U.S. Ops will engage
                                              Ops will engage an
                                                               an independent
                                                                   independent third-party,
                                                                               third-party, approved
                                                                                            approved by and reporting
                                                                                                     by and           to the
                                                                                                            reporting to     CFIUS
                                                                                                                         the CFIUS
                                  Monitoring Agencies,
                                  Monitoring Agencies, to  monitor compliance
                                                        to monitor  compliance with
                                                                               with the
                                                                                    the NSA.
                                                                                        NSA.



    CFIUS Monitoring
    CFIUS Monitoring
                             ••   The CFIUS
                                  The         Monitoring Agencies
                                      CFIUS Monitoring   Agencies maymay conduct
                                                                           conduct site
                                                                                    site visits,
                                                                                         visits, in their sole
                                                                                                 in their sole discretion, at any
                                                                                                               discretion, at any of
                                                                                                                                  of the
                                                                                                                                     the
                                  Transaction Parties
                                  Transaction Parties U.S.
                                                      U.S. facilities for on-site
                                                           facilities for on-site reviews  and audits.
                                                                                  reviews and     audits.
        Agencies
        Agencies
                             ••   The CFIUS
                                  The         Monitoring Agencies
                                      CFIUS Monitoring   Agencies have
                                                                     have approval
                                                                            approval authority
                                                                                     authority over
                                                                                                 over NSA
                                                                                                       NSA protocols    and processes.
                                                                                                             protocols and  processes.


                                         Business Confidential FIF
                                         Business Confidentl   – Pursuant
                                                                  I:yr      to 50
                                                                          ,sto 50 U.S.C.
                                                                                  U.S.C. §  4565
                                                                                          § 4565
                                           Protected
                                           Protected from
                                                     from D APP-273
                                                          Disclosure
                                                                 ii.ir Under
                                                                         ePrbr 5
                                                                               5 U.S.C.
                                                                                 U.S.C. §
                                                                                        § 552
                                                                                          552                                              12
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    Protections Against
    Protections Against Unauthorized
                        Unauthorized Access
                                     Access
    The Proposed Structure
    The Proposed            is tailored
                  Structure is tailored to
                                        to secure National Security
                                           secure National          Functions without
                                                           Security Functions         restricting interoperability
                                                                              without restricting interoperability of
                                                                                                                   of the
                                                                                                                      the
    global business.
    global business.

                                                                                                     Oversight
                                                                                                     Oversight
            Concern
            Concern                                                          Solution
                                                                             Solution                                            Owner
                                                                                                                                 Owner
                                                               I     No Unauthorized
                                                                     No Unauthorized Access
                                                                                     Access to
                                                                                            to
      Access to
      Access to Protected
                Protected Data
                          Data                                                                                     Trusted Technology
                                                                                                                 ( Trusted Technology Provider
                                                                                                                                      Provider
                                                                          Protected Data
                                                                          Protected Data


                                                                (   Independent  hiring for
                                                                    Independent hiring  for positions
                                                                                            positions
(      Hiring an Insider
       Hiring an         Threat
                 Insider Threat   )                                  with access
                                                                     with access to Protected Data
                                                                                 to Protected  Data
                                                                                                                 (       Independent
                                                                                                                         Independent Governance
                                                                                                                                     Governance


                                                                         Independent software
                                                                         Independent  software
         Software
         Software Backdoor
                  Backdoor                                                                                         Trusted Technology
                                                                                                                 ( Trusted Technology Provider
                                                                                                                                      Provider
                                                                           assurance process
                                                                           assurance process




                                                               (
                                                                                                                     Security
                                                                                                                     Security assurance
                                                                                                                              assurance of  software by TTP;
                                                                      Multiple layers
                                                                      Multiple        of oversight
                                                                               layers of oversight                                       of software by TTP;
               Content
               Content                                               against national
                                                                     against national security
                                                                                      security bias
                                                                                               bias
                                                                                                                      Security Directors provide
                                                                                                                      Security Directors provide oversight,
                                                                                                                                                 oversight,
                                                                                                                     supported by
                                                                                                                     supported  by Content  Advisory Council
                                                                                                                                   Content Advisory  Council



                                             Business
                                               Protected
                                               Protected from
                                                                APP-274
                                                      Confidential – Pursuant to 50
                                             Business ConfidentAppLomo
                                                         from Disclosure Under 5
                                                              Disclosure7fnder
                                                                                 50 U.S.C.
                                                                                    U.S.C. §
                                                                                 5 U.S.C.
                                                                                   U.S.C. §
                                                                                              4565
                                                                                            § 4565
                                                                                          § 552
                                                                                            552                                                                13
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I   Benefits rof Proposed
    Benefits     Proposed Governance
                          Governance Structure
                                     Structure

       1
       1    Clear segregation of
            Clear segregation    National Security
                              of National          Functions and
                                          Security Functions and clear mission for
                                                                 clear mission for TikTok
                                                                                   TikTok U.S.
                                                                                          U.S. Ops
                                                                                               Ops


            Preservation of
            Preservation of interoperability across global
                            interoperability across global and U.S. platforms
                                                           and U.S. platforms
       2
       2    •• Maintain globally integrated
               Maintain globally integrated operations
                                             operations and management for
                                                        and management     for aspects
                                                                               aspects of
                                                                                       of business that do
                                                                                          business that do not
                                                                                                           not
               involve National Security
               involve National           Functions
                                Security Functions


       3
       3    Preservation of
            Preservation of consistent global user
                            consistent global      experience
                                              user experience


            Better enable continued
            Better enable continued attraction
                                    attraction of
                                               of creators,
                                                  creators, advertisers, and talent
                                                            advertisers, and        within the
                                                                             talent within the organization
                                                                                               organization
       4
       4
            and
            and alignment
                alignment on
                           on key
                              key business
                                  business objectives
                                            objectives


       5
       5    We believe
            We believe that this approach
                       that this          will address
                                 approach will address Chinese
                                                       Chinese regulatory
                                                               regulatory concerns
                                                                          concerns


                            Business Confidential FIFkrq,144
                            Business Confidentl   – Pursuant  - to
                                                                 o 50
                                                                   50 U.S.C.
                                                                      U.S.C. §  4565
                                                                              § 4565
                              Protected
                              Protected from
                                        from D  APP-275
                                             Disclosure    Under 5
                                                   pr.ffitsdikatr  5 U.S.C.
                                                                     U.S.C. §
                                                                            § 552
                                                                              552                             14
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The parties look
The parties look forward
                 forward toto continuing
                              continuing to
                                         to engage
                                            engage with
                                                     with CFIUS
                                                          CFIUS to
                                                                to
complete  an NSA
complete an  NSA that
                  that fully resolves any
                       fully resolves any U.S.  national security
                                           U.S. national security
concerns.
concerns.




                                            APP-276
                                            APP-276                                        15
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                     Exhibit D
                     Exhibit D
                     Redacted Version
                     Redacted Version




                               APP-277
                               APP-277
                                               Confidential  Settlement
                                                USCA Case #24-1113
                                                                         Communication
                                                                   Document #2060757
                                                                                             PursuantPage
                                                                                     Filed: 06/20/2024
                                                                                                       to FRE    408
                                                                                                          25 of 276



    l.d ByteDance                                                                                                                                                                   TikTo k
                                                                                                                                                                                    TikTok
                               NATIONAL SECURITY AGREEMENT
                                     CFIUS CASE 20-100
                                             Presentation to the Committee on Foreign
                                                 Investment in the United States
                                                                                               October 13, 2021
                                                                                                           2021

ByteDance Participants (telephonic)                                     Oracle Participants (telephonic)                                        Counsel
•    Erich Andersen -— General Counsel and Head of Corporate Affairs    ••   Edward Screven -— Chief Corporate Architect                        ••                                         (Covington). Brian Williams
                                                                                                                                                     Michael Leiter (Skadden), David Fagan (Covington),
•    Vanessa Pappas -— TikTok Chief Operating Officer                   ••   Craig Stephen -— Senior Vice President, Research and Development        (Covington). Tatiana Sullivan (Skadden), Katie Clarke (Skadden),
                                                                                                                                                     (Covington),
•    Will Farrell -— TikTok Head of Global Cyber and Data Defense       ••   Scott Gaetjen -— Vice President, Cloud Chief Architect                  and Monty Roberson(Covington) on behalf of ByteDance
•    Sandie Hawkins -— GM of North America, Global Business Solutions   •    Brian Higgins -— Senior Vice President, Legal                      ••   Giovanna Cinelli and Christian Kozlowski from Morgan Lewis on
•                   - TikTok Head of Legal, Americas
     Matt Penarczyk —                                                                                                                                behalf of Oracle
•    Sarah Aleem -— TikTok Senior Legal Counsel.
                                        Counsel, North America




                                                                                                     APP-278
                                                                                                     APP-278
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I   Topics for Today's Discussion

        1   Data Governance Objectives & Development Process


        2   Review of Proposed Model

        3   Protected Data, Exceptions and Use Cases

        4   Business Concerns


        5   Conclusions and Q&A




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I   Key Data Governance Objectives

            Safeguard Protected Data in a manner that conforms with U.S. government national security
            objectives.




            Maintain a global
                       global,, interoperable short-form video platform business that ensures continued
            consistency between U.S. and non-U.S. user experiences.




            Implement an operationally feasible agreement that has robust, sustainable compliance and
            oversight functions as the business evolves.




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Overview of Use Cases

   Category                -1.i Users
                           me                                        *          Creators
                                                                                Creators                         t:) Advertisers
                                                              •   Publish videos, go viral
                                                                                      viral,, and gain
                  •   Watch global content                        a following of global online users         •     Amplify their brands globally
                  •   Engage with other global users          •   Monetize through on-platform
   TikTok             (e.g.,
                      (e.g. , likes, comments, direct
                                                                                                             •     Reach a specific audience
                                                                  opportunities (e.g., Creator Fund)               segment to sell merchandise
  Use Cases           messages, share videos)                 •   Connect with advertisers for
                                                                  further on- and off-platform
                                                                  monetization opportunities

                                             Participate in a global platform that is safe and reliable

                                                                                                             Collaborate with our Sales teams
                                                              Work with TikTok Content teams to:
                  •   Address account inquiries (e.g.,                                                       to:
  Expectations                                                • Improve their on-platform
                      password reset) through our User                                                       • Use core business metrics
                                                                performance using core metrics
 for the TikTok       Support teams                             (e.g., finish rates)
                                                                                                                 (e.g., clicks, views) to
  Experience                                                                                                     understand their audience
                                                              • Take part in programs to amplify
                                                                                                             • Measure ROI to optimize
                                                                and monetize their content
                                                                                                                 campaign performance

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 Conceptual View of Protected Data Model
         All Protected Data is controlled and isolated within at least two circles of trust: Oracle & TikTok U.S. Ops.
Oracle, as the Trusted Technology Provider, stores and controls all access to Protected Data on the TikTok U.S. Platform to
  ensure that data is only accessed as allowed by the NSA, including no access by unauthorized persons or from    from China.



                TikTok                                                      TikTok Inc.
               U.S. Ops                          „ Gess
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               Oracle                               •■ U.5.-based
                                                       U.S.-based special purpose subsidiary, under the control of CAUS-approved
                                                                                                                   CFIUS-approved independent directors.
               Enclave                              •■ Will be staffed by approved personnel to perform CFIUS Functions; access to Protected Data
                                                       pursuant to compliance with Data Privacy and Cybersecurity Program (''DPCP'')
                                                                                                                          ("DPCP") under the NSA.

                                                    •■ All TikTok U.S. Protected Data will reside within the Oracle's Cloud Infrastructure.
                                                    •■ Oracle will serve as the gatekeeper for access to Protected Data, with independent reporting directly
                                                       to U.S. Government. There is never an ability to access Protected Data from China.
             Protected
               Data                                 • Limited and controlled access by certain trusted and screened personnel in the United States
                                                      pursuant to NSA-approved Trusted Access Protocol. Access is verified by Oracle.




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Architecture View of Data Protection System
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II! What is Protected Data?

           There is substantive alignment on the NSA data definitions.
   All data of TikTok U.S. Users falls within one of the following 3 categories:

   Protected Data is all data              Excepted Data includes:                                • Public Data is data that is
   collected or derived from a                                                                      generally accessible to public
   TikTok U.S. User that is not:           • Engineering and Business                               users of the TikTok U.S.
                                             Related Metric data (i.e.                              platform
   • Excepted Data, or                       dashboard-type); and
                                           • Interoperability data (for
   • Public Data                             convenience, we refer to
                                             these as "flags")




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I Protected Data: Who is a "U.S.
                           ''U.S. User"?
                                  User''?
   There are two ways a user becomes a TikTok U.S. User:


   1. Individuals signing into the TikTok App -—                     2. If not captured in #1, users who want to be
   categorized based on location                                     categorized as TikTok U.S. Users may opt-in

                                                                            E.g., Expat U.S. citizens requesting
       Users located in the United States based
                                                                            reclassification pursuant to CMA-
       on (in order of priority):
                                                                            approved protocol
       • Country code of device subscriber
                                                                            • Will include option to select at new
          identity module (SIM) card;
                                                                               user registration
       • IP address;
                                                                            • Push notification to existing users to
       • Mobile country code associated with
                                                                               alert them to new feature
          mobile subscription of the device; or
                                                                            • Feature within all versions for users to
       • OS/System Region
                                                                               be reclassified as TikTok U.S. Users



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I   Video Demonstration - Public Data




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I              Public Data: In-App View
                                            Video                                                                                                     Profile

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I   Public Data: Web View
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Excepted Data - Interoperability

       Public data alone is insufficient to maintain TikTok as a global platform.



       • Video creators can choose settings on videos not public to other users.
           • For instance, users can choose to make videos private.
       • When public videos are determined by TikTok systems to be both safe and popular, they
                                               (e.g. , U.S. videos shared to the U.K. or Australia).
         are sometimes distributed globally (e.g.,
       • To support the global distribution, it is important that certain flags associated with those
         videos, such as public/private settings, travel with the videos on global systems so as to
         respect user choices.


       TikTok also wants to continue to support users who want to send private messages to users in
 rip   other countries.

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I Use Case 1: User Wants to Publish Public Video
     •   User creates a video they want to upload                                      Data sent to TTP
         and make public                                             User ID                         Moderation Result
     •   Video is uploaded to TTP cloud infrastructure
                                                                     Video ID
     •   Video and account information is                                                   0
 2       processed by TTUSO / TTP to
         identify any safety risks                                    TTP /                                     TT                  Data sent to TT Inc.
                                                                     TTUSO                                     Inc.             Video n       Risk Flags
     •   If Risk is Flagged:                                                                0                                                 (e.g.
            o Video passes through data exchange                         a                                                      Audio
                                                                                                                                User ID
                                                                                                                                              potential
               system and is stripped of User Data                                                                                            nudity,
 3             except for interoperability flags, UID, and                                                                                    weapon,, etc)
                                                                                                                                              weapon
               VID and sent to TT Inc. for Global                    0f                       Data Sent to TTP                  Video ID
                                                                                                                                User
               Moderation                                                                 Video             Video ID
                                                                       User
            o Public Video may be "Human Reviewed"
            o
               based on risk flags from analysis in TTP
                                                                        •
                                                                         •  ,             Audio             Date/
                                                                                                            Time
                                                                                                                                Country


     •   Moderation Decision is Recorded and                                              User ID           Effects
         Returned to TTP                                                                                    Used
          o Safe I/ Video Takedown / Account Ban
                                                                      Businessctaalef
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I   Use Case 1: User Wants to Publish Public Video
    •   Video is included in recommendations and shared with                        •    If video begins to get popular and is potentially relevant
        U.S. Users via U.S. CON
                             CDN                                                        I/ popular to other markets:
                                                                                6           o
                                                                                            o TT Inc. will begin recommending it for users in
                                                                                               relevant markets
                                                                                            O TT Inc. will distribute video through RoW CDNs
                                                                                            o



                                                      TTP /
                                                                           •
                                U.S.                                                         TT                       RoW
                                                     TTUSO             p
                                CDN
                                                                           •0               Inc.                      CDN


                                 J
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I   Use Case 2: User Decides to Change Status of Video to Private

      User changes status of video or account to
                                                                                                          Data sent to TT Inc.
    7 private                                                                                             User ID
                                                                                                          User Status (Flag)
      Message is exchanged with TT Inc. and CDNs to                                                       Video ID

4t,   remove content to protect user's privacy                                                            Video Status (Flag)



                           U.S.                  TTP /                              TT                      RoW
                           CDN                  TTUSO
                                                                                   Inc.                     CDN
                                                                    •
                                                            \       User

                                                                ®    •                                               Row User
                                                                                                                     RoW
                                                                                                                        User




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I   Excepted Data - Engineering and Business Metrics

             The global leadership team follows high-level metrics, such as daily active users in the U.S.,
                                                                                                      U.S. , to
        00   assess overall performance.


             The global engineering development teams access certain metrics derived from U.S. user data
             (presented in dashboard form) to improve products and make technology-related decisions:
             Examples include:
             • Feature usage in order to understand what features actually solve a user's problems to
        II
                better optimize the product
             • Video view trends and session length to decide on future capital expenditures on IT
                infrastructure (e.g. servers)

    p
             The global advertising sales and creator engagement teams also use metrics data, for
             example, to assess and explain the outcome of advertising campaigns to customers.


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I    Use Case 1: Engineering Data: A/B Feature Testing
          •   The Engineering team wants to see            •   TTP collects engagement metrics from
              if a new feature will resonate in the            the users in the test group and control
              U.S. users                                       group
                 o0 The code is developed and
                    delivered to the DTC
                                      OTC

          •   TTP analyzes the code to
     2        determine if safe and appropriate
              for deployment                                                 CD                                         TTP/
                                                                                      DTC                              TTUSO
          •   TTUSO I/ TTP generate two
    413       randomized samples of users
              (control group and test group)



    4-4   •   TTUSO / TTP deploys the update to
              the test group
                                                                                                      5                        5

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 Use Case 1: Engineering Data: A/B Feature Testing
            TTUSO I/ TTP generates metrics
( 6         reporting , ensuring no individual user
            reporting,                                                                       ---------1 7
                                                                                                        7 ,________
            records are included

       •    Reporting is returned to TT Inc. for
            the Engineering team to determine
            how the new update was received
            compared to the control group                                                                                                  0
                                                                                             CD                                           TTP/
                                                                           TT Inc.                      DTC
           Sample Engineering and Business                                                                                               TTUSO
                       Metrics
      • Total/Average/Percentage of users that are exposed to a
        product feature by experiment group, time period, account
        property and status, action placement and history, device
        attributes, network environment and video attributes
      • Total/Average/Percentage of users that interact w  ith product
                                                         with
        by experiment group, time period, account property and status,
        action placement and history, device attributes, network                                                                                 B
        environment and video attributes                                                                                                             5

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Use Case 2: Advertising: Create Global Ad Campaign

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                                 ■    Earbuds are a truly
                                                                     F17.
                                                                     Choice
                                      wireless revelation.




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        Use Case 2: Advertising: Create Global Ad Campaign
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        •   Advertiser sends Ad and desired audience
    1       segment information to TT Inc.
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                                                                   United     kl.t
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                                                                                                                                                                Sample Ad
                                                                                                                                                                       Ad
                                                                     •   Waage

                                                                         • M
                                                                           ad                              Advertiser                    Data returned to TTP
                                                                             Operating S..
                                                                                                                                Ad watched          Ad shared
        •   If there is U.S. audience, TT Inc. sends same                    Den.



    2       Ad and audience segment to TTP/TTUSO
                                                                             Pl&effflMl
                                                                             Platen."

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                                                                                                                                Ad clicked          UID
                                                                             stbresta                                           Ad liked            Date/Time
                                                                             OMIP

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        •   TTUSO tasks Ad system within TTP to the                          .141411


3
            appropriate audience segment                                     conr«1lonl},)e
                                                                             owner:Hon Mao

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                                                                             PinPutt

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                                                                             Product all.                                                             TTUSO
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            Subset of users will see the Ad and may click
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Use Case 2: Advertising: Create Global Ad Campaign


4
• TTP/TTUSO returns Metrics /
  Reporting to TT Inc. (no individual
  records, only totals and %)


                    • • e
                           %)


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                                                                                                                          Advertiser
                                                                                                                                                                Sample Ad




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Example of TikTok AdsUSCA
                       Manager      Dashboard
                          Case #24-1113            View:
                                        Document #2060757                                                                                       Filed: 06/20/2024                        Page 46 of 276



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                  TikTok.
                  TikTOk- Ads
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                              Manager                    Dashboard
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                                                                                                                                                                                 - -'--TikTok
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                                                                                                                                                                                                --  I...- ~)   English
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                       +Filters                ~ f   r             ID                         Q                                                                                                          Lifetime     UTC+00:00         El

                    Selected:      Search Campaign. 1694191779189810       O
                                                                           0      Clear All       Save




                   Camp ai gn
                   Campaign                                  Ad Group
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                   EWE Create                            7,
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                          On/Off        Name                                         Total Cost                CPC -                 CPM            lmpressio...
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                                                                                                                                                                                                       Conversio...            Conversions (S...
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                          <)            a A Ad Group20210314072...
                                        ii     Group20210314072...                            USO
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                            •           ii
                                        SI A
                                           A. Ad Group20210314072...


                                        Iii 1,
                                                 Group20210314072 ...


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                            •           ii A
                                        II Zs Ad Group20210314072...
                                                 Group20210314072...                 1,126.63 USD
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                                                                                                                  USO               0.43 USD
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                  Total of 4 Ad Group(s)                                             2,583.68 USD
                                                                                              USO            0.04 USD
                                                                                                                  USO               0.75 USD
                                                                                                                                         USO            3,460,660           59,044         1.71%                      39                            0




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Example of TikTok AdsUSCA
                       Manager      Dashboard
                          Case #24-1113            View:
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                  • •       ID             <                                                        ads.tiktok.com                                                                                  0: + 88

                 TikTOk• Ads Manager               Dashboard      Campaign                                                                     (   Internal -TikTok Ads 1...   )    English     •   En    CI
                                           X                                                                                             -18-24 (66.09)
                                                      Device
                      +Filters
                                                                                                    25 34 122.81)

                   Selected:

                                                                                                            35-44 (42.95)--


                  Campaign                                                                                                                                     View data
                  EWE Create
                                                                                                                                                           breakdown by age
                         On/Off        Name
                                                  Detailed Analysis                                                                                                    Age                      V    ID
                         <)            RA,
                                       ii .II.
                                                    Age                      Total Cost ..              Cost Per Result        CPC          lmpressio...
                                                                                                                                            Impressio...             CTR           Clicks
                                       ii .II.
                                       Ill 490

                                                    18-24                      66.09 USD
                                                                                     USO                      0.18 USD
                                                                                                                   USO        0.18 USD
                                                                                                                                   USO              35,840            1.04%             371
                                                                                                                                                                                        371
                                       Iii
                                       Q.& .II.
                                                    35-44                      42.95  USO
                                                                               42 .95 USD                     0 .16 USD
                                                                                                              0.16  USO            USO
                                                                                                                              0.16 USD              24, 209
                                                                                                                                                    24,209             1.11%
                                                                                                                                                                       1.11%            269


                           •           ii .II.
                                                    25-34                      22.81 USO
                                                                               22.81 USD                      0.18 USD
                                                                                                                   USO             USO
                                                                                                                              0.18 USD              15,558            0.82%
                                                                                                                                                                      0 .82%            128



                                                    45-54                       17.76 USD
                                                                                      USO                     0 .16 USD
                                                                                                              0.16  USO       0.16 USD
                                                                                                                                   USO              13,456
                                                                                                                                                    13,456            0.83%             112


                                                    :,55
                                                    a55                              USO
                                                                               16.92 USD                      0.14 USO
                                                                                                              0.14 USD             USO
                                                                                                                              0.14 USD                8,818           1.3 5%
                                                                                                                                                                      1.35%             119


                                                    Unknown                     0.00 USD
                                                                                     USO                     0.00 USD
                                                                                                                  USO         0.00 USD
                                                                                                                                   USO                     0
                                                                                                                                                           0              0%                0


                 Total o
                       off 4 Ad Group(s)




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                                            USCA Case #24-1113                           Document #2060757              Filed: 06/20/2024   Page 48 of 276


    Use Case 2: Advertising: Create Global Ad Campaign
I
    D
    6          Metrics / Reporting Combine

        TT Inc. combines Metrics / Reporting from
                                                                                                                                Advertiser
        US with RoW and provides to Advertiser
        (no individual records, only totals and %)
                                                %)

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                             TlkTok 'J,,w .,,           ,..,, •.,,
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                                                                                                                                  TT Inc.                              TTUSO
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           -                                        View data
                                                breakdown by age




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Data Removal
Proactively identifying environments for Protected Data:
• In U.S., Singapore, and China data centers
• Across 18 different database and file storage types
• With plans for e-mail and other internal systems


Developing irreversible deletion methods for all database and file storage types:

             NIST 800-88                                      Individual record
             "NIST Clear"                                          deletion                                • Deletion mechanics
                                         input                                            considers
                                                                                                           • Established grace periods
                                    -------------~                                 -------------~          • Backup requirements

                                                                                                           • Forensic validation of deletion

       Reviewed definitions and                          Developed deletion method
      proper sanitization methods                          for each database type

     ------------------------------------------------------------------------------------♦
                                                 Applies to all U.S. data outside of Oracle environment

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                                                 Business ConfidentiaA- PI:La-0250
                                                                        Pursuant to 50 U.S.C. § 4565
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TikTok Inc. Access to Protected Data via the
Trusted Access Protocol
Trusted Personnel will be provided access to Protected Data on a restricted and monitored basis for
(1) legal and compliance matters; and (2) Certain other emergency situations involving the health and safety of TikTok U.S. Users.


                 Protected Data access for the purpose of Trust & Safety will largely be accessed and used by personnel
    O            within TikTok U.S. Ops to ensure the safety and security of U.S. Users.


                 In exceptional cases, vetted Trusted Personnel in TikTok Inc. may need to access minimum necessary
                 Protected Data via a Trusted Access Protocol to:
                 • Investigate and respond to law enforcement requests addressing imminent harm (e.g. investigating
                     potential coordination of bomb threats via DMs on 9/11
                                                                       9/11 in NYC).
                 • Investigate and take down harmful content (e.g. graphic suicide proliferating in the U.S. and globally)
                 • Litigation & Regulatory responses



                 TikTok Inc. will develop the Trusted Access Protocol with the Trusted Technology Provider and subject to
                 prior non-objection of the CMAs.


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                                            Business Confidential - Pursuant to 50 U.S.C. § 4565
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Business Concerns with Data Governance Approach
             . - -.
           Challenge                                                                  Explanation


                                  •   Add ing new cloud services provider generally takes a year or more
                                      Adding
  Timing of rollout and system    •   The system being installed is substantially more complex than a typ ical cloud deployment
                                                                                                      typical
            stability             •   TikTok and Oracle have made substantial progress toward implementing an operational system in an
                                      accelerated timeframe




                                  •   The TikTok system will require a very high number of data transformations per second to operate and meet user
                                      expectations for performance
 Performance of Data Exchange
                                  •   The data exchange system that has been designed to meet US national security objectives is in the early stages
           System                     of testing
                                  •   Until testing is completed, we will not know whether it will perform and be stable for production use




                                  •   We are concerned about the method of approving exceptions solely through static annexes in the NSA that must
        Static Annexes                be updated and approved manually
                                  •   Allowing for a more dynamic process would align better with the speed of development and innovation




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Conclusion
Conclusion


The parties look
The parties look forward
                 forward to
                         to continuing
                            continuing to
                                        to engage
                                           engage with
                                                    with CFIUS
                                                         CFIUS on
                                                                on each
                                                                   each of
                                                                         of
these
these topics
      topics and
             and to
                  to complete
                     complete an NSA that
                              an NSA   that fully resolves any
                                            fully resolves any U.S. national
                                                               U.S. national
security
security concerns.
         concerns.




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                     Exhibit E
                     Exhibit E




                               APP-306
                               APP-306
                                                  Confidential  Settlement
                                                   USCA Case #24-1113
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                                                                                                             54 of 276



       hil ByteDance                                                                                                                                                  TikTok
                                  NATIONAL SECURITY AGREEMENT
                                        CFIUS CASE 20-100
                                                 Presentation to the Committee on Foreign
                                                     Investment in the United States
                                                                                         November 29, 2021
ByteDance Participants (telephonic)                                   Oracle Participants (telephonic)                             Counsel
••   Erich Andersen –
                    — General Counsel and Head of Corporate Affairs   ••   Edward Screven –
                                                                                          — Chief Corporate Architect              ••   Michael Leiter (Skadden), David Fagan (Covington), Brian Williams
••   Vanessa Pappas –
                    — TikTok Chief Operating Officer                  ••   Craig Stephen –
                                                                                         — Senior Vice President, Research and          (Covington), Tatiana Sullivan (Skadden), Katie Clarke (Skadden), and
••   Will Farrell –
                  — TikTok Head of Global Cyber and Data Defense           Development                                                  Monty Roberson (Covington) on behalf of ByteDance
••   Eric Han –
              — Head of U.S. Safety, TikTok                           ••   Scott Gaetjen –
                                                                                         — Vice President, Cloud Chief Architect   ••   Giovanna Cinelli and Christian Kozlowski from Morgan Lewis on
••   Matt Penarczyk –
                    — TikTok Head of Legal, Americas                  ••   Brian Higgins -– Senior Vice President, Legal                behalf of Oracle
••   Sarah Aleem –
                 — TikTok Senior Legal Counsel, North America
••   Yufan Zhu –
               — Head of TikTok Engineering US




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           Today’s Discussion
Topics for Today's


    1
    1   An Overview of TikTok Video Discovery

    2   The TikTok Recommendation Engine

    3   Content Moderation

    4   Video Promotion and Filtering

    5   Conclusions and Q&A




                                                   APP-308
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In App Content Discovery
                             12:10

                                           Following       For You


                                                                                                                             12:13                               *7'


                                                                                            For You
                                                                                                                        Q PC Gaming
                                                                                                                                                                                     Search
      Following

     Users Subscribe                                                                       The “for   you” feed
                                                                                                "for you"  feed             TikTok
     to Accounts                                                                           is central
                                                                                              central to the
                                                                                           TikTok experience
                                                                                           and where TikTok
                                                                                           and          TikTok          •     OnTheCover                               23.5M)
                                                                                           users spend
                                                                                                  spend most
                                                                                           of their time.
                                                                                           of
                                                                6
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                                                                                                                            Tom Merle.,
                                                                                                                            MOT'               MOTT




                                                                                                                        *     Friendsgiving                             22B)
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                                                    -                •   air                                                       70.
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                                                                                            Discover
                                                                                                                        *     TikTokHolidays                           86.2M a
                                           is
                           obsessecr.+

                           >sessed with this - @mallori<                        0          Programmed and
                                                                                           Recommended
                                                                                           Content
                                                                                                                                           0        CI     L:1

                                                    a                            0

                                                                                Profile




                                                                                           APP-309
                                                                                           APP-309                                                                                                      3
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An Overview of Steps That Determine What Users See

    Steps            Functionality                                                                      Description
                  Decide what videos
                                            ••   The recommendation engine is        is a
                                                                                        a sorting machine that
                                                                                          sorting machine  that decides
                                                                                                                decides what
                                                                                                                          what videos
                                                                                                                                 videos a  user sees
                                                                                                                                        a user  sees in
                                                                                                                                                      in the “for you
                                                                                                                                                         the "for  you feed"
                                                                                                                                                                       feed” based
                                                                                                                                                                             based
Recommendation    are distributed to
                                                 on a statistical model developed from behavioral signals from the user and other users in the community, such as
    Engine        users based on
                                                 their likes, comments and watch time. Recommendation systems are common in our industry.
                  content metadata and      ••   The recommendation engine does            not ‘understand’
                                                                                     does not   `understand' the
                                                                                                             the content
                                                                                                                 content that
                                                                                                                           that is being recommended
                                                                                                                                is being recommended (e.g.,
                                                                                                                                                          (e.g., whether
                                                                                                                                                                  whether aa video
                                                                                                                                                                             video is
                                                                                                                                                                                   is
                  user behavior
                                                 critical
                                                 critical of
                                                           of a
                                                              a person
                                                                person or whether a
                                                                       or whether   a video
                                                                                      video shows
                                                                                            shows a a dog
                                                                                                      dog or  not). It
                                                                                                          or not).  It does
                                                                                                                       does ‘understand’
                                                                                                                             `understand' the
                                                                                                                                           the similarity of different
                                                                                                                                               similarity of different videos  and
                                                                                                                                                                       videos and
                                                 different people by calculating the correlations from
                                                                                                     from behavioral signals
                                                                                                                        signals of users’
                                                                                                                                    users' interactions.
                                                 It’s
                                                 It's all about
                                                          about math
                                                                 math - statistics and probability.
                                            The content moderation system is a hybrid system (i.e., machine and human) that is designed to implement public
                  Generate content
                                            community guidelines and decides which content should be excluded from the pool of recommended videos based on:
                  selection pool for
                                            •• Specialized computer programs that are trained to recognize categories of violating content; and
   Content        recommendation
                                            •• Human moderators that are trained to recognize violating content and make nuanced policy decisions.
  Moderation      engine and moderate
                                            We continue to apply our content moderation system after videos are selected for distribution. We also have methods
                  for compliance with
                                            for users to report videos to us, for third parties to request take down where IP rights violations are infringed, and for law
                  community guidelines
                                            enforcement officials to reach out with orders to remove content.
                  Some videos are           ••   After the recommendation engine algorithm sorts videos, we promote some of them to address commercial and
                  promoted or filtered to        product goals such as introducing new celebrity creators and to meet minimum commitments to advertisers. This
Video Promotion
                  keep video feeds               ‘heating’ (promotion) process impacts less than 1%
                                                 `heating' (promotion)                                   of videos.
                                                                                                  1(:)/0 of
  and Filtering
                  interesting, high         ••   We also applies a set of business rules to filter videos to support commercial and product goals such as prioritizing
                  quality and diverse            locally-based content, avoiding duplication, and ensuring appropriate video length.




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Recommendation Engine

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How this Section is Organized

     1
     1          The Basics: How does recommendation work?



                Content Diversity: How do we ensure that users get exposed to diverse content and are not stuck in
      2
                content bubbles?



      3         What are the limits: What does the recommendation engine not do?


                    for Technical
Please see Appendix for Technical Diagrams




                                                                 APP-312
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How “For You” Recommends Videos
    "For You"

                                                        Following      For You




                                                                                                                         Follows

                                                                                                                         Likes

                                                                                          918
                                                                                                                         Comments


       Captions                           @onewinone
                                                                           •             0*
                                                                                         11.2k
                                                                                                                         Share
                                          Watch me send it this summer.

                                          .17 original sound - onewinone
                                                                                                                         Sounds
       Hashtags
                                            *
                                            Han.
                                                      Q
                                                     Discow                    Inbon
                                                                                          0
                                                                                          Me




                                                        APP-313
                                                        APP-313                                                                                                  7
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How “For You” Recommends Videos
    "For You"

                                                Following      For You



                                                                                                   Language Preferences




                                                                                                   Country Settings


                                                                               918




                                   @onewinone
                                                                   •          0*
                                                                              11.2k


                                   Watch me send it this summer.

                                   .0 original sound - onewinone               3
                                     *
                                     Han.
                                               Q
                                              Discow                Inbon
                                                                               0
                                                                               Me
                                                                                                   Device Type


                                                APP-314
                                                APP-314                                                                                               8
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Recommendation Process Simplified


          Video 1        Video 2           Video 3              Video 4              Video 5          ...     Video N
 User 1   1              0                 0                    1                    1                ...     ...
 User 2   0              0                 1                    1                    1                ...     ...
 User 3   0              0                 0                    0                    1                ...     ...
 User 4   1              1                 0                    0                    0                ...     ...
 User 5   1              1                 0                    0                    1                ...     ...
  ..      ...            ..                ..                   ..                   ..               ..      ..
 User N   ...            ..                ...                  ..                   ..               ..      ..




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  Results – the User Experience

                                                  '4+
                       2 weeks before my jaw                                                                                                                                                  Things you wish
                             surgery
                                                                                                                                                                                                Siri could do
                                                                                                                                                                                                   Part 7




                                                         What I'd wear to
                                                        fashion week in...

                                                                                         If Celine Dion sang                                                                         •
                                                                                                Savage     I




          n
                                                                             dream,              i                 other fashion chows
                                                                                                                    may be cancelled
                                                                                                                                                last pic i took in school




                                                                                                                                                                                                        •




Video 1
              ‘il   (Video 2                    (Video 3                              Video 4
                                                                                                               ■
                                                                                                               (Video 5                  ideo 6                             ideo 7       Video 8




                            As a user views videos, the algorithm takes into account preferences to start grouping similar videos.



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                                                                                                                                                                                                            10
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Understanding Recommendation
     I I    I I       IJ MENEMEN




                                  I
                                        i
                                                                        I
 First
 Load                    Second                                                                      Fourth
                                                                hird
                         Load                                                                       Load
                                                               Load




 Fifth
 Load
                          Sixth
                         Load
                                      I              II
                                                               Seventh
                                                               Load
                                                                                                    Eighth
                                                                                                    Load



         As a user views videos, the algorithm takes into account preferences to start grouping similar videos.
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 Understanding Recommendation

                                              Cool gaming                                          Pure sodium explodes in         E-85 Tester kit
                                            accessories you                                               the lake!
           Telma why u woukl want a
                                          probably didn't know              HN   DEEF

   M.      sleeper that small
                                             - about                                                                                        •




                                                                                                                                                                                  H

                                                                                                          Si lence!   !!
                                                                                                                                How to test it properly



                                                                                        cr., -




ideo 1   ideo 2                         ideo 3                        ideo 4                     ideo 5                      ideo 6                       ideo 7   ideo 8



                          As a user views videos, the algorithm takes into account preferences to start grouping similar videos.




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The Role of Individual Signals & Content Diversity
Each of these interaction-types ultimately                               Content diversity and user interests are critical to the
influences the Recommendation Engine.                                    recommendation system.

     Positive Signals           Negative Signals                         1.   Introduce randomization: Randomization helps to avoid filter bubbles,
                                                                              content addiction, or feed polarization while enabling randomization
                                                                              and diversification. The algorithm down-ranks videos that are too
                                      0                                       similar to previously displayed videos and does not allow content from
                                                                              the same creator to continuously show on the same feed. Lastly, the
✓ Like                    ×
                          x    Report                                         algorithm will also display random videos
                                                                                                  display random  videos to explore the
                                                                                                                         to explore the user’s
                                                                                                                                        user's interest
                                                                                                                                               interest
                                                                              and recommend accordingly.
✓ Share                   x
                          ×    Click ‘Not Interested'
                               Click Not  Interested’
✓ Finish watching video   ×
                          x    Skip                                      2.   Prioritize recent engagement: The algorithm assigns higher weights
                                                                              to more recent engagements on the platform. A user can explore new
✓ Long play time                                                              content categories more aligned to their recent engagements which
✓ Comment                                                                     evolves and diversifies the content they see.

✓ Follow                                                                 3.   Content recycling: Recommendation is a process of exploring and
                                                                              adjusting to
                                                                              adjusting  to the
                                                                                             the user’s
                                                                                                  user's interest. If a
                                                                                                         interest. If a user
                                                                                                                        user does not express
                                                                                                                             does not express interest
                                                                                                                                              interest in
                                                                                                                                                       in a
                                                                                                                                                          a
✓ Click soundtrack
                                                                              video, it will likely not reappear. However, the content may appear as
✓ Enter creator page                                                          random videos in the feed, which diversifies the feed and explores
                                                                              potential new interest areas.
✓ Add to favorites
✓ Save video                                                      APP-319
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What Recommendation Engine Does NOT Do


  x
  X   It does NOT look to promote or suppress a particular political agenda, views, or content




  x
  X   It does NOT use signals to infer someone's race, ethnicity, sexual orientation, or political affiliation or beliefs.




  x
  X   It does NOT "have an agenda."



      Instead, the recommendation engine is a complex set of formulas that looks to provide individually
                                      tailored content for each user.


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Content Moderation

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How this Section is Organized
Content Moderation is a continuous process managed
                                           managed by thousands of
                                                                of people and
                                                                          and a suite of
                                                                                      of sophisticated
                                                                                         sophisticated technology that is being
continually updated.



                     Community Guidelines: TikTok public policies that describe what is and what is not allowed on the
          1
                     platform



          2          The Advisory Counsel



                     Moderation Technology: Special purpose models that check for and remove unauthorized content an
          3
                     help respond to user and law enforcement requests




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TikTok’s Community Guidelines
TikTok's
By protecting the safety of
                         of our
                            our users, we create a positive environment for our community.
                                                                        for our


                  Ensure that TikTok is a place for inclusive, joyful, and authentic content -- a place where users can
                  safely discover, create, and connect.


                  Our Trust & Safety teams provide the policies, operations, strategies, and technologies to ensure that
                  the TikTok community is protected against any and all threats in the U.S. and worldwide.


                  We consider local laws, as well as cultural and social norms, and engage multiple external
                  stakeholders in developing our content moderation policies.


                  Community Guidelines are public and available here:
                  www.tiktok.com/community-guidelines




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Community Guidelines Principles
The TikTok
The  TikTok Community
             Community Guidelines are a publicly available code of  of conduct to ensure user safety and
                                                                                                     and a friendly digital
                                                                                                                    digital environment.
A violation of
            of the guidelines may result in the account and/or content being removed.




      Dangerous                    Suicide,
                                                                                                        0                    0
                                                                                                       Violent and        Illegal activities
    individuals and             self-harm, and                  Hate Speech                                                and regulated
                                                                                                     graphic content
     organizations              dangerous acts                                                                                 goods




   Adult nudity and             Harassment and                Content harmful                          Integrity and         Threats to
   sexual activities                bullying                    to minors                               authenticity      platform security




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Content Advisory Council
On March 18, 2020, TikTok
                     TikTok announced the inaugural
                                           inaugural members of
                                                              of the TikTok Content Advisory Council
                                                                                                  Council to advise the business on a variety of
                                                                                                                                              of topics, including child
                                                                                                                                                                   child
safety, hate speech, misinformation, and
                                     and bullying, with members hailing from the technology, policy, and
                                                                                                     and heath and
                                                                                                               and wellness industries.


      Content Advisory Council Member                                                                  Affiliation

              Dawn Nunziato, Chair                                               George Washington University School of Law

                     Hany Farid                                            University of California - Berkeley School of Information

                    David Polgar                                                                  All Tech is Human

                   Vicki Harrison                                          Stanford Center for Youth Mental Health and Wellbeing

                Marry Anne Franks                                                              University of Miami Law

                   Rob Atkinson                                                Information Technology & Innovation Foundation

                     Dan Schnur                       University of Southern California Annenberg Center on Communication Leadership & Policy

                 Dorothy Espelage                                              University of North Carolina School of Education

                   Mutale Nkonde                                     Berkman Klein Center for Internet & Society at Harvard University



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Content Moderation Overview
TikTok has combined
TikTok     combined content moderation technology with a robust human moderation team and several layers of
                                                                                      and several        of tools and
                                                                                                                  and processes to
recommend safe content to users.
recommend


      1          Al
                 AI Safety Models                     2             User Reporting                       3                Virality Check


       •   Intelligent safety models are built         •   Any video can be reported and                     •    Certain viewership thresholds of
           on text, video, image and                       flagged for review.                                    virality lead to mandatory human
           behavioral signals to identify              •   Users can report through in app                        review.
           content that may violate the                    reporting mechanism                               •    Serves as an additional check on
           Community Guidelines.                       •   Third parties can report (e.g.,                        widely distributed.
       •   AI Safety models continuously
           Al                                              copyright, underage user)
           monitor content.                                through webforms.
       •   May result in automatic
           takedowns without human
           moderation.


                          Human Moderation teams review content after receiving signals from above.
                                  Human review may include multiple rounds of review.




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    Human Moderation Interface
I
                                                                               •
                                           Key Frames
        -USER INFO                                                                                                                            q      Search policy/policy number/keyword

                                                                                   • • • • • • • • • • • • • • •   • • • • • • I
                                                                                  • • • • • • • • • • • • • • • • • • • • • • •
      Name                                                                      • • • • • • • • • • • • • • • • • • • • • • •                 TOP POLICIES (10)
                                                                                  • • • • • • • • • • • • • • • • • • • • • • •
                                                                                • • • • • • • • • • • • • • • • • • • • • • •
                                                                                  • • • • • • • • • • • • • • • • • • • • • • •
      Followers   1068                                                          • • • • • • • • • • • • • • • • • • • • • • •
                                                                                  • • • • • • • • • • • • • • • • • • • • • • •
                                                                                • • • • • • • • • • • • • • • • • • • • • • •                     terrorist    organization
                                                                                  • • • • • • • • • • • • • • • • • • • • • • •
                                                                                • • • • • • • • • • • • • • • • • • • • • • •
                                                                                  • • • • • • • • • • • • • • • • • • • • • • •                Dangerous individuals and
                                                                                • • • • • • • • • • • • • • • • • • • • • • •
                                                                               • • • • • • • • • • • • • • • • • • • • • • • •
        -VIDEO INFO                                                             • • • • • • • • • • • • • • • • • • • • • • •                  organizations
                                                                               • • • • • • • • • • • • • • • • • • • • • • • •
                                                                                • • • • • • • • • • • • • • • • • • • • • • •
                                                                                                                               •
                                                                                •    • • • •   •   MEE     • • • • II •  •   •
      Create      2020-02-24 05:00:12
      Time
                                                                                                                                                  criminal activity    drug
      Region      SA
                                                                                                                                               Illegal activities and regulated goods
      W           3095

      Like        144

      Comment     40                                                                                                                              violent

      Share       26
                                                                                                                                               Violent and graphic content

      Video ID    Track ID                                                             • • • • • • • • • III • • II • • • • • • • •
                                                                                   •    • • • • • • • • • • • • • • • • • • • • • •
                                                                                       • • • • • • • • • • • • • • • • • • • • • •

                                                                                                                                                  suicide     self-harm   dangerous behavior
        I. Hit comments
                                                                                                                                               Suicide, self-harm, and dangerous
                                                                                                                                               acts




                                                                                                                                                  nudity      sexual

                                                                                                              IR                               Adult nudity and sexual activities

                                                                                        II (moo/00.10                   i)
                                                                                                                         <


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I   Incident Management
    Bad actors are constantly trying to circumvent our systems. Our incident management teams proactively monitor the content on platform to
    hunt for these culprits, and to adapt, learn, and evolve our systems to be one step ahead of them.




                                                Investigate &                                                          Intervene &
                     Detect                                                           Diagnose
                                                   Triage                                                                Prevent
               Incidents are flagged,                                           Coordinate with teams
                                              Evaluate if
                                                        if incident is              on how incident                Action the incident and
                or teams proactively
                                               isolated or
                                                        or part of
                                                                of a            bypassed our                        improve systems to
                                 and
                research, hunt, and                                             bypassed     our systems
                                                 broader trend on               (e.g., filters, classifiers)           prevent similar
              stress-test our systems
                                                     platform                                                      incidents in the future




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                             enforcemenf
Incident Management with Law Enforcement
TikTok has a specialized
             specialized workflow to comply with U.S. Law Enforcement and
                                                                      and regulatory agencies to process requests.



                U.S. Law Enforcement submits user data request to TikTok through a webform
       1
       1
                available at: www.tiktok.com/legal/law-enforcement


                The user data request enters a specialized queue to be processed by the Law
       2
                Enforcement Response Team under U.S. Trust & Safety


                U.S. Trust & Safety collaborates with Legal and Security teams to submit requested
       3
                user data to U.S. Law Enforcement.




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Promoting Videos

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Video Promotion
      I promotion & Filtering
Promotion impacts fewer
                     fewer than 1% of
                                   of videos. The
                                               The selection process for promoted videos focuses on the criteria described
                                                                     for promoted                                described below.
Filtering is meant to keep video quality high and
                                              and the TikTok
                                                      TikTok experience entertaining and engaging..
                                                                                     and engaging


                        Promotion                                                                  Filtering – keep content engaging
                                                                                   QA (e.g. filter low quality, extremely short videos, extremely long
                   Diversify Content                                               videos)

                                                                                   Give new content a chance (e.g. include some low Video View
                    Support Creators                                               (“vv”) videos, include
                                                                                   ("w")                  recent videos)
                                                                                                  include recent videos)

                                                                                   Include local content (e.g. 50% of content pool should be from
                  Tentpole Promotion                                               U.S.)

                                                                                   Deduping (e.g. don’t
                                                                                                  don't show same creator or audio repeatedly)
                           Music

                 Sponsored Promotion                                                             (e.g. don’t
                                                                                   New User Feed (e.g. don't include
                                                                                                             include duets, don’t include
                                                                                                                     duets, don't include non-U.S.)
                                                                                                                                          non-U.S.)




                                                    Parameters are NOT Political

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                   How Video Promotion and Filtering Works
                   (Note: Moderation Systems Not Shown for Simplicity of Diagram)

                                                                           Content Pool



          Content
        Partnerships             r0                                                                                                              Post-processing
                                   9<,                                                                                                          to further increase
                                     ose                   Tag Content                           Tagged content                                    ranking when
                                                              to be                             ranking increased                                    necessary
                       -1                                   promoted
                                               U.S.                                                                   r
                                                           (Teal color)
           Music            request         Promotion                                                                     Recommendation
                                             Platform                                                                         Engine
                                                                                                                                                 g             41
                                                                                                      Filter      ,                                   Filter


        Advertising
                       .J
                                                                                                        1                                               1
                                                                                                                          Business Rules




                                                                                                                                i
I -                                                                                                                                                             }

      Business and Quality
             Goals
                                                                                                                                           q Video
                                                                          APP-332
                                                                          APP                                                              ▪   Promoted Video
                             }                                               -332                                                                               26
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Transparency

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Transparency Reports & Centers
www.tiktok.com/transparency


           Quarterly Transparency Reporting                                 Transparency & Accountability Center
                                                                       Los Angeles
     Key Metrics Include:                                              Washington D.C. (coming
                                                                                          (corning soon)
                                                                       Dublin, Ireland
                                                                               Ireland (coming
                                                                                       (corning soon)
     •• Total video removals by market
     •• Total video removals by reason                                 ••   Candid Feedback: Opportunity for observers to
     •• Proactive removal rate and removal rate                             provide meaningful feedback on TikTok's
                                                                                                           TikTok’s
          within 24 hours                                                   practices
     ••   Law enforcement requests for user
          information                                                  ••   Content Moderation: Opportunity see and
     ••   Government requests for content                                   evaluate how trained moderators apply policies
                                                                            to review technology-based actions
          restrictions
     ••   Intellectual property removal requests                       ••   Data & Security: Opportunity to learn about
                                                                            Cyber Defense, Security Assurance, and Data
             The next report will be published                              Protection programs
                   December 1, 2021.


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Conclusion and Q&A
The parties look forward
The                                                   CFIUS on each of
                 forward to continuing to engage with CFIUS           of these topics and
                                                                                      and
to complete an NSA that fully resolves any U.S. national
                                                national security concerns.


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Appendix

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 %clinical Explanation: The Recommendation Algorithm
Technical
The For You feed
    For You feed is part of
                         of what enables connection and
                                                      and discovery. It's central
                                                                          central to the TikTok
           and where most of
experience and               of our
                                our users spend their time.
                                          spend their

   Logical Architecture
   Logical Architecture                                                                                       Some Typical
                                                                                                              Some         Model
                                                                                                                   Typical Model


                                                                                                                 Predict: Stay Time                     Predict: Finish Rate
      Raw Data             Offline Training         Online Training                Online Serving


                             Batch Training             Online Training                  Rank
                                                                                                              Stay Time
                                                                                                              Stay      Model
                                                                                                                   Time Model
       Content
        Pool              Featuring Engineering    Featuring Engineering              Rough Sort

                                                                                                                                    Like / finish / share / skip

                               Batch Infra              Streaming Infra                  Recall

                                                                                                                  User embedding                                   Video embedding


        User
                                                  Shared Inferred Data
       Behavior                                                                                                    Neural network                                   Neural network

                                User Embedding       Content Embedding         Parameters for Models

                                                                                                                     User info                                        Video info




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Technical Explanation: Content Distribution

TikTok US
TikTok US

              Behavior
        Public Content & Metadata
              From US User
                                                                                                                                       TikTok US
                                                                                                                     TikTok US
                                                                                                                                        Content


                                                                          J
                                                                                                                  Recommendation
               Content                                                                                                                Distribution
                                                  TikTok US                      TikTok US                            System
        Public Content & Metadata                                                                                                   Strategy System
              From US User
                                                  Moderation                  Recommendation
       Protected Content & Metadata                System                       Content Pool
               From US User




TikTok ROW
TikTok ROW

                Content
         Public Content & Metadata
              From ROW User

        Protected Content & Metadata
               From ROW User
                                                    TikTok ROW
                                                    Moderation
                                                       System
                                                                              J     TikTok ROW
                                                                                  Recommendation
                                                                                    Content Pool                    TikTok ROW
                                                                                                                                      TikTok ROW
                                                                                                                                        Content
                                                                                                                  Recommendation
                                                                                                                                      Distribution
                                                                                                                       System
                                                                                                                                    Strategy System
               Behavior
         Public Content & Metadata
              From ROW User
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                     Exhibit F
                     Exhibit F
                     Redacted Version
                     Redacted Version




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                               APP-339
                                               Confidential  Settlement
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                                                                         Communication
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    hd ByteDance
       ByteDance                                                                                                                                                                   TikTok
                                                                                                                                                                                   TikTOk
                               NATIONAL SECURITY AGREEMENT
                                     CFIUS CASE 20-100
                                             Presentation to the Committee on Foreign
                                                 Investment in the United States
                                                                                           November 30, 2021
                                                                                                        2021

                       (telephonic)
ByteDance Participants (telephonic)                                    Oracle Participants (telephonic)                                        Counsel
                                                                                                                                               Counsel
•    Erich Andersen -— General Counsel and Head of Corporate Affairs   ••   Edward Screven -— Chief Corporate Architect                        ••   Michael Leiter (Skadden), David Fagan (Covington), Brian Williams
•    Vanessa Pappas -— TikTok Chief Operating Officer                  ••   Craig Stephen -— Senior Vice President, Research and Development        (Covington), Tatiana Sullivan (Skadden), Katie Clarke (Skadden),
•    Will Farrell -— TikTok Head of Global Cyber and Data Defense      ••   Scott Gaetjen -— Vice President, Cloud Chief Architect                  and Monty Roberson (Covington) on behalf of ByteDance
•    Matt Penarczyk -— TikTok Head of Legal, Americas                  ••   Brian Higgins -— Senior Vice President, Legal                      ••   Giovanna Cinelli and Christian Kozlowski from Morgan Lewis on
•    Sarah Aleem -— TikTok Senior Legal Counsel.
                                        Counsel, North America                                                                                      behalf of Oracle
•    Yufan Zhu -— Head of TikTok Engineering US




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                                                                                                    APP-340
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Topics for Today's Discussion

      Key Principles


  2   The TikTok Product Development Process & Code Lifecycle

  3   Overview of the Oracle System

  4   Role of the Dedicated Transparency Centers


  5   Progress to Date on Building a System that Meets National Security Requirements




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I   Key Principles
               ByteDance continues to own its source code, but provides a trusted
                                                                             trusted,, auditable, and
               verifiable deployment of all production code for the TikTok App and TikTok Platform
               through the Oracle infrastructure and with Oracle validation and analysis.


               Provide one or more physical sites for source code analysis and review.
    TAT
               Provide complete access and transparency to ALL TikTok source code for Oracle, the
    10110111   CMAs, and 3rd Party Source Code Inspector.

               The approach,
                    approach , process, and technology all need to operate at sufficient scale and
               speed to keep up with development and make sure U.S. users have feature/experience
               parity with the rest of the world.


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                                                              Pursuant to 50 U.S.C. § 4565
                                                        APP-342
                                                       Disclosure Under 5 U.S.C. § 552
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I   Overview of Source Code Development and
    Security Review Proposal


                                                                                                                Apple App Store
                                                                                              App
                                             Source Code enters
                                                                                                                Google Play Store
    ByteDance provides                       Secure Enclave for
       access to ALL                           analysis by the
        source code                          Trusted Technology
                                               Provider (TTP)                               Backend
                                                                                                                      TTP
                                                                                            Services
                                                                                            Setw.ices




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                                    Businesss Confidential
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                                                           - Pursuant to 50 U.S.C. § 4565
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 Overview of TikTok Product Development Process
                                       At aa           r     r--                        N
                          Product      ~ Privacy
                                         p·nvacy           Develop
    Version 1.0                                                               Testing            Release

                                       C
                          Design         Review             -ment

               i                                                                              \__/
           1
           1 week
               !
                                         Product           Privacy           Develop
                   Version 2.0                                                                   Testing           Release
                                         Design            Review             -ment

                                 i
                            1 week
Product Development is
constant. New features
                                 !
                                                            Product        C Privacy                 Develop
and updates are being                Version 3.0
                                                                                        )
                                                                                                                     Testing   Release
                                                            Design           Review                   -ment
released frequently, as
illustrated by this
diagram.
diagram.
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                                                                Disclosure Under 5 U.S.C. § 552
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I   TikTok Internal Tools, Systems & Tech Stack
          End User             f:J1              iOS                                            ndroid
           {Client) ~
           (Client)


         Data Center                                                Recommendation
                                      Backend Services                                                        Advertising              Content Moderation
                                                                        Engine

              ...
              •••                                               ----------------~r----------------------,,------------,-------------------
                                                                                                        ,           r              r
                                                               1                     lfII                                         11                 I
              • ••
              . •                                                                                                  11
              ..
              • • .•     ,,
                         I,i                                   :! Collaboration ::11 Content Mod Tools ::: Ticketing ::; Security Tools :
                                                                                                                    i
                    II
                    m
                                                                L---------------~-----------------------------------J ___________________
                                                                                      II                           11             1,                 I
                                                                                                                                                     J

                                        Internal Tools             ~------------------------------------------------------------------,,
                                                                   1I
                                                                    :             300+ supporting apps I/ tools I/ services              ,
                                                                    LL------------------------------------------------------------------1,

                                                                                      Big Data Platform

                                                                                            Infrastructure

    Note: All of the above are subject to code analysis by Oracle
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                                                                         APP-345
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       S stem Architecture Diagram
Oracle System              Dia




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                                       APP-346                                                                              7
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  Systems and Processes for Code Compilation and
I Production Code Security




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I   Systems and Processes for Code Compilation and
    Production Code Security

     0_                  Develop

     a. TikTok develops new code and stores it in
     the TikTok Codebase (includes Application
     Scripts & Component Build Events)




     CJ
     K
                      Synchronize

     a. The code is synchronize the source code
     from the TT Codebase with the TT U.S. Ops
     Secure Codebase within the SCE




                                                APP-348
                                                APP-348
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I   Systems and Processes for Code Compilation and
    Production Code Security

            Source Code Security Review


     a. TTP performs prioritized analysis and
        manual reviews of the source code
        from the Dedicated Transparency
        Center ("DTC")

     b. TTP Security Analysts examine all
        aspects of the Source Code and
        Related Files to assess the presence
        of any vulnerabilities, including
        Malicious Code, that could affect the
        confidentiality, integrity, or availability
        of the TikTok App, TikTok U.S.
        Platform,
        Platform , or Protected Data
                                              APP-349
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Systems and Processes for Code Compilation and
Production Code Security

          4a               Compile (Mobile)

     a.           U. S. Ops uses a System Interface to
           TikTok U.S.
           access Components Build Management from the
           Sync Gateway in the SCE




          5a             Deploy (Mobile)
 •                _ _ _ _o_e_p_
                              1o_v_<M
                                    _ ob_i_1e_>_ _ ____.

     a.        Oracle pushes Application Scripts from the App
               Repository to the Mobile Deployment Gateway within th
               Oracle Enclave within the SCE Tenancy

     b.        Oracle pushes Application Scripts from the Mobile
               Deployment Gateway to the App Stores on the Internet



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                                                       APP-350
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Systems and Processes for Code Compilation and
Production Code Security

  4b               Compile (Server)

  a.   TikTok U.S. Ops uses the Build System
       Operations Gateway within the Secure
       Computing Environment ("SCE") to access the
       Building Pipeline within the SCE, which:

        •   Compiles the server code, producing
            executable binaries and artifacts

        •   Software Bill of Materials ("SBOM") is
            generated. All artifacts are signed so the
            TTP can verify the code hasn't been
            modified post TTP Analysis




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                                                            APP-351                                                                             12
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Systems and Processes for Code Compilation and
Production Code Security

      5b        Deploy (Server)
 •         _ _ _D_e_p_1o_y_(_s_e_rv_e_r)_ _ ____.

     a. TikTok U.S. Ops triggers a deployment
        request. Operations Gateway ->
        Deployment Platform

     b. TTP will be able to verify the build
        signature ensuring only approved code
        can be deployed.

     c. TikTok U.S. Ops uses the Deployment
        Platform to deploy fully reviewed and
        approved compiled and executable
        binaries to the TT Virtual Machine
        (from approved base image)
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                                         APP-352                                                                                             13
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Systems and Processes for Code Compilation and
Production Code Security

                          Monitor

 a.   [Mobile] Oracle Mobile Sandbox is used to monitor
      and control network communications of the TikTok
      mobile app

 b.   [Server] The TTP Monitoring Agent will be triggered
      once the new binaries have been deployed to the TT
      Virtual Machines. They will compare the checksum of
      the new binaries (found on the SBOM) against the
      checksum stored in the Artifact Repository




                                                            APP-353
                                                            APP-353                                                                             14
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    Notional DTC Layout & Sites
I
                                                                  o ~o
                                                           i l f = = = ='= "                           ...
                                                                                                     '=~=j;====i~
                                                                                                                               0E~ ~===,r== = = = ~~
                                                                 ~a
                                                                                                                                                                                    Space
                                                                                                                                                                                    Space Legend
                                                                                                                                                                                          Legend




    We're moving forward with our first DTC
                                                                                                                                                     00
                                                                                                                                                                                    Public
                                                                                                                                                                                    Fume   Space
                                                                                                                                                                                           Space




    Site and working with Oracle to identify                  . rm  ...
                                                                    LEO
                                                                                               4
                                                                                                                                RD
                                                                                                                                                                                Secured Common Space
                                                             0            Reception                                  ~
    other sites in parallel                                               Reception



                                                            creoen11a11ngl
                                                            Crerierrineung l - - --'-..~
                                                                      i
                                                                Station
                                                                Slation        Q
                                                                                           ~~ ~~ ~~
                                                                                               uu
                                                                                             Turnstiles
                                                                                             turnstiles
                                                                                                             = •r~   = = ==J
                                                                                                                                                          Break Room
                                                                                                                                                          Break Room
                                                                                                                                                                            D    Secure Source Code
                                                                                                                                                                                       Space
                                                                                                                                                                                       Scam


    • First site is under way at Union Market in                                                                                                           • *         `.
                                                                                                                                                                                      Secure

      Washington,, D.C.
      Washington                                                                                                                                                                     Computing
                                                                                                                                                                                     Environment                 IMOMCI




                                                                                                                      E8E8E8
                                                                                                                                                               s a     ca               fSCE)


    • Aligned with Oracle on workspace                                                                                                                                                              segmemeo
                                                                                                                                          C       littO        C=0                                 Serino Room
      requirements (e.g. monitors, etc)                                                                                                AdminSpace
                                                                                                                                       Admin Space



    • Will have 2 separate network circuits                                                                                                                                                           Secure
                                                                                                                                                                                                     CON el
                                                                                                                                                                                                      Server
                                                                               SQP
        •   One dedicated and controlled by Oracle                                                        Security
                                                                                                                                                                                                      Roam

                                                                                                                                                                                                      R345
                                                                             Storage
        •   Other will be TT US Ops, for access into the                                                  Corridor                                                                                    Pkr(p
                                                                                                                                                                                                     lac m
                                                                                                                                                                                                     Device

            Secure Computing Environment (SCE) for                                                   =.\\ LA



            Source Code access                                                  IDF
                                                                                IDF                                                                                                     Analyst
                                                                                                                                                                                       Terminal
                                                                                                                                                                                       Tenable,
                                                                                                                                                                                                                   17P
                                                                                                                                                                                                                 Dirmfivid


    • Space will be primarily occupied by Oracle                                                 '
                                                                                                                     ~
                                                                                                                                 e"N                           (Th



                                                                                41=



      and secured by TT US Ops                                                 Server
                                                                               Server
                                                                              Room 11
                                                                              Roam
       • No ByteDance Employees in the space                                                                                            Analyst Roam
                                                                                                                                        Analyst Room




                                                                 APP-354
                                                                  PP-354
                                                                               Server
                                                                               Server
                                                                              Room22
                                                                              Room


                                                                                                      •
                                                                                                                     ~
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Oracle System Progress-to-Date
Oracle and ByteDance are working together on and compliance of TikTok U.S. Ops people, processes,
and technologies. Collectively, the teams are preparing and conintuing to "move out" and get systems up
and running.

               Complete                                       In Flight                                         Next Steps


                     I•
                                                               ‘asNlos
                                                                                                                    01
   ✓ 20,000 bare metal machines are       •    Migration of 300+ apps                             •   Continue to separate out the
     now ready in the Oracle Enclave;                                                                 people and stand-up independent
     this equates to 27,000 virtual hosts •    Establishing Secure Computing                          U.S.-based teams to sustain
                                               Environment                                            operations
   ✓ Up to 60% of U.S. user traffic is
     routing through Oracle Enclave to     •   Initial operational gateway, data     •                Continue to build out and duplicate
     test reliability and performance          exchange system, app & third-                          the environment in Oracle for
                                               party gateway (all currently in test)                  failover for U.S. users to get the
                                                                                                      same reliability as Rest of World
                                                                                                      users


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Key Challenges & Pain Points

         Hiring and scaling up TikTok U.S. Ops staff has been challenging due to the volume
    fi   of headcount required and uncertainty around potential citizenship requirements


         Typical stand-up of a longer-term, reliable, sustainable data center is 18 months;
         with a 9-month timeline, there are inevitable unknowns and reliability risks


         Oracle must assess tens of millions of lines of code, requiring a balance of
         prioritizing code reviews in such a way that both gives Oracle and the CMAs comfort
         in quality while not delaying progress

                                             OTC) processes are not typically fast and we are
         Real estate (required in securing a DTC)
         facing challenges due to uncertainty of final NSA terms, market-specific conditions
         and Covid-19 considerations

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                     Exhibit G
                     Exhibit G




                               APP-357
                               APP-357
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                                                   Content
                                                 Document     Assurance
                                                          #2060757        Process
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   Recommendation Engine
   Recommendation Engine
   Purely algorithmic
   Purely  algorithmic sorting
                         sorting based
                                  based onon aa statistical
                                                statistical model
                                                            model developed
                                                                    developed from from behavioral
                                                                                          behavioral signals   from users
                                                                                                       signals from  users in  the community.
                                                                                                                            in the               Does
                                                                                                                                    community. Does
   not
   not "understand"
        "understand" or or reference
                           reference a    video's content.
                                        a video's  content.
   •TTP: TTP conducts
   •TTP: TTP conducts software
                       software inspection
                                 inspection to
                                             to confirm
                                                confirm algorithm
                                                         algorithm is not prioritizing
                                                                   is not prioritizing or
                                                                                       or deprioritizing
                                                                                          deprioritizing based
                                                                                                         based on
                                                                                                               on identification
                                                                                                                  identification of
                                                                                                                                 of content,
                                                                                                                                    content, but
                                                                                                                                             but
    instead
    instead such
            such actions
                 actions are
                         are the result of
                             the result of content-neutral
                                           content-neutral user
                                                            user behaviors.
                                                                 behaviors.

   Content Moderation
   Content Moderation
   Hybrid (i.e., machine
   Hybrid (i.e., machine && human)
                              human) system
                                       system to
                                              to implement
                                                 implement community  guidelines that
                                                            community guidelines that excludes
                                                                                      excludes content
                                                                                               content based
                                                                                                       based on violations of
                                                                                                             on violations of
   community     guidelines, IP_Lutringement,
   community guidelines,     IP infringement, and
                                               and law
                                                   law enforcement
                                                       enforcement requests.
                                                                   requests. —
   •TTP: TTP conducts
   •TTP: TTP   conducts software
                        software inspection
                                   inspection and
                                               and testing/analysis
                                                    testing/analysis to
                                                                     to confirm
                                                                        confirm the   machine-implemented rules
                                                                                  the machine-implemented      rules are linked to
                                                                                                                     are linked  to community
                                                                                                                                    community
    guidelines and
    guidelines      not unrelated
                and not unrelated content
                                    content prioritization
                                             prioritization or
                                                            or deprioritization.
                                                               deprioritization.
   •Content Advisory
   •Content             Council: TTUSDS
              Advisory Council:  TTUSDS develops
                                           develops and
                                                      and publishes
                                                          publishes community      guidelines in
                                                                    community guidelines      in consultation
                                                                                                 consultation with
                                                                                                               with CAC.
                                                                                                                    CAC.
   •TPM:  TPM provides
   •TPM: TPM     provides ongoing   review of
                          ongoing review    of community    guidelines and—at
                                               community guidelines    and—at thethe CAC’s  request—can
                                                                                     CAC's request         review human
                                                                                                     —can review   human exclusions
                                                                                                                            exclusions of
                                                                                                                                       of content
                                                                                                                                          content are
                                                                                                                                                   are
    consistent
    consistent with
                with community    guidelines.
                     community guidelines.
   •TPA: TPA includes
   •TPA: TPA            review of
               includes review of content   moderation implementation
                                   content moderation     implementation forfor consistency
                                                                                consistency with
                                                                                              with stated guidelines; available
                                                                                                   stated guidelines; available to
                                                                                                                                 to CMAs
                                                                                                                                    CMAs for
                                                                                                                                           for interim
                                                                                                                                               interim
    audits if necessary.
    audits if necessary.
   •TTUSDS:    Content moderation
   •TTUSDS: Content    moderation forfor the TikTok App
                                         the TikTok  App that
                                                          that requires
                                                               requires access
                                                                         access to
                                                                                to any
                                                                                    any Protected
                                                                                        Protected Data
                                                                                                   Data will
                                                                                                         will be
                                                                                                              be conducted
                                                                                                                 conducted byby U.S.-based
                                                                                                                                U.S.-based personnel
                                                                                                                                             personnel
    under
    under supervision
           supervision of  Security Committee.
                        of Security  Committee.

   Video Promotion
   Video Promotion and Filtering
                   and Filtering
   Based
   Based on
         on human
            human decisions,   TikTok undertakes
                    decisions, TikTok  undertakes software-based
                                                  software-based promotion
                                                                  promotion and
                                                                             and filtering
                                                                                  filtering of
                                                                                            of some videos to
                                                                                               some videos  to address
                                                                                                                address commercial,
                                                                                                                        commercial,
   product
   product goals,
           goals, and
                  and promote
                      promote locally-based
                                locally-based content
                                              content to
                                                      to keep video feeds
                                                         keep video feeds diverse
                                                                          diverse and
                                                                                  and ofof appropriate
                                                                                           appropriate quality.
                                                                                                       quality.
   •TTP:   TTP conducts
   •TTP: TTP   conducts software
                        software inspection
                                  inspection and
                                              and testing/analysis
                                                  testing/analysis toto confirm   functionality and
                                                                         confirm functionality  and how
                                                                                                    how content
                                                                                                          content isis tagged for promotion
                                                                                                                       tagged for promotion or
                                                                                                                                             or
    filtering.
    filtering.
   •TPM:    TTUSDS documents
   •TPM: TTUSDS                for the
                    documents for       TPM how
                                    the TPM  how Video
                                                  Video Promotion
                                                         Promotion and and Filtering
                                                                           Filtering functions;  TPM/TPA can
                                                                                     functions; TPM/TPA         run periodic
                                                                                                            can run   periodic audits
                                                                                                                               audits to
                                                                                                                                      to ensure
                                                                                                                                         ensure
    decisions
    decisions are
               are consistent
                   consistent with
                              with established
                                   established processes
                                                processes and
                                                            and for
                                                                 for commercial
                                                                     commercial purposes.
                                                                                   purposes.
   •TPA:   TPA includes
   •TPA: TPA            review of
               includes review of video
                                  video promotion
                                         promotion and
                                                    and filtering
                                                         filtering for
                                                                    for consistency
                                                                        consistency with
                                                                                     with stated
                                                                                          stated policies;
                                                                                                  policies; available
                                                                                                            available toto CMAs
                                                                                                                           CMAs for
                                                                                                                                for interim
                                                                                                                                    interim audits if
                                                                                                                                            audits if
    necessary.
    necessary.
   •TTUSDS:    TTUSDS ensures
   •TTUSDS: TTUSDS     ensures only
                               only authorized
                                     authorized personnel
                                                 personnel are
                                                             are engaged
                                                                  engaged in   Video Promotion
                                                                           in Video  Promotion andand Filtering
                                                                                                      Filtering for  TikTok App.
                                                                                                                for TikTok  App.

   User &
OP User & Outside
          Outside Groups
                  Groups

   •Users and outside
   •Users and           groups: Users
                outside groups:  Users and
                                       and other
                                            other interested
                                                   interested parties
                                                                parties can
                                                                        can view TikTok’s User
                                                                            view TikTok's User Agreements
                                                                                               Agreements (e.g.,
                                                                                                           (e.g., Privacy
                                                                                                                  Privacy Policy, Terms of
                                                                                                                          Policy, Terms    Service,
                                                                                                                                        of Service,
    content  moderation policies
    content moderation    policies and
                                   and other
                                       other published
                                              published policies
                                                         policies thereto)
                                                                  thereto) on
                                                                            on the TikTok App,
                                                                               the TikTok      review TikTok's
                                                                                          App, review TikTok’s quarterly  Transparency Reports,
                                                                                                               quarterly Transparency   Reports,
    and
    and visit
        visit the Transparency Center
              the Transparency   Center in
                                        in TikTok's
                                           TikTok’s LA
                                                     LA office.
                                                        office.
                                                                   APP-358
                                                                   APP 358
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                     Exhibit
                     Exhibit H
                             H




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                                         Protected  from Disclosure
                                                         Disclosure Under
                                                                    Under 5
                                                                          5 U.S.C. Section 552
                                                                            U.S.C. Section 552

 December 28,
 December 28, 2022
              2022

 The  Honorable Wally
 The Honorable   Wally Adeyemo
                        Adeyemo
 Deputy Secretary
 Deputy  Secretary
 U.S. Department
 U.S. Department ofof the
                      the Treasury
                          Treasury
 1500  Pennsylvania Avenue,
 1500 Pennsylvania            NW
                     Avenue, NW
 Washington, DC
 Washington,  DC 20220
                   20220

 Dear Deputy
 Dear Deputy Secretary
             Secretary Adeyemo:
                       Adeyemo:

        On behalf of
        On behalf    ByteDance Ltd.
                  of ByteDance    Ltd. ("ByteDance"
                                       (“ByteDance” or  the "Company"),
                                                     or the “Company”), wewe are  writing regarding
                                                                              are writing regarding
 the ongoing
 the ongoing process of the
             process of the Committee
                            Committee on    Foreign Investment
                                         on Foreign Investment in   the United
                                                                in the  United States (“CFIUS” or
                                                                               States ("CFIUS"   or
 the "Committee")
 the “Committee”) in
                  in relation to TikTok
                     relation to         and ByteDance's
                                 TikTok and  ByteDance’s acquisition   of Musical.ly.
                                                           acquisition of Musical.ly.

         We specifically
         We  specifically request
                           request aa meeting
                                      meeting with
                                               with the
                                                    the Deputies
                                                        Deputies of   the Committee
                                                                  of the   Committee asas early
                                                                                          early as
                                                                                                as possible
                                                                                                   possible
 in the
 in the new   year to
        new year   to affirm   our client’s
                      affirm our   client's commitment
                                             commitment toto finalize
                                                             finalize the
                                                                        the National
                                                                            National Security   Agreement
                                                                                      Security Agreement
 (“NSA”) that
 ("NSA")   that has
                 has been
                      been pending     before the
                            pending before     the Committee
                                                   Committee for     five months
                                                                for five   months —     after having
                                                                                    — after           been
                                                                                              having been
 negotiated  in painstaking
 negotiated in   painstaking detail
                               detail over  the preceding
                                      over the  preceding nineteen
                                                           nineteen months.
                                                                      months. If If the
                                                                                    the Committee
                                                                                        Committee is is not
                                                                                                        not
 prepared  to finalize
 prepared to   finalize the
                        the NSA,
                             NSA, we we request
                                         request engagement     with the
                                                  engagement with      the Deputies
                                                                            Deputies so   that we
                                                                                      so that  we may
                                                                                                   may bebe
 appropriately
 appropriately informed
                informed ofof the
                              the Committee’s
                                  Committee's concerns
                                                 concerns and  be allowed
                                                           and be  allowed toto address them.
                                                                                address them.

         For more
         For         than three
              more than    three years
                                 years ― — since  the Committee
                                            since the               first approached
                                                       Committee first    approached ByteDance
                                                                                       ByteDance in      2019
                                                                                                      in 2019
 regarding  the Musical.ly
 regarding the  Musical.ly acquisition
                             acquisition ―— our
                                             our client
                                                 client has
                                                        has sought  at every
                                                            sought at        turn to
                                                                       every turn to engage
                                                                                     engage constructively
                                                                                              constructively
 with CFIUS,
 with CFIUS, to to be
                   be solutions-oriented,
                       solutions-oriented, and  to approach
                                            and to            the Committee's
                                                    approach the  Committee’s process      with respect
                                                                                  process with   respect and
                                                                                                           and
 transparency. It
 transparency.   It has
                    has done
                         done so
                               so in the face
                                  in the      of an
                                         face of an extraordinary
                                                     extraordinary public
                                                                    public campaign
                                                                            campaign against     it, against
                                                                                        against it,  against aa
 process
 process preceding    the August
          preceding the   August 14,   2020 Executive
                                   14, 2020  Executive Order   that was
                                                         Order that was totally
                                                                         totally untethered
                                                                                 untethered to
                                                                                             to the
                                                                                                the law,   and
                                                                                                     law, and
 despite  the Committee’s
 despite the  Committee's recent
                              recent disengagement
                                      disengagement and and apparent
                                                            apparent decision
                                                                       decision of   the Administration
                                                                                 of the  Administration to  to
 engage
 engage publicly
         publicly rather   than continue
                   rather than            to work
                                continue to  work privately
                                                    privately and
                                                              and constructively   with the
                                                                  constructively with    the Company
                                                                                             Company on   on aa
 national
 national security
           security solution.
                    solution.

         From January
         From           21, 2020,
                January 21, 2020, until
                                   until August   2022, our
                                         August 2022,    our client
                                                             client and the agencies
                                                                    and the            worked diligently
                                                                            agencies worked   diligently
 and
 and constructively
      constructively ―  and in
                     — and  in confidence
                               confidence ―    through the
                                           — through    the complex
                                                            complex operations
                                                                      operations of the TikTok
                                                                                 of the TikTok app
                                                                                                app and
                                                                                                     and
 platform
 platform toto develop
               develop an   unprecedented, robust
                        an unprecedented,     robust national
                                                      national security
                                                                 security solution   that could
                                                                           solution that  could set  the
                                                                                                 set the
 benchmark    for U.S. leadership   on security  issues related  to similar applications  and platforms
 benchmark for U.S. leadership on security issues related to similar applications and platforms
 globally. The
 globally.  The hallmarks
                 hallmarks of this solution
                           of this solution include:
                                            include:

             ••   No
                  No data  access from
                      data access from China.
                                         China. All U.S. user
                                                All U.S.  user data
                                                               data – including expatriate
                                                                    — including expatriate data – would
                                                                                           data — would
                  be safeguarded
                  be safeguarded in  the U.S.
                                  in the U.S. under
                                              under aa special
                                                       special corporate
                                                               corporate structure  (U.S. Data
                                                                          structure (U.S. Data Security
                                                                                                Security
                  & Oracle).
                  &  Oracle).

             ••   All software
                  All   software code—app
                                   code—app and   and backend—secured
                                                        backend—secured by   by a     U.S. and
                                                                                  a U.S.    and U.S.
                                                                                                   U.S.
                  Government-approved
                  Government-approved TrustedTrusted Technology
                                                        Technology Provider     (i.e., Oracle).
                                                                     Provider (i.e.,   Oracle). TheThe
                  TikTok    U.S. Platform
                  TikTok U.S.    Platform and
                                           and TikTok     U.S. app
                                                 TikTok U.S.       will be
                                                               app will  be deployed   through Oracle
                                                                            deployed through    Oracle
                  infrastructure and
                  infrastructure and subject to source
                                     subject to source code
                                                       code review/vetting by Oracle
                                                            review/vetting by Oracle and
                                                                                      and another third
                                                                                          another third
                  party  (the "Source
                  party (the  “Source Code
                                      Code Inspector”)   approved by
                                            Inspector") approved  by CFIUS.
                                                                     CFIUS.




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                                               APP-360
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              2022
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             ••   Content
                  Content moderation
                            moderation transparency
                                           transparency andand compliance.
                                                                compliance. There
                                                                             There are
                                                                                    are multiple layers of
                                                                                        multiple layers of
                  protection
                  protection toto address
                                  address concerns
                                           concerns related  to the
                                                     related to the content
                                                                    content of the application,
                                                                            of the application, including
                                                                                                including
                  ensuring   that all
                  ensuring that    all algorithm/content
                                       algorithm/content moderation—both
                                                           moderation—both human
                                                                               human and    technical—is
                                                                                       and technical—is
                  subject to third
                  subject to  third party verification and
                                    party verification and monitoring.
                                                            monitoring.

             ••   Separation
                  Separation of  of the
                                    the business
                                        business responsible    for the
                                                  responsible for   the foregoing
                                                                        foregoing from
                                                                                    from China.
                                                                                          China. The   NSA
                                                                                                  The NSA
                  requires
                  requires aa special  board, with
                              special board,  with Security  Directors subject
                                                    Security Directors           to the
                                                                         subject to the U.S.
                                                                                        U.S. Government’s
                                                                                              Government' s
                  approval,
                  approval, toto oversee
                                  oversee TikTok    U.S. Data
                                          TikTok U.S.    Data Security,
                                                                Security, and
                                                                          and in  turn exclude
                                                                               in turn           ByteDance
                                                                                        exclude ByteDance
                  from
                  from such
                       such responsibilities.    In addition,
                               responsibilities. In addition, further
                                                              further separation   between ByteDance
                                                                       separation between    ByteDance and
                                                                                                         and
                  U.S. operations
                  U.S.                would be
                       operations would      be achieved  through an
                                                achieved through     an additional  board between
                                                                        additional board   between TikTok
                                                                                                    TikTok
                  U.S. Data
                  U.S. Data Security     and ByteDance
                               Security and   ByteDance (i.e.,
                                                          (i.e., TikTok
                                                                 TikTok Inc.)   that again
                                                                          Inc.) that  again includes
                                                                                            includes aa U.S.
                                                                                                        U.S.
                  Government-approved       Security  Director.
                  Government-approved Security Director.

             ••   Unprecedented layers of
                  Unprecedented layers of review,
                                          review, monitoring, and auditing
                                                  monitoring, and auditing including:
                                                                           including:

                      o The
                      o The Security     Directors responsible
                               Security Directors   responsible for for the
                                                                         the TikTok   U.S. Data
                                                                              TikTok U.S.   Data Security
                                                                                                  Security
                        governance structure
                        governance              (with aa Security
                                      structure (with               Director also
                                                          Security Director   also on the board
                                                                                   on the board of
                                                                                                of TikTok
                                                                                                   TikTok
                        Inc.);
                        Inc.);
                      o The
                      o The Trusted
                             Trusted Technology     Provider (Oracle);
                                       Technology Provider      (Oracle);
                      o A
                      o   third-party monitor;
                        A third-party   monitor;
                      o A
                      o   third-party auditor;
                        A third-party   auditor;
                        Data deletion
                      o Data
                      o        deletion confirmation    (i.e., all
                                         confirmation (i.e.,   all historical U.S. user
                                                                   historical U.S. user data
                                                                                        data deleted from
                                                                                             deleted from
                        ByteDance systems);
                        ByteDance     systems);
                      o The
                      o The Source
                             Source Code    Inspector; and
                                      Code Inspector;    and
                      o The
                      o      CFIUS Monitoring
                        The CFIUS      Monitoring Agencies.
                                                  Agencies.

             ••   Strict penalties
                  Strict            for noncompliance,
                          penalties for noncompliance, including
                                                          including aa possible “kill switch”
                                                                       possible "kill          (which
                                                                                       switch" (which
                  would give
                  would   give CFIUS  the explicit
                               CFIUS the  explicit authority to suspend
                                                   authority to         app service
                                                                suspend app           in the
                                                                             service in  the U.S.)
                                                                                             U.S.) and
                                                                                                   and
                  significant money  penalties.
                  significant money penalties.

         Our client’s
         Our client's commitment
                      commitment to   to this
                                         this historic
                                              historic solution  is not
                                                       solution is  not simply
                                                                        simply rhetorical,
                                                                               rhetorical, as it has
                                                                                           as it has already
                                                                                                       already
 invested more
 invested       than $1
          more than       billion to
                      $1 billion  to advance
                                     advance thethe NSA's
                                                    NSA’s operationalization.
                                                             operationalization. These
                                                                                  These steps—to      include
                                                                                         steps—to include
 the storage
 the         of all
     storage of     U.S. user
                all U.S.  user data  in the
                               data in  the Oracle
                                             Oracle infrastructure―have
                                                     infrastructure—have beenbeen taken
                                                                                  taken in  good faith,
                                                                                        in good    faith, and
                                                                                                           and
 based on
 based  on the
           the positive
                positive engagement
                          engagement with with CFIUS     that occurred
                                                CFIUS that                from January
                                                               occurred from            21, 2020
                                                                               January 21,    2020 through
                                                                                                      through
 August  2022. In
 August 2022.   In addition,  the steps
                    addition, the steps have   been taken
                                         have been   taken in
                                                            in consultation  with and
                                                               consultation with      with the
                                                                                  and with  the full
                                                                                                 full support
                                                                                                      support
 of ByteDance’s majority
 of ByteDance's   majority shareholding,     well-respected U.S.
                            shareholding, well-respected      U.S. investors.
                                                                    investors.

          We note
          We       that the
              note that  the Company
                             Company continues      to take
                                         continues to  take steps to advance
                                                            steps to           the operationalization
                                                                     advance the   operationalization of   this
                                                                                                        of this
 solution
 solution notwithstanding
           notwithstanding thethe significant
                                   significant politicization that has
                                               politicization that has occurred
                                                                        occurred over   the last
                                                                                  over the       five months.
                                                                                            last five months.
 The
 The highly
       highly politicized
              politicized rhetoric
                           rhetoric has
                                     has been
                                          been particularly
                                                particularly disappointing
                                                             disappointing given   the Committee’s
                                                                            given the   Committee's lack
                                                                                                       lack of
                                                                                                             of
 engagement    with ByteDance
 engagement with     ByteDance since
                                   since August   2022. As
                                         August 2022.    As the
                                                            the Committee
                                                                Committee is is aware,  we submitted
                                                                                aware, we   submitted aa near-
                                                                                                         near-
 final NSA
 final  NSA on   August 23,
              on August    23, 2022,
                               2022, and
                                       and have   followed up
                                            have followed    up proactively
                                                                proactively several   times with
                                                                              several times   with additional
                                                                                                    additional
 information (including
 information   (including the
                           the identities
                                identities of the proposed
                                           of the proposed Security   Directors), but,
                                                             Security Directors),  but, despite
                                                                                        despite our
                                                                                                 our requests,
                                                                                                     requests,
 we have
 we  have received
           received no
                     no substantive   updates or
                        substantive updates     or engagement   from the
                                                   engagement from    the Committee
                                                                          Committee since    that submission
                                                                                       since that  submission
 in August.
 in August. This     failure of
               This failure  of process
                                  process has   been exacerbated
                                           has been   exacerbated byby press
                                                                        press reports
                                                                               reports on  the government'
                                                                                       on the  government’ss



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 apparent
 apparent ongoing
            ongoing deliberations
                     deliberations and
                                    and negative
                                        negative public
                                                  public comments
                                                         comments from
                                                                    from senior
                                                                         senior officials in the
                                                                                officials in the CFIUS
                                                                                                 CFIUS
 process.    Respectfully, we
 process.'1 Respectfully,    we do
                                 do not believe such
                                    not believe  such leaks and comments
                                                      leaks and             advance the
                                                                 comments advance     the resolution
                                                                                           resolution of
                                                                                                      of
 national
 national security  interests, nor
           security interests, nor comport  with the
                                   comport with  the confidentiality
                                                     confidentiality requirements
                                                                     requirements of the statute.
                                                                                  of the  statute.

         Our
         Our request
               request for
                       for aa meeting
                              meeting isis made
                                           made with
                                                  with the
                                                        the spirit
                                                             spirit and  intent of
                                                                    and intent  of completing
                                                                                   completing the   the strong
                                                                                                        strong
 substantive   blueprint developed
 substantive blueprint   developed byby the
                                         the interagency
                                             interagency process     and the
                                                           process and   the Company
                                                                             Company over        the previous
                                                                                          over the    previous
 last several
 last         years. Our
      several years.  Our focus,
                           focus, and that of
                                  and that of our
                                              our client,
                                                  client, strongly
                                                          strongly remains   in support
                                                                    remains in  support ofof aa solution  to be
                                                                                                solution to  be
 finalized through
 finalized  through constructive
                     constructive engagement     with the
                                   engagement with    the Committee―and,
                                                           Committee—and, again,       it is
                                                                                again, it  is for
                                                                                              for that
                                                                                                   that reason
                                                                                                        reason
 that we
 that we seek
          seek aa meeting.
                  meeting.

                                                      Best regards,
                                                      Best regards,



 By: 11 1
 By:    1400                                                       By:
                                                                   By:

 Michael E.
 Michael E. Leiter
            Leiter                                                 David Fagan
                                                                   David Fagan
 Skadden,
 Skadden, Arps,
          Arps, Slate, Meagher &
                Slate, Meagher &                                   Covington & Burling
                                                                   Covington &  Burling LLP
                                                                                        LLP
 Flom LLP
 Flom LLP                                                          One
                                                                   One CityCenter
                                                                       CityCenter
 1440 New York
 1440 New   York Avenue, N.W.
                 Avenue, N.W.                                      850
                                                                   850 Tenth
                                                                       Tenth Street, NW
                                                                             Street, NW
 Washington, DC.
 Washington, DC. 20005-2111
                   20005-2111                                      Washington, DC
                                                                   Washington,  DC 20001-4956
                                                                                     20001-4956




 1   Lauren Hirsch,
     Lauren   Hirsch, David
                      David McCabe,
                            McCabe, Katie
                                       Katie Benner
                                             Benner and
                                                      and Glenn
                                                           Glenn Thrush,   “TikTok Seen
                                                                  Thrush, "TikTok        Moving Towards
                                                                                    Seen Moving              U.S. Security
                                                                                                  Towards U.S.     Security
     Deal, but
     Deal, but Hurdles
               Hurdles Remain,"
                        Remain,” New
                                   New York
                                         York Times,
                                               Times, September     26, 2022;
                                                        September 26,   2022; Eric
                                                                              Eric Tucker, “FBI director
                                                                                   Tucker, "FBI  director raises
                                                                                                          raises national
                                                                                                                  national
     security concerns
     security concerns about
                        about TikTok,”   AP News,
                               TikTok," AP   News, December
                                                     December 2, 2, 2022; “Treasury Secretary
                                                                    2022; "Treasury  Secretary Janet
                                                                                               Janet Yellen
                                                                                                     Yellen on
                                                                                                             on TikTok
                                                                                                                 TikTok
     national security
     national security fears,"
                       fears,” 60
                               60 Minutes,
                                  Minutes, available
                                            available at
                                                       at cbsnews.com,   December 9,
                                                          cbsnews.com, December        2022; Gavin
                                                                                    9, 2022;         Bade, "TikTok
                                                                                              Gavin Bade,   “TikTok
     national security
     national security deal
                       deal roiled
                            roiled by
                                   by internal strife,” Politico,
                                      internal strife," Politico, December
                                                                  December 16,   2022; Stu
                                                                             16, 2022; Stu Wu,  Kate O’Keefe,
                                                                                           Wu, Kate  O'Keefe, and     Aruna
                                                                                                                 and Aruna
     Viswanatha,   “TikTok Security
     Viswanatha, "TikTok              Dilemma Revives
                            Security Dilemma    Revives Push
                                                           Push for
                                                                for U.S.
                                                                    U.S. Control,”
                                                                         Control," Wall
                                                                                    Wall Street
                                                                                         Street Journal, December 26,
                                                                                                Journal, December     26,
     2022.
     2022.




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                      Exhibit
                      Exhibit II




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  cJ TikTok
 Business Confidential Pursuant to 50 U.S. C. Section 4565
 Protectedfrom Disclosure Under 5 U.S.C. Section 552

 February 25, 2023

 The Honorable Wally Adeyemo
 Deputy Secretary
 U.S. Department of the Treasury
 1500 Pennsylvania Avenue, NW
 Washington, DC 20220

 The Honorable Lisa Monaco
 Deputy Attorney General
 U.S. Department of Justice
 950 Pennsylvania Avenue, NW
 Washington, DC 20530

 Dear Deputy Secretary Adeyemo and Deputy Attorney General Monaco:

        I am writing regarding the ongoing process of the Committee on Foreign Investment in the
 United States ("CFIUS" or the "Committee") in relation to ByteDance Ltd.'s acquisition of
 Musical.ly, and the National Security Agreement ("NSA") governing TikTok's operations in the
 United States.

         We remain committed to resolving this matter through an agreement with CFIUS. To that
 end, I request a meeting with you and, as you deem appropriate, other Deputies of the Committee
 to provide an update on the efforts that TikTok has made to implement the NSA that was diligently
 and constructively — and in confidence — negotiated with the Committee's national security
 professionals from 2020 through August 2022, and to finally bring this matter to closure. I also
 would like to offer a meeting with the CEO of TikTok, Shou Zi Chew, who will be in Washington
 between March 6-23.

         While we believe that the NSA that was submitted in August 2022 is robust and should
 fully resolve the national security interests, if there are additional measures that you believe are
 necessary to address your concerns, we are keenly interested in hearing them, and I commit to you
 that we will do everything in our abilities to address those concerns. I also have asked our outside
 counsel to extend an invitation to your staff to visit the Dedicated Transparency Center ("DTC")
 that we established in Maryland where Oracle is currently testing our code, consistent with the
 commitments in the NSA.

        For more than three years — since the Committee first approached ByteDance in 2019
regarding the Musically acquisition — we have sought at every turn to engage constructively with
CFIUS, to be solutions-oriented, and to approach the Committee's process with respect,
transparency, and confidentiality. We have done so because we believe that we share a common
objective with the Committee: to ensure the safety of TikTok's U.S. users and the integrity of our
platform and app, including against misinformation campaigns. We have done so notwithstanding



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          TikTok
  that ByteDance grew TikTok organically, not through the acquisition of the Chinese-owned
  Musical.ly and its limited assets that are virtually irrelevant to TikTok today. And we have done
  so in the face of an extraordinary public campaign against us, and against a process preceding the
  August 14, 2020, Executive Order that was untethered to the law.

         At all times, we also have been fully respectful of the important CFIUS process. We have
 been responsive when the Committee has posed questions; we have been proactive in bringing
 issues to the attention of the Committee; we have been constructive in proposing solutions; and
 we have been patient as the Committee has deliberated. In this light, we have been increasingly
 dismayed by the Committee's lack of engagement over the last six months. This has been made
 worse by the public commentary from senior Administration officials, and we were particularly
 disappointed to see public statements from the Deputy Attorney General that unfairly and
 inaccurately portray TikTok in a negative light.' We recognize that the public campaign being run
 against us also puts pressures on the agencies, but we equally — and firmly — believe that the
 path forward should be predicated on constructive, substantive, and fact-based work on a national
 security solution.

         Despite the lack of engagement from the Committee, we have continued voluntarily to
 implement our proposed solution, at a cost of more than $1 billion to our company — a solution
 that will address the risks that are being publicly cited, namely the risks posed by Chinese law.
 U.S. user data and the TikTok U.S. app and platform will be in the cloud environment of the
 Trusted Technology Provider (i.e., Oracle), and control over such data and systems will be in the
 hands of TikTok U.S. Data Security, managed by U.S. persons approved by CFIUS, and overseen
 by a board of security experts who owe a duty to protect U.S. national security. Further, as noted,
 we have already established a DTC, as proposed in the NSA, for the express purpose of enabling
 security inspections, reviews, and verification of TikTok Source Code and Related Files. We
 invite the agencies to visit the DTC, now up and running in Maryland, to understand how much
 progress our company has made in this effort and of course to offer their suggestions for any
 enhancements that they feel will be necessary to address the U.S. government's interests.

         I ask that we work together to return to engaging on a solution. I firmly believe that we
 share the common interest in protecting the security of our users and in preserving their freedom
 of expression and thought, without interference by any government. I would welcome the
 opportunity to meet in person to advance that common interest, and to introduce you to TikTok's
 CEO, Shou Zi Chew.

                                                                                        est regards,


                                                                                     Erich C. de en
                                                                                     General Counsel — ByteDance and TikTok

 I Hannah Rabinowitz, "US deputy attorney general: '1 don't use TikTok, and 1 would not advise anyone to do so." CNN, February 16, 2023 ("Any company doing business in
 China for that matter is subject to Chinese national security laws, which requires turning over data to the state, and there is a reason we need to be very concerned   The bottom
 line is that China has been quite clear that they are trying to mold and put forward the use and norms around technology that advance their privilege and their interests . Their
 interests, which are not consistent with our own Their interests, which are fueled by and directed toward an authoritarian approach to their government And that is not consistent
 with ours " Because of those concerns, Monaco said: "I don't use TikTok, and I would not advise anyone to do so ")




                                                                                APP-365
                                                                                APP-365
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                     Exhibit
                     Exhibit J
                             J




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Message

From:          Leiter, Michael E (WAS) [Michael.Leiter@skadden.com]
on behalf of   Leiter, Michael E (WAS) <Michael.Leiter@skadden.com>[Michael.Leiter@skadden.com]
Sent:          3/17/2023 10:30:23 PM
To:            Brian.Reissaus@treasury.gov; Andrew.Fair@treasury.gov; Devin.DeBacker@usdoj.gov; Evan.Sills@usdoj.gov;
               Tyler.Wood@usdoj.gov; Winnie.Tsang@treasury.gov; Sarah.Oldham@treasury.gov; David.Newman2@usdoj.gov;
               Eric.S.Johnson@usdoj.gov
CC:            dfagan@cov.com; Theodore.Posner@treasury.gov; Nayla.Kawerk@treasury.gov
Subject:       RE: [Ext] RE: CFIUS Case. No. 20-100: Call & Meeting Request


Brian,

Thank you for your note and we appreciate your views. We remain committed, as we have for more than three years, to
a substantive discussion to reach a negotiated settlement and ultimately we will meet with those that CFIUS deems its
lead agencies and—we hope—with those who have statutory authority and (according to Assistant Secretary Rosen's
statements) have made the decision presented on March 6'. Thus we are happy to meet with staff-level officers from
Treasury and Justice and, as noted in our email, we are prepared for both a phone call and an in person meeting to
advance discussions.

While committed to constructive and substantive engagement, we also must state that we find implausible your
statement that "[t]he Warner bill to which [we] refer is not tied to the present negotiations," which seems in tension
with the explanation that we received on March 6th. In explaining the government's position in our meeting on March
6th, Assistant Secretary Rosen said, among other things, that the U.S. government concerns with this specific transaction
arise against a backdrop of fundamental concerns around data security, particularly with respect to Chinese social media
apps in the United States and Congressional scrutiny as seen in various legislative proposals. In addition, he noted that
"some of [these proposals] have momentum" and that one or more may be enacted. Again paraphrasing, he said that
there appears to be broad bi-partisan support to remove ByteDance ownership and concerns with data traveling back to
China and "feeding ByteDance algorithms" and congressional proposals include unilateral authority to remove TikTok in
the United States. Notably, while there was a clear reference to Congressional proposals, there was not a single
reference to Section 721 in the statement.

Perhaps we were mistaken, but we came away from that meeting with the clear impression —based on the statements
provided to us —that the potential legislation informed the government's position. That impression was reinforced
when the next day the Warner legislation was introduced and near simultaneously, the National Security Advisor
provided the Administration's endorsement of the legislation. Moreover, a litany of public reporting has associated the
legislation with the Administration's CFIUS review of TikTok, and Senator Warner himself has linked the legislation to the
CFIUS process and the Administration's new position.

We very much look forward to our discussions and hope and trust that they will be approached with a spirit of sincerity,
candor, and confidentiality from the government. In the meantime, we will await your scheduling preferences that we
will of course seek to accommodate. We would note that ByteDance's General Counsel will be flying on Friday so ideally
we would have a call on Thursday afternoon.

Best,

David & Mike

Michael E. Leiter
Partner
Skadden, Arps, Slate, Meagher & Flom LLP
1440 New York Avenue, N.W. I Washington I D.C. I 20005-211
O: +1.202.371.7540 I M: +1.202.580.9111
michael.leiter@skadden.com


                                                    APP-367
                                                    APP-367
     USCA Case #24-1113           Document #2060757              Filed: 06/20/2024       Page 115 of 276

From: Brian.Reissaus@treasury.gov <Brian.Reissaus@treasury.gov>
Sent: Thursday, March 16, 2023 10:00 PM
To: Leiter, Michael E (WAS) <Michael.Leiter@skadden.com>; Andrew.Fair@treasury.gov; Devin.DeBacker@usdoj.gov;
Evan.Sills@usdoj.gov; Tyler.Wood@usdoj.gov; Winnie.Tsang@treasury.gov; Sarah.Oldham@treasury.gov;
David.Newman2@usdoj.gov; Eric.S.Johnson@usdoj.gov
Cc: dfagan@cov.com; Theodore.Posner@treasury.gov; Nayla.Kawerk@treasury.gov
Subject: [Ext] RE: CFIUS Case. No. 20-100: Call & Meeting Request

Mike and David,

Representatives of Treasury and Justice would be pleased to meet with you and your client in the coming days
to discuss a path forward in light of the government's position laid out on our March 6 call. As we discussed,
the basis for our discussion will be the principles and frameworks for a viable resolution as generally
summarized on that March 6 call. We are prepared to hear your proposals, questions, and discussion points
on the topics listed in your email.

As for participation, the government will continue to be represented by Treasury and Justice — the co-leads in
this matter. The Warner bill to which you refer is not tied to the present negotiations, nor does the proposed
role for the Secretary of Commerce under that bill warrant changing the government participants in this
discussion with you. We will continue to keep the other members of the interagency (including Commerce)
informed and engaged, as we have been doing consistently throughout our engagement with you, and at the
right time, and as and if needed, broaden out our discussions. However, at this time we do not intend to alter
the government's participation for the next meeting.

We are still trying to deconflict our schedules, but are narrowing in on next Thursday or Friday. If there are
times those days that do not work on your end please let us know. Otherwise, we will let you know once we
identify times that work those days for the call.

Best,
Brian



From: Leiter, Michael E <Michael.Leiter@skadden.com>
Date: March 15, 2023 at 12:11:04 PM EDT
To: Reissaus, Brian <Brian.Reissaus@treasury.gov>, Fair, Andrew <Andrew.Fair@treasury.gov>,
Devin.DeBacker@usdoj.gov <Devin.DeBacker@usdoj.gov>, Evan.Sills@usdoj.gov <Evan.Sills@usdoj.gov>,
Tyler.Wood@usdoj.gov <Tyler.Wood@usdoj.gov>, Tsang, Winnie <Winnie.Tsang@treasury.gov>, Oldham, Sarah
<Sarah.Oldham@treasury.gov>, David.Newman2@usdoj.gov <David.Newman2@usdoj.gov>, Johnson, Eric
<Eric.S.Johnson@usdoj.gov>
Cc: dfagan@cov.com <dfagan@cov.com>, Posner, Theodore <Theodore.Posner@treasury.gov>, Kawerk, Nayla
<Nayla.Kawerk@treasury.gov>
Subject: RE: CFIUS Case. No. 20-100: Call & Meeting Request



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suspect@treasury.gov **




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                                                APP-368
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                                                                    Protected from Disclosure Under 5 U.S.C. Section 552

Brian,

Per your request please find our proposed agenda below.

    1. Source Code: timing and operational challenges to maintain globally integrated platform and export control
       issues
    2. Ownership: potential structures and governance
    3. TTP: USG vision for the role of the TTP in light of new CFIUS requirements and August 2022 NSA
    4. Proxy/Trust: discussion of USG-rejected options not previously discussed
    5. Next steps: group discussion

We also reiterate our request for Commerce to participate given the Administration's tying of the CFIUS negotiations
with Commerce's potential related authority, as reflected by the near-simultaneous statement by the Assistant to the
President for National Security Affairs supporting legislation introduced by Senator Mark Warner and your call with us
announcing the new CFIUS requirements. We would further note that the Department of Commerce, as a statutory
member of CFIUS, has current responsibility for any position taken by the Committee. Finally, with respect to an in
person meeting Erich Andersen will be available Tuesday through Thursday next week. If such a meeting won't work, he
may also be available in Washington the first week of April.

Best,

David & Mike




From: Brian.Reissaus@treasury.gov <Brian.Reissaus@treasury.gov>
Sent: Tuesday, March 14, 2023 10:53 PM
To: Leiter, Michael E (WAS) <Michael.Leiter@skadden.com>; Andrew.Fair@treasury.gov; Devin.DeBacker@usdoj.gov;
Evan.Sills@usdoj.gov; Tyler.Wood@usdoj.gov; Winnie.Tsang@treasury.gov; Sarah.Oldham@treasury.gov;
David.Newman2@usdoj.gov; Eric.S.Johnson@usdoj.gov
Cc: dfagan@cov.com; Theodore.Posner@treasury.gov; Nayla.Kawerk@treasury.gov
Subject: [Ext] Re: CFIUS Case. No. 20-100: Call & Meeting Request

Mike and David,

Thank you for following up, DOJ and Treasury can be available for a call to discuss next steps. While we figure out our
availability, could you please provide us a list of topics/questions that you would like to discuss in advance of the call so
that we can be in the best position to provide guidance on next steps.

Regarding your request for an in person meeting next week, following the call we will confer internally to
coordinate timing and attendance.

Best,
Brian




From: Leiter, Michael E <Michael.Leiter@skadden.com>

                                                      APP-369
                                                      APP-369
     USCA Case #24-1113             Document #2060757                 Filed: 06/20/2024        Page 117 of 276
Date: March 14, 2023 at 10:05:46 AM EDT
To: Reissaus, Brian <Brian.Reissaus@treasury.gov>, Fair, Andrew <Andrew.Fair@treasury.gov>, 'DeBacker, Devin (NSD)'
<Devin.DeBacker@usdoj.gov>, Evan.Sills@usdoj.gov <Evan.Sills@usdoj.gov>, Tyler.Wood@usdoj.gov
<Tyler.Wood@usdoj.gov>, Tsang, Winnie <Winnie.Tsang@treasury.gov>, Oldham, Sarah
<Sarah.Oldham@treasury.gov>, 'David.Newman2@usdoj.gov' <David.Newman2@usdoj.gov>, Johnson, Eric
<Eric.S.Johnson@usdoj.gov>
Cc: dfagan@cov.com <dfagan@cov.com>
Subject: CFIUS Case. No. 20-100: Call & Meeting Request



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suspect@treasury.gov **




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Colleagues,

As follow up to our call with Treasury and Justice CFIUS leadership on March 6th, we would like to schedule a call with
this group for Thursday or Friday of this week to discuss next steps. Ideally, we would prefer a time in the morning or
early afternoon so that ByteDance's General Counsel, Erich Anderson, can join given he is in London this week. In
addition, we would also like to schedule an in person meeting the week of March 20th when Erich is in Washington. For
both these discussions, we also ask —given the legislation supported by the Biden Administration and its involvement in
CFIUS—that appropriate Department of Commerce leadership (e.g., Grant Harris) participate.

Best and thanks,

David & Mike

Michael E. Leiter
Partner
Skadden, Arps, Slate, Meagher & Flom LLP
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michael.leiter@skadden.com




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Further information about the firm, a list of the Partners and their professional qualifications will be provided
upon request.




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                                                   APP-370
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and permanently delete the original email (and any copy of any email) and any printout thereof.

Further information about the firm, a list of the Partners and their professional qualifications will be provided
upon request.




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                                                  APP-371
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                     Exhibit
                     Exhibit K
                             K




                               APP-372
                               APP-372
To:       Brian.Reissaus@treasury.gov[Brian.Reissaus@treasury.gov]; Andrew.Fair@treasury.gov[Andrew.Fair@treasury.gov];
Devin.DeBacker@usdoj.gov[Devin.DeBacker@usdoj.gov]; Evan.Sills@usdoj.gov[Evan.Sills@usdoj.gov];
         USCA Case #24-1113            Document
Tyler.Wood@usdoj.gov[Tyler.Wood@usdoj.gov];
Tyler.VVood@usdoj.gov[Tyler.VVood@usdoj.gov];       #2060757             Filed: 06/20/2024       Page 120 of 276
                                              Winnie.Tsang@treasury.gov[Winnie.Tsang@treasury.gov];
                                              VVinnie.Tsang@treasury.gov[VVinnie.Tsang@treasury.gov];
Sarah.Oldham@treasury.gov[Sarah.Oldham@treasury.gov]; David.Newman2@usdoj.gov[David.Newman2@usdoj.gov];
Eric.S.Johnson@usdoj.gov[Eric.S.Johnson@usdoj.gov]; Nayla.Kawerk@treasury.gov[Nayla.Kawerk@treasury.gov];
Theodore.Posner@treasury.gov[Theodore.Posner@treasury.gov]
Cc:       Michael.Leiter@skadden.com[Michael.Leiter@skadden.com]
From:     Fagan, David[dfagan@cov.com]
Sent:     Thur 4/27/2023 11:13:29 PM (UTC)
Subject: [Ext] RE: CFIUS Case. No. 20-100: Status

 Business Confidential -- Pursuant
 Business Confidential             to 50
                          Pursuant to 50 U.S.C. Section 4565;
                                         U.S.C. Section 4565; Protected
                                                              Protected from
                                                                        from Disclosure
                                                                             Disclosure Under 5 U.S.C.
                                                                                        Under 5 U.S.C. Section 4565
                                                                                                       Section 4565

 Treasury and
 Treasury and DOJ
              DOJ colleagues
                  colleagues --

 We
 We wanted
       wanted toto provide
                    provide the
                             the Committee
                                  Committee withwith an  update on
                                                      an update   on the
                                                                     the work
                                                                         work that
                                                                               that ByteDance
                                                                                     ByteDance has
                                                                                                 has been
                                                                                                       been undertaking
                                                                                                             undertaking to to address
                                                                                                                               address the
                                                                                                                                        the issues
                                                                                                                                            issues that
                                                                                                                                                    that
 we
 we discussed
      discussed inin our
                      our meetings
                          meetings onon March
                                        March 6   6 and
                                                    and March
                                                         March 23.
                                                                23. As
                                                                     As we
                                                                        we have
                                                                            have discussed,
                                                                                 discussed, both
                                                                                              both the
                                                                                                    the Committee's
                                                                                                         Committee's position
                                                                                                                        position on
                                                                                                                                  on ownership
                                                                                                                                      ownership and
                                                                                                                                                  and
 its
 its articulated
     articulated position
                   position on
                             on source
                                 source code
                                         code raise
                                                raise extremely
                                                      extremely complex
                                                                  complex commercial
                                                                            commercial andand legal
                                                                                              legal challenges.
                                                                                                     challenges. Nevertheless,
                                                                                                                   Nevertheless, ByteDance
                                                                                                                                   ByteDance hashas
 been
 been exploring
        exploring solutions    to both
                     solutions to  both issues.    There are
                                        issues. There    are active
                                                              active workstreams
                                                                     workstreams ongoing
                                                                                    ongoing with
                                                                                             with the   goal of
                                                                                                   the goal   of being
                                                                                                                 being able
                                                                                                                       able to
                                                                                                                             to make
                                                                                                                                make a a presentation
                                                                                                                                         presentation
 to
 to CFIUS
     CFIUS later
            later in
                   in May
                      May onon potential
                               potential solutions.
                                          solutions. ToTo be
                                                          be sure,
                                                              sure, that
                                                                    that does
                                                                         does not
                                                                               not mean
                                                                                   mean that
                                                                                           that ByteDance
                                                                                                ByteDance agrees
                                                                                                             agrees with
                                                                                                                      with the
                                                                                                                           the articulated
                                                                                                                                articulated positions,
                                                                                                                                            positions,
 or
 or that
     that a
          a divestiture
            divestiture oror source
                             source code     migration will
                                     code migration     will even
                                                             even be
                                                                   be practical
                                                                      practical commercially
                                                                                commercially or or because
                                                                                                   because of of the restrictions of
                                                                                                                 the restrictions  of Chinese
                                                                                                                                      Chinese law.  It
                                                                                                                                               law. It
 does   mean,   however,    that  ByteDance    is working  on  the issues in good  faith, and intends   to  present  proposals
 does mean, however, that ByteDance is working on the issues in good faith, and intends to present proposals on each prong in    on  each prong  in
 May.
 May. We We currently
             currently think
                         think that
                                that will
                                     will likely
                                          likely be
                                                  be the middle-to-latter half
                                                     the middle-to-latter  half of
                                                                                of the month, but
                                                                                   the month,   but will
                                                                                                      will keep
                                                                                                           keep you
                                                                                                                 you apprised.
                                                                                                                     apprised.

 Best
 Best regards,
      regards,

 Mike
 Mike and
      and David
          David




 David
 David Fagan
       Fagan

 Covington &
 Covington & Burling
             Burling LLP
                      LLP
 One CityCenter,
 One  CityCenter, 850 Tenth Street,
                  85o Tenth Street, NW
                                    NW
 Washington, DC
 Washington,  DC 20001-4956
                  20001-4956
 T +1
 T +1 202
      202 662 5291 | M
          662 5291   M+  1 703
                        +1     967 6940
                           703 967  6940
 dfagan@cov.com
 dfagan@cov.com
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 www.cov.com

 COVINGTON




                                                                  APP-373
                                                                  APP-373
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                     Exhibit
                     Exhibit L
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                               APP-374
                               APP-374
                                         Confidential
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                                                                     Communication
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                                                                                                             408
                                                                                                         of 276



     II ByteDance                                                                                                  ct TikTok
                          NATIONAL SECURITY
                          NATIONAL SECURITY AGREEMENT
                                            AGREEMENT
                                CFIUS CASE
                                CFIUS CASE 20-100
                                           20-100
                                       Presentation to
                                       Presentation to the Committee on
                                                       the Committee      Foreign
                                                                       on Foreign
                                            Investment in
                                            Investment  in the United States
                                                           the United States
                                                                      May XX,
                                                                      May XX, 2023
                                                                              2023

ByteDance Participants
ByteDance Participants
••   Erich Andersen
     Erich Andersen – General Counsel
                    — General Counsel                                                            Counsel
                                                                                                 Counsel
••   Will Farrell
     Will Farrell – Interim lead
                  — Interim lead of Security for
                                 of Security for TikTok
                                                 TikTok USDS
                                                        USDS                                     ••   Michael Leiter (Skadden),
                                                                                                      Michael Leiter            David Fagan
                                                                                                                     (Skadden), David Fagan (Covington),
                                                                                                                                            (Covington),
                                                                                                      Brian Williams
                                                                                                      Brian Williams (Covington),
                                                                                                                     (Covington), Tatiana Sullivan (Skadden),
                                                                                                                                  Tatiana Sullivan (Skadden),
                                                                                                      Katie Clarke
                                                                                                      Katie Clarke (Skadden), and Monty
                                                                                                                   (Skadden), and       Roberson
                                                                                                                                  Monty Roberson
                                                                                                      (Covington) on
                                                                                                      (Covington) on behalf
                                                                                                                     behalf of
                                                                                                                            of ByteDance
                                                                                                                               ByteDance




                                                                       APP-375
                                                                       APP-375
                                                USCA Case #24-1113            Document #2060757            Filed: 06/20/2024              Page 123 of 276




I   Current Situation:
    Current Situation: Opposing Views
                       Opposing Views

    CFIUS: "Divestiture
    CFIUS: ”Divestiture and Source Code
                        and Source Code Migration"
                                        Migration”                                                              Statement
                                                                                                                Statement of
                                                                                                                          of Chinese
                                                                                                                             Chinese Government Officials
                                                                                                                                     Government Officials


              • WSJ NEWS EXCLUSIVE I TECH                                                                       BUSINESS


             U.S. Threatens Ban if TikTok's Chinese                                                             China Says It Opposes Forced Sale of
             Owners Don't Sell Stakes                                                                           TikTok
             TikTok says forced sale won't resolve national-security issues; CEO set                            Biden administration demands that video app divest itself from its
             to appear before Congress next week                                                                Chinese parent or face a U.S. ban

             By John D. McKinnon Follow                                                                         By Raffaele Huang Follow
             Updated March 15,2023 6:45 pm ET                                                                   Updated March 23, 2023 9;09 am ET



      https://www.wsj.com/articles/u-s-threatens-to-ban-tiktok-if-chinese-founder-doesnt-
      https://www.wsj.com/articles/u-s-threatens-to-ban-tiktok-if-chinese-founder-doesnt-                https://www.wsj.com/articles/china-says-it-opposes-a-forced-sale-of-tiktok-1a2ffc62
                                                                                                         https://www.wsj.com/articles/china-says-it-opposes-a-forced-sale-of-tiktok-1a2ffc62
      sell-ownership-stake-36d7295c
      sell-ownership-stake-36d7295c




                                                                        Business            APP-376
                                                                                 Confidential – Pursuant to 50
                                                                        Business ConfidentAPRT§17n6to       50 U.S.C.
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                                                                          Protected from
                                                                          Protected      Disclosure Under
                                                                                    from Disclosure Under 5 5 U.S.C. § 552
                                                                                                              U.S.C. § 552
                                   USCA Case #24-1113         Document #2060757             Filed: 06/20/2024    Page 124 of 276

    Current Governance
            Governance Offering
I   Current            Offer
                                ByteDance Ltd.
                                ByteDance Ltd.
                                                                                      We’ve committed
                                                                                      We've
                                                                                      ••   Shift
                                                                                                      to the
                                                                                            committed to the following:
                                                                                                 all CFIUS
                                                                                           Shift all
                                                                                                             following:
                                                                                                             Functions to
                                                                                                     CFIUS Functions     to USDS
                                                                                                                            USDS
                                       1                                              ••   USDS    Independent Board
                                                                                           USDS Independent        Board
                                  TikTok Inc.
                                  TikTok Inc.                                                •• All
                                                                                                  All outside
                                                                                                      outside directors,  no ByteDance/TikTok
                                                                                                              directors, no  ByteDance/TikTok directors
                                                                                                                                                  directors
                                                                                             •• All
                                                                                                  All Directors
                                                                                                      Directors must
                                                                                                                 must be   approved by
                                                                                                                       be approved    by CFIUS
                                                                                                                                          CFIUS
                                Board of
                                Board of Directors
                                         Directors
                                                                                             •• NoNo reporting   lines to
                                                                                                      reporting lines  to ByteDance
                                                                                                                          ByteDance and and TikTok
                                                                                                                                            TikTok
                                                                                             •• Fiduciary
                                                                                                  Fiduciary responsibility   will be
                                                                                                             responsibility will  be to
                                                                                                                                     to the
                                                                                                                                        the CFIUS
                                                                                                                                            CFIUS
        TikTok
         TikTok      TikTok
                      TikTok      TikTok
                                   TikTok     TikTok
                                               TikTok    Chairperson
                                                         Chairperson of
                                                                     of               ••   TikTok Inc.
                                                                                           TikTok  Inc. Board:
                                                                                                         Board:
         Inside
         Inside       Inside
                      Inside      Outside
                                  Outside     Outside
                                              Outside    TikTok
                                                          TikTok USDS
                                                                 USDS
        Director
        Director     Director
                     Director     Director
                                  Director    Director
                                              Director       Board
                                                             Board                           •• Will
                                                                                                  Will include
                                                                                                       include the
                                                                                                                the USDS
                                                                                                                    USDS Chair
                                                                                                                            Chair
                                                                                             •• Majority
                                                                                                  Majority outside
                                                                                                            outside directors
                                                                                                                     directors
                                                                                      ••   USDS    Personnel
                                                                                           USDS Personnel
                                   100%
                                   100%                                                       •• Key    Personnel subject
                                                                                                  Key Personnel     subject to
                                                                                                                            to approval
                                                                                                                               approval by   CFIUS
                                                                                                                                          by CFIUS
                             Financial ownership
                             Financial ownership                                              •• All
                                                                                                  All USDS
                                                                                                      USDS Personnel
                                                                                                             Personnel subject
                                                                                                                          subject to
                                                                                                                                   to approved
                                                                                                                                      approved CFIUS
                                                                                                                                                CFIUS Hiring
                                                                                                                                                        Hiring
                                                                                                  Protocol
                                                                                                  Protocol
                 TikTok  U.S. Data
                 TikTok U.S.  Data Security
                                   Security Inc.
                                             Inc.
                                                                                      Furthermore, we're
                                                                                      Furthermore, we’re delivering on these
                                                                                                         delivering on these commitments:
                                                                                                                             commitments:
               Wholly
               Wholly owned
                      owned subsidiary
                            subsidiary of
                                       of TikTok Inc.
                                          TikTok Inc.
                                                                                      ••   USDS
                                                                                           USDS formed     as a
                                                                                                   formed as  a Delaware
                                                                                                                 Delaware Corporation
                                                                                                                            Corporation
                   Board of
                   Board    Directors // Security
                         of Directors    Security Committee
                                                  Committee                           ••   1,500  employees already
                                                                                           1,500 employees     already employed
                                                                                                                        employed by   USDS with
                                                                                                                                   by USDS    with open
                                                                                                                                                   open
                                                                                           positions
                                                                                           positions for  another 500
                                                                                                                   500 to
                                                                                                                       to be hired by  end of
                                                                                                                                           of 2023
                                                                                                                                              2023

         L_
                                                       Outside
                                                       Outside                                        for another         be hired  by end
              Outside
              Outside              Outside
                                   Outside
              Director
              Director             Director
                                   Director
                                                      Director //
                                                      Director                        ••   Core
                                                                                           Core CFIUS     Functions have
                                                                                                 CFIUS Functions     have been
                                                                                                                           been transferred
                                                                                                                                 transferred into USDS except
                                                                                                                                             into USDS  except
                                                     Chairperson
                                                     Chairperson
                                                                                           for
                                                                                           for HR  and Legal
                                                                                               HR and   Legal


                                                         Business           APP-377
                                                                  Confidential – Pursuant to 50
                                                         Business ConfidentAPRT§17n7to       50 U.S.C.
                                                                                                U.S.C. §§ 4565
                                                                                                          4565
                                                                                                                                                                 3
                                                           Protected from
                                                           Protected      Disclosure Under
                                                                     from Disclosure Under 5 5 U.S.C. § 552
                                                                                               U.S.C. § 552
    Additional Ownership Steps for
                               for Discussion
                                   Discussion
                                   USCA Case #24-1113         Document #2060757              Filed: 06/20/2024     Page 125 of 276
    Additional Ownership Steps
I                               ByteDance Ltd.
                                ByteDance Ltd.
                                                                                  Challenges to
                                                                                  Challenges

                                                                                  ••
                                                                                             to Ownership
                                                                                                Ownership Change
                                                                                                          Change of

                                                                                         Economic implications
                                                                                         Economic
                                                                                                                    USDS
                                                                                                                 of USDS

                                                                                                                  for shareholders
                                                                                                    implications for  shareholders and
                                                                                                                                    and employees
                                                                                                                                        employees
                                                                                  ••     Change
                                                                                         Change of
                                                                                                 of control   may impact
                                                                                                     control may   impact existing
                                                                                                                          existing agreements with third
                                                                                                                                   agreements with third parties
                                                                                                                                                         parties
                                  TikTok Inc.
                                  TikTok Inc.                                            (e.g. music)
                                                                                         (e.g. music)
                                                                                  ••     Ownership
                                                                                         Ownership ofof intellectual
                                                                                                        intellectual property
                                                                                                                     property
                                Board of
                                Board    Directors
                                      of Directors                                ••     USDS becomes
                                                                                         USDS   becomes de     facto vendor
                                                                                                           de facto         to Global
                                                                                                                     vendor to Global TikTok
                                                                                                                                      TikTok
                                                                                  ••     Regulatory approvals
                                                                                         Regulatory  approvals
        TikTok
         TikTok      TikTok
                      TikTok      TikTok
                                   TikTok     TikTok
                                               TikTok    Chairperson
                                                         Chairperson of
                                                                     of
         Inside
         Inside       Inside
                      Inside      Outside
                                  Outside     Outside
                                              Outside    TikTok
                                                          TikTok USDS
                                                                 USDS             Reminder: Challenges
                                                                                  Reminder: Challenges to
                                                                                                       to Ownership
                                                                                                          Ownership Change
                                                                                                                    Change of
                                                                                                                           of TikTok Inc.
                                                                                                                              TikTok Inc.
        Director
        Director     Director
                     Director     Director
                                  Director    Director
                                              Director       Board
                                                             Board
                                                                                   ••    Not expected
                                                                                         Not expected to to receive
                                                                                                             receive regulatory
                                                                                                                     regulatory approval
                                                                                                                                approval ("forced
                                                                                                                                          (“forced sale"
                                                                                                                                                    sale” of
                                                                                                                                                          of business)
                                                                                                                                                             business)
                                                                                    ••   Breaks global
                                                                                         Breaks  global integration   of non-national
                                                                                                          integration of non-national security
                                                                                                                                       security business   functions,
                                                                                                                                                 business functions,
                                                                                         such as
                                                                                         such  as sales
                                                                                                  sales and    marketing
                                                                                                          and marketing
                                      TBD
                                      TBD                                           ••   Breaks interoperability
                                                                                         Breaks  interoperability (U.S.
                                                                                                                    (U.S. becomes
                                                                                                                          becomes a   TikTok "island")
                                                                                                                                   a TikTok   “island”)
                                                                                   ••    Significantly increases
                                                                                         Significantly increases business
                                                                                                                    business costs through duplication
                                                                                                                             costs through   duplication of  roles and
                                                                                                                                                          of roles and
                                                                                         systems
                                                                                         systems
                     TikTok U.S. Data
                     TikTok U.S. Data Security
                                      Security Inc.
                                               Inc.
                                                                                   Overall Challenges
                                                                                   Overall Challenges

                   Board of
                   Board of Directors
                            Directors // Security
                                         Security Committee
                                                  Committee                       •      Even if
                                                                                         Even  if the
                                                                                                  the challenges   above were
                                                                                                      challenges above    were overcome,
                                                                                                                               overcome, it it is not clear
                                                                                                                                               is not       whether
                                                                                                                                                      clear whether
                                                                                         there are
                                                                                         there are any
                                                                                                    any potential
                                                                                                          potential buyers who could
                                                                                                                    buyers who        take on
                                                                                                                               could take   on a a U.S.
                                                                                                                                                   U.S. TikTok
                                                                                                                                                        TikTok
                                                       Outside
              Outside
              Outside              Outside
                                   Outside
                                                       Outside
                                                                                         business   without ByteDance
                                                                                         business without    ByteDance having
                                                                                                                         having some
                                                                                                                                some stake      and supporting
                                                                                                                                        stake and               the
                                                                                                                                                    supporting the
                                                      Director //
                                                      Director
              Director
              Director             Director
                                   Director
                                                     Chairperson
                                                     Chairperson                         application
                                                                                         application
                                                                                  •      The effect
                                                                                         The  effect of  these challenges
                                                                                                      of these challenges can  result in
                                                                                                                           can result    an effective
                                                                                                                                      in an  effective ban  and impact
                                                                                                                                                        ban and  impact
                                                                                         150 million Americans
                                                                                         150 million   Americans

                                                         Business           APP-378
                                                                  Confidential – Pursuant to 50
                                                         Business ConfidentAPRIT§Into        50 U.S.C.
                                                                                                U.S.C. §§ 4565
                                                                                                          4565
                                                           Protected from
                                                           Protected      Disclosure Under
                                                                     from Disclosure Under 5 5 U.S.C. § 552
                                                                                               U.S.C. § 552
                                                                                                                                                                     4
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I   Overview of Source
    Overview of Source Code
                       Code Migration
                            Migration Proposal
                                      Proposal

      1
      1   Brief
          Brief review
                review of
                       of current
                          current software
                                  software assurance
                                           assurance commitments
                                                     commitments and
                                                                 and proposed
                                                                     proposed enhancements
                                                                              enhancements


      2
      2   High
          High level
               level overview
                     overview of TikTok technology
                              of TikTok technology stack
                                                   stack



      3
      3   Drill down
          Drill down on
                     on technology
                        technology relevant
                                   relevant to
                                            to content
                                               content assurance
                                                       assurance



      4
      4   Company
          Company proposal
                  proposal for
                           for migration
                               migration



      5
      5   Timing and
          Timing and risk
                     risk factors
                          factors



                                     Business           APP-379
                                              Confidential – Pursuant to 50
                                     Business ConfidentAPRT§17r9to       50 U.S.C.
                                                                            U.S.C. §§ 4565
                                                                                      4565
                                                                                                               5
                                       Protected from
                                       Protected      Disclosure Under
                                                 from Disclosure Under 5 5 U.S.C. § 552
                                                                           U.S.C. § 552
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High Level Stack View of TikTok Systems
     End User
     End  User 8
                                      iOS
                                      i0                                          Android
                                                                                  Android                                 Web
                                                                                                                          Web
      (Client)
      (Client)

                                                                                                                        Backend  Services
                                                                                                                        Backend Services
    Data Center
    Data Center                                            Recommendation
                                                           Recommendation
                          Content Moderation
                          Content Moderation                                                        Advertising
                                                                                                    Advertising          (including VPF
                                                                                                                         (including VPF
                                                               Engine
                                                               Engine
                                                                                                                            Software)
                                                                                                                            Software)

          •••         4                              I                     II                     I,           I,                ,
         °S
          • .•   .•                                  :   Collaboration
                                                         Collaboration          Content Mod Tools
                                                                                Content Mod Tools I! Ticketing
                                                                                                     Ticketing    Security
                                                                                                                  Security Tools
                                                                                                                           Tools
                                                                                                               .4
                 -           Internal Tools
                             Internal Tools
                                                          ,'                300+
                                                                            300+ supporting
                                                                                 supporting apps
                                                                                            apps // tools
                                                                                                    tools // services
                                                                                                             services                I,
                                                                                                                                     .

                                                                           Big Data
                                                                           Big Data Platform
                                                                                    Platform

                                                                                Infrastructure
                                                                                Infrastructure

Note: All
Note: All of
          of the
             the above
                 above are
                       are subject
                           subject to
                                   to software
                                      software assurance by Oracle
                                               assurance by        and the
                                                            Oracle and the Source
                                                                           Source Code Inspector
                                                                                  Code Inspector


                                            Business           APP-380
                                                     Confidential – Pursuant to 50
                                            Business ConfidentiARPr53B0o        50 U.S.C.
                                                                                   U.S.C. §§ 4565
                                                                                             4565
                                              Protected from
                                              Protected      Disclosure Under
                                                        from Disclosure Under 5 5 U.S.C. § 552
                                                                                  U.S.C. § 552                                              6
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    Current Commitments
            Commitments on
                        on Software
                           Software Assurance
                                    Assurance
I   Current
        Software
        Software
                           ••
                           ••
                                Dedicated Transparency
                                Dedicated
                                All code
                                All
                                           Transparency Center
                                         will go
                                    code will go through
                                                           Center framework
                                                 through the
                                                                  framework underway
                                                                             underway
                                                             Software Assurance
                                                         the Software  Assurance process
                                                                                 process
         Review
         Review
                           ••   Second Source
                                Second   Source Code
                                                  Code Inspector
                                                       Inspector to
                                                                 to augment
                                                                     augment Oracle’s
                                                                             Oracle's analysis
                                                                                      analysis – RFA recently
                                                                                               — RFA recently issued
                                                                                                              issued


                           ••   Oracle will compile
                                Oracle will compile the   mobile app
                                                      the mobile app and
                                                                      and deliver
                                                                          deliver to to app  stores
                                                                                        app stores
    Software Build
    Software Build
                           ••   USDS will
                                USDS   will control
                                            control the
                                                    the build
                                                        build pipeline
                                                              pipeline
    & Deployment
    & Deployment
                           ••   Software will
                                Software  will not
                                               not be
                                                   be permitted
                                                       permitted to
                                                                 to run
                                                                    run unless
                                                                        unless itit goes
                                                                                    goes through
                                                                                          through the
                                                                                                   the Software Assurance process
                                                                                                       Software Assurance process



    Code Migration
    Code Migration         ••   All source
                                All source code for gateways
                                           code for           will transition
                                                    gateways will  transition to
                                                                               to Oracle
                                                                                  Oracle
       Already
       Already             ••   All source
                                All source code for access
                                           code for access into
                                                           into the  TTP will
                                                                the TTP    will transition
                                                                                transition to
                                                                                           to Oracle
                                                                                              Oracle and USDS-controlled
                                                                                                     and USDS-controlled
      Underway
      Underway                  commercial  software (Global
                                commercial software   (Global Protect
                                                              Protect VPN,
                                                                       VPN, Google
                                                                               Google IDP,
                                                                                        IDP, Oracle  MFA, and
                                                                                              Oracle MFA, and Oracle
                                                                                                              Oracle Gateway)
                                                                                                                     Gateway)


    We
     We continue
        continue to believe access
                 to believe  access to  source code
                                     to source  code and  rights to
                                                     and rights  to escalate  matters of
                                                                    escalate matters  of concern
                                                                                         concern should
                                                                                                 should define
                                                                                                         define the
                                                                                                                the scope
                                                                                                                    scope of protection of
                                                                                                                          of protection of U.S.
                                                                                                                                           U.S.
    national security
    national security concerns  related to
                      concerns related   to TikTok software and
                                            TikTok software  and any
                                                                  any further requirements to
                                                                      further requirements     migrate code
                                                                                            to migrate code development
                                                                                                             development to
                                                                                                                          to U.S. persons is
                                                                                                                             U.S. persons  is
    inconsistent with
    inconsistent with global industry norms.
                      global industry norms.


                                                       Business           APP-381
                                                                Confidential – Pursuant to 50
                                                       Business ConfidentAPPrs381to        50 U.S.C.
                                                                                              U.S.C. §§ 4565
                                                                                                        4565
                                                                                                                                                  7
                                                         Protected from
                                                         Protected from Disclosure
                                                                        Disclosure Under
                                                                                   Under 5 5 U.S.C. § 552
                                                                                             U.S.C. § 552
Stack View
      View of
           of Content
              Content Assurance
                      Assurance Proposal
                                Proposal
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Stack
 Content
 Content          Recommendation Engine
                  Recommendation Engine                      VPF Software
                                                             VPF Software (within
                                                                          (within Backend
                                                                                  Backend Services)
                                                                                          Services)
Moderation
Moderation

                                                                     Video Promotion
                                                                     Video Promotion                                              Heating
                                                                                                                                  Heating
    Moderation
    Moderation
    Application   Recommendation Models
                  Recommendation Models
    Application
                                                                     Creator
                                                                     Creator Content
                                                                             Content                                          Creator
                                                                                                                              Creator content
                                                                                                                                      content
                                                                       Promotion                                                promotion
                                                                                                                                promotion
    Moderation
    Moderation                                                         Promotion
      Rules
      Rules
                  Recommendation Algorith
                  Recommendation Algorithm
                                         lill
     Engine Al
     Engine                                                                                                                    Search
                                                                                                                               Search filtering
                                                                            Search
                                                                            Search                                                    filtering

    Moderation
    Moderation                                                                                                            r
     Models                                                                                                                    Filter
                                                                                                                               Filter rules
                                                                                                                                      rules and
I    Models                                                     Recommendation Rules
                                                                Recommendation Rules
                                                                                                                                   Boosting
                                                                                                                                   Boosting
                                                                                                                                            and




                                       Internal Tools
                                       Internal Tools
                                                                                                               I          r
                  Supporting Internal
                  Supporting Internal Tools
                                      Tools                                                                                       e.g.
                                                                                                                                  e.g. Mint
                                                                                                                                       Mint




                           Subject to NSA
                           Subject to NSA Software Assurance
                                          Software Assurance                                                              Systems related to
                                                                                                                          Systems related to VPF
                                                                                                                                             VPF
                                                Business         APP-382
                                                Business ConfideAP PH;IQ?
                                                         Confidential – Pursuant to 50 U.S.C. §
                                                                                    50 U.S.C. § 4565
                                                                                                4565
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                                                  Protected      Disclosure Under
                                                            from Disclosure Under 5  U.S.C. §
                                                                                   5 U.S.C. § 552
                                                                                              552
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Specific Considerations
Specific Considerations of
                        of Code
                           Code Migration
                                Migration Proposal
                                          Proposal
                      ••   VPF Software
                           VPF  Software development    migrated to
                                          development migrated        Authorized Personnel
                                                                   to Authorized Personnel
                      ••   “Authorized Personnel"
                           "Authorized  Personnel” means
                                                    means only   TikTok employees
                                                            only TikTok employees working
                                                                                    working in
                                                                                            in approved
                                                                                               approved locations
                                                                                                         locations
   Specifics of
   Specifics of            outside
                           outside of China
                                   of China
Migration Proposal
Migration Proposal    ••   Appropriate technical
                           Appropriate  technical controls
                                                  controls to ensure only
                                                           to ensure       Authorized Personnel
                                                                      only Authorized Personnel work
                                                                                                 work on  VPF
                                                                                                      on VPF
                           Software
                           Software
                      ••   Third party
                           Third party oversight
                                       oversight and
                                                 and audit
                                                     audit of  VPF Software
                                                            of VPF  Software assurance  system
                                                                              assurance system

                      ••   “Heating”: promotions
                           "Heating":    promotions forfor editorial
                                                            editorial reasons
                                                                      reasons based
                                                                                based on
                                                                                      on content
                                                                                         content we
                                                                                                 we believe
                                                                                                     believe users
                                                                                                              users want  to
                                                                                                                    want to
Video Promotion
Video  Promotion &&        see
                           see
                      ••   ”Boosting”: promotions
                           "Boosting":   promotions to  to improve
                                                           improve user
                                                                      user growth
                                                                           growth and
                                                                                   and retention
                                                                                       retention
 Filtering ("VPF")
 Filtering (“VPF”)    ••   “Creator Content
                                     Content Promotion":
                                                 Promotion”: Individual
                                                                Individual users
                           "Creator                                        users can
                                                                                  can promote
                                                                                      promote aa video
                                                                                                 video for
                                                                                                       for a
                                                                                                           a fee
                                                                                                             fee to
                                                                                                                 to attract
                                                                                                                    attract
      Software
     Software              more views
                           more   views or   followers
                                          or followers
                      ••   “Filtering”: removal
                           "Filtering": removal of of content
                                                      content inin violation
                                                                   violation of
                                                                             of Community
                                                                                Community Guidelines
                                                                                           Guidelines


                      ••   6 months
                           6 months -– 1
                                       1 year
                                         year
Proposed Timeline
Proposed Timeline     ••   Contingent on
                           Contingent  on agreed  Authorized Personnel
                                          agreed Authorized     Personnel scope
                                                                           scope
                      ••   Contingent on
                           Contingent  on availability
                                          availability of
                                                       of internal
                                                          internal reference
                                                                   reference code
                                                                             code from
                                                                                  from global
                                                                                       global development
                                                                                              development


                                         Business           APP-383
                                                  Confidential – Pursuant to 50
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                                                                                U.S.C. §§ 4565
                                                                                          4565
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                                           Protected      Disclosure Under
                                                     from Disclosure Under 5 5 U.S.C. § 552
                                                                               U.S.C. § 552
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Additional Considerations
Additional Considerations Related
                          Related to
                                  to Timing
                                     Timing

       Need
       Need to
            to further
               further expand
                       expand development  workforce outside
                              development workforce  outside of
                                                             of China
                                                                China to
                                                                      to be
                                                                         be able
                                                                            able to
                                                                                 to
   1
   1
       operationalize
       operationalize code
                      code migration
                           migration proposal.
                                     proposal.

       Need
       Need to
             to have
                have flexibility
                       flexibility to
                                   to hire
                                      hire developers  who meet
                                           developers who   meet local
                                                                 local immigration
                                                                       immigration requirements
                                                                                   requirements in in
       countries
       countries beyond
                 beyond thethe U.S.
                                 U.S. such
                                       such as  Australia and
                                             as Australia and Canada
                                                              Canada consistent   with global
                                                                       consistent with global industry
                                                                                              industry
   2
   2
       standard
       standard hiring
                 hiring practices.
                         practices. Notably,
                                      Notably, many
                                               many U.S.
                                                      U.S. based
                                                           based tech
                                                                  tech companies,
                                                                       companies, including
                                                                                   including direct
                                                                                              direct
       competitors
       competitors rely
                     rely on
                          on aa global
                                 global work
                                         work force,
                                              force, including
                                                     including Chinese
                                                               Chinese engineering
                                                                        engineering talent.
                                                                                     talent.

       Need
       Need to
             to be
                be able
                   able to
                        to use
                           use existing
                               existing tools
                                        tools and
                                              and processes for development,
                                                  processes for development, build,
                                                                             build, and
                                                                                    and testing
                                                                                        testing of
                                                                                                of
   3
   3   software.
       software.



       ByteDance
       ByteDance software    will continue
                  software will   continue to
                                           to be
                                              be available
                                                 available as
                                                           as a
                                                              a reference
                                                                reference library for non-China
                                                                          library for non-China teams
                                                                                                teams
   4
   4
       to
       to be
          be used
             used at
                  at their
                     their discretion.
                           discretion.


                                   Business           APP-384
                                            Confidential – Pursuant to 50
                                   Business ConfidentAPRT§INto         50 U.S.C.
                                                                          U.S.C. §§ 4565
                                                                                    4565
                                                                                                             10
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                                               from Disclosure Under 5 5 U.S.C. § 552
                                                                         U.S.C. § 552
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                     Exhibit M
                     Exhibit M




                               APP-385
                               APP-385
                                         Confidential   Settlement
                                          USCA Case #24-1113
                                                                     Communication
                                                              Document #2060757
                                                                                        PursuantPage
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                                                                                                  to 133
                                                                                                     FRE     408
                                                                                                         of 276



     lid ByteDance                                                                                                 ct TikTok
                          NATIONAL SECURITY AGREEMENT
                                CFIUS CASE 20-100
                                       Presentation to the Committee on Foreign
                                           Investment in the United States
                                                                   September 8, 2023

ByteDance Participants                                                                           Counsel
                                                                                                 Counsel
••   Erich Andersen –
                    — General Counsel                                                            ••   Michael Leiter (Skadden), David Fagan (Covington),
••   Will Farrell –
                  — Interim lead of Security for TikTok USDS                                          Brian Williams (Covington), Tatiana Sullivan (Skadden),
••   Ted Gizewski –
                  — Head of Legal & Compliance, USDS                                                  Katie Clarke (Skadden), and Monty Roberson
••   Sarah Aleem –
                 — Chief of Staff, USDS                                                               (Covington) on behalf of ByteDance




                                                                       APP-386
                                                                       APP-386
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Topics for Today's
           Today’s Discussion

   1
   1   Update on Recent Milestones

   2   Content Assurance Overview

   3   Governance Alignment

   4   Source Code Migration

   5   Rethinking Source Code Inspector Function

   6   Next Steps




                                                     APP-387
                                                      – Pursuant to 50 U.S.C. § 4565
                                Business Confidential AFpipa3183750
                                  Protected from Disclosure Under 5 U.S.C. § 552                           2
                 USCA Case #24-1113    Document #2060757              Filed: 06/20/2024          Page 135 of 276
Recent Milestones
                                                        • Moved employee contracts & payroll into TikTok USDS Inc.
          USDS Growth                                           • FTE Count: 1,730 (as of August 25, 2023)
                                                                • 2023 Year end FTE projection: ~2,200
                                                                                                —2,200




          Data Storage                                  •• Data deletion began in March 2023
          & Access                                      •• Gateways are operational and being tested by Oracle



                                                        • Oracle now has access to 100% of source code, including
          Software                                        recommendation engine

  11111   Assurance                                     • Mobile sandbox is in testing & deployed to a small number of TikTok
                                                          users


                                                        • TikTok platform source code review started by Oracle
          Content
  11111   Assurance                                     • Over 100 academic institutions have applied for access to research
                                                          API; most are being approved by the company



                                                        • RFPs for third-party oversight roles ready to issue; pending further clarification (see slide 17)
     g    Third-Party                                   • Data deletion auditor selected and in place
     I    Oversight                                     • We continue to inform and educate prospective USDS Board of Director candidates




                                                     APP-388
                                                      – Pursuant to 50
                                Business Confidential App.0130       0 U.S.C. § 4565
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  An Overview of Systems That Determine What Users See


                                              •     •
                                                                              •411 1
                                              • • • 1 •
Content Moderation
                                                    •                                        Generate content selection pool for recommendation
                                                                                             engine and moderate for compliance with community
                                                   • •                                       guidelines (i.e., user safety).


Recommend
Recommend                                                                                    Decide what videos are distributed to users based on
                                                                                             content neutral user behavior.



Video Promotion & Filtering
                                                                 •                           Some videos are promoted or filtered to keep video
                                                                                             feeds interesting, high quality and diverse.



LEGEND     •   Moderated   •   Recommended     Promoted




                                                                     APP-389                  Business Confidential –
                                                                                                                    — Pursuant to 50 U.S.C. § 4565
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Video Promotion & Filtering: Overview
TikTok promotion platforms are designed to increase user visibility to and engagement with content. Business
rules are developed in accordance with internal business goals to both promote and filter videos categorically (e.g.,
promote high-quality and local videos; decrease recommendation of identical videos).


             Promotion                                                             Filtering
             Heating
             Promoted content is designed to provide a
             diverse TikTok experience and support
             creators. The selection process for promoted
             videos must align with TikTok Editorial                               Filtering is used to keep content
             Guidelines.                                                           engaging through decreasing visibility
                                                                                   of low-quality videos, sharing new
             Boosting                                                              content, and de-duplicating content.
             Application of rules to the recommendation
             engine to improve user experience (e.g., new
             user growth).




                                                                APP-390
                                                                 – Pursuant to 50 U.S.C. § 4565
                                           Business Confidential App49O0
                                             Protected from Disclosure Under 5 U.S.C. § 552                                 5
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  Video Promotion &
                  f Filtering: Business Rules
   Business rules are applied to the recommendation engine to serve internally defined business goals. These rules can
   either boost (promote) or filter content, depending on the goal TikTok is trying to achieve.

                                                                                                         1

                                              Recall                                                      ~10^9
                                                                                          Reduction from -10119
                                                                                                       ~3000
                                                                                            videos to -3000

       Promote/
                                                                                                 2
          Filter
                                                       Rough Predict                 Choose top 300 videos
                                                                                      from Recall results


                                                                                                                               Promote/Filter
                                                                                          3                     1
                                                          Predict                 Find the 8 highest
                                                                                   ranking videos

             Promote/Filter

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                                                                    11. APP-391                                                             6
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 Video Promotion &
                 f Filtering: Process Flow
     The drivers for content promotion and filtering come from internal business goals. Depending on the goal, it is
     desirable for the visibility and engagement of content to increase (promotion) or decrease (filtering).

      TikTok Promotion Piattorms
                       Platforms (heating)
                                 kneaung)

          Internal content teams select videos for promotion (e.g.,
       1 content partnerships to promote InuiviuucH viucu )
                                         individual videos)
                                                                                    1              2                        3                4
          Program ID created for promotion; content is promoted
       2 via promotion platform                                                                                    •   •



       3 Content associated with the Program ID is promoted                      110                               •




          Promotion can result in increased views or engagement
       4 with content

      Business Rules (filtering and boosting)
          Internal business goals set (e.g., reduce ANSA, filter
       1 extremely long videos, promote high-quality videos)
          GALI GI I IGIy   I WI lyVIUG\JJ,   NI Omote



          Business rules are developed and applied to
       2 recommendation system
                                                                                     1                                      2                3
          Recommended content is refined in accordance with
       3 internal business goals

|7
                                                                                  APP-392
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 Video Promotion &
                 f Filtering: Assurance Flow
     All individual videos to be promoted must be associated with a USDS-approved Program ID. Similarly, USDS approval
     is required to promote or filter videos categorically via new or changed business rules.
      TikTok Promotion Platforms
                USDS review and approval required for
         2.1    Program ID creation for promotions targeting
                the US
                                                                                                  2.1     2.2                                                2.3
                Promotion activities (e.g., push notifications,
         2.2    inbox notifications) must be linked to an
                approved Program ID

                USDS personnel selectively audit promotion
         2.3 activities


      Business Rules
                All rules published in the TikTok Content
         1.1 Strategy Platform (TCSP) for transparency                                                          • ti®T
                USDS approval required for new or changing
         1.2 business rules                                                           1.1   1.2     1.3

                Automatic reporting of changed rules via
         1.3 TCSP
                                                                                                        Our Trusted Technology Provider, Oracle, assures the
|8                                                                                                      software implementation of our promotion and filtering
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                                                                            APP-393                     mechanisms.
                                                                                                                                                                   8
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II!   Overview of Global TikTok Content Assurance System
      in Development
                                                                     •    Policy: Policy will prohibit any TikTok employee or contractor from taking
                                                                          steps to advance the political interest or agenda of any state actor with
                                                                          respect to TikTok content. Any violations of of the Policy will
                                                                                                                                     will result in
                                                                          disciplinary action up to andand including termination.
                              Policy
                                                                     •     Guidelines: Boosting, heating and filtering content will be performed only
                                                                           within the scope of written guidelines developed by authorized personnel in
                                                                           locations where TikTok is available; the guidelines will be transparent to
                                                                           internal teams and reviewable by third parties, such as our global content
                                                 Authorized                advisory committees.
        Guidelines
                                                 Personnel

                             Content                                 •    Authorized Personnel: Only authorized personnel will design, develop,
                            Assurance                                     and update content guidelines and code that implements heating, boosting
                                                                          and filtering of TikTok content.

                                                                     ••    Code: TikTok source code in the U.S. is reviewable by Oracle under the
                                                                           NSA governance framework. Company has launched a research API and
                                                                           has already granted access to 47 independent academic institutions
                Oversight                 Code                             including Harvard, Florida Atlantic, and the University of Minnesota.

                                                                     •     Oversight: All controls related to content assurance system will be made
                                                                           available for inspection and monitoring by independent third parties. TikTok
                                                                           also is subject to DSA VLOP requirements in Europe.

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Relationship to USDS Governance Framework

                           ByteDance Ltd.
                                                                                               • Policy & Guidelines
                                                                                                 •• USDS will have specific approval rights as it relates
                             TikTok Inc.
                                                                                                    to approval and execution of guidelines.
                           Board of
                                 of Directors
                                                                                               •• Authorized Personnel
   TikTok
    TikTok      TikTok
                 TikTok       TikTok
                             TikTok      TikTok                 of
                                                    Chairperson of                                • Limited list of pre-authorized USDS personnel who
    Inside       Inside      Outside     Outside    TikTok
                                                     TikTok USDS                                    are permitted to approve guidelines.
   Director
   Director     Director
                Director     Director
                             Director    Director
                                         Director       Board
                                                        Board
                                                                                               • Code
                                 100%                                                            • All code will go through Oracle’s
                                                                                                                            Oracle's software assurance
                           Financial ownership                                                     process prior to deployment.
                                                                                                 • Content Assurance code will be deployed by USDS.
            TikTok U.S. Data Security Inc.
          Wholly
          Wholly owned subsidiary of
                                  of TikTok
                                     TikTok Inc.                                               • Oversight
                                                                               TikTok USDS
                                                                                                 • Several layers of oversight, including Oracle, Content
              Board of
              Board of Directors / Security Committee                                              Advisory Council, Third Party Monitor, and Third
                                                                                  Content
                                                   Outside                      Assurance          Party Auditor.
         Outside              Outside                                              Role
                                                  Director /
                                                  Director
         Director
         Director             Director
                              Director
                                                 Chairperson




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High Level Stack View of TikTok Systems
     End User
      (Client)
                         8               iOS
                                         i0                                         Android                                 Web


                                                                                                                          Backend Services
    Data Center                                             Recommendation
                             Content Moderation                                                       Advertising          (including VPF
                                                                Engine
                                                                                                                              Software)

        , •• •• ••   4                                  ,r                                        „             ,
           •••       ,                                  : Collaboration         Content Mod Tools : : Ticketing :: Security Tools
                -               Internal Tools              ,                                                                         ,
                                                            ,                 300+ supporting apps / tools / services                 ,i

                                                                              Big Data Platform

                                                                                 Infrastructure

      All of
Note: All of the above are subject to software assurance by Oracle and
                                                                   and the Source Code Inspector


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I   Stack View of Software Migration Proposal

     Content        Recommendation Engine                     VPF Software (within Backend Services)
    Moderation
                                                                                                                           r
                                                                      Video Promotion                                              Heating
     Moderation                                                                                                                                    J
     Application        Recommendation Models
                                                                      Creator Content                                          Creator content
                                                                        Promotion                                                promotion
     Moderation                                                                                                                                    J
       Rules
                                   Algorithm
                    Recommendation Algorithill
      Engine Al                                                              Search                                             Search filtering
                   i•
     Moderation
       Models                                                                                                                   Filter rules and
                                                                 Recommendation Rules
    m.                                                                                                                              Boosting



                                          Internal Tools


                    Supporting Internal Tools                                                                                      e.g. Mint




                               Subject to NSA Software Assurance                                                           Systems related to VPF
                                                                  APP-397
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Specific Considerations of Software Migration Proposal


                        •    VPF Software development migrated to Authorized Personnel
                        •    “Authorized Personnel"
                             "Authorized  Personnel” means only TikTok employees working in locations where the
 Global Development
                             TikTok service is offered
 Considerations and
                        •    Appropriate technical controls to ensure only Authorized Personnel work on VPF
      Controls
                             Software
                        •    Third party oversight and audit of VPF Software assurance system




                        •    Approximately 6 months -– 1 year from agreement
  Proposed Timeline     ••   Contingent on agreed Authorized Personnel scope
                        •    Contingent on availability of internal reference code from global development




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      Stack View of Software Migration Alternative
I     Response to May 2023 meeting request

                                                        Content
                                                       Moderation
                                                                              Recommendation Engine
                                                                                                                           VPF Software
                                                                                                                    (within Backend Services)

                                                                                                                          Video Promotion
                                                       Moderation
                                                       Application             Recommendation Models
                                                                                                                           Creator Content
                                                       Moderation                                                            Promotion
                                                         Rules
                                                                              Recommendation Algorithm
                                                        Engine
                                                                                                                                Search
                                                       Moderation
                                                        Models
                                                                                                                       Recommendation Rules


                                                                                           Internal Tools

                                                                                            I                                                 I
                                                                     All Internal Tools              Relevant Internal Tools e.g. Mint
                                                                                            L                                                 J



                                                                                Subject to NSA Software Assurance
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Specific Considerations of Alternative


                             ••   Not recommended - anticipate complexity in managing risk of incompatible systems with
                                  independent development of alternative recommendation engine
                             ••   Code migration at broader scale is unnecessary, given full set of protections: content assurance
    Company’s
    Company's View
                                  system + full access to source code by highly qualified third parties = comprehensive solution
                             •    Anticipate significant challenges in hiring qualified engineers to pursue independent development
                             ••   Cost for company in competitive and dynamic market is very high




                             •    “Authorized Personnel"
                                  "Authorized  Personnel” means only TikTok employees working in   in locations
                                                                                                      locations where
                                                                                                                where the
                                                                                                                      the service
                                                                                                                          service is
                                                                                                                                  is
                                  commercially available
  Specifics of Migration
                             •    Need access to global internal reference code or ability to release via open source
        Proposal
                             •    Appropriate technical controls to ensure only Authorized Personnel work on software in scope
                             •    Third party oversight and audit




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           Estimated Software Migration Timeline

                                                                2024**                                                                   2025
                                            Q1            Q2               Q3                Q4                   Q1             Q2             Q3   Q4

             Video Promotion
             and Filtering                                       VPF
1
             Content                                           Systems*
             Moderation
Software




                                                                                Models

             Recommendation                                                                       Systems
 0
             Engine                                                                               Models


             Internal Tools
                                                                           EL           Relevant Internal Tools


           *Content Moderation Systems will
                                          will continue to be developed in China but be subject to open source to the public.
           **Start Date: 1/1/2024 with an assumption ofof a signed NSA


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 Rethinking Source Code Inspector Function

                   Current NSA Scope                                                                    Proposed Change


••   “Source Code
     "Source      Inspector” is
             Code Inspector" is defined in 9.11                                  ••   Rename to
                                                                                      Rename to "Independent
                                                                                                “Independent Security
                                                                                                             Security Inspector"
                                                                                                                      Inspector”

••   Scope:                                                                      •    Broader Scope:
      • An independent inspector of Source Code and                                     •• Independent security risk and vulnerability
         Related Files in the DTC                                                          inspector of TikTok U.S. Platform
      •• Conduct Source Code security vulnerability                                     • Perform security testing necessary to identify
         assessments within DTCs                                                                             TikTok’s software and systems
                                                                                           gaps and flaws in TikTok's
                                                                                        • RFP vendors with experience on combatting
••   Submit reports directly to CMAs and Third-Party                                       nation state adversaries
     Monitor on CMA determined schedule
                                                                                 ••   Submit reports directly to CMAs and Third-Party
••   Submit quarterly reports to Transaction Parties, TTP,                            Monitor on CMA determined schedule
     and Third-Party Monitor
                                                                                 ••   Submit quarterly reports to Transaction Parties, TTP,
                                                                                      and Third-Party Monitor


                                                                 APP-402
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 Conclusion and
            and Next Steps




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Appendix




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Content Moderation




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Content Moderation: Overview
Content Moderation is a combination of specialized technology (auto-moderation) and human moderators who are
trained to recognize violative content and make policy decisions accordingly. This process generates the content pool
for the recommendation engine.


                     V
                                                                                                                   poi



        Enforces Community                            Advised by Content                                   Composed of both
             Guidelines                              Advisory Council (CAC
                                                                      (CAC)                              automated and human
                                                                                                              moderation
     The TikTok Community Guidelines                 The TikTok Content Advisory
       are a publicly available code of           Council advises the business on a                       TikTok has combined content
     conduct to ensure user safety and a         variety of topics, including child safety,           moderation technology with a robust
   friendly digital environment. A violation       hate speech, misinformation, and                   human moderation team and several
      of the guidelines may result in the         bullying, with members hailing from                   layers of tools and processes to
        account and/or content being             the technology, policy, and heath and                 recommend safe content to users.
                    removed.                               wellness industries.



                                                                 APP-406
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pm Content Moderation: Routes to Moderation
   There are three avenues through which content is included in automated and human moderation queues. -400
                                                                                                       ~400 million
   videos are published each month; on average, 3% of all published videos underwent human moderation.

              First Publish
               ●
               • Auto-moderation is trained on text, video, image, and behavioral signals to identify violative
                 content
               ●
               • If auto-moderation has low confidence in its decision (whether to publish, to not recommend, or
                 to take down content), the content is passed to human moderators to review


                   Viral Content

                    ●
                    • If content has exceeded certain viewership thresholds, it is recalled to human moderators for
                        review



                             User Reporting

                              ●
                              • Users can report any videos through the TikTok app
                              ●
                              • Reported videos are automatically flagged for review by human moderators



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pm Content Moderation: Process Flow
   While our Al
              AI conducts auto-moderation activities, human moderation teams may also review content per the process
   articulated below. Human moderation may include multiple rounds of review.



       1 User uploads content
                                                                         1                 2                            4
           Auto-moderator reviews content and makes a
       2 decision


                                                                                                                            1
                                                                                        I CD
           If the auto-moderator has low confidence,
       3   human moderators review and if needed
           enforce on content                                                                         3

       4 If content is approved, it is published                                                      0                         5

                                                                                                     r45
           After publication, content can go viral or be
       5 reported by other users
           Human moderators review and, if needed,                                                    6
       6   enforce on flagged content


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       Recommendation




| 24
                                                APP-409
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Recommendation: Overview
The recommendation engine is a complex set of models designed to provide tailored content and instantly respond
to users’
   users' preference at the moment when they interact with app. This content is selected by a complex calculation of
users’
users' behaviors optimizing for maximizing the value of users / creators and the platform.

                                                                                              •
                                                                                                  •
                                                                                                                             The algorithm calculates similarity between users, and
    Language                                                                                                                     uses the community's preferences to recommend
' Preferences                                 For You                                                                          content with a balance of similarity and diversity.
■



■




•
       Country
       Settings
                                                                  S
                                                                         Follows                      •
                                                                                                      ■
                                                                                                          First
                                                                                                          Load                    Second
                                                                                                                                 Load
                                                                                                                                                   Third
                                                                                                                                                              JELL
                                                                                                                                                                 Fourth
                                                                                                                                                                Load
                                                             08
                                                                         Likes                                                                     Load


                                                        A. 111,

                                                             918
                                                                         Comments
    Device Type
                                        lig                 11.
                                                                         Share
                        me send it this summer.

                  n original sound onewinone
                                                                         Sounds
                                                                                                          Fifth              Sixth
                    *         a                                                                           Load                                      Seventh     Eighth
                                                                         Captions & Hashtags •                               Load                   Load        Load

                                                                                                  •
                                                                                                      •
                                                                                              •




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pm Recommendation: Process Flow
   Multiple rounds of video ranking and shuffling are designed to optimize a batch of 8 videos, algorithmically selected
   from a content pool of millions of videos, to present to a single user.



       1 User uploads content
           Content moderation completed; approved
       2 videos move to content pool                                 1                 2                3              4   5

           Recommendation engine predicts the
       3   likelihood a user will engage with the videos in
           the content pool
           Recommendation engine ranks videos by                                                                               6
       4 combining different engagement likelihood
           Top 8 recommended videos are shared in
       5 For-You Feed
           User implicit and explicit feedback is used to
       6 improve quality of recommendations


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                     Exhibit
                     Exhibit N
                             N
                     Redacted Version
                     Redacted Version




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                                            Protected  from Disclosure
                                                            Disclosure Under
                                                                       Under 55 U.S.C. Section 552
                                                                                U.S.C. Section 552




 April
 April 1, 2024
       1, 2024

 David Newman
 David  Newman
 Principal Deputy
 Principal Deputy Assistant
                  Assistant Attorney
                             Attorney General for National
                                      General for National Security
                                                           Security
 U.S. Department
 U.S. Department of
                  of Justice
                     Justice
 950  Pennsylvania Avenue,
 950 Pennsylvania  Avenue, NWNW
 Washington, DC
 Washington,  DC 20530
                  20530

 Dear Mr.
 Dear Mr. Newman:
          Newman:

         We write
         We   write on    behalf of
                      on behalf   of our
                                     our client   ByteDance Ltd.
                                           client ByteDance    Ltd. (together
                                                                     (together with
                                                                                  with relevant
                                                                                         relevant subsidiaries,
                                                                                                   subsidiaries,
 “ByteDance” or
 "ByteDance"        the "Company")
                 or the “Company”) in   in response   to your
                                            response to  your emails
                                                              emails dated     March 14
                                                                       dated March     14 and
                                                                                            and 18,  2024, with
                                                                                                 18, 2024,  with
 reference  to Case
 reference to         No. 20-100
               Case No.    20-100 before
                                    before the
                                             the Committee
                                                 Committee on    Foreign Investment
                                                             on Foreign    Investment in      the United
                                                                                           in the United States
                                                                                                          States
 (“CFIUS” or
 ("CFIUS"       the "Committee").
             or the “Committee”). To  To confirm,
                                           confirm, in
                                                     in response to your
                                                        response to your March
                                                                          March 14 14 email,
                                                                                       email, wewe are
                                                                                                   are prepared
                                                                                                       prepared
 to meet
 to       with you
    meet with   you and
                     and Assistant
                          Assistant Secretary
                                     Secretary of   the Treasury
                                                 of the           Paul Rosen
                                                        Treasury Paul   Rosen in in early   April to
                                                                                    early April   to continue—
                                                                                                     continue—
 or
 or more  accurately, restart,
    more accurately,             given the
                        restart, given  the U.S.
                                             U.S. government's
                                                  government’s extended
                                                                  extended hiatus
                                                                              hiatus from
                                                                                      from speaking    with the
                                                                                             speaking with   the
 Company—discussions
 Company—discussions of      of solutions    that can
                                 solutions that        be implemented
                                                  can be   implemented andand fully
                                                                                 fully address    U.S. national
                                                                                        address U.S.    national
 security interests. Before
 security interests.  Before we
                              we have    that meeting,
                                  have that   meeting, however,   we feel
                                                        however, we   feel it is important
                                                                           it is important to to address
                                                                                                 address several
                                                                                                         several
 points
 points raised
        raised in  your correspondence.
                in your  correspondence.

          We reiterate
          We                 that ByteDance
                reiterate that     ByteDance remains
                                                  remains committed
                                                             committed to  to resolving     this matter
                                                                               resolving this               through aa
                                                                                                  matter through
 negotiated
 negotiated agreement with the Committee. This has been the Company's steadfast position over
              agreement       with  the Committee.     This   has  been  the  Company’s     steadfast   position  over
 the course
 the  course of    the four
              of the          and aa half
                        four and           years that
                                      half years  that the
                                                       the matter
                                                             matter has  been pending
                                                                     has been             before CFIUS.
                                                                                pending before     CFIUS. And, And, asas
 you know,
 you  know, itit is
                 is the
                    the exact
                         exact position    that the
                                position that   the Company
                                                    Company expressed
                                                                 expressed inin your
                                                                                your meetings    with the
                                                                                      meetings with     the Company
                                                                                                             Company
 last year. At
 last year.  At all   times, the
                  all times,  the Company
                                   Company has  has approached
                                                    approached thethe CFIUS
                                                                       CFIUS process      with respect.
                                                                                process with    respect. ItIt has been
                                                                                                              has been
 responsive,   transparent, and
 responsive, transparent,       and constructive
                                     constructive asas it
                                                       it has  worked toward
                                                           has worked   toward finding
                                                                                 finding solutions
                                                                                          solutions and     advancing
                                                                                                      and advancing
 the U.S.
 the  U.S. government's
           government’s publicly-stated
                               publicly-stated objectives:
                                                 objectives: toto ensure  the safety
                                                                  ensure the   safety of
                                                                                       of TikTok’s    U.S. users
                                                                                          TikTok's U.S.      users and
                                                                                                                    and
 the integrity
 the  integrity of    the TikTok
                  of the              U.S. platform,
                            TikTok U.S.      platform, including
                                                         including against
                                                                      against misinformation
                                                                               misinformation campaigns.
                                                                                                   campaigns. The  The
 Company
 Company has       approached this
             has approached       this process
                                        process responsibly
                                                 responsibly andand constructively
                                                                     constructively inin the
                                                                                         the face
                                                                                              face of  the ultra
                                                                                                    of the  ultra vires
                                                                                                                  vires
 exercise
 exercise of     authority by
            of authority      by the
                                   the U.S.
                                        U.S. government,
                                               government, an  an extraordinary
                                                                    extraordinary public
                                                                                     public campaign
                                                                                              campaign against        it,
                                                                                                            against it,
 increasingly    led  by  the  very   officials in the U.S.   government     with  statutory  responsibility
 increasingly led by the very officials in the U.S. government with statutory responsibility for the            for  the
 CFIUS
 CFIUS process,
          process, andand against
                           against aa history   with CFIUS
                                       history with  CFIUS preceding       the August
                                                               preceding the   August 14,    2020 Executive
                                                                                         14, 2020   Executive Order
                                                                                                                 Order
 that was
 that was violative
           violative of     the law
                         of the law and
                                      and offensive   to the
                                           offensive to   the most   basic notions
                                                              most basic   notions of   fairness and
                                                                                     of fairness  and due
                                                                                                        due process.
                                                                                                             process.

         The
         The Company
               Company had had substantial
                                substantial hope  that normalcy
                                            hope that  normalcy andand aa respect
                                                                          respect for
                                                                                   for CFIUS
                                                                                       CFIUS and     the law
                                                                                                and the       that
                                                                                                         law that
 governs it
 governs      would return
           it would          in January
                      return in           2021. And
                                 January 2021.    And indeed,    from January
                                                       indeed, from               2021 through
                                                                       January 2021     through August      2022,
                                                                                                   August 2022,
 the Company
 the Company and       the Committee
                  and the               worked constructively
                           Committee worked                        through an
                                                  constructively through         intensive fact-based
                                                                             an intensive   fact-based process
                                                                                                          process
 to build
 to build aa solution    that could
               solution that  could bebe codified
                                          codified in   an agreement
                                                    in an  agreement and  and resolve
                                                                              resolve anyany dispute
                                                                                              dispute over     the
                                                                                                        over the
 August
 August 14,     2020 Executive
          14, 2020     Executive Order.
                                   Order. WeWe explained
                                                  explained in    those discussions,
                                                              in those    discussions, as    well as
                                                                                         as well    as in
                                                                                                       in earlier
                                                                                                           earlier
 submissions,
 submissions, presentations,      and meetings
                 presentations, and   meetings leading    into January
                                                 leading into             2021, that
                                                                January 2021,     that ByteDance
                                                                                       ByteDance formed       and
                                                                                                     formed and
 grew the
 grew  the technology
            technology underlying
                         underlying the
                                      the TikTok
                                          TikTok platform
                                                   platform organically.
                                                             organically. As As aa result,
                                                                                   result, and
                                                                                           and as  the Company
                                                                                                as the Company
 made
 made clear
        clear in
               in discussions
                  discussions and   various submissions,
                                and various                 ByteDance could
                                             submissions, ByteDance        could not
                                                                                   not divest  the TikTok
                                                                                       divest the            U.S.
                                                                                                    TikTok U.S.
 platform    because: TikTok
 platform because:      TikTok diddid not
                                      not acquire   the underlying
                                           acquire the   underlying technology
                                                                      technology for     the platform
                                                                                     for the             (i.e., its
                                                                                             platform (i.e.,    its




                                                   APP-413
                                                   APP-413
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 algorithm),  but rather
 algorithm), but           it was
                   rather it  was developed      internally by
                                    developed internally    by ByteDance;
                                                                ByteDance; the
                                                                            the technology
                                                                                 technology was
                                                                                              was been
                                                                                                   been
 developed  in China
 developed in         and was
               China and   was (and
                                (and remains)
                                     remains) subject   to Chinese
                                                subject to Chinese export
                                                                   export control laws; and
                                                                          control laws;     the Chinese
                                                                                        and the Chinese
 government had
 government        asserted that
              had asserted   that those
                                  those laws  forbid any
                                         laws forbid  any negotiated
                                                          negotiated agreement  with CFIUS
                                                                     agreement with          that would
                                                                                     CFIUS that   would
 require a divestiture of
 require a divestiture of the
                          the  TikTok
                               TikTok  algorithm.
                                        algorithm.

        Over
        Over the the course
                      course of     2021, the
                               of 2021,     the Company
                                                 Company provided
                                                               provided additional
                                                                           additional detailed
                                                                                        detailed presentations
                                                                                                   presentations and
                                                                                                                  and
 submissions
 submissions to to CFIUS
                    CFIUS regarding
                             regarding the the operations,
                                               operations, processes,
                                                              processes, andand governance
                                                                                 governance and and management
                                                                                                     management of  of
 the TikTok
 the          U.S. platform,
     TikTok U.S.                   including on
                     platform, including            the key
                                               on the         issues of
                                                         key issues       importance to
                                                                      of importance      to the
                                                                                            the U.S.
                                                                                                 U.S. government—
                                                                                                      government—
 including the
 including  the collection,     access to,
                  collection, access      to, and
                                              and safeguarding
                                                    safeguarding of      U.S. user
                                                                    of U.S.     user data;
                                                                                      data; software
                                                                                             software development,
                                                                                                       development,
 deployment,
 deployment, andand security   validation of
                     security validation         the TikTok
                                              of the  TikTok source
                                                                source code;
                                                                        code; and    assurance processes
                                                                                and assurance    processes related  to
                                                                                                            related to
 content, which covered
 content, which             the trust
                   covered the    trust and
                                        and safety
                                             safety operations
                                                      operations and
                                                                  and how
                                                                       how thethe platform
                                                                                   platform and
                                                                                             and processes
                                                                                                  processes operated
                                                                                                             operated
 to address
 to address potential
             potential malign       foreign influence.
                         malign foreign      influence. Through       these presentations
                                                            Through these      presentations and
                                                                                               and submissions,    the
                                                                                                    submissions, the
 record before CFIUS
 record before    CFIUS made
                           made clear      that (1)
                                     clear that  (1) there
                                                      there was
                                                             was not
                                                                  not aa practical
                                                                         practical wayway to
                                                                                           to divest
                                                                                               divest TikTok’s   U.S.
                                                                                                      TikTok's U.S.
 operations;  (2) the
 operations; (2)   the Chinese
                        Chinese government
                                    government had had stated    that it
                                                         stated that     would block
                                                                      it would     block any
                                                                                          any such
                                                                                               such divestiture;
                                                                                                     divestiture; and
                                                                                                                  and
 (3) any
 (3) any effort
          effort toto isolate
                       isolate the
                                 the U.S.
                                       U.S. platform      would be
                                              platform would       be subject
                                                                       subject to to continuing
                                                                                      continuing dependencies
                                                                                                    dependencies on on
 ByteDance and
 ByteDance          the rest
              and the    rest of   the global
                              of the    global TikTok      business. On
                                                TikTok business.       On thethe basis
                                                                                  basis of  these presentations
                                                                                         of these                 and
                                                                                                   presentations and
 submissions,
 submissions, thethe Company
                      Company and   and CFIUS      worked to
                                         CFIUS worked        to develop
                                                                 develop aa detailed
                                                                              detailed 90-page     National Security
                                                                                         90-page National    Security
 Agreement    (“NSA”) that,
 Agreement ("NSA")        that, in
                                 in painstaking
                                     painstaking detail,    addressed each
                                                    detail, addressed    each of    the concerns
                                                                                of the  concerns raised   by CFIUS,
                                                                                                   raised by  CFIUS,
 culminating
 culminating inin aa draft NSA transmitted
                     draft NSA     transmitted to to CFIUS
                                                     CFIUS on     August 23,
                                                               on August    23, 2022
                                                                                 2022 (Exhibit
                                                                                        (Exhibit A).
                                                                                                  A).

         In
         In parallel, as has
            parallel, as      been documented,
                          has been               the Company
                                   documented, the                began voluntarily
                                                      Company began      voluntarily implementing
                                                                                      implementing the the
 solution,
 solution, including  moving protected
           including moving               U.S. user
                               protected U.S.  user data
                                                     data and  the TikTok
                                                          and the           U.S. platform
                                                                    TikTok U.S.   platform toto the
                                                                                                the cloud
                                                                                                    cloud
 environment
 environment of   the Trusted
               of the Trusted Technology    Provider (i.e.,
                               Technology Provider    (i.e., Oracle);
                                                             Oracle); providing
                                                                      providing control
                                                                                 control over
                                                                                          over such
                                                                                                such data
                                                                                                     data
 and systems  to TikTok   U.S. Data Security, managed    by  U.S. persons; and establishing   a
 and systems to TikTok U.S. Data Security, managed by U.S. persons; and establishing a DedicatedDedicated
 Transparency
 Transparency Center
                Center toto enable
                            enable security
                                   security inspections,
                                            inspections, reviews,
                                                          reviews, and  verification of
                                                                    and verification  of TikTok
                                                                                          TikTok Source
                                                                                                   Source
 Code
 Code and   Related Files.
       and Related   Files. To
                            To date, the Company
                               date, the Company hashas spent
                                                        spent more   than $2
                                                               more than     billion on
                                                                          $2 billion     this solution.
                                                                                     on this  solution.

       The
       The hallmarks
             hallmarks of  the solution
                       of the   solution reflected in the
                                         reflected in the August
                                                          August 23,
                                                                 23, 2022
                                                                     2022 draft NSA—the
                                                                          draft NSA—the
 implementation of
 implementation    which are
                of which are underway—include:
                             underway—include:

   •   No
        No data   access from
             data access  from China.
                                 China. All
                                        All protected  U.S. user
                                             protected U.S. user data—including
                                                                 data—including expatriate
                                                                                  expatriate data—will
                                                                                             data—will
        be safeguarded
        be  safeguarded inin the
                             the United
                                 United States under aa special
                                        States under    special corporate
                                                                corporate structure (TikTok U.S.
                                                                          structure (TikTok  U.S. Data
                                                                                                  Data
        Security)
        Security) and  the protections
                   and the  protections of the Trusted
                                        of the Trusted Technology   Provider (Oracle).
                                                        Technology Provider   (Oracle). [NSA
                                                                                        [NSA Articles
                                                                                               Articles
        2, 3,
        2, 3, 8,
              8, and
                 and 11.]
                     11.]

   •   All software
        All software code—app
                      code—app andand backend—secured
                                       backend—secured by   by aa U.S.-based
                                                                  U.S.-based and
                                                                               and U.S.
                                                                                    U.S. government-
                                                                                         government-
        approved Trusted
        approved   Trusted Technology
                             Technology Provider    (i.e., Oracle).
                                           Provider (i.e., Oracle). TheThe TikTok   U.S. platform
                                                                           TikTok U.S.    platform and
                                                                                                   and
        TikTok  U.S. app
        TikTok U.S.       will be
                      app will be deployed  through Oracle
                                  deployed through          infrastructure and
                                                    Oracle infrastructure   and subject to source
                                                                                subject to source code
                                                                                                  code
        review/vetting  by Oracle
        review/vetting by            with another
                             Oracle with    another CFIUS-approved
                                                    CFIUS-approved third third party
                                                                                party responsible
                                                                                      responsible for
                                                                                                    for
        conducting
        conducting security  inspections. [NSA
                    security inspections. [NSA §§ 8.4
                                                  8.4 and
                                                      and Article
                                                           Article 9.]
                                                                   9.]

   •   Content moderation
        Content   moderation transparency
                                  transparency and
                                                 and compliance.
                                                      compliance. TheThe draft   NSA includes
                                                                          draft NSA   includes multiple
                                                                                                multiple
        layers of
        layers of protection
                    protection toto address
                                     address concerns
                                              concerns related to content
                                                       related to  content available
                                                                            available on  the platform,
                                                                                      on the   platform,
        including ensuring
        including             that all
                   ensuring that   all content moderation—both human
                                       content moderation—both    human and
                                                                         and algorithmic—is
                                                                              algorithmic—is subject  to
                                                                                              subject to
        third-party verification
        third-party  verification and
                                   and monitoring.  [NSA §§
                                        monitoring. [NSA  §§ 5.4,
                                                             5.4, 9.13,
                                                                  9.13, 16.6.]
                                                                        16.6.]




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   •    Separation
         Separation of of the
                          the business
                                business responsible
                                          responsible forfor the  foregoing from
                                                              the foregoing           China. The
                                                                              from China.       The draft   NSA
                                                                                                     draft NSA
         requires
         requires aa special  board, with
                     special board,  with Security  Directors whose
                                           Security Directors   whose appointment      would be
                                                                        appointment would      be subject  to the
                                                                                                   subject to  the
         U.S. government's
         U.S. government’s approval
                               approval and  would exclude
                                        and would              ByteDance and
                                                     exclude ByteDance     and its
                                                                                its subsidiaries
                                                                                    subsidiaries and
                                                                                                  and affiliates,
                                                                                                       affiliates,
         to oversee
         to oversee TikTok     U.S. Data
                     TikTok U.S.    Data Security.   [NSA §§ 3.1.]
                                         Security. [NSA              In addition,
                                                               3.1.] In addition, further
                                                                                   further separation
                                                                                            separation between
                                                                                                        between
         ByteDance and
         ByteDance         its subsidiaries
                      and its               and affiliates,
                               subsidiaries and              including TikTok
                                                 affiliates, including  TikTok in    the rest
                                                                                 in the  rest of the world,
                                                                                              of the world, and
                                                                                                              and
         U.S. operations
         U.S.               would be
               operations would     be achieved
                                       achieved by by appointing
                                                       appointing aa U.S.
                                                                       U.S. government-approved
                                                                            government-approved SecuritySecurity
         Director to
         Director  to the
                      the board
                          board of
                                 of TikTok
                                    TikTok Inc.,
                                             Inc., TikTok    U.S. Data
                                                   TikTok U.S.    Data Security’s    immediate parent.
                                                                        Security's immediate               [NSA
                                                                                                  parent. [NSA
         § 4.1.]
         § 4.1.] As  you know,
                 As you           the Company
                          know, the   Company recruited
                                                recruited distinguished
                                                            distinguished potential
                                                                           potential directors   with extensive
                                                                                       directors with  extensive
         national
         national security
                   security experience
                             experience and
                                         and shared   their names
                                              shared their  names and    backgrounds with
                                                                    and backgrounds      with CFIUS.
                                                                                              CFIUS.

   •    Unprecedented layers
         Unprecedented       layers ofof review,
                                         review, monitoring,
                                                    monitoring, and    auditing. The
                                                                 and auditing.     The draft   NSA includes
                                                                                        draft NSA     includes
         multiple layers
         multiple   layers of
                            of monitoring
                               monitoring and and auditing,  which include
                                                   auditing, which  include not  just the
                                                                             not just the Security   Directors
                                                                                           Security Directors
         responsible
         responsible for   the TikTok
                       for the          U.S. Data
                               TikTok U.S.     Data Security  governance structure
                                                    Security governance             (with aa Security
                                                                          structure (with             Director
                                                                                             Security Director
         also on
         also      the board
              on the   board ofof TikTok
                                  TikTok Inc.),
                                           Inc.), but  also the
                                                   but also the Trusted
                                                                Trusted Technology    Provider (Oracle);
                                                                         Technology Provider     (Oracle); the
                                                                                                            the
         Content Advisory
         Content    Advisory Council;
                                Council; aa third-party
                                             third-party monitor;
                                                          monitor; third-party
                                                                   third-party auditor;  third-party security
                                                                                auditor; third-party   security
         inspection
         inspection ofof source
                         source code;
                                  code; and    the CFIUS
                                         and the   CFIUS monitoring    agencies themselves.
                                                           monitoring agencies   themselves. [NSA
                                                                                                [NSA §§ §§ 5.4,
                                                                                                           5.4,
         8.1,
         8.1, 8.2,
              8.2, 9.11,
                    9.11, 14.1,
                          14.1, 15.1,
                                 15.1, 16.1,
                                       16.1, 17.1,
                                              17.1, 17.2.]
                                                    17.2.]

    •    Strict
          Strict penalties
                 penalties for
                           for noncompliance.
                                noncompliance. These
                                                   These penalties  include aa "kill
                                                          penalties include    “kill switch”
                                                                                     switch" (which  would
                                                                                             (which would
          give CFIUS
          give CFIUS the
                       the explicit authority to
                           explicit authority  to suspend
                                                  suspend the
                                                           the platform
                                                               platform in   the United
                                                                          in the United States
                                                                                         States at the U.S.
                                                                                                at the U.S.
          government’s sole
          government's   sole discretion
                              discretion in
                                         in response to specified
                                            response to specified acts
                                                                  acts of
                                                                       of noncompliance)
                                                                          noncompliance) andand significant
                                                                                                significant
          monetary
          monetary penalties.   [NSA §§
                    penalties. [NSA       21.3-5.]
                                       §§ 21.3-5.]

         Throughout   this process,
         Throughout this            it was
                           process, it was also
                                           also repeatedly
                                                 repeatedly made
                                                             made clear   to CFIUS
                                                                    clear to CFIUS that
                                                                                      that ByteDance
                                                                                           ByteDance waswas
 majority-owned
 majority-owned by  by global
                       global investors,    including substantial
                                investors, including                 U.S. investors;
                                                        substantial U.S.                that TikTok
                                                                            investors; that   TikTok waswas
 implementing data
 implementing    data security
                      security protections   beyond any
                                protections beyond    any other
                                                          other peer
                                                                  peer in industry; and
                                                                       in industry;  and that
                                                                                          that TikTok
                                                                                               TikTok is is aa
 globally interoperable
 globally interoperable and   integrated platform,
                         and integrated  platform, such   that separating
                                                     such that             the U.S.
                                                               separating the  U.S. platform   would, as
                                                                                     platform would,    as aa
 matter
 matter of
        of fact, be impossible
           fact, be impossible and
                                 and akin
                                     akin to
                                          to aa peer
                                                peer company    trying to
                                                     company trying    to divest the U.S.
                                                                          divest the  U.S. part
                                                                                           part of
                                                                                                of aa global
                                                                                                      global
 social
 social media
        media platform.
               platform.

         Nevertheless, after
         Nevertheless,  after our
                              our submission
                                   submission of  the draft
                                               of the        NSA on
                                                      draft NSA    on August   23, 2022,
                                                                       August 23,  2022, the
                                                                                          the Committee
                                                                                              Committee
 —for
 —for reasons   that have
        reasons that have never   been explained
                           never been   explained despite
                                                   despite numerous
                                                            numerous entreaties
                                                                       entreaties from
                                                                                  from counsel—ceased
                                                                                        counsel—ceased
 any
 any substantive
      substantive negotiations.
                  negotiations. At    the same
                                   At the       time, senior
                                          same time,    senior officials in the
                                                               officials in the U.S.
                                                                                U.S. government
                                                                                      government began
                                                                                                   began
 speaking
 speaking publicly    against the
            publicly against   the Company,      undermining the
                                     Company, undermining       the confidential
                                                                      confidential process   that led
                                                                                    process that  led to
                                                                                                       to
                                                        1
 significant progress over  the prior year and  a half.   From  August   2022  through  March
 significant progress over the prior year and a half.' From August 2022 through March 2023, the2023,  the

    Lauren Hirsch,
 11 Lauren  Hirsch, David
                     David McCabe,
                             McCabe, Katie
                                       Katie Benner
                                             Benner and
                                                      and Glenn
                                                          Glenn Thrush,    “TikTok Seen
                                                                 Thrush, "TikTok           Moving
                                                                                     Seen Moving
  Towards   U.S. Security
  Towards U.S.              Deal, but
                  Security Deal,   but Hurdles
                                       Hurdles Remain,"
                                                Remain,” New
                                                           New York
                                                                York Times   (Sept. 26,
                                                                      Times (Sept.   26, 2022),
                                                                                          2022),
  https://www.nytimes.com/2022/09/26/technology/tiktok-national-security-china.html
  https://www.nytimes.com/2022/09/26/technology/tiktok-national-security-china.html ("The        (“The
  Justice Department is
  Justice Department    is leading
                           leading the
                                    the negotiations with TikTok,
                                        negotiations with           and its
                                                           TikTok, and  its No.
                                                                            No. 22 official, Lisa Monaco,
                                                                                   official, Lisa Monaco,
  has
  has concerns   that the
      concerns that   the terms
                          terms are
                                 are not tough enough
                                     not tough  enough on
                                                        on China,  two people
                                                            China, two          with knowledge
                                                                        people with   knowledge of    the
                                                                                                   of the
  matter
  matter said.”);  Eric Tucker,
          said."); Eric          “FBI director
                        Tucker, "FBI   director raises
                                                raises national
                                                       national security
                                                                security concerns
                                                                         concerns about
                                                                                    about TikTok,”   AP
                                                                                            TikTok," AP
  News (Dec.
 News    (Dec. 2,
                2, 2022),
                   2022), https://apnews.com/article/technology-china-united-states-national-
                           https://apnews.com/article/technology-china-united-states-national-
                                                                                                          (cont'd)
                                                                                                          (cont'd)




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 Company
 Company responded
              responded toto certain limited information
                             certain limited  information requests
                                                            requests from
                                                                       from CFIUS,
                                                                              CFIUS, and
                                                                                       and proactively
                                                                                           proactively provided
                                                                                                       provided
 updates to
 updates   to CFIUS,
               CFIUS, but
                        but CFIUS
                             CFIUS declined
                                      declined toto engage
                                                    engage inin any
                                                                 any additional
                                                                      additional negotiations
                                                                                   negotiations about   the draft
                                                                                                 about the  draft
 NSA. CFIUS
 NSA.    CFIUS rejected
                   rejected or
                             or ignored
                                ignored multiple
                                          multiple requests   from the
                                                    requests from    the Company
                                                                          Company to  to meet  with CFIUS
                                                                                         meet with  CFIUS staff
                                                                                                             staff
 and  the  “Deputies”    (the  Deputy    Secretary-level   officials   of  the  CFIUS    member
 and the "Deputies" (the Deputy Secretary-level officials of the CFIUS member agencies who        agencies   who
 ultimately oversee
 ultimately             the Committee);
               oversee the   Committee); diddid not
                                                 not respond
                                                      respond toto an
                                                                   an offer    from the
                                                                        offer from   the Company
                                                                                          Company toto visit
                                                                                                       visit and
                                                                                                              and
 inspect its
 inspect       Dedicated Transparency
          its Dedicated     Transparency Center
                                            Center in   Maryland; and
                                                     in Maryland;     and refused    the Company’s
                                                                            refused the  Company's request
                                                                                                      request toto
 include other
 include  other member      agencies of
                  member agencies         the Committee
                                       of the Committee in in meetings
                                                              meetings andand discussions    with the
                                                                                discussions with  the Company.
                                                                                                      Company.
 Again,  these requests
 Again, these    requests for
                            for engagement
                                 engagement occurred
                                               occurred during     the exact
                                                          during the    exact period    that the
                                                                                period that  the Administration
                                                                                                 Administration
 officials
 officials responsible   for CFIUS
            responsible for   CFIUS continued
                                       continued toto comment
                                                      comment on     the issues
                                                                  on the  issues publicly.
                                                                                  publicly.

          This brings us
          This brings   us to
                           to your
                              your emails   from March
                                   emails from   March 14
                                                        14 and
                                                             and 18,  2024. What
                                                                  18, 2024. What seems
                                                                                   seems clear   from those
                                                                                           clear from  those
 emails—and
 emails—and the the reported
                     reported efforts
                               efforts of the Department
                                       of the  Department ofof Justice (“DOJ”) to
                                                               Justice ("DOJ")  to support
                                                                                   support legislation   that
                                                                                            legislation that
                                                          2
 would effectively
 would                 ban TikTok
         effectively ban    TikTok in   the United
                                    in the  United States   —is that
                                                    States—is    that this
                                                                      this Administration
                                                                           Administration has
                                                                                            has determined
                                                                                                determined
 that it
 that it prefers to try
         prefers to try to
                         to shut
                            shut down
                                 down TikTok    in the
                                        TikTok in  the United
                                                       United States
                                                                States and
                                                                       and eliminate
                                                                           eliminate aa platform
                                                                                        platform ofof speech
                                                                                                      speech

 security-government-and-politics-ac5c29cafaa1fc6bee990ed7e1fe5afc
 security-government-and-politics-ac5c29cafaalfc6bee990ed7elfe5afc (“Wray                  ("Wray said      the FBI
                                                                                                      said the   FBI was
                                                                                                                      was
 concerned
 concerned thatthat the
                     the Chinese
                         Chinese had     the ability
                                   had the             to control
                                               ability to          the app's
                                                          control the   app’s recommendation
                                                                                recommendation algorithm,
                                                                                                       algorithm,
 ‘which    allows them
 `which allows      them to
                          to manipulate
                             manipulate content,        and if
                                              content, and   if they
                                                                they want
                                                                      want to,
                                                                             to, to
                                                                                 to use
                                                                                    use it
                                                                                         it for
                                                                                             for influence
                                                                                                 influence
 operations.’”);     “Treasury Secretary
 operations.'"); "Treasury      Secretary Janet       Yellen on
                                                Janet Yellen  on TikTok
                                                                  TikTok national
                                                                            national security
                                                                                       security fears,”
                                                                                                  fears," 6060 Minutes
                                                                                                                Minutes
 (Dec. 9,
 (Dec.       2022), available
          9, 2022),   available at
                                at https://www.youtube.com/watch?v=rdSjccn29F0
                                    https://www.youtube.com/watch?v=rdSjccn29F0 ("They              (“They have
                                                                                                              have access
                                                                                                                     access
 to aa lot
 to    lot of
           of data
              data on   your teenager
                     on your  teenager from
                                          from thethe information    they collect
                                                      information they               while your
                                                                           collect while      your teenager
                                                                                                    teenager is is
 online.”);
 online."); Gavin      Bade, "TikTok
              Gavin Bade,     “TikTok national
                                          national security
                                                     security deal
                                                                deal roiled
                                                                     roiled byby internal
                                                                                  internal strife,”    Politico (Dec.
                                                                                             strife," Politico    (Dec. 16,
                                                                                                                        16,
 2022), https://www.politico.com/news/2022/12/16/biden-administration-at-odds-over-forcing-
 2022),    https://www.politi co. com/news/2022/12/16/biden-administration-at-odds-over-forcing-
 tiktok-divestment-00074415 ("The
 tiktok-divestment-00074415          (“The Biden
                                               Biden administration
                                                       administration is    at odds
                                                                         is at  odds over     whether to
                                                                                      over whether       to force  the
                                                                                                            force the
 Chinese
 Chinese owner
             owner ofof TikTok
                        TikTok toto divest
                                    divest fromfrom its  U.S. operations,
                                                     its U.S.  operations, according
                                                                              according to to five
                                                                                               five people    with
                                                                                                     people with
 knowledge
 knowledge of      the discussions
                of the  discussions .. .. .. .”);
                                             ."); Stu Wu, Kate
                                                  Stu Wu,   Kate O’Keefe,
                                                                  O'Keefe, and and Aruna      Viswanatha, "TikTok
                                                                                    Aruna Viswanatha,         “TikTok
 Security    Dilemma Revives
 Security Dilemma        Revives Push
                                   Push for for U.S.
                                                 U.S. Control,”   Wall Street
                                                      Control," Wall     Street Journal     (Dec. 26,
                                                                                 Journal (Dec.     26, 2022),
                                                                                                         2022),
 https://www.wsj.com/articles/tiktok-security-dilemma-revives-push-for-u-s-control-
 https://www.wsj .com/articles/tiktok-security-dilemma-revives-push-for-u-s-control-
 11672064033       (“‘We’re talking
 11672064033 ("We're          talking about
                                        about aa government
                                                   government that,
                                                                  that, in
                                                                        in our
                                                                            our own
                                                                                 own intelligence
                                                                                       intelligence community’s
                                                                                                        community's
 estimation,
 estimation, hashas aa purpose
                       purpose toto move      global technology
                                    move global       technology useuse and
                                                                         and norms
                                                                               norms toto privilege
                                                                                           privilege itsits own   interests
                                                                                                            own interests
 and
 and its   values, which
       its values,  which are
                            are not
                                not consistent
                                     consistent withwith our
                                                          our own,’   Deputy Attorney
                                                               own,' Deputy      Attorney General        Lisa Monaco
                                                                                              General Lisa    Monaco
 said
 said inin an interview, in
           an interview,      which she
                           in which   she declined
                                             declined toto discuss
                                                           discuss TikTok
                                                                    TikTok specifically.”);       Hannah Rabinowitz,
                                                                               specifically."); Hannah        Rabinowitz,
 “US deputy
 "US             attorney general:
        deputy attorney     general: ‘I
                                      `I don’t    use TikTok,
                                          don't use    TikTok, and
                                                                 and II would
                                                                        would notnot advise
                                                                                     advise anyone
                                                                                               anyone to  to do
                                                                                                             do so,’”
                                                                                                                 so,'"
 CNN     (Feb. 16,
 CNN (Feb.           2023), https://www.cnn.com/2023/02/16/politics/tiktok-monaco-us-disruptive-
                16, 2023),   https://www.cnn.com/2023/02/16/politics/tiktok-monaco-us-disruptive-
 technology-strike-force/index.html.
 technology-strike-force/index.html.
 2
   Natalie Andrews
 2 Natalie Andrews et et al., “TikTok Crackdown
                         al., "TikTok  Crackdown Shifts      Into Overdrive,
                                                      Shifts Into Overdrive, With
                                                                               With Sale  Sale or
                                                                                               or Shutdown
                                                                                                  Shutdown onon
 Table,”  Wall Street
 Table," Wall   Street Journal   (Mar. 10,
                       Journal (Mar.        2024), https://www.wsj.com/tech/why-the-new-effort-to-
                                       10, 2024),   https://www.wsj.com/tech/why-the-new-effort-to-
 ban-tiktok-caught-fire-with-lawmakers-7cd3f980 ("Key
 ban-tiktok-caught-fire-with-lawmakers-7cd3f980          (“Key toto smoothing
                                                                    smoothing out        this effort
                                                                                  out this           was Deputy
                                                                                              effort was Deputy
 Attorney
 Attorney General    Lisa Monaco,
           General Lisa    Monaco, people
                                     people familiar    with the
                                               familiar with the matter
                                                                  matter said.
                                                                         said. .. .. .. Monaco
                                                                                        Monaco helped
                                                                                                  helped draft
                                                                                                         draft
 the legislation,
 the legislation, and
                  and her
                       her presence
                           presence asas aa Biden
                                            Biden administration
                                                   administration senior
                                                                    senior official
                                                                           official helped
                                                                                        helped congressional
                                                                                                congressional
 Democrats buy
 Democrats    buy into
                  into supporting   the bill,
                        supporting the   bill, one
                                               one of the people
                                                   of the people said.”);
                                                                  said."); Chris
                                                                           Chris Strohm,        Daniel Flatley,
                                                                                      Strohm, Daniel   Flatley,
 and
 and Alex   Barinka, "DOJ
      Alex Barinka,   “DOJ to to Push
                                 Push for
                                      for TikTok    Divestiture in
                                           TikTok Divestiture    in Senate  Briefings,”       Bloomberg
                                                                    Senate Briefings," Bloomberg
 (Mar. 18,
 (Mar.      2024), https://www.bloomberg.com/news/articles/2024-03-18/biden-officials-to-brief-
        18, 2024),  https://www.bloomberg.com/news/articles/2024-03-18/biden-officials-to-brief-
 wary-senators-on-tiktok-sale-push.
 wary-senators-on-tiktok-sale-push.




                                                    APP-416
                                                    APP-416
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       1, 2024
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 for
 for 170
      170 million
            million Americans,
                     Americans, rather    than continue
                                   rather than  continue toto work
                                                              work onon aa practical,
                                                                            practical, feasible,
                                                                                        feasible, and
                                                                                                  and effective
                                                                                                        effective
 solution
 solution toto protect U.S. users
               protect U.S.  users through
                                   through an
                                            an enforceable
                                                enforceable agreement      with the
                                                              agreement with     the U.S.
                                                                                     U.S. government.
                                                                                           government. It  It also
                                                                                                              also
 now
 now appears     that the
       appears that   the Company’s
                          Company's engagement
                                        engagement withwith CFIUS
                                                             CFIUS inin good
                                                                        good faith   in aa confidential
                                                                               faith in    confidential process
                                                                                                         process
 was leveraged
 was   leveraged by by DOJ
                       DOJ forfor purposes
                                  purposes ofof crafting  that legislation.
                                                crafting that   legislation. To    be clear,
                                                                               To be          if the
                                                                                       clear, if the legislative
                                                                                                     legislative
 approach    being advocated
 approach being      advocated byby DOJ
                                     DOJ (which
                                          (which is   the same
                                                   is the same approach
                                                                  approach articulated
                                                                             articulated byby CFIUS
                                                                                              CFIUS in    March
                                                                                                       in March
 2023) survives
 2023)               judicial review,
          survives judicial             the reality—which
                               review, the  reality—which you  you know      well based
                                                                     know well     based on    the Company's
                                                                                            on the  Company’s
 engagement
 engagement withwith DOJ
                       DOJ and   the Department
                            and the   Department of    the Treasury
                                                    of the Treasury since    March 2023—is
                                                                      since March     2023—is that
                                                                                                 that there
                                                                                                      there will
                                                                                                              will
 be no
 be  no sale
         sale of
               of TikTok,
                   TikTok, qualified
                            qualified or
                                       or otherwise,
                                          otherwise, and    the TikTok
                                                       and the   TikTok platform     will cease
                                                                          platform will          to exist
                                                                                           cease to        in the
                                                                                                    exist in   the
 United States.
 United    States.

       With the
       With the foregoing
                foregoing as background, we
                          as background, we turn
                                            turn more
                                                 more specifically to responding
                                                      specifically to            to your
                                                                      responding to your emails
                                                                                         emails
 from March 14
 from March    and March
            14 and March 18:
                          18:

              A. Your
              A. Your email
                        email from
                               from March
                                      March 1414 states:
                                                  states: “As   you know
                                                           "As you  know from
                                                                           from our
                                                                                our discussions
                                                                                      discussions over
                                                                                                   over the
                                                                                                        the
                 past year,
                 past year, senior
                            senior officials
                                    officials across
                                              across the
                                                      the U.S. government have
                                                          U.S. government    have thus  far identified
                                                                                  thusfar   identified only
                                                                                                       only
                 one viable
                 one          solution to
                      viable solution      resolve the
                                        to resolve   the USG’s   national security
                                                         USG's national     security concerns
                                                                                      concerns related
                                                                                                related to
                                                                                                         to
                 TikTok:  An orderly
                 TikTok: An   orderly divestment
                                       divestment by    ByteDance of
                                                    by ByteDance    of the assets (including
                                                                       the assets             source code
                                                                                  (including source   code
                 and algorithms)
                 and  algorithms) used
                                     used to   enable TikTok’s
                                           to enable    TikTok's U.S.    operations in
                                                                  U.S. operations     in tandem    with an
                                                                                          tandem with    an
                 assurance that
                 assurance        ByteDance does
                             that ByteDance    does not
                                                     not have
                                                         have continued
                                                               continued ownership
                                                                           ownership over
                                                                                       over TikTok’s
                                                                                             TikTok's U.S.
                                                                                                       U.S.
                 operations and
                 operations   and that
                                   that TikTok
                                        TikTok U.S.
                                                 U.S. user  data is
                                                       user data is not
                                                                    not accessible
                                                                         accessible to  ByteDance or
                                                                                     to ByteDance    or the
                                                                                                        the
                 Chinese  government.”
                 Chinese government."

          As
          As noted
              noted above,    while your
                     above, while     your email
                                           email refers    to "discussions
                                                   refers to  “discussions over   the past
                                                                            over the        year,” there
                                                                                       past year,"  there have
                                                                                                           have
 been  no  discussions   over  the last year between     the Company    and “senior  officials across
 been no discussions over the last year between the Company and "senior officials across the U.S.      the U.S.
 government,” nor
 government,"         was there
                  nor was   there any
                                   any engagement
                                        engagement withwith the
                                                             the Company
                                                                 Company at at all
                                                                               all between
                                                                                   between September       2022
                                                                                              September 2022
 and  March 2023
 and March    2023 on
                    on aa negotiated
                          negotiated resolution
                                       resolution of   the Government’s
                                                   of the  Government's national
                                                                           national security
                                                                                    security concerns.    Even
                                                                                              concerns. Even
 when the
 when   the government
            government finally
                           finally informed
                                    informed the
                                               the Company
                                                   Company of  of its
                                                                  its divestiture
                                                                      divestiture position
                                                                                  position in  March 2023,
                                                                                            in March    2023, it
                                                                                                               it
 provided
 provided aa wholly
              wholly conclusory
                       conclusory statement
                                     statement toto the
                                                    the Company
                                                          Company about
                                                                    about how   “senior officials”
                                                                           how "senior    officials" arrived
                                                                                                     arrived at
                                                                                                              at
 this position,
 this position, and
                 and never
                     never explained     why the
                             explained why    the U.S.
                                                   U.S. government
                                                          government believes
                                                                       believes that
                                                                                that its
                                                                                     its purported  “solution”
                                                                                         purported "solution"
 is actually
 is          feasible. To
    actually feasible.       the contrary,
                         To the             the record
                                  contrary, the           before CFIUS
                                                 record before   CFIUS makes
                                                                         makes clear   that the
                                                                                 clear that the government’s
                                                                                                government's
 divestiture
 divestiture position
               position isis commercially
                              commercially and       technologically not
                                               and technologically      not viable,
                                                                             viable, particularly    under the
                                                                                      particularly under     the
 timeframes dictated
 timeframes             by the
               dictated by  the government.
                                 government.

         As  you know,
         As you           the government's
                   know, the   government’s position
                                                  position regarding
                                                            regarding divestment     (including source
                                                                        divestment (including     source code
                                                                                                           code and
                                                                                                                 and
 algorithms)
 algorithms) to to which
                   which your
                           your March
                                  March 14,      2024 email
                                            14, 2024    email refers    was first
                                                                refers was   first provided
                                                                                   provided to to the
                                                                                                   the Company’s
                                                                                                       Company's
 outside
 outside counsel
          counsel on   March 6,
                    on March     6, 2023,
                                     2023, inin aa call
                                                   call arranged
                                                        arranged by by Assistant
                                                                        Assistant Secretary     Rosen after
                                                                                   Secretary Rosen      after seven
                                                                                                               seven
 months
 months ofof non-engagement.
             non-engagement. You   You also    attended the
                                         also attended   the call,
                                                              call, along with other
                                                                    along with  other staff
                                                                                       staff from  the Department
                                                                                             from the  Department
 of the Treasury.
 of the               During the
         Treasury. During       the March
                                     March 6,  6, 2023
                                                  2023 call,   Mr. Rosen
                                                         call, Mr.   Rosen stated    that while
                                                                             stated that   while the
                                                                                                  the government
                                                                                                       government
 appreciated   the parties’
 appreciated the   parties' engagement
                             engagement regarding        the draft
                                             regarding the          NSA and
                                                              draft NSA   and the
                                                                               the responsiveness
                                                                                   responsiveness of     the parties
                                                                                                      of the parties
 to the
 to the U.S.
        U.S. government
               government at     the staff
                              at the  staff level,   “senior government
                                              level, "senior   government officials”
                                                                              officials" deemed
                                                                                          deemed thethe draft   NSA
                                                                                                         draft NSA
 submitted    August 23,
 submitted August     23, 2022
                            2022 toto bebe insufficient
                                             insufficient toto address    the government's
                                                                address the    government’s national
                                                                                                 national security
                                                                                                            security
 concerns.
 concerns. Mr.Mr. Rosen
                    Rosen further
                            further said    that these
                                      said that    these senior
                                                          senior officials
                                                                   officials continue
                                                                             continue to to believe
                                                                                             believe aa negotiated
                                                                                                         negotiated
 outcome
 outcome is is achievable,    and that
                achievable, and     that aa negotiated
                                             negotiated outcome        would need
                                                           outcome would       need toto involve    (1) an
                                                                                          involve (1)   an orderly
                                                                                                             orderly
 divestment
 divestment by ByteDance of U.S.-based assets supporting TikTok and (2) the migration of source
              by  ByteDance     of U.S.-based     assets  supporting   TikTok   and   (2) the migration   of  source
 code
 code for  the TikTok
       for the          U.S. platform
                TikTok U.S.    platform outout of
                                                of China.
                                                    China.




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                                                 APP-417
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          Regarding the
          Regarding   the government's
                          government’s contemplated           “source code
                                             contemplated "source       code migration,”    you explained
                                                                              migration," you                 that the
                                                                                                  explained that   the
 government would
 government     would require
                         require development
                                   development of     of all
                                                          all source
                                                               source code
                                                                        code for
                                                                               for or
                                                                                    or supporting
                                                                                        supporting TikTok        U.S.
                                                                                                       TikTok U.S.
 operations   to be
  operations to      moved to
                 be moved     to the
                                 the United
                                      United States,
                                                 States, or  to aa location
                                                         or to               approved by
                                                                   location approved    by the
                                                                                            the U.S.
                                                                                                  U.S. government.
                                                                                                       government.
 You acknowledged
 You                    there could
       acknowledged there      could bebe aa "migration
                                             “migration period”
                                                           period" for    transitioning source
                                                                      for transitioning  source code
                                                                                                  code toto approved
                                                                                                            approved
 locations but
 locations  but did
                 did not
                     not articulate
                         articulate aa specific    time. Mr.
                                        specific time.    Mr. Rosen
                                                                Rosen noted,
                                                                        noted, however,    that aa period
                                                                               however, that       period as
                                                                                                           as long  as
                                                                                                              long as
 aa year
     year would
          would bebe "a
                      “a hard
                          hard pill   for the
                                 pill for   the government
                                                  government to   to swallow."
                                                                     swallow.” WithWith respect
                                                                                          respect toto the
                                                                                                        the "orderly
                                                                                                             “orderly
 divestment”
  divestment" contemplated
                contemplated by by the
                                     the government,
                                          government, you you stated    that senior
                                                                stated that  senior leadership
                                                                                     leadership hadhad considered
                                                                                                       considered aa
 structure
  structure involving   “passivity” (i.e.,
            involving "passivity"      (i.e., aa passive
                                                 passive ownership
                                                          ownership structure)
                                                                        structure) of  the TikTok
                                                                                    of the            U.S. platform
                                                                                            TikTok U.S.      platform
 by ByteDance,
 by   ByteDance, but
                   but concluded
                       concluded thatthat the
                                           the idea
                                                idea "was
                                                     “was not    sufficient,” and
                                                            not sufficient,"       therefore the
                                                                              and therefore   the government
                                                                                                   government was was
 not
  not prepared  to discuss
      prepared to           it as
                   discuss it  as an
                                  an alternative.
                                      alternative.

         During the
         During    the March
                        March 6,     2023 call,
                                 6, 2023     call, counsel
                                                     counsel for for the
                                                                      the Company
                                                                           Company repeatedly
                                                                                        repeatedly sought
                                                                                                     sought clarity
                                                                                                              clarity
 regarding   the basic
 regarding the     basic technological
                          technological premises
                                            premises of  of thethe government's
                                                                     government’s position
                                                                                       position on    “source code
                                                                                                 on "source     code
 migration,”  but was
 migration," but   was met
                        met with
                             with vague
                                  vague and      inchoate responses.
                                          and inchoate       responses. Counsel
                                                                           Counsel asked,    for example,
                                                                                      asked, for             whether
                                                                                                 example, whether
 source
 source code
         code migration
                migration meant     that all
                            meant that   all code
                                              code forfor the
                                                           the U.S.
                                                                 U.S. platform    would need
                                                                       platform would           to be
                                                                                          need to   be (i)
                                                                                                       (i) rewritten
                                                                                                            rewritten
 outside
 outside of
          of China,
             China, or,
                      or, alternatively,  (ii) transferred
                          alternatively, (ii)   transferred fromfrom China
                                                                       China and   then monitored
                                                                              and then    monitored inin the
                                                                                                         the United
                                                                                                              United
 States, with further
 States, with  further development
                       development of  of the
                                           the software
                                                 software only
                                                             only occurring
                                                                   occurring outside
                                                                               outside ofof China.
                                                                                            China. Counsel
                                                                                                     Counsel noted
                                                                                                               noted
 that the
 that the Company’s      implementation of
          Company's implementation                the draft
                                             of the           NSA required
                                                      draft NSA                 the inspection
                                                                      required the   inspection of   that code,
                                                                                                 of that   code, and
                                                                                                                 and
 asked  whether the
 asked whether    the U.S.
                      U.S. government's
                            government’s expectation
                                              expectation was was that,
                                                                    that, under
                                                                          under its
                                                                                 its contemplated
                                                                                     contemplated divestiture,
                                                                                                     divestiture, all
                                                                                                                   all
 source
 source code  for the
         code for  the TikTok   U.S. platform
                       TikTok U.S.                 would need
                                      platform would       need toto be
                                                                     be re-written.   You stated
                                                                        re-written. You           that "the
                                                                                           stated that “the concept
                                                                                                             concept
 was north
 was  north of  what was
            of what   was in
                           in the
                              the NSA
                                  NSA butbut south
                                               south ofof aa requirement
                                                             requirement to to fully
                                                                               fully rewrite  the code.”
                                                                                      rewrite the  code."

         Counsel
         Counsel forfor the
                         the Company
                              Company were were also
                                                 also clear
                                                        clear during    the March
                                                               during the    March 6,    2023 call
                                                                                      6, 2023         that the
                                                                                                call that   the
 government’s divestiture
 government's   divestiture position    was not
                              position was   not realistic.
                                                 realistic. Counsel
                                                             Counsel pointed
                                                                       pointed out  that CFIUS
                                                                                out that         was already
                                                                                         CFIUS was     already
 well-advised about
 well-advised  about thethe technological
                             technological complexity
                                              complexity of     their contemplated
                                                             of their  contemplated divestiture     given the
                                                                                       divestiture given    the
 timelines mandated
 timelines mandated by by the
                           the draft  NSA—which did
                               draft NSA—which             not require
                                                      did not  require aa sale
                                                                          sale of the TikTok
                                                                               of the          U.S. platform
                                                                                       TikTok U.S.   platform
 and   was accordingly
 and was    accordingly significantly
                           significantly less
                                           less complex
                                                 complex fromfrom anan engineering
                                                                        engineering perspective      than the
                                                                                       perspective than     the
 government’s contemplated
 government's    contemplated divestiture.         Particularly against
                                  divestiture. Particularly                the backdrop
                                                                  against the   backdrop of     those earlier
                                                                                            of those    earlier
 discussions,
 discussions, counsel
              counsel explained      that CFIUS
                         explained that    CFIUS knew
                                                    knew full   well that
                                                           full well  that 12  months—let alone
                                                                           12 months—let     alone aa shorter
                                                                                                       shorter
 period—was
 period—was notnot aa realistic  timeframe. Counsel
                       realistic timeframe.     Counsel noted      that the
                                                            noted that  the government's
                                                                            government’s position      was to
                                                                                             position was    to
 “effectively break
 "effectively break apart
                      apart the
                            the Company,
                                Company, whichwhich is
                                                     is aa globally
                                                           globally integrated
                                                                     integrated platform.”   You responded
                                                                                 platform." You    responded
 by saying
 by         that aa longer
     saying that    longer timeline
                            timeline for
                                       for transition
                                           transition would
                                                      would require
                                                               require rigorous   interim measures
                                                                        rigorous interim   measures without
                                                                                                       without
 explaining  what those
 explaining what   those interim
                          interim measures     would be.
                                   measures would     be.

         During the
         During    the March
                       March 6,   2023 call,
                               6, 2023        Mr. Rosen
                                        call, Mr.  Rosen explicitly   linked the
                                                           explicitly linked   the CFIUS
                                                                                   CFIUS negotiations     to
                                                                                            negotiations to
 political
 political developments
            developments in in Congress.   Mr. Rosen
                               Congress. Mr.    Rosen said   that there
                                                        said that there appeared
                                                                         appeared toto be
                                                                                       be broad
                                                                                           broad bipartisan
                                                                                                  bipartisan
 support
 support toto remove   ByteDance ownership
              remove ByteDance     ownership andand concerns   with data
                                                    concerns with          “traveling back
                                                                     data "traveling   back to
                                                                                             to China”
                                                                                                China" and
                                                                                                         and
 “feeding ByteDance
 "feeding   ByteDance algorithms,”
                         algorithms," and  that congressional
                                      and that  congressional proposals
                                                               proposals included    unilateral authority
                                                                          included unilateral   authority to
                                                                                                          to
 remove
 remove TikTok
           TikTok in   the United
                    in the United States.   Nevertheless, Mr.
                                   States. Nevertheless,   Mr. Rosen
                                                                Rosen stated    that the
                                                                        stated that  the Executive
                                                                                          Executive Branch
                                                                                                     Branch
 continued
 continued toto believe
                believe aa negotiated
                           negotiated agreement
                                      agreement isis the
                                                     the best
                                                          best path
                                                               path and  “should be
                                                                    and "should    be seriously
                                                                                      seriously considered
                                                                                                 considered
 by [the
 by  [the Company].”
           Company]." You  You emphasized     that this
                                 emphasized that   this negotiated
                                                         negotiated solution
                                                                     solution should
                                                                                should bebe preferable  to aa
                                                                                            preferable to
 legislative one.
 legislative  one.




                                                  APP-418
                                                  APP-418
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        The    very next
         The very   next day,
                         day, legislation    was introduced
                                legislation was               by Senator
                                                  introduced by            Mark Warner
                                                                  Senator Mark     Warner thatthat would
                                                                                                   would have
                                                                                                           have
 empowered
 empowered the the Secretary
                   Secretary of
                              of Commerce
                                   Commerce and      the President
                                                and the  President to
                                                                   to prohibit,
                                                                      prohibit, compel
                                                                                  compel divestment
                                                                                            divestment of,of, or
                                                                                                              or
 otherwise
 otherwise mitigate
            mitigate certain
                      certain covered    transactions and
                               covered transactions    and holdings  that, in
                                                            holdings that,  in their
                                                                               their determination,
                                                                                      determination, pose     an
                                                                                                        pose an
 undue or
 undue     unacceptable risk
        or unacceptable          to national
                           risk to  national security.   It was
                                              security. It  was widely
                                                                 widely reported    that this
                                                                        reported that     this legislation
                                                                                               legislation was
                                                                                                            was
 intended to
 intended  to target
               target TikTok   and was
                      TikTok and    was drafted    in close
                                          drafted in  close consultation  with the
                                                            consultation with    the Biden
                                                                                      Biden Administration,
                                                                                               Administration,
 including  DOJ.3 Indeed,
 including DOJ.3      Indeed, thethe Biden
                                     Biden Administration
                                             Administration endorsed       the bill
                                                                endorsed the     bill the
                                                                                       the same
                                                                                            same day
                                                                                                   day itit was
                                                                                                            was
             4
 introduced.
 introduced.4

         In
         In sum,
            sum, by by March
                        March 2023,
                               2023, the
                                      the government
                                           government had
                                                        had spent
                                                            spent 18  months negotiating
                                                                  18 months   negotiating aa robust
                                                                                             robust solution
                                                                                                     solution
 addressing   its national
 addressing its    national security
                            security concerns,   including, in
                                      concerns, including,   in our view, unprecedented
                                                                our view,  unprecedented data
                                                                                           data and
                                                                                                and content
                                                                                                      content
 assurance,
 assurance, only
             only to to abandon   that effort
                        abandon that   effort and
                                              and cease
                                                   cease engaging   with the
                                                          engaging with  the Company
                                                                              Company on    the solution
                                                                                         on the solution for
                                                                                                          for
 seven
 seven months,     whereupon, without
        months, whereupon,       without any
                                          any explanation   of why
                                               explanation of  why the
                                                                    the previously
                                                                        previously negotiated
                                                                                    negotiated solution  was
                                                                                               solution was
 insufficient, it
 insufficient,  it demanded
                   demanded divestment      and source
                               divestment and   source code
                                                        code migration.
                                                             migration. And    the very
                                                                         And the   very next
                                                                                        next day, it publicly
                                                                                             day, it publicly
 announced
 announced its its support
                    support for
                             for legislation
                                  legislation explicitly
                                              explicitly calculated   to provide
                                                          calculated to            the Administration
                                                                         provide the                     with
                                                                                       Administration with
 additional
 additional authorities   to compel
             authorities to            the divestiture
                              compel the   divestiture of
                                                       of TikTok
                                                          TikTok or   ban the
                                                                  or ban  the platform
                                                                              platform outright.
                                                                                        outright.

              B. Your March
              B. Your   March 1414 email   further states:
                                    email further   states: “While
                                                              "While II know
                                                                        know that   our teams
                                                                              that our        have been
                                                                                        teams have        in
                                                                                                     been in
                 contact since
                 contact  since our
                                our last
                                     last briefing
                                          briefing (and
                                                   (and that    you have
                                                          that you   have provided
                                                                          provided information
                                                                                      information on
                                                                                                   on these
                                                                                                       these
                 topics at earlier
                 topics at earlier junctures),
                                   junctures), we
                                               we and
                                                   and our
                                                        our buildings   are —–for
                                                             buildings are     for understandable
                                                                                   understandable reasons
                                                                                                    reasons
                 – eager
                   eager to   receive an
                           to receive  an update   on your
                                           update on    your client's
                                                               client’s willingness
                                                                        willingness toto complete  such an
                                                                                         complete such    an
                 orderly divestment
                 orderly divestment asas well
                                          well as
                                               as on
                                                  on the
                                                      the technical   and related
                                                           technical and            questions that
                                                                          related questions        we have
                                                                                              that we   have
                 discussed, including
                 discussed,  including the  migration of
                                        the migration   of source
                                                           source code   and algorithms."
                                                                   code and   algorithms.”

        The    implication of
        The implication          this statement
                              of this statement in in your
                                                      your March
                                                           March 1414 email
                                                                       email is  that the
                                                                              is that the Company
                                                                                          Company hashas not been
                                                                                                         not been
 responsive
 responsive inin its
                  its engagement
                      engagement withwith CFIUS      and, in
                                            CFIUS and,    in particular,
                                                              particular, has  failed to
                                                                          has failed   to advise
                                                                                          advise the
                                                                                                 the government
                                                                                                     government
 whether it
 whether  it is  “willing” or
             is "willing"       “unwilling” to
                             or "unwilling"    to pursue   the government's
                                                   pursue the  government’s contemplated
                                                                                contemplated divestiture.
                                                                                                divestiture. This
                                                                                                             This
 implication is
 implication        false. As
                is false.        you have
                            As you     have known
                                              known for for aa year,
                                                               year, the
                                                                      the divestiture
                                                                           divestiture path   articulated by
                                                                                         path articulated  by the
                                                                                                              the
 government on
 government          March 6,
                on March        2023 is
                             6, 2023   is not  viable—period—let alone
                                          not viable—period—let        alone on    any timeline
                                                                               on any   timeline the
                                                                                                 the government
                                                                                                     government
 appears
 appears prepared
         prepared to   to accept.
                          accept. This
                                   This isis not
                                             not aa matter
                                                    matter of
                                                            of our
                                                               our client’s  “willingness” or
                                                                    client's "willingness"      “unwillingness.”
                                                                                             or "unwillingness."

 33 Brendan
    Brendan Bordelon
              Bordelon and  and Gavin     Bade, "Senate,
                                 Gavin Bade,     “Senate, White
                                                           White House
                                                                   House push
                                                                           push new    bipartisan bill
                                                                                 new bipartisan    bill that
                                                                                                        that could
                                                                                                             could
  ban TikTok,”
 ban              Politico (Mar.
       TikTok," Politico       (Mar. 7,   2023), https://www.politico.com/news/2023/03/07/senate-white-
                                       7, 2023),  https://www.politico.com/news/2023/03/07/senate-white-
  house-tiktok-ban-00085998
  house-tiktok-ban-00085998 ("And     (“And while
                                              while the
                                                     the RESTRICT
                                                          RESTRICT Act Act isn't
                                                                            isn’t technically
                                                                                  technically aimed
                                                                                                aimed just
                                                                                                        just at
                                                                                                             at
  TikTok,   the Chinese-owned
  TikTok, the   Chinese-owned video   video app   is clearly
                                             app is          top of
                                                     clearly top  of mind  for the
                                                                     mind for  the bill's
                                                                                    bill’s chief sponsors .. .. .. .”);
                                                                                           chief sponsors          .");
  Jeremy   Diamond and
  Jeremy Diamond              Brian Fung,
                         and Brian   Fung, "The
                                             “The Biden
                                                    Biden administration
                                                           administration isis shifting  its approach
                                                                               shifting its  approach toto TikTok,”
                                                                                                           TikTok,"
  CNN    (Mar. 8,
  CNN (Mar.        2023), https://www.cnn.com/2023/03/08/tech/biden-tiktok-bill/index.html
                8, 2023),     https://www.cnn.com/2023/03/08/tech/biden-tiktok-bill/index.html ("The         (“The
  bill was
 bill  was drafted
           drafted in in close
                          close consultation    with the
                                 consultation with    the White
                                                           White House's
                                                                  House’s National
                                                                            National Security
                                                                                       Security Council
                                                                                                 Council as     well
                                                                                                           as well
  as the Commerce,
  as the  Commerce, Treasury
                          Treasury and
                                     and Justice   Departments” and
                                           Justice Departments"         “[t]he National
                                                                    and "[t]he  National Security
                                                                                            Security Council
                                                                                                     Council and and
  Department of
 Department     of Justice
                   Justice proposed
                               proposed specific
                                           specific changes
                                                    changes toto the
                                                                 the text
                                                                     text of the legislation,
                                                                          of the legislation, some
                                                                                               some of    which
                                                                                                      of which
  were adopted
 were   adopted .. .. .. .”).
                         .").
 4
   The White House,
   The White  House, "Statement
                      “Statement from    National Security
                                   from National           Advisor Jake
                                                  Security Advisor Jake Sullivan
                                                                        Sullivan on the
                                                                                 on the
 Introduction
 Introduction of the RESTRICT
              of the RESTRICT Act”      (Mar. 7,
                                  Act" (Mar.     2023), https://www.whitehouse.gov/briefing-
                                              7, 2023), https://www.whitehouse.gov/briefing-
 room/statements-releases/2023/03/07/statement-from-national-security-advisor-jake-sullivan-on-
 room/statements-releases/2023/03/07/statement-from-national-security-advisor-j ake-sullivan-on-
 the-introduction-of-the-restrict-act/.
 the-introduction-of-the-restrict-act/.




                                                   APP-419
                                                   APP-419
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 The
 The record before CFIUS—both
     record before                before March
                   CFIUS—both before     March 6,   2023 and
                                                 6, 2023  and since  then—makes clear
                                                               since then—makes         that the
                                                                                  clear that the
 government’s contemplated
 government's contemplated divestiture
                           divestiture cannot be effectuated
                                       cannot be             in the
                                                 effectuated in the way
                                                                    way the
                                                                        the government
                                                                            government wants.
                                                                                       wants.

         On   March 15,
         On March          2023, counsel
                      15, 2023,             for the
                                  counsel for   the Company
                                                     Company proposed
                                                               proposed anan agenda
                                                                             agenda to to continue  the
                                                                                          continue the
 discussion  and seek
 discussion and  seek additional
                       additional details
                                  details regarding  the government's
                                          regarding the  government’s position.
                                                                      position. The
                                                                                 The proposed
                                                                                      proposed agenda
                                                                                                agenda
 made
 made clear   the challenges
        clear the challenges associated    with the
                               associated with   the government's
                                                      government’s divestiture
                                                                   divestiture position,
                                                                                position, including  by
                                                                                          including by
 noting
 noting specifically the "timing
        specifically the “timing and
                                  and operational
                                      operational challenges  to maintain
                                                   challenges to          globally integrated
                                                                 maintain globally integrated platform
                                                                                              platform
 and
 and export
     export control  issues.”
             control issues."

        Internal
        Internal and
                 and outside
                       outside counsel
                                counsel for    the Company
                                          for the              then met
                                                    Company then     met on   March 23,
                                                                           on March    23, 2023
                                                                                           2023 via
                                                                                                 via
 teleconference with
 teleconference with senior
                     senior staff
                            staff for the Departments
                                  for the Departments ofof Justice and the
                                                           Justice and the Treasury,
                                                                           Treasury, including Brian
                                                                                     including Brian
 Reissaus, Deputy
 Reissaus,  Deputy Assistant
                     Assistant Secretary
                                Secretary for
                                            for Investment
                                                 Investment Security    from Treasury,
                                                              Security from               and Devin
                                                                              Treasury, and    Devin
 DeBacker, Chief,
 DeBacker,         Foreign Investment
            Chief, Foreign              Review Section,
                           Investment Review     Section, from  DOJ.
                                                          from DOJ.

          Counsel
          Counsel for   the Company
                    for the Company started       the meeting
                                          started the meeting byby advising   that ByteDance
                                                                    advising that  ByteDance waswas glad
                                                                                                     glad to
                                                                                                          to re-
                                                                                                             re-
 engage    with CFIUS
 engage with    CFIUS andand still
                               still hoped
                                     hoped toto reach
                                                reach aa negotiated
                                                         negotiated solution,    but the
                                                                      solution, but  the public
                                                                                         public discourse   was
                                                                                                 discourse was
 “adrift from
 "adrift  from realistic  facts and
                realistic facts  and solutions.”
                                      solutions." Counsel
                                                     Counsel also
                                                              also noted   that leaks
                                                                    noted that  leaks about the government's
                                                                                      about the  government’s
 position
 position and
            and public
                public comments
                        comments from from Administration
                                             Administration officials
                                                               officials regarding
                                                                         regarding CFIUS’s
                                                                                    CFIUS' s position
                                                                                              position and   the
                                                                                                        and the
 contemplated
 contemplated divestiture       were problematic
                  divestiture were      problematic and
                                                      and damaging.
                                                            damaging. Mr.  Mr. Reissaus
                                                                                Reissaus and
                                                                                          and Mr.
                                                                                                Mr. DeBacker
                                                                                                     DeBacker
 acknowledged
 acknowledged the the importance
                       importance of  of confidentiality,   although Mr.
                                          confidentiality, although    Mr. DeBacker
                                                                            DeBacker noted     the government
                                                                                        noted the  government
 views confidentiality
 views  confidentiality asas aa "two-way
                                “two-way street.”     (Notwithstanding Mr.
                                             street." (Notwithstanding     Mr. DeBacker's
                                                                                DeBacker’s statement,    as you
                                                                                             statement, as  you
 know,   the CFIUS
 know, the   CFIUS statute     imposes an
                      statute imposes    an obligation
                                             obligation of
                                                         of confidentiality
                                                            confidentiality on   the government,
                                                                             on the  government, with
                                                                                                   with limited
                                                                                                        limited
 exceptions,   but not
 exceptions, but   not private
                        private parties.    See 50
                                 parties. See       U.S.C. §§ 4565(c).)
                                                50 U.S.C.     4565(c).)

         Mr. DeBacker
         Mr.  DeBacker added
                         added that
                               that the
                                     the government
                                         government still     believed aa negotiated
                                                        still believed    negotiated solution
                                                                                       solution could be
                                                                                                could be
 accomplished.
 accomplished. He  He then
                      then asked  if ByteDance
                           asked if  ByteDance had had aa proposal
                                                           proposal for
                                                                      for orderly
                                                                          orderly divestiture.
                                                                                   divestiture. Counsel
                                                                                                 Counsel
 explained  that the
 explained that  the Company
                     Company could
                              could not
                                      not put
                                          put aa proposal
                                                 proposal on   the table
                                                            on the  table because
                                                                          because it
                                                                                   it did
                                                                                      did not understand
                                                                                          not understand
 what the
 what  the government
            government meant   by "divestment."
                         meant by   “divestment.” Counsel
                                                     Counsel explained      that ByteDance
                                                                 explained that   ByteDance needed    to
                                                                                               needed to
 reconcile the government's
 reconcile the government’s position   with three
                             position with  three key
                                                   key realities:
                                                       realities:

         1.
         1. how  to divest
            how to           the TikTok
                     divest the          U.S. platform
                                 TikTok U.S.             without turning
                                               platform without  turning the
                                                                           the U.S.
                                                                               U.S. TikTok
                                                                                     TikTok experience
                                                                                             experience
            into an
            into     “island” with
                 an "island"   with no  interoperability with
                                     no interoperability with the
                                                              the rest
                                                                   rest of  the platform,
                                                                        of the             which would
                                                                                platform, which   would
            break the
            break  the TikTok
                       TikTok experience in the United States (as CFIUS knew, this concern had
                                 experience in the  United States (as  CFIUS    knew,  this concern had
            been central
            been          to multiple
                  central to  multiple presentations to CFIUS
                                       presentations to CFIUS over   the course
                                                               over the  course of  2020 and
                                                                                 of 2020   and 2021);
                                                                                               2021);

         2. the
         2. the Chinese
                 Chinese government’s
                          government's opposition
                                           opposition (as
                                                        (as CFIUS
                                                             CFIUS wellwell understood,
                                                                              understood, TikTok’s
                                                                                             TikTok's
            recommendation
            recommendation algorithm   was subject
                             algorithm was          to Chinese
                                            subject to Chinese export
                                                               export control  laws, and
                                                                       control laws,  and the
                                                                                          the Chinese
                                                                                              Chinese
            government had
            government  had publicly
                            publicly indicated  it would
                                     indicated it  would block
                                                          block the
                                                                the transfer,
                                                                    transfer, use,
                                                                              use, or licensing of
                                                                                   or licensing    the
                                                                                                of the
            algorithm by any
            algorithm by any successor if there
                             successor if there was
                                                was aa forced
                                                       forced divestiture); and
                                                              divestiture); and

         3. "the
         3. “the people
                 people and
                        and code”—i.e.,  the fact
                             code"—i.e., the      that (i)
                                             fact that (i) part
                                                           part of the technical
                                                                of the technical workforce
                                                                                  workforce supporting
                                                                                             supporting
            the TikTok
            the TikTok platform   is located
                        platform is  located in
                                             in China    (similar to
                                                China (similar      to many   U.S. headquartered
                                                                       many U.S.     headquartered peer
                                                                                                    peer
            companies   with technical
            companies with   technical personnel  located in
                                       personnel located    in China),  and (ii)
                                                               China), and   (ii) personnel working on
                                                                                  personnel working  on
            tasks such
            tasks such as
                       as sales,
                          sales, marketing, and creator
                                 marketing, and creator relations
                                                          relations are  globally integrated
                                                                     are globally  integrated to
                                                                                              to support
                                                                                                 support




                                               APP-420
                                               APP-420
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               customers who have
               customers who      global (i.e.,
                             have global (i.e., not
                                                not limited to U.S.)
                                                    limited to U.S.) demands (again, akin
                                                                     demands (again,      to peer
                                                                                     akin to peer
               companies).
               companies).

          Counsel
          Counsel noted        the government's
                       noted the    government’s months-long
                                                      months-long delay
                                                                      delay in
                                                                             in responding
                                                                                 responding prior     to March
                                                                                                prior to  March 6, 6, and
                                                                                                                      and
 observed    that   there  had   been   no  explanation    as  to why   the  government      believed
  observed that there had been no explanation as to why the government believed the August 23,          the  August   23,
 2022 draft
 2022         NSA was
        draft NSA     was deficient
                            deficient from
                                        from aa national
                                                national security
                                                          security perspective.
                                                                     perspective. Counsel
                                                                                     Counsel noted     that the
                                                                                                noted that  the security
                                                                                                                 security
 personnel    within TikTok
  personnel within                U.S. Data
                        TikTok U.S.     Data Security    and Oracle
                                              Security and             believed that
                                                              Oracle believed     that the
                                                                                        the draft NSA’s solution
                                                                                            draft NSA's               was
                                                                                                           solution was
 aa strong
    strong one,
           one, specifically
                   specifically in  in relation
                                       relation toto the
                                                     the three
                                                         three core
                                                                 core concerns
                                                                      concerns CFIUS        identified: data
                                                                                   CFIUS identified:      data security,
                                                                                                                security,
 software   assurance, and
  software assurance,      and content
                                 content assurance.
                                           assurance. Counsel
                                                         Counsel noted     that there
                                                                   noted that   there had    been nearly
                                                                                        had been           two years
                                                                                                   nearly two    years of
                                                                                                                        of
 work put
 work       into that
        put into   that solution,    and that
                         solution, and    that it
                                               it would
                                                   would be
                                                          be helpful   to know
                                                              helpful to  know whywhy the
                                                                                        the government
                                                                                            government believed
                                                                                                           believed thethe
 solution   was deficient.
  solution was      deficient. NoneNone of     the government
                                           of the    government attendees
                                                                    attendees at     the March
                                                                                 at the    March 23,
                                                                                                   23, 2023
                                                                                                         2023 meeting
                                                                                                                 meeting
 addressed     this question
  addressed this     question in  in any
                                      any detail.     Rather, Mr.
                                           detail. Rather,      Mr. Reissaus
                                                                     Reissaus reiterated      the U.S.
                                                                                 reiterated the    U.S. government's
                                                                                                         government’s
 conclusory
  conclusory position        that even
                 position that             with the
                                   even with      the provisions
                                                       provisions put
                                                                    put in
                                                                         in place
                                                                             place in in the
                                                                                          the draft  NSA, the
                                                                                               draft NSA,     the "most
                                                                                                                   “most
 effective”
  effective" method
              method to   to address
                              address thethe government's
                                             government’s concerns         would be
                                                                concerns would      be divestment.
                                                                                         divestment. Mr. Mr. DeBacker
                                                                                                              DeBacker
 stated  that the
  stated that   the government
                      government would would not
                                               not otherwise
                                                     otherwise getget into  the specifics
                                                                      into the    specifics of   what was
                                                                                              of what    was discussed
                                                                                                               discussed
 internally by
 internally       the government
              by the   government over       the preceding
                                        over the   preceding several
                                                               several months.
                                                                        months.

           Mr. DeBacker
           Mr.  DeBacker also
                            also asked
                                  asked how     the Company
                                          how the   Company was   was navigating      this matter
                                                                        navigating this     matter with
                                                                                                     with the
                                                                                                            the Chinese
                                                                                                                 Chinese
  government, given
  government,    given the
                        the Chinese   government’s prior
                            Chinese government's        prior objection
                                                                objection toto divestiture.
                                                                                divestiture. HeHe specifically
                                                                                                    specifically asked
                                                                                                                   asked
  whether either
  whether   either aa passivity
                      passivity structure
                                 structure over    the U.S.
                                             over the   U.S. business
                                                               business ofof TikTok      (which DOJ
                                                                               TikTok (which        DOJ and
                                                                                                          and Treasury
                                                                                                                Treasury
  had
   had previously
        previously made
                    made clear    was not
                           clear was        acceptable to
                                      not acceptable     to CFIUS)
                                                             CFIUS) or  or divestiture    would be
                                                                           divestiture would       be characterized
                                                                                                      characterized as  as
  aa forced
     forced sale.
            sale. Counsel
                  Counsel confirmed       that Chinese
                             confirmed that    Chinese regulatory
                                                          regulatory restrictions      would likely
                                                                        restrictions would              be an
                                                                                                likely be   an obstacle,
                                                                                                                obstacle,
  and  asked why
   and asked  why this
                   this information
                        information waswas "new
                                             “new oror surprising”
                                                       surprising" to to CFIUS     given the
                                                                         CFIUS given       the history
                                                                                               history of    this matter.
                                                                                                         of this  matter.
  Mr. DeBacker
  Mr.   DeBacker confirmed       that it
                    confirmed that        was not
                                      it was   not new
                                                    new or or surprising,
                                                               surprising, andand reiterated
                                                                                   reiterated (i)(i) that
                                                                                                     that the
                                                                                                           the previous
                                                                                                                previous
  conversation
   conversation on    March 6,
                  on March     6, 2023
                                   2023 made
                                           made clear    that from
                                                  clear that    from the
                                                                       the government's
                                                                             government’s standpoint,
                                                                                                standpoint, the the only
                                                                                                                     only
  workable solution
  workable              was divestment
              solution was    divestment andand source
                                                 source code      migration, and
                                                          code migration,       and (ii)
                                                                                      (ii) that
                                                                                           that it
                                                                                                 it now
                                                                                                    now sounded
                                                                                                          sounded likelike
  divestment
   divestment and
                and source
                      source code
                                code migration
                                       migration might
                                                     might be be infeasible.
                                                                   infeasible. Counsel
                                                                                     Counsel responded
                                                                                                  responded thatthat the
                                                                                                                       the
  government’s position
  government's    position as   articulated on
                            as articulated       March 6,
                                             on March        2023 was
                                                          6, 2023   was "unmoored
                                                                         “unmoored from  from reality,”     and that
                                                                                                reality," and    that Mr.
                                                                                                                      Mr.
  DeBacker’ss characterization
  DeBacker'     characterization waswas correct—i.e.,
                                          correct—i.e., the    divestiture and
                                                          the divestiture     and source
                                                                                   source code
                                                                                             code migration
                                                                                                    migration waswas not
                                                                                                                       not
  feasible. Nonetheless,
 feasible.   Nonetheless, counsel
                             counsel agreed
                                      agreed toto take
                                                  take the
                                                        the issues
                                                             issues back
                                                                     back and
                                                                            and toto explore   what further
                                                                                     explore what     further proposal
                                                                                                                proposal
  the Company
  the   Company could
                   could realistically
                           realistically make      under the
                                           make under       the circumstances.
                                                                 circumstances. Counsel Counsel alsoalso repeated
                                                                                                          repeated the the
  Company’s
   Company's request     to meet
                request to         with the
                            meet with    the Deputies,
                                              Deputies, and     was again
                                                          and was    again rebuffed.
                                                                             rebuffed.




                                                    APP-421
                                                    APP-421
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        Following this
        Following this meeting,
                       meeting, on
                                on April 27, 2023,
                                   April 27, 2023, counsel
                                                   counsel sent the following
                                                           sent the following email to DOJ
                                                                              email to DOJ and
                                                                                           and
 Treasury:
 Treasury:

                    From: Fagan, David
                    Sent: Thursday, April 27, 2023 7:13 PM
                    To: 'Brian.Reissaus@treasury.gov' <Brian.Reissaus@treasurygov>; Andrew.Fair@treasurv.gov
                    Devin.DeBacker@usdoLgov: Evan.Sills@usdoj.govTyler.Wood@usdoj.govWinnie.Tsang@treasury.gov
                    Sarah.Oldham@treasurv.gov David.Newman2@usdojgov Eric.S.lohnson@usdoLgov; Navla.Kawerk@treasurv.gov
                    Theodore.Posner@treasury.gov
                    Cc: Michael.Leiter@skadden.com
                    Subject: RE: CFIUS Case. No. 20-100: Status

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                    Treasury and Dul colleagues -

                    We wanted to provide the Committee with an update on the work that ByteDance has been undertaking to address the
                    issues that we discussed in our meetings on March 6 and March 23. As we have discussed, both the Committee's
                    position on ownership and its articulated position on source code raise extremely complex commercial and legal
                    challenges. Nevertheless, ByteDance has been exploring solutions to both issues. There are active workstreams ongoing
                    with the goal of being able to make a presentation to CFIUS later in May on potential solutions. To be sure, that does
                    not mean that ByteDance agrees with the articulated positions, or that a divestiture or source code migration will even
                    be practical commercially or because of the restrictions of Chinese law. It does mean, however, that ByteDance is
                    working on the issues in good faith, and intends to present proposals on each prong in May. We currently think that will
                    likely be the middle-to-latter half of the month, but will keep you apprised.

                    Best regards,

                    Mike and David




                    David Fagan
                    Covington & Burling LLP
                    Ono CityContcr, 850 Tenth Struct, NW
                    Washington, DC 2oom-4956
                    T +2 202 662 5292 I M + r 703 967 6940
                    dfagan@cov.com
                    httog://hvuerlink servirmtreasurv.goviagenev.do?origin+urvov.cov.com

                    COVINGTON




         May 23,
         May 23, 2023
                 2023 In-Person
                      In-Person Meeting
                                Meeting

         As
         As promised
             promised in
                       in its
                          its April
                               April correspondence,
                                     correspondence, on    May 23,
                                                       on May  23, 2023,
                                                                   2023, counsel
                                                                         counsel and technical experts
                                                                                 and technical experts
 for the Company
 for the Company metmet at    the Department
                          at the  Department of    the Treasury
                                                of the           with Mr.
                                                        Treasury with  Mr. Rosen,
                                                                           Rosen, yourself,
                                                                                  yourself, and
                                                                                            and other
                                                                                                 other
 members
 members of   your respective
          of your               teams to
                   respective teams    to discuss
                                          discuss possible
                                                  possible TikTok  governance changes
                                                           TikTok governance          and source
                                                                              changes and source code
                                                                                                 code
 migration  that could
 migration that        be realistically
                 could be                achieved.
                           realistically achieved.

         The   Company’s presentation
         The Company's      presentation started    by noting
                                           started by            that the
                                                        noting that   the positions
                                                                           positions of     the U.S.
                                                                                         of the  U.S. government
                                                                                                       government
 and  the Chinese
 and the             government were
           Chinese government      were flatly
                                          flatly incompatible,
                                                  incompatible, putting       the company
                                                                    putting the      company in  in an   impossible
                                                                                                     an impossible
 position.
 position. The
             The Company
                  Company thenthen set  forth the
                                    set forth  the practical
                                                    practical challenges
                                                                challenges toto addressing
                                                                                  addressing thethe government’s
                                                                                                     government's
 divestiture
 divestiture position.
              position. The     Company noted
                          The Company                that even
                                            noted that     even narrowing
                                                                   narrowing the the government's
                                                                                       government’s divestiture
                                                                                                         divestiture
 demand
 demand to to TikTok   U.S. Data
              TikTok U.S.    Data Security     would be
                                    Security would     be complicated
                                                           complicated economically,
                                                                           economically, sincesince TikTok     U.S.
                                                                                                      TikTok U.S.
 Data Security
 Data             was aa backend
       Security was      backend company        without an
                                    company without       an independent
                                                              independent revenue
                                                                               revenue stream;
                                                                                          stream; thethe change   in
                                                                                                          change in
 control would impact
 control would   impact existing
                          existing agreements     with third
                                    agreements with     third parties   (such as
                                                                parties (such   as agreements
                                                                                     agreements for for music);  the
                                                                                                        music); the
 Company
 Company did did not
                 not have
                     have separate   intellectual property
                           separate intellectual   property forfor TikTok    U.S. Data
                                                                   TikTok U.S.       Data Security;    the business
                                                                                           Security; the   business
 of
 of TikTok    U.S. Data
    TikTok U.S.    Data Security   would simply
                         Security would    simply bebe as
                                                        as aa de
                                                              de facto
                                                                  facto vendor
                                                                        vendor to  to the
                                                                                      the rest
                                                                                           rest of
                                                                                                of TikTok;   it was
                                                                                                    TikTok; it  was
 not
 not clear  who would
     clear who   would buy
                         buy the
                              the business
                                  business given
                                            given the
                                                    the foregoing,
                                                         foregoing, and
                                                                      and even      then, regulatory
                                                                            even then,                  approval—
                                                                                          regulatory approval—
 including with
 including   with respect  to the
                  respect to  the algorithm—would
                                  algorithm—would be     be uncertain.
                                                             uncertain. If If the
                                                                              the compelled
                                                                                     compelled divestiture     were
                                                                                                  divestiture were
 widened to
 widened    to include
               include TikTok
                        TikTok Inc.,
                                  Inc., any
                                        any sale    would almost
                                              sale would     almost certainly
                                                                      certainly be be blocked
                                                                                        blocked by by the
                                                                                                       the Chinese
                                                                                                            Chinese
 government; the
 government;    the divestiture   would break
                     divestiture would    break interoperability,      forcing TikTok
                                                  interoperability, forcing       TikTok U.S.U.S. "to
                                                                                                   “to become
                                                                                                        become an an




                                                                          APP-422
                                                                          APP-422
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 island” where
 island" where U.S.
                 U.S. users
                       users would
                              would have
                                     have an
                                           an experience
                                               experience detached
                                                           detached from     the rest
                                                                      from the   rest of the global
                                                                                      of the global internet
                                                                                                    internet
 (not unlike
 (not unlike app
             app services
                   services offered   in China);
                             offered in  China); and  it would
                                                  and it would so
                                                                so substantially    increase business
                                                                    substantially increase   business costs
                                                                                                       costs
 through duplication
 through               that, again,
          duplication that,         it was
                             again, it was highly  uncertain that
                                           highly uncertain  that there
                                                                  there would
                                                                         would bebe any  buyers. The
                                                                                     any buyers.  The slides
                                                                                                      slides
 also
 also specifically
      specifically noted  that the
                    noted that the effect
                                    effect of these challenges
                                           of these            would be
                                                    challenges would    be aa ban
                                                                              ban of
                                                                                   of TikTok  in the
                                                                                      TikTok in  the United
                                                                                                     United
 States:
 States:


     Additional Ownership St
                                                                                        Challenges to Ownership Change of USDS
                                      ByteDance Ltd.
                                                                                        •   Economic implications for shareholders and employees
                                                                                        •   Change of control may impact existing agreements with third parties
                                        TikTok Inc.                                         (e.g. music)
                                                                                        •   Ownership of intellectual property
                                      Board of Directors                                •   USDS becomes de facto vendor to Global TikTok
                                                                                        •   Regulatory approvals
               TikTok       TikTok       TikTok      TikTok    Chairperson of
               Inside       Inside      Outside     Outside    TikTok USDS              Reminder: Challenges to Ownership Change of TikTok Inc.
              Director     Director     Director    Director      Board
                                                                                        •   Not expected to receive regulatory approval ("forced sale" of business)
                                                                                        •   Breaks global integration of non-national security business functions,
                                                                                            such as sales and marketing
                                            TBD                                         •   Breaks interoperability (U.S. becomes a TikTok "island")
                                                                                        •   Significantly increases business costs through duplication of roles and
                                                                                            systems
                           TikTok U.S. Data Security Inc.
                                                                                        Overall Challenges

                         Board of Directors / Security Committee                        •   Even if the challenges above were overcome, it is not clear whether
                                                                                            there are any potential buyers who could take on a U.S. TikTok
                                                             Outside                        business without ByteDance having some stake and supporting the
                    Outside              Outside            Director /
                    Director             Director          Chairperson                      application
                                                                                        •   The effect of these challenges can result in an effective ban and impact
                                                                                            150 million Americans

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                                                                 Protected from Disclosure Under 5 U.S.C. § 552                                                   4




         The
         The remainder
              remainder of   the presentation
                          of the presentation focused
                                               focused inin detail
                                                            detail on
                                                                    on source
                                                                        source code,
                                                                                 code, including   the existing
                                                                                        including the   existing
 source
 source code
         code and
               and content
                   content assurance
                             assurance plans   under Project
                                        plans under   Project Texas.
                                                                Texas. The The Company
                                                                                Company thenthen presented
                                                                                                  presented anan
 additional
 additional proposal  for potential
             proposal for potential migration
                                    migration out
                                                out of
                                                    of China   for source
                                                       China for   source code
                                                                            code related   to video
                                                                                   related to video promotion
                                                                                                     promotion
 and filtering ("VPF"),
 and filtering (“VPF”), explaining   that it
                          explaining that it could
                                             could be  accomplished in
                                                    be accomplished       in six
                                                                             six months
                                                                                 months toto aa year,
                                                                                                year, subject to
                                                                                                      subject to
 certain
 certain conditions.
         conditions. The
                      The Company
                           Company never
                                      never received    any feedback
                                              received any   feedback from       you or
                                                                          from you       anyone on
                                                                                      or anyone       your team
                                                                                                  on your  team
 on this proposal,
 on this proposal, despite
                   despite several
                            several attempts
                                    attempts byby counsel
                                                  counsel toto elicit
                                                               elicit aa response.
                                                                         response.

         September 8,
         September 8, 2023
                      2023 Meeting
                           Meeting

            In
            In late
               late August,    the agencies
                     August, the    agencies agreed
                                              agreed to
                                                      to another
                                                         another meeting    with the
                                                                  meeting with    the Company,
                                                                                      Company, which
                                                                                                  which occurred
                                                                                                         occurred
 on
 on September
      September 8,       2023. The
                      8, 2023.   The meeting     included another
                                       meeting included    another technical
                                                                     technical discussion
                                                                                discussion of  the challenges
                                                                                            of the  challenges of
                                                                                                                of
 migration,
 migration, including
                 including specifically
                              specifically addressing
                                             addressing challenges
                                                          challenges inin "forking"
                                                                          “forking” the
                                                                                      the code.
                                                                                          code. In In addition
                                                                                                      addition to
                                                                                                                to
 reviewing
 reviewing its  its proposal
                    proposal on    migration of
                               on migration       VPF software,
                                               of VPF             which was
                                                        software, which    was presented
                                                                                presented on  May 23,
                                                                                           on May   23, 2023,
                                                                                                        2023, the
                                                                                                               the
 Company
 Company set        forth its
               set forth  its analysis
                              analysis of  the "alternative"
                                       of the  “alternative” demanded
                                                             demanded by     the government
                                                                          by the government on    March 6,
                                                                                              on March       2023,
                                                                                                          6, 2023,
 i.e., aa full
 i.e.,    full migration.
               migration. The The Company
                                   Company provided
                                               provided aa detailed breakdown of
                                                           detailed breakdown        the government's
                                                                                  of the government’s proposed
                                                                                                        proposed
 migration
 migration withwith respect     to the
                       respect to  the full  “stack” of
                                       full "stack"      the TikTok
                                                     of the  TikTok source
                                                                      source code—i.e.,    with the
                                                                               code—i.e., with   the source
                                                                                                     source code
                                                                                                              code
 divided
 divided intointo its
                   its constituent
                       constituent parts:
                                     parts: content
                                            content moderation,
                                                     moderation, recommendation
                                                                   recommendation engine,
                                                                                       engine, VPF   (and related
                                                                                               VPF (and    related
 backend), and
 backend),     and all
                     all internal  tools.
                         internal tools.




                                                                         APP-423
                                                                         APP-423
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         The
         The Company
               Company explained       that even
                          explained that    even if   the government's
                                                   if the government’s contemplated
                                                                           contemplated divestiture     were not
                                                                                           divestiture were    not
 blocked by
 blocked  by the
              the Chinese   government’s export
                  Chinese government's       export control
                                                      control restrictions,  which was
                                                              restrictions, which   was aa baseline
                                                                                            baseline reality,  the
                                                                                                      reality, the
 U.S. government’s    proposal    had significant
 U.S. government's proposal had significant         challenges,
                                                    challenges,   including
                                                                  including  “complexity
                                                                             "complexity    in
                                                                                            in managing
                                                                                               managing    risk
                                                                                                           risk of
                                                                                                                of
 incompatible systems
 incompatible              with the
                 systems with     the independent
                                       independent development
                                                        development of     [an] alternative
                                                                       of [an]   alternative recommendation
                                                                                               recommendation
 engine.”   Moreover, counsel
 engine." Moreover,     counsel explained,
                                   explained, itit would
                                                   would not    be possible
                                                           not be             to move
                                                                    possible to  move all
                                                                                        all development
                                                                                            development to  to the
                                                                                                               the
 United States,
 United            and even
          States, and  even moving
                               moving it it to
                                            to other
                                                 other countries     where TikTok
                                                         countries where     TikTok operates      would pose
                                                                                      operates would      pose aa
 significant
 significant challenge  to find
             challenge to   find qualified
                                  qualified engineers.
                                             engineers. As As aa practical
                                                                 practical matter,
                                                                           matter, any
                                                                                    any such
                                                                                         such migration    would
                                                                                               migration would
 mean   that all
 mean that   all relevant
                 relevant engineers
                           engineers currently
                                        currently located
                                                    located in   China would
                                                             in China   would need     to move
                                                                                 need to  move to to those
                                                                                                     those other
                                                                                                             other
 countries, and they
 countries, and  they would
                      would still
                               still need to access
                                     need to           internal reference
                                              access internal   reference documents
                                                                            documents and     tools.
                                                                                         and tools.

         Again,   the Company
         Again, the   Company sought
                                 sought clarity
                                         clarity from  the government
                                                 from the   government on      what precisely
                                                                           on what  precisely was
                                                                                               was deficient
                                                                                                    deficient
 with the
 with  the Company’s
           Company's proposed      NSA. As
                         proposed NSA.     As counsel
                                               counsel explained,
                                                        explained, thethe draft  NSA already
                                                                          draft NSA   already contemplated
                                                                                               contemplated
 migration
 migration of   the content
             of the content assurance
                             assurance system
                                        system plus
                                                 plus full
                                                      full access
                                                           access toto source
                                                                       source code   by independent
                                                                                code by independent highly
                                                                                                      highly
 qualified  third parties
 qualified third   parties approved
                           approved byby CFIUS.
                                          CFIUS. Again,        the government
                                                      Again, the     government failed     to articulate
                                                                                   failed to  articulate any
                                                                                                         any
 particularized
 particularized deficiencies   with the
                 deficiencies with  the mitigations
                                        mitigations set  forth in
                                                     set forth     the draft
                                                                in the        NSA.
                                                                        draft NSA.

         Nevertheless, the
         Nevertheless,   the Company
                             Company indicated       that it
                                          indicated that  it was
                                                             was willing
                                                                 willing to
                                                                         to explore
                                                                            explore even   broader migration
                                                                                     even broader   migration
 of source code,
 of source  code, subject    to conditions,
                    subject to   conditions, and
                                               and itit provided
                                                        provided estimated   timelines for
                                                                  estimated timelines    for such
                                                                                              such aa broader
                                                                                                      broader
 migration.  While the
 migration. While     the VPF
                          VPF migration
                                migration could    be completed
                                             could be             within aa year,
                                                       completed within     year, other
                                                                                  other systems   would take
                                                                                         systems would    take
 longer,
 longer, and   the Company
          and the  Company explained         that the
                                explained that    the recommendation
                                                       recommendation engine
                                                                          engine systems
                                                                                  systems andand models
                                                                                                 models andand
 internal tools
 internal tools would
                would take
                        take at least two
                             at least  two years
                                            years to
                                                  to move.
                                                      move. Importantly,
                                                              Importantly, counsel
                                                                           counsel explained—yet
                                                                                     explained—yet again—
                                                                                                      again—
 that among
 that        the conditions
      among the   conditions of   its proposal
                              of its            was Chinese
                                      proposal was    Chinese export
                                                               export control
                                                                      control regulatory
                                                                              regulatory approvals,
                                                                                           approvals, and   the
                                                                                                       and the
 Company    had  no  reason to  think   the Chinese   government   had changed   its earlier
 Company had no reason to think the Chinese government had changed its earlier position.     position.

         Again,  the Company
         Again, the    Company never
                                  never received
                                        received aa response
                                                     response from  the government
                                                              from the  government on    this presentation.
                                                                                      on this presentation.
 Counsel
 Counsel for      the Company
             for the     Company pursued
                                     pursued additional
                                                additional meetings,
                                                             meetings, and      understood from
                                                                          and understood             these
                                                                                               from these
 communications
 communications in   in November
                        November 2023
                                   2023 that
                                         that there
                                              there was
                                                     was some
                                                         some discussion
                                                               discussion and
                                                                           and effort
                                                                               effort on the government's
                                                                                      on the government’s
 side to arrange
 side to arrange aa meeting
                    meeting on   governance. But
                              on governance.   But that
                                                    that meeting
                                                         meeting never
                                                                 never materialized,
                                                                        materialized, and  the government
                                                                                       and the government
 never  made any
 never made    any effort  to respond
                    effort to respond or
                                      or engage   until your
                                          engage until  your March
                                                             March 14,   2024 email.
                                                                     14, 2024  email.

              C.
              C. Your
                 Your email   from March
                       email from   March 14 14 concludes:
                                                 concludes: “We       would ask
                                                                "We would     ask that you provide
                                                                                  that you  provide us  with
                                                                                                     us with
                 an update  on the status of your  client’s response   to our  position and  on the
                 an update on the status ofyour client's response to our position and on the ongoingongoing
                 measures that
                 measures   that TikTok  is taking
                                 TikTok is  taking to   address the
                                                     to address       national security
                                                                 the national   security concerns
                                                                                          concerns we
                                                                                                    we have
                                                                                                       have
                 raised. We
                 raised.      would like
                           We would  like to set aa time
                                          to set          within the
                                                    time within       next two
                                                                  the next       weeks to
                                                                           two weeks    to update  Paul and
                                                                                           update Paul  and
                 myself (and
                 myself       other Treasury
                         (and other            and DO,I
                                    Treasury and     DOJ officials)
                                                           officials) on
                                                                      on this matter in
                                                                         this matter  in person."
                                                                                         person.”

                  Your email from
                  Your email  from March
                                    March 1818 then  states: “If
                                               then states:      your client
                                                             "Ifyour  client is
                                                                             is unwilling
                                                                                unwilling — or or perhaps
                                                                                                  perhaps
                  unable
                  unable — to  provide voluntarily
                            to provide voluntarily the  requested update
                                                    the requested          on the
                                                                    update on      efforts to
                                                                               the efforts    address the
                                                                                           to address the
                  national security
                  national security harms
                                    harms that  we’ve raised,
                                          that we've   raised, that would be
                                                               that would  be useful
                                                                              useful to  have confirmed.
                                                                                      to have  confirmed.
                  Absent hearing
                  Absent hearing from
                                  from you,
                                       you, we
                                             we will
                                                will proceed
                                                     proceed accordingly."
                                                              accordingly.”

         Neither your
         Neither your email
                       email from    March 14
                                from March  14 nor  your follow
                                                nor your  follow up
                                                                  up from
                                                                     from March
                                                                            March 18
                                                                                  18 acknowledges
                                                                                      acknowledges thethe
 foregoing history,  and it is confounding  that your emails  ask us for a response to the government’s
 foregoing history, and it is confounding that your emails ask us for a response to the government's
 position when (1)
 position when  (1) the
                    the Company
                        Company has has provided
                                        provided detailed
                                                  detailed responses  to the
                                                           responses to  the government's
                                                                             government’s position
                                                                                            position over
                                                                                                     over




                                                APP-424
                                                APP-424
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 David Newman
 David  Newman
 April
 April 1, 2024
       1, 2024
 Page 13
 Page  13

 the course
 the  course of multiple meetings;
             of multiple meetings; and   (2) the
                                     and (2) the government
                                                 government has
                                                             has refused to speak
                                                                 refused to speak with
                                                                                  with us
                                                                                       us for
                                                                                          for months
                                                                                              months
 at
 at aa time
       time and
            and to
                to this
                   this date
                        date has
                             has not
                                  not provided
                                      provided any   feedback on
                                                any feedback     the Company’s
                                                              on the Company's proposals
                                                                                 proposals on
                                                                                           on source
                                                                                              source
 code
 code migration
        migration from  May 23
                  from May   23 and
                                 and September
                                      September 8,  2023.
                                                 8, 2023.

         We further
         We   further note  that while
                      note that   while CFIUS
                                        CFIUS itself
                                                 itself has
                                                        has refused   to engage
                                                             refused to            with the
                                                                         engage with    the Company
                                                                                            Company forfor many
                                                                                                           many
 months,   your email
 months, your           of March
                 email of   March 14,   2024 arrived
                                    14, 2024            the day
                                               arrived the        after the
                                                             day after  the House
                                                                             House passed    H.R. 7521
                                                                                     passed H.R.         (just as
                                                                                                   7521 (just  as
 your March
 your  March 6,   2023 communication
               6, 2023  communication appears       to have
                                           appears to         been coordinated
                                                        have been                   with the
                                                                     coordinated with    the introduction
                                                                                             introduction of
                                                                                                           of the
                                                                                                              the
 RESTRICT Act),
 RESTRICT            which, if
               Act), which,   if enacted, would prohibit
                                 enacted, would   prohibit distributing,
                                                            distributing, maintaining,
                                                                            maintaining, oror providing internet
                                                                                              providing internet
 hosting
 hosting services   for TikTok
          services for  TikTok or or other  ByteDance apps.
                                     other ByteDance      apps. It   was publicly
                                                                  It was  publicly reported    that DOJ
                                                                                     reported that  DOJ briefed
                                                                                                         briefed
 members
 members of of Congress
               Congress in in advance
                              advance ofof aa vote
                                              vote on  the bill,
                                                   on the   bill, and  that the
                                                                  and that  the briefing
                                                                                 briefing included
                                                                                          included aa document
                                                                                                      document
 that stated,
 that stated, among
              among other     things, that
                      other things,   that CFIUS
                                            CFIUS has     “limits that
                                                     has "limits   that make
                                                                         make itit challenging  to effectuate”
                                                                                   challenging to  effectuate" aa
 divestment
 divestment ofof TikTok
                 TikTok from      ByteDance.5
                          from ByteDance.5

          Based on
          Based   on our  four and
                      our four  and aa half  years of
                                       half years   of engagement
                                                        engagement on      this matter
                                                                       on this    matter and
                                                                                           and decades
                                                                                               decades of  of CFIUS
                                                                                                              CFIUS
 experience,
 experience, wewe are
                   are confident   that the
                       confident that   the CFIUS
                                             CFIUS framework
                                                      framework provides
                                                                     provides aa constructive
                                                                                   constructive forum
                                                                                                  forum to to discuss
                                                                                                              discuss
 and  address the
 and address   the government's
                    government’s asserted
                                    asserted concerns,
                                              concerns, despite     the absence
                                                          despite the   absence of of aa record  to support
                                                                                         record to  support CFIUS
                                                                                                              CFIUS
 jurisdiction. CFIUS
 jurisdiction.   CFIUS can
                         can only
                              only serve   this function,
                                    serve this  function, however,      when the
                                                            however, when       the law
                                                                                     law and   CFIUS regulations
                                                                                           and CFIUS      regulations
 are
 are followed
      followed and     both sides
                  and both           are engaged
                             sides are    engaged in in good-faith
                                                          good-faith discussions,
                                                                        discussions, as   as opposed
                                                                                             opposed to  to political
                                                                                                             political
 subterfuge,   where CFIUS
 subterfuge, where     CFIUS negotiations       are misappropriated
                                 negotiations are    misappropriated for  for legislative
                                                                               legislative purposes.
                                                                                             purposes. We   We fear,
                                                                                                                 fear,
 based on
 based      the foregoing
        on the   foregoing record
                            record set  forth in
                                    set forth     this letter
                                               in this letter just
                                                               just related  to the
                                                                    related to   the last  year, let
                                                                                     last year,  let alone   the U.S.
                                                                                                     alone the   U.S.
 government record
 government     record of the three
                       of the three and
                                     and aa half years before
                                            half years   before that,
                                                                 that, that
                                                                       that CFIUS
                                                                             CFIUS has      become compromised
                                                                                       has become      compromised
 by political
 by  political demagoguery
               demagoguery in     this matter.
                               in this           Nonetheless, we
                                       matter. Nonetheless,       we and   the Company
                                                                      and the   Company remain
                                                                                             remain committed
                                                                                                       committed to to
 any
 any process   that honors
      process that          the law
                     honors the  law and
                                      and CFIUS
                                          CFIUS norms.
                                                    norms. In    this vein,
                                                              In this vein, we
                                                                             we look
                                                                                  look forward
                                                                                         forward toto aa meaningful,
                                                                                                         meaningful,
 re-started
 re-started engagement     with CFIUS
             engagement with     CFIUS at at your
                                             your convenience.
                                                   convenience.

                                                   Best regards,
                                                   Best regards,

 By:
 By:                                                           By:
                                                               By:

 Michael E.
 Michael E. Leiter
            Leiter                                             David Fagan
                                                               David Fagan
 Skadden,
 Skadden, Arps,
          Arps, Slate, Meagher &
                Slate, Meagher &                               Covington & Burling
                                                               Covington &  Burling LLP
                                                                                     LLP
 Flom LLP
 Flom LLP                                                      One
                                                               One CityCenter
                                                                   CityCenter
 1440 New York
 1440 New   York Avenue,  N.W.
                 Avenue, N.W.                                  850
                                                               850 Tenth
                                                                   Tenth Street, NW
                                                                         Street, NW
 Washington, DC.
 Washington, DC. 20005-2111
                   20005-2111                                  Washington, DC
                                                               Washington, DC 20001-4956
                                                                                 20001-4956

 Cc: Paul Rosen,
 Cc: Paul Rosen, Assistant
                 Assistant Secretary
                           Secretary of the Treasury
                                     of the          for Investment
                                            Treasury for Investment Security
                                                                    Security

 Enclosure
 Enclosure


 5
   David Shepardson,
 5 David                “TikTok divestment
          Shepardson, "TikTok                 bill would
                                 divestment bill   would give government stronger
                                                         give government stronger legal
                                                                                  legal position, US
                                                                                        position, US
 DOJ says,”
 DOJ          Reuters (Mar.
       says," Reuters  (Mar. 8, 2024), https://www.reuters.com/world/us/bytedance-tiktok-
                             8, 2024), https://www.reuters.com/world/us/bytedance-tiktok-
 divestment-bill-would-give-government-stronger-legal-position-2024-03-08/;
 divestment-bill-would-give-government-stronger-legal-position-2024-03-08/; DavidDavid Shepardson
                                                                                        Shepardson
 (@davidshepardson), X
 (@davidshepardson),       (Mar. 8,
                         X (Mar.    2024 5:22
                                 8, 2024        PM),
                                          5:22 PM),
 https://twitter.com/davidshepardson/status/1766228113887768931.
 https://twitter. com/davidshepardson/status/1766228113887768931 .




                                                  APP-425
                                                  APP-425
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                      EXHIBIT A
                      EXHIBIT A




                               APP-426
                               APP-426
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                                         CONFIDENTIAL
                                         CONFIDENTIAL PURSUANT
                                                        PURSUANT TO TO 50
                                                                        50 U.S.C.
                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                             U.S.C. §§ 552
                                                                                       552
                                                              Parties’ Draft as
                                                              Parties' Draft as of 8/23/22
                                                                                of 8/23/22


                         DRAFT NATIONAL
                         DRAFT NATIONAL SECURITY AGREEMENT
                                        SECURITY AGREEMENT

 This  NATIONAL SECURITY
 This NATIONAL         SECURITY AGREEMENT               (“Agreement”) is
                                     AGREEMENT ("Agreement")                is made
                                                                               made as
                                                                                     as of [date] (the
                                                                                        of [date] (the
 "Effective   Date”), by
 “Effective Date"),     by and
                           and among:
                               among: (i) (i) ByteDance
                                              ByteDance Ltd.,
                                                           Ltd., aa Cayman
                                                                    Cayman Islands
                                                                              Islands exempted
                                                                                      exempted company
                                                                                                  company
 (“ByteDance”); (ii)
 ("ByteDance");     (ii) TikTok   Ltd., aa Cayman
                         TikTok Ltd.,      Cayman Islands
                                                     Islands exempted
                                                              exempted company       (“TikTok Ltd.”);
                                                                          company ("TikTok       Ltd.");
 (iii) TikTok
 (iii) TikTok Inc.,
               Inc., aa California
                        California corporation     (“TikTok Inc.,”
                                    corporation ("TikTok       Inc.," and   together with
                                                                      and together   with ByteDance,
                                                                                           ByteDance, TikTok
                                                                                                        TikTok
 Ltd., and,
 Ltd.,       upon its
        and, upon its joinder
                       joinder to
                               to this
                                  this Agreement,
                                       Agreement, TikTok        U.S. Data
                                                      TikTok U.S.     Data Security
                                                                             Security Inc. (“TTUSDS”), the
                                                                                      Inc. ("TTUSDS"),     the
 “Transaction Parties”);
 "Transaction    Parties"); and    (iv) [•],
                              and (iv)  [•], (together,
                                              (together, the
                                                         the "CFIUS     Monitoring Agencies,"
                                                             “CFIUS Monitoring         Agencies,” oror
 “CMAs,” and
 "CMAs,"         the CMAs
             and the          together with
                       CMAs together     with the
                                                the Transaction    Parties, the
                                                    Transaction Parties,    the "Parties")
                                                                                “Parties”) on  behalf of
                                                                                            on behalf     the
                                                                                                       of the
 Committee
 Committee on    Foreign Investment
              on Foreign    Investment in in the
                                              the United
                                                  United States   (“CFIUS”).
                                                          States ("CFIUS").

                                                RECITALS
                                                RECITALS

 WHEREAS, CFIUS
 WHEREAS,     CFIUS received   written notification,
                      received written  notification, dated May 27,
                                                      dated May  27, 2020,
                                                                     2020, including
                                                                           including all  information
                                                                                      all information
 and
 and documentary
     documentary materials
                   materials subsequently
                             subsequently submitted
                                           submitted inin connection therewith, pursuant
                                                          connection therewith, pursuant toto Section
                                                                                              Section
 721
 721 of the Defense
     of the Defense Production
                     Production Act  of 1950,  as amended   (“Section 721”), of a transaction
                                Act of 1950, as amended ("Section 721"), of a transaction that that
 was the
 was the subject
         subject of
                 of CFIUS
                    CFIUS Case   20-100;
                           Case 20-100;

 WHEREAS, the
 WHEREAS,      the transaction
                   transaction involved
                               involved the
                                        the merger
                                              merger of
                                                     of aa wholly
                                                           wholly owned
                                                                  owned subsidiary
                                                                        subsidiary of ByteDance
                                                                                   of ByteDance
 with and
 with     into musical.ly
      and into              (“Musical.ly”), aa Cayman
                musical.ly ("Musical.ly"),     Cayman Islands
                                                        Islands exempted
                                                                exempted company,
                                                                         company, on
                                                                                   on
 November 23,
 November   23, 2017
                 2017 (the
                       (the "Transaction");
                            “Transaction”);

 WHEREAS, CFIUS
 WHEREAS,     CFIUS determined   that the
                      determined that the Transaction
                                          Transaction constituted
                                                      constituted aa "covered
                                                                     “covered transaction"
                                                                              transaction” for
                                                                                           for
 purposes
 purposes of
          of Section
             Section 721;
                     721;

 WHEREAS, CFIUS
 WHEREAS,                undertook aa review
                CFIUS undertook         review and  investigation of
                                               and investigation      the effects
                                                                   of the effects of the Transaction
                                                                                  of the Transaction on the
                                                                                                     on the
 national
 national security   interests of
          security interests      the United
                               of the United States,  including aa risk-based
                                              States, including    risk-based analysis,
                                                                               analysis, as
                                                                                         as required by
                                                                                            required by
 Section
 Section 721,
          721, and
                and determined     that there
                     determined that    there were
                                              were risks to the
                                                   risks to the national
                                                                national security
                                                                          security of the United
                                                                                   of the United States
                                                                                                 States
 that arose
 that arose as
            as aa result
                  result of the Transaction;
                         of the Transaction;

 WHEREAS, CFIUS
 WHEREAS,               informed ByteDance,
                CFIUS informed   ByteDance, byby aa letter
                                                    letter dated
                                                           dated July 30, 2020,
                                                                 July 30, 2020, that
                                                                                that CFIUS
                                                                                     CFIUS had
                                                                                            had not
                                                                                                 not
 identified any
 identified any mitigation
                 mitigation options that would
                            options that would resolve
                                               resolve CFIUS’s
                                                         CFIUS' s concerns
                                                                   concerns regarding  the national
                                                                             regarding the national
 security
 security risks
          risks arising from the
                arising from the Transaction;
                                 Transaction;

 WHEREAS, pursuant
 WHEREAS,              to Section
              pursuant to Section 721,
                                  721, CFIUS
                                       CFIUS referred the Transaction
                                             referred the             to the
                                                          Transaction to the President
                                                                             President of the
                                                                                       of the
 United States;
 United States;

 WHEREAS, the
 WHEREAS,     the President
                  President of  the United
                             of the United States
                                           States determined   that provisions
                                                  determined that   provisions of
                                                                               of law,
                                                                                  law, other  than
                                                                                       other than
 Section
 Section 721
         721 and  the International
             and the                Emergency Economic
                      International Emergency   Economic Powers
                                                           Powers Act    (50 U.S.C.
                                                                     Act (50 U.S.C. 1701
                                                                                     1701 et
                                                                                           et seq.),
                                                                                              seq.), do
                                                                                                     do
 not
 not provide
     provide adequate
             adequate and
                       and appropriate
                            appropriate authority to protect
                                        authority to         the national
                                                     protect the national security
                                                                          security of the United
                                                                                   of the United
 States;
 States;

 WHEREAS, the
 WHEREAS,      the President
                   President of  the United
                              of the  United States   issued the
                                               States issued  the Order
                                                                  Order of
                                                                        of August
                                                                           August 14,   2020, Regarding
                                                                                    14, 2020,  Regarding
 the Acquisition
 the Acquisition of  Musical.ly by
                  of Musical.ly   by ByteDance
                                     ByteDance Ltd.Ltd. (85
                                                         (85 Fed.
                                                             Fed. Reg.
                                                                  Reg. 51,297   (Aug. 19,
                                                                        51,297 (Aug.        2020))
                                                                                       19, 2020))
 ("August  14 Order”)
 (“August 14   Order") prohibiting     the acquisition
                         prohibiting the   acquisition byby ByteDance
                                                            ByteDance of   Musical.ly to
                                                                        of Musical.ly   to the
                                                                                           the extent that
                                                                                               extent that
 Musical.ly or
 Musical.ly or any
                any of its assets
                    of its        is used
                           assets is used in
                                           in furtherance
                                              furtherance oror support
                                                               support of,
                                                                       of, or
                                                                           or relating to, Musical.ly's
                                                                              relating to, Musical.ly’s



                                               APP-427
                                               APP-427
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                                           CONFIDENTIAL
                                           CONFIDENTIAL PURSUANT
                                                          PURSUANT TO TO 50
                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 activities  in interstate
 activities in  interstate commerce
                           commerce in   in the
                                            the United
                                                 United States  (“Musical.ly in
                                                         States ("Musical.ly     in the
                                                                                    the United
                                                                                         United States”),
                                                                                                 States"),
 prohibiting   ByteDance’s direct
 prohibiting ByteDance's               or  indirect ownership    of any  interest  in Musical.ly
                                direct or indirect ownership of any interest in Musical.ly in      in the
                                                                                                      the United
                                                                                                          United
 States,
 States, and
         and inin order  to effectuate
                  order to               the August
                            effectuate the   August 1414 Order,
                                                          Order, on
                                                                  on such   written conditions
                                                                     such written     conditions as
                                                                                                  as CFIUS
                                                                                                      CFIUS may
                                                                                                              may
 impose, requiring
 impose,               ByteDance, its
           requiring ByteDance,       its subsidiaries,
                                          subsidiaries, affiliates,
                                                        affiliates, and
                                                                    and Chinese
                                                                          Chinese shareholders
                                                                                    shareholders to to divest
                                                                                                       divest all
                                                                                                              all
 interests and
 interests  and rights  in: (i)
                 rights in: (i) any  tangible or
                                any tangible       intangible assets
                                                or intangible  assets or
                                                                      or property,    wherever located,
                                                                          property, wherever               used to
                                                                                                located, used     to
 enable
 enable or
         or support   ByteDance’s operation
             support ByteDance's       operation of   the TikTok
                                                   of the TikTok application
                                                                    application inin the
                                                                                     the United
                                                                                         United States,
                                                                                                  States, as
                                                                                                          as
 determined
 determined by  by CFIUS;
                   CFIUS; and     (ii) any
                             and (ii)  any data
                                            data obtained
                                                  obtained or
                                                            or derived
                                                               derived from
                                                                         from TikTok
                                                                               TikTok application
                                                                                         application oror
 Musical.ly application
 Musical.ly                 users in
               application users    in the
                                       the United
                                            United States  (clauses (i)
                                                    States (clauses  (i) and  (ii), collectively,
                                                                         and (ii),                the
                                                                                    collectively, the
 “Divestment”);
 "Divestment");

 WHEREAS, the
 WHEREAS,      the August
                    August 14
                            14 Order
                                Order authorizes
                                       authorizes CFIUS,    until such
                                                    CFIUS, until        time as
                                                                  such time     the Divestment
                                                                             as the Divestment isis
 completed
 completed and   verified to
             and verified  to the
                              the satisfaction
                                  satisfaction of
                                                of CFIUS,  to implement
                                                   CFIUS, to  implement measures     it deems
                                                                           measures it  deems necessary
                                                                                               necessary
 and
 and appropriate  to verify
      appropriate to verify compliance    with the
                             compliance with     the August
                                                     August 14
                                                            14 Order
                                                                Order and   to ensure
                                                                        and to        that the
                                                                               ensure that the operations
                                                                                               operations
 of the TikTok
 of the TikTok application
                application are
                              are carried
                                  carried out  in such
                                          out in  such aa manner
                                                          manner as  to ensure
                                                                  as to ensure protection
                                                                                protection of the national
                                                                                           of the national
 security interests of
 security interests    the United
                    of the United States;
                                   States;

 WHEREAS, ByteDance
 WHEREAS,       ByteDance filed
                           filed aa petition  for review
                                    petition for  review of  the August
                                                          of the August 14
                                                                        14 Order
                                                                            Order and the related
                                                                                  and the related CFIUS
                                                                                                  CFIUS
 actions in the
 actions in the U.S.
                U.S. Court
                     Court of
                           of Appeals
                               Appeals for    the District
                                          for the District of
                                                           of Columbia
                                                              Columbia Circuit
                                                                        Circuit on November 10,
                                                                                on November        2020
                                                                                               10, 2020
 (the "Petition"),
 (the “Petition”), and the adjudication
                   and the adjudication of of such
                                               such action
                                                    action has  been held
                                                           has been       in abeyance
                                                                     held in abeyance pending
                                                                                      pending ongoing
                                                                                                ongoing
 discussions  with CFIUS;
 discussions with  CFIUS;

 WHEREAS, without
 WHEREAS,      without admission
                        admission ofof fault
                                       fault or liability, ByteDance
                                             or liability, ByteDance and   the CMAs,
                                                                       and the  CMAs, on  behalf of
                                                                                       on behalf  of
 CFIUS,
 CFIUS, are
          are entering into this
              entering into this Agreement
                                 Agreement withwith the
                                                    the understanding
                                                        understanding that
                                                                        that this
                                                                             this Agreement  will resolve
                                                                                  Agreement will  resolve
 the findings
 the findings and
              and concerns
                   concerns reflected   in the
                             reflected in  the August
                                               August 1414 Order,  including the
                                                            Order, including  the aforementioned
                                                                                  aforementioned
 Petition; and
 Petition; and

 WHEREAS, each
 WHEREAS,         each of   the Transaction
                         of the                Parties as
                                Transaction Parties    as of the Effective
                                                          of the  Effective Date
                                                                            Date affirms   that it
                                                                                 affirms that   it is
                                                                                                   is
 acknowledging
 acknowledging and   and entering    into this
                           entering into  this Agreement    with the
                                               Agreement with     the understanding
                                                                      understanding that:
                                                                                      that: (i)
                                                                                            (i) there
                                                                                                there is
                                                                                                      is no
                                                                                                         no
 presumption
 presumption that that aa waiver
                          waiver or
                                  or exception    will be
                                      exception will   be granted
                                                          granted to
                                                                   to any
                                                                      any provision
                                                                          provision of   this Agreement;
                                                                                     of this  Agreement; andand
 (ii) failure
 (ii)          to abide
      failure to  abide byby this
                             this Agreement
                                   Agreement is is subject to all
                                                   subject to all remedies
                                                                  remedies available   to the
                                                                            available to  the U.S.
                                                                                              U.S. Government
                                                                                                     Government
 (“USG”), including
 ("USG"),     including those
                           those stated
                                  stated herein;
                                         herein;

 NOW, THEREFORE,
 NOW,   THEREFORE, pursuant      to applicable
                        pursuant to applicable law, including Section
                                               law, including  Section 721
                                                                        721 and the August
                                                                            and the August 14
                                                                                            14
 Order, the CMAs,
 Order, the CMAs, acting
                   acting on behalf of
                          on behalf  of CFIUS,
                                        CFIUS, hereby
                                                hereby enter  into this
                                                        enter into this Agreement  with the
                                                                        Agreement with  the
 Transaction Parties:
 Transaction Parties:

                                                   ARTICLE II
                                                   ARTICLE

                                          DEFINITION OF
                                          DEFINITION OF TERMS
                                                        TERMS

         Definitions. As
         Definitions.    used in
                      As used   in this
                                   this Agreement,
                                        Agreement, capitalized   terms shall
                                                     capitalized terms       be defined
                                                                       shall be  defined as
                                                                                          as set
                                                                                              set forth
                                                                                                  forth
 below; provided
 below;           that capitalized
         provided that              terms used
                       capitalized terms   used in
                                                in this
                                                   this Agreement
                                                        Agreement and
                                                                    and not
                                                                        not defined   in this
                                                                             defined in  this Article
                                                                                               Article II
 shall
 shall have the meanings
       have the meanings assigned
                          assigned toto them
                                        them elsewhere   in the
                                              elsewhere in  the Agreement:
                                                                Agreement:

       1.1
       1.1      “Access” means
                "Access"          to, or
                           means to,     the right
                                      or the  right or
                                                    or ability  to: (1)
                                                       ability to:  (1) enter
                                                                        enter aa physical
                                                                                 physical space    (“Physical
                                                                                            space ("Physical
 Access”); or
 Access");    (2) obtain,
           or (2) obtain, read,
                          read, copy,
                                copy, edit,
                                       edit, divert,
                                             divert, release,
                                                     release, affect,
                                                               affect, alter  the state
                                                                        alter the state of,
                                                                                        of, or
                                                                                             or otherwise
                                                                                                otherwise


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                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
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                                                                                  of 8/23/22

 view the
 view  the subject
           subject data
                   data or
                        or systems  in any
                           systems in       form, directly
                                       any form,  directly or indirectly, whether
                                                           or indirectly, whether remotely
                                                                                  remotely or
                                                                                           or
 electronically, including through
 electronically, including  through information
                                     information technology
                                                  technology ("IT")
                                                               (“IT”) systems, cloud computing
                                                                      systems, cloud computing
 platforms,
 platforms, networks,
             networks, security
                        security systems,
                                 systems, software,
                                           software, and
                                                     and hardware              Access”). Access
                                                                    (“Logical Access").
                                                          hardware ("Logical             Access shall
                                                                                                shall
 be construed  broadly  to include rather than exclude   considered  conduct.
 be construed broadly to include rather than exclude considered conduct.

          1.2
          1.2     “Affiliate” or
                  "Affiliate"     “Affiliates” means,
                               or "Affiliates"          with respect
                                                means, with           to aa specified
                                                              respect to               Person, another
                                                                            specified Person,   another
 Person that
 Person   that directly
               directly or indirectly, through
                        or indirectly, through one
                                                one or
                                                     or more  intermediaries, Controls,
                                                        more intermediaries,               is Controlled
                                                                                Controls, is              by,
                                                                                              Controlled by,
 or  is under
 or is  under common
              common Control      with the
                         Control with   the Person
                                            Person specified;             that for
                                                               provided that
                                                    specified; provided        for purposes
                                                                                   purposes of   this
                                                                                              of this
 Agreement,
 Agreement, (i)(i) TTUSDS
                   TTUSDS and     its Personnel
                              and its Personnel shall
                                                 shall not  be considered
                                                       not be  considered Affiliates
                                                                            Affiliates of ByteDance, and
                                                                                       of ByteDance,    and
 (ii) third-party
 (ii) third-party shareholders
                   shareholders of  ByteDance also
                                 of ByteDance    also shall
                                                      shall not be considered
                                                            not be considered Affiliates
                                                                                 Affiliates of ByteDance.
                                                                                            of ByteDance.

         1.3
         1.3      "Architecture    Diagrams” means
                  “Architecture Diagrams"        means one
                                                        one or
                                                             or more
                                                                more high-level
                                                                      high-level outlines,  using
                                                                                  outlines, using
 functional  blocks and
 functional blocks    and line illustrations for
                          line illustrations     graphical description,
                                             for graphical  description, of the end-to-end
                                                                         of the end-to-end system
                                                                                             system
 concept
 concept and
          and relationships,
               relationships, constraints,
                               constraints, and  boundaries between
                                             and boundaries   between components
                                                                       components forfor or
                                                                                         or supporting  the
                                                                                             supporting the
 TikTok   U.S. App
 TikTok U.S.    App oror TikTok   U.S. Platform
                         TikTok U.S.    Platform and  that include  detailed explanations   or annotations
                                                  and that include detailed explanations or annotations
 identifying: (1)
 identifying:  (1) operational
                   operational functionality;   (2) ownership,
                                 functionality; (2) ownership, control,
                                                                control, and  Logical Access
                                                                          and Logical   Access rights,
                                                                                                rights,
 capabilities,
 capabilities, and
               and limitations;
                    limitations; and   (3) system
                                  and (3)          input and
                                           system input  and output
                                                             output capabilities
                                                                     capabilities and
                                                                                  and limitations.
                                                                                       limitations.

          1.4
          1.4     “CFIUS Restricted
                  "CFIUS      Restricted Persons”
                                            Persons" means,      wherever located:
                                                         means, wherever               (1) the
                                                                            located: (1)   the government
                                                                                               government of  of
 any
 any country   identified in
      country identified    in 22
                               22 C.F.R.
                                   C.F.R. §§§§ 126.1(d)(1)
                                               126.1(d)(1) and     (2) (each,
                                                              and (2)            “CFIUS Restricted
                                                                       (each, aa "CFIUS     Restricted
 Country”)
 Country") or or any
                 any department,
                      department, agency,
                                      agency, or    instrumentality thereof;
                                                or instrumentality    thereof; (2)
                                                                                (2) any  Person organized,
                                                                                     any Person   organized,
 domiciled,
 domiciled, headquartered,
              headquartered, or      with its
                                 or with  its principal
                                              principal place
                                                          place of  business in
                                                                of business   in aa CFIUS   Restricted Country;
                                                                                    CFIUS Restricted    Country;
 (3) any
 (3) any natural   Person with
          natural Person    with nationality
                                   nationality of
                                                of aa CFIUS   Restricted Country
                                                      CFIUS Restricted     Country whowho is
                                                                                           is not
                                                                                              not also (a) aa U.S.
                                                                                                  also (a)    U.S.
 citizen, (b) lawfully
 citizen, (b) lawfully admitted
                         admitted forfor permanent
                                         permanent residence
                                                       residence as
                                                                  as defined   by 88 U.S.C.
                                                                      defined by      U.S.C. §§ 1101(a)(20),
                                                                                                1101(a)(20), oror
 (c) a protected  individual    as  defined  by  8 U.S.C.   § 1324b(a)(3);
 (c) a protected individual as defined by 8 U.S.C. § 1324b(a)(3); or (4)     or  (4)  any
                                                                                      any natural
                                                                                          natural  Person
                                                                                                   Person
 working or
 working   or residing
              residing inin aa CFIUS    Restricted Country.
                               CFIUS Restricted      Country. CFIUS       Restricted Persons
                                                                CFIUS Restricted       Persons include
                                                                                                include any
                                                                                                         any
 Person who,
 Person   who, to
                to the
                   the best
                       best of   the Transaction
                              of the                 Parties’ knowledge
                                      Transaction Parties'                 based on
                                                              knowledge based          information reasonably
                                                                                    on information   reasonably
 available  to them,
 available to  them, is
                      is owned,
                          owned, Controlled      by, or
                                    Controlled by,    or acting
                                                         acting on   behalf of
                                                                on behalf   of aa CFIUS    Restricted Person;
                                                                                  CFIUS Restricted     Person;
 provided, however,
 provided,              that for
             however, that    for purposes
                                  purposes of    this Agreement,
                                              of this Agreement, TTUSDS
                                                                     TTUSDS shallshall not be considered
                                                                                       not be  considered aa
 CFIUS    Restricted Person.
 CFIUS Restricted     Person.

          1.5
          1.5     "Content   Delivery Network”
                  “Content Delivery     Network" or    “CDN” means
                                                    or "CDN"     means servers
                                                                       servers and
                                                                               and related   infrastructure
                                                                                    related infrastructure
 that is
 that is used
         used for  the delivery
              for the  delivery of
                                of static
                                   static and
                                          and live
                                              live content  to the
                                                   content to  the TikTok U.S. App
                                                                   TikTok U.S.        (including
                                                                                App (including
 livestreaming
 livestreaming and
                 and communication
                      communication services)     that require
                                        services) that          geographical distribution
                                                       require geographical                to address
                                                                             distribution to  address
 latency  issues and
 latency issues  and cannot
                      cannot reside
                              reside exclusively   within the
                                     exclusively within   the TTP’s
                                                              TTP's secure
                                                                     secure cloud  infrastructure.
                                                                            cloud infrastructure.

        1.6
         1.6   “Content Promotion
               "Content                and Filtering”
                           Promotion and   Filtering" means   the promotion
                                                       means the  promotion or  filtering of
                                                                             or filtering  of content
                                                                                              content
 on the TikTok U.S.  App  outside the context of the Recommendation     Engine, either
 on the TikTok U.S. App outside the context of the Recommendation Engine, either throughthrough
 human  intervention or
 human intervention     technical measures,
                     or technical           including relevant
                                  measures, including  relevant algorithms,
                                                                algorithms, rules,
                                                                            rules, logic
                                                                                   logic and
                                                                                          and
 guidelines.
 guidelines.

         1.7
         1.7    “Control” (including
                "Control"  (including the
                                       the terms “Controlled by”
                                           terms "Controlled  by" and   “under common
                                                                   and "under   common Control
                                                                                           Control
 with”) means
 with")        the power,
        means the  power, direct
                          direct or indirect, whether
                                 or indirect, whether or
                                                      or not
                                                         not exercised, to determine,
                                                             exercised, to determine, direct,
                                                                                      direct, or
                                                                                              or
 decide important matters
 decide important matters affecting
                          affecting aa Person,
                                       Person, whether
                                               whether by
                                                       by ownership
                                                           ownership of
                                                                      of equity interests, contract,
                                                                         equity interests, contract,
 or
 or otherwise.
    otherwise.



                                                         33
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                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

         1.8
         1.8       “Creator” means
                   "Creator"    means aa TikTok    U.S. User
                                          TikTok U.S.     User who
                                                                who has
                                                                      has aa contractual
                                                                             contractual relationship    with
                                                                                          relationship with
 TikTok
 TikTok Inc.
          Inc. or
                or one
                   one of  its Affiliates
                       of its             (other than
                               Affiliates (other than contractual
                                                        contractual relationships applicable to all TikTok
                                                                      relationships  applicable   to all TikTok
 U.S. Users,
 U.S. Users, e.g.,
               e.g., acceptance
                     acceptance of   the Terms
                                  of the  Terms of
                                                 of Service)
                                                     Service) for   the purpose
                                                                for the purpose ofof promoting
                                                                                     promoting thethe individual
                                                                                                      individual
 or
 or his
    his or
        or her  brand, to
            her brand,  to earn
                           earn revenue
                                 revenue from
                                           from his
                                                 his or
                                                     or her
                                                         her creative
                                                             creative output,
                                                                       output, or
                                                                                or for
                                                                                   for another
                                                                                       another promotional
                                                                                                 promotional
 purpose   that is
 purpose that   is intended
                   intended toto advance   the commercial
                                 advance the                  interests, following,
                                               commercial interests,     following, or   brand of
                                                                                      or brand      the
                                                                                                of the
 individual.
 individual.

          1.9
          1.9       “Data Flow
                   "Data            Diagrams” means
                             Flow Diagrams"     means one
                                                        one or
                                                            or more
                                                               more high-level
                                                                     high-level outlines,  using functional
                                                                                 outlines, using  functional
 blocks and
 blocks  and line    illustrations for
               line illustrations   for graphical
                                        graphical description
                                                  description and
                                                               and detailed
                                                                   detailed explanation,
                                                                            explanation, of   the end-to-end
                                                                                           of the end-to-end
 flow
 flow of
       of data   to support
           data to  support or or operate the TikTok
                                  operate the          U.S. App
                                              TikTok U.S.   App or
                                                                 or TikTok   U.S. Platform,
                                                                    TikTok U.S.   Platform, including
                                                                                              including what
                                                                                                        what
 data
 data or  information will
       or information     will be
                                be input
                                   input and
                                         and output  from the
                                              output from  the system, where the
                                                               system, where   the data
                                                                                   data or information will
                                                                                        or information   will
 come
 come from
        from and
               and gogo to,
                         to, and  where the
                             and where   the data
                                             data or information will
                                                  or information  will be
                                                                       be stored.  Data Flow
                                                                          stored. Data  Flow Diagrams
                                                                                                Diagrams
 shall
 shall also  identify: (1)
       also identify:    (1) the
                              the operation
                                  operation performed;
                                            performed; and   (2) ownership,
                                                         and (2) ownership, control,
                                                                              control, and  Logical Access
                                                                                       and Logical   Access
 rights,
 rights, capabilities,
         capabilities, andand limitations.
                               limitations.

         1.10     “Dedicated Transparency
         1.10 "Dedicated       Transparency Center”
                                              Center" or   “DTC” means
                                                        or "DTC"   means physical
                                                                           physical facilities,
                                                                                     facilities,
 processing
 processing resources,
             resources, and
                         and network
                              network storage that are
                                      storage that are established by ByteDance
                                                       established by  ByteDance inin the
                                                                                      the DTC
                                                                                           DTC
 Approved
 Approved Countries
             Countries for  the express
                        for the express purpose
                                        purpose of
                                                of enabling
                                                   enabling security  inspections, reviews,
                                                             security inspections,  reviews, and
                                                                                              and
 verification of
 verification     the Source
               of the Source Code
                              Code and  Related Files
                                   and Related  Files by
                                                      by TTUSDS,
                                                         TTUSDS, thethe TTP,
                                                                        TTP, and
                                                                              and other   third parties
                                                                                   other third   parties
 pursuant  to this
 pursuant to  this Agreement.
                   Agreement.

         1.11
         1.11     "Excepted Data” means
                  “Excepted Data" means each
                                        each of the following:
                                             of the following:

                 (1)
                 (1)     data that Creators
                         data that Creators affirmatively
                                             affirmatively authorize  to be
                                                            authorize to be shared,
                                                                            shared, or
                                                                                    or otherwise
                                                                                       otherwise
 initiate the
 initiate the sharing, with TikTok
              sharing, with TikTok Inc.
                                    Inc. or its Affiliates
                                         or its Affiliates for the purpose
                                                           for the purpose of
                                                                           of advancing  the Creators’
                                                                              advancing the  Creators'
 commercial
 commercial position
               position on the TikTok
                        on the         U.S. App;
                               TikTok U.S.   App;

                (2)
                (2)     data fields in
                        data fields in the
                                       the formats
                                           formats specified
                                                   specified inin Annexes
                                                                  Annexes AA and
                                                                              and BB hereto that are:
                                                                                     hereto that      (i)
                                                                                                 are: (i)
 categories
 categories of
            of engineering
               engineering and  business data
                           and business    data metrics
                                                metrics or (ii) categories
                                                        or (ii) categories of interoperability data,
                                                                           of interoperability data,
 respectively;
 respectively;

                (3)
                (3)     data fields in
                        data fields in the
                                       the formats
                                           formats specified in Annex
                                                   specified in Annex C that are
                                                                      C that are categories
                                                                                 categories of
                                                                                            of e-
                                                                                               e-
 commerce
 commerce data
            data for transactions conducted
                 for transactions             through the
                                  conducted through   the TikTok  U.S. App
                                                          TikTok U.S.  App and
                                                                           and TikTok   U.S.
                                                                                 TikTok U.S.
 Platform ("E-Commerce
 Platform                   Data”), provided
          (“E-Commerce Data"),                 that:
                                     provided that:

                        (i)
                        (i)     the data
                                the       is necessary
                                     data is necessary for
                                                        for commercial
                                                            commercial purposes
                                                                         purposes related to the
                                                                                  related to the sale
                                                                                                 sale of
                                                                                                      of
         the goods
         the goods and
                   and services  initiated by
                       services initiated  by the
                                               the TikTok   U.S. User,
                                                   TikTok U.S.   User, including
                                                                       including the
                                                                                 the data
                                                                                     data required  to
                                                                                          required to
         be shared
         be        with third
            shared with third parties  involved in
                              parties involved   in the
                                                    the transaction;
                                                        transaction;

                         (ii)
                         (ii)     prior to the
                                  prior to the use
                                               use of
                                                   of said
                                                       said data
                                                            data as E-Commerce Data,
                                                                 as E-Commerce   Data, aa TikTok U.S.
                                                                                          TikTok U.S.
         User is notified that  such data  may  be shared   outside the United States with ByteDance
         User is notified that such data may be shared outside the United States with ByteDance
         and
         and affiliates
             affiliates for the purposes
                        for the purposes described    in the
                                           described in  the aforementioned
                                                             aforementioned subparagraph;
                                                                             subparagraph; and
                                                                                             and

                       (iii) after
                       (iii)   after one (1) year
                                     one (1) year from the date
                                                  from the date of
                                                                of sale, E-Commerce Data
                                                                   sale, E-Commerce     Data shall   be
                                                                                               shall be
         maintained
         maintained exclusively by TTUSDS
                    exclusively by  TTUSDS except    when the
                                              except when  the data  is required
                                                                data is          to fulfill
                                                                        required to fulfill an
                                                                                            an




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                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
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         authorized
         authorized e-commerce
                    e-commerce function
                                 function as
                                          as described in Annex
                                             described in Annex C,  which may
                                                                 C, which      be modified
                                                                           may be          in
                                                                                  modified in
         consultation with the
         consultation with the Security
                               Security Committee  through aa protocol
                                        Committee through     protocol approved by the
                                                                       approved by the CMAs;
                                                                                       CMAs;

                (4)
                (4)     hashes
                        hashes of username, phone
                               of username,   phone number,
                                                    number, email
                                                             email address,
                                                                   address, or
                                                                            or OpenID,
                                                                               OpenID, solely
                                                                                        solely for
                                                                                               for
 the purpose
 the purpose of
             of determining  whether aa user
                determining whether     user should be routed
                                             should be        to the
                                                       routed to the TikTok U.S. Platform,
                                                                     TikTok U.S. Platform, shall
                                                                                            shall
 not be considered
 not be             Protected Data;
        considered Protected  Data; and
                                    and

                (5)
                (5)     additional
                        additional categories
                                   categories of
                                              of data,
                                                 data, as
                                                       as approved by the
                                                          approved by the CMAs, in their
                                                                          CMAs, in their sole
                                                                                         sole
 discretion
 discretion pursuant to Section
            pursuant to Section 11.1
                                11.1

       1.12   “Executable Code”
       1.12 "Executable    Code" means   the binary,
                                   means the binary, machine-readable
                                                     machine-readable Software
                                                                      Software code
                                                                               code derived
                                                                                    derived
 from
 from Source
      Source Code
             Code and Related Files.
                  and Related Files.

         1.13    “Existing Network
         1.13 "Existing                 Diagram” means
                            Network Diagram"        means aa diagram
                                                             diagram providing
                                                                      providing aa complete
                                                                                   complete description
                                                                                              description
 of the Transaction
 of the              Parties’ network
        Transaction Parties'            topology, router
                               network topology,   router and
                                                          and server technology of
                                                              server technology      its U.S.
                                                                                  of its U.S. network
                                                                                              network
 and
 and any  U.S. networks
      any U.S. networks of   its Affiliates
                          of its            for operating
                                 Affiliates for operating or
                                                          or supporting the TikTok
                                                             supporting the           U.S. App
                                                                            TikTok U.S.    App or
                                                                                                or
 TikTok   U.S. Platform
 TikTok U.S.   Platform as
                         as of  the Effective
                            of the  Effective Date.
                                              Date.

          1.14
          1.14 "Key      Management” means
                   “Key Management"        means any    Personnel involved
                                                    any Personnel   involved in
                                                                              in the
                                                                                 the leadership
                                                                                     leadership ofof
 TTUSDS,      including the
 TTUSDS, including       the general
                             general manager,
                                      manager, president,
                                                  president, chief
                                                             chief executive
                                                                   executive officer,
                                                                               officer, chief  information
                                                                                        chief information
 officer,
 officer, chief  technology officer,
          chief technology    officer, chief
                                       chief operating
                                              operating officer,  general counsel,
                                                         officer, general  counsel, or
                                                                                     or equivalent
                                                                                        equivalent positions
                                                                                                     positions
 (to the
 (to the extent  that such
         extent that  such positions
                            positions exist),
                                       exist), such
                                               such other
                                                     other officers  who directly
                                                           officers who   directly report to the
                                                                                   report to  the TTUSDS
                                                                                                  TTUSDS
 Board or
 Board      the TTUSDS
         or the            general manager
                TTUSDS general      manager or  or equivalent,
                                                   equivalent, security
                                                               security leadership
                                                                         leadership roles,
                                                                                     roles, and
                                                                                            and any
                                                                                                  any
 Personnel of
 Personnel   of TTUSDS
                 TTUSDS designated
                            designated as  Key Management
                                        as Key   Management by  by the
                                                                     the CMAs
                                                                         CMAs inin their
                                                                                   their sole
                                                                                         sole discretion
                                                                                               discretion
 pursuant
 pursuant toto Section
               Section 5.1.
                        5.1.

        1.15     “Lawful U.S.
        1.15 "Lawful        U.S. Process”
                                 Process" means   U.S. federal,
                                           means U.S.   federal, state,
                                                                 state, or
                                                                        or local
                                                                           local orders
                                                                                 orders or
                                                                                        or
 authorizations, and  other  orders or legal process, statutory authorizations,  or certifications from
 authorizations, and other orders or legal process, statutory authorizations, or certifications from
 U.S. federal,
 U.S. federal, state,
               state, or
                      or local law enforcement
                         local law enforcement officials   for Access
                                                 officials for         to or
                                                               Access to  or disclosure
                                                                             disclosure of  information,
                                                                                        of information,
 user communications,     or content.
 user communications, or content.

        1.16      “Malicious Code”
        1.16 "Malicious         Code" means
                                        means code   that facilitates
                                                code that              the circumvention
                                                           facilitates the circumvention of    this
                                                                                            of this
 Agreement,
 Agreement, facilitates
               facilitates surveillance  by unauthorized
                           surveillance by   unauthorized parties,
                                                            parties, or
                                                                      or delivers
                                                                         delivers nefarious
                                                                                  nefarious applications
                                                                                             applications or
                                                                                                           or
 programs
 programs toto the
               the devices
                    devices of
                             of TikTok   U.S. Users;
                                TikTok U.S.    Users; and/or
                                                      and/or software
                                                              software or    firmware intended
                                                                          or firmware  intended toto perform
                                                                                                     perform
 an unauthorized process
 an unauthorized             that will
                    process that  will have
                                       have adverse   impacts on
                                             adverse impacts        the confidentiality,
                                                                on the                    integrity, or
                                                                         confidentiality, integrity, or
 availability
 availability of
              of aa system  including aa virus,
                    system including      virus, worm,
                                                 worm, troj
                                                        trojan
                                                            an horse,
                                                                horse, spyware,   forms of
                                                                        spyware, forms    of adware,
                                                                                             adware, or
                                                                                                      or any
                                                                                                         any
 other
 other code-based
       code-based entity    that infects
                     entity that infects aa host.
                                            host.

       1.17  “Master Services
       1.17 "Master           Agreement” or
                     Services Agreement"       “MSA” means
                                           or "MSA"          the master
                                                       means the master services
                                                                        services agreement
                                                                                 agreement
 among ByteDance, TTUSDS,
 among ByteDance, TTUSDS, and  the TTP
                           and the     (the first
                                   TTP (the first TTP being Oracle
                                                  TTP being Oracle Corporation (“Oracle”)).
                                                                   Corporation ("Oracle")).

         1.18
         1.18    “NIST” means
                 "NIST"       the National
                        means the National Institute
                                           Institute of
                                                     of Standards
                                                        Standards and
                                                                  and Technology.
                                                                      Technology.

         1.19
         1.19    “Person” means
                 "Person" means any individual or
                                any individual or entity.
                                                  entity.

         1.20    “Personal Identifier
         1.20 "Personal                Information” means
                            Identifier Information"   means an   individual’s: (1)
                                                             an individual's:  (1) full
                                                                                   full name  (last,
                                                                                        name (last,
 first, middle
 first, middle name); (2) all
               name); (2) all other
                              other names
                                    names and
                                          and aliases used; (3)
                                              aliases used; (3) business
                                                                business address;  (4) country
                                                                         address; (4)   country and
                                                                                                 and


                                                       55
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 city
 city of
      of residence;   (5) date
         residence; (5)   date of   birth; (6)
                                 of birth; (6) place
                                                place of birth; (7)
                                                      of birth; (7) U.S.
                                                                     U.S. Social
                                                                          Social Security
                                                                                 Security number      (where
                                                                                            number (where
 applicable);  (8) national
 applicable); (8)   national identity number, including nationality, date and place of issuance, and
                               identity number,    including  nationality,  date and  place   of issuance,   and
 expiration
 expiration date   (where applicable);
              date (where   applicable); (9)(9) U.S.
                                                U.S. or
                                                      or foreign
                                                         foreign passport
                                                                  passport number
                                                                           number (if(if more   than one,
                                                                                         more than    one, all
                                                                                                            all
 must  be fully
 must be   fully disclosed),
                 disclosed), nationality,
                                nationality, date
                                              date and
                                                   and place
                                                        place of  issuance, and
                                                              of issuance,   and expiration
                                                                                  expiration date
                                                                                               date and,  if aa U.S.
                                                                                                     and, if    U.S.
 visa holder,
 visa          the visa
      holder, the   visa type
                         type and
                                and number,
                                     number, date
                                                date and
                                                     and place
                                                          place of  issuance, and
                                                                 of issuance, and expiration
                                                                                   expiration date;
                                                                                                 date; and  (10)
                                                                                                       and (10)
 dates
 dates and
       and nature
             nature of
                     of foreign   government and
                        foreign government       and foreign
                                                      foreign military
                                                              military service   (where applicable),
                                                                        service (where    applicable), other
                                                                                                         other
 than military
 than military service
                 service at
                          at aa rank below the
                                rank below    the top
                                                  top two
                                                      two non-commissioned
                                                           non-commissioned ranksranks of   the relevant
                                                                                         of the  relevant foreign
                                                                                                           foreign
 country.
 country.

         1.21   “Personnel” means
         1.21 "Personnel"      means any
                                       any employee,
                                           employee, director,
                                                      director, officer,
                                                                officer, manager,
                                                                         manager, agent,
                                                                                  agent, contractor,
                                                                                         contractor,
 or
 or other
    other representative
          representative of
                         of an
                            an entity,
                               entity, and includes the
                                       and includes the respective
                                                        respective successor
                                                                    successor or
                                                                              or assigns
                                                                                 assigns of the
                                                                                         of the
 foregoing.
 foregoing.

          1.22
          1.22 "Protected            Data” means
                      “Protected Data"       means anyany data
                                                            data collected
                                                                   collected from
                                                                                from aa TikTok       U.S. User,
                                                                                           TikTok U.S.     User, including:
                                                                                                                   including:
 (1) user  data    (including    username,    password,      email   address,     phone
 (1) user data (including username, password, email address, phone number, nickname, birth number,    nickname,      birth date
                                                                                                                           date
 or
 or age,
    age, profile      thumbnail, biographical
          profile thumbnail,        biographical information,
                                                   information, genetic
                                                                      genetic or     biometric data
                                                                                 or biometric      data or  information,
                                                                                                        or information,
 appearance,
 appearance, device
                 device contacts
                           contacts list,
                                      list, and
                                            and any   third-party social
                                                any third-party        social media
                                                                                media credentials,
                                                                                         credentials, list
                                                                                                        list of  third-party
                                                                                                             of third-party
 applications     installed on
 applications installed           the same
                              on the  same device
                                              device as    the TikTok
                                                       as the  TikTok U.S.  U.S. App,
                                                                                   App, or or payment
                                                                                              payment account
                                                                                                         account
 information); (2)
 information);       (2) user
                         user content    (including videos,
                              content (including      videos, music,
                                                                 music, pictures,
                                                                            pictures, articles,
                                                                                         articles, hashtags,
                                                                                                    hashtags, captions,
                                                                                                                captions,
 comments,
 comments, direct
                direct messages,
                         messages, andand other
                                            other material     uploaded by
                                                  material uploaded          by users
                                                                                  users including
                                                                                          including private
                                                                                                      private oror
 unpublished content);
 unpublished                  (3) behavioral
                  content); (3)    behavioral data     (including user
                                                data (including        user interaction
                                                                              interaction with
                                                                                             with content,
                                                                                                    content, such
                                                                                                              such as as likes
                                                                                                                         likes
 given, likes
 given,  likes received,
                 received, not     interested, video
                              not interested,   video playtime,
                                                         playtime, shares,
                                                                       shares, follows,
                                                                                  follows, followers,      block list,
                                                                                              followers, block     list,
 favorites,
 favorites, downloads,
              downloads, log-in
                              log-in history,   browsing history,
                                       history, browsing      history, search
                                                                           search history,
                                                                                    history, keystroke
                                                                                               keystroke patterns
                                                                                                            patterns and
                                                                                                                       and
 rhythms,    and    purchase    history);  (4) any  data    that  is collected     on  U.S.
 rhythms, and purchase history); (4) any data that is collected on U.S. user interaction with user  interaction    with
 content
 content on    the TikTok
           on the               U.S. Platform
                      TikTok U.S.     Platform asas an   input into
                                                     an input    into the
                                                                        the Recommendation
                                                                             Recommendation Engine,  Engine, including
                                                                                                                including
 video completion,
 video  completion, not        interested markings,
                          not interested    markings, and      video viewing
                                                          and video      viewing time,      (“User Interaction
                                                                                    time, ("User                      Data”);
                                                                                                      Interaction Data");
 (5) device
 (5) device andand network
                      network data    (including Internet
                                 data (including               Protocol ("IP")
                                                   Internet Protocol         (“IP”) address,
                                                                                       address, cookie
                                                                                                  cookie data,
                                                                                                           data, device
                                                                                                                  device
 identifiers, MAC
 identifiers,   MAC address,
                         address, mobile
                                    mobile carrier,
                                             carrier, network
                                                       network settings,        time zone
                                                                    settings, time      zone settings,
                                                                                               settings, app
                                                                                                         app and     file
                                                                                                               and file
 names,
 names, device
          device clipboard,
                      clipboard, device
                                   device contacts,
                                            contacts, device
                                                        device calendars,
                                                                  calendars, device
                                                                                 device media,
                                                                                           media, source
                                                                                                    source of    user,
                                                                                                             of user,
 Android
 Android ID,ID, Apple
                  Apple ID ID for
                               for Advertisers,
                                    Advertisers, Google
                                                   Google Advertising
                                                               Advertising ID,  ID, any
                                                                                      any other
                                                                                            other ID   for Advertisers,
                                                                                                   ID for  Advertisers,
 device
 device model
         model and   and characteristics,
                          characteristics, operating
                                             operating system        (“OS”), list
                                                          system ("OS"),         list of  installed apps,
                                                                                      of installed   apps, system
                                                                                                             system
 language
 language andand region,
                    region, and    geographic location,
                             and geographic      location, such
                                                              such as     the city,
                                                                      as the   city, state,
                                                                                      state, country,
                                                                                              country, or
                                                                                                        or GPS
                                                                                                            GPS
 coordinates
 coordinates of of thethe device’s
                          device's location);    (6) any
                                     location); (6)   any other
                                                             other personally       identifiable information;
                                                                     personally identifiable        information; and and
 (7) any
 (7) any other      information provided
          other information        provided by by or
                                                  or derivative
                                                      derivative of   of TikTok
                                                                          TikTok U.S.U.S. Users
                                                                                            Users inin connection
                                                                                                       connection withwith
 their use  of  the    TikTok   U.S.   App.   Protected     Data   includes     all of  the
 their use of the TikTok U.S. App. Protected Data includes all of the foregoing even if de-  foregoing    even   if de-
 identified, anonymized,
 identified,   anonymized, or    or aggregated    but shall
                                     aggregated but     shall not    include Excepted
                                                               not include      Excepted Data  Data or  Public Data.
                                                                                                     or Public    Data.
 TikTok    U.S. Platform
 TikTok U.S.       Platform systems
                               systems loglog data  that has
                                              data that    has had
                                                                had all    Protected Data
                                                                      all Protected      Data removed
                                                                                                removed by by the
                                                                                                               the TTP
                                                                                                                     TTP shall
                                                                                                                           shall
 not be Protected
 not be  Protected Data.Data.

        1.23
        1.23 "Public    Data” means
               “Public Data"  means data that is
                                    data that is generally
                                                 generally accessible to users
                                                           accessible to users of the TikTok
                                                                               of the         U.S.
                                                                                      TikTok U.S.
 App, including videos,
 App, including videos, comments,
                        comments, and
                                  and similar user content
                                      similar user content and  includes each
                                                            and includes each of  the following:
                                                                               of the following:

                    (1) feature
                    (1) feature categories
                                categories as
                                           as specified in Annex
                                              specified in       E;
                                                           Annex E;

                    (2) any
                    (2) any content that TikTok
                            content that        U.S. Users
                                         TikTok U.S. Users affirmatively
                                                           affirmatively decide to make
                                                                         decide to make public;
                                                                                        public;



                                                                66
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                 (3) any
                 (3) any hash
                         hash of Public Data;
                              of Public Data; and.
                                              and.

                 (4) additional
                 (4) additional feature
                                feature categories
                                        categories added
                                                   added pursuant to Section
                                                         pursuant to Section 11.2.
                                                                             11.2.

         1.24    “Recommendation Engine”
         1.24 "Recommendation          Engine" means     the algorithms
                                                 means the   algorithms and
                                                                         and related
                                                                             related data
                                                                                     data models   used
                                                                                          models used
 by the
 by the TikTok   U.S. App
        TikTok U.S.   App and
                           and TikTok    U.S. Platform
                                TikTok U.S.   Platform toto rank
                                                            rank content
                                                                 content and
                                                                          and select
                                                                              select content for
                                                                                     content for
 recommendation
 recommendation to to TikTok   U.S. Users,
                      TikTok U.S.   Users, including
                                            including their
                                                       their Source
                                                             Source Code
                                                                     Code and   Related Files,
                                                                           and Related  Files, such
                                                                                               such as
                                                                                                     as
 machine   learning processes,
 machine learning   processes, statistical weights and
                               statistical weights and parameters,
                                                        parameters, and
                                                                     and outputs.   For the
                                                                          outputs. For  the avoidance
                                                                                            avoidance
 of
 of doubt,  the Recommendation
    doubt, the  Recommendation Engine
                                  Engine does
                                           does not  include the
                                                 not include  the Content  Promotion and
                                                                  Content Promotion        Filtering
                                                                                       and Filtering
 algorithms.
 algorithms.

         1.25     “Resident Sole
         1.25 "Resident      Sole U.S.
                                  U.S. Citizen”
                                        Citizen" means
                                                   means an    individual who
                                                            an individual who holds    U.S. citizenship
                                                                                holds U.S.  citizenship and
                                                                                                        and
 currently
 currently has,
            has, and
                 and maintains  for the
                     maintains for  the duration
                                        duration of
                                                  of his
                                                     his or
                                                          or her
                                                             her responsibilities  in connection
                                                                  responsibilities in             with this
                                                                                      connection with  this
 Agreement,
 Agreement, residency    in the
               residency in the United
                                United States
                                        States as
                                               as determined
                                                   determined by by meeting   the substantial
                                                                     meeting the  substantial presence  test
                                                                                              presence test
 set forth in
 set forth in 26
              26 U.S.C.
                 U.S.C. §§ 7701(b)(3),
                           7701(b)(3), and  who is
                                        and who   is not
                                                     not aa citizen
                                                            citizen of
                                                                    of any
                                                                       any other
                                                                           other country.
                                                                                  country.

         1.26     “Resident U.S.
         1.26 "Resident      U.S. Citizen”
                                  Citizen" means
                                            means an    individual who
                                                     an individual who holds   U.S. citizenship
                                                                        holds U.S.    citizenship and
                                                                                                  and
 currently
 currently has,
            has, and
                 and maintains  for the
                     maintains for  the duration
                                        duration of
                                                  of his
                                                     his or
                                                         or her
                                                            her responsibilities  in connection
                                                                responsibilities in              with this
                                                                                     connection with  this
 Agreement,
 Agreement, residency    in the
               residency in the United
                                United States
                                        States as
                                               as determined
                                                  determined by by meeting  the substantial
                                                                   meeting the   substantial presence  test
                                                                                             presence test
 set forth in
 set forth in 26
              26 U.S.C.
                 U.S.C. §§ 7701(b)(3).
                           7701(b)(3).

         1.27   “Software” means
         1.27 "Software"      means aa set
                                       set of instructions that
                                           of instructions that are generated from
                                                                are generated  from source
                                                                                      source code
                                                                                             code and
                                                                                                  and
 used to
 used to operate
         operate electronic
                 electronic devices
                             devices and
                                     and execute
                                          execute specific  tasks on
                                                   specific tasks on aa device
                                                                        device or
                                                                               or aa system, including
                                                                                     system, including
 executable
 executable code,  tools, platforms,
             code, tools, platforms, and
                                     and related  user manuals.
                                         related user  manuals.

         1.28    “Source Code
         1.28 "Source             and Related
                            Code and    Related Files”
                                                   Files" means:  (1) all
                                                          means: (1)  all of  the actual,
                                                                          of the  actual, human-intelligible
                                                                                           human-intelligible
 Software
 Software code,   including files,
            code, including  files, libraries,
                                    libraries, data
                                               data schemas
                                                     schemas and
                                                              and algorithms     from ByteDance
                                                                   algorithms from     ByteDance and     its
                                                                                                     and its
 Affiliates used  to operate the  TikTok   U.S.  App   or
 Affiliates used to operate the TikTok U.S. App or TikTok TikTok  U.S.
                                                                  U.S.   Platform;
                                                                        Platform;   and
                                                                                    and   (2)
                                                                                          (2) any
                                                                                              any  other
                                                                                                   other
 documentation,
 documentation, specifications,
                   specifications, and
                                    and artifacts  from ByteDance
                                         artifacts from  ByteDance and     its Affiliates
                                                                     and its               that are
                                                                               Affiliates that      used to
                                                                                                are used  to
 design,
 design, develop,
         develop, maintain,
                    maintain, modify,
                               modify, operate,    improve, or
                                         operate, improve,   or define  the behavior
                                                                define the   behavior of    the TikTok
                                                                                       of the            U.S.
                                                                                                TikTok U.S.
 Platform or
 Platform     the TikTok
           or the           U.S. App.
                   TikTok U.S.          For the
                                 App. For    the avoidance
                                                 avoidance of
                                                            of doubt,  “Source Code
                                                               doubt, "Source      Code and    Related Files"
                                                                                        and Related    Files”
 shall
 shall not include (1)
       not include  (1) or (2) when
                        or (2) when developed
                                      developed by by TTUSDS.
                                                       TTUSDS.

        1.29    “Source Code
        1.29 "Source      Code Review     Diagrams” means
                                Review Diagrams"       means one
                                                               one or
                                                                    or more
                                                                       more high-level
                                                                              high-level outlines,  using
                                                                                          outlines, using
 descriptive functional blocks
 descriptive functional blocks and  line illustrations
                               and line  illustrations for
                                                       for graphical
                                                           graphical description,
                                                                      description, of  the process
                                                                                    of the          for
                                                                                           process for
 reviewing
 reviewing Source
            Source Code
                    Code and  Related Files
                          and Related  Files that
                                              that identify:
                                                   identify: (1)
                                                             (1) the
                                                                 the operation
                                                                     operation performed;    (2) who
                                                                                performed; (2)   who
 among  the Transaction
 among the               Parties or
             Transaction Parties    the TTP
                                 or the TTP hashas obligations
                                                   obligations or
                                                                or actions to perform;
                                                                   actions to  perform; and  (3) who
                                                                                         and (3) who
 among  the Transaction
 among the               Parties or
             Transaction Parties or TTP
                                    TTP has
                                          has ownership,   Logical Access,
                                               ownership, Logical    Access, or
                                                                              or control.
                                                                                 control.

         1.30    “SPAC Transaction”
         1.30 "SPAC      Transaction" means     the consummation
                                         means the   consummation of   of aa transaction
                                                                             transaction or
                                                                                          or series
                                                                                             series of
                                                                                                    of
 transactions (whether by merger, consolidation, or transfer or issuance of equity interests or
 transactions (whether  by merger,   consolidation, or transfer   or issuance   of equity interests or
 otherwise)  whereby aa special
  otherwise) whereby    special purpose
                                purpose acquisition
                                          acquisition company
                                                      company acquires
                                                                  acquires all
                                                                             all of the equity
                                                                                 of the        interests of
                                                                                        equity interests of
 aa company  (or any
    company (or  any surviving
                     surviving or
                                or resulting
                                   resulting company)
                                             company) or or aa transaction
                                                               transaction having
                                                                             having aa similar
                                                                                       similar effect.
                                                                                               effect.

         1.31
         1.31 "Test   Accounts” means
                “Test Accounts" means accounts
                                       accounts established  by the
                                                established by  the Transaction Parties and
                                                                    Transaction Parties and
 verified and
 verified and approved by the
              approved by the TTP
                              TTP as
                                  as accounts
                                     accounts not
                                              not associated with any
                                                  associated with     individual for
                                                                  any individual     the purpose
                                                                                 for the purpose


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                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
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 of testing operational
 of testing operational functionality
                        functionality and
                                      and enabling
                                          enabling continued innovation and
                                                   continued innovation and refinement
                                                                            refinement of user
                                                                                       of user
 features
 features of the TikTok
          of the         U.S. App
                 TikTok U.S.  App and
                                    and TikTok  U.S. Platform.
                                        TikTok U.S.  Platform.

        1.32    “TikTok Global
        1.32 "TikTok             App” means
                          Global App"  means each
                                             each of the following,
                                                  of the            in their
                                                         following, in their current
                                                                             current and
                                                                                     and future
                                                                                         future
 versions and as the service may evolve:
 versions and as the service may evolve:

                  (1)
                  (1)     the TikTok-branded
                          the TikTok-branded application(s),    including any
                                                application(s), including any regional
                                                                               regional or
                                                                                        or other
                                                                                           other
 jurisdiction-specific versions,
 jurisdiction-specific  versions, that
                                  that are
                                       are accessible by the
                                           accessible by the public  through an
                                                              public through  an online
                                                                                 online application
                                                                                        application
 store (e.g., one
 store (e.g., one offered  by Apple,
                   offered by Apple, Google,
                                      Google, or
                                               or Amazon)
                                                  Amazon) or or an
                                                                an equivalent
                                                                   equivalent method
                                                                               method of
                                                                                       of accessing the
                                                                                          accessing the
 application
 application and   that allows
              and that         users to
                        allows users to consume,
                                        consume, create,
                                                   create, share,
                                                           share, and
                                                                  and otherwise  interact with
                                                                      otherwise interact  with content;
                                                                                               content;
 and
 and

                (2)
                (2)    the TikTok
                       the          web application(s)
                           TikTok web                   that are
                                         application(s) that      used to
                                                              are used to provide  web browser
                                                                           provide web browser users
                                                                                                 users
 with aa TikTok
 with    TikTok product
                product experience
                        experience similar  to the
                                    similar to  the product
                                                    product experience
                                                             experience provided   through the
                                                                         provided through  the
 TikTok-branded
 TikTok-branded application(s)
                  application(s) described in clause
                                 described in         (1) of
                                               clause (1)    this definition
                                                          of this definition on
                                                                             on mobile
                                                                                mobile devices.
                                                                                        devices.

       1.33    “TikTok U.S.
       1.33 "TikTok          Application” or
                        U.S. Application"      “TikTok U.S.
                                            or "TikTok       App” means
                                                        U.S. App"  means all versions of
                                                                         all versions    the
                                                                                      of the
 TikTok
 TikTok Global
        Global App
                App provided to, or
                    provided to, or accessible by, TikTok
                                    accessible by,        U.S. Users.
                                                   TikTok U.S. Users.

         1.34   “TikTok U.S.
         1.34 "TikTok      U.S. Platform”
                                 Platform" means     the infrastructure,
                                             means the   infrastructure, including
                                                                          including the
                                                                                    the IT
                                                                                        IT systems,
                                                                                            systems,
 cloud
 cloud computing
       computing platforms,
                   platforms, servers,
                               servers, networks,
                                        networks, security
                                                    security systems,
                                                             systems, and
                                                                       and equipment    (software and
                                                                            equipment (software    and
 hardware),
 hardware), and
             and all
                 all related
                     related services
                             services and
                                      and program
                                          program elements      that host,
                                                     elements that   host, operate,
                                                                           operate, maintain,
                                                                                    maintain, deploy,
                                                                                               deploy,
 support,
 support, and
          and run the service
              run the  service and
                               and storage
                                   storage facilities
                                            facilities for the TikTok
                                                       for the         U.S. App.
                                                               TikTok U.S.          For avoidance
                                                                              App. For  avoidance ofof
 doubt, the Recommendation
 doubt, the Recommendation Engine
                                Engine shall  be contained
                                        shall be contained and
                                                             and deployed
                                                                  deployed from   within the
                                                                             from within  the TikTok
                                                                                              TikTok
 U.S. Platform.
 U.S. Platform.

         1.35
         1.35    “TikTok U.S.
                 "TikTok U.S. User”
                              User" means:
                                    means:

                 (1)
                 (1)      an individual signing
                          an individual          into the
                                         signing into  the TikTok
                                                           TikTok Global
                                                                   Global App   through an
                                                                            App through  an account that,
                                                                                            account that,
 at the time
 at the time of
             of registration, was attributable
                registration, was               to the
                                   attributable to the United
                                                        United States based upon
                                                               States based  upon any
                                                                                   any of the following
                                                                                       of the following
 means   (with respect to  Sections 1.32(1)(i)–(iv),
 means (with respect to Sections 1.32(1)(i)—(iv),    in
                                                     in  order
                                                         order of
                                                               of priority):
                                                                  priority):

                          (i)
                          (i)       Country
                                    Country code
                                            code of the device
                                                 of the device subscriber identity module
                                                               subscriber identity        (“SIM”)
                                                                                   module ("SIM")
         card;
         card;

                          (ii)
                          (ii)      IP
                                    IP Address;
                                       Address;

                          (iii)
                          (iii)     Mobile Country
                                    Mobile Country Code
                                                   Code associated with the
                                                        associated with the mobile
                                                                            mobile subscription
                                                                                   subscription of
                                                                                                of
         the device;
         the device; or
                     or

                         (iv)
                         (iv)     OS/System  Region (i.e.,
                                  OS/System Region   (i.e., obtained via an
                                                            obtained via an application
                                                                            application programming
                                                                                        programming
         interface ("API")
         interface (“API”) call
                             call provided by the
                                  provided by the OS (either Android
                                                  OS (either  Android or  iOS), which
                                                                       or iOS), which returns
                                                                                       returns aa
         country
         country code);
                  code);

               (2)
               (2)      an individual signing
                        an individual         into the
                                      signing into the TikTok
                                                       TikTok Global
                                                               Global App  through an
                                                                       App through an account that
                                                                                      account that
 has been designated
 has been designated aa "TikTok
                        “TikTok U.S.
                                 U.S. User"
                                      User” account
                                             account pursuant  to Section
                                                      pursuant to Section 11.3;
                                                                          11.3; or
                                                                                or



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                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                (3)
                (3)     for users who
                        for users who areare not
                                             not signing into the
                                                 signing into the TikTok
                                                                  TikTok Global
                                                                         Global App  with aa
                                                                                App with
 registered
 registered account, a device that first accesses the TikTok Global App from an IP address
            account, a device that first  accesses the TikTok   Global App from an IP address located
                                                                                              located
 in the
 in the United
        United States.
               States.

                   (4)
                   (4)      For the
                            For the avoidance
                                    avoidance of
                                              of doubt,
                                                 doubt, Test
                                                        Test Accounts
                                                             Accounts shall
                                                                      shall not be considered
                                                                            not be considered TikTok
                                                                                              TikTok
 U.S. Users.
 U.S. Users.

         1.36
         1.36 "Trust     and Safety
                 “Trust and           Moderation” means
                               Safety Moderation"            the removal
                                                      means the  removal oror downgrading
                                                                              downgrading ofof content
                                                                                               content
 or user accounts
 or user           that are
         accounts that      viewable or
                        are viewable  or eligible for recommendation
                                         eligible for recommendation on     the TikTok
                                                                        on the          U.S. App,
                                                                                TikTok U.S.  App,
 either through technical
 either through technical measures
                            measures or
                                      or human
                                         human review,   in order
                                                 review, in       to meet
                                                            order to       trust and
                                                                     meet trust  and safety guidelines.
                                                                                     safety guidelines.
 Trust
 Trust and
        and Safety Moderation excludes
            Safety Moderation    excludes Content   Promotion and
                                           Content Promotion        Filtering.
                                                                and Filtering.

         1.37   “Trusted Technology
         1.37 "Trusted     Technology Provider”
                                         Provider" or  “TTP” means
                                                    or "TTP"   means Oracle in its
                                                                     Oracle in its capacity
                                                                                   capacity as the
                                                                                            as the
 TTP,
 TTP, or
       or any
          any successor
              successor TTP,
                        TTP, inin each
                                  each case
                                       case operating under an
                                            operating under    MSA consistent
                                                            an MSA             with the
                                                                    consistent with  the
 requirements
 requirements of
               of Section
                  Section 8.2.
                          8.2.

         1.38    “United States”
         1.38 "United     States" or “U.S.” means
                                  or "U.S."        the several
                                            means the  several States, the District
                                                               States, the District of
                                                                                    of Columbia,
                                                                                       Columbia, and
                                                                                                 and
 any territory or
 any territory or possession
                  possession of the United
                             of the United States.
                                           States.

                                                    ARTICLE II
                                                    ARTICLE II

                      FORMATION
                      FORMATION OF
                                OF TIKTOK
                                   TIKTOK U.S. DATA SECURITY
                                          U.S. DATA SECURITY INC.
                                                             INC.

          2.1
          2.1        Formation of
                     Formation    of TikTok    U.S. Data
                                      TikTok U.S.    Data Security
                                                           Security Inc.    By no
                                                                       Inc. By  no later    than one-hundred
                                                                                    later than    one-hundred and and
 eighty  (180) days
 eighty (180)     days following
                        following thethe Effective
                                          Effective Date
                                                     Date (the
                                                           (the "Operational       Date”), ByteDance
                                                                 “Operational Date"),          ByteDance shall
                                                                                                            shall
 establish
 establish TTUSDS
            TTUSDS as     as aa wholly
                                wholly owned
                                         owned subsidiary
                                                  subsidiary of
                                                              of TikTok
                                                                  TikTok Inc.    that is
                                                                            Inc. that  is incorporated
                                                                                           incorporated inin the
                                                                                                              the
 United States.
 United   States. TheThe Transaction      Parties may
                          Transaction Parties      may request
                                                        request anan extension
                                                                      extension of    the Operational
                                                                                  of the                  Date no
                                                                                            Operational Date     no later
                                                                                                                     later
 than one-hundred
 than one-hundred and         sixty-six  (166)  days  following    the  Effective  Date,    in which
                        and sixty-six (166) days following the Effective Date, in which case the       case  the
 Transaction     Parties shall
 Transaction Parties       shall submit
                                 submit toto the
                                             the CMAs
                                                  CMAs aa written
                                                            written request    that includes
                                                                      request that   includes aa summary
                                                                                                   summary of      the
                                                                                                               of the
 actions  taken to
 actions taken     to date,  the reason
                      date, the           for the
                                 reason for   the delay,
                                                   delay, and  the requested
                                                          and the   requested newnew Operational       Date. The
                                                                                       Operational Date.       The
 CMAs
 CMAs maymay non-object,
                 non-object, non-object      with predicate
                                non-object with     predicate conditions,
                                                               conditions, or or object
                                                                                 object to to the
                                                                                              the request
                                                                                                  request for
                                                                                                           for an
                                                                                                                an
 extension
 extension in in their
                 their sole
                        sole discretion.
                              discretion. In   the event
                                            In the        that the
                                                    event that  the CMAs
                                                                     CMAs non-object
                                                                              non-object withwith predicate
                                                                                                   predicate
 conditions
 conditions to to the
                   the request,   the Operational
                       request, the                  Date shall
                                      Operational Date            be extended
                                                           shall be   extended only
                                                                                  only ifif the
                                                                                            the Transaction    Parties
                                                                                                Transaction Parties
 meet  the specified
 meet the   specified conditions
                         conditions to to the
                                          the satisfaction
                                              satisfaction of  the CMAs
                                                            of the  CMAs in  in the
                                                                                the CMAs’
                                                                                     CMAs' sole sole discretion.
                                                                                                      discretion. In In
 the event
 the         that the
     event that     the CMAs
                        CMAs object      to the
                                 object to  the request,  the Operational
                                                 request, the Operational DateDate shall
                                                                                     shall not    be extended.
                                                                                             not be  extended. If     the
                                                                                                                  If the
 CMAs
 CMAs do do not
              not either
                    either object
                            object or
                                    or non-object    with predicate
                                       non-object with    predicate conditions
                                                                       conditions toto the
                                                                                        the request   within seven
                                                                                             request within    seven
 (7) days
 (7) days of
           of receipt,    the lack
                receipt, the   lack of
                                     of action
                                        action shall
                                                shall constitute
                                                      constitute aa non-objection.
                                                                     non-objection.

         2.2
         2.2      Headquarters. By
                  Headquarters.    By nono later  than the
                                           later than   the Operational  Date and
                                                            Operational Date   and at
                                                                                    at all times thereafter,
                                                                                       all times  thereafter,
 ByteDance shall
 ByteDance    shall ensure  that TikTok
                    ensure that            Inc.  and  TTUSDS     maintain  their respective   headquarters
                                  TikTok Inc. and TTUSDS maintain their respective headquarters
 offices
 offices exclusively  in the
         exclusively in   the United
                               United States
                                       States and   that TTUSDS’s
                                              and that    TTUSDS's offices
                                                                      offices are
                                                                              are not
                                                                                  not co-located    with any
                                                                                       co-located with    any
 offices
 offices of ByteDance or
         of ByteDance        its Affiliates
                         or its             without prior
                                 Affiliates without          written approval
                                                      prior written  approval of  the CMAs.
                                                                               of the  CMAs. Immediately
                                                                                                 Immediately
 following  the Operational
 following the                  Date, TTUSDS
                 Operational Date,    TTUSDS shall shall also
                                                         also ensure that its
                                                              ensure that its headquarters
                                                                              headquarters offices
                                                                                             offices are
                                                                                                      are
 maintained
 maintained inin the
                 the United
                     United States
                              States and  that its
                                     and that   its offices
                                                    offices are
                                                            are not
                                                                not co-located   with any
                                                                    co-located with   any offices
                                                                                            offices of
                                                                                                    of
 ByteDance or
 ByteDance       its Affiliates
             or its              without prior
                     Affiliates without          written approval
                                          prior written   approval of  the CMAs.
                                                                    of the           Following the
                                                                           CMAs. Following        the



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                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

 Operational Date, TTUSDS
 Operational Date, TTUSDS shall
                           shall ensure that only
                                 ensure that      its Personnel
                                             only its Personnel are
                                                                are responsible
                                                                    responsible for the day-to-
                                                                                for the day-to-
 day
 day operations
     operations and
                and management
                    management of
                                of TTUSDS’s    business.
                                   TTUSDS's business.

        2.3
        2.3     TTUSDS
                TTUSDS Joinder.     By no
                           Joinder. By no later than the
                                          later than  the Operational  Date, ByteDance
                                                          Operational Date,  ByteDance shall
                                                                                       shall ensure
                                                                                             ensure
 that TTUSDS
 that          joins this
      TTUSDS joins   this Agreement  by submitting
                          Agreement by  submitting toto the
                                                        the CMAs
                                                            CMAs aa joinder
                                                                     joinder agreement
                                                                             agreement signed by aa
                                                                                       signed by
 duly
 duly authorized
      authorized representative
                 representative of
                                of TTUSDS    that is
                                   TTUSDS that    is in
                                                     in the
                                                        the form
                                                            form at
                                                                 at Annex  D.
                                                                    Annex D.

         2.4
         2.4      CFIUS   Functions. By
                  CFIUS Functions.     By no
                                           no later   than the
                                               later than   the Operational  Date and
                                                                Operational Date   and atat all times
                                                                                            all times
 thereafter, the
 thereafter, the Transaction   Parties shall
                 Transaction Parties   shall ensure    that TTUSDS
                                             ensure that    TTUSDS owns
                                                                      owns oror has
                                                                                has aa license   to, and
                                                                                       license to,   and
 manages,
 manages, all
            all of the assets
                of the assets and
                              and employs
                                  employs allall of  the Personnel
                                                 of the  Personnel related  to the
                                                                   related to  the following
                                                                                   following aspects
                                                                                                 aspects of the
                                                                                                         of the
 TikTok   U.S. App’s
 TikTok U.S.    App's operations   (collectively, the
                       operations (collectively,         “CFIUS Functions”):
                                                    the "CFIUS    Functions"):

             (1)
             (1)      overseeing  the storage
                      overseeing the  storage and
                                              and protection
                                                  protection of Protected Data,
                                                             of Protected Data, including
                                                                                including through
                                                                                          through
 TTUSDS's activities
 TTUSDS’s activities pursuant to the
                     pursuant to the MSA;
                                     MSA;

              (2)
              (2)     facilitating and
                      facilitating and assisting  with the
                                       assisting with  the TTP’s
                                                           TTP's receipt
                                                                 receipt and inspection of
                                                                         and inspection of Source
                                                                                           Source
 Code and Related Files via the DTC,  as well  as TTUSDS’s   and  the TTP’s  deployment
 Code and Related Files via the DTC, as well as TTUSDS's and the TTP's deployment of     of
 Executable Code;
 Executable Code;

               (3)
               (3)     TikTok  U.S. App
                       TikTok U.S.       trust and
                                    App trust  and safety
                                                   safety operations
                                                          operations and
                                                                     and functions that require
                                                                         functions that require
 Access to any
 Access to     Protected Data
           any Protected Data (except
                              (except as
                                      as otherwise
                                         otherwise expressly
                                                    expressly provided
                                                              provided for in this
                                                                       for in this Agreement);
                                                                                   Agreement);

                 (4)
                 (4)     content, user, and
                         content, user, and advertising
                                            advertising operations, including Content
                                                        operations, including         Promotion
                                                                              Content Promotion
 and Filtering, that
 and Filtering, that require
                     require Access to any
                             Access to      Protected Data;
                                        any Protected Data;

               (5)
               (5)     identifying and
                       identifying     implementing remediations
                                   and implementing               for the
                                                    remediations for  the Recommendation
                                                                          Recommendation
 Engine in
 Engine in response to the
           response to the review by the
                           review by the TTP
                                         TTP pursuant to this
                                             pursuant to this Agreement;
                                                              Agreement;

                (6)
                (6)     overseeing,
                        overseeing, authorizing,
                                      authorizing, and
                                                   and documenting
                                                        documenting thethe sale
                                                                           sale or transfer of
                                                                                or transfer    Protected
                                                                                            of Protected
 Data to any third parties, to the extent that such sale or transfer is permitted  under this
 Data to any third parties, to the extent that such sale or transfer is permitted under this
 Agreement;
 Agreement; and
             and

                (7)
                (7)   maintaining
                      maintaining primary
                                  primary responsibility for ensuring
                                          responsibility for ensuring day-to-day
                                                                      day-to-day compliance
                                                                                 compliance
 with this
 with this Agreement.
           Agreement.

         2.5
         2.5     Enabling TTUSDS.
                 Enabling   TTUSDS. By By no
                                          no later than the
                                             later than the Operational Date, and
                                                            Operational Date,     to ensure
                                                                              and to        that
                                                                                     ensure that
 TTUSDS
 TTUSDS can can effectively
                effectively and   independently perform
                             and independently           the CFIUS
                                                perform the         Functions, ByteDance
                                                             CFIUS Functions,  ByteDance shall,
                                                                                           shall, and
                                                                                                  and
 shall
 shall ensure that its
       ensure that its Affiliates:
                       Affiliates:

                  (1)
                  (1)     take all
                          take all necessary
                                   necessary actions  to ensure
                                              actions to        that all
                                                         ensure that all commercial
                                                                         commercial agreements  with
                                                                                    agreements with
 third parties
 third parties for the operation
               for the operation and
                                   and delivery
                                       delivery of the TikTok
                                                of the         U.S. App
                                                       TikTok U.S.   App and
                                                                           and TikTok U.S. Platform
                                                                               TikTok U.S. Platform are
                                                                                                    are
 transferred, assigned,
 transferred,            licensed, or
               assigned, licensed,  or otherwise
                                       otherwise contributed,
                                                  contributed, as
                                                               as applicable, to TTUSDS;
                                                                  applicable, to TTUSDS;

               (2)
               (2)     subject to Section
                       subject to Section 5.4, transfer the
                                          5.4, transfer the employment
                                                            employment agreements
                                                                       agreements of
                                                                                  of all
                                                                                     all
 Personnel responsible
 Personnel             for performing
           responsible for             the CFIUS
                           performing the          Functions to
                                           CFIUS Functions    to TTUSDS;
                                                                 TTUSDS;




                                                      10
                                                      10
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                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
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                                                                                   of 8/23/22

                (3)
                (3)     enter into aa license
                        enter into    license and
                                              and service
                                                  service agreement    with TTUSDS,
                                                          agreement with    TTUSDS, to to be
                                                                                          be developed
                                                                                             developed
 in coordination
 in coordination with the CMAs and the TTP to ensure that the terms of such license and service
                 with the CMAs    and   the TTP to  ensure that the terms  of such license and service
 agreement
 agreement are
            are consistent with this
                consistent with this Agreement,    that:
                                      Agreement, that:

                        (i)
                        (i)    ensures
                                ensures TTUSDS
                                         TTUSDS hashas all
                                                       all necessary
                                                           necessary rights  to ByteDance
                                                                      rights to ByteDance
         technology, including
         technology, including Source
                                Source Code
                                         Code and Related Files
                                              and Related   Files and
                                                                  and all updates thereto,
                                                                      all updates thereto, Executable
                                                                                           Executable
         Code,
         Code, and
               and other
                   other Software
                          Software required  to operate
                                    required to operate and
                                                        and manage    the TikTok
                                                             manage the            U.S. App
                                                                           TikTok U.S.  App and
                                                                                             and
         TikTok  U.S. Platform,
         TikTok U.S.  Platform, for  the purposes
                                 for the purposes set
                                                  set forth in this
                                                      forth in this Agreement;
                                                                    Agreement;

                          (ii)
                          (ii)     provides
                                   provides TTUSDS with support
                                            TTUSDS with         to perform
                                                        support to         the CFIUS
                                                                   perform the       Functions;
                                                                               CFIUS Functions;
         and
         and

                        (iii) provides
                        (iii)             that in
                                 provides that in the
                                                  the event
                                                      event of
                                                            of aa conflict between the
                                                                  conflict between  the terms
                                                                                        terms of
                                                                                              of such
                                                                                                 such
         license
         license and
                 and service
                     service agreement
                              agreement and  this Agreement,
                                        and this                the terms
                                                   Agreement, the   terms of  this Agreement
                                                                           of this Agreement shall
                                                                                              shall
         prevail;
         prevail; and
                  and

                (4)
                (4)     sub-license to TTUSDS,
                        sub-license to TTUSDS, oror arrange
                                                    arrange for
                                                            for new
                                                                new licenses
                                                                       licenses for
                                                                                for TTUSDS   to, all
                                                                                    TTUSDS to,   all
 third-party Software
 third-party Software and  technologies for
                       and technologies     which ByteDance
                                        for which ByteDance isis aa licensee that are
                                                                    licensee that are necessary to
                                                                                      necessary to
 operate
 operate and
         and manage   the TikTok
              manage the          U.S. App
                          TikTok U.S.  App and
                                            and TikTok  U.S. Platform.
                                                TikTok U.S.  Platform.

          2.6
          2.6   Formation  and Operational
                Formation and               Plan. ByteDance
                                Operational Plan. ByteDance shall
                                                              shall submit
                                                                    submit aa plan to the
                                                                              plan to the CMAs
                                                                                          CMAs
 within fourteen
 within          (14) days
        fourteen (14)      following the
                      days following the Effective
                                         Effective Date
                                                   Date that
                                                        that describes the steps
                                                             describes the       ByteDance will
                                                                           steps ByteDance  will
 take to:
 take to:

               (1)
               (1)      ensure that TTUSDS
                        ensure that  TTUSDS ownsowns or
                                                     or has
                                                        has aa license to, and
                                                               license to, and manages,
                                                                               manages, all
                                                                                        all of the
                                                                                            of the
 assets and
 assets and employs
            employs all Personnel related
                    all Personnel           to the
                                    related to the CFIUS  Functions;
                                                   CFIUS Functions;

                (2)
                (2)   contribute,
                      contribute, assign,
                                  assign, or license to
                                          or license to TTUSDS,
                                                        TTUSDS, as
                                                                as applicable,
                                                                   applicable, all
                                                                               all assets
                                                                                   assets
 necessary to comply
 necessary to        with this
              comply with this Agreement;
                               Agreement; and
                                           and

                 (3)
                 (3)      ensure  that TTUSDS
                          ensure that           will become
                                       TTUSDS will   become operational    by the
                                                              operational by  the Operational Date,
                                                                                  Operational Date,
 which at
 which  at aa minimum
              minimum means     that TTUSDS
                        means that   TTUSDS cancan manage   its day-to-day
                                                   manage its   day-to-day operations
                                                                            operations and
                                                                                       and perform  the
                                                                                           perform the
 CFIUS   Functions as
 CFIUS Functions     as set
                        set forth in this
                            forth in this Agreement
                                          Agreement separate
                                                     separate and
                                                               and apart
                                                                   apart from  ByteDance and
                                                                         from ByteDance       its
                                                                                          and its
 Affiliates.
 Affiliates.

         2.7
         2.7      TTUSDS
                   TTUSDS Independence.
                               Independence. By By no
                                                    no later  than the
                                                        later than the Operational   Date and
                                                                       Operational Date    and atat all times
                                                                                                    all times
 thereafter, ByteDance
 thereafter,  ByteDance shall
                           shall not
                                  not play
                                       play any
                                            any role in or
                                                role in  or make
                                                            make any
                                                                  any attempt   to influence,
                                                                       attempt to  influence, determine,
                                                                                                determine,
 direct,
 direct, or
         or decide   the operations,
            decide the   operations, management,
                                       management, or     leadership of
                                                      or leadership   of TTUSDS,
                                                                         TTUSDS, except
                                                                                     except as
                                                                                             as otherwise
                                                                                                 otherwise
 expressly
 expressly provided
            provided forfor in
                            in this
                                this Agreement.   ByteDance shall
                                     Agreement. ByteDance       shall ensure  that none
                                                                      ensure that  none of  its Affiliates
                                                                                         of its Affiliates
 plays
 plays any
       any role   in or
             role in  or makes
                         makes any
                                 any attempt  to influence,
                                      attempt to influence, determine,
                                                              determine, direct,
                                                                          direct, or
                                                                                  or decide  the operations,
                                                                                     decide the   operations,
 management,
 management, or      leadership of
                 or leadership    of TTUSDS,
                                     TTUSDS, except
                                                except asas otherwise
                                                            otherwise expressly
                                                                       expressly provided
                                                                                   provided for   in this
                                                                                              for in this
 Agreement.
 Agreement.

        2.8
        2.8  TTUSDS     Funding. ByteDance
             TTUSDS Funding.      ByteDance shall
                                              shall provide
                                                    provide sufficient  financial resources
                                                            sufficient financial            to
                                                                                  resources to
 enable
 enable TTUSDS to fully
        TTUSDS to fully perform the CFIUS
                        perform the          Functions and
                                    CFIUS Functions        fulfill its
                                                       and fulfill its obligations under this
                                                                       obligations under this
 Agreement.
 Agreement. TTUSDS
            TTUSDS shall
                      shall promptly
                            promptly notify the Third-Party
                                     notify the             Monitor and
                                                Third-Party Monitor    and CMAs
                                                                            CMAs ifif TTUSDS
                                                                                      TTUSDS



                                                      11
                                                      11
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                                             CONFIDENTIAL
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                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

 believes, in
 believes,   in its
                its sole
                    sole discretion, that it
                         discretion, that it lacks
                                             lacks sufficient funds to
                                                   sufficient funds to perform  the CFIUS
                                                                       perform the          Functions and
                                                                                     CFIUS Functions  and
 fulfill its obligations
 fulfill its              under this
             obligations under   this Agreement.     The  Transaction  Parties shall provide semi-annual
                                      Agreement. The Transaction Parties shall provide semi-annual
 updates to
 updates    to the
               the Third-Party   Monitor and
                    Third-Party Monitor    and CMAs
                                                CMAs regarding    the budgeting
                                                        regarding the budgeting and
                                                                                  and funding
                                                                                      funding of
                                                                                               of TTUSDS.
                                                                                                  TTUSDS.

          2.9
          2.9       Ownership
                    Ownership of    of TTUSDS.
                                        TTUSDS. At   At least
                                                         least seven     (7) days
                                                                 seven (7)    days prior    to entering
                                                                                     prior to            into any
                                                                                               entering into  any
 agreement
 agreement or or completing
                  completing any         transaction through
                                   any transaction    through which:
                                                                  which: (1)
                                                                           (1) any     Person other
                                                                                 any Person           than TikTok
                                                                                                other than  TikTok Inc.
                                                                                                                      Inc.
 will acquire
 will acquire aa direct
                   direct economic
                            economic or       voting interest
                                           or voting interest inin TTUSDS;
                                                                    TTUSDS; or        (2) there
                                                                                   or (2) there will
                                                                                                 will be
                                                                                                      be aa greater
                                                                                                            greater than
                                                                                                                     than
 five percent
 five           (5%) change
      percent (5%)      change to  to the
                                      the ownership
                                            ownership of    the indirect
                                                         of the   indirect economic
                                                                             economic or      voting interests
                                                                                          or voting  interests in
                                                                                                                in
 ByteDance, TikTok
 ByteDance,     TikTok Inc.,Inc., or
                                  or TTUSDS
                                      TTUSDS as    as of the Effective
                                                      of the  Effective Date,
                                                                           Date, thethe Transaction    Parties shall
                                                                                         Transaction Parties    shall
 provide   written notification
 provide written     notification to  to the
                                          the CMAs
                                               CMAs of    the identity
                                                      of the   identity of    the Person
                                                                          of the    Person toto own  the interest,
                                                                                                own the   interest, the
                                                                                                                    the
 percentage
 percentage andand nature
                     nature of    the interest
                              of the   interest to
                                                 to be
                                                    be owned,
                                                       owned, and  and all
                                                                        all relevant    transaction documents
                                                                             relevant transaction     documents and and
 side
 side agreements;      provided, however,
       agreements; provided,                     that prior
                                     however, that    prior notice
                                                              notice ofof any    transaction described
                                                                          any transaction                  in Section
                                                                                                described in  Section
 2.9(2) shall
 2.9(2)  shall not   be required
                not be   required if if such   transaction would
                                         such transaction    would not      involve aa change
                                                                      not involve        change inin the
                                                                                                     the direct
                                                                                                         direct economic
                                                                                                                 economic
 or  voting interests
 or voting   interests inin TikTok      Inc.,  TTUSDS,     or  any   other   subsidiary
                             TikTok Inc., TTUSDS, or any other subsidiary of ByteDance, andof  ByteDance,    and
 ByteDance is
 ByteDance     is aa publicly    listed company
                     publicly listed      company at    the time
                                                     at the  time ofof such    transaction. The
                                                                       such transaction.        The Transaction    Parties
                                                                                                    Transaction Parties
 shall
 shall also
        also submit
             submit to to the
                           the CMAs
                               CMAs aa quarterly
                                             quarterly summary
                                                       summary capitalization           table of
                                                                     capitalization table         ByteDance identifying
                                                                                               of ByteDance    identifying
 all
 all shareholders
     shareholders holding
                      holding aa more       than one
                                    more than    one percent     (1%) equity
                                                      percent (1%)                interest or
                                                                        equity interest         voting interest
                                                                                            or voting  interest in
                                                                                                                 in
 ByteDance as
 ByteDance     as of   the end
                   of the   end of   the quarter.
                                  of the   quarter.

                                                    ARTICLE III
                                                    ARTICLE III

                     GOVERNANCE
                     GOVERNANCE OF
                                OF TIKTOK
                                   TIKTOK U.S. DATA SECURITY
                                          U.S. DATA SECURITY INC.
                                                             INC.

           3.1
           3.1    TTUSDS
                  TTUSDS BoardBoard Composition.
                                    Composition. The The Transaction     Parties shall
                                                           Transaction Parties   shall ensure that TTUSDS
                                                                                       ensure that TTUSDS
 is at all times governed   by a board of  directors  (the “TTUSDS       Board”)  of three (3)
 is at all times governed by a board of directors (the "TTUSDS Board") of three (3) directors  directors
 who: are
 who:        Resident Sole
        are Resident        U.S. Citizens,
                      Sole U.S.             unless otherwise
                                 Citizens, unless   otherwise approved
                                                               approved by by the
                                                                              the CMAs;
                                                                                  CMAs; have
                                                                                           have no
                                                                                                 no current
                                                                                                    current
 or
 or prior
    prior employment,
            employment, oror contractual, financial, or
                             contractual, financial,     fiduciary relationship
                                                      or fiduciary                with ByteDance
                                                                    relationship with   ByteDance oror any
                                                                                                       any
 of its Affiliates;
 of its Affiliates; have
                    have strong
                          strong credentials  in national
                                 credentials in  national security
                                                           security or
                                                                     or extensive
                                                                        extensive experience   in IT,
                                                                                   experience in  IT,
 cybersecurity,
 cybersecurity, oror data
                     data security;
                          security; and
                                    and have,
                                        have, oror are
                                                   are eligible
                                                       eligible for,
                                                                for, aa U.S.
                                                                        U.S. personnel
                                                                             personnel security
                                                                                        security clearance
                                                                                                 clearance
 (the "Security
 (the             Directors”).
       “Security Directors").

                   (1)
                   (1)       The
                             The Transaction      Parties shall
                                   Transaction Parties    shall ensure  that the
                                                                 ensure that the composition
                                                                                 composition of      the TTUSDS
                                                                                                 of the  TTUSDS
 Board is
 Board  is limited
           limited exclusively
                     exclusively to  to the
                                         the Security  Directors. The
                                              Security Directors.   The Transaction   Parties shall
                                                                         Transaction Parties    shall designate,
                                                                                                       designate,
 subject to CMA
 subject to  CMA non-objection
                     non-objection concurrent        with the
                                         concurrent with   the appointment
                                                               appointment process     in Section
                                                                              process in             3.2, one
                                                                                          Section 3.2,    one of  the
                                                                                                               of the
 Security  Directors as
 Security Directors     as Chair
                            Chair of    the TTUSDS
                                    of the             Board (the
                                             TTUSDS Board           “TTUSDS Chair”),
                                                               (the "TTUSDS      Chair"), andand aa second
                                                                                                    second
 Security  Director as
 Security Director     as Chair
                          Chair of    the Security
                                   of the  Security Committee
                                                     Committee established
                                                                  established pursuant
                                                                               pursuant toto Section   3.8. For
                                                                                              Section 3.8.   For
 the avoidance    of doubt,    the  Transaction    Parties may   appoint  the TTUSDS     Chair
 the avoidance of doubt, the Transaction Parties may appoint the TTUSDS Chair as chair of the    as  chair  of the
 Security
 Security Committee.
           Committee. Subject
                            Subject to to CMA
                                           CMA approval,     the Transaction
                                                 approval, the                 Parties shall
                                                                 Transaction Parties          be able
                                                                                       shall be         to set
                                                                                                  able to      term
                                                                                                           set term
 limits
 limits and/or
        and/or stagger    the terms
                 stagger the    terms forfor each
                                             each Security   Director, the
                                                  Security Director,   the expiration
                                                                            expiration of
                                                                                        of aa Security   Director
                                                                                              Security Director
 term being
 term  being treated
              treated asas aa vacancy
                              vacancy pursuant      to Section
                                          pursuant to           3.09 of
                                                       Section 3.09      the Agreement,
                                                                     of the                 including for
                                                                             Agreement, including       for
 purposes
 purposes of   triggering the
            of triggering    the timing
                                  timing requirements      for replacements.
                                            requirements for   replacements.

          3.2
          3.2    Initial
                 Initial TTUSDS     Board Appointments.
                          TTUSDS Board      Appointments. TheThe Transaction   Parties shall
                                                                  Transaction Parties  shall ensure  that
                                                                                              ensure that
 no
 no Security   Director is
     Security Director   is appointed
                            appointed or
                                       or otherwise  becomes aa director
                                          otherwise becomes               without the
                                                                 director without  the prior
                                                                                       prior non-
                                                                                             non-
 objection
 obj ection of the CMAs.
            of the CMAs. At  At least [X] days
                                least [X]  days prior to the
                                                prior to the Operational  Date, the
                                                             Operational Date,  the Transaction   Parties
                                                                                     Transaction Parties
 shall
 shall submit  to the
       submit to  the CMAs
                      CMAs complete      Personal Identifier
                               complete Personal   Identifier Information,
                                                              Information, aa curriculum   vitae or
                                                                              curriculum vitae   or similar
                                                                                                    similar


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                                                            12
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                                             CONFIDENTIAL
                                             CONFIDENTIAL PURSUANT
                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

 professional
 professional synopsis,
                 synopsis, contact     information, and
                             contact information,       and any
                                                             any other    information requested
                                                                  other information        requested for
                                                                                                       for each
                                                                                                            each
 Security
 Security Director nominee for the CMAs to assess whether the nominee can effectively perform
            Director    nominee   for   the CMAs    to   assess whether     the   nominee     can effectively    perform
 the functions
 the  functions setset forth in this
                       forth in this Agreement.
                                     Agreement. The  The Transaction        Parties shall
                                                            Transaction Parties       shall ensure   that the
                                                                                             ensure that   the CMAs
                                                                                                                CMAs
 may,
 may, at   their request,
        at their            interview the
                  request, interview     the Security    Director nominees.
                                             Security Director     nominees. If       the CMAs
                                                                                   If the   CMAs do do not
                                                                                                        not object    in
                                                                                                              object in
 writing within
 writing   within twenty-one
                    twenty-one (21)
                                  (21) days
                                         days following
                                              following receipt
                                                            receipt of
                                                                     of all
                                                                         all necessary     information about
                                                                              necessary information                the
                                                                                                           about the
 Security   Director nominees,
 Security Director      nominees, as as determined
                                         determined by by the
                                                           the CMAs
                                                               CMAs in   in their
                                                                             their sole
                                                                                    sole discretion,    the lack
                                                                                          discretion, the    lack of
                                                                                                                   of
 action
 action shall
          shall constitute
                constitute aa non-objection.
                               non-objection. If     the CMAs
                                                  If the   CMAs object
                                                                   object toto one
                                                                                 one or
                                                                                      or more
                                                                                          more Security     Director
                                                                                                Security Director
 nominees,
 nominees, thethe Transaction     Parties shall
                    Transaction Parties     shall nominate
                                                  nominate aa different
                                                                 different candidate        within twenty-one
                                                                              candidate within      twenty-one (21) (21)
 days
 days following
        following receipt
                     receipt of
                              of any
                                 any such
                                      such objection,
                                             objection, subject    to the
                                                          subject to   the same
                                                                            same procedures
                                                                                    procedures as     the initial
                                                                                                   as the  initial
 nomination.
 nomination. The  The Transaction      Parties shall
                        Transaction Parties    shall ensure    that aa Security
                                                       ensure that                  Director is
                                                                       Security Director       is appointed
                                                                                                  appointed for for each
                                                                                                                     each
 Security   Director position
 Security Director      position on   the TTUSDS
                                  on the   TTUSDS BoardBoard following
                                                               following the  the non-objection
                                                                                   non-objection of      the CMAs
                                                                                                     of the   CMAs by  by
 no
 no later  than the
     later than   the Operational    Date. After
                       Operational Date.            the Operational
                                              After the                   Date, if
                                                          Operational Date,       if all the board
                                                                                     all the  board seats
                                                                                                     seats are
                                                                                                            are not
                                                                                                                 not
 filled, the
 filled, the Transaction     Parties shall
             Transaction Parties       shall ensure   that any
                                             ensure that        initial Security
                                                            any initial               Director nominee
                                                                          Security Director      nominee is  is appointed
                                                                                                                appointed
 within three
 within   three (3)
                 (3) days   following the
                      days following     the non-objection
                                             non-objection of     the CMAs.
                                                               of the   CMAs. For  For the
                                                                                         the avoidance
                                                                                              avoidance of of doubt,   the
                                                                                                               doubt, the
 appointment
 appointment of   of replacement
                     replacement nominees
                                    nominees shall
                                                 shall bebe subject  to the
                                                            subject to   the terms
                                                                               terms ofof Section   3.09 below.
                                                                                          Section 3.09     below.

         3.3
         3.3     TTUSDS
                 TTUSDS Voting.
                            Voting. The The Transaction  Parties shall
                                            Transaction Parties  shall ensure   that each
                                                                       ensure that   each Security
                                                                                          Security
 Director is
 Director is entitled to cast
             entitled to cast one   (1) vote
                              one (1)   vote on
                                             on each
                                                each matter
                                                      matter presented  to the
                                                             presented to   the TTUSDS     Board and
                                                                                TTUSDS Board     and any
                                                                                                     any
 committee   thereof, and
 committee thereof,        that all
                      and that  all decisions
                                     decisions of the TTUSDS
                                               of the            Board and
                                                      TTUSDS Board      and any
                                                                              any committee  thereof
                                                                                  committee thereof
 require the affirmative
 require the              vote of:
             affirmative vote   of: aa majority
                                       majority of the directors
                                                of the           in office.
                                                       directors in office.

          3.4
          3.4      TTUSDS
                   TTUSDS Quorum.           TTUSDS shall
                                Quorum. TTUSDS          shall ensure    that aa minimum
                                                              ensure that       minimum of      two (2)
                                                                                            of two   (2) Security
                                                                                                         Security
 Directors, which
 Directors,   which must     include the
                      must include     the chair
                                           chair of  the Security
                                                  of the  Security Committee,
                                                                     Committee, are are required
                                                                                         required toto be
                                                                                                       be present  in
                                                                                                          present in
 order  to establish   a quorum    at any  meeting    of, or for any   action   by, the TTUSDS
 order to establish a quorum at any meeting of, or for any action by, the TTUSDS Board or any        Board  or  any
 committee    thereof. TTUSDS
 committee thereof.       TTUSDS shallshall ensure   that neither
                                            ensure that             the TTUSDS
                                                          neither the    TTUSDS BoardBoard nornor any
                                                                                                   any committee
                                                                                                       committee
 thereof convenes
 thereof  convenes or     takes any
                      or takes   any action   in the
                                      action in  the absence
                                                      absence ofof aa quorum.
                                                                      quorum. TTUSDS
                                                                                  TTUSDS shall       further ensure
                                                                                               shall further ensure
 that, in
 that, in the
          the event   that the
              event that    the chair
                                chair of  the Security
                                       of the  Security Committee
                                                          Committee is  is vacant
                                                                           vacant oror otherwise    unable to
                                                                                       otherwise unable     to fulfill
                                                                                                               fulfill
 his
 his or
     or her
         her role,
             role, or
                   or fails  to attend
                       fails to attend aa meeting    twice without
                                           meeting twice    without justification,
                                                                      justification, the
                                                                                       the Security    Directors
                                                                                            Security Directors
 present
 present and   voting select
          and voting     select one
                                one of   the other
                                     of the  other Security   Directors to
                                                    Security Directors     to serve
                                                                               serve as
                                                                                      as acting
                                                                                          acting chair
                                                                                                  chair of the
                                                                                                        of the
 Security
 Security Committee
            Committee for  for the
                               the purposes
                                   purposes of of establishing
                                                  establishing quorum
                                                                 quorum and      breaking ties.
                                                                            and breaking     ties.

          3.5
          3.5      TTUSDS
                   TTUSDS BoardBoard Attendance
                                     Attendance and   Meetings. TTUSDS
                                                 and Meetings.    TTUSDS shall
                                                                             shall ensure  that attendance
                                                                                   ensure that  attendance
 at
 at all
    all meetings
        meetings of    the TTUSDS
                    of the           Board and
                           TTUSDS Board    and any
                                                any committee   thereof is
                                                    committee thereof   is limited  to the
                                                                           limited to  the Security
                                                                                           Security
 Directors, the
 Directors,   the TTUSDS      general manager
                  TTUSDS general      manager or
                                               or equivalent, the TTUSDS
                                                  equivalent, the TTUSDS General
                                                                             General Counsel,    the
                                                                                       Counsel, the
 Corporate
 Corporate Secretary
              Secretary of   the TTUSDS
                          of the          Board, the
                                 TTUSDS Board,    the Security
                                                      Security Officer, the Third-Party
                                                               Officer, the                Monitor, and
                                                                             Third-Party Monitor,     and
 such   other  individuals  whose  attendance is approved in  advance  by  the CMAs,    and, with
 such other individuals whose attendance is approved in advance by the CMAs, and, with respect      respect
 to meetings
 to meetings of    the Security
                of the  Security Committee,  the Technology
                                 Committee, the  Technology Officer.
                                                              Officer.

                  (1)
                  (1)      TTUSDS
                           TTUSDS shallshall ensure   that apart
                                              ensure that  apart from   those individuals
                                                                  from those    individuals expressly
                                                                                             expressly
 permitted to attend
 permitted to attend meetings
                        meetings of   the TTUSDS
                                   of the  TTUSDS BoardBoard under
                                                               under this
                                                                      this Section   3.5, any
                                                                           Section 3.5,   any other
                                                                                              other observers
                                                                                                    observers
 or
 or attendees
    attendees at
              at meetings
                  meetings of    the TTUSDS
                             of the              Board or
                                      TTUSDS Board       or any
                                                             any committee     thereof are
                                                                 committee thereof      are approved
                                                                                            approved inin writing
                                                                                                          writing
 in advance
 in          by the
    advance by   the CMAs.
                      CMAs. At      least seven
                                At least          (7) days
                                          seven (7)         in advance
                                                      days in  advance ofof aa meeting
                                                                               meeting of   the TTUSDS
                                                                                         of the            Board
                                                                                                TTUSDS Board
 or
 or any
    any committee     thereof, TTUSDS
         committee thereof,    TTUSDS shall shall submit
                                                   submit aa written
                                                             written request
                                                                      request toto the
                                                                                   the CMAs
                                                                                       CMAs of of any
                                                                                                  any
 individual, other
 individual,        than those
             other than   those specifically    listed in
                                  specifically listed  in this
                                                          this Section   3.5, who
                                                                Section 3.5,  who isis proposed  to attend
                                                                                       proposed to         the
                                                                                                    attend the
 meeting
 meeting and
          and provide    their title,
              provide their    title, affiliation,
                                      affiliation, and  the purpose
                                                    and the  purpose of   their participation.
                                                                       of their  participation.



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                                                            13
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                                            CONFIDENTIAL
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                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                 (2)
                 (2)     TTUSDS
                         TTUSDS shallshall ensure that the
                                           ensure that  the Security
                                                            Security Officer
                                                                      Officer and
                                                                               and Third-Party  Monitor
                                                                                   Third-Party Monitor
 are given advance   notice  of, and the opportunity   to, participate in all meetings  of the
 are given advance notice of, and the opportunity to, participate in all meetings of the TTUSDSTTUSDS
 Board and
 Board  and any
            any committee     thereof in
                 committee thereof    in aa non-voting
                                            non-voting observer
                                                         observer capacity,
                                                                   capacity, and  that the
                                                                              and that the Technology
                                                                                           Technology
 Officer
 Officer participates in all meetings of the Security Committee in a non-voting observer capacity.
         participates in all meetings   of the Security   Committee   in a non-voting   observer capacity.

                  (3)
                  (3)     TTUSDS,
                          TTUSDS, in  in conjunction  with the
                                         conjunction with  the Security
                                                               Security Committee,
                                                                         Committee, shall
                                                                                      shall submit
                                                                                            submit toto the
                                                                                                        the
 Security
 Security Officer,
           Officer, Third-Party   Monitor, and
                     Third-Party Monitor,    and CMAs:   (1) copies
                                                  CMAs: (1)  copies of
                                                                     of all board and
                                                                        all board and committee
                                                                                      committee
 materials
 materials at
            at least
               least one (1) day
                     one (1) day prior  to any
                                  prior to any meeting,  unless the
                                                meeting, unless the Security
                                                                    Security Committee
                                                                              Committee certifies    in
                                                                                           certifies in
 writing that
 writing  that exceptional
               exceptional circumstances
                            circumstances require
                                             require an
                                                     an emergency
                                                        emergency meeting
                                                                    meeting of   the TTUSDS
                                                                              of the            Board,
                                                                                     TTUSDS Board,
 and in such
 and in  such case
               case TTUSDS
                     TTUSDS shall
                               shall submit
                                     submit concurrent
                                              concurrent notice to the
                                                         notice to the Security
                                                                       Security Officer,
                                                                                 Officer, Third-Party
                                                                                          Third-Party
 Monitor, and
 Monitor,   and CMAs;
                 CMAs; and    (2) copies
                         and (2)  copies of  the complete
                                          of the          unredacted meeting
                                                 complete unredacted   meeting minutes
                                                                                 minutes no
                                                                                          no more   than
                                                                                             more than
 seven  (7) days
 seven (7)  days following
                  following any   board or
                             any board   or committee
                                            committee meeting.
                                                        meeting.

         3.6
         3.6      Security  Director Duties.
                  Security Director              The Transaction
                                       Duties. The                     Parties shall
                                                       Transaction Parties     shall ensure     that in
                                                                                       ensure that    in exercising
                                                                                                          exercising
 their duties, the Security Directors owe fiduciary duties exclusively to the CMAs and TTUSDS;
 their duties, the Security   Directors  owe   fiduciary   duties   exclusively    to the  CMAs     and    TTUSDS;
           that the
 provided that
 provided        the Security   Directors shall
                     Security Directors    shall discharge     their duties
                                                 discharge their             in aa manner
                                                                      duties in              that they
                                                                                   manner that     they reasonably
                                                                                                          reasonably
 believe in
 believe in good
             good faith
                   faith to
                         to be,
                            be, in
                                 in descending
                                    descending order:     first, in
                                                 order: first,   in the
                                                                    the national
                                                                         national security    interest of
                                                                                    security interest        the
                                                                                                          of the
 United States
 United  States as
                 as determined
                    determined by by the
                                      the CMAs;
                                          CMAs; and and second,     where not
                                                         second, where           inconsistent with
                                                                            not inconsistent     with the
                                                                                                        the national
                                                                                                             national
 security interest of
 security interest     the United
                    of the United States,   in the
                                    States, in the best
                                                    best interests
                                                          interests ofof TTUSDS,
                                                                         TTUSDS, in   in each
                                                                                          each case
                                                                                                 case subject
                                                                                                       subject toto this
                                                                                                                     this
 Agreement.     Following their
 Agreement. Following       their appointment
                                   appointment as as Security    Directors and
                                                      Security Directors     and for
                                                                                   for so
                                                                                        so long
                                                                                           long as   they serve
                                                                                                  as they   serve onon
 the TTUSDS
 the             Board, TTUSDS
     TTUSDS Board,       TTUSDS shallshall ensure   that none
                                           ensure that   none of    the Security
                                                                 of the             Directors has
                                                                         Security Directors      has any
                                                                                                      any
 employment,
 employment, contractual,      financial, or
                 contractual, financial,     fiduciary relationship
                                          or fiduciary                    with ByteDance
                                                          relationship with     ByteDance or   or any
                                                                                                   any of   its
                                                                                                         of its
 Affiliates.
 Affiliates. The   terms of
              The terms   of compensation
                             compensation for for the
                                                   the Security    Directors, including
                                                        Security Directors,     including any      benefits or
                                                                                             any benefits     or stock
                                                                                                                 stock
 incentive awards of any of the Transaction Parties, shall be negotiated between TikTok Inc. and
 incentive  awards   of any  of the  Transaction    Parties,  shall  be  negotiated   between     TikTok     Inc. and
 the Security
 the           Director and
     Security Director    and shall  be paid
                              shall be        by TTUSDS.
                                        paid by   TTUSDS. The          terms of
                                                                 The terms    of compensation,
                                                                                  compensation, to   to include
                                                                                                         include the
                                                                                                                   the
 grant of any  stock  incentive   awards,  shall  be  fixed  for  the  Security   Directors’
 grant of any stock incentive awards, shall be fixed for the Security Directors' terms.        terms.

         3.7
         3.7      Security
                  Security Committee.
                            Committee. By  By no
                                               no later  than the
                                                  later than  the Operational      Date, the
                                                                    Operational Date,     the Transaction
                                                                                               Transaction
 Parties shall
 Parties shall ensure  that the
                ensure that the TTUSDS
                                TTUSDS BoardBoard forms
                                                    forms aa permanent,       board-level committee
                                                              permanent, board-level        committee
 composed
 composed exclusively
             exclusively of  the Security
                          of the            Directors to
                                 Security Directors     to serve
                                                           serve as   the committee
                                                                  as the   committee withwith the
                                                                                               the full
                                                                                                   full and
                                                                                                         and sole
                                                                                                              sole
 authority to decide
 authority to  decide all
                      all matters
                          matters related   to data
                                   related to  data security,
                                                     security, cybersecurity,
                                                                cybersecurity, and and national
                                                                                        national security
                                                                                                  security for
                                                                                                             for
 TTUSDS
 TTUSDS (the      “Security Committee”).
            (the "Security   Committee"). The  The Transaction       Parties shall
                                                     Transaction Parties      shall ensure   that the
                                                                                    ensure that   the TTUSDS
                                                                                                       TTUSDS
 governance documents
 governance    documents reflect   the Security
                           reflect the  Security Committee’s
                                                  Committee's responsibilities
                                                                   responsibilities and
                                                                                      and provide     that such
                                                                                            provide that    such
 governance documents
 governance    documents cannot    be further
                           cannot be   further amended
                                                amended to to eliminate
                                                              eliminate the the Security
                                                                                Security Committee
                                                                                           Committee or   or
 modify  the Security
 modify the   Security Committee’s
                        Committee's rights
                                       rights and
                                               and responsibilities     without the
                                                   responsibilities without       the prior  written consent
                                                                                      prior written    consent ofof
 the CMAs.     TTUSDS     shall ensure  that the presence    of at  least two   (2) Security
 the CMAs. TTUSDS shall ensure that the presence of at least two (2) Security Directors,       Directors,
 including the
 including  the Security  Director who
                 Security Director  who isis chair
                                             chair of  the Security
                                                   of the  Security Committee,
                                                                       Committee, is  is required
                                                                                         required toto establish
                                                                                                        establish
 quorum
 quorum for   the Security
          for the  Security Committee
                            Committee and      that all
                                          and that  all meetings
                                                        meetings of, of, and
                                                                         and action   by, the
                                                                              action by,  the Security
                                                                                                Security
 Committee    include the
 Committee include     the Security
                           Security Officer.
                                     Officer. TTUSDS
                                                TTUSDS shallshall ensure     that the
                                                                   ensure that    the Security
                                                                                      Security Committee:
                                                                                                 Committee:

                 (1)
                 (1)     serves
                         serves as the primary
                                as the          liaison between
                                        primary liaison between the
                                                                  the TTUSDS   Board and
                                                                      TTUSDS Board         the CMAs,
                                                                                       and the CMAs,
 provides  timely responses
 provides timely             to inquiries
                  responses to  inquiries from
                                           from the
                                                the CMAs,
                                                    CMAs, and
                                                            and maintains
                                                                 maintains availability, upon
                                                                           availability, upon
 reasonable
 reasonable notice   from the
             notice from  the CMAs,
                              CMAs, forfor discussions with the
                                           discussions with  the CMAs,  in each
                                                                 CMAs, in  each case
                                                                                case on
                                                                                      on matters
                                                                                         matters
 relating to TTUSDS’
 relating to            governance and
             TTUSDS' governance      and compliance    with this
                                          compliance with   this Agreement;
                                                                 Agreement;




                                                           14
                                                           14
                                                   APP-440
                                                   APP-440
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                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                (2)
                (2)      oversees the implementation
                         oversees the implementation of
                                                     of all
                                                        all policies,
                                                            policies, procedures,
                                                                      procedures, protocols,
                                                                                  protocols, and
                                                                                             and
 other
 other matters
       matters relating to the
               relating to the TTUSDS’
                               TTUSDS' compliance    with this
                                         compliance with  this Agreement;
                                                               Agreement;

              (3)
              (3)     oversees
                      oversees and
                               and periodically
                                   periodically reviews
                                                reviews TTUSDS’
                                                        TTUSDS' activities in performance
                                                                activities in performance of
                                                                                          of
 the CFIUS Functions;
 the CFIUS Functions;

              (4)
              (4)        meets
                         meets regularly,
                               regularly, and
                                          and at
                                              at least
                                                 least quarterly, to perform
                                                       quarterly, to         its obligations
                                                                     perform its             under this
                                                                                 obligations under this
 Agreement;
 Agreement; and
            and

                 (5)
                 (5)     annually
                         annually certifies
                                   certifies TTUSDS’s
                                             TTUSDS's compliance        with this
                                                           compliance with   this Agreement
                                                                                  Agreement to to the
                                                                                                  the
 CMAs   within seven
 CMAs within           (7) days
                seven (7)  days of
                                 of each
                                    each anniversary
                                          anniversary of   the Effective
                                                        of the Effective Date.
                                                                          Date. Such
                                                                                Such certification
                                                                                       certification shall
                                                                                                     shall
 be signed
 be        by all
    signed by  all members
                   members of   the Security
                             of the Security Committee
                                              Committee and and may
                                                                may bebe executed
                                                                         executed inin one
                                                                                       one or
                                                                                           or more
                                                                                              more
 counterparts,
 counterparts, each
               each of  which shall
                     of which        be deemed
                               shall be  deemed an an original, but all
                                                      original, but all of which together
                                                                        of which  together shall  be
                                                                                            shall be
 deemed  to constitute
 deemed to  constitute one
                        one and  the same
                            and the  same certification.
                                            certification.

         3.8
         3.8     TTUSDS Recordkeeping and
                 TTUSDS Recordkeeping     Related Certifications.
                                      and Related Certifications.

                 (1)
                 (1)     TTUSDS
                         TTUSDS shall
                                    shall ensure that the
                                          ensure that the TTUSDS
                                                          TTUSDS BoardBoard prepares
                                                                            prepares and
                                                                                       and retains
                                                                                           retains all
                                                                                                    all
 preparatory
 preparatory materials,
              materials, records, journals, and
                         records, journals, and minutes
                                                 minutes of
                                                          of all
                                                             all meetings
                                                                 meetings and
                                                                           and deliberations
                                                                               deliberations of   the
                                                                                               of the
 TTUSDS     Board and
 TTUSDS Board      and any
                       any committee    thereof for
                            committee thereof       inspection by
                                                for inspection   by the
                                                                    the CMAs   for aa period
                                                                        CMAs for      period of
                                                                                             of at least
                                                                                                at least
 five (5)
 five (5) years.
          years.

                (2)
                (2)  TTUSDS
                     TTUSDS shall
                              shall provide to the
                                    provide to the CMAs, within seven
                                                   CMAs, within       (7) days
                                                                seven (7) days following
                                                                               following aa
 meeting
 meeting of the TTUSDS
         of the        Board or
                TTUSDS Board or any
                                any committee   thereof:
                                     committee thereof:

                        (i)
                        (i)      all
                                 all materials
                                     materials provided
                                                provided or  used at
                                                          or used    the meeting,
                                                                  at the          including board
                                                                         meeting, including  board
         presentations
         presentations and
                       and related
                            related exhibits,
                                     exhibits, and final versions
                                               and final versions of
                                                                  of any
                                                                      any draft
                                                                          draft materials
                                                                                materials previously
                                                                                          previously
         provided;
         provided;

                        (ii)
                        (ii)    copies
                                copies of
                                       of meeting
                                          meeting minutes
                                                   minutes certified  by aa Security
                                                            certified by             Director to
                                                                            Security Director to be
                                                                                                 be
         accurate
         accurate and
                  and complete
                      complete as  to the
                                as to the topics
                                          topics discussed
                                                 discussed at
                                                           at each
                                                              each meeting
                                                                    meeting of  the TTUSDS
                                                                             of the            Board
                                                                                    TTUSDS Board
         and any  committee  thereof;
         and any committee thereof;

                         (iii)
                         (iii)     aa roster
                                      roster of
                                             of attendees
                                                attendees at the meeting;
                                                          at the meeting; and
                                                                          and

                       (iv)
                       (iv)  aa signed
                                signed certification  by aa Security
                                       certification by              Director in
                                                            Security Director  in attendance that the
                                                                                  attendance that the
         meeting was conducted
         meeting was            in accordance
                     conducted in              with the
                                   accordance with   the obligations
                                                          obligations set forth in
                                                                      set forth in this
                                                                                   this Agreement.
                                                                                        Agreement.

          3.9
          3.9     TTUSDS     Director Vacancies.
                   TTUSDS Director    Vacancies. TTUSDS
                                                   TTUSDS shall
                                                              shall notify the Security
                                                                    notify the  Security Committee,
                                                                                          Committee,
 Security
  Security Officer,
            Officer, Third-Party Monitor, and
                     Third-Party Monitor,    and CMAs   within two
                                                 CMAs within   two (2)
                                                                    (2) days
                                                                        days ofof receiving
                                                                                  receiving notice
                                                                                            notice of
                                                                                                   of any
                                                                                                      any
 Security   Director’s planned
  Security Director's  planned or
                                or actual
                                   actual resignation,
                                          resignation, death,
                                                       death, disability,
                                                              disability, or
                                                                          or other
                                                                              other circumstance
                                                                                    circumstance creating
                                                                                                  creating
 aa vacancy
    vacancy on   the TTUSDS
              on the           Board. Within
                     TTUSDS Board.     Within twenty-one
                                                twenty-one (21)
                                                            (21) days
                                                                 days following
                                                                       following aa vacancy,
                                                                                      vacancy, TikTok
                                                                                               TikTok
 Inc.
  Inc. shall
       shall nominate
             nominate an  individual to
                       an individual to fill
                                        fill such vacancy consistent
                                             such vacancy             with the
                                                           consistent with   the initial
                                                                                 initial appointment
                                                                                         appointment
 process   under Section
  process under           3.2.
                  Section 3.2.

       3.10 TTUSDS
       3.10              Director Removal.
               TTUSDS Director    Removal. TheThe Transaction    Parties shall
                                                    Transaction Parties  shall ensure that any
                                                                               ensure that any
 removal
 removal or
         or replacement
            replacement of
                        of aa Security Director is
                              Security Director is subject to the
                                                   subject to the following
                                                                  following processes:
                                                                             processes:


                                                     15
                                                     15
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                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                   (1)
                   (1)       The
                             The Transaction     Parties shall
                                   Transaction Parties    shall have the right
                                                                have the       to remove
                                                                         right to remove any
                                                                                           any Security
                                                                                                 Security
 Directors subject to all conditions included herein. The Transaction Parties shall not remove
 Directors   subject  to  all  conditions  included   herein.  The  Transaction   Parties shall  not remove any
                                                                                                             any
 Security   Director until
 Security Director     until all
                              all of the following
                                  of the following conditions
                                                     conditions are
                                                                 are met:  (1) TTUSDS
                                                                     met: (1)  TTUSDS has has notified   the
                                                                                               notified the
 Security   Director, the
 Security Director,     the Security
                            Security Committee,
                                       Committee, the the Security
                                                          Security Officer,  the Third-Party
                                                                    Officer, the               Monitor, and
                                                                                 Third-Party Monitor,          the
                                                                                                          and the
 CMAs
 CMAs at at least  twenty (20)
            least twenty    (20) days
                                   days prior  to the
                                         prior to the proposed
                                                       proposed removal
                                                                 removal date;   (2) TTUSDS
                                                                           date; (2) TTUSDS has  has provided
                                                                                                      provided aa
 written justification
 written  justification toto the
                              the CMAs
                                  CMAs forfor the
                                              the removal    with the
                                                   removal with   the notice
                                                                      notice provided
                                                                              provided at
                                                                                        at least  twenty (20)
                                                                                           least twenty   (20)
 days
 days prior   to the
       prior to  the proposed
                     proposed removal
                                  removal date;    (3) the
                                            date; (3)  the CMAs
                                                           CMAs have
                                                                   have provided
                                                                         provided aa written
                                                                                      written non-objection
                                                                                              non-objection to to
 the removal;
 the removal; and    (4) aa replacement
                 and (4)      replacement has    been nominated
                                            has been    nominated consistent   with the
                                                                   consistent with   the initial
                                                                                         initial appointment
                                                                                                 appointment
 process   under Section
 process under               3.2.
                  Section 3.2.

                   (2)
                   (2)       The
                             The Transaction      Parties shall
                                  Transaction Parties     shall ensure    that, should
                                                                 ensure that,    should thethe CMAs
                                                                                               CMAs provide
                                                                                                       provide
 written notice
 written  notice setting
                   setting forth  their determination
                            forth their                   (including aa written
                                         determination (including         written justification
                                                                                     justification for
                                                                                                    for the
                                                                                                        the removal),
                                                                                                            removal),
 in their
 in their sole
          sole discretion,    that any
                discretion, that    any director
                                         director of  the TTUSDS
                                                   of the TTUSDS Board Board has,      intentionally or
                                                                                has, intentionally       through
                                                                                                      or through
 gross negligence,
 gross  negligence, failed     to meet
                       failed to  meet his
                                         his or
                                              or her
                                                 her obligations
                                                     obligations or or has  undermined the
                                                                       has undermined        the effectiveness
                                                                                                 effectiveness of  this
                                                                                                                of this
 Agreement,
 Agreement, thethe CMAs
                     CMAs may may direct    the Transaction
                                    direct the                Parties to
                                                 Transaction Parties    to remove
                                                                            remove the  the director
                                                                                            director and  the
                                                                                                     and the
 Transaction    Parties shall
 Transaction Parties      shall promptly,
                                promptly, and     in any
                                             and in  any event   within two
                                                          event within     two (2)
                                                                                 (2) days,
                                                                                      days, remove
                                                                                             remove such
                                                                                                      such director.
                                                                                                            director.
 Within twenty-one
 Within   twenty-one (21)(21) days
                               days following
                                      following such
                                                  such removal,
                                                        removal, TikTok
                                                                    TikTok Inc.Inc. shall
                                                                                    shall nominate
                                                                                            nominate aa replacement
                                                                                                         replacement
 consistent  with the
 consistent with    the initial
                         initial appointment
                                 appointment process      in Section
                                                 process in             3.2. The
                                                             Section 3.2.      The Transaction      Parties may,
                                                                                     Transaction Parties          in
                                                                                                            may, in
 response
 response toto such
               such direction,
                      direction, seek
                                   seek consultations    with the
                                         consultations with    the CMAs
                                                                     CMAs to  to resolve    the concerns
                                                                                  resolve the   concerns associated
                                                                                                           associated
 with any
 with  any director,    which the
            director, which     the CMAs
                                     CMAs may may engage
                                                   engage inin at  their discretion
                                                               at their  discretion but  but any
                                                                                             any such
                                                                                                 such consultation
                                                                                                       consultation
 shall
 shall not toll the
       not toll  the deadline
                     deadline to to remove
                                     remove such
                                               such director
                                                     director or
                                                              or nominate
                                                                  nominate aa replacement.
                                                                                  replacement.

                  (3)
                  (3)      Regardless of
                           Regardless        whether there
                                         of whether    there is
                                                             is aa vacancy
                                                                   vacancy among
                                                                            among the the Security Director
                                                                                          Security Director
 positions, the Transaction     Parties  may,  at their  discretion,  provide   the names   of
 positions, the Transaction Parties may, at their discretion, provide the names of up to five  up to five (5)
                                                                                                          (5)
 nominees
 nominees toto serve
               serve asas Security   Directors for
                          Security Directors    for consideration
                                                     consideration by by the
                                                                         the CMAs.
                                                                             CMAs. The  The CMAs
                                                                                             CMAs maymay notify
                                                                                                          notify
 the Transaction
 the                Parties of
     Transaction Parties        their provisional
                             of their  provisional approval
                                                    approval oror disapproval
                                                                   disapproval of    the nominees
                                                                                  of the nominees toto be
                                                                                                       be eligible
                                                                                                          eligible
 to serve
 to serve as
          as Security    Directors should
             Security Directors      should aa position   become vacant.
                                               position become      vacant. If   the CMAs
                                                                             If the  CMAs provide
                                                                                             provide provisional
                                                                                                      provisional
 approval,
 approval, TikTok
            TikTok Inc.
                      Inc. shall
                            shall still be required
                                  still be           to formally
                                           required to   formally nominate     the potential
                                                                    nominate the    potential Security  Director
                                                                                               Security Director
 pursuant  to the
 pursuant to  the initial
                   initial appointment
                           appointment process      in Section
                                           process in            3.2.
                                                        Section 3.2.

         3.11 TTUSDS
         3.11     TTUSDS Governance
                             Governance Documents.         ByteDance shall
                                           Documents. ByteDance        shall submit
                                                                              submit draft
                                                                                     draft copies
                                                                                           copies ofof all
                                                                                                       all
 governance documents
 governance    documents of of TTUSDS     (e.g., articles
                               TTUSDS (e.g.,     articles of
                                                          of association, bylaws, charter,
                                                             association, bylaws,  charter, and
                                                                                            and any
                                                                                                 any other
                                                                                                      other
 documents    that govern
 documents that    govern TTUSDS,
                            TTUSDS, collectively          “TTUSDS Governance
                                                      the "TTUSDS
                                       collectively the                              Documents”) to
                                                                      Governance Documents")         to the
                                                                                                         the
 CMAs
 CMAs at at least
            least fourteen  (14) days
                  fourteen (14)  days prior  to the
                                       prior to  the Operational   Date and
                                                     Operational Date        from time
                                                                        and from  time to
                                                                                        to time
                                                                                           time after  the
                                                                                                 after the
 Operational   Date at
 Operational Date       the request
                     at the request of the CMAs
                                    of the  CMAs or  or prior to any
                                                        prior to any proposed
                                                                     proposed amendment      thereto. The
                                                                                amendment thereto.      The
 Transaction
 Transaction Parties shall promptly, and in any event within five (5) days following receipt of aa
               Parties shall promptly,   and  in  any event  within five (5) days following   receipt  of
 request
 request from   the CMAs,
          from the  CMAs, make
                             make any
                                   any change
                                        change to to such  governance documents
                                                     such governance   documents requested     by the
                                                                                    requested by   the
 CMAs
 CMAs to to incorporate
            incorporate the
                          the terms
                              terms of this Agreement,
                                    of this  Agreement, to to the
                                                              the CMAs’
                                                                  CMAs' satisfaction   in their
                                                                          satisfaction in their sole
                                                                                                sole
 discretion.
 discretion.

          (1)
          (1)     ByteDance shall
                  ByteDance   shall ensure that the
                                    ensure that the TTUSDS
                                                    TTUSDS Governance      Documents cover
                                                              Governance Documents       cover all
                                                                                               all
 matters   within the
 matters within   the authority
                      authority of
                                of TTUSDS
                                   TTUSDS shareholder
                                             shareholder and  the TTUSDS
                                                          and the            Board. The
                                                                  TTUSDS Board.      The Transaction
                                                                                           Transaction
 Parties shall
 Parties  shall ensure that the
                ensure that the consent
                                consent of the TTUSDS
                                        of the TTUSDS shareholder     is not
                                                         shareholder is  not required
                                                                             required for
                                                                                      for any
                                                                                          any decision
                                                                                               decision
 by the
 by  the TTUSDS     Board or
         TTUSDS Board      or any
                              any committee   thereof, however,
                                   committee thereof,           the TTUSDS
                                                       however, the TTUSDS BoardBoard shall
                                                                                       shall not
                                                                                             not have
                                                                                                 have
 the authority
 the            to approve
      authority to          the following
                   approve the  following material
                                           material corporate
                                                    corporate actions without the
                                                              actions without  the affirmative
                                                                                   affirmative consent
                                                                                                consent
 of the TTUSDS
 of the  TTUSDS shareholder:
                    shareholder:


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                                                          16
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                                                                     50 U.S.C.
                                                                        U.S.C. § § 4565
                                                                                   4565
                                  EXEMPT
                                  EXEMPT FROM   DISCLOSURE UNDER
                                           FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                          U.S.C. §§ 552
                                                                                    552
                                                           Parties’ Draft as
                                                           Parties' Draft as of 8/23/22
                                                                             of 8/23/22

                         (i)
                         (i)    Corporate
                                Corporate and   tax structuring
                                            and tax structuring and intercompany matters,
                                                                and intercompany           including
                                                                                  matters, including
       requesting
       requesting TikTok
                   TikTok Inc.
                             Inc. make
                                  make capital contributions, determining TTUSDS' annual net
                                        capital contributions, determining TTUSDS’   annual   net
       profits
       profits or
               or net
                  net losses  for financial
                       losses for financial accounting
                                            accounting and  tax purposes,
                                                        and tax purposes, or
                                                                          or making
                                                                             making profit
                                                                                    profit
       distributions  to TikTok
       distributions to   TikTok Inc.;
                                  Inc.;

                       (ii)
                       (ii)     Entering into,
                                Entering    into, amending,
                                                  amending, modifying,
                                                              modifying, renewing,  terminating, or
                                                                         renewing, terminating,  or
       waiving any
       waiving  any rights   under any
                     rights under   any material
                                         material agreement
                                                    agreement or
                                                               or arrangement   with the
                                                                  arrangement with   the TTP
                                                                                         TTP related to
                                                                                             related to
       the service
       the service levels,
                   levels, fees,  liability allocations,
                            fees, liability               indemnifications, or
                                             allocations, indemnifications, or such
                                                                               such other
                                                                                    other matters;
                                                                                          matters;

                      (iii) Corporate
                      (iii)   Corporate policies  implemented at
                                         policies implemented   at TTUSDS
                                                                   TTUSDS establishing     the term,
                                                                            establishing the   term,
       compensation
       compensation and    benefits parameters
                      and benefits             for Key
                                    parameters for Key Management
                                                       Management Personnel,
                                                                     Personnel, including
                                                                                  including the
                                                                                             the
       general manager,
       general manager, head
                          head of
                               of human
                                  human resources,
                                         resources, head
                                                    head of technology, and
                                                         of technology,  and head
                                                                             head ofof finance,
                                                                                       finance, or
                                                                                                 or
       their equivalents
       their equivalents consistent with ByteDance's
                         consistent with ByteDance’s global
                                                      global corporate
                                                              corporate policies;
                                                                        policies;

                       (iv)
                       (iv)    Entering into
                               Entering into aa new
                                                new material
                                                     material line
                                                               line of  business of
                                                                    of business   of TTUSDS
                                                                                     TTUSDS or     its
                                                                                                or its
        subsidiaries; making   any material changes   to the scope   of any   existing lines of business,
        subsidiaries; making any material changes to the scope of any existing lines of business,
        products,
        products, or
                  or services
                      services of
                               of TTUSDS
                                  TTUSDS or    its subsidiaries;
                                            or its subsidiaries; or
                                                                  or otherwise
                                                                     otherwise making
                                                                                 making any
                                                                                          any material
                                                                                               material
        change  to the
        change to  the purpose
                       purpose or
                                or scope
                                   scope of the business
                                         of the  business as
                                                           as set forth in
                                                              set forth  in the
                                                                            the Governance
                                                                                Governance
        Documents;
        Documents;

                      (v)
                      (v)     Issuance
                              Issuance of
                                       of new
                                          new equity  (including convertible
                                               equity (including              instruments such
                                                                  convertible instruments such as
                                                                                               as
       options, warrants, and
       options, warrants, and convertible bonds) or
                              convertible bonds)  or any
                                                     any rights to subscribe
                                                         rights to subscribe for
                                                                             for any
                                                                                 any equity
                                                                                     equity
       (including convertible
       (including             instruments such
                  convertible instruments  such as
                                                as options, warrants, and
                                                   options, warrants, and convertible  bonds);
                                                                           convertible bonds);

                      (vi)
                      (vi)    Pursuing an
                              Pursuing     initial public
                                        an initial public offering
                                                            offering or
                                                                     or aa SPAC
                                                                           SPAC Transaction
                                                                                Transaction or
                                                                                            or any
                                                                                               any
       other financing transaction
       other financing transaction for
                                   for TTUSDS
                                       TTUSDS or      its subsidiaries;
                                                   or its subsidiaries;

                       (vii) Entering
                       (vii) Entering into,
                                       into, amending,
                                             amending, renewing,
                                                       renewing, or terminating the
                                                                 or terminating the following
                                                                                    following
       transactions, agreements,
       transactions, agreements, or
                                 or arrangements:
                                    arrangements:

                                       (1)
                                       (1)     The
                                               The sale,
                                                    sale, merger,
                                                          merger, consolidation,
                                                                  consolidation, reorganization,
                                                                                 reorganization,
                       dissolution,
                       dissolution, liquidation,
                                    liquidation, disposal,
                                                 disposal, or winding up
                                                           or winding up in
                                                                          in any
                                                                             any manner
                                                                                 manner of
                                                                                         of capital
                                                                                            capital
                       assets
                       assets or businesses of
                              or businesses  of TTUSDS;
                                                TTUSDS;

                                      (2)
                                      (2)    The
                                             The merger
                                                   merger oror acquisition
                                                               acquisition of the assets,
                                                                           of the assets, equity,
                                                                                           equity, or
                                                                                                   or
                       business of
                       business of another
                                   another entity,
                                           entity, or the issuance
                                                   or the issuance of
                                                                   of equity  to or
                                                                       equity to or aa joint
                                                                                       joint venture
                                                                                             venture
                       with any
                       with     third party;
                            any third party;

                                       (3)
                                       (3)    A
                                              A material   investment, material
                                                 material investment,   material licensing
                                                                                  licensing
                       relationship,
                       relationship, or
                                     or other
                                        other material
                                              material strategic
                                                       strategic relationships in or
                                                                 relationships in     with any
                                                                                   or with     third
                                                                                           any third
                       party;
                       party;

                                       (4)
                                       (4)      (x) Incurring
                                                (x) Incurring or  guaranteeing indebtedness;
                                                               or guaranteeing  indebtedness; (y)
                                                                                               (y)
                       pledging,
                       pledging, mortgaging,
                                  mortgaging, leasing,
                                                leasing, or
                                                         or encumbering
                                                            encumbering thethe assets
                                                                               assets of
                                                                                      of TTUSDS
                                                                                         TTUSDS or  or
                       any
                       any of its subsidiaries;
                           of its subsidiaries; and  (z) creating
                                                 and (z) creating or
                                                                   or authorizing the creation
                                                                      authorizing the creation of
                                                                                               of any
                                                                                                  any
                       debt
                       debt security
                            security or the issuance
                                     or the issuance ofof any
                                                          any liens,  where the
                                                               liens, where the aggregate  total of
                                                                                aggregate total     (x)
                                                                                                 of (x)



                                                  17
                                                  17
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                                         CONFIDENTIAL
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                                                        PURSUANT TO TO 50
                                                                        50 U.S.C.
                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                             U.S.C. §§ 552
                                                                                       552
                                                              Parties’ Draft as
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                                                                                of 8/23/22

                         through (z)
                         through (z) is
                                     is greater
                                        greater than
                                                 than five
                                                      five percent (5%) of
                                                           percent (5%)    the TTUSDS
                                                                        of the TTUSDS annual
                                                                                      annual
                         operating budget for
                         operating budget       the given
                                           for the  given year;
                                                           year;

                                          (5)
                                          (5)     Any transaction that:
                                                  Any transaction that:

                                                        (A)
                                                        (A)     Is with aa ByteDance
                                                                Is with    ByteDance competitor
                                                                                     competitor
                                 listed in Annex
                                 listed in       F or
                                           Annex F or an
                                                      an Affiliate
                                                         Affiliate of
                                                                   of aa ByteDance
                                                                         ByteDance competitor
                                                                                   competitor listed
                                                                                              listed
                                 in Annex
                                 in Annex F;F;

                                                         (B)
                                                         (B)     Results in
                                                                 Results   in any
                                                                              any material
                                                                                  material negative
                                                                                           negative
                                 deviation  from the
                                 deviation from   the standards
                                                      standards for the TikTok
                                                                for the           U.S. App
                                                                         TikTok U.S.   App and
                                                                                            and TikTok
                                                                                                TikTok
                                 U.S. Platform
                                 U.S. Platform set   by ByteDance;
                                                 set by ByteDance; provided     that such
                                                                     provided that   such standards
                                                                                          standards are
                                                                                                    are
                                 consistent  with this
                                 consistent with  this Agreement
                                                       Agreement inin all
                                                                      all respects
                                                                          respects as
                                                                                   as determined  by the
                                                                                      determined by  the
                                 CMAs
                                 CMAs or    the Security
                                        or the  Security Committee
                                                          Committee asas applicable;
                                                                          applicable; or
                                                                                      or

                                                        (C)
                                                        (C)     Violates in
                                                                Violates in any
                                                                             any material
                                                                                 material respect
                                                                                          respect any
                                                                                                  any
                                 contracts and license agreements   among   the Transaction Parties
                                 contracts and license agreements among the Transaction Parties
                                 and their respective
                                 and their respective subsidiaries.
                                                      subsidiaries.

                           (viii) Waiver
                           (viii) Waiver of litigation rights,
                                         of litigation rights, or
                                                               or agreement
                                                                  agreement of
                                                                            of settlement
                                                                               settlement or
                                                                                          or admission
                                                                                             admission
 of liability, fault,
 of liability, fault, or
                      or noncompliance
                         noncompliance of
                                       of TTUSDS
                                          TTUSDS or      its subsidiaries;
                                                     or its  subsidiaries;

                          (ix)
                          (ix)     Settling
                                   Settling any litigation or
                                            any litigation or other
                                                              other proceedings   (a) for
                                                                     proceedings (a)  for an
                                                                                          an amount
                                                                                             amount
 exceeding   [$1 million]
 exceeding [$1             individually or
                  million] individually      [$10 million]
                                          or [$10          in the
                                                  million] in the aggregate
                                                                   aggregate per
                                                                              per calendar  year; or
                                                                                  calendar year;     (b)
                                                                                                  or (b)
 that involve
 that involve the
               the grant
                   grant of
                         of an  injunction or
                             an injunction  or other
                                               other equitable
                                                     equitable relief
                                                                relief or
                                                                       or otherwise impose any
                                                                          otherwise impose   any material
                                                                                                  material
 restriction
 restriction on  the Transaction
             on the                Parties’ business
                     Transaction Parties'   business and  their respective
                                                      and their respective subsidiaries;
                                                                            subsidiaries;

                       (x)
                       (x) Making any
                           Making    any material
                                         material change   to the
                                                   change to  the accounting
                                                                  accounting policies,
                                                                             policies, practices,
                                                                                       practices,
 or
 or methodologies
    methodologies for
                  for TTUSDS
                      TTUSDS or its subsidiaries,
                             or its               unless otherwise
                                    subsidiaries, unless otherwise required  by law;
                                                                    required by law;

                      (xi)
                      (xi)    The  filing or
                              The filing  or making
                                             making ofof any
                                                         any petition under the
                                                             petition under the U.S.
                                                                                U.S. federal
                                                                                     federal
 bankruptcy laws or any similar law  or statute of any state or any foreign country;
 bankruptcy laws or any similar law or statute of any state or any foreign country;

                        (xii) Making
                        (xii)    Making any
                                          any changes  to the
                                               changes to the existing
                                                              existing legal
                                                                       legal rights
                                                                             rights or
                                                                                    or preferences
                                                                                       preferences of
                                                                                                   of
 the shareholder
 the             interests, rights,
     shareholder interests, rights, preferences,
                                    preferences, or
                                                 or privileges in the
                                                    privileges in the ownership
                                                                      ownership and   governance
                                                                                 and governance
 documents
 documents of
            of TTUSDS
               TTUSDS or  or any
                              any of its subsidiaries;
                                  of its subsidiaries;

                     (xiii) To
                     (xiii)     the extent
                             To the extent not
                                           not otherwise
                                               otherwise covered
                                                         covered above,
                                                                 above, making
                                                                        making any
                                                                                 any
 amendments to the
 amendments to the ownership
                   ownership and  governance documents
                             and governance   documents of
                                                         of TTUSDS
                                                            TTUSDS oror any
                                                                        any of its subsidiaries;
                                                                            of its subsidiaries;

                         (xiv) The
                         (xiv)   The creation
                                       creation of
                                                 of any
                                                    any new
                                                          new direct
                                                               direct or indirect subsidiary
                                                                      or indirect  subsidiary of
                                                                                              of TTUSDS
                                                                                                 TTUSDS
 or issuance or
 or issuance    transfer of
             or transfer of equity
                             equity of
                                    of any
                                       any direct
                                            direct or   indirect subsidiary
                                                    or indirect  subsidiary of
                                                                             of TTUSDS,
                                                                                TTUSDS, in  in each
                                                                                               each case,
                                                                                                    case,
 other than the
 other than the creation
                creation of
                          of TTUSDS     itself or
                             TTUSDS itself     or of
                                                  of aa wholly
                                                        wholly owned
                                                                owned direct
                                                                         direct or indirect subsidiary
                                                                                or indirect subsidiary of
                                                                                                       of
 TTUSDS;
 TTUSDS;




                                                     18
                                                     18
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                                                        PURSUANT TO TO 50
                                                                        50 U.S.C.
                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                             U.S.C. §§ 552
                                                                                       552
                                                              Parties’ Draft as
                                                              Parties' Draft as of 8/23/22
                                                                                of 8/23/22

                       (xv) adoption
                       (xv)    adoption of  the overall
                                         of the overall annual budget and
                                                        annual budget and key
                                                                          key performance
                                                                              performance
 indicators (“KPIs”), but only if the budget or KPIs, as applicable, do not meet the following
 indicators ("KPIs"), but only if the budget or KPIs, as applicable, do not meet the following
 requirements:
 requirements:

                                 (1)
                                 (1)     The budget and
                                         The budget     KPIs are
                                                    and KPIs       within the
                                                               are within the parameters
                                                                              parameters set by the
                                                                                         set by the
                          TikTok,
                          TikTok, Inc. Board, and
                                  Inc. Board, and presented  to and
                                                  presented to  and discussed  with the
                                                                    discussed with  the TTUSDS
                                                                                        TTUSDS
                          Board and
                          Board and management;
                                     management; provided   that the
                                                  provided that  the TTUSDS     board confirms
                                                                     TTUSDS board              that
                                                                                      confirms that
                          the budget
                          the budget parameters
                                     parameters provide
                                                provide sufficient
                                                        sufficient funding
                                                                   funding for
                                                                            for TTUSDS
                                                                                TTUSDS consistent
                                                                                          consistent
                          with Section
                          with         2.8;
                               Section 2.8;

                                 (2)
                                 (2)     TTUSDS
                                         TTUSDS hashas provided the TikTok,
                                                       provided the TikTok, Inc.   Board aa reasonable
                                                                              Inc. Board    reasonable
                          opportunity to review
                          opportunity to        the budget
                                         review the budget and KPIs prior
                                                           and KPIs        to TTUSDS
                                                                     prior to           Board
                                                                              TTUSDS Board
                          approval;
                          approval; and
                                    and

                                 (3)
                                 (3)     The  budget’s assumptions
                                         The budget's  assumptions and
                                                                   and projections
                                                                       projections are
                                                                                    are reasonable
                                                                                        reasonable
                          and
                          and consistent with the
                              consistent with the performance
                                                  performance of
                                                              of TTUSDS
                                                                 TTUSDS as    it develops.
                                                                           as it develops.

                        (xvi) Such
                        (xvi) Such other
                                    other matters
                                           matters as
                                                   as may be added
                                                      may be       to this
                                                             added to this list
                                                                           list with
                                                                                with the
                                                                                     the prior
                                                                                         prior
 written approval
 written approval of the CMAs
                  of the       in their
                         CMAs in  their sole
                                        sole discretion.
                                             discretion.

                 (2)
                 (2)      The
                          The TTUSDS
                              TTUSDS Shareholder
                                          Shareholder shall   be entitled
                                                        shall be           to all
                                                                 entitled to  all relevant
                                                                                  relevant and
                                                                                            and material
                                                                                                material
 information necessary
 information              to make
               necessary to  make an   informed decisions
                                   an informed    decisions regarding
                                                             regarding any
                                                                        any action
                                                                              action or
                                                                                      or decision taken in
                                                                                         decision taken  in
 connection   with Paragraph
 connection with   Paragraph 3.13(1)
                               3.13(1) except   information that
                                        except information    that the
                                                                   the Security
                                                                       Security Committee
                                                                                  Committee determines
                                                                                               determines inin
 their sole
 their sole discretion to be
            discretion to be information
                             information that
                                           that cannot  be shared
                                                cannot be  shared consistent    with this
                                                                    consistent with    this Agreement
                                                                                            Agreement
 including those
 including  those matters
                  matters relating  to data
                           relating to  data security,
                                             security, cybersecurity
                                                       cybersecurity oror national
                                                                          national security
                                                                                     security
                  Matters”).
 (“Confidential Matters").
 ("Confidential

                 (3)
                 (3)      The
                          The TTUSDS
                              TTUSDS Governance Documents shall
                                     Governance Documents shall also
                                                                also provide that:
                                                                     provide that:

                         (i) the
                         (i)  the TTUSDS     Board shall
                                  TTUSDS Board      shall consult with the
                                                          consult with the TikTok
                                                                           TikTok Inc.  Board on
                                                                                  Inc. Board   on
         determining
         determining compensation
                      compensation and      benefits of
                                        and benefits    Key Management
                                                     of Key  Management Personnel,
                                                                           Personnel, including
                                                                                      including the
                                                                                                 the
         general manager,
         general manager, head
                             head of
                                   of human
                                      human resources,
                                              resources, head
                                                         head of  technology, and
                                                               of technology, and head
                                                                                  head of
                                                                                        of finance,
                                                                                           finance, or
                                                                                                    or
         their equivalents.
         their               For the
               equivalents. For   the avoidance
                                      avoidance ofof doubt, the TTUSDS
                                                     doubt, the           Board shall
                                                                TTUSDS Board    shall retain the final
                                                                                      retain the final
         authority to determine
         authority to             the compensation
                      determine the    compensation and    benefits of
                                                      and benefits     Key Management
                                                                    of Key Management Personnel;
                                                                                         Personnel; and
                                                                                                     and

                         (ii) the
                         (ii) the TTUSDS     Board shall
                                  TTUSDS Board       shall adopt
                                                           adopt and
                                                                  and maintain
                                                                      maintain policies  that are
                                                                                policies that are
         materially
         materially consistent  with corresponding
                     consistent with  corresponding policies    that are
                                                       policies that are produced
                                                                         produced and
                                                                                   and maintained
                                                                                        maintained at   by
                                                                                                     at by
         the TikTok,
         the  TikTok, Inc.  Board of
                       Inc. Board     Directors to
                                   of Directors to ensure
                                                    ensure consistency   in operations,
                                                            consistency in              including, by
                                                                            operations, including,   by
         way of
         way   of example,  budget planning
                  example, budget   planning and
                                              and reporting,
                                                   reporting, key
                                                               key performance   indicators, principles
                                                                   performance indicators,    principles
         on  finance operations,
         on finance   operations, principles
                                  principles on
                                             on compliance
                                                compliance and     governance, principles
                                                               and governance,   principles on  tax, and
                                                                                            on tax,  and
         principles
         principles on
                     on auditing,
                        auditing, provided
                                  provided such
                                            such policies,
                                                  policies, as
                                                             as adopted  by the
                                                                adopted by  the TTUSDS     Board, are
                                                                                TTUSDS Board,      are
         consistent  with this
         consistent with  this Agreement.
                               Agreement.




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                                                      19
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                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

                                                ARTICLE IV
                                                ARTICLE IV

                                  GOVERNANCE
                                  GOVERNANCE OF
                                             OF TIKTOK
                                                TIKTOK INC.
                                                       INC.

         4.1
         4.1      TikTok
                   TikTok Inc.   Board Composition.
                            Inc. Board                   ByteDance and
                                        Composition. ByteDance      and TikTok     Ltd. shall
                                                                         TikTok Ltd.       shall ensure that
                                                                                                 ensure that
 TikTok
 TikTok Inc.,
          Inc., at
                at least thirty (30)
                   least thirty (30) days
                                     days prior  to the
                                           prior to the Operational Date, and
                                                        Operational Date,   and at
                                                                                 at all  times thereafter,
                                                                                    all times   thereafter, is
                                                                                                            is
 governed by
 governed   by aa board
                  board ofof directors
                             directors (the “TikTok Inc.
                                       (the "TikTok         Board”) of
                                                       Inc. Board")  of at
                                                                        at least five (5)
                                                                           least five   (5) directors
                                                                                             directors
 consistent  with the
 consistent with   the following
                       following composition:
                                   composition:

               (1)
               (1)    at least two
                      at least     (2) directors
                               two (2)           who are
                                       directors who are not
                                                         not CFIUS Restricted Persons,
                                                             CFIUS Restricted Persons, unless
                                                                                         unless
 otherwise
 otherwise approved by the
           approved by the CMAs,
                           CMAs, whowho are
                                         are employed  by ByteDance
                                             employed by  ByteDance or its Affiliates
                                                                    or its            (the "Inside
                                                                           Affiliates (the “Inside
 Directors”);
 Directors");

                 (2)
                 (2)     at least two
                         at least two (2)
                                      (2) directors who are
                                          directors who     Resident U.S.
                                                        are Resident   U.S. Citizens
                                                                            Citizens or
                                                                                     or citizens
                                                                                        citizens of
                                                                                                 of
 other
 other countries
       countries of  the National
                  of the National Technology
                                   Technology and
                                                and Industrial Base, as
                                                    Industrial Base, as defined  by 10
                                                                        defined by      U.S.C. §§ 2500
                                                                                    10 U.S.C.     2500
 ("NTIB"), unless otherwise approved by the CMAs, who are not employed by ByteDance or
 (“NTIB”),   unless  otherwise  approved  by  the CMAs,  who   are not employed   by ByteDance       its
                                                                                                  or its
 Affiliates (the "Outside
 Affiliates (the            Directors”); and
                 “Outside Directors");    and

                  (3)
                  (3)     the TTUSDS
                          the TTUSDS Chair
                                     Chair appointed
                                           appointed pursuant to Section
                                                     pursuant to         3.1.
                                                                 Section 3.1.

         4.2
         4.2     Business of
                 Business  of TikTok
                              TikTok Inc.    By no
                                        Inc. By      later than
                                                 no later   than the
                                                                 the Operational   Date, ByteDance
                                                                      Operational Date,   ByteDance andand
 TikTok
 TikTok Inc.
          Inc. shall
               shall each
                     each ensure  that the
                          ensure that  the TikTok
                                           TikTok Inc.     Board is
                                                     Inc. Board    is responsible
                                                                      responsible for the governance
                                                                                  for the  governance of   the
                                                                                                        of the
 business related
 business          to the
           related to the TikTok   U.S. App
                          TikTok U.S.    App and
                                              and TikTok
                                                   TikTok U.S.U.S. Platform
                                                                    Platform other  than those
                                                                             other than   those related to the
                                                                                                related to the
 CFIUS   Functions, which
 CFIUS Functions,     which shall  be solely
                            shall be  solely owned
                                              owned or    licensed, and
                                                       or licensed,   and managed,
                                                                          managed, byby TTUSDS,
                                                                                         TTUSDS, andand
 except
 except as
        as otherwise
            otherwise expressly
                       expressly provided    for in
                                  provided for   in this
                                                    this Agreement.
                                                         Agreement. Other      than as
                                                                         Other than     they relate
                                                                                     as they        to
                                                                                             relate to
 compliance   with this
 compliance with    this Agreement,   the TikTok
                         Agreement, the   TikTok Inc.    Board shall
                                                    Inc. Board    shall have
                                                                        have exclusive
                                                                             exclusive management
                                                                                         management
 authority
 authority over  the following
            over the following matters:
                               matters:

                  (1)
                  (1)     Business strategy
                          Business          for the
                                   strategy for the United
                                                    United States;
                                                           States;

                (2)
                (2)   Coordination between the
                      Coordination between the TikTok business in
                                               TikTok business in the
                                                                  the United
                                                                      United States with the
                                                                             States with the
 rest-of-world
 rest-of-world TikTok business;
               TikTok business;

                  (3)
                  (3)     Product feature
                          Product feature development
                                          development for the United
                                                      for the United States;
                                                                     States;

                  (4)
                  (4)     Internal tool development
                          Internal tool             to be
                                        development to be used
                                                          used and
                                                               and deployed in the
                                                                   deployed in the TikTok U.S.
                                                                                   TikTok U.S.
 Platform;
 Platform;

                  (5)
                  (5)     TikTok U.S. User
                          TikTok U.S. User experience, including user
                                           experience, including user feedback;
                                                                      feedback;

                  (6)
                  (6)     U.S. trust
                          U.S. trust and
                                     and safety;
                                         safety;

                 (7)
                 (7)    Setting
                        Setting standards
                                standards and
                                          and measuring    for the
                                               measuring for   the TikTok  business in
                                                                   TikTok business  in the
                                                                                       the United
                                                                                           United
 States the following:
 States the following: core business practices,
                       core business practices, policies,
                                                policies, and
                                                          and metrics, including human
                                                              metrics, including human resources
                                                                                         resources
 policies, KPIs, employee
 policies, KPIs, employee morale
                            morale and
                                   and sentiment,
                                       sentiment, and
                                                   and compensation
                                                        compensation policies;
                                                                       policies;




                                                       20
                                                       20
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                                               CONFIDENTIAL
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                                                              PURSUANT TO TO 50
                                                                              50 U.S.C.
                                                                                 U.S.C. § § 4565
                                                                                            4565
                                           EXEMPT
                                           EXEMPT FROM   DISCLOSURE UNDER
                                                    FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                   U.S.C. §§ 552
                                                                                             552
                                                                    Parties’ Draft as
                                                                    Parties' Draft as of 8/23/22
                                                                                      of 8/23/22

                 (8)
                 (8)     Reviewing recruitment,
                         Reviewing   recruitment, hiring
                                                  hiring or termination, compensation,
                                                         or termination,                 benefits, and
                                                                          compensation, benefits,  and
 performance   of senior officers and managers  for the United  States to ensure consistency with
 performance of senior officers and managers for the United States to ensure consistency with the   the
 rest
 rest of the world
      of the world and
                   and company
                       company policies;
                                  policies;

                (9)
                (9)      Setting
                         Setting facilities
                                 facilities and
                                            and real
                                                real estate
                                                     estate standards
                                                            standards for
                                                                      for consistency with rest-of-
                                                                          consistency with rest-of-
 world real
 world real estate
            estate practices;
                   practices;

                   (10)
                   (10)     U.S. financials
                            U.S. financials and
                                            and other
                                                other related
                                                      related matters, including:
                                                              matters, including:

                            (i)
                            (i)       Revenue, operating
                                      Revenue, operating expenses,
                                                         expenses, and
                                                                   and related
                                                                       related metrics;
                                                                               metrics;

                            (ii)
                            (ii)      Audits
                                      Audits and
                                             and reporting;
                                                 reporting;

                            (iii)
                            (iii)     Budgets and
                                      Budgets and forecast;
                                                  forecast;

                            (iv)
                            (iv)      Treasury,
                                      Treasury, cash,
                                                cash, and
                                                      and debt;
                                                          debt;

                            (v)
                            (v)       Taxes;
                                      Taxes;

                            (vi)
                            (vi)      Valuation;
                                      Valuation;

                     (11) Legal
                     (11) Legal compliance
                                compliance matters unrelated to
                                           matters unrelated to this
                                                                this Agreement;
                                                                     Agreement; and
                                                                                and

                     (12) such
                     (12) such other
                               other matters that are
                                     matters that are necessary to give
                                                      necessary to give effect to the
                                                                        effect to the aforementioned
                                                                                      aforementioned
 listed items.
 listed items.

          4.3
          4.3      TikTok
                   TikTok Inc. Board Voting
                          Inc. Board Voting and
                                            and Quorum Requirements.
                                                Quorum Requirements.

                   (1)
                   (1)     TikTok
                           TikTok Inc.
                                     Inc. shall
                                          shall ensure  that each
                                                ensure that  each director
                                                                   director of  the TikTok
                                                                            of the  TikTok Inc. Board is
                                                                                           Inc. Board is
 entitled  to cast
 entitled to  cast one (1) vote
                   one (1) vote on
                                 on each
                                      each matter
                                           matter presented
                                                   presented toto the
                                                                  the TikTok
                                                                      TikTok Inc.   Board and
                                                                               Inc. Board and any
                                                                                              any
 committee    thereof, and
 committee thereof,         that all
                       and that  all decisions
                                      decisions of  the TikTok
                                                 of the TikTok Inc.   Board and
                                                                 Inc. Board   and any
                                                                                   any committee thereof
                                                                                       committee thereof
 require  the affirmative
 require the               vote of
               affirmative vote  of aa majority
                                       majority of   the directors
                                                 of the            in office.
                                                         directors in office.

                   (2)
                   (2)        TikTok
                              TikTok Inc.
                                        Inc. shall
                                             shall ensure   that the
                                                    ensure that  the presence
                                                                      presence of    the TTUSDS
                                                                                  of the  TTUSDS Chair       is
                                                                                                      Chair is
 required   in order  to  establish   a  quorum   at any  meeting
 required in order to establish a quorum at any meeting of, or for   of, or for  any
                                                                                 any  action
                                                                                      action  by,
                                                                                              by, the
                                                                                                  the  TikTok
                                                                                                       TikTok    Inc.
                                                                                                                 Inc.
 Board or
 Board  or any
             any committee      thereof, unless
                  committee thereof,       unless the
                                                   the TTUSDS
                                                       TTUSDS ChairChair has
                                                                           has received    written notice
                                                                                received written     notice of
                                                                                                             of such
                                                                                                                such
 meetings
 meetings and     twice failed
             and twice            to attend
                          failed to           without reasonable
                                     attend without                  justification. Prior
                                                       reasonable justification.       Prior to
                                                                                             to holding
                                                                                                holding any
                                                                                                          any
 meeting
 meeting of    the TikTok
           of the  TikTok Inc.      Board without
                              Inc. Board    without the
                                                      the presence
                                                          presence of    the TTUSDS
                                                                      of the  TTUSDS Chair,
                                                                                          Chair, TikTok
                                                                                                  TikTok Inc.
                                                                                                            Inc. shall
                                                                                                                  shall
 notify the CMAs
 notify the   CMAs of     the TTUSDS
                      of the   TTUSDS Chair’s
                                            Chair's failure   to attend
                                                     failure to  attend and
                                                                         and provide     the relevant
                                                                               provide the             justification
                                                                                             relevant justification
 (if any).
 (if         Whether the
     any). Whether      the TTUSDS
                             TTUSDS Chair’s        justification for
                                          Chair's justification   for his
                                                                       his or
                                                                           or her   failure to
                                                                               her failure  to attend
                                                                                               attend constitutes
                                                                                                       constitutes
 “reasonable justification"
 "reasonable    justification” for
                                 for purposes
                                      purposes ofof Section
                                                     Section 4.3(2)
                                                               4.3(2) shall   be in
                                                                       shall be   in the
                                                                                     the sole
                                                                                         sole discretion
                                                                                               discretion of   the
                                                                                                           of the
 CMAs.
 CMAs. If     the CMAs
           If the  CMAs do   do not
                                not object   in writing
                                     object in  writing within
                                                          within ten
                                                                  ten (10)
                                                                       (10) days    following receipt
                                                                             days following     receipt of  the
                                                                                                         of the
 TTUSDS
 TTUSDS Chair’s        justification for
              Chair's justification     for his
                                            his or
                                                or her  failure to
                                                    her failure to attend,   the lack
                                                                    attend, the   lack of
                                                                                        of action
                                                                                           action shall
                                                                                                   shall constitute
                                                                                                         constitute aa
 non-objection.
 non-objection. TikTok
                    TikTok Inc.Inc. shall
                                    shall ensure    that neither
                                           ensure that            the TikTok
                                                         neither the   TikTok Inc.     Board nor
                                                                                 Inc. Board    nor any
                                                                                                    any committee
                                                                                                        committee
 thereof convenes
 thereof  convenes or      takes any
                      or takes   any action    in the
                                       action in  the absence
                                                       absence ofof aa quorum.
                                                                       quorum.




                                                           21
                                                           21
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                                           CONFIDENTIAL
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                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

                (3)
                (3)      TikTok
                         TikTok Inc.
                                 Inc. shall
                                      shall ensure   that the
                                            ensure that   the affirmative vote of
                                                              affirmative vote    the TTUSDS
                                                                               of the TTUSDS Chair    is
                                                                                                Chair is
 required
 required for
          for any
              any decision
                   decision of the TikTok Inc. Board or any committee thereof that involves any of
                            of the TikTok   Inc. Board   or any  committee  thereof that involves any of
 the following
 the           with respect
     following with          to TikTok
                     respect to TikTok Inc.
                                        Inc. or  its subsidiaries,
                                              or its subsidiaries, each
                                                                   each as
                                                                        as determined  in accordance
                                                                           determined in   accordance
 with the
 with the TTUSDS
          TTUSDS Chair’s
                     Chair's reasonable
                             reasonable discretion
                                         discretion and    in conformance
                                                      and in               with said
                                                              conformance with        Director’s
                                                                                 said Director's
 fiduciary duties:
 fiduciary duties:

                       (i)
                       (i)      matters
                                matters dealing   with the
                                         dealing with  the relationship with or
                                                           relationship with or responsibilities
                                                                                responsibilities of the
                                                                                                 of the
         TTP,
         TTP, each
              each solely
                   solely as  they relate
                           as they        to this
                                   relate to this Agreement;
                                                  Agreement; and
                                                               and

                        (ii)
                        (ii)  issues that
                              issues that directly impact the
                                          directly impact the Transaction Parties’ compliance
                                                              Transaction Parties' compliance
         with this
         with this Agreement.
                   Agreement.

          4.4
          4.4     Board Conflicts.
                  Board             The Transaction
                         Conflicts. The                 Parties shall
                                          Transaction Parties   shall ensure  the business
                                                                      ensure the  business and
                                                                                             and affairs
                                                                                                  affairs of
                                                                                                           of
 TikTok
 TikTok Inc.
           Inc. and
                and TTUSDS
                    TTUSDS areare managed,
                                  managed, and
                                             and all
                                                  all corporate
                                                      corporate powers
                                                                 powers are
                                                                          are exercised  by or
                                                                              exercised by       under the
                                                                                              or under   the
 direction
 direction of,  the TikTok
            of, the TikTok Inc.  Board and
                            Inc. Board  and TTUSDS      Board, respectively.
                                            TTUSDS Board,       respectively. IfIf during
                                                                                   during aa meeting
                                                                                             meeting of    the
                                                                                                        of the
 TikTok
 TikTok Inc.    Board, the
           Inc. Board, the TTUSDS     Chair objects  to a topic of discussion,  the matter   shall be
                           TTUSDS Chair objects to a topic of discussion, the matter shall be tabled   tabled
 until the
 until the Security
            Security Committee
                     Committee can
                                 can convene   to determine
                                      convene to              whether the
                                                  determine whether     the matter
                                                                            matter appropriately     falls
                                                                                    appropriately falls
 within the
 within  the scope
              scope of
                    of Section 2.4 or
                       Section 2.4 or 4.2.
                                       4.2.

         4.5
         4.5      TTUSDS
                  TTUSDS Chair        Duties. ByteDance,
                              Chair Duties.     ByteDance, TikTok      Ltd., and
                                                              TikTok Ltd.,   and TikTok
                                                                                   TikTok Inc.
                                                                                            Inc. shall
                                                                                                 shall ensure
                                                                                                         ensure
 that in
 that in exercising
         exercising his
                      his or
                          or her
                             her duties,  the TTUSDS
                                  duties, the  TTUSDS Chair
                                                          Chair owes    fiduciary duties
                                                                 owes fiduciary     duties exclusively
                                                                                           exclusively to to the
                                                                                                             the
 CMAs
 CMAs andand TikTok
              TikTok Inc.;               that the
                              provided that
                        Inc.; provided        the TTUSDS
                                                  TTUSDS ChairChair shall
                                                                     shall discharge
                                                                            discharge his
                                                                                        his or
                                                                                            or her
                                                                                               her duties   in aa
                                                                                                    duties in
 manner   that he
 manner that   he or
                   or she
                       she reasonably   believe in
                           reasonably believe    in good
                                                    good faith
                                                           faith to
                                                                 to be,
                                                                    be, in
                                                                        in descending
                                                                           descending order:     first, in
                                                                                         order: first,  in the
                                                                                                           the
 national
 national security   interest of
           security interest      the United
                               of the United States
                                               States as
                                                      as determined
                                                         determined by by the
                                                                           the CMAs;
                                                                               CMAs; and and second,    where not
                                                                                              second, where      not
 inconsistent with
 inconsistent  with the
                      the national
                          national security   interest of
                                    security interest     the United
                                                       of the  United States,   in the
                                                                        States, in the best
                                                                                       best interests
                                                                                             interests of
                                                                                                        of
 TikTok
 TikTok Inc.,   in each
          Inc., in each case
                          case subject  to this
                                subject to this Agreement.
                                                Agreement.

        4.6
        4.6      TikTok
                 TikTok Inc.    Recordkeeping. TikTok
                           Inc. Recordkeeping.    TikTok Inc.
                                                            Inc. shall
                                                                 shall ensure  that the
                                                                       ensure that  the TikTok
                                                                                        TikTok Inc.   Board
                                                                                                 Inc. Board
 prepares
 prepares and
          and retains
               retains all
                       all records,  journals, and
                            records, journals, and minutes
                                                   minutes of of all
                                                                 all meetings
                                                                     meetings and
                                                                                and deliberations
                                                                                    deliberations of  the
                                                                                                   of the
 TikTok
 TikTok Inc.  Board and
         Inc. Board  and anyany committee  thereof for
                                committee thereof   for aa period
                                                           period of
                                                                   of at
                                                                      at least five (5)
                                                                         least five (5) years
                                                                                        years for inspection
                                                                                              for inspection
 by the
 by the CMAs.
        CMAs.

         4.7
         4.7      TTUSDS
                  TTUSDS Chair Vacancy and
                         Chair Vacancy     Removal.
                                       and Removal.

                 (1)
                 (1)     The
                         The TTUSDS
                              TTUSDS Chair
                                        Chair shall  be subject
                                               shall be         to the
                                                        subject to the same vacancy and
                                                                       same vacancy and removal
                                                                                         removal
 provisions
 provisions as in his
            as in his or
                      or her
                         her capacity
                             capacity as
                                      as aa Security Director of
                                            Security Director    the TTUSDS
                                                              of the           Board in
                                                                     TTUSDS Board    in accordance
                                                                                        accordance
 with Section
 with          3.10.
      Section 3.10.

                (2)
                (2)     The
                         The TTUSDS
                             TTUSDS Chair
                                        Chair may   be removed
                                               may be  removed from    the TikTok
                                                                 from the   TikTok Inc.   Board on
                                                                                     Inc. Board    the
                                                                                                on the
 same terms and
 same terms  and conditions
                  conditions as
                             as set forth for
                                set forth for Security Directors in
                                              Security Directors  in Section  3.10. In
                                                                     Section 3.10.      the event
                                                                                     In the event of
                                                                                                  of aa
 vacancy in
 vacancy in the
            the TTUSDS
                TTUSDS Chair
                           Chair position,  ByteDance shall
                                  position, ByteDance   shall select
                                                              select one  (1) of
                                                                     one (1)     the remaining
                                                                              of the remaining Security
                                                                                                Security
 Directors of
 Directors    the TTUSDS
           of the           Board to
                  TTUSDS Board      to assume  the TTUSDS
                                       assume the  TTUSDS Chair
                                                              Chair position
                                                                     position on  the TikTok
                                                                              on the  TikTok Inc.
                                                                                              Inc.
 Board, subject
 Board,         to prior
        subject to prior notice to and
                         notice to and non-objection   by the
                                        non-objection by  the CMAs.
                                                              CMAs.




                                                         22
                                                         22
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                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

                (3)
                (3)     For the
                        For the avoidance
                                avoidance ofof doubt,  the lapse
                                               doubt, the  lapse of
                                                                 of aa term
                                                                       term limit
                                                                             limit for
                                                                                   for any
                                                                                       any TTUSDS
                                                                                           TTUSDS
 Chair
 Chair of the TikTok
       of the TikTok Inc.  Board shall
                      Inc. Board       trigger  the  processes under   this Section  4.7 for
                                 shall trigger the processes under this Section 4.7 for the  the
 replacement
 replacement of
              of such
                 such TTUSDS
                      TTUSDS Chair,     including the
                                Chair, including    the timing
                                                        timing requirements
                                                               requirements for for replacements.
                                                                                    replacements.

         4.8
         4.8      TTUSDS
                  TTUSDS BoardBoard and
                                    and TikTok
                                         TikTok Inc.  Board Coordination.
                                                 Inc. Board                   Notwithstanding any
                                                               Coordination. Notwithstanding     any other
                                                                                                      other
 provision
 provision of  this Agreement,
            of this Agreement, thethe TTUSDS    Board and
                                      TTUSDS Board      and TikTok
                                                             TikTok Inc.  Board shall
                                                                     Inc. Board         be permitted
                                                                                  shall be            to
                                                                                           permitted to
 meet jointly to
 meet jointly  to facilitate
                  facilitate discussion
                             discussion of
                                        of any
                                           any matters
                                               matters not
                                                         not prohibited by this
                                                             prohibited by  this Agreement.   Until the
                                                                                 Agreement. Until    the
 one-year
 one-year anniversary
           anniversary of    the Operational
                          of the             Date, the
                                 Operational Date,  the TTUSDS     Board and
                                                        TTUSDS Board      and TikTok
                                                                               TikTok Inc.   Board are
                                                                                        Inc. Board  are
 recommended
 recommended to  to meet   (in-person or
                    meet (in-person      virtually) monthly.
                                      or virtually)             Following the
                                                    monthly. Following     the first
                                                                               first anniversary
                                                                                     anniversary of the
                                                                                                 of the
 Operational  Date, the
 Operational Date,   the TTUSDS      Board and
                          TTUSDS Board      and TikTok
                                                TikTok Inc.    Board are
                                                          Inc. Board are recommended
                                                                         recommended to   to meet
                                                                                             meet
 quarterly.
 quarterly.

                                                   ARTICLE V
                                                   ARTICLE V

                                       MANAGEMENT
                                       MANAGEMENT OF
                                                  OF TTUSDS
                                                     TTUSDS

          5.1
          5.1     Key Management.
                  Key Management.

                    (1)
                    (1)     Within seven
                            Within           (7) days
                                      seven (7)        following the
                                                 days following    the appointment
                                                                       appointment of      the TTUSDS
                                                                                        of the TTUSDS Board,Board,
 TTUSDS
 TTUSDS shallshall ensure   that the
                     ensure that  the TTUSDS      Board nominates
                                       TTUSDS Board                   individuals to
                                                          nominates individuals     to serve
                                                                                        serve as  Key
                                                                                               as Key
 Management, and
 Management,       and concurrently
                        concurrently shall
                                        shall submit  to the
                                              submit to  the CMAs
                                                              CMAs aa list
                                                                        list of
                                                                             of such  individuals, full
                                                                                such individuals,          internal
                                                                                                      full internal
 organizational
 organizational charts,
                    charts, and
                            and any
                                 any other
                                       other details
                                             details reasonably
                                                     reasonably requested
                                                                  requested by by the
                                                                                  the CMAs
                                                                                       CMAs for     the CMAs
                                                                                                for the  CMAs to to
 designate,
 designate, inin their
                 their sole
                        sole discretion,
                             discretion, any   Personnel as
                                          any Personnel        Key Management.
                                                            as Key  Management. If       the CMAs
                                                                                      If the CMAs designate
                                                                                                       designate
 any Personnel of
 any Personnel     of TTUSDS
                       TTUSDS as      Key Management,
                                   as Key  Management, TTUSDS
                                                            TTUSDS shall
                                                                       shall ensure    that such
                                                                              ensure that         Personnel are
                                                                                            such Personnel     are
 subject to the
 subject to  the nomination,
                  nomination, appointment,
                                 appointment, removal,
                                                 removal, andand replacement
                                                                 replacement processes
                                                                                 processes for   Key
                                                                                             for Key
 Management under
 Management       under Sections
                          Sections 5.1
                                     5.1 and
                                         and 5.2.
                                              5.2. TTUSDS
                                                   TTUSDS shallshall ensure   that all
                                                                     ensure that   all nominees
                                                                                       nominees for     Key
                                                                                                   for Key
 Management are
 Management            Resident U.S.
                  are Resident   U.S. Citizens
                                        Citizens and
                                                  and hold
                                                       hold no
                                                             no position   within ByteDance
                                                                position within    ByteDance or  or any
                                                                                                     any of  its
                                                                                                          of its
 Affiliates,  in both
 Affiliates, in  both cases   for the
                        cases for  the duration
                                        duration of
                                                  of his
                                                     his or
                                                         or her
                                                            her service
                                                                service as   Key Management
                                                                          as Key  Management and         unless
                                                                                                   and unless
 otherwise
 otherwise approved
             approved by  by the
                             the CMAs.
                                  CMAs.

                  (2)
                  (2)      The
                           The appointment
                                 appointment of   of any  individual as
                                                      any individual       Key Management
                                                                        as Key   Management shall      be subject
                                                                                                 shall be           to
                                                                                                           subject to
 the prior
 the prior non-objection
           non-objection of     the CMAs.
                             of the  CMAs. For For each
                                                     each nominee,
                                                           nominee, TTUSDS
                                                                        TTUSDS shallshall submit
                                                                                          submit complete
                                                                                                   complete
 Personal Identifier
 Personal  Identifier Information,
                       Information, aa curriculum
                                         curriculum vitaevitae or
                                                               or similar
                                                                  similar professional
                                                                            professional synopsis,
                                                                                            synopsis, contact
                                                                                                       contact
 information, and
 information,   and any
                     any other   information requested
                          other information      requested by by the
                                                                 the CMAs
                                                                      CMAs to  to ensure   that the
                                                                                   ensure that  the nominee
                                                                                                    nominee can can
 effectively
 effectively perform    the functions
              perform the    functions set   forth in
                                         set forth   in this
                                                        this Agreement.
                                                             Agreement. TTUSDSTTUSDS shall
                                                                                         shall ensure   that each
                                                                                               ensure that    each
 nominee
 nominee isis available
              available for
                          for an  interview with
                              an interview    with the
                                                     the CMAs,
                                                          CMAs, at    their request.
                                                                   at their  request. If  the CMAs
                                                                                       If the  CMAs do do not
                                                                                                           not object
                                                                                                                object
 in writing
 in writing within
             within twenty-one
                     twenty-one (21)(21) days   following receipt
                                          days following     receipt ofof all
                                                                          all necessary   information about
                                                                              necessary information      about aa
 nominee,
 nominee, asas determined
               determined by  by the
                                 the CMAs
                                      CMAs in  in their
                                                   their sole
                                                         sole discretion,    the lack
                                                               discretion, the   lack of
                                                                                       of action
                                                                                          action shall
                                                                                                  shall constitute
                                                                                                         constitute aa
 non-objection.
 non-objection. If    the CMAs
                   If the  CMAs object     to one
                                    object to one or or more
                                                        more nominees,
                                                               nominees, TTUSDS
                                                                             TTUSDS shall
                                                                                        shall ensure   that the
                                                                                               ensure that   the
 TTUSDS     Board nominates
 TTUSDS Board       nominates aa different
                                    different candidate      within twenty-one
                                               candidate within     twenty-one (21) (21) days
                                                                                         days following
                                                                                               following receipt
                                                                                                            receipt
 of
 of any
    any such
         such objection,
               objection, subject    to the
                            subject to  the same
                                            same procedures
                                                     procedures as    the initial
                                                                  as the   initial nomination.
                                                                                   nomination.

                (3)
                (3)     TTUSDS
                        TTUSDS shall
                                   shall ensure   that the
                                         ensure that   the TTUSDS     Board appoints
                                                           TTUSDS Board     appoints each   individual to
                                                                                      each individual  to
 serve
 serve as Key Management
       as Key Management within
                              within three
                                     three (3)
                                            (3) days  following the
                                                days following   the designation  by or
                                                                     designation by  or non-objection
                                                                                        non-objection of
                                                                                                       of
 the CMAs.
 the CMAs. TTUSDS
             TTUSDS shall
                       shall ensure   that each
                              ensure that  each of  the Key
                                                 of the Key Management
                                                              Management maintains
                                                                           maintains his
                                                                                       his or
                                                                                           or her
                                                                                              her
 primary  work location
 primary work  location at
                        at aa TTUSDS
                              TTUSDS office
                                        office location   in the
                                                location in  the United
                                                                 United States, that Key
                                                                        States, that Key Management
                                                                                          Management


                                                         23
                                                         23
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                                            CONFIDENTIAL PURSUANT
                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
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 are the senior
 are the senior officers  with authority
                 officers with  authority over the TikTok
                                          over the         U.S. App
                                                   TikTok U.S.   App and
                                                                     and TikTok  U.S. Platform
                                                                         TikTok U.S.   Platform in
                                                                                                in the
                                                                                                   the
 United  States, and  that neither  Key Management    nor their subordinates report to any Personnel
 United States, and that neither Key Management nor their subordinates report to any Personnel
 of ByteDance or
 of ByteDance       its Affiliates.
                 or its Affiliates.

          5.2
          5.2     Removal of
                  Removal        Key Management.
                              of Key  Management. TTUSDS
                                                      TTUSDS shall
                                                                 shall submit
                                                                       submit prior    written notice
                                                                                prior written          to the
                                                                                                notice to the
 CMAs     before removing,
 CMAs before     removing, replacing,
                              replacing, or
                                          or appointing
                                             appointing any  Key Management
                                                         any Key   Management and  and shall
                                                                                        shall not
                                                                                              not effect
                                                                                                   effect any
                                                                                                          any
 such
 such change   in the
       change in   the event  that the
                        event that the CMAs
                                       CMAs object    in writing
                                               object in writing within
                                                                  within fourteen
                                                                         fourteen (14)
                                                                                    (14) days
                                                                                          days following
                                                                                                following
 such
 such notice;  provided, however,
       notice; provided,              that TTUSDS
                            however, that  TTUSDS may      immediately remove
                                                      may immediately     remove any     Key Management
                                                                                    any Key    Management
 for
 for cause,
      cause, subject  to compliance
             subject to                with applicable
                         compliance with                law and
                                            applicable law       the governance
                                                            and the  governance documents
                                                                                    documents of of TTUSDS,
                                                                                                    TTUSDS,
 in which
 in which case
            case TTUSDS
                 TTUSDS shallshall notify the CMAs
                                   notify the         within one
                                              CMAs within         (1) day
                                                              one (1)  day of
                                                                           of such
                                                                              such removal      with an
                                                                                     removal with    an
 explanation
 explanation of   the cause.
               of the  cause. TTUSDS
                               TTUSDS shall
                                          shall not
                                                not remove
                                                    remove any    Key Management
                                                             any Key   Management for  for his
                                                                                            his or
                                                                                                or her
                                                                                                   her actual
                                                                                                       actual
 or
 or attempted
    attempted efforts    to ensure
                efforts to  ensure compliance    with this
                                    compliance with   this Agreement.
                                                           Agreement. TTUSDS
                                                                         TTUSDS shall shall ensure  that the
                                                                                            ensure that  the
 replacement
 replacement and
               and appointment
                     appointment of of any Key Management
                                       any Key  Management are are subject  to the
                                                                   subject to  the same
                                                                                    same process
                                                                                           process as  the
                                                                                                    as the
 initial nomination
 initial nomination andand appointment
                            appointment process   under Section
                                          process under   Section 5.1.
                                                                  5.1.

          5.3
          5.3      Hiring Protocols.
                   Hiring Protocols.

                 (1)
                 (1)      Existing ByteDance
                          Existing  ByteDance Personnel.
                                                  Personnel. The The Transaction    Parties shall
                                                                      Transaction Parties   shall notify  the
                                                                                                   notify the
 CMAs
 CMAs of of any ByteDance or
            any ByteDance    or Affiliate   Personnel, including
                                 Affiliate Personnel,    including aa description
                                                                       description of  their job
                                                                                    of their  job
 responsibilities, who (a)
 responsibilities, who  (a) are
                            are not  Resident U.S.
                                 not Resident   U.S. Citizens
                                                      Citizens and    whose employment
                                                                 and whose   employment will will be
                                                                                                  be
 transferred from
 transferred       ByteDance or
             from ByteDance      or any
                                    any of  its Affiliates
                                         of its             to TTUSDS,
                                                Affiliates to  TTUSDS, or     (b) who
                                                                           or (b) who may
                                                                                        may have
                                                                                               have Access   to
                                                                                                     Access to
 Protected Data
 Protected  Data under
                  under the
                         the Limited
                             Limited Access     Protocol, no
                                       Access Protocol,         less than
                                                            no less  than thirty
                                                                          thirty (30)
                                                                                 (30) days
                                                                                       days prior   to any
                                                                                             prior to  any such
                                                                                                           such
 Personnel beginning
 Personnel  beginning toto work
                           work for
                                  for or
                                      or support
                                         support TTUSDS
                                                   TTUSDS or   or having
                                                                  having Access
                                                                          Access toto Protected
                                                                                      Protected Data
                                                                                                  Data under
                                                                                                         under
 the Limited
 the Limited Access    Protocol, as
              Access Protocol,    as relevant.
                                     relevant. The
                                                 The CMAs
                                                      CMAs may,       within twenty-one
                                                               may, within   twenty-one (21)
                                                                                           (21) days
                                                                                                 days
 following
 following receipt
            receipt of
                    of such
                       such notification,
                             notification, object   in writing
                                             object in  writing to
                                                                 to such  Personnel, in
                                                                    such Personnel,   in which
                                                                                         which event
                                                                                                  event
 TTUSDS
 TTUSDS shall
            shall not
                  not employ,   independently engage
                      employ, independently      engage thethe services
                                                               services of,
                                                                         of, or
                                                                             or accept  the transfer
                                                                                accept the  transfer ofof
 employment
 employment contracts     for such
               contracts for        Personnel. For
                              such Personnel.     For the
                                                       the avoidance
                                                            avoidance ofof doubt,  this provision
                                                                           doubt, this  provision does
                                                                                                     does not
                                                                                                          not
 apply to Key
 apply to Key Management
                Management whose
                               whose appointment,
                                       appointment, removal,
                                                        removal, and
                                                                   and replacement
                                                                        replacement shall
                                                                                      shall follow    the
                                                                                             follow the
 processes  under Sections
 processes under   Sections 5.1
                             5.1 and
                                  and 5.2.
                                       5.2.

                   (2)
                   (2)      Newly Hired
                            Newly    Hired Personnel.
                                            Personnel. Within
                                                            Within thirty
                                                                     thirty (30)
                                                                            (30) days
                                                                                  days following     the Operational
                                                                                         following the   Operational
 Date, TTUSDS
 Date,  TTUSDS shall shall develop
                           develop and    implement hiring
                                     and implement      hiring protocols
                                                                 protocols for
                                                                             for onboarding
                                                                                 onboarding newly
                                                                                                newly hired
                                                                                                        hired
 Personnel (i.e.,
 Personnel   (i.e., Personnel
                    Personnel other    than those
                                other than   those originally     transferred to
                                                    originally transferred      to or
                                                                                    or hired  by TTUSDS
                                                                                       hired by   TTUSDS as   as of  the
                                                                                                                 of the
 Operational    Date) to
 Operational Date)      to TTUSDS.
                           TTUSDS. TTUSDS
                                        TTUSDS shallshall ensure    that the
                                                            ensure that   the hiring
                                                                              hiring protocols
                                                                                       protocols provide
                                                                                                   provide for   the
                                                                                                             for the
 vetting of
 vetting     whether the
          of whether    the prospective    Personnel is
                            prospective Personnel       is aa CFIUS    Restricted Person
                                                              CFIUS Restricted       Person or
                                                                                             or has
                                                                                                has any
                                                                                                     any current
                                                                                                          current oror
 prior
 prior employment,
        employment, contractual,      financial, or
                         contractual, financial,      fiduciary relationship
                                                  or fiduciary                     with ByteDance
                                                                   relationship with     ByteDance or  or any
                                                                                                          any of   its
                                                                                                               of its
 Affiliates
 Affiliates for
             for aa period
                    period of
                            of one  (1) year
                               one (1)  year prior   to his
                                              prior to   his or
                                                              or her
                                                                 her potential
                                                                      potential employment
                                                                                 employment or   or support
                                                                                                    support date.
                                                                                                              date. In In
 the event
 the        that such
     event that   such aa current
                           current or
                                   or prior
                                      prior relationship
                                             relationship exists,
                                                              exists, TTUSDS
                                                                      TTUSDS shall shall obtain  the CMAs’
                                                                                         obtain the   CMAs' prior
                                                                                                                prior
 written consent
 written  consent prior    to hiring,
                     prior to hiring, onboarding,
                                      onboarding, or      granting or
                                                      or granting       facilitating Physical
                                                                     or facilitating   Physical Access
                                                                                                  Access toto
 facilities
 facilities or Logical Access
            or Logical            to IT
                          Access to  IT systems
                                         systems toto such
                                                       such prospective      Personnel. For
                                                              prospective Personnel.       For the
                                                                                                the avoidance
                                                                                                     avoidance of of
 doubt,  this provision
 doubt, this  provision does
                           does not
                                 not apply  to Key
                                     apply to  Key Management
                                                      Management whose whose appointment,
                                                                                appointment, removal,
                                                                                                 removal, and
                                                                                                            and
 replacement
 replacement shall     follow the
                shall follow   the processes   under Sections
                                   processes under      Sections 5.15.1 and
                                                                        and 5.2.
                                                                              5.2.

              (3)
              (3)    Reporting   Lines. TTUSDS
                     Reporting Lines.     TTUSDS shall
                                                 shall ensure that any
                                                       ensure that     Personnel transferred
                                                                   any Personnel transferred
 from ByteDance or
 from ByteDance or any
                   any of its Affiliates
                       of its            to TTUSDS
                              Affiliates to TTUSDS report
                                                   report solely to Key
                                                          solely to Key Management
                                                                        Management (or(or other
                                                                                          other



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                                                           24
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                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                          552
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 designated   Personnel of
 designated Personnel   of TTUSDS)
                           TTUSDS) andand do
                                          do not
                                             not report to any
                                                 report to     Personnel of
                                                           any Personnel    ByteDance or
                                                                         of ByteDance    its
                                                                                      or its
 Affiliates,
 Affiliates, consistent with Section
             consistent with Section 5.1(3).
                                     5.1(3).

                   (4)
                   (4)       Post-Separation. ByteDance
                             Post-Separation.    ByteDance shall
                                                               shall not
                                                                     not employ,   independently engage
                                                                         employ, independently                the
                                                                                                     engage the
 services
 services of,
           of, or
               or accept
                  accept thethe transfer
                                transfer of
                                         of employment
                                             employment contracts      for any
                                                            contracts for  any current
                                                                                current or
                                                                                         or former
                                                                                             former employees
                                                                                                     employees
 of
 of TTUSDS      (including Key
    TTUSDS (including         Key Management)
                                    Management) for for aa period
                                                           period of
                                                                   of one (1) year
                                                                      one (1)  year following
                                                                                    following thethe employee’s
                                                                                                     employee's
 separation   from TTUSDS
 separation from                 without the
                    TTUSDS without        the prior  written consent
                                               prior written  consent of   the CMAs.
                                                                        of the           ByteDance shall
                                                                                CMAs. ByteDance        shall
 ensure  that none
 ensure that   none of   its Affiliates,
                     of its  Affiliates, after
                                         after conducting
                                               conducting duedue diligence,
                                                                  diligence, knowingly
                                                                             knowingly employs,
                                                                                            employs,
 independently engages
 independently    engages the the services
                                  services of,
                                            of, or
                                                or accepts  the transfer
                                                   accepts the   transfer of
                                                                          of employment
                                                                             employment contracts
                                                                                             contracts for
                                                                                                        for any
                                                                                                            any
 current
 current or
          or former
             former employees
                       employees of of TTUSDS      (including Key
                                        TTUSDS (including       Key Management)
                                                                      Management) for for aa period
                                                                                             period of
                                                                                                     of one  (1)
                                                                                                        one (1)
 year following
 year following thethe employee’s
                        employee's separation
                                       separation from
                                                   from TTUSDS        without the
                                                          TTUSDS without       the prior written consent
                                                                                   prior written   consent of   the
                                                                                                            of the
 CMAs
 CMAs except
         except asas approved
                     approved in  in the
                                     the Hiring
                                         Hiring Protocols.
                                                 Protocols.

                   (5)
                   (5)      TTP Hiring.
                            TTP Hiring.

                TTUSDS
                TTUSDS shall
                           shall ensure that the
                                 ensure that the MSA
                                                 MSA requires   the TTP
                                                       requires the      to implement
                                                                    TTP to  implement hiring
                                                                                        hiring
 protocols
 protocols consistent with Subsection
           consistent with  Subsection 5.4(2)
                                        5.4(2) for
                                               for any
                                                   any prospective  Personnel of
                                                       prospective Personnel     the TTP
                                                                              of the       who will
                                                                                     TTP who   will
 perform
 perform services  under the
          services under the MSA,
                             MSA, and
                                    and TTUSDS
                                         TTUSDS shall
                                                    shall enforce
                                                          enforce such
                                                                  such requirement
                                                                       requirement of  the MSA
                                                                                    of the MSA
 against the TTP.
 against the TTP.

          5.4
          5.4     Content
                  Content Advisory
                             Advisory Council.        Within sixty
                                        Council. Within               (60) days
                                                               sixty (60)          following the
                                                                            days following     the Operational
                                                                                                    Operational
 Date, TTUSDS
 Date,  TTUSDS shall
                   shall establish
                          establish and
                                     and maintain
                                           maintain an an external
                                                           external council
                                                                     council of of at
                                                                                   at least three (3)
                                                                                      least three  (3) leading
                                                                                                         leading
 experts   with experience
 experts with   experience in in social
                                 social media
                                        media platforms,
                                                 platforms, content
                                                               content moderation,
                                                                         moderation, freefree speech,
                                                                                              speech, or  or foreign
                                                                                                             foreign
 influence who
 influence   who are  Resident U.S.
                  are Resident    U.S. Citizens
                                        Citizens to to advise
                                                       advise TTUSDS
                                                                TTUSDS on        the Content
                                                                             on the            Promotion and
                                                                                     Content Promotion        and
 Filtering, Trust
 Filtering,  Trust and
                   and Safety    Moderation, and
                        Safety Moderation,       and other
                                                       other content
                                                              content moderation
                                                                        moderation policies
                                                                                       policies for   the TikTok
                                                                                                 for the   TikTok
 U.S. App
 U.S.  App and
             and TikTok    U.S. Platform
                  TikTok U.S.    Platform that
                                             that are
                                                  are relevant    to Trust
                                                        relevant to  Trust andand Safety   Moderation (the
                                                                                   Safety Moderation       (the
 "Content     Advisory Council”).
 “Content Advisory       Council"). For For the
                                             the avoidance
                                                  avoidance of  of doubt,   the Content
                                                                   doubt, the    Content Advisory
                                                                                           Advisory Council’s
                                                                                                        Council's role
                                                                                                                    role
 with respect
 with           to Content
       respect to            Promotion and
                   Content Promotion            Filtering, Trust
                                           and Filtering,    Trust and
                                                                    and Safety     Moderation, and
                                                                          Safety Moderation,      and other
                                                                                                        other content
                                                                                                               content
 moderation
 moderation practices
               practices shall   be advisory,
                          shall be  advisory, notnot operational,
                                                      operational, and
                                                                     and members
                                                                           members of     the current
                                                                                       of the  current Content
                                                                                                          Content
 Advisory
 Advisory Council     (established in
             Council (established    in March
                                         March 2020)
                                                  2020) maymay serve
                                                                 serve on   the Content
                                                                        on the   Content Advisory
                                                                                           Advisory Council
                                                                                                        Council
 under this
 under   this Section
              Section 5.5.
                      5.5. TTUSDS
                             TTUSDS shallshall submit
                                                submit thethe name
                                                              name andand aa curriculum     vitae or
                                                                              curriculum vitae     or similar
                                                                                                       similar
 professional
 professional synopsis
                synopsis toto the
                              the Third-Party     Monitor and
                                   Third-Party Monitor       and CMAs
                                                                   CMAs for for each
                                                                                 each member
                                                                                       member of     the Content
                                                                                                 of the    Content
 Advisory
 Advisory Council,     initially and
             Council, initially       upon any
                                  and upon    any change
                                                   change to to its
                                                                its composition.
                                                                    composition. TTUSDS
                                                                                      TTUSDS shallshall ensure    that,
                                                                                                          ensure that,
 at the Content
 at the Content Advisory
                  Advisory Council’s
                              Council's oror CMAs’
                                              CMAs' request,
                                                         request, or
                                                                   or at  its own
                                                                       at its own discretion,    the Third-Party
                                                                                    discretion, the   Third-Party
 Monitor reviews
 Monitor    reviews human
                     human exclusions
                              exclusions of of content
                                               content to to ensure
                                                             ensure actions     were taken
                                                                      actions were    taken consistent
                                                                                             consistent withwith Trust
                                                                                                                  Trust
 and
 and Safety    Moderation guidelines
      Safety Moderation      guidelines and
                                          and delivers
                                               delivers such
                                                           such reports
                                                                 reports toto the
                                                                              the Content
                                                                                   Content Advisory
                                                                                             Advisory Council
                                                                                                          Council
 upon completion.
 upon   completion. TTUSDS
                      TTUSDS shall shall ensure    that the
                                         ensure that     the Content
                                                             Content Advisory
                                                                        Advisory Council
                                                                                     Council may,
                                                                                               may, asas needed
                                                                                                          needed inin its
                                                                                                                      its
 discretion,
 discretion, periodically
              periodically engage     with the
                             engage with    the Third-Party      Monitor and
                                                 Third-Party Monitor         and CMAs
                                                                                  CMAs about      trends in
                                                                                          about trends     in foreign
                                                                                                              foreign
 influence, propaganda,
 influence,   propaganda, censorship,
                             censorship, disinformation,
                                           disinformation, and  and similar    topics.
                                                                     similar topics.

          5.5
          5.5     Communications
                  Communications Between       Personnel of
                                    Between Personnel     of TTUSDS,     ByteDance, and
                                                              TTUSDS, ByteDance,          ByteDance
                                                                                      and ByteDance
 Affiliates.  Notwithstanding any
 Affiliates. Notwithstanding    any other
                                     other provision
                                           provision of  this Agreement,
                                                      of this Agreement, communications      between
                                                                           communications between
 TTUSDS      Personnel and
 TTUSDS Personnel           Personnel of
                        and Personnel     ByteDance or
                                       of ByteDance       its Affiliates
                                                       or its Affiliates shall be permitted.
                                                                         shall be            Electronic
                                                                                  permitted. Electronic
 communications     between TTUSDS
 communications between                 Personnel, on
                              TTUSDS Personnel,         the one
                                                    on the  one hand,
                                                                hand, and   Personnel of
                                                                        and Personnel     ByteDance or
                                                                                       of ByteDance  or
 its Affiliates,
 its Affiliates, on the other
                 on the other hand,
                              hand, shall be logged
                                    shall be logged for
                                                     for auditing
                                                         auditing purposes.
                                                                   purposes.



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                                                           25
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                                                                        50 U.S.C.
                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                             U.S.C. §§ 552
                                                                                       552
                                                              Parties’ Draft as
                                                              Parties' Draft as of 8/23/22
                                                                                of 8/23/22

                                              ARTICLE VI
                                              ARTICLE VI

        BYTEDANCE POC,
        BYTEDANCE POC, COMPLIANCE
                       COMPLIANCE OFFICER, AND SECURITY
                                  OFFICER, AND SECURITY OFFICER
                                                        OFFICER

         6.1
         6.1     Point of
                 Point of Contact.  ByteDance shall
                          Contact. ByteDance     shall at
                                                       at all times maintain
                                                          all times  maintain aa point
                                                                                  point of
                                                                                        of contact for the
                                                                                           contact for the
 Third-Party  Monitor and
 Third-Party Monitor   and CMAs
                            CMAs regarding    ByteDance’s compliance
                                   regarding ByteDance's                    with this
                                                               compliance with    this Agreement   (the
                                                                                       Agreement (the
 “ByteDance POC”).
 "ByteDance             ByteDance shall
               POC"). ByteDance      shall notify the CMAs
                                           notify the CMAs of      the identity
                                                                of the identity of the ByteDance
                                                                                of the ByteDance POC
                                                                                                   POC
 within fourteen
 within           (14) days
        fourteen (14)       following the
                       days following  the Effective
                                           Effective Date,
                                                      Date, and    within three
                                                              and within  three (3)
                                                                                 (3) days
                                                                                     days following
                                                                                           following any
                                                                                                      any
 change  in the
 change in  the ByteDance
                ByteDance POC.
                            POC.

         6.2
         6.2     Compliance
                 Compliance Officer.
                            Officer. TikTok
                                      TikTok Inc.
                                              Inc. shall
                                                   shall at
                                                         at all times employ
                                                            all times  employ aa compliance
                                                                                 compliance officer
                                                                                              officer
 (the “Compliance Officer”)
 (the "Compliance             who meets
                    Officer") who         the qualifications
                                   meets the  qualifications set
                                                             set forth  in Section
                                                                  forth in Section 6.4,
                                                                                   6.4, serves
                                                                                        serves as the
                                                                                               as the
 senior liaison between
 senior liaison between TikTok
                        TikTok Inc.
                                Inc. and the Third-Party
                                     and the              Monitor and
                                             Third-Party Monitor     and CMAs,
                                                                          CMAs, and   is responsible
                                                                                  and is responsible
 for overseeing
 for overseeing compliance  with this
                 compliance with this Agreement
                                      Agreement on   behalf of
                                                 on behalf   of TikTok
                                                                 TikTok Inc.
                                                                          Inc.

         6.3
         6.3     Security
                 Security Officer.
                          Officer. TTUSDS
                                     TTUSDS shall
                                                shall at
                                                      at all  times employ
                                                         all times   employ aa security
                                                                               security officer (the
                                                                                        officer (the
 “Security Officer”)
 "Security             who meets
             Officer") who          the qualifications
                            meets the   qualifications set   forth in
                                                        set forth   in Section
                                                                       Section 6.4,
                                                                               6.4, serves
                                                                                    serves as the senior
                                                                                           as the senior
 liaison between
 liaison between TTUSDS
                  TTUSDS and      the Third-Party
                             and the               Monitor and
                                      Third-Party Monitor       and CMAs,
                                                                     CMAs, and   is responsible
                                                                             and is responsible for
                                                                                                 for
 overseeing
 overseeing compliance    with this
              compliance with  this Agreement
                                     Agreement on    behalf of
                                                  on behalf    of TTUSDS.
                                                                  TTUSDS. TTUSDS
                                                                              TTUSDS shall
                                                                                        shall ensure  that
                                                                                               ensure that
 the Security
 the  Security Officer
               Officer reports
                       reports directly
                               directly and
                                        and exclusively
                                             exclusively toto the
                                                                the Security
                                                                    Security Committee.
                                                                             Committee.

        6.4
        6.4     Qualifications.
                Qualifications. TikTok
                                 TikTok Inc.,  with respect
                                         Inc., with         to the
                                                    respect to the Compliance
                                                                   Compliance Officer,
                                                                               Officer, and
                                                                                        and
 TTUSDS,    with respect
 TTUSDS, with            to the
                 respect to the Security
                                Security Officer,
                                         Officer, shall
                                                  shall ensure that the
                                                        ensure that the Compliance
                                                                        Compliance Officer
                                                                                   Officer and
                                                                                            and
 Security
 Security Officer:
          Officer:

               (1)
               (1)      are Resident Sole
                        are Resident      U.S. Citizens
                                     Sole U.S.          who have,
                                               Citizens who have, or
                                                                  or are
                                                                     are eligible
                                                                         eligible for,
                                                                                  for, aa U.S.
                                                                                          U.S.
 personnel
 personnel security
           security clearance;
                    clearance;

                 (2)
                 (2)      are
                          are qualified
                              qualified employees
                                        employees of
                                                  of TikTok
                                                     TikTok Inc.
                                                            Inc. or
                                                                 or TTUSDS,
                                                                    TTUSDS, respectively;
                                                                            respectively;

                 (3)
                 (3)    have
                        have sufficient
                              sufficient and
                                         and appropriate
                                             appropriate senior-level
                                                           senior-level authority
                                                                        authority and
                                                                                   and resources  within
                                                                                        resources within
 TikTok
 TikTok Inc.
         Inc. or
              or TTUSDS,
                 TTUSDS, respectively,
                            respectively, and the necessary
                                          and the              technical skills
                                                  necessary technical    skills and
                                                                                and experience  to
                                                                                     experience to
 ensure
 ensure compliance   with this
        compliance with   this Agreement
                               Agreement and   to fulfill
                                           and to fulfill all
                                                          all other
                                                              other obligations
                                                                    obligations of  the position;
                                                                                 of the position;

                 (4)
                 (4)     have
                         have nono current
                                    current or
                                             or prior
                                                prior contractual,   financial, or
                                                      contractual, financial,      fiduciary relationship
                                                                                or fiduciary relationship
 with ByteDance
 with ByteDance or or any
                      any of  its Affiliates;
                          of its                          that the
                                              provided that
                                  Affiliates; provided         the initial
                                                                   initial Compliance
                                                                           Compliance Officer
                                                                                         Officer and
                                                                                                 and Security
                                                                                                     Security
 Officer
 Officer may  be individuals
         may be   individuals who
                                who were
                                     were previously
                                            previously employed
                                                         employed in in the
                                                                         the United
                                                                             United States  by TikTok
                                                                                     States by TikTok Inc.
                                                                                                       Inc.
 or ByteDance, Inc.
 or ByteDance,   Inc. as
                      as of the Effective
                         of the  Effective Date
                                            Date and,   in the
                                                   and, in  the case
                                                                case of  the Security
                                                                      of the Security Officer,  who will
                                                                                       Officer, who  will be
                                                                                                          be
 transferred to
 transferred to TTUSDS
                TTUSDS by  by no
                               no later  than the
                                   later than  the Operational   Date; and
                                                   Operational Date;     and

               (5)
               (5)     have Physical Access
                       have Physical Access and  Logical Access
                                            and Logical          to all
                                                         Access to  all of the facilities,
                                                                        of the facilities, systems,
                                                                                           systems,
 records,
 records, and meetings of TikTok Inc. or TTUSDS, respectively, that in the sole discretion of
          and meetings of TikTok Inc. or TTUSDS,   respectively, that in the sole discretion     the
                                                                                              of the
 Third-Party  Monitor and
 Third-Party Monitor  and CMAs,
                          CMAs, are
                                 are necessary to ensure
                                     necessary to ensure compliance   with this
                                                         compliance with    this Agreement.
                                                                                 Agreement.




                                                     26
                                                     26
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                                              APP-452
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                                           CONFIDENTIAL PURSUANT
                                                          PURSUANT TO TO 50
                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

         The
         The Compliance
              Compliance Officer
                          Officer and
                                   and Security
                                       Security Officer
                                                 Officer may
                                                         may hold
                                                             hold other  titles and
                                                                  other titles  and responsibilities
                                                                                    responsibilities at
                                                                                                     at
 TikTok
 TikTok Inc.
          Inc. and
               and TTUSDS,
                   TTUSDS, respectively;             that such
                                           provided that
                             respectively; provided            other responsibilities  do not prevent
                                                          such other responsibilities do not prevent
 the officer
 the officer from
             from performing
                   performing his
                              his or
                                  or her
                                     her obligations in connection
                                         obligations in            with the
                                                        connection with  the Agreement.
                                                                              Agreement.

          6.5
          6.5      Nomination and
                   Nomination     and Appointment.
                                       Appointment. The   The appointment
                                                                appointment of     the Compliance
                                                                                of the  Compliance Officer
                                                                                                       Officer and
                                                                                                                 and
 Security
 Security Officer
           Officer shall    be subject
                      shall be          to the
                               subject to  the prior
                                                 prior non-objection
                                                        non-objection of    the CMAs.
                                                                         of the             Within fourteen
                                                                                 CMAs. Within                   (14)
                                                                                                     fourteen (14)
 days
 days following
       following thethe Effective
                         Effective Date,
                                    Date, the
                                          the Transaction       Parties shall
                                                Transaction Parties     shall nominate
                                                                               nominate an     initial Compliance
                                                                                           an initial  Compliance
 Officer
 Officer and   initial Security
          and initial   Security Officer   (in the
                                  Officer (in   the case
                                                     case of  the Security
                                                           of the  Security Officer,
                                                                             Officer, toto be
                                                                                           be transferred
                                                                                               transferred toto
 TTUSDS
 TTUSDS as   as of  the Operational
                of the                 Date) and
                         Operational Date)    and submit
                                                     submit complete     Personal Identifier
                                                             complete Personal       Identifier Information,
                                                                                                  Information, aa
               vitae or
 curriculum vitae
 curriculum           or similar
                         similar professional
                                  professional synopsis,
                                                  synopsis, contact    information, and
                                                               contact information,     and any
                                                                                             any other    information
                                                                                                   other information
 requested
 requested byby the
                 the CMAs
                      CMAs to to assess  whether the
                                 assess whether      the individual
                                                         individual can
                                                                      can effectively
                                                                           effectively perform
                                                                                         perform thethe obligations
                                                                                                        obligations
 of the Compliance
 of the Compliance Officer
                         Officer or
                                 or Security
                                    Security Officer,
                                                Officer, as
                                                          as applicable,   under this
                                                              applicable, under     this Agreement.
                                                                                         Agreement. If      the CMAs
                                                                                                         If the CMAs
 do
 do not
     not object
         object inin writing
                     writing within
                              within twenty-one
                                      twenty-one (21) (21) days
                                                           days following
                                                                  following receipt
                                                                              receipt ofof all
                                                                                           all necessary
                                                                                               necessary
 information about
 information            the nominee,
                about the   nominee, asas determined
                                          determined by   by the
                                                              the CMAs
                                                                   CMAs inin their
                                                                              their sole
                                                                                     sole discretion,   the lack
                                                                                           discretion, the   lack of
                                                                                                                  of
 action
 action shall
         shall constitute
               constitute aa non-objection.
                              non-objection. If      the CMAs
                                                  If the CMAs object,     the Transaction
                                                                  object, the                  Parties shall
                                                                               Transaction Parties      shall
 nominate
 nominate aa different
               different candidate    within seven
                          candidate within             (7) days
                                               seven (7)    days following
                                                                  following receipt
                                                                              receipt ofof any
                                                                                           any such
                                                                                                 such objection,
                                                                                                       objection,
 subject  to the
 subject to  the same
                  same procedures
                         procedures as   the initial
                                      as the  initial nomination.
                                                       nomination. TikTok
                                                                       TikTok Inc.
                                                                                 Inc. and
                                                                                       and TTUSDS,
                                                                                            TTUSDS,
 respectively,
 respectively, shall
                 shall appoint   the Compliance
                        appoint the  Compliance Officer
                                                      Officer and   the Security
                                                                and the  Security Officer     within three
                                                                                    Officer within    three (3)
                                                                                                             (3) days
                                                                                                                 days
 following
 following non-objection
             non-objection by  by the
                                  the CMAs.
                                       CMAs.

          6.6
          6.6      Removal and
                   Removal     Replacement.
                           and Replacement.

                  (1)
                  (1)     Neither TikTok
                          Neither    TikTok Inc.Inc. nor
                                                      nor TTUSDS
                                                           TTUSDS shallshall remove
                                                                             remove anyany Compliance
                                                                                             Compliance Officer
                                                                                                            Officer
 or
 or Security
    Security Officer   without the
              Officer without     the prior
                                      prior non-objection
                                              non-objection of     the CMAs.
                                                               of the   CMAs. TikTok
                                                                                  TikTok Inc.
                                                                                            Inc. and
                                                                                                  and TTUSDS,
                                                                                                      TTUSDS,
 respectively,
 respectively, shall
                shall notify  the CMAs
                      notify the   CMAs at      least fourteen
                                             at least  fourteen (14)
                                                                 (14) days   before the
                                                                        days before  the proposed
                                                                                           proposed removal
                                                                                                      removal ofof aa
 Compliance
 Compliance Officer
               Officer or
                        or Security
                           Security Officer       unless such
                                       Officer unless     such removal
                                                                removal is is for
                                                                              for cause,
                                                                                  cause, and
                                                                                           and such
                                                                                                such removal
                                                                                                      removal shall
                                                                                                                shall
 only  be proposed
 only be  proposed inin conjunction
                        conjunction withwith the
                                               the nomination
                                                   nomination of  of aa new
                                                                        new candidate
                                                                             candidate forfor the
                                                                                              the position,
                                                                                                   position, subject
                                                                                                             subject
 to the
 to the same
        same procedures
               procedures as    the initial
                            as the  initial nomination.
                                             nomination. For For the
                                                                  the avoidance
                                                                       avoidance of of doubt,
                                                                                       doubt, such
                                                                                                such cause
                                                                                                      cause must
                                                                                                             must
 consist
 consist of  willful misconduct,
         of willful                  gross negligence,
                     misconduct, gross       negligence, reckless
                                                            reckless disregard,    violation of
                                                                       disregard, violation    of applicable
                                                                                                   applicable law,
                                                                                                              law,
 violation of
 violation  of company
               company policy,
                          policy, oror failure
                                       failure of   the individual
                                                 of the  individual toto perform
                                                                         perform his
                                                                                   his or
                                                                                        or her  job duties.
                                                                                           her job   duties. At
                                                                                                             At no
                                                                                                                 no
 time shall
 time  shall TikTok
             TikTok Inc.
                      Inc. or
                           or TTUSDS
                               TTUSDS remove,
                                            remove, penalize,
                                                        penalize, or
                                                                   or negatively
                                                                      negatively change
                                                                                   change thethe terms
                                                                                                  terms of
                                                                                                         of
 employment,     including compensation
 employment, including      compensation and         benefits, of
                                                and benefits,      the Compliance
                                                                of the  Compliance Officer
                                                                                       Officer oror Security
                                                                                                     Security
 Officer
 Officer for
          for such
              such officer’s
                    officer's actual
                               actual or
                                       or attempted
                                          attempted efforts      to comply
                                                         efforts to           with or
                                                                    comply with     or ensure
                                                                                       ensure compliance      with
                                                                                                 compliance with
 this Agreement.
 this Agreement.

                  (2)
                  (2)     Should  the CMAs,
                          Should the  CMAs, in in their
                                                  their sole
                                                         sole discretion,
                                                              discretion, determine  that the
                                                                          determine that   the Compliance
                                                                                               Compliance
 Officer
 Officer or Security Officer has failed to meet his or her respective obligations or has otherwise
          or Security Officer has  failed to meet  his  or her respective  obligations  or  has  otherwise
 undermined the
 undermined    the effectiveness
                   effectiveness of this Agreement,
                                 of this Agreement, the the CMAs
                                                            CMAs maymay direct
                                                                          direct TikTok
                                                                                 TikTok Inc.
                                                                                         Inc. or
                                                                                               or TTUSDS,
                                                                                                   TTUSDS,
 respectively,  to remove
 respectively, to          the Compliance
                   remove the  Compliance Officer
                                              Officer or
                                                      or Security
                                                          Security Officer,
                                                                    Officer, and
                                                                             and TikTok
                                                                                  TikTok Inc.
                                                                                            Inc. or
                                                                                                 or
 TTUSDS,
 TTUSDS, respectively,
             respectively, shall
                           shall promptly,
                                 promptly, and   in any
                                             and in any event    within two
                                                          event within  two (2)
                                                                             (2) days,
                                                                                 days, remove
                                                                                       remove suchsuch
 officer.
 officer.

                (3)
                (3)     In the event
                        In the event of
                                     of any vacancy in
                                        any vacancy   in the
                                                         the Compliance
                                                             Compliance Officer
                                                                         Officer oror Security
                                                                                      Security Officer
                                                                                               Officer
 position,
 position, TikTok
           TikTok Inc.
                   Inc. or
                        or TTUSDS,
                           TTUSDS, respectively,
                                     respectively, shall
                                                   shall notify  the CMAs
                                                          notify the        within one
                                                                     CMAs within         (1) day
                                                                                    one (1)  day and,
                                                                                                 and,
 within fourteen
 within          (14) days
        fourteen (14) days following
                            following such  vacancy occurring,
                                      such vacancy   occurring, nominate
                                                                  nominate aa replacement
                                                                              replacement
 Compliance
 Compliance Officer
              Officer or
                      or Security
                         Security Officer,
                                  Officer, subject to the
                                           subject to the same
                                                           same procedures
                                                                 procedures as  the initial
                                                                             as the initial nomination.
                                                                                            nomination.


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                                                         27
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                                                  APP-453
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                                                         PURSUANT TO TO 50
                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

 During any
 During      vacancy of
        any vacancy     the Security
                     of the Security Officer
                                       Officer position,
                                               position, TTUSDS
                                                         TTUSDS shall
                                                                   shall ensure that the
                                                                         ensure that the chairman
                                                                                         chairman of
                                                                                                  of
 the Security
 the Security Committee
              Committee fulfills  the obligations
                         fulfills the obligations of the Security
                                                  of the Security Officer.
                                                                  Officer.

          6.7
          6.7     Communication
                  Communication with  with the
                                           the Third-Party  Monitor and
                                               Third-Party Monitor   and CMAs.
                                                                          CMAs. TikTok
                                                                                   TikTok Inc.
                                                                                           Inc. and
                                                                                                 and
 TTUSDS
 TTUSDS shallshall ensure  that the
                   ensure that  the Compliance
                                     Compliance Officer
                                                  Officer and
                                                          and Security
                                                              Security Officer,
                                                                       Officer, respectively,
                                                                                 respectively, provide
                                                                                                provide
 timely responses
 timely  responses toto inquiries
                        inquiries from
                                   from the
                                         the Third-Party  Monitor and
                                             Third-Party Monitor  and CMAs
                                                                       CMAs about
                                                                               about TikTok
                                                                                      TikTok Inc.’s
                                                                                               Inc.'s and
                                                                                                      and
 TTUSDS’s
 TTUSDS's respective
               respective compliance     with this
                           compliance with    this Agreement.
                                                   Agreement. TikTok
                                                                TikTok Inc.
                                                                         Inc. and
                                                                              and TTUSDS
                                                                                  TTUSDS shall
                                                                                             shall ensure
                                                                                                   ensure
 that the
 that the Compliance
          Compliance Officer
                         Officer and
                                  and Security
                                       Security Officer,
                                                Officer, respectively,
                                                         respectively, maintain
                                                                       maintain availability
                                                                                 availability for
                                                                                              for
 discussions   with the
 discussions with   the Third-Party    Monitor and
                         Third-Party Monitor    and CMAs
                                                    CMAs on on matters
                                                               matters relating  to compliance
                                                                        relating to               with this
                                                                                    compliance with    this
 Agreement.
 Agreement.

        6.8
        6.8     Reporting of
                Reporting      Violations. TikTok
                            of Violations.  TikTok Inc.
                                                    Inc. and
                                                         and TTUSDS
                                                              TTUSDS shall
                                                                         shall ensure that the
                                                                               ensure that  the
 Compliance
 Compliance Officer
             Officer and
                      and Security
                           Security Officer,
                                     Officer, respectively,
                                              respectively, report
                                                            report any
                                                                   any actual
                                                                        actual or
                                                                               or potential  violation of
                                                                                  potential violation  of
 this Agreement
 this            to the
      Agreement to  the Third-Party  Monitor and
                         Third-Party Monitor   and CMAs
                                                   CMAs as as soon
                                                              soon as
                                                                    as practicable, but in
                                                                       practicable, but in any
                                                                                           any event
                                                                                                event
 within one
 within     (1) day
        one (1) day of  learning of
                     of learning    the actual
                                 of the actual or
                                               or potential violation.
                                                  potential violation.

        6.9
         6.9   Costs.
               Costs. TikTok
                       TikTok Inc.
                              Inc. shall be responsible
                                   shall be responsible for
                                                        for all
                                                            all costs
                                                                costs associated with the
                                                                      associated with the
 Compliance
 Compliance Officer
             Officer and
                     and TTUSDS
                         TTUSDS shall    be responsible
                                   shall be responsible for
                                                        for all
                                                            all costs
                                                                costs associated with the
                                                                      associated with the Security
                                                                                          Security
 Officer.
 Officer.

         6.10
         6.10 Applicability    Rule. Prior
                 Applicability Rule.  Prior to
                                            to the
                                                the Operational   Date, and
                                                    Operational Date,       unless otherwise
                                                                        and unless otherwise specified
                                                                                               specified
 in this
 in this Article
         Article VI, ByteDance and
                 VI, ByteDance  and TikTok
                                     TikTok Inc.
                                             Inc. shall  fulfill the
                                                   shall fulfill the requirements
                                                                     requirements of  this Article
                                                                                  of this  Article VI.
                                                                                                   VI.
 Following the
 Following   the Operational Date, TTUSDS
                 Operational Date, TTUSDS shallshall assume
                                                     assume exclusive
                                                              exclusive responsibility
                                                                         responsibility for the Security
                                                                                        for the Security
 Officer.
 Officer.

                                                ARTICLE VII
                                                ARTICLE VII

                                         LAWFUL
                                         LAWFUL U.S.
                                                U.S. PROCESS
                                                     PROCESS

         7.1
         7.1       Lawful U.S.
                   Lawful   U.S. Process.
                                   Process. TikTok
                                              TikTok Inc.
                                                       Inc. and
                                                             and TTUSDS
                                                                 TTUSDS acknowledge          their respective
                                                                             acknowledge their      respective
 obligations
 obligations toto comply    with valid
                  comply with      valid Lawful
                                         Lawful U.S.
                                                  U.S. Process.
                                                        Process. Without
                                                                   Without limiting
                                                                             limiting such
                                                                                       such obligations,
                                                                                             obligations,
 TikTok
 TikTok Inc.
          Inc. and
                and TTUSDS
                     TTUSDS agree        that TTUSDS
                                  agree that  TTUSDS shall      be principally
                                                          shall be principally responsible
                                                                                responsible for
                                                                                              for complying
                                                                                                   complying
 with Lawful
 with Lawful U.S.U.S. Process
                      Process requests,     whether directed
                                 requests, whether    directed at
                                                                at TikTok
                                                                   TikTok Inc.
                                                                            Inc. or
                                                                                 or TTUSDS,      unless
                                                                                     TTUSDS, unless
 otherwise
 otherwise provided     for in
             provided for    in the
                                 the Limited
                                     Limited Access     Protocol pursuant
                                               Access Protocol    pursuant toto Section
                                                                                Section 11.9.
                                                                                         11.9. To    this end,
                                                                                                To this   end,
 TTUSDS
 TTUSDS shallshall maintain
                   maintain policies
                               policies relating  to Lawful
                                         relating to  Lawful U.S.
                                                               U.S. Process-related
                                                                     Process-related activities,
                                                                                       activities, regarding   the
                                                                                                   regarding the
 security
 security measures
           measures forfor handling,
                           handling, retaining,
                                        retaining, managing,
                                                    managing, and
                                                                and deleting   information about
                                                                     deleting information             Lawful U.S.
                                                                                              about Lawful   U.S.
 Process-related activities.
 Process-related    activities. Those
                                  Those policies
                                          policies shall  be subject
                                                   shall be           to review
                                                             subject to          by the
                                                                         review by   the Security
                                                                                         Security Officer
                                                                                                    Officer and
                                                                                                            and
 approval
 approval byby the
                the Security
                    Security Committee.
                               Committee. No   No later
                                                   later than
                                                         than ninety   (90) days
                                                               ninety (90)  days after  the Operational
                                                                                  after the                Date,
                                                                                            Operational Date,
 TTUSDS
 TTUSDS shallshall deliver  the Security
                   deliver the    Security Committee-approved
                                            Committee-approved policies
                                                                     policies relating  to Lawful
                                                                               relating to Lawful U.S.
                                                                                                     U.S.
 Process-related activities
 Process-related                to the
                    activities to  the CMAs
                                       CMAs for for their
                                                    their review
                                                           review and   written approval.
                                                                   and written  approval. Subsequent
                                                                                            Subsequent
 changes
 changes toto such
              such policies
                     policies also   will be
                               also will  be subject  to the
                                              subject to  the CMAs’    written approval,
                                                              CMAs' written     approval, excluding
                                                                                           excluding non-
                                                                                                        non-
 substantive
 substantive revisions    (e.g., typographical
               revisions (e.g.,   typographical corrections).
                                                   corrections).




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                                                        28
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                                                              PURSUANT TO TO 50
                                                                              50 U.S.C.
                                                                                 U.S.C. § § 4565
                                                                                            4565
                                           EXEMPT
                                           EXEMPT FROM   DISCLOSURE UNDER
                                                    FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                   U.S.C. §§ 552
                                                                                             552
                                                                    Parties’ Draft as
                                                                    Parties' Draft as of 8/23/22
                                                                                      of 8/23/22

                                                      ARTICLE VIII
                                                      ARTICLE VIII

                                    TRUSTED
                                    TRUSTED TECHNOLOGY
                                            TECHNOLOGY PROVIDER
                                                       PROVIDER

         8.1
         8.1       Independence.
                   Independence. At  At all  times during
                                         all times  during any
                                                             any TTP’s
                                                                 TTP's provision
                                                                          provision ofof services  in connection
                                                                                         services in  connection
 with this
 with this Agreement,
            Agreement, the the Transaction    Parties shall
                               Transaction Parties     shall not
                                                             not have,
                                                                 have, and
                                                                         and shall
                                                                              shall ensure  that their
                                                                                    ensure that   their respective
                                                                                                        respective
 Affiliates
 Affiliates do
            do not
                 not have,
                     have, any   financial or
                             any financial      voting interest
                                             or voting  interest in,
                                                                 in, or
                                                                     or otherwise
                                                                         otherwise possess
                                                                                     possess an
                                                                                              an ability  to
                                                                                                  ability to
 Control,  the TTP
 Control, the   TTP or   its provision
                      or its provision ofof services  in connection
                                            services in               with this
                                                         connection with     this Agreement,
                                                                                  Agreement, except      to the
                                                                                                 except to  the
 extent
 extent necessary
        necessary to to enforce
                        enforce and
                                  and ensure
                                       ensure compliance      with the
                                                compliance with    the MSA
                                                                        MSA executed
                                                                               executed following
                                                                                          following thethe non-
                                                                                                           non-
 objection
 objection of   the CMAs.
            of the  CMAs. The  The Transaction     Parties shall
                                    Transaction Parties          treat the
                                                           shall treat  the TTP
                                                                            TTP asas an  arm’s-length
                                                                                      an arm's-length
 commercial    vendor, and
 commercial vendor,      and none
                               none of  the Transaction
                                     of the                Parties shall
                                             Transaction Parties    shall engage
                                                                           engage inin any transaction
                                                                                       any transaction
 following   the Effective
 following the    Effective Date
                              Date through
                                   through which
                                              which the
                                                     the TTP   gains an
                                                          TTP gains   an equity   interest in,
                                                                           equity interest  in, or
                                                                                                or any
                                                                                                   any
 governance rights
 governance            with respect
               rights with            to, any
                             respect to,  any of  the Transaction
                                               of the                Parties.
                                                      Transaction Parties.

          8.2
          8.2       Master Services
                    Master Services Agreement.
                                    Agreement.

                   (1)
                   (1)       Within forty
                             Within              five (45)
                                        forty five    (45) days
                                                             days following
                                                                   following the the Effective
                                                                                      Effective Date,
                                                                                                   Date, the
                                                                                                           the Transaction
                                                                                                                 Transaction
 Parties shall,
 Parties         in coordination
         shall, in  coordination with with the the TTP,
                                                    TTP, submit
                                                           submit an     initial draft
                                                                    an initial          MSA to
                                                                                 draft MSA      to the
                                                                                                    the CMAs.
                                                                                                         CMAs. The         MSA,
                                                                                                                     The MSA,
 including any
 including  any amendments         thereto, shall
                  amendments thereto,                  be subject
                                                 shall be  subject to to the
                                                                         the prior
                                                                              prior non-objection
                                                                                     non-objection of       the CMAs.
                                                                                                         of the   CMAs. The   The
 Transaction   Parties, in
 Transaction Parties,     in coordination
                              coordination with   with the
                                                        the TTP,
                                                             TTP, shall
                                                                    shall subsequently
                                                                           subsequently submit
                                                                                             submit aa draft
                                                                                                          draft of    the MSA,
                                                                                                                  of the  MSA,
 and
 and any
      any amendments        thereto, to
          amendments thereto,          to the
                                            the CMAs,
                                                  CMAs, andand resolve
                                                                 resolve any
                                                                           any concerns
                                                                                 concerns raised
                                                                                             raised by by the
                                                                                                           the CMAs
                                                                                                                 CMAs to  to the
                                                                                                                              the
 CMAs’
 CMAs' satisfaction
          satisfaction prior     to the
                          prior to  the execution
                                           execution of      the MSA
                                                         of the  MSA or   or any
                                                                             any amendment         thereto. If
                                                                                  amendment thereto.               the CMAs
                                                                                                                If the  CMAs
 do
 do not
     not object  in writing
         object in   writing within
                               within forty-five
                                         forty-five (45)
                                                       (45) days
                                                              days following
                                                                     following receipt
                                                                                   receipt of
                                                                                            of aa draft   MSA or
                                                                                                  draft MSA        or
 amendment,
 amendment, the the lack
                     lack ofof action
                               action shall
                                         shall constitute
                                                  constitute aa non-objection.
                                                                 non-objection. The   The Transaction        Parties shall
                                                                                           Transaction Parties          shall
 execute
 execute the MSA or any amendment thereto within three (3) days following the non-objection of
          the MSA      or  any  amendment          thereto   within   three  (3)  days  following      the  non-objection       of
 the CMAs
 the CMAs (if(if executed
                  executed prior
                              prior toto the
                                          the Operational       Date, the
                                                Operational Date,       the Transaction      Party shall
                                                                             Transaction Party       shall ensure      that
                                                                                                             ensure that
 TTUSDS     joins as
 TTUSDS joins       as aa party  to the
                          party to  the MSAMSA by   by no   later than
                                                       no later   than the
                                                                         the Operational      Date). The
                                                                              Operational Date).         The Transaction
                                                                                                               Transaction
 Parties shall
 Parties shall submit
                submit aa copy
                            copy of     the final
                                   of the     final MSA
                                                     MSA and and any
                                                                  any amendment         thereto to
                                                                        amendment thereto         to the
                                                                                                      the CMAs       within
                                                                                                           CMAs within
 three (3)
 three (3) days   following execution.
           days following       execution. In        the event
                                                  In the         that Oracle
                                                          event that   Oracle (or(or aa successor
                                                                                        successor TTP)TTP) is is replaced
                                                                                                                  replaced as as
 the TTP,
 the       the Transaction
     TTP, the                    Parties shall
                Transaction Parties          shall execute
                                                    execute an    MSA with
                                                               an MSA      with the
                                                                                 the replacement
                                                                                      replacement TTP   TTP following
                                                                                                               following thethe
 non-objection
 non-objection of     the CMAS
                  of the   CMAS to   to the
                                         the replacement
                                                replacement TTP        under Section
                                                                TTP under      Section 8.2(6),
                                                                                          8.2(6), inin accordance
                                                                                                        accordance with  with the
                                                                                                                               the
 procedures
 procedures and
              and requirements
                    requirements for   for the
                                             the initial
                                                  initial MSA.
                                                          MSA.

                 (2)
                 (2)       The
                           The Transaction    Parties shall
                                Transaction Parties    shall ensure    that the
                                                              ensure that    the MSA
                                                                                 MSA incorporates
                                                                                       incorporates all
                                                                                                     all of the
                                                                                                         of the
 provisions
 provisions applicable
            applicable to to the
                             the TTP,   Protected Data,
                                 TTP, Protected     Data, Source
                                                          Source CodeCode and    Related Files,
                                                                            and Related   Files,
 Recommendation Engine,
 Recommendation      Engine, and    the TikTok
                                and the            U.S. App
                                         TikTok U.S.    App and
                                                              and TikTok      U.S. Platform
                                                                    TikTok U.S.     Platform under
                                                                                              under this
                                                                                                    this
 Agreement,   and  further  incorporates    the  obligations  of  the Transaction    Parties
 Agreement, and further incorporates the obligations of the Transaction Parties under this   under this
 Agreement
 Agreement toto ensure   that the
                ensure that    the TTP   takes the
                                   TTP takes    the actions
                                                    actions specified
                                                             specified in in this
                                                                             this Agreement
                                                                                  Agreement and   that
                                                                                              and that
 TTUSDS    fully cooperates
 TTUSDS fully                   with the
                  cooperates with    the TTP
                                          TTP toto ensure  that the
                                                   ensure that   the TTP
                                                                      TTP can    take such
                                                                            can take  such actions
                                                                                           actions as
                                                                                                   as specified
                                                                                                       specified
 in this
 in this Agreement,
         Agreement, inin all
                         all cases  to the
                              cases to the CMAs’
                                            CMAs' satisfaction
                                                     satisfaction inin their
                                                                        their sole
                                                                              sole discretion.
                                                                                   discretion.

                (3)
                (3)     The
                        The Transaction Parties shall
                            Transaction Parties shall ensure  the TTP
                                                      ensure the  TTP receives
                                                                      receives all
                                                                               all submissions
                                                                                   submissions of
                                                                                               of
 findings arising
 findings         from the
          arising from the public bug bounty
                           public bug bounty program   for the
                                             program for   the TikTok  U.S. App.
                                                               TikTok U.S.  App.

              (4)
              (4)  The
                   The Transaction  Parties shall
                       Transaction Parties  shall ensure that the
                                                  ensure that the MSA
                                                                  MSA sets
                                                                       sets forth
                                                                            forth specific
                                                                                  specific
 commitments by TTUSDS
 commitments by TTUSDS and
                       and Oracle  (or aa successor
                           Oracle (or     successor TTP),  including submitting
                                                    TTP), including              to oversight
                                                                     submitting to  oversight


                                                               29
                                                               29
                                                       APP-455
                                                       APP-455
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                                             CONFIDENTIAL
                                             CONFIDENTIAL PURSUANT
                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

 and
 and auditing
     auditing by by the
                    the CMAs
                        CMAs and     third parties
                                and third  parties designated  under this
                                                   designated under   this Agreement
                                                                           Agreement of
                                                                                      of services
                                                                                         services
 performed     under the MSA.    The   Transaction  Parties shall  ensure the MSA
 performed under the MSA. The Transaction Parties shall ensure the MSA grants the  grants the TTP   the
                                                                                               TTP the
 right, in its
 right, in its sole
               sole discretion, to seek
                    discretion, to       the views
                                   seek the  views of  the Third-Party
                                                    of the              Monitor and
                                                           Third-Party Monitor   and CMAs
                                                                                     CMAs in in the
                                                                                                the event
                                                                                                    event
 of
 of any
    any disagreement     between the
         disagreement between      the Transaction   Parties and
                                       Transaction Parties        the TTP
                                                             and the  TTP regarding  the security
                                                                           regarding the security of
                                                                                                  of
 Protected Data
 Protected   Data and
                   and Source
                        Source Code
                                Code and   Related Files.
                                       and Related  Files.

                 (5)
                 (5)     The
                         The Transaction   Parties shall
                              Transaction Parties  shall amend   the MSA
                                                         amend the   MSA upon
                                                                           upon written
                                                                                written direction
                                                                                         direction from
                                                                                                   from
 the CMAs,
 the CMAs, inin their
                their sole
                      sole discretion;           that any
                                       provided that
                           discretion; provided       any amendments
                                                          amendments to to the
                                                                           the MSA
                                                                               MSA initiated
                                                                                    initiated by
                                                                                              by the
                                                                                                  the
 CMAs
 CMAs shall   be for
        shall be  for purposes
                      purposes of
                                of ensuring
                                   ensuring compliance    with this
                                            compliance with    this Agreement
                                                                    Agreement and
                                                                               and after
                                                                                   after consultation
                                                                                          consultation
 with the
 with the Transaction   Parties, the
          Transaction Parties,   the TTP,
                                     TTP, and the Third-Party
                                          and the               Monitor.
                                                   Third-Party Monitor.

                     (6)
                     (6)       The
                               The Transaction     Parties may,
                                    Transaction Parties       may, solely   based on
                                                                   solely based     on evidence    that the
                                                                                       evidence that     the TTP
                                                                                                              TTP hashas
 failed  to comply
 failed to             with the
             comply with      the material    terms of
                                   material terms        the MSA
                                                     of the   MSA and     with notice
                                                                     and with           to the
                                                                                notice to  the CMAs
                                                                                               CMAs regarding
                                                                                                          regarding thethe
 provision(s)     breached and
  provision(s) breached        and supporting
                                    supporting evidence,
                                                  evidence, request     that the
                                                               request that  the CMAs
                                                                                  CMAs permit
                                                                                          permit thethe Transaction
                                                                                                        Transaction
 Parties to
 Parties   to remove
              remove the the TTP
                              TTP for
                                    for cause.
                                         cause. The
                                                  The Transaction      Parties shall
                                                        Transaction Parties     shall not
                                                                                      not remove
                                                                                           remove thethe TTP     without
                                                                                                           TTP without
 the prior
 the         written consent
      prior written    consent of    the CMAs.
                                  of the  CMAs. The The CMAs,
                                                           CMAs, inin their
                                                                       their sole
                                                                             sole discretion,
                                                                                   discretion, may
                                                                                                may require
                                                                                                       require thethe
 Transaction     Parties to
  Transaction Parties      to remove
                               remove andand replace    the TTP.
                                              replace the    TTP. The
                                                                    The Transaction      Parties shall
                                                                         Transaction Parties     shall ensure      that the
                                                                                                         ensure that    the
 MSA provides
 MSA    provides for for aa process
                            process to to effectively   transition responsibilities
                                          effectively transition    responsibilities inin connection
                                                                                          connection withwith this
                                                                                                                this
 Agreement
  Agreement to  to aa new
                      new TTPTTP inin the
                                      the event
                                           event of
                                                  of aa removal
                                                        removal oror replacement.      Within thirty
                                                                      replacement. Within       thirty (30)
                                                                                                        (30) days
                                                                                                              days
 following
 following any      vacancy in
              any vacancy       in the
                                   the TTP
                                        TTP position,     the Transaction
                                              position, the                  Parties shall
                                                              Transaction Parties     shall submit
                                                                                             submit for    the prior
                                                                                                      for the   prior
 non-objection
  non-objection of     the CMAs
                    of the   CMAs the the name
                                           name and
                                                  and any
                                                       any additional    information requested
                                                             additional information     requested by by the
                                                                                                          the CMAs
                                                                                                              CMAs of   of
 aa proposed    vendor to
    proposed vendor       to serve
                              serve as   the TTP.
                                     as the  TTP. If    the CMAs
                                                    If the   CMAs object,     the Transaction
                                                                     object, the                 Parties shall
                                                                                   Transaction Parties      shall not
                                                                                                                   not
 engage    the vendor
  engage the   vendor and and shall
                                shall submit
                                       submit another
                                                another proposed      vendor to
                                                          proposed vendor      to the
                                                                                  the CMAs     within thirty
                                                                                      CMAs within       thirty (30)
                                                                                                                 (30) days
                                                                                                                       days
 following    receipt   of  the  CMAs’     objection.    If the CMAs     do  not object   within
 following receipt of the CMAs' objection. If the CMAs do not object within thirty (30) days      thirty   (30)  days
 following
 following receipt
              receipt ofof all
                            all necessary    information regarding
                                 necessary information       regarding aa proposed
                                                                           proposed replacement
                                                                                       replacement TTP,       the lack
                                                                                                       TTP, the     lack of
                                                                                                                         of
 action   shall  constitute    a non-objection.
  action shall constitute a non-objection.

                   (7)
                   (7)      The
                            The Transaction     Parties shall
                                  Transaction Parties     shall provide
                                                                provide sufficient  financial resources,
                                                                         sufficient financial  resources,
 consistent   with industry-standard
 consistent with    industry-standard rates     for comparable
                                          rates for  comparable services
                                                                   services and
                                                                            and determined
                                                                                 determined in in coordination
                                                                                                   coordination
 with the
 with  the TTP,   to enable
            TTP, to           the TTP
                      enable the        to fully
                                   TTP to   fully perform
                                                  perform thethe responsibilities
                                                                 responsibilities designated
                                                                                  designated to to the
                                                                                                   the TTP
                                                                                                        TTP inin
 connection    with this
 connection with     this Agreement
                           Agreement and     under the
                                        and under    the MSA.
                                                          MSA. TheThe Transaction    Parties shall
                                                                       Transaction Parties   shall ensure    that
                                                                                                     ensure that
 the MSA
 the MSA requires       the TTP
             requires the   TTP toto promptly
                                     promptly notify     the CMAs
                                                 notify the  CMAs if if the
                                                                        the TTP  believes, in
                                                                            TTP believes,   in its
                                                                                               its sole
                                                                                                    sole discretion
                                                                                                         discretion
 that it
 that it lacks
         lacks sufficient
               sufficient funding
                            funding oror related
                                         related resources    under the
                                                  resources under    the MSA
                                                                          MSA toto adequately
                                                                                   adequately conduct      the
                                                                                                 conduct the
 tasks required
 tasks  required of   it under
                  of it  under the
                                the MSA
                                    MSA and      in connection
                                            and in                with this
                                                    connection with    this Agreement.
                                                                            Agreement. TheThe Transaction
                                                                                                 Transaction
 Parties shall
 Parties  shall provide
                provide semi-annual       updates to
                           semi-annual updates      to the
                                                       the Third-Party    Monitor and
                                                           Third-Party Monitor     and CMAs
                                                                                       CMAs regarding        the
                                                                                                 regarding the
 budgeting and
 budgeting    and funding
                   funding of   the TTP
                             of the        under the
                                     TTP under     the MSA
                                                       MSA and     in connection
                                                              and in               with this
                                                                      connection with   this Agreement.
                                                                                             Agreement.

         8.3
         8.3   Rule of
               Rule    of Construction.
                          Construction. Any
                                          Any provision
                                               provision of   this Agreement
                                                          of this               that requires
                                                                   Agreement that    requires any
                                                                                              any
 Transaction Party, individually
 Transaction Party,  individually or
                                   or collectively, to ensure
                                      collectively, to          that the
                                                       ensure that   the TTP  takes aa specified
                                                                         TTP takes     specified action
                                                                                                  action
 shall be deemed
 shall be         to require
          deemed to           the applicable
                      require the applicable Transaction    Party to
                                              Transaction Party    to enforce,
                                                                      enforce, contractually   through the
                                                                               contractually through    the
 MSA, the
 MSA,   the TTP’s
            TTP's fulfillment
                   fulfillment of
                                of and
                                   and compliance    with its
                                       compliance with    its obligations  in connection
                                                              obligations in               with this
                                                                              connection with    this
 Agreement.
 Agreement.

        8.4
        8.4      TikTok  U.S. Platform
                 TikTok U.S.    Platform Deployment.
                                         Deployment. ByBy no
                                                           no later  than the
                                                              later than  the Operational  Date, the
                                                                              Operational Date,   the
 Transaction  Parties shall,
 Transaction Parties         in coordination
                      shall, in              with the
                                coordination with the TTP,  take all
                                                      TTP, take  all steps
                                                                      steps necessary to facilitate
                                                                            necessary to facilitate
 TTUSDS’s    initial deployment
 TTUSDS's initial    deployment of   the TikTok
                                  of the        U.S. Platform
                                         TikTok U.S.  Platform in
                                                                in the
                                                                   the TTP’s
                                                                        TTP's secure
                                                                               secure cloud
                                                                                      cloud


                                                            30
                                                            30
                                                    APP-456
                                                    APP-456
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                                           CONFIDENTIAL
                                           CONFIDENTIAL PURSUANT
                                                          PURSUANT TO TO 50
                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 infrastructure in
 infrastructure  in the
                    the United
                         United States,   which shall
                                  States, which          be logically
                                                  shall be  logically separate    from the
                                                                       separate from    the DTC,
                                                                                            DTC, and     thereafter
                                                                                                   and thereafter
 the Transaction Parties shall ensure that TTUSDS continues to maintain and operate the TikTok
 the Transaction   Parties  shall  ensure  that  TTUSDS      continues  to  maintain   and  operate  the  TikTok
 U.S. Platform
 U.S.  Platform exclusively
                  exclusively inin the
                                   the TTP’s
                                       TTP's secure
                                                secure cloud   infrastructure in
                                                        cloud infrastructure    in the
                                                                                   the United
                                                                                       United States,
                                                                                                States, except
                                                                                                        except asas
 otherwise
 otherwise provided
             provided inin this
                           this Agreement     (including with
                                Agreement (including       with respect   to CDNs).
                                                                 respect to  CDNs). The The Transaction     Parties
                                                                                             Transaction Parties
 shall
 shall ensure  that TTUSDS’s
       ensure that  TTUSDS's deployment
                                   deployment of     the TikTok
                                                  of the           U.S. Platform
                                                         TikTok U.S.    Platform includes
                                                                                    includes the
                                                                                              the creation
                                                                                                  creation ofof
 secure  testing, build,
 secure testing,  build, integration,
                          integration, and
                                        and deployment
                                             deployment environments
                                                            environments for for the
                                                                                 the TikTok    U.S. App
                                                                                      TikTok U.S.    App and
                                                                                                           and
 TikTok   U.S. Platform
 TikTok U.S.    Platform that
                           that are
                                 are permissioned
                                     permissioned and and auditable.
                                                          auditable. The
                                                                       The Transaction      Parties shall
                                                                             Transaction Parties    shall ensure
                                                                                                           ensure
 the TTP
 the       implements processes
     TTP implements      processes and
                                     and controls
                                          controls toto monitor   these environments
                                                        monitor these    environments to  to ensure
                                                                                             ensure compliance
                                                                                                     compliance
 with this
 with  this Agreement
            Agreement related     to Source
                         related to  Source Code
                                              Code and    Related Files
                                                      and Related   Files and  Logical Access
                                                                           and Logical   Access toto Protected
                                                                                                      Protected
 Data.
 Data.

         8.5
         8.5     Content  Delivery Networks.
                 Content Delivery   Networks. TTUSDS
                                               TTUSDS shallshall not be required
                                                                 not be          to maintain
                                                                        required to maintain and
                                                                                             and
 operate
 operate CDNs
          CDNs solely   within the
                 solely within the TTP’s
                                   TTP's secure
                                          secure cloud  infrastructure; provided
                                                 cloud infrastructure;            that TTUSDS
                                                                        provided that  TTUSDS shall
                                                                                                shall
 maintain,  operate, and contract for any CDN   that is not within the  TTP’s  secure
 maintain, operate, and contract for any CDN that is not within the TTP's secure cloudcloud
 infrastructure in
 infrastructure in accordance  with the
                   accordance with  the following
                                        following requirements:
                                                   requirements:

                (1)
                (1)     Commercial
                        Commercial CDNs:
                                    CDNs: TTUSDS
                                            TTUSDS shall
                                                      shall ensure  that the
                                                            ensure that  the use
                                                                             use of
                                                                                 of any third-party
                                                                                    any third-party
 CDN
 CDN providers
       providers for the TikTok
                 for the        U.S. Platform
                         TikTok U.S. Platform complies  with the
                                              complies with   the vendor
                                                                  vendor approval
                                                                           approval requirements,
                                                                                     requirements,
 including the
 including the Vendor
               Vendor Program
                       Program Policy
                                Policy pursuant to Article
                                       pursuant to Article XIII
                                                           XIII of this Agreement.
                                                                of this Agreement.

                        (i)
                        (i)      TTUSDS
                                 TTUSDS shall
                                           shall ensure that all
                                                 ensure that all such
                                                                 such CDN
                                                                      CDN servers   utilized for
                                                                            servers utilized     the
                                                                                             for the
         delivery
         delivery of
                  of content in the
                     content in the United
                                    United States
                                            States reside
                                                   reside exclusively in the
                                                          exclusively in the United
                                                                             United States.
                                                                                     States.

                          (ii)
                          (ii)    TTUSDS
                                  TTUSDS shall
                                             shall consult    with the
                                                    consult with   the TTP
                                                                       TTP and
                                                                           and Third-Party  Monitor on
                                                                                Third-Party Monitor  on
         configuration
         configuration changes
                         changes related  to aa CDN.
                                  related to    CDN. All All such
                                                             such changes
                                                                   changes shall be logged
                                                                           shall be        in auditable
                                                                                    logged in auditable
         fashion, with the
         fashion, with  the logs
                             logs made
                                  made available
                                        available toto the
                                                       the Third-Party  Monitor, the
                                                           Third-Party Monitor,   the Third-Party
                                                                                      Third-Party
         Auditor,
         Auditor, and  the CMAs.
                   and the   CMAs. TTUSDS
                                     TTUSDS shall       involve the
                                                 shall involve   the TTP in any
                                                                     TTP in any discussions
                                                                                 discussions or work with
                                                                                             or work with
         the third-party  CDN   provider  related  to such   configuration changes.
         the third-party CDN provider related to such configuration changes.

                           (iii) TTUSDS
                           (iii)   TTUSDS shall
                                              shall ensure  that the
                                                    ensure that  the TTP
                                                                     TTP has  the ability
                                                                          has the          to monitor
                                                                                   ability to monitor and
                                                                                                        and
         audit
         audit configuration
                configuration changes
                                 changes related  to CDNs
                                         related to         through aa gateway
                                                     CDNs through      gateway inin the
                                                                                    the TTP’s
                                                                                         TTP's secure
                                                                                                secure
         cloud   infrastructure for
         cloud infrastructure    for Access to the
                                     Access to the CDN
                                                    CDN network
                                                          network elements
                                                                    elements or   the built-in
                                                                              or the  built-in capability
                                                                                               capability
         provided
         provided by by the
                        the commercial
                             commercial CDN.
                                         CDN. TTUSDS
                                                  TTUSDS shall
                                                             shall ensure that the
                                                                   ensure that the gateway
                                                                                    gateway or   built-in
                                                                                              or built-in
         capability
         capability of   the commercial
                      of the  commercial CDN     includes an
                                          CDN includes     an alert
                                                              alert system  that notifies
                                                                    system that           both TTUSDS
                                                                                 notifies both  TTUSDS
         and  the TTP
         and the   TTP ofof any
                            any change
                                 change of
                                        of origin
                                           origin settings
                                                   settings or that otherwise
                                                            or that otherwise results  in unexpected
                                                                               results in unexpected
         traffic routing
         traffic  routing patterns.
                           patterns.

                  (2)
                  (2)      Proprietary CDNs.
                           Proprietary CDNs.

                        (i)
                        (i)     All
                                All Source
                                    Source Code
                                            Code and   Related Files
                                                   and Related  Files for
                                                                      for any
                                                                          any proprietary
                                                                              proprietary CDN
                                                                                          CDN
         servers
         servers maintained  by TTUSDS
                 maintained by  TTUSDS shall     be subject
                                           shall be         to the
                                                    subject to the applicable
                                                                   applicable software
                                                                              software assurance
                                                                                        assurance
         requirements
         requirements of
                      of Article
                          Article IX, including review
                                  IX, including  review and  testing by
                                                        and testing  by the
                                                                        the TTP  in parallel
                                                                            TTP in           with
                                                                                    parallel with
         deployment
         deployment of  Executable Code.
                     of Executable   Code.

                        (ii)
                        (ii)    TTUSDS
                                TTUSDS shall    work with
                                          shall work  with the
                                                            the TTP  to develop
                                                                TTP to          technical means
                                                                        develop technical        that
                                                                                          means that
         enable (a) the
         enable (a) the TTP  to monitor
                        TTP to          the interaction
                                monitor the interaction of the servers
                                                        of the         with the
                                                               servers with the other
                                                                                other elements
                                                                                      elements of the
                                                                                               of the


                                                        31
                                                        31
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                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                Parties’ Draft as
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          TikTok   U.S. Platform
          TikTok U.S.   Platform and
                                   and systems
                                       systems operated  by or
                                                operated by  or on behalf of
                                                                on behalf    ByteDance serving
                                                                          of ByteDance    serving non-
                                                                                                  non-
          TikTok
          TikTok U.S. Users, and (b) the TTP to block any such interactions that are unexpected or
                   U.S. Users,  and  (b) the TTP to block any  such interactions that are unexpected  or
          unauthorized and
          unauthorized   and report,  within one
                              report, within     (1) day
                                             one (1) day of
                                                         of discovery
                                                            discovery and  validation, any
                                                                       and validation, any such
                                                                                            such
          interactions to
          interactions to the
                          the Third-Party   Monitor and
                               Third-Party Monitor   and CMAs.
                                                         CMAs.

                        (iii) Any
                        (iii)   Any proprietary
                                      proprietary CDN
                                                   CDN servers
                                                         servers maintained by TTUSDS
                                                                 maintained by  TTUSDS shall
                                                                                          shall not
                                                                                                not
          Access
          Access any Protected Data
                 any Protected  Data other  than IP
                                      other than IP addresses,  which TTUSDS
                                                     addresses, which  TTUSDS shall
                                                                                 shall ensure
                                                                                       ensure are
                                                                                              are
          masked  when stored
          masked when  stored on  the CDN
                               on the CDN server,    unless TTUSDS
                                             server, unless TTUSDS requests,
                                                                      requests, and the CMAs
                                                                                and the CMAs
          approve,
          approve, Access  by the
                   Access by  the CDN
                                  CDN toto any
                                           any other  Protected Data.
                                                other Protected Data.

                          (iv)
                          (iv)     On
                                   On anan annual basis, TTUSDS
                                           annual basis,   TTUSDS shall,     with input
                                                                      shall, with  input from
                                                                                          from the
                                                                                                 the TTP
                                                                                                     TTP and
                                                                                                           and
          Third-Party  Monitor, reevaluate
          Third-Party Monitor,    reevaluate and
                                              and report
                                                   report toto the
                                                               the CMAs
                                                                   CMAs regarding      the feasibility
                                                                           regarding the    feasibility of third-
                                                                                                        of third-
          party vendors adequately
          party vendors  adequately supporting
                                       supporting services
                                                   services covered    by proprietary
                                                               covered by   proprietary CDNs.
                                                                                          CDNs. WhenWhen
          TTUSDS
          TTUSDS concludes       that third-party
                    concludes that    third-party vendors
                                                  vendors can can adequately
                                                                  adequately support     the services
                                                                               support the    services provided
                                                                                                       provided
          by proprietary  CDNs    consistent  with  industry-standard    rates for  comparable
          by proprietary CDNs consistent with industry-standard rates for comparable services,     services,
          TTUSDS
          TTUSDS shall     transition those
                    shall transition   those services  to aa third-party
                                             services to     third-party vendor
                                                                         vendor onon aa timeline
                                                                                        timeline established
                                                                                                   established
          in consultation
          in               with the
             consultation with  the TTP,
                                     TTP, Third-Party    Monitor, and
                                            Third-Party Monitor,    and CMAs.
                                                                         CMAs.

               (3)
               (3)      For the
                        For the avoidance
                                avoidance of
                                          of doubt,
                                             doubt, neither ByteDance nor
                                                    neither ByteDance  nor any
                                                                           any of its Affiliates
                                                                               of its Affiliates
 shall
 shall have
       have Access to the
            Access to the CDNs
                          CDNs supporting   the TikTok
                                 supporting the         U.S. Platform.
                                                TikTok U.S.  Platform.

          8.6
          8.6     Diagrams. By
                  Diagrams.     By no
                                    no later than thirty
                                       later than thirty (30)
                                                         (30) days
                                                              days prior    to the
                                                                     prior to  the Operational   Date, and
                                                                                   Operational Date,   and
 thereafter within
 thereafter  within fourteen
                     fourteen (14)
                               (14) days
                                     days following
                                          following aa request
                                                        request from    the CMAs,
                                                                 from the            the Transaction
                                                                             CMAs, the                 Parties
                                                                                         Transaction Parties
 shall
 shall submit,
       submit, and
                 and shall
                      shall ensure  the TTP
                            ensure the  TTP submits,
                                              submits, respectively
                                                        respectively asas applicable  to their
                                                                          applicable to  their individual
                                                                                               individual
 obligations
 obligations oror collectively
                  collectively as
                                as appropriate,
                                   appropriate, Architecture    Diagrams, Data
                                                 Architecture Diagrams,       Data Flow
                                                                                   Flow Diagrams,
                                                                                          Diagrams, Existing
                                                                                                     Existing
 Network    Diagrams,   and  Source   Code   Review   Diagrams    for the  TikTok
 Network Diagrams, and Source Code Review Diagrams for the TikTok U.S. Platform the U.S. Platform  to
                                                                                                   to the
 Third-Party   Monitor and
 Third-Party Monitor      and CMAs.
                              CMAs. The The Transaction    Parties shall
                                             Transaction Parties    shall promptly
                                                                          promptly respond,
                                                                                     respond, and
                                                                                                and shall
                                                                                                    shall
 ensure  the TTP
 ensure the   TTP promptly
                   promptly responds,
                              responds, toto inquiries
                                             inquiries from  the Third-Party
                                                       from the                  Monitor and
                                                                  Third-Party Monitor      and CMAs
                                                                                                CMAs for
                                                                                                       for
 further or
 further  or clarifying  information regarding
             clarifying information    regarding any
                                                  any submission
                                                       submission of of Architecture   Diagrams, Data
                                                                        Architecture Diagrams,     Data Flow
                                                                                                          Flow
 Diagrams, Existing
 Diagrams,    Existing Network
                        Network Diagrams,
                                   Diagrams, and
                                               and Source
                                                    Source Code    Review Diagrams.
                                                            Code Review       Diagrams.

                                                  ARTICLE IX
                                                  ARTICLE IX

       DEDICATED TRANSPARENCY
       DEDICATED TRANSPARENCY CENTER AND SOURCE
                              CENTER AND SOURCE CODE
                                                CODE SECURITY
                                                     SECURITY

         9.1
         9.1      DTC Locations
                  DTC    Locations and    Protocols. The
                                     and Protocols.     The Transaction       Parties shall
                                                              Transaction Parties      shall mutually
                                                                                             mutually develop
                                                                                                         develop
 with the
 with  the TTP   the locations
            TTP the  locations and   Physical Access
                                and Physical     Access and    Logical Access
                                                          and Logical     Access procedures
                                                                                    procedures of    the DTC,
                                                                                                  of the  DTC, as
                                                                                                                as
 well as
 well     the security
      as the  security requirements,     infrastructure, technical
                        requirements, infrastructure,      technical and
                                                                       and architectural
                                                                             architectural parameters,
                                                                                             parameters, and
                                                                                                           and
 equipment
 equipment to to be
                 be used
                    used within
                           within the
                                  the DTC
                                       DTC (together,
                                              (together, the   “DTC Operating
                                                          the "DTC      Operating Protocols”).
                                                                                       Protocols"). The The
 Transaction    Parties shall
 Transaction Parties    shall ensure  that the
                              ensure that   the DTC
                                                DTC is is located
                                                          located atat all  times in
                                                                       all times   in the
                                                                                      the United
                                                                                           United States;   except
                                                                                                    States; except
 that supporting
 that              DTCs may
      supporting DTCs           be located
                           may be   located inin the
                                                 the United
                                                     United Kingdom,
                                                               Kingdom, Australia,       New Zealand,
                                                                             Australia, New     Zealand, and
                                                                                                           and
 Canada    (the "DTC
 Canada (the            Approved Countries”).
                “DTC Approved        Countries"). The The Transaction        Parties shall
                                                             Transaction Parties     shall at
                                                                                            at all times comply
                                                                                               all times  comply
 with the
 with  the DTC
            DTC Operating     Protocols (as
                  Operating Protocols     (as amended
                                               amended from      time to
                                                          from time    to time,
                                                                           time, at  the request
                                                                                  at the  request of   the
                                                                                                    of the
 Transaction    Parties or
 Transaction Parties    or TTP,
                           TTP, or
                                 or at  the direction
                                     at the  direction of   the CMAs).
                                                        of the  CMAs). The   The Transaction     Parties shall
                                                                                  Transaction Parties     shall not
                                                                                                                not
 amend   the DTC
 amend the    DTC Operating     Protocols without
                    Operating Protocols      without the
                                                      the prior   written consent
                                                            prior written    consent of   the TTP.
                                                                                       of the TTP.



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                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

                  (1)
                  (1)      The  DTC Operating
                           The DTC                  Protocols and
                                      Operating Protocols      and any
                                                                     any amendments        thereto shall
                                                                          amendments thereto             be
                                                                                                   shall be
 subject  to the prior  non-objection   of the  CMAs.     The  Transaction
 subject to the prior non-objection of the CMAs. The Transaction Parties shallParties   shall  submit
                                                                                               submit  the
                                                                                                       the  DTC
                                                                                                            DTC
 Operating    Protocols to
 Operating Protocols     to the
                            the CMAs    within seven
                                CMAs within             (7) days
                                                 seven (7)  days following
                                                                   following thethe Effective
                                                                                    Effective Date.
                                                                                                Date. The
                                                                                                        The
 Transaction    Parties shall
 Transaction Parties    shall submit  written confirmation
                              submit written    confirmation to to the
                                                                    the CMAs
                                                                        CMAs of     the TTP’s
                                                                                 of the  TTP's agreement
                                                                                                 agreement to to the
                                                                                                                 the
 initial DTC
 initial DTC Operating     Protocols and
               Operating Protocols    and any
                                            any amendment      thereto. If
                                                 amendment thereto.          the CMAs
                                                                          If the  CMAs do   do not
                                                                                               not object  in
                                                                                                   object in
 writing within
 writing  within fourteen    (14) days
                  fourteen (14)   days following
                                        following receipt
                                                     receipt of  the DTC
                                                             of the   DTC Operating       Protocols or
                                                                            Operating Protocols      or any
                                                                                                        any
 amendment     thereto, the
 amendment thereto,      the lack
                             lack of
                                  of action
                                     action shall
                                             shall constitute
                                                    constitute aa non-objection.
                                                                   non-objection. If     the CMAs
                                                                                      If the  CMAs object,     the
                                                                                                     object, the
 Transaction    Parties shall
 Transaction Parties          fully resolve
                        shall fully          the CMAs’
                                    resolve the   CMAs' concerns
                                                           concerns to to the
                                                                          the satisfaction
                                                                               satisfaction of   the CMAs
                                                                                              of the CMAs in  in
 their sole
 their sole discretion   before implementing
             discretion before  implementing the  the DTC
                                                       DTC Operating      Protocols or
                                                            Operating Protocols       or any
                                                                                          any amendment
                                                                                               amendment
 thereto. The
 thereto.  The Transaction     Parties shall
                 Transaction Parties   shall adopt
                                             adopt and    implement the
                                                      and implement     the DTC
                                                                            DTC Operating        Protocols with
                                                                                   Operating Protocols      with
 the TTP
 the  TTP following    the non-objection
           following the   non-objection of    the CMAs
                                            of the  CMAs andand byby no
                                                                      no later  than the
                                                                         later than  the Operational     Date.
                                                                                           Operational Date.

                (2)
                (2)     The
                        The Transaction  Parties shall
                             Transaction Parties shall not,
                                                       not, and
                                                            and shall
                                                                shall ensure that their
                                                                      ensure that their respective
                                                                                        respective
 Affiliates do not, Access or use the DTC except   in accordance  with the DTC    Operating
 Affiliates do not, Access or use the DTC except in accordance with the DTC Operating
 Protocols.
 Protocols.

          9.2
          9.2      Provision of
                   Provision of Source
                                Source Code
                                       Code and Related Files
                                            and Related Files via
                                                              via the
                                                                  the DTC.
                                                                      DTC.

                   (1)
                   (1)     ByteDance shall
                           ByteDance     shall provide,
                                                provide, and
                                                          and shall
                                                               shall ensure    that its
                                                                       ensure that   its Affiliates
                                                                                         Affiliates provide,
                                                                                                    provide, all
                                                                                                              all
 current
 current and
         and future
              future Source
                       Source Code
                                 Code and   Related Files
                                       and Related    Files to
                                                            to the
                                                               the TTP
                                                                    TTP and     the Source
                                                                           and the   Source Code
                                                                                              Code Inspector   via
                                                                                                    Inspector via
 the DTC
 the DTC for
           for the
                the purposes
                     purposes ofof software
                                   software assurance
                                              assurance and
                                                          and secure
                                                               secure deployment
                                                                         deployment of     the TikTok
                                                                                        of the          U.S. App
                                                                                               TikTok U.S.    App
 and
 and TikTok    U.S. Platform,
      TikTok U.S.     Platform, as   well as
                                  as well     the performance
                                           as the  performance ofof all
                                                                      all related
                                                                          related services   under the
                                                                                   services under   the MSA.
                                                                                                         MSA.
 ByteDance shall
 ByteDance           initially provide,
              shall initially   provide, and
                                          and shall
                                               shall ensure  that its
                                                      ensure that  its Affiliates
                                                                       Affiliates provide,
                                                                                    provide, all
                                                                                              all current
                                                                                                  current Source
                                                                                                           Source
 Code
 Code and   Related Files
       and Related     Files to
                              to the
                                 the TTP   via the
                                     TTP via   the DTC
                                                    DTC byby no  later than
                                                              no later   than the
                                                                              the Operational     Date and
                                                                                   Operational Date     and on
                                                                                                             on an
                                                                                                                an
 ongoing   basis  thereafter.   The  transfer  of Source   Code   and   Related   Files  to the
 ongoing basis thereafter. The transfer of Source Code and Related Files to the TTP via the DTC TTP   via the DTC
 shall
 shall not be deemed
       not be  deemed to to transfer
                            transfer any   title that
                                      any title  that ByteDance
                                                      ByteDance or  or any
                                                                        any of  its Affiliates
                                                                             of its Affiliates has  in the
                                                                                                has in the Source
                                                                                                            Source
 Code  and  Related
 Code and Related      Files.
                       Files.

                    (2)
                    (2)       In
                              In connection
                                 connection withwith its
                                                       its provision
                                                            provision ofof all
                                                                           all current
                                                                               current and
                                                                                        and future
                                                                                             future Source
                                                                                                     Source Code
                                                                                                               Code and
                                                                                                                     and
 Related Files
 Related    Files to
                  to the
                      the TTP    via the
                           TTP via    the DTC,
                                           DTC, ByteDance
                                                   ByteDance shall shall produce
                                                                         produce aa software    bill of
                                                                                     software bill   of materials   (the
                                                                                                        materials (the
 “SBOM”) or
 "SBOM")          its equivalent,
               or its                that inventories,
                       equivalent, that     inventories, forfor each   version of
                                                                 each version      the Source
                                                                                of the Source Code
                                                                                                Code and      Related
                                                                                                        and Related
 Files, all
 Files,  all components
             components and        their origin,
                             and their             including sufficient
                                         origin, including       sufficient data
                                                                            data for  the TTP
                                                                                  for the       to verify
                                                                                           TTP to   verify each
                                                                                                             each
 component
 component and       to cross-reference
                and to   cross-reference with with known      vulnerabilities. The
                                                    known vulnerabilities.        The Transaction     Parties shall
                                                                                       Transaction Parties     shall
 ensure   the TTP,
 ensure the            through signature
               TTP, through                   verification (to
                                 signature verification       (to the
                                                                   the extent
                                                                       extent possible),   verifies that
                                                                               possible), verifies   that the
                                                                                                          the software
                                                                                                               software
 versions and
 versions    and other
                  other components        identified in
                          components identified        in the
                                                           the SBOM
                                                                SBOM or     its equivalent
                                                                         or its equivalent matches     the Source
                                                                                             matches the     Source
 Code
 Code and     Related Files
        and Related      Files where
                               where source
                                        source code
                                                  code isis available   (e.g., third-party
                                                            available (e.g.,   third-party libraries),
                                                                                            libraries), and
                                                                                                         and any   third-
                                                                                                              any third-
 party  software,    including    for  any   build  artifacts   that are incorporated    into
 party software, including for any build artifacts that are incorporated into the TikTok U.S. the TikTok     U.S.  App
                                                                                                                   App
 or the TikTok
 or the            U.S. Platform
         TikTok U.S.       Platform byby reference
                                           reference toto software
                                                           software repositories.
                                                                       repositories. The
                                                                                      The Transaction       Parties shall
                                                                                            Transaction Parties     shall
 also
 also ensure
      ensure thethe TTP     verifies, to
                     TTP verifies,     to the
                                          the extent    that it
                                               extent that    it determines
                                                                 determines necessary
                                                                               necessary and   feasible, third-party
                                                                                          and feasible,    third-party
 software    where the
 software where       the source
                           source code
                                    code isis not
                                              not available     (e.g., commercial-off-the-shelf
                                                  available (e.g.,     commercial-off-the-shelf software
                                                                                                     software and
                                                                                                                and
 open
 open source     tools).
        source tools).

                (3)
                (3)      The
                         The Transaction  Parties shall
                              Transaction Parties shall designate Personnel who
                                                        designate Personnel    who are based in
                                                                                   are based in the
                                                                                                the
 United States,
 United States, Australia,  New Zealand,
                Australia, New   Zealand, Canada,
                                          Canada, and   the United
                                                    and the  United Kingdom,
                                                                     Kingdom, unless
                                                                                unless otherwise
                                                                                       otherwise
 approved in writing
 approved in writing by
                      by the
                          the CMAs,
                              CMAs, as
                                     as primary
                                        primary points
                                                  points of
                                                         of contact with the
                                                            contact with   the TTP
                                                                               TTP and the CMAs
                                                                                   and the CMAs for
                                                                                                  for
 requirements
 requirements related  to the
               related to the DTC
                              DTC and
                                   and Source
                                        Source Code
                                                Code and   Related Files.
                                                      and Related   Files.


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                                                            33
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                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

         9.3
         9.3      DTC Access.
                  DTC Access.

                   (1)
                   (1)     ByteDance shall
                           ByteDance    shall not withhold, and
                                              not withhold,   and shall
                                                                  shall ensure    that none
                                                                         ensure that   none of  its Affiliates
                                                                                             of its  Affiliates
 withhold, Physical
 withhold,   Physical Access    to the
                        Access to  the DTC
                                       DTC without
                                             without just
                                                      just cause  (e.g., for
                                                           cause (e.g.,      the protection
                                                                         for the  protection of   its
                                                                                              of its
 intellectual property)
 intellectual  property) and
                          and on  terms consistent
                               on terms             with the
                                         consistent with  the MSA
                                                               MSA and     this Agreement.
                                                                     and this                  ByteDance
                                                                                Agreement. ByteDance
 shall
 shall ensure   that all
       ensure that       Persons designated
                     all Persons              in writing
                                  designated in  writing by
                                                         by the
                                                             the CMAs,
                                                                 CMAs, in  in their
                                                                              their sole
                                                                                    sole discretion,
                                                                                          discretion, have
                                                                                                       have
 Access
 Access toto the
             the DTC.
                  DTC. Any     Person designated
                          Any Person               by the
                                       designated by   the CMAs
                                                           CMAs pursuant
                                                                   pursuant to to this
                                                                                  this section
                                                                                       section shall  treat all
                                                                                               shall treat  all
 information such
 information          Person observes
                such Person   observes or
                                        or has
                                           has Access   to as
                                                Access to  as confidential   information consistent
                                                              confidential information                   with 31
                                                                                            consistent with   31
 C.F.R.
 C.F.R. §§ 800.802.
            800.802.

               (2)
               (2)     ByteDance shall
                       ByteDance    shall ensure that any
                                          ensure that any confidentiality
                                                          confidentiality requirements
                                                                          requirements for
                                                                                       for Access to
                                                                                           Access to
 the DTC
 the DTC do
          do not impede the
             not impede  the ability
                             ability of the Third-Party
                                     of the             Monitor or
                                            Third-Party Monitor     the CMAs
                                                                 or the CMAs toto conduct
                                                                                  conduct
 monitoring
 monitoring pursuant to this
            pursuant to this Agreement.
                             Agreement.

                  (3)
                  (3)      ByteDance shall
                           ByteDance          grant, and
                                        shall grant, and shall
                                                          shall ensure that its
                                                                ensure that its Affiliates grant, all
                                                                                Affiliates grant,  all
 Personnel  of  TTUSDS,     the TTP,   the Source  Code   Inspector, and  the  Third-Party
 Personnel of TTUSDS, the TTP, the Source Code Inspector, and the Third-Party Monitor       Monitor
 Physical Access
 Physical  Access toto the
                       the DTC,
                            DTC, consistent   with the
                                  consistent with   the DTC
                                                        DTC Operating    Protocols. ByteDance
                                                              Operating Protocols.     ByteDance shall
                                                                                                     shall
 ensure that such
 ensure that        Personnel have
              such Personnel    have aa constant
                                        constant and
                                                  and consistent
                                                       consistent right
                                                                  right and
                                                                        and ability  to have
                                                                             ability to       Physical
                                                                                        have Physical
 Access  to the
 Access to  the DTC.
                 DTC. ByteDance
                         ByteDance shall
                                      shall not take, and
                                            not take, and shall
                                                           shall ensure that none
                                                                 ensure that  none of  its Affiliates
                                                                                    of its             take,
                                                                                           Affiliates take,
 any
 any action  to delay
     action to  delay or
                       or prevent  Physical Access
                          prevent Physical            to the
                                              Access to  the DTC
                                                              DTC by
                                                                   by Personnel
                                                                       Personnel ofof TTUSDS,
                                                                                      TTUSDS, the the TTP,
                                                                                                       TTP,
 the Source
 the Source Code
             Code Inspector,
                     Inspector, or the Third-Party
                                or the                Monitor. The
                                        Third-Party Monitor.     The Transaction    Parties shall
                                                                     Transaction Parties    shall ensure   the
                                                                                                  ensure the
 TTP
 TTP promptly
      promptly reports
                  reports any
                           any non-compliance
                               non-compliance withwith this
                                                        this Section
                                                             Section 9.3(3)  to the
                                                                     9.3(3) to  the Third-Party   Monitor
                                                                                    Third-Party Monitor
 and
 and CMAs.
     CMAs.

                   (4)
                   (4)      ByteDance shall
                            ByteDance           grant, and
                                         shall grant,  and shall
                                                             shall ensure  that its
                                                                   ensure that   its Affiliates grant, Personnel
                                                                                     Affiliates grant,  Personnel
 of
 of TTUSDS
     TTUSDS and       the TTP
                and the         full Logical  Access   to, and   the practical ability   to review   and
                           TTP full Logical Access to, and the practical ability to review and inspect,  inspect,
 all
 all Source
     Source Code
              Code and     Related Files
                     and Related    Files in
                                          in the
                                             the DTC,
                                                 DTC, consistent      with the
                                                         consistent with   the licensing
                                                                                licensing terms
                                                                                            terms under
                                                                                                   under
 Section   2.5 (including
 Section 2.5   (including anyany confidentiality   terms) and
                                  confidentiality terms)         this Agreement,
                                                           and this                  without any
                                                                      Agreement, without            interference
                                                                                               any interference
 by ByteDance.
 by  ByteDance. ByteDance
                     ByteDance may may maintain
                                        maintain monitoring       within the
                                                   monitoring within     the DTC
                                                                             DTC to  to the
                                                                                        the extent
                                                                                             extent necessary  to
                                                                                                     necessary to
 protect  its intellectual
 protect its  intellectual property;              that such
                                       provided that
                            property; provided         such monitoring
                                                              monitoring shall
                                                                           shall not   impede or
                                                                                   not impede    or compromise
                                                                                                    compromise
 the integrity
 the  integrity of  the TTP’s
                of the   TTP's confidential    inspection of
                                 confidential inspection    of Source
                                                                Source Code
                                                                        Code and     Related Files.
                                                                               and Related    Files. The
                                                                                                       The
 Transaction    Parties shall
 Transaction Parties      shall ensure the TTP
                                ensure the  TTP promptly
                                                  promptly reports
                                                              reports any
                                                                      any non-compliance
                                                                           non-compliance with  with this
                                                                                                      this
 Section
 Section 9.3(4)    to the
           9.3(4) to   the Third-Party  Monitor and
                           Third-Party Monitor     and CMAs.
                                                        CMAs.

         9.4
         9.4      Source
                  Source Code
                           Code and   Related Files
                                  and Related   Files Location.
                                                      Location. ByteDance
                                                                  ByteDance maymay require   in the
                                                                                     require in the DTC
                                                                                                    DTC
 Operating   Protocols that
 Operating Protocols    that the
                             the TTP    Personnel shall
                                  TTP Personnel     shall not
                                                          not review
                                                              review or  inspect Source
                                                                      or inspect  Source Code
                                                                                          Code and   Related
                                                                                                 and Related
 Files other
 Files        than via
       other than  via the
                       the DTC
                            DTC and    that the
                                   and that the Source
                                                Source Code
                                                         Code and   Related Files
                                                                and Related   Files be
                                                                                    be used
                                                                                       used solely
                                                                                            solely for  the
                                                                                                    for the
 purposes
 purposes required under this Agreement. ByteDance shall ensure that at least one (1) location of
           required   under  this Agreement.     ByteDance    shall ensure  that at least one (1) location  of
 the DTC
 the DTC isis within
               within the
                      the facilities
                          facilities of the TTP.
                                     of the TTP. TTUSDS
                                                    TTUSDS shall
                                                               shall ensure  the TTP
                                                                     ensure the  TTP maintains    Logical
                                                                                       maintains Logical
 Access  to Source
 Access to  Source Code
                     Code and    Related Files
                            and Related   Files via
                                                 via the
                                                     the DTC,
                                                         DTC, consistent   with the
                                                                consistent with   the DTC
                                                                                      DTC Operating
                                                                                            Operating
 Protocols, to
 Protocols,  to conduct
                conduct automated
                          automated and
                                      and manual
                                           manual review
                                                     review of
                                                             of Source
                                                                Source Code
                                                                        Code and    Related Files.
                                                                               and Related  Files.

         9.5
         9.5   Software
               Software Assurance    Process. As
                           Assurance Process.  As part
                                                  part of the software
                                                       of the software assurance
                                                                       assurance process, the
                                                                                 process, the
 Transaction Parties shall
 Transaction Parties shall ensure that the
                           ensure that the Source
                                           Source Code
                                                  Code and  Related Files
                                                        and Related Files and Executable Code
                                                                          and Executable  Code do
                                                                                               do
 not include Malicious
 not include Malicious Code.
                       Code.



                                                        34
                                                        34
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                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

         9.6
         9.6     Vulnerability  Reporting. TTUSDS
                 Vulnerability Reporting.    TTUSDS shall
                                                        shall report
                                                               report promptly,
                                                                       promptly, and
                                                                                   and shall
                                                                                       shall ensure  the
                                                                                             ensure the
 TTP
 TTP reports promptly, via a format mutually acceptable to the CMAs and TTUSDS, and in any
      reports  promptly, via a format  mutually   acceptable   to the  CMAs     and TTUSDS,    and  in any
 event within one
 event within      (1) business
               one (1) business day
                                 day of
                                     of discovery
                                        discovery and    validation, any
                                                    and validation,         findings of
                                                                      any findings      zero day
                                                                                     of zero  day
 vulnerabilities designated
 vulnerabilities             by the
                 designated by  the TTP
                                    TTP asas at
                                             at least
                                                least high
                                                      high severity
                                                           severity oror equivalent  (following
                                                                         equivalent (following
 consultation  with TTUSDS
 consultation with  TTUSDS and     based on
                               and based  on recognized
                                              recognized criteria
                                                           criteria such
                                                                    such as   the Common
                                                                          as the             Vulnerability
                                                                                   Common Vulnerability
 Scoring
 Scoring System
          System and   the TTP’s
                  and the         judgment regarding
                           TTP's judgment                whether the
                                             regarding whether     the vulnerabilities
                                                                        vulnerabilities are
                                                                                        are exploitable)
                                                                                             exploitable) or
                                                                                                          or
 any instance of
 any instance     Malicious Code
               of Malicious        in the
                             Code in  the Source
                                          Source Code
                                                   Code and   Related Files
                                                         and Related     Files or  Executable Code
                                                                                or Executable        to
                                                                                               Code to
 ByteDance, the
 ByteDance,   the Third-Party  Monitor, and
                  Third-Party Monitor,        the CMAs,
                                         and the   CMAs, subject    to the
                                                           subject to   the following:
                                                                             following:

                 (1)
                 (1)      In the event
                          In the       that the
                                 event that the TTP
                                                TTP discovers    what it
                                                     discovers what   it believes
                                                                         believes to
                                                                                   to be,
                                                                                       be, in
                                                                                            in its
                                                                                               its sole
                                                                                                   sole
 discretion, the presence
 discretion, the presence of   Malicious Code
                            of Malicious        in the
                                          Code in  the Source
                                                       Source Code
                                                               Code and    Related Files
                                                                      and Related     Files or  Executable
                                                                                             or Executable
 Code,
 Code, TTUSDS
        TTUSDS shall
                   shall ensure  the TTP
                         ensure the  TTP submits   the written
                                          submits the  written report
                                                                report directly  to the
                                                                       directly to   the CMAs
                                                                                         CMAs and  and Third-
                                                                                                        Third-
 Party Monitor
 Party Monitor prior   to notifying
                 prior to            ByteDance, and,
                          notifying ByteDance,    and, at the direction
                                                       at the direction of  the CMAs,
                                                                         of the CMAs, provide
                                                                                           provide aa copy   to
                                                                                                       copy to
 ByteDance    soon thereafter  in which  the TTP  may  redact  information,   in its  sole discretion
 ByteDance soon thereafter in which the TTP may redact information, in its sole discretion or at        or at
 the direction
 the direction of the CMAs.
               of the CMAs.

                 (2)
                 (2)    The
                         The Transaction   Parties shall
                              Transaction Parties  shall not
                                                         not disclose,
                                                             disclose, and
                                                                       and shall
                                                                            shall ensure the TTP
                                                                                  ensure the TTP does
                                                                                                  does
 not
 not disclose, to the
     disclose, to the public
                      public any  findings of
                             any findings     zero days,
                                           of zero        vulnerabilities, or
                                                   days, vulnerabilities,     Malicious Code
                                                                           or Malicious       in the
                                                                                         Code in the
 Source
 Source Code
         Code and   Related Files
                and Related  Files or Executable Code
                                   or Executable  Code discovered   by the
                                                         discovered by  the TTP
                                                                             TTP or  the Transaction
                                                                                  or the Transaction
 Parties unless:
 Parties unless:

                          (i)
                          (i)      they are
                                   they are required to do
                                            required to do so by applicable
                                                           so by applicable law
                                                                            law or
                                                                                or regulation
                                                                                   regulation or in
                                                                                              or in
         relation to aa judicial
         relation to    judicial or
                                 or administrative
                                    administrative proceeding;
                                                   proceeding;

                       (ii)
                       (ii)     there is
                                there is no
                                         no disagreement
                                            disagreement among ByteDance, TTUSDS,
                                                         among ByteDance, TTUSDS, and the
                                                                                  and the
         TTP
         TTP regarding the findings;
             regarding the  findings; or
                                       or

                         (iii) in
                         (iii)    in the
                                     the event that there
                                         event that there is
                                                          is such
                                                             such aa disagreement
                                                                     disagreement among    ByteDance,
                                                                                   among ByteDance,
         TTUSDS,
         TTUSDS, and     the TTP,
                     and the  TTP, TTUSDS
                                    TTUSDS or     the TTP
                                               or the TTP determines,
                                                           determines, after
                                                                         after consultation with the
                                                                               consultation with the
         Security
         Security Committee,
                  Committee, thatthat disclosure is merited
                                      disclosure is          given industry
                                                    merited given   industry practices
                                                                             practices on
                                                                                       on responsible
                                                                                          responsible
         disclosure,
         disclosure, such
                      such as  the International
                           as the  International Organization   for Standardization
                                                 Organization for                    (“ISO”) 29147
                                                                     Standardization ("ISO")  29147
         Standard.
         Standard.

                  (3)
                 (3)     TTUSDS
                         TTUSDS shall
                                    shall ensure   that the
                                          ensure that   the timing
                                                            timing and
                                                                    and contents
                                                                         contents of
                                                                                  of any
                                                                                     any public
                                                                                          public disclosure
                                                                                                 disclosure
 pursuant  to this
 pursuant to  this Section
                   Section are
                           are consistent  with industry
                               consistent with   industry practices
                                                           practices on
                                                                      on responsible
                                                                         responsible disclosure,
                                                                                      disclosure, such
                                                                                                  such as
                                                                                                       as
 the ISO
 the      29147 standard,
     ISO 29147              to ensure
                  standard, to        that the
                               ensure that  the zero
                                                zero day,  vulnerability, or
                                                      day, vulnerability,     Malicious Code
                                                                           or Malicious        is
                                                                                         Code is
 remediated
 remediated oror otherwise
                 otherwise patched
                            patched prior  to disclosure,
                                     prior to disclosure, and   that the
                                                            and that the disclosure
                                                                         disclosure does
                                                                                     does not lead to
                                                                                          not lead to
 exploitation
 exploitation of  the zero
               of the zero day, vulnerability, or
                           day, vulnerability,      Malicious Code.
                                                or Malicious   Code.

                  (4)
                  (4)     TTUSDS
                          TTUSDS shall
                                     shall ensure    that any
                                             ensure that  any public
                                                               public disclosure
                                                                      disclosure of
                                                                                  of aa zero
                                                                                        zero day,
                                                                                             day,
 vulnerability, or
 vulnerability,     Malicious Code
                 or Malicious Code is is first
                                          first notified to the
                                                notified to the other
                                                                other Transaction   Parties, the
                                                                      Transaction Parties,    the TTP,  the
                                                                                                  TTP, the
 Security
 Security Committee,    the Third-Party
           Committee, the                   Monitor, and
                            Third-Party Monitor,            the CMAs.
                                                       and the  CMAs. TheThe Transaction     Parties shall
                                                                              Transaction Parties    shall not
                                                                                                            not
 disclose,
 disclose, shall
           shall ensure  the TTP
                 ensure the  TTP and    the Third-Party
                                  and the                   Monitor do
                                              Third-Party Monitor    do not
                                                                        not disclose,
                                                                            disclose, and
                                                                                        and shall
                                                                                            shall ensure   that
                                                                                                   ensure that
 the Security
 the Security Committee
              Committee doesdoes not
                                 not disclose,
                                      disclose, any    zero day,
                                                  any zero        vulnerability, or
                                                             day, vulnerability,     Malicious Code
                                                                                  or Malicious         that is
                                                                                                 Code that   is
 so
 so pre-notified  to them,
    pre-notified to  them, until
                           until after  it is
                                 after it  is made
                                              made public    by TTUSDS
                                                     public by  TTUSDS or     the TTP
                                                                           or the TTP consistent    with this
                                                                                         consistent with  this



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                                                       35
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                                                                             50 U.S.C.
                                                                                U.S.C. § § 4565
                                                                                           4565
                                          EXEMPT
                                          EXEMPT FROM   DISCLOSURE UNDER
                                                   FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                  U.S.C. §§ 552
                                                                                            552
                                                                   Parties’ Draft as
                                                                   Parties' Draft as of 8/23/22
                                                                                     of 8/23/22

 Section
 Section 9.6(4),
         9.6(4), and the Transaction
                 and the             Parties shall
                         Transaction Parties shall ensure that any
                                                   ensure that any such
                                                                   such disclosure is limited
                                                                        disclosure is limited to
                                                                                              to the
                                                                                                 the
 content
 content made
         made public  by TTUSDS
               public by TTUSDS or    the TTP.
                                   or the TTP.

         9.7
         9.7      Source
                  Source Code
                          Code and   Related Files
                                and Related    Files Review
                                                       Review Process.
                                                                  Process. Upon
                                                                            Upon receiving
                                                                                   receiving Source
                                                                                              Source Code
                                                                                                       Code and
                                                                                                              and
 Related Files
 Related  Files via
                via the
                    the DTC,
                        DTC, initially
                               initially and  for any
                                          and for  any subsequent
                                                        subsequent change,
                                                                       change, TTUSDS
                                                                                TTUSDS shall
                                                                                           shall ensure   the
                                                                                                  ensure the
 TTP
 TTP deploys,   immediately and
      deploys, immediately     and on
                                    on an
                                        an ongoing     basis, aa team
                                            ongoing basis,       team of
                                                                       of engineers
                                                                          engineers toto examine
                                                                                         examine all
                                                                                                   all aspects
                                                                                                       aspects of
                                                                                                               of
 the Source
 the Source Code
             Code and    Related Files
                    and Related   Files using
                                        using all   tools required
                                                all tools required in in the
                                                                         the TTP’s
                                                                             TTP's sole
                                                                                     sole discretion,  including
                                                                                          discretion, including
 both automated
 both              tools and
      automated tools    and human    inspection, to
                              human inspection,      to assess  the presence
                                                        assess the   presence of
                                                                               of any  zero days,
                                                                                  any zero   days,
 vulnerabilities, or
 vulnerabilities,    Malicious Code,
                  or Malicious           that could
                                 Code, that   could affect   the confidentiality,
                                                      affect the                    integrity, or
                                                                   confidentiality, integrity, or availability
                                                                                                   availability
 of the TikTok
 of the          U.S. App,
        TikTok U.S.   App, TikTok     U.S. Platform,
                             TikTok U.S.     Platform, or   Protected Data.
                                                         or Protected    Data. The
                                                                                The Transaction    Parties shall
                                                                                     Transaction Parties    shall
 permit,
 permit, and
         and shall
              shall ensure  that their
                    ensure that  their respective
                                       respective Affiliates
                                                     Affiliates permit,    use by
                                                                  permit, use  by the
                                                                                  the TTP
                                                                                       TTP of
                                                                                            of all tools
                                                                                               all tools
 necessary  to perform
 necessary to            the obligations
               perform the   obligations inin connection    with this
                                              connection with      this Agreement.
                                                                        Agreement.

          9.8
           9.8       TikTok
                     TikTok U.S.U.S. App    Mobile Security
                                      App Mobile                   Measures. Within
                                                     Security Measures.          Within sixty    (60) days
                                                                                          sixty (60)   days following
                                                                                                              following
 the Operational       Date,   or as otherwise   extended     by    the  CMAs,    TTUSDS
 the Operational Date, or as otherwise extended by the CMAs, TTUSDS shall submit to           shall  submit    to the
                                                                                                                   the
 CMAs
 CMAs protocols
          protocols developed
                        developed withwith the
                                            the TTP    that ensure
                                                TTP that     ensure the the TTP
                                                                            TTP creates
                                                                                  creates protections
                                                                                           protections to to ensure     that
                                                                                                              ensure that
 the TikTok
 the TikTok U.S. U.S. App
                        App cannot
                               cannot Access
                                       Access or   transmit Protected
                                                or transmit     Protected DataData in
                                                                                   in an  unauthorized manner
                                                                                       an unauthorized      manner or   or
 exploit   the mobile
 exploit the    mobile devices
                          devices of of TikTok   U.S. Users
                                        TikTok U.S.     Users (the      “Security Protocols”).
                                                                  (the "Security    Protocols"). TTUSDS
                                                                                                      TTUSDS shall  shall
 ensure   that the
 ensure that    the protections
                     protections are are effective
                                         effective no    later than
                                                    no later    than one
                                                                       one hundred
                                                                            hundred and     twenty (120)
                                                                                       and twenty    (120) days
                                                                                                              days
 following
 following the the Operational      Date, unless
                    Operational Date,      unless otherwise
                                                   otherwise extended
                                                                   extended by by the
                                                                                  the CMAs.
                                                                                       CMAs. TTUSDS
                                                                                                  TTUSDS shall shall ensure
                                                                                                                       ensure
 the TTP
 the TTP agrees,
             agrees, inin writing,
                           writing, with
                                     with the
                                           the extent
                                               extent andand scope
                                                              scope of     the security
                                                                        of the security measures
                                                                                         measures in  in the
                                                                                                         the initial
                                                                                                              initial
 protocols
 protocols forfor each
                   each of    the different
                          of the  different apps
                                             apps comprising
                                                   comprising the    the TikTok    U.S. App.
                                                                          TikTok U.S.           For the
                                                                                         App. For    the iOS
                                                                                                          iOS andand
 Android
 Android mobile
             mobile apps,      the initial
                       apps, the   initial protocols
                                           protocols shall     include measures
                                                        shall include      measures such
                                                                                      such as:
                                                                                             as: activation    logic to
                                                                                                 activation logic      to
 enable   the   mobile    security   measures   for all   TikTok     U.S.   Users; rules-based
 enable the mobile security measures for all TikTok U.S. Users; rules-based interceptors to        interceptors     to
 analyze
 analyze and,     if necessary,
            and, if                block data
                     necessary, block           flows; auditing
                                           data flows;    auditing and      logging of
                                                                       and logging   of application     behavior to
                                                                                         application behavior        to alert
                                                                                                                         alert
 the TTP
 the TTP of  of any   issues; and
                any issues;     and configuration
                                     configuration services
                                                      services to  to enable   the TTP
                                                                       enable the  TTP toto adjust   the mobile
                                                                                             adjust the   mobile sandbox
                                                                                                                     sandbox
 as
 as needed
    needed in  in its
                  its sole
                      sole discretion.     Within seven
                             discretion. Within     seven (7)(7) days     following the
                                                                   days following    the implementation
                                                                                          implementation of         the
                                                                                                                of the
 Security    Protocols, ByteDance
 Security Protocols,        ByteDance shall
                                          shall ensure    that all
                                                ensure that     all TikTok     U.S. Users
                                                                     TikTok U.S.    Users must
                                                                                             must download
                                                                                                    download or       update
                                                                                                                  or update
 to the
 to the version
         version of     the TikTok
                    of the             U.S. App
                             TikTok U.S.          that includes
                                             App that    includes the the protections
                                                                           protections of  the Security
                                                                                        of the              Protocols
                                                                                                 Security Protocols
 (e.g., that
 (e.g., that includes
              includes the the mobile
                                mobile security
                                        security measures
                                                  measures to    to use
                                                                     use the
                                                                          the TikTok    U.S. App).
                                                                              TikTok U.S.     App). TTUSDS
                                                                                                       TTUSDS shall  shall
 ensure   the TTP
 ensure the     TTP submits
                      submits monthly
                                  monthly reports    to the
                                            reports to   the Third-Party       Monitor and
                                                              Third-Party Monitor        and CMAs
                                                                                               CMAs on      its progress
                                                                                                        on its  progress
 implementing the
 implementing       the mobile
                          mobile security
                                   security measures.
                                             measures. The  The Transaction       Parties shall
                                                                   Transaction Parties     shall ensure    the TTP
                                                                                                  ensure the     TTP
 promptly
 promptly reports
              reports anyany non-compliance
                              non-compliance with with the
                                                         the Security      Protocols to
                                                              Security Protocols      to the
                                                                                         the Third-Party       Monitor and
                                                                                               Third-Party Monitor         and
 CMAs.
 CMAs.

          9.9
          9.9       Initial
                    Initial Source
                            Source Code
                                   Code and Related Files
                                        and Related Files Inspection.
                                                          Inspection.

                   (1)
                   (1)       Within one
                             Within  one hundred
                                          hundred andand eighty  (180) days
                                                         eighty (180)    days following    the Operational
                                                                               following the                  Date,
                                                                                                Operational Date,
 or
 or as
    as otherwise
        otherwise extended
                     extended byby the
                                   the CMAs,
                                       CMAs, TTUSDS
                                                 TTUSDS shallshall ensure  the TTP
                                                                   ensure the   TTP completes     the initial
                                                                                      completes the   initial
 inspection of
 inspection   of Source
                 Source Code
                           Code and   Related Files
                                  and Related   Files pursuant
                                                       pursuant toto Section
                                                                     Section 9.7        “Initial Inspection”),
                                                                                   (the "Initial
                                                                              9.7 (the           Inspection"),
 with the
 with  the timing
            timing (other
                     (other than
                             than the
                                  the due
                                      due date)
                                           date) and
                                                  and manner
                                                       manner of    the Initial
                                                                of the  Initial Inspection
                                                                                Inspection determined
                                                                                             determined byby the
                                                                                                              the
 TTP
 TTP inin its
          its sole
              sole discretion.
                    discretion. TTUSDS
                                  TTUSDS shall
                                             shall ensure   the TTP
                                                    ensure the  TTP submits
                                                                      submits toto the
                                                                                    the Third-Party  Monitor
                                                                                        Third-Party Monitor
 and
 and CMAs
      CMAs no      later than
               no later  than three
                               three (3)
                                     (3) days  following the
                                         days following    the completion
                                                                completion of    the Initial
                                                                              of the  Initial Inspection
                                                                                              Inspection aa
 certification
 certification of
                of completion
                    completion of    the Initial
                                  of the Initial Inspection,   which shall
                                                 Inspection, which           include aa summary
                                                                       shall include     summary of    the
                                                                                                    of the
 findings of
 findings      the Initial
            of the  Initial Inspection
                            Inspection and
                                        and no   later than
                                             no later  than ten
                                                             ten (10)
                                                                 (10) days   following the
                                                                       days following    the completion
                                                                                              completion of   the
                                                                                                           of the
 Initial
 Initial Inspection
         Inspection aa plan
                         plan and  timeline for
                               and timeline  for any   resulting  remediations    to the  Source  Code
                                                  any resulting remediations to the Source Code and      and


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                                                              36
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                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

 Related Files
 Related  Files requested
                requested of
                          of or
                             or made   by ByteDance
                                 made by  ByteDance as as aa result
                                                             result of the Initial
                                                                    of the Initial Inspection.
                                                                                   Inspection. TTUSDS
                                                                                                TTUSDS
 shall ensure the TTP  submits   monthly  reports to the Third-Party    Monitor    and CMAs
 shall ensure the TTP submits monthly reports to the Third-Party Monitor and CMAs on its       on its
 progress
 progress completing   the Initial
           completing the  Initial Inspection.
                                   Inspection.

                   (2)
                   (2)      During the
                            During     the Initial
                                           Initial Inspection,   ByteDance and
                                                   Inspection, ByteDance             its Affiliates
                                                                                and its  Affiliates may
                                                                                                     may continue
                                                                                                          continue to to
 update the
 update  the Source
              Source Code
                        Code and     Related Files
                                and Related    Files or
                                                     or subsets   thereof; provided,
                                                         subsets thereof;    provided, however,      that ByteDance
                                                                                          however, that   ByteDance
 shall
 shall ensure   that any
       ensure that   any such     updates do
                           such updates     do not  impede the
                                                not impede   the Initial
                                                                  Initial Inspection
                                                                           Inspection andand are
                                                                                              are clearly
                                                                                                  clearly
 identifiable as
 identifiable     updates upon
               as updates     upon inspection
                                     inspection byby the
                                                      the TTP.   Prior to
                                                          TTP. Prior     to the
                                                                            the deployment
                                                                                 deployment of  of any  updates to
                                                                                                   any updates   to
 the Source
 the Source Code
              Code and     Related Files
                     and Related      Files prior  to the
                                             prior to  the completion
                                                           completion of     the Initial
                                                                          of the Initial Inspection,    ByteDance
                                                                                          Inspection, ByteDance
 shall
 shall consult   with TTUSDS
       consult with    TTUSDS and         the TTP
                                     and the   TTP regarding    the impact
                                                    regarding the    impact ofof any
                                                                                  any such   updates on
                                                                                       such updates       the Initial
                                                                                                       on the  Initial
 Inspection
 Inspection and,    where in
              and, where     in the
                                 the TTP’s
                                     TTP's sole
                                              sole discretion
                                                   discretion such    updates will
                                                               such updates      will impede
                                                                                      impede thethe timely
                                                                                                    timely
 completion
 completion of    the Initial
               of the  Initial Inspection,     ByteDance shall
                                Inspection, ByteDance       shall not
                                                                   not make,
                                                                        make, and
                                                                                and shall
                                                                                     shall ensure   that none
                                                                                            ensure that  none of   its
                                                                                                                of its
 Affiliates
 Affiliates make,
             make, such     updates. TTUSDS
                     such updates.      TTUSDS shallshall ensure    the TTP
                                                           ensure the   TTP reports     ByteDance’s or
                                                                               reports ByteDance's         its
                                                                                                        or its
 Affiliates’
 Affiliates' failure   to refrain
              failure to            from updating
                          refrain from     updating the
                                                      the Source
                                                          Source Code
                                                                    Code and    Related Files
                                                                           and Related     Files as
                                                                                                 as required
                                                                                                    required byby this
                                                                                                                  this
 Section
 Section 9.9(2)   to the
           9.9(2) to  the Third-Party      Monitor and
                           Third-Party Monitor       and CMAs
                                                          CMAs and      includes any
                                                                   and includes          updates to
                                                                                   any updates    to the
                                                                                                      the Source
                                                                                                          Source
 Code
 Code and    Related Files
        and Related    Files inin the
                                  the Initial
                                       Initial Inspection,  with the
                                               Inspection, with    the Initial
                                                                       Initial Inspection
                                                                                Inspection considered     incomplete
                                                                                             considered incomplete
 until all
 until     updates are
       all updates   are evaluated.
                         evaluated.

          9.10
          9.10     Prohibition on
                   Prohibition    Deployment without
                               on Deployment without TTP
                                                     TTP Security Processes.
                                                         Security Processes.

                  (1)
                  (1)        The
                             The Transaction    Parties shall
                                 Transaction Parties      shall not
                                                                  not deploy,
                                                                       deploy, and
                                                                               and shall
                                                                                     shall ensure   that none
                                                                                            ensure that  none of of
 their respective
 their respective Affiliates
                   Affiliates deploys,
                                deploys, toto the
                                              the TikTok
                                                   TikTok U.S.U.S. App
                                                                     App or
                                                                          or TikTok    U.S. Platform
                                                                             TikTok U.S.      Platform any
                                                                                                         any
 changes,   updates, alterations,
 changes, updates,     alterations, or  improvements to
                                    or improvements        to the
                                                               the Source
                                                                    Source Code
                                                                            Code and    Related Files
                                                                                   and Related     Files that
                                                                                                         that are
                                                                                                               are not
                                                                                                                    not
 subject  to security
 subject to  security review
                        review and   inspection by
                                and inspection     by the
                                                        the TTP.
                                                            TTP. For For changes,   updates, alterations,
                                                                         changes, updates,     alterations, oror
 improvements to
 improvements     to the
                      the Source
                           Source Code
                                   Code and     Related Files
                                           and Related     Files for
                                                                  for the
                                                                       the TikTok   U.S. App,
                                                                           TikTok U.S.           the Transaction
                                                                                           App, the   Transaction
 Parties shall
 Parties shall ensure
               ensure thethe TTP
                              TTP completes
                                   completes itsits inspection
                                                    inspection before
                                                                    before such  updates are
                                                                           such updates     are deployed,
                                                                                                deployed, andand
 made
 made available    to TikTok
        available to             U.S. Users.
                       TikTok U.S.    Users. ForFor changes,      updates, alterations,
                                                      changes, updates,     alterations, or   improvements to
                                                                                           or improvements       to the
                                                                                                                    the
 Source
 Source Code
          Code and    Related Files
                 and Related    Files for  the TikTok
                                      for the             U.S. Platform,
                                                TikTok U.S.      Platform, the
                                                                             the Transaction    Parties shall
                                                                                 Transaction Parties      shall ensure
                                                                                                                 ensure
 the TTP
 the TTP conducts
           conducts itsits inspection
                           inspection asynchronously
                                       asynchronously in     in accordance    with the
                                                                accordance with     the Software
                                                                                         Software Assurance
                                                                                                     Assurance
 Protocols but
 Protocols   but no  later than
                 no later   than thirty
                                 thirty (30)
                                         (30) days    following deployment.
                                               days following       deployment. The
                                                                                  The Transaction       Parties shall
                                                                                        Transaction Parties       shall
 ensure  that only
 ensure that  only Source
                    Source Code
                              Code and    Related Files
                                     and Related    Files for
                                                            for which
                                                                 which the
                                                                         the SBOM
                                                                             SBOM or      its equivalent
                                                                                      or its  equivalent has    been
                                                                                                           has been
 digitally
 digitally signed
           signed byby the
                        the TTP   is deployed
                             TTP is  deployed to to the
                                                     the TikTok
                                                          TikTok U.S.U.S. Platform.
                                                                          Platform. TheThe Transaction      Parties
                                                                                             Transaction Parties
 shall further ensure
 shall further           that any
               ensure that    any executable     files derived
                                   executable files                from the
                                                        derived from     the Source
                                                                             Source Code
                                                                                      Code and     Related Files
                                                                                              and Related    Files and
                                                                                                                     and
 deployed
 deployed on    the TikTok
            on the  TikTok U.S.U.S. Platform
                                    Platform areare compiled
                                                     compiled exclusively       within the
                                                                  exclusively within     the TTP’s
                                                                                              TTP's secure
                                                                                                      secure cloud
                                                                                                               cloud
 infrastructure. The
 infrastructure.  The Transaction      Parties shall
                         Transaction Parties    shall ensure     the TTP
                                                        ensure the    TTP promptly
                                                                           promptly reports
                                                                                       reports any
                                                                                                any non-
                                                                                                      non-
 compliance    with this
 compliance with     this Section
                           Section 9.10(1)
                                    9.10(1) toto the
                                                 the Third-Party      Monitor and
                                                       Third-Party Monitor      and CMAs.
                                                                                      CMAs.

                  (2)
                  (2)     ByteDance shall
                          ByteDance    shall address,
                                              address, and
                                                         and shall
                                                              shall ensure   that its
                                                                     ensure that  its Affiliates
                                                                                      Affiliates address,
                                                                                                   address, all
                                                                                                            all
 issues with
 issues  with the
              the Source
                   Source Code
                           Code and   Related Files
                                 and Related    Files to
                                                       to the
                                                          the satisfaction
                                                               satisfaction of
                                                                             of TTUSDS
                                                                                TTUSDS and        the TTP,
                                                                                            and the         in
                                                                                                      TTP, in
 their sole
 their sole discretion.
            discretion. In  the event
                         In the event of
                                       of aa disagreement     between TTUSDS
                                             disagreement between       TTUSDS and       the TTP
                                                                                     and the  TTP regarding
                                                                                                     regarding
 the security
 the security of  the Source
               of the Source Code
                               Code and   Related Files,
                                     and Related    Files, the
                                                           the view
                                                                view of   the Security
                                                                       of the Security Committee
                                                                                        Committee shallshall
 prevail;            that should
          provided that
 prevail; provided                the TTP
                          should the  TTP seek     the view
                                             seek the  view of   the CMAs
                                                              of the  CMAs in in the
                                                                                 the event
                                                                                      event of
                                                                                             of aa disagreement
                                                                                                   disagreement
 with the
 with  the Security
           Security Committee,
                     Committee, thethe view
                                       view of   the CMAs
                                              of the CMAs shall
                                                              shall prevail.
                                                                     prevail. The
                                                                               The Transaction      Parties shall
                                                                                     Transaction Parties    shall
 ensure  the TTP
 ensure the  TTP promptly
                   promptly reports
                              reports any
                                      any non-compliance
                                            non-compliance with with this
                                                                      this Section
                                                                           Section 9.10(2)    to the
                                                                                     9.10(2) to   the Third-Party
                                                                                                      Third-Party
 Monitor and
 Monitor   and CMAs.
                CMAs.



                                                           37
                                                           37
                                                   APP-463
                                                   APP-463
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                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

                 (3)
                 (3)    In
                        In all
                           all cases, the Transaction
                               cases, the             Parties shall
                                          Transaction Parties shall ensure  the TTP
                                                                    ensure the  TTP determines,  in its
                                                                                     determines, in its
 sole
 sole discretion, when its
      discretion, when its security
                           security review
                                    review and  inspection pursuant
                                            and inspection           to this
                                                           pursuant to  this Section
                                                                             Section 9.10 is complete.
                                                                                     9.10 is complete.

                              (i)
                              (i)        If
                                         If at
                                            at any   time there
                                               any time     there are  insufficient funds
                                                                  are insufficient    funds or   time for
                                                                                              or time   for the
                                                                                                            the TTP
                                                                                                                TTP toto
          fulfill its obligations,
          fulfill its obligations, TTUSDS
                                       TTUSDS shall  shall ensure    the TTP
                                                             ensure the          immediately informs
                                                                           TTP immediately      informs ByteDance
                                                                                                           ByteDance and and
          the Third-Party
          the                  Monitor of
              Third-Party Monitor              the insufficiency.
                                            of the  insufficiency. If,      upon notification
                                                                        If, upon   notification of
                                                                                                 of aa perceived
                                                                                                       perceived funding
                                                                                                                    funding
          insufficiency, the
          insufficiency,     the Security
                                   Security Committee
                                               Committee determines          unanimously that
                                                              determines unanimously          that the
                                                                                                   the TTP’s
                                                                                                        TTP's request    is
                                                                                                                request is
          inconsistent with
          inconsistent   with industry-standard
                                  industry-standard rates  rates for
                                                                 for comparable
                                                                      comparable services,
                                                                                     services, TTUSDS
                                                                                                 TTUSDS and       the TTP
                                                                                                             and the  TTP
          shall
          shall resolve    the disagreement
                 resolve the    disagreement consistent          with the
                                                    consistent with     the terms
                                                                             terms of   the MSA
                                                                                     of the  MSA and     the timelines
                                                                                                    and the   timelines
          under Section
          under   Section 9.10(3)(ii)
                             9.10(3)(ii) shall     be tolled
                                             shall be   tolled during
                                                                during such
                                                                         such resolution.
                                                                                resolution. ForFor the
                                                                                                   the avoidance
                                                                                                        avoidance of of
          doubt,   tolling under
          doubt, tolling    under thisthis Section
                                            Section 9.10(3)(i)
                                                       9.10(3)(i) shall
                                                                   shall not
                                                                           not affect  the requirement
                                                                                affect the                 that all
                                                                                            requirement that     all
          changes,    updates, alterations,
          changes, updates,        alterations, or     improvements to
                                                  or improvements         to the
                                                                             the Source
                                                                                  Source Code
                                                                                          Code and     Related Files
                                                                                                  and Related    Files
          must   undergo security
          must undergo       security review
                                         review and      inspection by
                                                   and inspection      by the
                                                                           the TTP
                                                                                TTP consistent     with Section
                                                                                      consistent with    Section 9.10(1),
                                                                                                                   9.10(1),
          including    the  requirement       that any    such  changes     to the Source    Code
          including the requirement that any such changes to the Source Code and Related Files      and  Related   Files for
                                                                                                                         for
          the TikTok
          the TikTok U.S.U.S. App
                                App be  be reviewed
                                            reviewed and      inspected prior
                                                         and inspected            to deployment
                                                                            prior to deployment to   to TikTok    U.S.
                                                                                                        TikTok U.S.
          Users.
          Users.

                          (ii)
                          (ii)     ByteDance shall
                                   ByteDance    shall resolve
                                                      resolve any insufficiency of
                                                              any insufficiency of funding
                                                                                   funding or    time
                                                                                              or time
          within fifteen
          within fifteen (15)
                         (15) days
                                days of
                                     of receipt
                                        receipt of the notice
                                                of the        under Section
                                                       notice under  Section 9.10(3)(i).
                                                                             9.10(3)(i). If
                                                                                         If such   funding
                                                                                             such funding
          or timing insufficiency
          or timing  insufficiency is
                                    is not
                                       not resolved  within five
                                           resolved within  five (5)
                                                                 (5) days,
                                                                     days, TTUSDS
                                                                           TTUSDS shall
                                                                                     shall ensure   the
                                                                                            ensure the
          TTP  immediately reports
          TTP immediately      reports such insufficiency to
                                       such insufficiency  to the
                                                              the Third-Party Monitor and
                                                                  Third-Party Monitor   and CMAs.
                                                                                              CMAs.

          9.11
          9.11     Source
                   Source Code
                          Code Inspector.
                               Inspector.

                   (1)
                   (1)      The
                            The Transaction     Parties shall
                                  Transaction Parties    shall engage
                                                                engage aa third-party
                                                                            third-party selected
                                                                                          selected byby TTUSDS
                                                                                                         TTUSDS
 and the  TTP   to  serve  as an  independent    inspector   (the  “Source    Code
 and the TTP to serve as an independent inspector (the "Source Code Inspector") of theInspector”)     of the Source
                                                                                                             Source
 Code
 Code and    Related Files
       and Related     Files in
                              in the
                                 the DTC.
                                     DTC. TheThe engagement
                                                   engagement of      the Source
                                                                   of the  Source Code
                                                                                    Code Inspector
                                                                                            Inspector shall   be
                                                                                                        shall be
 subject  to the
 subject to  the prior
                 prior non-objection
                         non-objection of   the CMAs.
                                         of the   CMAs. The The Transaction      Parties shall
                                                                  Transaction Parties      shall submit
                                                                                                 submit for    the
                                                                                                          for the
 CMAs’
 CMAs' review
           review aa proposed
                      proposed Source
                                  Source Code
                                          Code Inspector      within sixty
                                                  Inspector within           (60) days
                                                                       sixty (60)  days following
                                                                                          following thethe
 Operational   Date. If
 Operational Date.         the CMAs
                        If the CMAs object,     the Transaction
                                       object, the                   Parties shall
                                                     Transaction Parties      shall submit
                                                                                    submit another
                                                                                               another proposed
                                                                                                        proposed
 candidate   for the
 candidate for   the CMAs’
                      CMAs' review      within thirty
                                review within    thirty (30)
                                                        (30) days
                                                              days following
                                                                     following receipt
                                                                                 receipt of    the objection.
                                                                                            of the objection. If    the
                                                                                                                 If the
 CMAs
 CMAs do do not
             not object   within fourteen
                  object within              (14) days
                                   fourteen (14)   days following
                                                         following receipt
                                                                       receipt of
                                                                                of all
                                                                                   all necessary    information
                                                                                       necessary information
 about
 about aa candidate,
          candidate, as as determined
                           determined byby the
                                            the CMAs
                                                 CMAs in  in their
                                                             their sole
                                                                    sole discretion,    the lack
                                                                          discretion, the    lack of
                                                                                                  of action
                                                                                                      action shall
                                                                                                             shall
 constitute
 constitute aa non-objection.
               non-objection. The  The Transaction    Parties shall
                                       Transaction Parties      shall annually
                                                                       annually place
                                                                                  place funds    in escrow
                                                                                          funds in   escrow toto retain
                                                                                                                 retain
 the Source
 the Source Code
              Code Inspector.
                      Inspector. The
                                   The Transaction     Parties shall
                                        Transaction Parties      shall ensure   that the
                                                                        ensure that   the CMAs
                                                                                           CMAs are     third-party
                                                                                                   are third-party
 beneficiaries of
 beneficiaries       their agreement
                 of their              with the
                           agreement with     the Source
                                                   Source Code
                                                           Code Inspector.
                                                                   Inspector.

                  (2)
                  (2)     The
                          The Transaction  Parties shall
                              Transaction Parties  shall ensure that the
                                                         ensure that the Source
                                                                         Source Code
                                                                                  Code Inspector  is
                                                                                        Inspector is
 granted all
 granted     Physical Access
         all Physical   Access and Logical Access
                               and Logical  Access necessary   to conduct
                                                    necessary to   conduct aa security vulnerability
                                                                              security vulnerability
 assessment  within the
 assessment within    the DTC
                          DTC pursuant  to protocols
                               pursuant to protocols approved
                                                      approved inin advance
                                                                    advance byby the
                                                                                 the CMAs
                                                                                     CMAs and
                                                                                            and submits
                                                                                                submits
 reports
 reports directly  to the
         directly to  the CMAs
                          CMAs and
                                and Third-Party   Monitor, with
                                    Third-Party Monitor,    with aa copy to the
                                                                    copy to the Transaction  Parties and
                                                                                 Transaction Parties and
 the TTP,
 the TTP, on
           on aa schedule
                 schedule determined  by the
                           determined by the CMAs.
                                             CMAs.

                 (3)
                 (3)     The
                         The Transaction    Parties shall
                               Transaction Parties  shall ensure that the
                                                          ensure that the Source
                                                                          Source Code
                                                                                 Code Inspector
                                                                                        Inspector
 submits
 submits quarterly
          quarterly reports  to the
                     reports to the Transaction  Parties, the
                                    Transaction Parties,  the TTP,
                                                              TTP, and  the Third-Party
                                                                   and the               Monitor
                                                                            Third-Party Monitor
 detailing
 detailing any findings of
           any findings  of concern,
                            concern, or  if none,
                                      or if none, stating
                                                  stating so.
                                                          so. The
                                                              The Transaction   Parties shall
                                                                   Transaction Parties  shall submit
                                                                                              submit aa


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                                                            38
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                                                    APP-464
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                                                          PURSUANT TO TO 50
                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 copy
 copy of
      of any
         any such
             such report   to the
                   report to  the CMAs   within three
                                  CMAs within   three (3)
                                                      (3) days
                                                          days following
                                                               following aa request by the
                                                                            request by the CMAs.
                                                                                           CMAs.
 The
 The CMAs
     CMAs may,     in their
             may, in  their sole discretion, change the frequency  of the Source Code   Inspector’s
                            sole discretion, change the frequency of the Source Code Inspector's
 reporting
 reporting obligations.
           obligations.

                 (4)
                 (4)     The
                         The Transaction  Parties, in
                             Transaction Parties,  in coordination with the
                                                      coordination with the TTP,
                                                                            TTP, shall
                                                                                 shall promptly
                                                                                       promptly
 address
 address all findings of
         all findings of concern identified by
                         concern identified by the
                                               the Source
                                                    Source Code
                                                           Code Inspector.
                                                                 Inspector.

         9.12
         9.12     Source
                  Source Code Lifecycle.
                         Code Lifecycle.

                  (1)
                 (1)         ByteDance shall
                             ByteDance    shall develop
                                                develop thethe Source
                                                               Source Code
                                                                         Code and    Related Files
                                                                                and Related    Files and
                                                                                                      and provide
                                                                                                          provide aa
 mirror
 mirror repository
        repository of     it to
                      of it  to the
                                the TTP,   including the
                                    TTP, including     the SBOM
                                                           SBOM or      its equivalent,
                                                                    or its                via the
                                                                            equivalent, via   the DTC
                                                                                                  DTC such     that
                                                                                                         such that
 the TTP
 the TTP can
          can at
               at all  times maintain
                  all times    maintain full
                                          full and
                                               and simultaneous      visibility into
                                                   simultaneous visibility       into the
                                                                                      the Source
                                                                                          Source Code
                                                                                                   Code and
                                                                                                          and
 Related Files
 Related Files and
                and any
                      any changes     thereto via
                             changes thereto   via the
                                                   the DTC.
                                                        DTC. AnyAny changes,       updates, alterations,
                                                                       changes, updates,     alterations, or
                                                                                                          or
 improvements to
 improvements    to the
                     the Source
                           Source Code
                                    Code and    Related Files
                                           and Related    Files must:   (i) for
                                                                must: (i)       the TikTok
                                                                            for the           U.S. App,
                                                                                     TikTok U.S.    App, bebe
 batched in
 batched in logical
             logical collections
                       collections according
                                     according toto aa regular
                                                       regular release
                                                                release schedule     (except for
                                                                          schedule (except        time-sensitive
                                                                                              for time-sensitive
 changes, updates, alterations,
 changes, updates,     alterations, or  improvements); and
                                     or improvements);           (ii) for
                                                            and (ii)  for the
                                                                           the TikTok   U.S. App
                                                                               TikTok U.S.     App and
                                                                                                    and TikTok
                                                                                                         TikTok
 U.S. Platform,
 U.S. Platform, only     use build
                  only use     build artifacts, whether proprietary
                                     artifacts, whether    proprietary or    third-party build
                                                                         or third-party   build artifacts,
                                                                                                 artifacts, from
                                                                                                            from aa
 repository within the
 repository within    the TTP’s
                            TTP's secure
                                    secure cloud  infrastructure and
                                            cloud infrastructure    and toto be
                                                                             be included
                                                                                 included in
                                                                                           in the
                                                                                              the SBOM
                                                                                                   SBOM or     its
                                                                                                            or its
 equivalent.
 equivalent.

                (2)
                (2)     The
                        The Transaction   Parties shall
                             Transaction Parties  shall meet
                                                        meet regularly,
                                                               regularly, and
                                                                          and no
                                                                              no less than quarterly,
                                                                                 less than quarterly,
 with the
 with the TTP
          TTP and
               and Third-Party   Monitor to
                    Third-Party Monitor   to discuss
                                             discuss planned
                                                     planned changes,    updates, alterations,
                                                               changes, updates,  alterations, or
                                                                                               or
 improvements to
 improvements   to the
                   the Source
                       Source Code
                               Code and   Related Files
                                      and Related  Files for the TikTok
                                                         for the          U.S. App
                                                                 TikTok U.S.   App and
                                                                                     and TikTok   U.S.
                                                                                         TikTok U.S.
 Platform, including
 Platform, including new
                      new features,
                           features, functionality,
                                     functionality, and
                                                    and other
                                                         other product
                                                               product roadmaps,
                                                                        roadmaps, and   their
                                                                                    and their
 implications for
 implications for security
                  security and  the TTP’s
                           and the  TTP's assurance
                                           assurance processes
                                                      processes and
                                                                  and responsibilities.
                                                                      responsibilities.

                (3)
                (3)    Only
                       Only TTUSDS
                             TTUSDS and    the TTP
                                      and the  TTP shall
                                                     shall compile the Source
                                                           compile the Source Code
                                                                              Code and  Related
                                                                                    and Related
 Files. Once
 Files. Once compiled,
              compiled, TTUSDS
                        TTUSDS and   the TTP
                                 and the  TTP shall  generate the
                                               shall generate the SBOM
                                                                  SBOM for   the code
                                                                         for the      they have
                                                                                 code they  have
 respectively
 respectively compiled,
              compiled, and the TTP
                        and the TTP shall
                                    shall digitally
                                          digitally sign
                                                    sign each
                                                         each such
                                                              such SBOM,
                                                                    SBOM, exclusively   via the
                                                                           exclusively via  the
 DTC.
 DTC.

               (4)
               (4)     TTUSDS
                       TTUSDS and    the TTP
                                 and the TTP shall
                                             shall only
                                                   only deploy  Executable Code
                                                        deploy Executable         to the
                                                                            Code to  the TikTok
                                                                                         TikTok
 U.S. App
 U.S. App and
          and TikTok   U.S. Platform
              TikTok U.S.   Platform in
                                     in compliance with the
                                        compliance with  the security
                                                             security review
                                                                      review and inspection
                                                                             and inspection
 requirements
 requirements of
              of Section
                 Section 9.10
                         9.10 and
                              and may
                                   may remove Executable Code
                                       remove Executable   Code from   the DTC
                                                                 from the  DTC for
                                                                               for that
                                                                                    that purpose.
                                                                                         purpose.

                (5)
                (5)    The
                       The Transaction  Parties shall
                            Transaction Parties shall ensure  that the
                                                       ensure that the DTC
                                                                       DTC affords   the TTP
                                                                             affords the TTP and
                                                                                             and
 TTUSDS
 TTUSDS an an end-to-end
              end-to-end secure
                         secure deployment
                                deployment system
                                             system established    by the
                                                      established by  the TTP
                                                                          TTP and
                                                                               and TTUSDS
                                                                                    TTUSDS for   the
                                                                                             for the
 deployment
 deployment of  the TikTok
             of the         U.S. App
                    TikTok U.S.  App and
                                      and TikTok  U.S. Platform,
                                          TikTok U.S.    Platform, respectively,  that implements
                                                                    respectively, that implements the
                                                                                                   the
 following
 following operations with respect
           operations with         to Source
                           respect to Source Code
                                             Code and    Related Files:
                                                   and Related   Files:

                        (i)
                        (i)     Any
                                Any Source
                                     Source Code
                                            Code and   Related Files
                                                  and Related    Files shall
                                                                       shall not  be deployed
                                                                              not be           to the
                                                                                     deployed to  the
         TikTok  U.S. App
         TikTok U.S.  App and
                            and TikTok U.S. Platform
                                TikTok U.S. Platform unless
                                                       unless it
                                                              it is
                                                                 is subject  to the
                                                                    subject to  the security
                                                                                    security review
                                                                                             review and
                                                                                                     and
         inspection protocols
         inspection protocols of the TTP
                              of the TTP pursuant  to Section
                                         pursuant to  Section 9.10;
                                                               9.10;




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                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
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                                                                                           552
                                                                  Parties’ Draft as
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                          (ii)
                          (ii)    TTUSDS
                                  TTUSDS and     the TTP
                                             and the TTP shall
                                                          shall have the ability
                                                                have the         to securely
                                                                         ability to securely monitor
                                                                                             monitor
         and  inspect the  end-to-end  Source  Code  and Related  Files deployment   lifecycle
         and inspect the end-to-end Source Code and Related Files deployment lifecycle to      to ensure
                                                                                                  ensure
         the integrity
         the integrity of  the chain
                       of the  chain of
                                     of custody;
                                        custody; and
                                                 and

                          (iii)
                          (iii)     Source
                                    Source Code
                                           Code and Related Files
                                                and Related Files shall
                                                                  shall not be removed
                                                                        not be removed from the
                                                                                       from the
         DTC.
         DTC.

         9.13
         9.13    Recommendation Engine
                 Recommendation Engine and
                                       and Content Moderation Processes.
                                           Content Moderation Processes.

                (1)
                (1)     On
                        On or  before the
                            or before  the Operational    Date, TTUSDS
                                           Operational Date,    TTUSDS shall
                                                                           shall provide  to the
                                                                                 provide to  the Content
                                                                                                 Content
 Advisory
 Advisory Council,  the TTP,
           Council, the TTP, and   the Third-Party
                              and the                Monitor aa copy
                                        Third-Party Monitor      copy of  the U.S.
                                                                       of the U.S. playbook
                                                                                    playbook for
                                                                                               for human
                                                                                                   human
 moderators, which shall
 moderators, which        be subject
                    shall be          to approval
                             subject to  approval byby the
                                                       the Security
                                                            Security Committee.
                                                                     Committee. Subsequently,
                                                                                   Subsequently,
 TTUSDS
 TTUSDS shall
           shall provide
                 provide an updated copy
                         an updated   copy of  this playbook
                                            of this playbook toto the
                                                                  the Content
                                                                      Content Advisory
                                                                                Advisory Council
                                                                                           Council and
                                                                                                    and
 Security
 Security Committee
          Committee any   time changes
                      any time  changes are
                                          are made
                                              made toto it.
                                                        it. An  updated copy
                                                            An updated   copy shall
                                                                               shall also be provided
                                                                                     also be           to
                                                                                              provided to
 the Third-Party
 the             Monitor, the
     Third-Party Monitor,  the TTP,
                               TTP, and   the CMAs
                                     and the  CMAs uponupon request.
                                                             request.

                 (2)
                 (2)      Within sixty
                          Within       (60) days
                                 sixty (60) days following the Operational
                                                 following the             Date:
                                                               Operational Date:

                          (i)
                          (i)      The
                                   The Transaction      Parties shall
                                        Transaction Parties     shall ensure  the TTP
                                                                      ensure the         begins conducting
                                                                                   TTP begins   conducting
         periodic
         periodic software    inspection and
                  software inspection            testing of
                                            and testing     the Software
                                                         of the Software and
                                                                          and associated
                                                                                associated data
                                                                                            data
         implementing the
         implementing    the Recommendation
                              Recommendation Engine  Engine to
                                                             to ensure that its
                                                                ensure that its machine-implemented
                                                                                machine-implemented rules rules
         and
         and algorithms
              algorithms conform
                           conform toto the
                                         the documentation
                                              documentation provided     to the
                                                                provided to the TTP    by TTUSDS
                                                                                  TTP by   TTUSDS and     that
                                                                                                      and that
         the Software
         the Software and
                       and data
                              data associated    with Content
                                   associated with              Promotion and
                                                       Content Promotion          Filtering and
                                                                            and Filtering   and Trust
                                                                                                 Trust and
                                                                                                        and
         Safety  Moderation systems
         Safety Moderation     systems (together,      “Content Moderation
                                          (together, "Content     Moderation Processes”)
                                                                                 Processes") also
                                                                                               also conform
                                                                                                     conform
         to the
         to the published
                published policies    for the
                            policies for   the TikTok    U.S. App.
                                                TikTok U.S.   App. TTUSDS
                                                                      TTUSDS shall
                                                                                 shall ensure  that the
                                                                                       ensure that  the
         Recommendation Engine
         Recommendation       Engine isis trained
                                           trained exclusively   within the
                                                    exclusively within  the TTP’s
                                                                            TTP's secure
                                                                                     secure cloud
                                                                                             cloud
         infrastructure.
         infrastructure.

                         (ii)
                         (ii)      If the TTP
                                   If the TTP or  the Third-Party
                                               or the                Monitor determine
                                                       Third-Party Monitor               that the
                                                                              determine that   the
         documentation
         documentation andand policies
                               policies described    in Section
                                          described in  Section 9.13(1)(i)
                                                                 9.13(1)(i) are insufficient to
                                                                            are insufficient to support  the
                                                                                                 support the
         inspections and
         inspections and reviews
                           reviews described    in this
                                      described in  this Section
                                                         Section 9.13,  then either
                                                                  9.13, then        the TTP
                                                                             either the TTP or   the TPM
                                                                                              or the TPM
         may  inform TTUSDS
         may inform   TTUSDS and   and TTUSDS
                                        TTUSDS shall
                                                   shall promptly
                                                         promptly deliver
                                                                    deliver supplementary
                                                                            supplementary
         documentation.
         documentation. TTUSDS
                            TTUSDS shall      update the
                                        shall update  the documentation
                                                          documentation described     in this
                                                                           described in  this Section
                                                                                              Section 9.13
                                                                                                      9.13
         from  time to
         from time  to time
                       time as   the Recommendation
                              as the  Recommendation Engine,
                                                          Engine, and
                                                                   and Content   Moderation Processes
                                                                        Content Moderation     Processes
         evolve.
         evolve.

                         (iii) The
                         (iii)    The TTP
                                        TTP andand TPM
                                                    TPM shall
                                                          shall report
                                                                 report any   findings under
                                                                         any findings   under this
                                                                                                this Section
                                                                                                     Section
         9.13(2) to the
         9.13(2) to the Security
                        Security Committee
                                   Committee on    on an
                                                      an ongoing    basis, including
                                                         ongoing basis,    including any    findings of
                                                                                       any findings    of
         material inconsistencies between
         material inconsistencies    between the the Recommendation
                                                     Recommendation Engine Engine and    the Content
                                                                                    and the  Content
         Moderation Processes
         Moderation   Processes and     the related
                                  and the    related documentation
                                                      documentation and and policies   within one
                                                                             policies within         (1) day
                                                                                               one (1)   day of
                                                                                                             of
         discovery
         discovery and  validation. Upon
                    and validation.    Upon receipt
                                                receipt of
                                                        of aa report
                                                              report from   the TTP,
                                                                     from the          the Security
                                                                                 TTP, the   Security Committee
                                                                                                      Committee
         and
         and TPM,   in consultation
              TPM, in                  with the
                       consultation with      the TTP
                                                   TTP and
                                                        and Content
                                                             Content Advisory
                                                                       Advisory Council,
                                                                                    Council, shall
                                                                                              shall evaluate
                                                                                                    evaluate and
                                                                                                              and
         determine  whether results
         determine whether     results of  the inspection
                                        of the  inspection and    testing of
                                                             and testing      the source
                                                                          of the   source code   implementing
                                                                                           code implementing
         the Recommendation
         the Recommendation EngineEngine andand Content    Moderation Processes
                                                  Content Moderation      Processes are
                                                                                      are not
                                                                                           not operating  in
                                                                                               operating in
         material
         material conformance
                  conformance withwith the
                                         the documentation
                                              documentation and and policies    (“Adverse Findings”).
                                                                     policies ("Adverse      Findings"). ForFor
         the avoidance
         the avoidance of
                        of doubt,   it is
                            doubt, it  is understood
                                          understood that
                                                        that the
                                                              the operation
                                                                  operation of    the Recommendation
                                                                              of the  Recommendation EngineEngine


                                                       40
                                                       40
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                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
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         and
         and Content   Moderation Processes
              Content Moderation      Processes in
                                                in conformance   with related
                                                   conformance with   related documentation
                                                                               documentation and
                                                                                               and
         policies may   result in diverse content  being published via  the TikTok   U.S. App
         policies may result in diverse content being published via the TikTok U.S. App becausebecause
         of the nature
         of the nature of  the underlying
                        of the underlying machine
                                           machine learning   technologies and
                                                     learning technologies   and not  because of
                                                                                  not because of
         inconsistencies between
         inconsistencies   between the
                                     the operation
                                         operation of the Software
                                                   of the Software and   the related
                                                                    and the  related documentation
                                                                                     documentation and
                                                                                                    and
         policies
         policies and
                  and so
                       so Adverse   Findings shall
                          Adverse Findings    shall not be based
                                                    not be based solely
                                                                 solely on
                                                                         on outcome-based
                                                                            outcome-based evidence.
                                                                                             evidence.

                        (iv)
                        (iv)    At  the request
                                At the  request of the Security
                                                of the Security Committee,  the CMAs,
                                                                 Committee, the CMAs, or   the TTP,
                                                                                        or the TTP,
         the Third-Party
         the Third-Party Auditor
                         Auditor shall
                                  shall conduct
                                         conduct an
                                                 an audit
                                                     audit of the Content
                                                           of the         Moderation Processes'
                                                                  Content Moderation Processes’
         implementation for
         implementation   for consistency  with approved
                              consistency with  approved Content    Moderation Processes
                                                           Content Moderation   Processes policies
                                                                                          policies
         and guidelines.
         and guidelines.

                         (v)
                         (v)      In the event
                                  In the event of
                                               of an
                                                   an Adverse   Finding, ByteDance
                                                      Adverse Finding,    ByteDance shall,    in
                                                                                       shall, in
         consultation  with TTUSDS
         consultation with   TTUSDS and     the TTP,
                                        and the  TTP, as
                                                       as appropriate
                                                          appropriate and
                                                                       and necessary,
                                                                            necessary, promptly
                                                                                        promptly
         implement any
         implement   any necessary
                          necessary changes
                                      changes or  updates to
                                               or updates  to the
                                                              the Software   implementing the
                                                                   Software implementing      the
         Recommendation      Engine   and Content   Moderation    Processes,  as applicable,
         Recommendation Engine and Content Moderation Processes, as applicable, to            to the
                                                                                                 the extent
                                                                                                     extent
         necessary  to address
         necessary to  address such   findings. If
                                such findings.      ByteDance is
                                                 If ByteDance    is unable
                                                                    unable or  unwilling to
                                                                           or unwilling  to do
                                                                                             do so  the
                                                                                                 so the
         CMAs
         CMAs shall,   in consultation
                shall, in                with TTUSDS,
                          consultation with   TTUSDS, the the Content
                                                              Content Advisory
                                                                       Advisory Council,
                                                                                   Council, and   the
                                                                                             and the
         Security
         Security Committee,
                  Committee, determine      whether—contrary to
                                 determine whether—contrary       to ByteDance's
                                                                     ByteDance’s conclusion—a
                                                                                    conclusion—a
         remediation
         remediation plan   is feasible
                       plan is          within aa reasonable
                               feasible within    reasonable period
                                                              period of  time.
                                                                      of time.

                                (1)
                                (1)     If
                                        If on the basis
                                           on the basis of the consultation
                                                        of the consultation required by the
                                                                            required by the prior
                                                                                            prior
                         paragraph  the CMAs
                         paragraph the  CMAs determine:
                                               determine:

                                          (X) it
                                          (X) it is
                                                 is not
                                                    not feasible  within aa reasonable
                                                         feasible within    reasonable period
                                                                                       period of time for
                                                                                              of time for
                                  aa remediation
                                     remediation plan   to be
                                                  plan to  be implemented;
                                                              implemented; or or

                                         (Y) ByteDance,
                                         (Y) ByteDance, inin consultation  with TTUSDS
                                                             consultation with  TTUSDS and     the TTP,
                                                                                          and the  TTP,
                                  as
                                  as appropriate
                                     appropriate and
                                                 and necessary,
                                                     necessary, fails to implement
                                                                fails to implement any
                                                                                    any necessary
                                                                                        necessary
                                  changes
                                  changes or updates required
                                          or updates           by the
                                                      required by the remediation
                                                                       remediation plan to the
                                                                                   plan to the
                                  Software implementing the
                                  Software implementing   the Recommendation
                                                              Recommendation Engine
                                                                                 Engine and
                                                                                         and Content
                                                                                              Content
                                  Moderation Processes,
                                  Moderation  Processes, as
                                                         as applicable,
                                                            applicable,

         then the
         then  the CMAs
                    CMAs may
                           may make
                                make the the Adverse  Findings public
                                             Adverse Findings   public following  the process
                                                                       following the  process described
                                                                                              described
         in this
         in this section
                 section and
                          and after  first consulting
                              after first             with the
                                           consulting with the Security
                                                               Security Committee
                                                                         Committee regarding   the
                                                                                     regarding the
         content
         content ofof any
                      any such
                          such public
                               public statement
                                         statement and
                                                    and providing  ByteDance with
                                                        providing ByteDance   with the
                                                                                    the opportunity  to
                                                                                        opportunity to
         review
         review and
                  and provide
                       provide comments
                               comments on      the content
                                             on the content of the statement
                                                            of the statement at least two
                                                                             at least two (2)
                                                                                          (2) days
                                                                                              days prior
                                                                                                   prior
         to release
         to release of  the public
                     of the public statement.
                                    statement.

         9.14    Further Testing
         9.14 Further      Testing of
                                   of Source
                                      Source Code
                                               Code and   Related Files.
                                                     and Related  Files. At  the request
                                                                          At the request of  the CMAs
                                                                                         of the  CMAs in  in
 their sole discretion,  ByteDance   shall  promptly  allow the TTP   to conduct  security testing
 their sole discretion, ByteDance shall promptly allow the TTP to conduct security testing (e.g.,  (e.g.,
 static
 static or
        or dynamic   testing or
           dynamic testing   or other generally accepted
                                other generally  accepted practices)
                                                           practices) of
                                                                       of Source
                                                                          Source Code
                                                                                 Code and   Related Files
                                                                                       and Related    Files
 and  Executable Code
 and Executable   Code viavia the
                              the DTC
                                  DTC to
                                       to ensure  the security
                                           ensure the security of the Source
                                                               of the  Source Code
                                                                              Code and   Related Files
                                                                                     and Related   Files
 and  Executable Code.
 and Executable   Code.




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                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
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         9.15
         9.15      Source
                   Source Code
                          Code and Related Files
                               and Related Files Alterations.
                                                 Alterations.

                 (1)
                 (1)     ByteDance shall
                         ByteDance   shall retain the exclusive
                                           retain the exclusive right  to alter
                                                                 right to       the Source
                                                                          alter the Source Code
                                                                                           Code and
                                                                                                and
 Related Files,
 Related Files, subject to the
                subject to the requirements
                               requirements and
                                              and prohibitions  in this
                                                   prohibitions in this Agreement.
                                                                        Agreement.

                (2)
                (2)      ByteDance shall
                         ByteDance    shall promptly
                                            promptly alter  the Source
                                                      alter the Source Code
                                                                        Code and   Related Files
                                                                               and Related Files at the
                                                                                                 at the
 request
 request of
         of TTUSDS,
            TTUSDS, thethe TTP,   the Third-Party
                           TTP, the                Monitor, or
                                      Third-Party Monitor,       the CMAs,
                                                              or the CMAs, toto ensure
                                                                                ensure compliance   with
                                                                                        compliance with
 this Agreement,
 this Agreement, and
                  and shall
                       shall submit
                             submit aa response
                                       response and  initial implementation
                                                 and initial implementation plan    to TTUSDS
                                                                               plan to TTUSDS and     the
                                                                                                 and the
 TTP  within three
 TTP within  three (3)
                   (3) days
                       days of
                             of receipt
                                receipt of
                                        of any
                                            any such
                                                such request,
                                                     request, subject  to the
                                                               subject to the following:
                                                                              following:

                         (i)
                         (i)     If ByteDance rejects
                                 If ByteDance   rejects such
                                                         such aa request, ByteDance shall
                                                                 request, ByteDance   shall submit  the
                                                                                            submit the
         rejection
         rejection and its rationale
                   and its           in writing
                           rationale in writing to
                                                to the
                                                   the TTP,  the Security
                                                        TTP, the   Security Committee,  the Third-Party
                                                                            Committee, the   Third-Party
         Monitor, and
         Monitor,      the CMAs
                   and the   CMAs promptly
                                    promptly and,   in any
                                              and, in  any event,   within one
                                                           event, within       (1) day
                                                                           one (1) day of the rejection;
                                                                                       of the rejection;

                           (ii)
                           (ii)        If ByteDance rejects
                                       If ByteDance       rejects such
                                                                     such aa request
                                                                               request to to alter  the Source
                                                                                             alter the   Source Code
                                                                                                                  Code and and
         Related Files,
         Related   Files, fails
                          fails to
                                 to alter
                                     alter thethe Source
                                                   Source Code
                                                            Code and        Related Files
                                                                      and Related      Files asas requested
                                                                                                  requested in in aa timely
                                                                                                                      timely
         manner
         manner andand consistent
                        consistent with with thethe implementation
                                                    implementation plan,    plan, or   fails to
                                                                                   or fails   to respond
                                                                                                 respond to to the
                                                                                                               the requested
                                                                                                                     requested
         alteration  within three
         alteration within    three (3)(3) days,
                                             days, TTUSDS
                                                     TTUSDS shall shall ensure
                                                                           ensure thethe TTP,
                                                                                         TTP, in in coordination
                                                                                                     coordination with with the
                                                                                                                              the
         Third-Party    Monitor, evaluates
         Third-Party Monitor,        evaluates practicable
                                                    practicable options
                                                                    options to  to ensure
                                                                                    ensure compliance
                                                                                             compliance with with this
                                                                                                                    this
         Agreement
         Agreement absent       the requested
                       absent the      requested alteration.
                                                     alteration. If  If after
                                                                         after due
                                                                                due consideration
                                                                                      consideration of  of all
                                                                                                            all options,
                                                                                                                options, thethe
         TTP
         TTP determines      that there
                determines that     there is is no
                                                 no adequate
                                                     adequate option
                                                                  option to to ensure
                                                                                ensure compliance
                                                                                         compliance with with this
                                                                                                                this
         Agreement     without the
         Agreement without        the requested
                                         requested Source
                                                       Source CodeCode and      Related Files
                                                                           and Related      Files alteration,
                                                                                                   alteration, TTUSDS
                                                                                                                 TTUSDS
         shall
         shall ensure   the TTP,
                ensure the   TTP, in in consultation
                                          consultation withwith thethe Security
                                                                        Security Committee,
                                                                                      Committee, notifies       ByteDance
                                                                                                      notifies ByteDance
         (the  “Suspension Notice”),
         (the "Suspension       Notice"), with  with aa copy
                                                        copy to to the
                                                                    the CMAs,
                                                                          CMAs, the  the Third-Party      Monitor, and
                                                                                         Third-Party Monitor,                the
                                                                                                                       and the
         Security
         Security Committee,
                    Committee, of        the TTP’s
                                    of the             intent to
                                               TTP's intent      to suspend
                                                                     suspend useruser access
                                                                                        access toto the
                                                                                                     the TikTok
                                                                                                         TikTok U.S.U.S.
         Platform, in
         Platform,   in whole
                        whole or or inin part,
                                          part, inin no less than
                                                     no less   than twotwo (2)
                                                                             (2) days
                                                                                  days and
                                                                                         and nono more    than four
                                                                                                   more than     four (4)
                                                                                                                        (4) days
                                                                                                                             days
         (the period
         (the          between the
               period between      the date
                                          date of   the notice
                                                 of the notice andand thethe suspension,
                                                                              suspension, the  the "Remediation
                                                                                                   “Remediation
         Window”). TTUSDS
         Window").       TTUSDS shall   shall ensure    the TTP
                                                ensure the            implements any
                                                              TTP implements           any suspension
                                                                                             suspension as  as set  forth in
                                                                                                               set forth    in aa
         Suspension    Notice upon
         Suspension Notice       upon expiration
                                           expiration of     the Remediation
                                                         of the   Remediation Window  Window unless:
                                                                                                  unless: (a)
                                                                                                            (a) ByteDance
                                                                                                                ByteDance
         has
         has remediated
              remediated thethe issue
                                 issue to  to the
                                               the TTP’s
                                                    TTP's satisfaction
                                                            satisfaction in   in its
                                                                                  its sole
                                                                                      sole discretion;
                                                                                            discretion; (b)(b) ByteDance
                                                                                                                ByteDance
         has
         has obtained
              obtained aa waiver
                           waiver from from thethe CMAs;
                                                    CMAs; or       (c) aa majority
                                                              or (c)       majority of     the Security
                                                                                       of the   Security Committee
                                                                                                           Committee has   has
         determined
         determined andand certified
                             certified to  to the
                                               the CMAs
                                                    CMAs thatthat the
                                                                    the suspension
                                                                          suspension is  is not
                                                                                             not necessary
                                                                                                  necessary to to ensure
                                                                                                                  ensure the the
         Transaction    Parties’ compliance
         Transaction Parties'      compliance with    with this
                                                            this Agreement,
                                                                  Agreement, accompanied
                                                                                     accompanied by    by aa reasoned
                                                                                                             reasoned and and
         detailed
         detailed analysis
                   analysis and
                              and explanation
                                     explanation for  for the
                                                           the decision;
                                                                 decision;

                        (iii) At
                        (iii)       the request
                                At the  request of the CMAs,
                                                of the CMAs, TTUSDS
                                                              TTUSDS shallshall ensure the TTP
                                                                                ensure the TTP
         submits to the
         submits to the CMAs
                        CMAs aa confidential
                                  confidential report
                                               report regarding
                                                      regarding any
                                                                any rejected
                                                                    rejected request
                                                                               request pursuant to this
                                                                                       pursuant to this
         Section
         Section 9.15,
                 9.15, as well as
                       as well as any
                                  any Security
                                       Security Committee
                                                Committee override
                                                            override of
                                                                     of aa suspension;
                                                                           suspension; and
                                                                                        and

                        (iv)
                        (iv)     If
                                 If aa suspension  is implemented,
                                       suspension is  implemented, once     ByteDance provides
                                                                      once ByteDance    provides Source
                                                                                                   Source
         Code
         Code and  Related Files
              and Related   Files alterations   to address
                                   alterations to           the identified
                                                   address the  identified issue,
                                                                           issue, TTUSDS
                                                                                  TTUSDS shall
                                                                                            shall ensure
                                                                                                   ensure
         the TTP
         the TTP promptly
                 promptly reviews      ByteDance’s Source
                             reviews ByteDance's      Source Code
                                                              Code and   Related Files
                                                                     and Related  Files alterations
                                                                                        alterations and,  if
                                                                                                     and, if
         acceptable to the
         acceptable to the TTP
                           TTP inin its
                                     its sole
                                         sole discretion, immediately reinstates
                                              discretion, immediately              user access
                                                                        reinstates user         to the
                                                                                        access to  the
         TikTok  U.S. Platform.
         TikTok U.S.   Platform.




                                                               42
                                                               42
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                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

         9.16      Location-Based Source
         9.16 Location-Based           Source Code
                                                Code Changes.      Within thirty
                                                       Changes. Within       thirty (30)
                                                                                    (30) days
                                                                                         days following     the
                                                                                                following the
 Operational     Date, the  Transaction    Parties, in  coordination   with   the TTP,
 Operational Date, the Transaction Parties, in coordination with the TTP, shall, if     shall, if necessary,
                                                                                                  necessary,
 update the
 update  the Source
              Source Code
                        Code and    Related Files
                               and Related    Files to
                                                    to reasonably
                                                       reasonably ensure      that TikTok
                                                                    ensure that             U.S. Users
                                                                                   TikTok U.S.    Users
 physically   located in
 physically located     in the
                           the United
                               United States
                                        States are
                                                are restricted  to the
                                                    restricted to  the fullest
                                                                        fullest extent
                                                                                extent possible   from
                                                                                        possible from
 manipulating     their geographic
 manipulating their     geographic location
                                      location within
                                                 within any  version of
                                                         any version       the TikTok
                                                                        of the  TikTok Global
                                                                                         Global App    to aa country
                                                                                                  App to     country
 other than the
 other than   the United
                   United States,
                            States, such  that TikTok
                                    such that            U.S. Users
                                               TikTok U.S.     Users may
                                                                       may solely    use the
                                                                             solely use  the TikTok    U.S. App
                                                                                              TikTok U.S.     App
 maintained
 maintained and and operated
                    operated by by the
                                   the TTP.
                                        TTP. The
                                               The Transaction     Parties shall
                                                     Transaction Parties     shall not take any
                                                                                   not take  any action  to
                                                                                                  action to
 degrade  the user
 degrade the    user experience
                     experience of of TikTok    U.S. Users
                                       TikTok U.S.     Users in
                                                             in aa manner
                                                                   manner designed
                                                                             designed toto encourage
                                                                                           encourage TikTok
                                                                                                        TikTok
 U.S. Users
 U.S. Users to to use
                  use aa version
                         version of  the TikTok
                                  of the  TikTok Global
                                                    Global App
                                                            App inin aa country
                                                                        country other   than the
                                                                                  other than  the United
                                                                                                  United States
                                                                                                            States
 version, if
 version,  if multiple   versions exist,
              multiple versions     exist, or to log
                                           or to log into
                                                      into the
                                                           the TikTok
                                                               TikTok Global
                                                                         Global App
                                                                                  App not
                                                                                        not as
                                                                                            as aa TikTok    U.S.
                                                                                                  TikTok U.S.
 User.
 User.

       9.17    Monitoring of
       9.17 Monitoring    of TikTok  U.S. App
                             TikTok U.S.  App and
                                              and TikTok U.S. Platform
                                                  TikTok U.S. Platform Interactions
                                                                       Interactions and
                                                                                    and
 Systems
 Systems for Non-U.S. TikTok
         for Non-U.S.         Users.
                      TikTok Users.

                  (1)
                  (1)     TTUSDS
                          TTUSDS shall     identify and
                                     shall identify and monitor,
                                                          monitor, and
                                                                    and TTUSDS
                                                                         TTUSDS shallshall ensure  the TTP
                                                                                           ensure the  TTP
 identifies and
 identifies and monitors,
                 monitors, for
                            for auditing
                                auditing purposes,
                                          purposes, all  interactions and
                                                     all interactions  and data
                                                                             data elements
                                                                                  elements exchanged
                                                                                            exchanged
 between the
 between   the TikTok   U.S. App
               TikTok U.S.    App and
                                   and TikTok    U.S. Platform,
                                        TikTok U.S.   Platform, onon one
                                                                      one hand,
                                                                            hand, and
                                                                                  and systems
                                                                                       systems operated
                                                                                                operated byby
 or
 or on  behalf of
    on behalf      ByteDance serving
               of ByteDance    serving non-U.S.
                                        non-U.S. TikTok     Users, on
                                                   TikTok Users,        the other
                                                                    on the   other hand.
                                                                                   hand. TTUSDS
                                                                                           TTUSDS shall
                                                                                                      shall
 employ,
 employ, and
           and shall
                shall ensure that the
                      ensure that the TTP
                                      TTP employs,     technical means
                                            employs, technical    means to to block
                                                                              block any
                                                                                     any such  interactions
                                                                                         such interactions
 that are
 that     unexpected or
      are unexpected      unauthorized, in
                       or unauthorized,   in the
                                             the sole
                                                 sole discretion
                                                      discretion of   the TTP,
                                                                   of the  TTP, and
                                                                                 and reports,  within one
                                                                                      reports, within       (1)
                                                                                                       one (1)
 day
 day of
      of discovery
         discovery and   validation, any
                     and validation, any such   interactions that
                                          such interactions   that have
                                                                   have resulted
                                                                          resulted or
                                                                                    or could
                                                                                       could reasonably
                                                                                             reasonably
 result in unauthorized
 result in unauthorized Access    to, or
                          Access to,  or other
                                         other anomalous
                                               anomalous activity     within, the
                                                             activity within,  the TikTok   U.S. App
                                                                                    TikTok U.S.   App or   the
                                                                                                        or the
 TikTok    U.S. Platform
 TikTok U.S.    Platform to
                          to the
                             the Third-Party   Monitor and
                                 Third-Party Monitor          the CMAs.
                                                         and the  CMAs.

                   (2)
                   (2)      TTUSDS
                            TTUSDS shallshall ensure  the TTP
                                              ensure the         identifies and
                                                          TTP identifies    and monitors
                                                                                 monitors for
                                                                                           for auditing
                                                                                                auditing
 purposes
 purposes all   interactions and
           all interactions   and data
                                    data elements
                                         elements exchanged       between the
                                                    exchanged between       the TikTok   U.S. App
                                                                                TikTok U.S.    App and
                                                                                                    and TikTok
                                                                                                         TikTok
 U.S. Platform,
 U.S. Platform, on on one
                       one hand,
                            hand, and
                                   and any
                                        any Internet
                                             Internet host
                                                       host and
                                                            and any
                                                                  any other
                                                                      other system
                                                                             system or  infrastructure, on
                                                                                     or infrastructure,     the
                                                                                                         on the
 other
 other hand.
       hand. TTUSDS
               TTUSDS shall shall ensure  the TTP
                                  ensure the   TTP employs     technical means
                                                     employs technical    means toto block
                                                                                     block any
                                                                                            any such
                                                                                                 such
 interactions that
 interactions  that are  unexpected or
                     are unexpected       unauthorized, in
                                       or unauthorized,    in the
                                                              the sole
                                                                   sole discretion
                                                                        discretion of  the TTP,
                                                                                    of the TTP, and
                                                                                                  and reports,
                                                                                                      reports,
 within one
 within      (1) day
        one (1)   day ofof discovery
                           discovery and    validation, any
                                       and validation,   any such   interactions that
                                                              such interactions   that have
                                                                                       have resulted
                                                                                             resulted or
                                                                                                       or could
                                                                                                          could
 reasonably
 reasonably result
             result inin unauthorized
                         unauthorized Access      to, or
                                         Access to,   or other
                                                         other anomalous
                                                                anomalous activity    within, the
                                                                             activity within,  the TikTok   U.S.
                                                                                                   TikTok U.S.
 App
 App or
      or TikTok
         TikTok U.S.U.S. Platform
                          Platform toto the
                                        the Third-Party   Monitor and
                                            Third-Party Monitor      and CMAs.
                                                                          CMAs.

              (3)
              (3)    The
                     The Transaction    Parties shall
                          Transaction Parties   shall ensure that encryption
                                                      ensure that encryption does
                                                                             does not
                                                                                  not prevent the
                                                                                      prevent the
 TTP
 TTP from
     from performing its obligations
          performing its             in connection
                         obligations in              with this
                                        connection with   this Section
                                                               Section 9.17.
                                                                       9.17.

                   (4)
                   (4)     To  the extent
                           To the          that the
                                   extent that  the TTP’s  identification and
                                                    TTP's identification   and monitoring
                                                                                monitoring activities    under
                                                                                             activities under
 Sections
  Sections 9.17(1)–(2)
            9.17(1)—(2) conflict   with General
                          conflict with           Data Protection
                                         General Data   Protection Regulation
                                                                    Regulation ("GDPR")
                                                                                  (“GDPR”) or  or other
                                                                                                  other legal
                                                                                                         legal
 requirements,
  requirements, TTUSDS
                  TTUSDS shall,     within fourteen
                             shall, within  fourteen (14)
                                                      (14) days
                                                           days following
                                                                following thethe conflict
                                                                                 conflict arising:  (i) provide
                                                                                          arising: (i)  provide
 written notice
 written          to the
          notice to  the CMAs,    including aa detailed
                          CMAs, including       detailed description
                                                         description of  the legal
                                                                      of the  legal requirements   that create
                                                                                    requirements that    create
 aa conflict with citations
    conflict with            to the
                   citations to the relevant  governing source(s);
                                    relevant governing    source(s); and  (ii) coordinate
                                                                     and (ii)              with the
                                                                               coordinate with   the TTP
                                                                                                      TTP toto
 present
  present solutions
          solutions toto the
                         the CMAs    that could
                             CMAs that           be implemented
                                          could be  implemented to to minimize
                                                                      minimize thethe conflict to the
                                                                                      conflict to the greatest
                                                                                                       greatest
 extent
  extent possible.
         possible.




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                                                         43
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                                                                        50 U.S.C.
                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                             U.S.C. §§ 552
                                                                                       552
                                                              Parties’ Draft as
                                                              Parties' Draft as of 8/23/22
                                                                                of 8/23/22

         9.18
         9.18 Ongoing       Risk Analysis.
                 Ongoing Risk     Analysis. TTUSDS
                                             TTUSDS shallshall ensure  the TTP
                                                               ensure the  TTP assesses
                                                                                assesses on
                                                                                         on an
                                                                                             an ongoing
                                                                                                ongoing
 basis the risks posed  to the national security  of the  United  States and  the privacy of TikTok
 basis the risks posed to the national security of the United States and the privacy of TikTok U.S.  U.S.
 Users, based
 Users,  based on
               on analysis
                   analysis of
                             of Source
                                Source Code
                                        Code and   Related Files,
                                               and Related   Files, architectural
                                                                    architectural analysis,
                                                                                  analysis, and
                                                                                            and analysis
                                                                                                analysis of
                                                                                                         of
 data
 data flows,
      flows, and  that the
              and that the TTP
                           TTP reports
                                 reports such  findings to
                                         such findings   to the
                                                            the Security
                                                                Security Committee,
                                                                          Committee, Third-Party
                                                                                       Third-Party
 Monitor, and
 Monitor,  and CMAs
                CMAs on on aa quarterly basis.
                              quarterly basis.

         9.19
         9.19 TTP TTP Communications.        ByteDance shall
                        Communications. ByteDance         shall not inhibit, and
                                                                not inhibit, and shall
                                                                                 shall ensure that none
                                                                                       ensure that  none of
                                                                                                          of
 its Affiliates
 its            inhibit, whether
     Affiliates inhibit, whether through
                                  through the
                                           the MSA
                                                MSA or or other
                                                          other means,
                                                                means, TTUSDS’s
                                                                        TTUSDS's or     the TTP’s
                                                                                     or the TTP's ability
                                                                                                    ability
 to communicate
 to                 with each
     communicate with     each other, with the
                               other, with  the Third-Party   Monitor, with
                                                 Third-Party Monitor,   with the
                                                                              the CMAs,
                                                                                  CMAs, or   with any
                                                                                          or with  any
 other
 other appropriate   USG authority,
       appropriate USG                in each
                           authority, in  each case  independently and
                                                case independently        without the
                                                                     and without   the involvement
                                                                                       involvement oror
 awareness
 awareness of    ByteDance or
             of ByteDance       its Affiliates.
                             or its Affiliates.

                                               ARTICLE X
                                               ARTICLE X

                                      TECHNOLOGY
                                      TECHNOLOGY OFFICER
                                                 OFFICER

         10.1
         10.1 Technology
                 Technology Officers.
                              Officers. The
                                         The Transaction  Parties shall
                                              Transaction Parties shall ensure the TTP
                                                                        ensure the TTP appoints
                                                                                        appoints one
                                                                                                 one
 (1) or
 (1) or more  technology officers
        more technology   officers (the “Technology Officers”)
                                   (the "Technology               in each
                                                      Officers") in  each country  where TTP
                                                                          country where   TTP
 Personnel are
 Personnel  are performing
                performing responsibilities  in connection
                            responsibilities in             with the
                                                 connection with the MSA
                                                                     MSA toto serve
                                                                              serve as the primary
                                                                                    as the primary
 liaisons between the
 liaisons between   the TTP
                        TTP and  the Third-Party
                            and the                Monitor and
                                     Third-Party Monitor   and CMAs
                                                               CMAs and    that the
                                                                       and that the MSA
                                                                                    MSA fully
                                                                                          fully
 incorporates the
 incorporates  the requirements
                   requirements of  this Article
                                 of this Article X.
                                                 X.

         10.2
         10.2 Qualifications
               Qualifications of the Technology
                              of the Technology Officers.
                                                Officers. The
                                                          The Transaction Parties shall
                                                              Transaction Parties shall ensure
                                                                                        ensure
 that each
 that each Technology
           Technology Officer:
                      Officer:

                   (1)
                   (1)     is aa Resident
                           is    Resident Sole  U.S. Citizen
                                          Sole U.S.           who has,
                                                     Citizen who  has, or is eligible
                                                                       or is eligible for,
                                                                                      for, aa U.S.
                                                                                              U.S. personnel
                                                                                                   personnel
 security  clearance   for any   Technology   Officer in the United States, and  if not in the
 security clearance for any Technology Officer in the United States, and if not in the United  United
 States, is aa citizen
 States, is    citizen of their country
                       of their  country of
                                         of residence;
                                            residence;

                   (2)
                   (2)     has the appropriate
                           has the appropriate senior-level
                                                 senior-level authority
                                                              authority and
                                                                        and resources within the
                                                                            resources within the TTP
                                                                                                 TTP
 and  the necessary
 and the               technical skills
           necessary technical   skills and
                                        and experience
                                            experience toto ensure
                                                            ensure compliance  with this
                                                                   compliance with  this Agreement
                                                                                         Agreement and
                                                                                                   and
 to fulfill
 to fulfill all
            all other
                other obligations
                      obligations of  the position;
                                   of the position;

                (3)
                (3)    has
                       has no
                           no current
                              current or
                                      or prior
                                          prior employment,
                                                employment, contractual, financial, or
                                                            contractual, financial,    fiduciary
                                                                                    or fiduciary
 relationship with ByteDance
 relationship with ByteDance or
                              or any
                                 any of its Affiliates;
                                     of its Affiliates;

               (4)
               (4)     has Physical Access
                       has Physical Access and Logical Access
                                           and Logical        to all
                                                       Access to all of the facilities,
                                                                     of the facilities, systems,
                                                                                        systems,
 records,
 records, and
          and meetings
              meetings of the TTP;
                       of the TTP; and
                                   and

                (5)
                (5)   regularly
                      regularly has Physical Access
                                has Physical        to the
                                             Access to the DTC
                                                           DTC necessary to ensure
                                                               necessary to ensure compliance
                                                                                   compliance
 with this
 with this Agreement.
           Agreement.

         The
         The Transaction   Parties shall
              Transaction Parties  shall ensure  that if
                                          ensure that if any
                                                         any Technology
                                                             Technology Officer
                                                                         Officer holds
                                                                                  holds other titles and
                                                                                        other titles and
 responsibilities beyond serving
 responsibilities beyond  serving as
                                   as aa Technology
                                         Technology Officer
                                                      Officer for the purposes
                                                              for the purposes of this Agreement,
                                                                               of this Agreement, such
                                                                                                     such
 other
 other responsibilities
       responsibilities do
                        do not
                           not prevent   the Technology
                               prevent the   Technology Officer
                                                           Officer from
                                                                   from performing
                                                                        performing his
                                                                                    his or
                                                                                        or her
                                                                                           her




                                                     44
                                                     44
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                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 obligations in connection
 obligations in            with this
                connection with this Agreement
                                     Agreement and that the
                                               and that the Technology
                                                            Technology Officer
                                                                       Officer remains
                                                                               remains an
                                                                                       an
 employee
 employee of   the TTP.
           of the  TTP.

          10.3
          10.3     Initial Nomination of
                   Initial Nomination    the Technology
                                      of the Technology Officer.
                                                        Officer.

                  (1)
                  (1)      The
                           The appointment
                                  appointment of of each
                                                     each Technology
                                                           Technology Officer
                                                                          Officer shall   be subject
                                                                                    shall be  subject toto the
                                                                                                           the prior
                                                                                                                prior
 non-objection
 non-objection of   the CMAs.
                 of the  CMAs. WithinWithin thirty
                                             thirty (30)
                                                     (30) days
                                                           days following    the Effective
                                                                 following the    Effective Date,
                                                                                              Date, the
                                                                                                      the
 Transaction  Parties shall
 Transaction Parties    shall ensure    the TTP
                                ensure the  TTP nominates
                                                  nominates each
                                                               each Technology
                                                                      Technology Officer
                                                                                     Officer and
                                                                                               and submits
                                                                                                    submits
 complete  Personal Identifier
 complete Personal     Identifier Information,
                                    Information, aa curriculum      vitae or
                                                      curriculum vitae    or similar
                                                                              similar professional
                                                                                       professional synopsis
                                                                                                        synopsis ofof
 the nominee,
 the nominee, and
                and any
                     any other     information requested
                           other information     requested byby the
                                                                  the CMAs
                                                                      CMAs to  to assess  whether the
                                                                                  assess whether     the individual
                                                                                                          individual
 can
 can effectively
     effectively perform
                   perform thethe obligations
                                   obligations of   the Technology
                                                of the   Technology Officer
                                                                       Officer consistent     with this
                                                                                 consistent with    this
 Agreement.
 Agreement. If    the CMAs
               If the  CMAs do   do not
                                     not object within twenty-one
                                         object within    twenty-one (21)
                                                                        (21) days   following receipt
                                                                             days following      receipt ofof all
                                                                                                              all
 necessary  information about
 necessary information      about aa nominee,    the lack
                                      nominee, the     lack of
                                                            of action
                                                               action shall
                                                                       shall constitute
                                                                              constitute aa non-objection
                                                                                             non-objection to  to that
                                                                                                                  that
 nominee.
 nominee. If   the CMAs
            If the  CMAs object,      the Transaction
                             object, the                  Parties shall
                                           Transaction Parties     shall ensure   the TTP
                                                                         ensure the   TTP nominates
                                                                                             nominates aa different
                                                                                                             different
 candidate  within seven
 candidate within   seven (7)(7) days   following receipt
                                  days following     receipt of
                                                             of any
                                                                 any such
                                                                      such objection,
                                                                           objection, subject     to the
                                                                                         subject to   the same
                                                                                                           same
 procedures
 procedures as   the initial
             as the   initial nomination.
                               nomination. TheThe Transaction      Parties shall
                                                    Transaction Parties    shall ensure    the TTP
                                                                                  ensure the    TTP appoints
                                                                                                       appoints each
                                                                                                                  each
 Technology
 Technology Officer      within three
               Officer within     three (3)
                                         (3) days  following non-objection
                                             days following     non-objection by by the
                                                                                     the CMAs
                                                                                          CMAs to  to that
                                                                                                       that nominee.
                                                                                                            nominee.

          10.4
          10.4     Removal and
                   Removal     Replacement.
                           and Replacement.

                  (1)
                  (1)     The
                          The Transaction      Parties shall
                                Transaction Parties     shall ensure    the TTP
                                                               ensure the   TTP does
                                                                                  does not
                                                                                        not remove
                                                                                            remove anyany
 Technology
 Technology Officer     without the
               Officer without   the prior
                                      prior non-objection
                                             non-objection of     the CMAs.
                                                               of the  CMAs. The The Transaction    Parties shall
                                                                                      Transaction Parties    shall
 ensure  the TTP
 ensure the  TTP notifies   the CMAs
                   notifies the CMAs at  at least
                                            least fourteen    (14) days
                                                   fourteen (14)          before the
                                                                    days before    the proposed
                                                                                       proposed removal
                                                                                                  removal ofof aa
 Technology
 Technology Officer     unless such
               Officer unless   such removal
                                      removal is is for
                                                    for cause,
                                                         cause, and
                                                                 and such
                                                                      such aa removal
                                                                               removal shall
                                                                                         shall only  be proposed
                                                                                               only be  proposed
 in conjunction
 in               with the
    conjunction with   the nomination
                            nomination of of aa new
                                                new candidate
                                                      candidate for    the position,
                                                                  for the             to prevent
                                                                            position, to prevent aa vacancy
                                                                                                    vacancy
 from  taking place,
 from taking   place, subject  to the
                      subject to  the same
                                       same procedures
                                              procedures as     the initial
                                                            as the  initial nomination.
                                                                             nomination. Such
                                                                                           Such cause
                                                                                                 cause must
                                                                                                         must
 consist
 consist of  willful misconduct,
          of willful                gross negligence,
                     misconduct, gross     negligence, reckless
                                                          reckless disregard,    violation of
                                                                     disregard, violation   of applicable
                                                                                               applicable law,
                                                                                                            law,
 violation of
 violation  of company
               company policy,
                          policy, or
                                   or failure
                                      failure of  the individual
                                               of the  individual toto perform
                                                                        perform his
                                                                                  his or
                                                                                      or her job duties.
                                                                                         her job duties. The
                                                                                                           The
 Transaction   Parties shall
 Transaction Parties   shall ensure   the TTP
                             ensure the   TTP does
                                                 does not
                                                        not remove
                                                            remove anyany Technology
                                                                            Technology Officer
                                                                                          Officer for  the
                                                                                                   for the
 Technology
 Technology Officer’s
               Officer's actual
                          actual or
                                 or attempted
                                     attempted efforts     to comply
                                                  efforts to  comply withwith or
                                                                              or ensure
                                                                                  ensure compliance     with this
                                                                                          compliance with     this
 Agreement.
 Agreement.

                (2)
                (2)     Should   the CMAs,
                        Should the   CMAs, inin their
                                                their sole
                                                      sole discretion,
                                                           discretion, determine   that any
                                                                       determine that   any Technology
                                                                                             Technology
 Officer
 Officer has intentionally or
         has intentionally    through gross
                           or through  gross negligence
                                             negligence failed   to meet
                                                          failed to meet his
                                                                          his or
                                                                              or her
                                                                                 her obligations
                                                                                      obligations or
                                                                                                  or has
                                                                                                     has
 otherwise undermined the
 otherwise undermined    the effectiveness
                             effectiveness of this Agreement,
                                           of this Agreement, thethe CMAs
                                                                     CMAs maymay direct   the TTP
                                                                                   direct the      to
                                                                                              TTP to
 remove
 remove such
         such Technology
               Technology Officer
                            Officer and  the Transaction
                                     and the               Parties shall
                                             Transaction Parties   shall ensure  the TTP
                                                                         ensure the  TTP promptly,
                                                                                           promptly, and
                                                                                                      and
 in any
 in any event within two
        event within two (2)
                          (2) days
                              days of
                                    of such
                                       such direction,
                                            direction, removes
                                                       removes such
                                                                  such Technology
                                                                       Technology Officer.
                                                                                      Officer.

                 (3)
                 (3)     In the event
                         In the event of
                                      of any vacancy in
                                         any vacancy    in any
                                                           any Technology
                                                               Technology Officer
                                                                            Officer position, the
                                                                                    position, the
 Transaction  Parties shall
 Transaction Parties  shall ensure the TTP
                            ensure the TTP notifies   the CMAs
                                            notifies the         within one
                                                          CMAs within         (1) day
                                                                          one (1) day and, within
                                                                                      and, within
 fourteen  (14) days
 fourteen (14)       following such
                days following        vacancy occurring,
                                such vacancy   occurring, nominates
                                                            nominates aa replacement
                                                                         replacement Technology
                                                                                      Technology
 Officer,
 Officer, subject to the
          subject to the same
                         same process
                               process as the initial
                                       as the initial nomination.
                                                      nomination.

         10.5
         10.5 Communication       with the
                 Communication with    the Third-Party Monitor and
                                           Third-Party Monitor  and CMAs.
                                                                    CMAs. TheThe Transaction
                                                                                 Transaction
 Parties shall
 Parties shall ensure that each
               ensure that each Technology
                                Technology Officer
                                            Officer maintains
                                                    maintains reasonable
                                                              reasonable availability
                                                                         availability for
                                                                                      for
 discussions  with the
 discussions with  the Third-Party Monitor and
                       Third-Party Monitor  and CMAs
                                                CMAs onon matters
                                                          matters relating to compliance
                                                                  relating to             with this
                                                                              compliance with  this


                                                          45
                                                          45
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                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                  of 8/23/22

 Agreement
 Agreement and
           and has  the ability
                has the         to communicate
                        ability to              with the
                                   communicate with  the Third-Party Monitor and
                                                         Third-Party Monitor and CMAs
                                                                                  CMAs
 independently and
 independently     without the
               and without  the involvement
                                 involvement or
                                             or awareness
                                                awareness of
                                                          of any
                                                             any of the Transaction
                                                                 of the             Parties.
                                                                        Transaction Parties.

         10.6    Reporting of
         10.6 Reporting         Violations. The
                             of Violations.  The Transaction   Parties shall
                                                 Transaction Parties   shall ensure  that each
                                                                             ensure that  each
 Technology
 Technology Officer
              Officer reports
                       reports any
                               any actual
                                   actual or
                                           or potential violation of
                                              potential violation    this Agreement
                                                                  of this Agreement to to the
                                                                                          the Security
                                                                                              Security
 Officer, the Third-Party
 Officer, the              Monitor, and
              Third-Party Monitor,       the CMAs
                                     and the  CMAs as as soon
                                                         soon as
                                                               as practicable, but in
                                                                  practicable, but in any
                                                                                      any event  within
                                                                                           event within
 one (1) day
 one (1) day of
              of learning
                 learning of the actual
                          of the actual or
                                        or potential violation.
                                           potential violation.

        10.7
        10.7 Costs.
              Costs. The
                      The Transaction Parties shall
                          Transaction Parties       be responsible
                                              shall be responsible for
                                                                   for all
                                                                       all costs
                                                                           costs associated with
                                                                                 associated with
 each
 each Technology
      Technology Officer.
                 Officer.

                                                 ARTICLE XI
                                                 ARTICLE XI

                                            PROTECTED DATA
                                            PROTECTED DATA

         11.1
         11.1     Excepted Data.
                  Excepted Data.

                  (1)
                  (1)       Any
                            Any proposed
                                  proposed change
                                               change toto the
                                                           the categories
                                                                categories of  Excepted Data
                                                                            of Excepted     Data under
                                                                                                   under Section
                                                                                                         Section
 1.11, including Annexes
 1.11, including   Annexes A,      B, and
                               A, B,   and C,C, as
                                                as applicable,
                                                   applicable, shall   be subject
                                                                 shall be subject to to the
                                                                                        the prior  written consent
                                                                                             prior written consent
 of the CMAs.
 of the           Prior to
        CMAs. Prior       to making
                             making anyany such
                                             such change,    the Transaction
                                                   change, the                  Parties shall
                                                                  Transaction Parties     shall submit
                                                                                                submit aa request to
                                                                                                          request to
 the CMAs
 the          identifying the
     CMAs identifying       the additional
                                 additional data    fields and
                                               data fields       formats proposed
                                                            and formats   proposed to  to become
                                                                                          become Excepted
                                                                                                    Excepted Data
                                                                                                              Data
 and
 and shall  include in
      shall include  in the
                         the request    the rationale
                              request the               for their
                                             rationale for  their designation
                                                                   designation as    Excepted Data
                                                                                as Excepted      Data and
                                                                                                      and any
                                                                                                           any other
                                                                                                               other
 information requested
 information    requested byby the
                                the CMAs,
                                     CMAs, in  in their
                                                  their sole
                                                        sole discretion,   to assess
                                                              discretion, to           the request.
                                                                              assess the   request. The
                                                                                                     The
 Transaction    Parties shall
 Transaction Parties    shall not   treat, and
                                not treat,  and shall
                                                 shall ensure   the TTP
                                                       ensure the   TTP does
                                                                          does not    treat, any
                                                                                not treat,       Protected Data
                                                                                             any Protected  Data as
                                                                                                                  as
 Excepted Data
 Excepted    Data without
                   without the
                             the prior   written consent
                                  prior written    consent of   the CMAs.
                                                             of the CMAs. If  If aa change   involves the
                                                                                    change involves    the
 categories
 categories outlined
             outlined inin Section
                            Section 1.11(2)
                                      1.11(2) or   (3), the
                                                or (3), the Transaction    Parties shall
                                                             Transaction Parties           update Annexes
                                                                                     shall update   Annexes A,   B,
                                                                                                             A, B,
 and  C, as applicable,    and  submit    such  updated   Annexes    to the  Third-Party
 and C, as applicable, and submit such updated Annexes to the Third-Party Monitor            Monitor  and
                                                                                                      and  CMAs
                                                                                                           CMAs
 within three
 within  three (3)
                (3) days
                    days following
                           following thethe Transaction    Parties’ receipt
                                             Transaction Parties'    receipt of   the CMAs’
                                                                              of the   CMAs' consent.
                                                                                                consent.

                   (2)
                   (2)      TTUSDS
                            TTUSDS shall
                                       shall ensure that Excepted
                                             ensure that  Excepted Data
                                                                     Data does
                                                                           does not
                                                                                not contain
                                                                                     contain any   Protected
                                                                                               any Protected
 Data except
 Data  except inin accordance    with, as
                   accordance with,    as applicable,  the fields
                                          applicable, the  fields and
                                                                  and formats
                                                                       formats specified
                                                                               specified inin Annexes
                                                                                              Annexes A,     B,
                                                                                                          A, B,
 and
 and C  before transmitting
     C before    transmitting any   Excepted Data
                                any Excepted   Data toto ByteDance,
                                                         ByteDance, TikTok
                                                                       TikTok Inc.,
                                                                               Inc., or their respective
                                                                                     or their  respective
 Affiliates,
 Affiliates, and
              and shall
                   shall make
                         make available,    upon the
                                available, upon  the request
                                                      request of  the Third-Party
                                                               of the              Monitor or
                                                                      Third-Party Monitor     or CMAs,
                                                                                                 CMAs,
 evidence
 evidence ofof compliance     with this
                compliance with    this requirement.
                                        requirement. TTUSDS
                                                        TTUSDS shall
                                                                   shall ensure that such
                                                                         ensure that  such evidence
                                                                                            evidence
 includes aa review
 includes     review ofof logs from the
                          logs from  the gateways
                                          gateways through
                                                    through which
                                                              which Excepted
                                                                      Excepted Data
                                                                                Data will
                                                                                       will transit,
                                                                                            transit, aa review
                                                                                                        review
 of
 of system
    system architecture
             architecture toto ensure  those gateways
                               ensure those  gateways are    the sole
                                                         are the      transmission method
                                                                 sole transmission  method for    Excepted
                                                                                              for Excepted
 Data, and
 Data,       interviews with
        and interviews     with relevant
                                relevant TTUSDS
                                          TTUSDS and and TTP    Personnel. The
                                                          TTP Personnel.    The Transaction     Parties shall
                                                                                 Transaction Parties      shall
 ensure  that the
 ensure that   the Third-Party   Monitor promptly,
                   Third-Party Monitor     promptly, and    in any
                                                       and in  any event  within one
                                                                    event within      (1) day
                                                                                 one (1)  day ofof discovery,
                                                                                                   discovery,
 reports  to the
 reports to  the CMAs
                  CMAs anyany disclosure
                               disclosure of  Protected Data.
                                           of Protected   Data.

         11.2
         11.2     Public Data.
                  Public Data.




                                                         46
                                                         46
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                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                          552
                                                                 Parties’ Draft as
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                                                                                   of 8/23/22

                (1)
                (1)     The
                        The Transaction    Parties shall
                              Transaction Parties  shall not
                                                         not add
                                                             add new  Public Data
                                                                  new Public  Data feature
                                                                                   feature categories
                                                                                           categories
 or implement any
 or implement  any such
                    such changes
                         changes in the TikTok U.S. App to collect additional Public Data feature
                                   in the TikTok  U.S.   App to collect additional Public Data feature
 categories, unless and
 categories, unless     until all
                    and until all of the following
                                  of the following conditions
                                                    conditions are
                                                                are met:
                                                                    met:

                           (i)
                           (i)    The
                                  The Security
                                       Security Committee
                                                 Committee reviews
                                                             reviews and
                                                                      and approves   the designation
                                                                           approves the  designation of
                                                                                                      of
          such
          such feature
                feature categories
                        categories as Public Data
                                   as Public  Data following
                                                   following aa determination   that public
                                                                determination that   public release
                                                                                            release of
                                                                                                    of
          such
          such feature
                feature categories is consistent
                        categories is            with the
                                      consistent with the privacy
                                                          privacy policy
                                                                   policy for the TikTok
                                                                          for the          U.S. App
                                                                                  TikTok U.S.   App
          (either existing
          (either existing or  updated to
                            or updated to address the release
                                          address the release of
                                                              of such
                                                                 such feature
                                                                       feature categories), the DPCP,
                                                                               categories), the DPCP,
          and
          and standard   industry practice
               standard industry           by U.S.
                                  practice by U.S. social
                                                   social media
                                                          media companies,
                                                                  companies, such
                                                                               such as YouTube,
                                                                                    as YouTube,
          Facebook, Instagram,
          Facebook,   Instagram, and
                                  and Twitter;
                                       Twitter;

                          (ii)
                          (ii)     The
                                   The Transaction   Parties provide
                                        Transaction Parties   provide notice  to the
                                                                       notice to the Third-Party   Monitor
                                                                                      Third-Party Monitor
          and
          and CMAs,    including an
               CMAs, including       updated version
                                  an updated   version of
                                                       of Annex
                                                           Annex E,E, highlighting
                                                                      highlighting any
                                                                                     any new
                                                                                         new feature
                                                                                              feature
          categories
          categories designated
                      designated as  Public Data
                                  as Public  Data with
                                                  with aa rationale
                                                          rationale for
                                                                     for each
                                                                         each addition
                                                                               addition and
                                                                                        and screenshots
                                                                                             screenshots of
                                                                                                          of
          the TikTok
          the          U.S. App
              TikTok U.S.    App from   the perspective
                                  from the               of a  TikTok  U.S. User   demonstrating   that
                                            perspective of a TikTok U.S. User demonstrating that the    the
          data will be
          data will be generally
                       generally public   unless an
                                   public unless    individual user
                                                 an individual   user makes
                                                                      makes such
                                                                              such data
                                                                                    data private, in which
                                                                                         private, in which
          case
          case such
               such data
                     data shall
                          shall remain   Protected Data
                                remain Protected   Data for
                                                         for such  individual;
                                                              such individual;

                         (iii) TTUSDS
                         (iii)   TTUSDS provides
                                           provides notice   using plain
                                                     notice using  plain language to TikTok
                                                                         language to        U.S.
                                                                                     TikTok U.S.
          Users of
          Users of any
                   any change  to the
                       change to  the privacy
                                      privacy policy, if required,
                                              policy, if required, for the TikTok
                                                                   for the        U.S. App,
                                                                           TikTok U.S. App,
          highlighting
          highlighting any
                       any new
                            new feature
                                feature categories,
                                        categories, and  the rationale
                                                    and the  rationale for
                                                                       for making
                                                                           making such
                                                                                  such change;
                                                                                       change; and
                                                                                               and

                          (iv)
                          (iv)    The
                                  The Transaction   Parties have
                                       Transaction Parties  have resolved
                                                                 resolved any
                                                                            any objections
                                                                                 objections raised by the
                                                                                            raised by the
 CMAs    with the
 CMAs with     the additional
                   additional feature
                               feature categories.
                                       categories. If the CMAs
                                                   If the CMAs dodo not
                                                                    not raise
                                                                         raise any
                                                                               any objections  within
                                                                                    objections within
 sixty (60) days
 sixty (60)  days following
                  following receipt
                              receipt of
                                      of notice under Section
                                         notice under  Section 11.2(1)(ii), the lack
                                                               11.2(1)(ii), the lack of
                                                                                     of action
                                                                                        action shall
                                                                                               shall
 constitute
 constitute aa non-objection.
               non-objection.

                   (2)
                   (2)       The
                             The CMAs
                                  CMAs may may raise
                                                 raise objections   to the
                                                        objections to   the collection
                                                                            collection of    Public Data
                                                                                          of Public  Data within
                                                                                                            within
 approved
 approved feature
              feature categories
                       categories or
                                   or data  fields within
                                       data fields  within the
                                                            the feature
                                                                feature categories
                                                                          categories by by providing
                                                                                            providing notice     to the
                                                                                                         notice to  the
 Security
 Security Committee.
            Committee. The  The Transaction     Parties may
                                 Transaction Parties     may explain     why any
                                                               explain why    any such     Public Data
                                                                                     such Public    Data should
                                                                                                          should
 remain
 remain public
           public and   the potential
                   and the              business and
                             potential business    and operational    impact of
                                                        operational impact     of changing
                                                                                   changing it it to
                                                                                                  to Protected
                                                                                                     Protected Data.
                                                                                                                  Data.
 If,
 If, after this process,
     after this            the CMAs,
                process, the    CMAs, in in consultation   with the
                                            consultation with    the Security
                                                                      Security Committee,
                                                                                 Committee, determine         that the
                                                                                                 determine that    the
 relevant
 relevant feature
            feature category
                     category oror data  field within
                                   data field  within aa feature
                                                          feature category
                                                                   category should
                                                                              should be be re-designated
                                                                                            re-designated as as
 Protected Data,
 Protected    Data, the
                     the Transaction    Parties shall
                          Transaction Parties           implement aa plan
                                                 shall implement             to re-designate
                                                                        plan to  re-designate thethe applicable
                                                                                                     applicable
 Public Data
 Public  Data as    Protected Data
                as Protected    Data within
                                      within ninety    (90) days
                                              ninety (90)   days of
                                                                  of receiving
                                                                      receiving thethe request
                                                                                        request from    the CMAs;
                                                                                                 from the   CMAs;
 provided, however,
 provided,                that such
              however, that    such aa re-designation
                                       re-designation shall
                                                         shall not  be required
                                                               not be   required ifif the
                                                                                      the Security
                                                                                           Security Committee
                                                                                                     Committee
 confirms    that such
 confirms that    such feature
                         feature category
                                 category or or data  field within
                                                data field  within aa feature
                                                                       feature category
                                                                                category is is consistent,
                                                                                               consistent, at   the
                                                                                                            at the
 time  of  consideration,    with the  DPCP    and   standard  industry   practice   by  similar
 time of consideration, with the DPCP and standard industry practice by similar U.S. companies     U.S.  companies
 such
 such as   YouTube, Facebook,
       as YouTube,      Facebook, Instagram,
                                     Instagram, andand Twitter.
                                                        Twitter.

                  (3)
                  (3)      TTUSDS
                           TTUSDS shall
                                      shall not
                                            not provide,
                                                provide, and
                                                           and shall
                                                               shall ensure  the TTP
                                                                     ensure the   TTP does
                                                                                       does not
                                                                                             not provide,   to
                                                                                                  provide, to
 ByteDance or
 ByteDance    or any
                 any of  its Affiliates
                      of its Affiliates any
                                        any reports
                                             reports or
                                                     or datasets
                                                         datasets providing   insights into
                                                                  providing insights    into Public
                                                                                             Public Data
                                                                                                     Data to
                                                                                                          to aa
 greater extent
 greater         than what
         extent than   what aa public
                               public Internet  user could
                                       Internet user could reasonably    view or
                                                             reasonably view    or ascertain,  without the
                                                                                   ascertain, without   the
 prior
 prior review
       review and
               and approval
                    approval byby the
                                   the Security
                                       Security Committee.
                                                Committee. For  For the
                                                                    the avoidance
                                                                        avoidance of of doubt,  the
                                                                                        doubt, the
 limitations in this
 limitations in this Section
                      Section 11.2(3)
                               11.2(3) shall
                                        shall not
                                              not restrict ByteDance or
                                                  restrict ByteDance    or any
                                                                           any of  its Affiliates
                                                                                of its Affiliates from
                                                                                                  from
 receiving: (i) videos
 receiving: (i) videos at
                        at aa higher
                              higher resolution  than is
                                     resolution than   is ultimately
                                                          ultimately published
                                                                     published on    the TikTok
                                                                                 on the            U.S. App;
                                                                                          TikTok U.S.   App;


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                                                           47
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                                                             PURSUANT TO TO 50
                                                                             50 U.S.C.
                                                                                U.S.C. § § 4565
                                                                                           4565
                                          EXEMPT
                                          EXEMPT FROM   DISCLOSURE UNDER
                                                   FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                  U.S.C. §§ 552
                                                                                            552
                                                                   Parties’ Draft as
                                                                   Parties' Draft as of 8/23/22
                                                                                     of 8/23/22

 (ii) other
 (ii)       Public Data
      other Public Data and/or
                         and/or datasets
                                  datasets related  to Public
                                            related to Public Data
                                                              Data where
                                                                    where the
                                                                           the Public
                                                                               Public Data
                                                                                      Data elements
                                                                                           elements are
                                                                                                     are
 accessible  to Internet users,  but  not ordinarily  in volumes  and at speeds  needed to operate
 accessible to Internet users, but not ordinarily in volumes and at speeds needed to operate the   the
 TikTok   global platform;
 TikTok global    platform; and   (iii) any
                            and (iii)   any reports  that otherwise
                                             reports that otherwise can  be or
                                                                    can be  or are
                                                                               are produced by third
                                                                                   produced by third
 parties based  on  or derived  from   Public
 parties based on or derived from Public Data. Data.

          11.3
          11.3      Expatriate TikTok
                    Expatriate        U.S. User
                               TikTok U.S. User Requests.
                                                Requests.

                    (1)
                    (1)      TTUSDS
                             TTUSDS shall  shall classify
                                                  classify asas aa TikTok
                                                                   TikTok U.S.U.S. User
                                                                                      User any    U.S. citizen
                                                                                            any U.S.              who, upon
                                                                                                        citizen who,     upon
 registering   through any
 registering through           version of
                          any version         the TikTok
                                          of the   TikTok Global
                                                             Global App, App, isis not
                                                                                    not classified
                                                                                        classified as
                                                                                                    as aa TikTok     U.S.
                                                                                                           TikTok U.S.
 User and
 User  and requests
             requests re-classification
                        re-classification as  as aa TikTok    U.S. User,
                                                     TikTok U.S.       User, in
                                                                              in accordance
                                                                                   accordance withwith aa protocol
                                                                                                          protocol to to be
                                                                                                                         be
 developed
 developed by  by TTUSDS
                   TTUSDS and   and subject
                                     subject to to the
                                                   the prior
                                                        prior non-objection
                                                               non-objection of        the CMAs
                                                                                    of the  CMAs (the(the "Expatriate
                                                                                                           “Expatriate
 Request
 Request Protocol”).
            Protocol"). At   At aa minimum,
                                   minimum, TTUSDSTTUSDS shall shall ensure       that such
                                                                        ensure that    such protocol
                                                                                              protocol provides      for: (i)
                                                                                                         provides for:    (i)
 the option
 the  option during
               during new     user registration
                        new user   registration on   on all versions of
                                                        all versions        the TikTok
                                                                         of the    TikTok Global
                                                                                            Global AppApp to to allow   U.S.
                                                                                                                allow U.S.
 citizens  to select
 citizens to   select an
                       an option,
                          option, and
                                    and cause
                                          cause such     user, to
                                                   such user,   to be
                                                                    be re-classified
                                                                         re-classified as as aa TikTok    U.S. User;
                                                                                                TikTok U.S.      User; (ii)
                                                                                                                        (ii)
 sending   a  push   notification   to existing     users of  all  versions
 sending a push notification to existing users of all versions of the          of   the TikTok
                                                                                        TikTok     Global
                                                                                                   Global   App
                                                                                                            App   when
                                                                                                                  when    first
                                                                                                                          first
 opened   from aa U.S.
 opened from        U.S. IP
                          IP address
                              address notifying       them of
                                         notifying them          the option
                                                             of the    option to to be
                                                                                     be re-classified
                                                                                        re-classified asas aa TikTok    U.S.
                                                                                                               TikTok U.S.
 User if
 User  if they
          they are    U.S. citizens;
                 are U.S.              (iii) posting
                            citizens; (iii)   posting anan article
                                                            article inin the
                                                                          the TikTok
                                                                              TikTok Global
                                                                                         Global App      Help Center
                                                                                                   App Help     Center
 regarding
 regarding thethe option   for U.S.
                   option for   U.S. citizens
                                      citizens to to be
                                                      be re-classified
                                                         re-classified as  as aa TikTok     U.S. User;
                                                                                  TikTok U.S.      User; and
                                                                                                          and
 (iv) including
 (iv) including aa feature
                     feature within
                               within all    versions of
                                        all versions        the TikTok
                                                        of the   TikTok Global
                                                                            Global App       that enables
                                                                                       App that               users to
                                                                                                   enables users    to select
                                                                                                                        select
 an
 an option   to be
     option to   be re-classified
                     re-classified asas aa TikTok
                                           TikTok U.S.U.S. User
                                                             User ifif they
                                                                        they are    U.S. citizens.
                                                                              are U.S.    citizens. InIn order   to minimize
                                                                                                          order to  minimize
 risks
 risks of
       of conflicts
           conflicts of   laws, TTUSDS
                       of laws,   TTUSDS may,  may, subject
                                                       subject toto non-objection
                                                                     non-objection by    by the
                                                                                            the CMAs,       implement aa
                                                                                                  CMAs, implement
 protocol   that allows
 protocol that             users outside
                  allows users    outside thethe United
                                                  United States
                                                            States toto present     identification to
                                                                         present identification      to aa third
                                                                                                           third party,   who
                                                                                                                  party, who
 is not
 is not an
        an Affiliate
            Affiliate of   ByteDance, that
                        of ByteDance,       that will
                                                  will confirm     whether the
                                                        confirm whether        the user
                                                                                     user should
                                                                                           should bebe treated
                                                                                                       treated asas aa TikTok
                                                                                                                       TikTok
 U.S. User.
 U.S.  User. TheThe Transaction      Parties shall
                      Transaction Parties       shall ensure    that re-classification
                                                       ensure that     re-classification as  as aa TikTok
                                                                                                   TikTok U.S.U.S. User
                                                                                                                   User isis
 straightforward
 straightforward for for users
                         users toto find
                                    find and
                                           and complete.
                                                 complete.

                  (2)
                  (2)       By no
                            By      later than
                                 no later  than the
                                                 the Operational   Date, the
                                                      Operational Date,    the Transaction    Parties shall
                                                                                Transaction Parties   shall submit
                                                                                                             submit
 the Expatriate
 the Expatriate Request
                  Request Protocol
                             Protocol toto the
                                            the Third-Party   Monitor and
                                                 Third-Party Monitor     and CMAs.
                                                                               CMAs. If    the CMAs
                                                                                        If the CMAs do do not
                                                                                                           not
 object in writing
 object in  writing within
                    within fourteen
                               fourteen (14)
                                         (14) days    following receipt
                                                days following   receipt of   the Expatriate
                                                                           of the Expatriate Request
                                                                                               Request Protocol,
                                                                                                        Protocol,
 the lack
 the lack of
          of action
             action shall
                      shall constitute
                              constitute aa non-objection.
                                             non-objection. If   the CMAs
                                                              If the CMAs object      to the
                                                                               object to the proposed   Expatriate
                                                                                              proposed Expatriate
 Request Protocol,
 Request   Protocol, the
                       the Transaction     Parties shall
                            Transaction Parties      shall address
                                                           address all
                                                                   all concerns
                                                                        concerns raised    by the
                                                                                   raised by  the CMAs
                                                                                                  CMAs to  to the
                                                                                                              the
 CMAs’
 CMAs' satisfaction
          satisfaction inin aa revised  Expatriate Request
                               revised Expatriate     Request Protocol
                                                               Protocol submitted
                                                                           submitted toto the
                                                                                          the CMAs    within
                                                                                              CMAs within
 fourteen (14)
 fourteen  (14) days    following receipt
                 days following     receipt of    the written
                                              of the  written objection,   which revisions
                                                              objection, which     revisions shall  be subject
                                                                                              shall be          to
                                                                                                       subject to
 the prior
 the prior non-objection
           non-objection of      the CMAs
                              of the CMAs in   in accordance   with the
                                                   accordance with   the same
                                                                          same procedures
                                                                                 procedures as   the initial
                                                                                              as the initial
 Expatriate Request
 Expatriate  Request Protocol.
                         Protocol. The
                                     The Transaction      Parties shall
                                           Transaction Parties           implement, and
                                                                  shall implement,     and shall
                                                                                            shall ensure  the TTP
                                                                                                  ensure the   TTP
 implements, the Expatriate Request Protocol within three (3) days following the non-objection of
 implements,    the Expatriate    Request     Protocol  within  three  (3) days  following   the non-objection    of
 the CMAs.
 the CMAs.

                 (3)
                 (3)       To  the extent
                           To the          that aa request
                                   extent that     request or
                                                           or class
                                                              class of
                                                                     of requests  by U.S.
                                                                        requests by  U.S. Citizens    to re-
                                                                                            Citizens to   re-
 classify
 classify as
          as TikTok   U.S. Users
             TikTok U.S.    Users pursuant
                                    pursuant toto Section
                                                   Section 11.3(1)
                                                           11.3(1) conflicts   with GDPR
                                                                     conflicts with  GDPR or  or other
                                                                                                 other legal
                                                                                                        legal
 requirements,
 requirements, TTUSDS
                 TTUSDS shall:      (i) provide
                             shall: (i)           written notice
                                        provide written           to the
                                                          notice to  the Security
                                                                          Security Committee
                                                                                   Committee and and Third-
                                                                                                       Third-
 Party Monitor,
 Party  Monitor, including
                  including aa detailed
                                detailed description
                                          description of   the legal
                                                        of the legal requirements    that create
                                                                      requirements that    create aa conflict
                                                                                                     conflict
 with citations
 with           to the
      citations to  the relevant  governing source(s);
                        relevant governing     source(s); and   (ii) coordinate
                                                           and (ii)               with the
                                                                     coordinate with   the TTP
                                                                                            TTP toto present
                                                                                                     present
 solutions to the
 solutions to the Security
                   Security Committee
                              Committee andand Third-Party    Monitor that
                                                 Third-Party Monitor     that could  be implemented
                                                                              could be  implemented to   to
 minimize   the conflict
 minimize the             to the
                conflict to  the greatest
                                 greatest extent
                                            extent possible.
                                                    possible. TTUSDS
                                                               TTUSDS shallshall ensure  that the
                                                                                 ensure that  the Security
                                                                                                   Security



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                                                              48
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                                                      APP-474
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                                              CONFIDENTIAL
                                              CONFIDENTIAL PURSUANT
                                                             PURSUANT TO TO 50
                                                                             50 U.S.C.
                                                                                U.S.C. § § 4565
                                                                                           4565
                                          EXEMPT
                                          EXEMPT FROM   DISCLOSURE UNDER
                                                   FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                  U.S.C. §§ 552
                                                                                            552
                                                                   Parties’ Draft as
                                                                   Parties' Draft as of 8/23/22
                                                                                     of 8/23/22

 Committee
 Committee consults
             consults quarterly  with the
                      quarterly with  the CMAs
                                          CMAs regarding
                                                regarding any
                                                          any such
                                                              such conflicts
                                                                   conflicts and works in
                                                                             and works in good
                                                                                          good
 faith to address
 faith to address any
                  any concerns
                      concerns raised  by the
                                raised by the CMAs.
                                              CMAs.

                 (4)
                 (4)      TTUSDS
                          TTUSDS shall
                                    shall ensure  that the
                                          ensure that  the Security
                                                           Security Committee
                                                                     Committee reviews
                                                                                reviews all
                                                                                          all requests  by
                                                                                              requests by
 users of
 users    the TikTok
       of the           U.S. App
              TikTok U.S.    App or
                                  or other versions of
                                     other versions     the TikTok
                                                     of the TikTok Global
                                                                     Global App  to de-classify
                                                                            App to  de-classify asas
 TikTok   U.S. Users,
 TikTok U.S.    Users, and
                       and only
                            only approves
                                 approves such
                                           such requests,   with the
                                                 requests, with  the balance
                                                                     balance weighed
                                                                             weighed inin favor
                                                                                          favor ofof
 denial, where: (i)
 denial, where:  (i) the
                     the user
                         user has
                              has not within the
                                  not within the past
                                                  past sixty (60) days
                                                       sixty (60) days accessed the TikTok
                                                                       accessed the            U.S. App
                                                                                     TikTok U.S.     App
 or
 or any
    any other  versions of
         other versions     the TikTok
                         of the TikTok Global
                                        Global App
                                                App from    within the
                                                      from within  the United
                                                                       United States;
                                                                              States; and   (ii) the
                                                                                      and (ii)   the user
                                                                                                     user
 identifies his
 identifies his or
                or her
                   her appropriate
                       appropriate country
                                    country of
                                            of citizenship.
                                               citizenship.

           11.4
           11.4 End End User
                           User Agreements
                                   Agreements and      User Policies.
                                                  and User     Policies. TikTok
                                                                           TikTok Inc.Inc. andand TTUSDS
                                                                                                    TTUSDS shall
                                                                                                               shall submit
                                                                                                                      submit
 advance
 advance notice      to the
             notice to   the CMAs
                              CMAs of  of any   intention to
                                           any intention     to change
                                                                change materially
                                                                         materially the  the Terms
                                                                                               Terms ofof Service,    with
                                                                                                           Service, with
 such
 such materiality
        materiality to to be
                           be determined
                               determined in  in consultation    with the
                                                 consultation with     the Third-Party         Monitor, the
                                                                             Third-Party Monitor,          the privacy
                                                                                                               privacy
 policy   for the
 policy for   the TikTok
                   TikTok U.S. U.S. App,
                                     App, content
                                            content moderation
                                                      moderation policy,
                                                                     policy, or or other
                                                                                   other published
                                                                                             published policies
                                                                                                          policies similar
                                                                                                                    similar
 thereto   (each,  a  “User     Agreement”)      so  the  CMAs     may   review
 thereto (each, a "User Agreement") so the CMAs may review such User Agreements forsuch     User   Agreements      for
 consistency
 consistency withwith this
                        this Agreement.
                             Agreement. Any    Any material
                                                    material change,
                                                                change, as as determined
                                                                              determined in     in consultation    with the
                                                                                                   consultation with     the
 Third-Party     Monitor, to
 Third-Party Monitor,         to aa User
                                    User Agreement
                                          Agreement shall       be subject
                                                         shall be  subject to to the
                                                                                 the prior
                                                                                      prior non-objection
                                                                                               non-objection of      the
                                                                                                                 of the
 CMAs
 CMAs except
           except as
                   as otherwise
                        otherwise provided
                                     provided herein.
                                                 herein. If    the CMAs
                                                            If the CMAs do   do not
                                                                                 not raise
                                                                                      raise anyany objections     within
                                                                                                     objections within
 fifteen (15)
 fifteen   (15) days
                 days following
                        following receipt
                                     receipt of   the proposed
                                               of the  proposed change,
                                                                   change, the the lack
                                                                                   lack of of action
                                                                                               action shall
                                                                                                        shall constitute
                                                                                                              constitute aa
 non-objection.
 non-objection. TikTok
                     TikTok Inc. Inc. and
                                      and TTUSDS
                                            TTUSDS shall shall address
                                                                address all
                                                                          all feedback
                                                                              feedback from  from the
                                                                                                    the CMAs
                                                                                                         CMAs prior     to
                                                                                                                 prior to
 finalizing changes
 finalizing   changes to  to any   User Agreement;
                             any User                     provided, however,
                                          Agreement; provided,        however, thatthat there
                                                                                           there shall   be no
                                                                                                   shall be  no limitation
                                                                                                                limitation
 on   finalizing such
 on finalizing    such changes
                          changes prior     to the
                                     prior to  the non-objection
                                                    non-objection of      the CMAs
                                                                      of the    CMAs as   as long
                                                                                              long asas TikTok
                                                                                                        TikTok Inc.
                                                                                                                 Inc. and
                                                                                                                       and
 TTUSDS,
 TTUSDS, as       the case
               as the   case may
                              may be:be: (1)
                                         (1) include
                                              include inin the
                                                           the original
                                                                original notice
                                                                           notice toto the
                                                                                        the CMAs
                                                                                              CMAs aa clear
                                                                                                         clear explanation
                                                                                                                explanation
 of  the need
 of the   need for  urgent implementation;
                for urgent     implementation; and        (2) address
                                                    and (2)    address any    feedback from
                                                                        any feedback         from the
                                                                                                    the CMAs
                                                                                                         CMAs as as promptly
                                                                                                                     promptly
 as
 as possible
     possible after
                after receipt.     Notice to
                       receipt. Notice      to the
                                               the CMAs
                                                    CMAs pursuant
                                                              pursuant toto this
                                                                             this Section
                                                                                  Section 11.4 11.4 shall
                                                                                                     shall constitute
                                                                                                            constitute notice
                                                                                                                         notice
 only   under this
 only under     this Section
                     Section 11.411.4 and
                                       and shall
                                            shall not
                                                   not satisfy
                                                        satisfy any
                                                                 any other
                                                                      other notice
                                                                              notice requirements.
                                                                                       requirements. Any    Any feedback
                                                                                                                  feedback
 or
 or non-objection
     non-objection by   by the
                            the CMAs      under this
                                 CMAs under       this Section
                                                       Section 11.4     is specific
                                                                  11.4 is   specific toto the
                                                                                            the change
                                                                                                 change toto the
                                                                                                             the particular
                                                                                                                  particular
 User Agreement
 User    Agreement and  and does
                             does not
                                    not represent
                                         represent aa USG
                                                       USG determination
                                                               determination applicable
                                                                                  applicable to   to any
                                                                                                     any other
                                                                                                          other context.
                                                                                                                 context.

         11.5     Protected Data
         11.5 Protected      Data Storage.
                                    Storage. TheThe Transaction     Parties shall
                                                     Transaction Parties    shall ensure  that all
                                                                                   ensure that      Protected
                                                                                               all Protected
 Data, while
 Data,  while such   Protected Data
               such Protected   Data remains     in the
                                        remains in  the possession
                                                         possession of   the Transaction
                                                                      of the                Parties, is
                                                                             Transaction Parties,     is stored
                                                                                                         stored
 and
 and remains:   (1) exclusively
      remains: (1)                in the
                     exclusively in   the United
                                           United States,   with no
                                                   States, with      transmittal outside
                                                                  no transmittal  outside of  the United
                                                                                           of the  United States
                                                                                                             States
 except
 except as
         as otherwise
            otherwise provided
                        provided inin this
                                       this Agreement;
                                            Agreement; and      (2) within
                                                           and (2)  within the
                                                                           the TTP’s
                                                                               TTP's secure
                                                                                        secure cloud
                                                                                                cloud
 environment,    both except
 environment, both     except as
                               as expressly
                                  expressly provided
                                               provided inin this
                                                             this Agreement
                                                                  Agreement or or otherwise
                                                                                  otherwise byby the
                                                                                                  the prior
                                                                                                       prior
 written consent
 written  consent of  the CMAs.
                   of the CMAs. The The Transaction      Parties shall
                                           Transaction Parties    shall ensure  that any
                                                                        ensure that       Protected Data
                                                                                      any Protected    Data
 transferred to
 transferred  to third
                 third parties (and therefore
                       parties (and   therefore not   in the
                                                 not in  the possession
                                                              possession of  the Transaction
                                                                          of the                Parties) is
                                                                                  Transaction Parties)     is
 subject to the
 subject to the vendor
                 vendor reviews
                         reviews and
                                   and policies    under Article
                                          policies under   Article XIII.  For the
                                                                    XIII. For the avoidance
                                                                                    avoidance of
                                                                                               of doubt,
                                                                                                    doubt,
 Section
 Section 11.5(1)
          11.5(1) shall
                   shall not
                         not prohibit
                             prohibit TTUSDS        Personnel in
                                         TTUSDS Personnel        in DTC
                                                                    DTC Approved
                                                                          Approved Countries
                                                                                       Countries from
                                                                                                   from
 Accessing   Protected Data
 Accessing Protected     Data through
                               through thethe TTP’s
                                              TTP's secure
                                                      secure cloud
                                                               cloud environment.
                                                                      environment. The The Transaction     Parties
                                                                                           Transaction Parties
 shall
 shall ensure  the TTP
       ensure the  TTP promptly
                         promptly reports
                                     reports any
                                              any non-compliance
                                                   non-compliance with with this
                                                                            this Section
                                                                                  Section 11.5   to the
                                                                                           11.5 to   the Third-
                                                                                                         Third-
 Party Monitor
 Party  Monitor and
                  and CMAs.
                       CMAs.

         11.6
         11.6 User User Interaction  Data Deletion.
                         Interaction Data Deletion. The
                                                     The Transaction   Parties shall
                                                          Transaction Parties   shall ensure   that all
                                                                                      ensure that       User
                                                                                                    all User
 Interaction  Data in
 Interaction Data    in the
                        the possession
                            possession of the Transaction
                                       of the              Parties is
                                              Transaction Parties  is deleted
                                                                      deleted no
                                                                               no later than eighteen
                                                                                  later than             (18)
                                                                                              eighteen (18)
 months
 months after   it is
          after it is stored
                      stored on the TikTok
                             on the         U.S. Platform
                                    TikTok U.S.   Platform or
                                                            or otherwise
                                                               otherwise deleted   in accordance
                                                                          deleted in                with
                                                                                      accordance with
 applicable  law. For
 applicable law.    For the
                         the avoidance
                             avoidance of
                                       of doubt,  this deletion
                                           doubt, this deletion requirement
                                                                requirement applies    to all
                                                                              applies to  all data
                                                                                              data related
                                                                                                   related


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                                                              49
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                                                      APP-475
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                                             CONFIDENTIAL
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                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

 to individual
 to individual users
                users and their private
                      and their           interactions with
                                private interactions   with content
                                                            content on the TikTok
                                                                    on the         U.S. App
                                                                           TikTok U.S.       (e.g., data
                                                                                        App (e.g.,  data
 on  specific individuals who   viewed    or liked a video) but does not apply to aggregated data
 on specific individuals who viewed or liked a video) but does not apply to aggregated data (e.g.,(e.g.,
 the total
 the  total number
            number of  views or
                    of views     likes aa video
                             or likes     video has
                                                 has received).
                                                     received).

          11.7
          11.7 Initial
                   Initial Transfer
                            Transfer of    Protected Data.
                                        of Protected    Data. ByBy no
                                                                    no later   than the
                                                                        later than   the Operational     Date,
                                                                                          Operational Date,
 ByteDance shall
 ByteDance            transfer, and
              shall transfer,     and shall
                                       shall ensure    that its
                                              ensure that   its Affiliates   transfer, all
                                                                Affiliates transfer,        Protected Data
                                                                                        all Protected   Data held   by
                                                                                                              held by
 ByteDance and
 ByteDance          its Affiliates
              and its   Affiliates asas of  the Effective
                                         of the  Effective Date
                                                             Date or
                                                                   or acquired     thereafter (collectively,
                                                                       acquired thereafter      (collectively, the
                                                                                                                the
 “Legacy Protected
 "Legacy                   Data”) to
            Protected Data")        to the
                                       the TTP    (the date
                                            TTP (the    date of
                                                              of such  transfer, the
                                                                 such transfer,    the "Transfer      Date”);
                                                                                        “Transfer Date");
 provided, however,
 provided,   however, thatthat if
                               if any  Legacy Protected
                                  any Legacy     Protected Data
                                                              Data is
                                                                    is subject
                                                                       subject toto any
                                                                                     any litigation
                                                                                          litigation hold
                                                                                                      hold or
                                                                                                            or legal
                                                                                                               legal
 preservation
  preservation requirement
                requirement as   as of  the Transfer
                                     of the             Date, ByteDance
                                             Transfer Date,     ByteDance may        transfer such
                                                                               may transfer          Protected Data
                                                                                               such Protected    Data to
                                                                                                                       to
 aa third-party
    third-party approved
                approved in  in advance
                                 advance by by the
                                                the CMAs
                                                     CMAs to  to hold
                                                                 hold such
                                                                       such data    in escrow
                                                                               data in  escrow pending
                                                                                                 pending satisfaction
                                                                                                           satisfaction
 of  the applicable
  of the              litigation hold
         applicable litigation     hold or
                                         or legal
                                            legal preservation
                                                   preservation requirement.
                                                                   requirement. On    On or
                                                                                          or prior  to the
                                                                                              prior to the Transfer
                                                                                                           Transfer
 Date, ByteDance
 Date,   ByteDance shall
                       shall notify   the CMAs
                             notify the    CMAs in  in writing
                                                        writing of
                                                                 of any   litigation hold
                                                                    any litigation     hold or
                                                                                             or legal
                                                                                                legal preservation
                                                                                                      preservation
 requirement
  requirement applicable
                applicable to to any   Legacy Protected
                                  any Legacy     Protected Data.
                                                              Data. ByteDance
                                                                     ByteDance shall shall provide    written
                                                                                            provide written
 confirmation
  confirmation toto the
                    the Third-Party      Monitor and
                          Third-Party Monitor        and CMAs
                                                         CMAs promptly
                                                                  promptly upon upon the
                                                                                       the successful   transfer of
                                                                                           successful transfer    of all
                                                                                                                     all
 Legacy Protected
 Legacy    Protected Data,
                       Data, oror report   ByteDance’s failure
                                   report ByteDance's       failure to
                                                                    to transfer
                                                                        transfer all   Legacy Protected
                                                                                   all Legacy    Protected Data
                                                                                                            Data byby
 the Transfer
 the            Date.
      Transfer Date.

                  (1)
                  (1)     Within one-hundred
                          Within    one-hundred twenty     (120) days
                                                   twenty (120)   days following
                                                                        following confirmation    that all
                                                                                   confirmation that   all
 Legacy Protected
 Legacy   Protected Data
                      Data has  been successfully
                           has been                  transferred (the
                                       successfully transferred   (the "Deletion   Date”), ByteDance
                                                                       “Deletion Date"),    ByteDance shall
                                                                                                          shall
 irretrievably destroy,
 irretrievably  destroy, or
                         or cause
                            cause toto be
                                       be irretrievably
                                           irretrievably destroyed,
                                                         destroyed, all  Protected Data,
                                                                     all Protected  Data, including
                                                                                           including copies
                                                                                                      copies
 thereof, wherever
 thereof, wherever located,    in the
                      located, in  the possession
                                       possession oror control
                                                       control of  ByteDance or
                                                               of ByteDance    or any
                                                                                   any of its Affiliates,
                                                                                       of its             in
                                                                                              Affiliates, in
 accordance   with the
 accordance with    the "Clear"
                        “Clear” level
                                  level articulated  in the
                                         articulated in the NIST
                                                            NIST principles   for sanitization
                                                                   principles for  sanitization and
                                                                                                and
 destruction
 destruction of
              of data.  ByteDance shall
                 data. ByteDance      shall submit
                                             submit monthly
                                                     monthly reports   to the
                                                              reports to  the Third-Party   Monitor and
                                                                              Third-Party Monitor     and
 CMAs
 CMAs on    its progress
         on its progress destroying     Protected Data
                          destroying Protected      Data by
                                                         by the
                                                            the deadline
                                                                deadline herein.
                                                                           herein.

                    (2)
                    (2)       Within sixty
                              Within           (60) days
                                        sixty (60)   days following
                                                           following the  the Deletion
                                                                               Deletion Date,
                                                                                           Date, the
                                                                                                   the Transaction
                                                                                                        Transaction
 Parties shall
 Parties  shall ensure    that all
                 ensure that    all assets
                                    assets and
                                             and operations
                                                  operations in  in the
                                                                    the United
                                                                         United States
                                                                                    States of   the Transaction
                                                                                            of the                  Parties
                                                                                                     Transaction Parties
 and  their respective
 and their  respective Affiliates       that support,
                           Affiliates that    support, or
                                                        or have
                                                            have supported,
                                                                    supported, the  the TikTok    U.S. App
                                                                                        TikTok U.S.      App andand TikTok
                                                                                                                    TikTok
 U.S. Platform
 U.S.  Platform undergo
                   undergo one one or
                                    or more
                                        more audits    (each, aa "U.S.
                                               audits (each,                Deletion Audit")
                                                                   “U.S. Deletion       Audit”) to  to confirm
                                                                                                       confirm thethe
 irretrievable destruction
 irretrievable   destruction of of all  Protected Data.
                                    all Protected    Data. TheThe auditor,      timing, scope,
                                                                    auditor, timing,      scope, and
                                                                                                   and methodology
                                                                                                        methodology of   of
 the U.S.
 the U.S. Deletion
           Deletion Audits
                        Audits shall
                                 shall bebe subject
                                            subject toto the
                                                         the prior
                                                               prior non-objection
                                                                      non-objection of       the CMAs.
                                                                                         of the   CMAs. By    By no  later
                                                                                                                  no later
 than the
 than  the Deletion
           Deletion Date,
                        Date, the
                               the Transaction      Parties shall
                                    Transaction Parties       shall submit
                                                                     submit sufficient       information regarding
                                                                                sufficient information                   the
                                                                                                              regarding the
 proposed
 proposed auditor
            auditor andand scope
                             scope of    the U.S.
                                     of the   U.S. Deletion
                                                    Deletion Audits
                                                                Audits forfor the
                                                                               the CMAs
                                                                                     CMAs to to assess    the nominee
                                                                                                 assess the    nominee and
                                                                                                                         and
 proposal.
 proposal. If    the CMAs
              If the  CMAs do  do not
                                   not object    in writing
                                         object in  writing to to the
                                                                  the nominee
                                                                       nominee and   and proposal     within twenty-one
                                                                                         proposal within       twenty-one
 (21) days
 (21)        following receipt,
       days following                the lack
                           receipt, the   lack of
                                                of action
                                                    action shall
                                                             shall constitute
                                                                    constitute aa non-objection.
                                                                                     non-objection. The  The Transaction
                                                                                                                Transaction
 Parties shall
 Parties  shall ensure    that the
                 ensure that    the auditor
                                     auditor starts   the initial
                                               starts the  initial U.S.
                                                                    U.S. Deletion
                                                                           Deletion Audit       within five
                                                                                        Audit within     five (5)
                                                                                                               (5) days
                                                                                                                   days
 following the
 following   the CMAs’
                  CMAs' non-objection
                             non-objection and  and completes
                                                     completes the  the initial
                                                                         initial U.S.
                                                                                   U.S. Deletion
                                                                                         Deletion Audit
                                                                                                     Audit consistent    with
                                                                                                              consistent with
 the proposal.
 the proposal. If     the CMAs
                   If the  CMAs object
                                    object toto the
                                                the proposed
                                                     proposed auditor
                                                                  auditor or or proposal,    the Transaction
                                                                                 proposal, the                    Parties
                                                                                                  Transaction Parties
 shall
 shall submit
        submit anan alternative
                     alternative auditor
                                   auditor or or modified
                                                 modified proposal,
                                                              proposal, as as applicable,     which resolves
                                                                               applicable, which                  the
                                                                                                       resolves the
 concerns
 concerns raised
            raised toto the
                         the CMAs’
                              CMAs' satisfaction,       within fourteen
                                        satisfaction, within      fourteen (14)
                                                                              (14) days    following the
                                                                                      days following     the Transaction
                                                                                                               Transaction
 Party’s receipt
 Party's  receipt ofof any
                        any such
                             such objection,
                                    objection, subject     to the
                                                  subject to   the same
                                                                    same procedures
                                                                            procedures as      the initial
                                                                                           as the   initial review.
                                                                                                             review. The
                                                                                                                       The
 Transaction    Parties shall
 Transaction Parties      shall ensure     that the
                                 ensure that    the auditor
                                                     auditor provides
                                                               provides the the results
                                                                                  results of
                                                                                          of each    U.S. Deletion
                                                                                              each U.S.     Deletion Audit
                                                                                                                       Audit
 to the
 to the CMAs      within three
         CMAs within       three (3)
                                  (3) days    following its
                                       days following      its completion.
                                                                completion. The   The Transaction       Parties shall
                                                                                        Transaction Parties            take,
                                                                                                                 shall take,
 and  shall ensure    that  their respective     Affiliates   take,  all  remedial     actions
 and shall ensure that their respective Affiliates take, all remedial actions deemed necessary bydeemed     necessary   by



                                                             50
                                                             50
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                                                     APP-476
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                                                             PURSUANT TO TO 50
                                                                             50 U.S.C.
                                                                                U.S.C. § § 4565
                                                                                           4565
                                          EXEMPT
                                          EXEMPT FROM   DISCLOSURE UNDER
                                                   FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                  U.S.C. §§ 552
                                                                                            552
                                                                   Parties’ Draft as
                                                                   Parties' Draft as of 8/23/22
                                                                                     of 8/23/22

 the auditor
 the auditor oror CMAs,
                  CMAs, in  in their
                               their sole
                                     sole discretion,   based upon
                                          discretion, based     upon the
                                                                      the results
                                                                          results of
                                                                                  of any U.S. Deletion
                                                                                     any U.S.   Deletion Audit
                                                                                                           Audit
 within  thirty  (30) days   of its completion    unless  otherwise   extended   in writing
 within thirty (30) days of its completion unless otherwise extended in writing by the CMAs  by  the CMAs
 (including shutting
 (including   shutting down
                         down ITIT systems   that continue
                                    systems that   continue toto store
                                                                 store or
                                                                        or provide
                                                                           provide Access
                                                                                    Access toto Protected
                                                                                                Protected Data
                                                                                                            Data
 until such
 until       time that
       such time   that all  Protected Data
                         all Protected  Data isis irretrievably
                                                  irretrievably destroyed).
                                                                 destroyed). TheThe Transaction    Parties shall
                                                                                     Transaction Parties    shall
 provide,
 provide, and
           and shall
                 shall ensure   that their
                       ensure that   their respective
                                           respective Affiliates
                                                        Affiliates provide,   the auditor
                                                                    provide, the           with all
                                                                                  auditor with       Physical
                                                                                                 all Physical
 Access
 Access and    Logical Access
          and Logical    Access necessary
                                   necessary toto interview
                                                  interview Personnel
                                                              Personnel and    to conduct
                                                                          and to           the U.S.
                                                                                  conduct the   U.S. Deletion
                                                                                                      Deletion
 Audits  within the
 Audits within    the scope
                       scope approved
                               approved byby the
                                              the CMAs,     including Physical
                                                   CMAs, including      Physical Access
                                                                                  Access and    Logical Access
                                                                                          and Logical     Access
 to inspect
 to inspect any
             any IT
                  IT systems,
                      systems, networks,
                                 networks, hardware
                                             hardware and and software,
                                                               software, data,
                                                                          data, communications
                                                                                communications systems,
                                                                                                    systems,
 properties,
 properties, records
              records and
                        and documents,
                              documents, andand correspondence
                                                 correspondence in  in the
                                                                       the possession
                                                                            possession or
                                                                                        or control
                                                                                           control of   the
                                                                                                     of the
 Transaction    Parties. The
 Transaction Parties.     The Transaction      Parties shall
                                Transaction Parties           be responsible
                                                        shall be  responsible for
                                                                               for all
                                                                                   all costs
                                                                                       costs and
                                                                                              and expenses
                                                                                                  expenses inin
 connection    with the
 connection with    the U.S.
                          U.S. Deletion
                                Deletion Audits.
                                           Audits.

                     (3)
                     (3)       Within sixty
                               Within           (60) days
                                         sixty (60)    days following
                                                              following the the Deletion
                                                                                Deletion Date,
                                                                                            Date, ByteDance
                                                                                                   ByteDance shallshall
 further   certify,   through   verification    processes     developed      in coordination
 further certify, through verification processes developed in coordination with a third party   with  a  third  party
 retained
 retained by by and
                 and at   the sole
                       at the  sole expense
                                     expense of     ByteDance and
                                                of ByteDance        and subject    to the
                                                                          subject to  the CMAs’
                                                                                           CMAs' approval,
                                                                                                    approval, thatthat all
                                                                                                                        all
 Protected Data
 Protected     Data has    been irretrievably
                      has been   irretrievably destroyed          globally (the
                                                   destroyed globally        (the "Global    Deletion Verification").
                                                                                  “Global Deletion        Verification”).
 ByteDance shall
 ByteDance              take, and
                 shall take,   and shall
                                     shall ensure    that its
                                           ensure that     its Affiliates    take, all
                                                                Affiliates take,   all remedial
                                                                                       remedial actions      identified by
                                                                                                   actions identified     by
 the third
 the third party,
             party, inin its
                         its sole
                             sole discretion,
                                   discretion, asas aa result
                                                        result of    the Global
                                                                 of the           Deletion Verification
                                                                         Global Deletion     Verification within
                                                                                                              within thirty
                                                                                                                       thirty
 (30) days
 (30)  days of    its completion
               of its                 unless otherwise
                       completion unless      otherwise extended
                                                             extended in  in writing
                                                                              writing by
                                                                                       by the
                                                                                           the CMAs     (including
                                                                                               CMAs (including
 shutting
 shutting down
             down IT IT systems     that continue
                         systems that     continue to to store
                                                          store oror provide
                                                                      provide Access
                                                                                Access toto Protected
                                                                                            Protected Data
                                                                                                         Data until
                                                                                                                until such
                                                                                                                      such
 time that
 time   that all  Protected Data
              all Protected    Data isis irretrievably
                                         irretrievably destroyed).          ByteDance shall
                                                           destroyed). ByteDance          shall provide,
                                                                                                provide, andand shall
                                                                                                                 shall
 ensure   that its
 ensure that    its Affiliates
                    Affiliates provide,
                                 provide, thethe third
                                                  third party     with all
                                                          party with         Physical Access
                                                                         all Physical   Access and    Logical Access
                                                                                                 and Logical     Access
 necessary
 necessary to  to conduct
                  conduct the the Global    Deletion Verification,
                                  Global Deletion        Verification, including
                                                                           including Physical
                                                                                       Physical Access
                                                                                                   Access and     Logical
                                                                                                            and Logical
 Access
 Access to to interview
               interview Personnel
                            Personnel and      to inspect
                                          and to   inspect any
                                                             any IT IT systems,
                                                                        systems, networks,
                                                                                   networks, hardware
                                                                                                hardware andand software,
                                                                                                                  software,
 data,
 data, communications
         communications systems,
                               systems, properties,
                                           properties, records
                                                          records and and documents,
                                                                           documents, and and correspondence
                                                                                               correspondence in    in the
                                                                                                                       the
 possession
 possession or  or control
                    control of   the Transaction
                              of the                   Parties. ByteDance
                                      Transaction Parties.         ByteDance shallshall deliver   the certification
                                                                                         deliver the  certification of      the
                                                                                                                       of the
 Global    Deletion Verification
 Global Deletion        Verification to to the
                                           the CMAs
                                                CMAs no        later than
                                                          no later    than fourteen
                                                                            fourteen (14)
                                                                                       (14) days
                                                                                             days following
                                                                                                   following completion
                                                                                                                 completion
 of the Global
 of the             Deletion Verification.
          Global Deletion       Verification. Thereafter,         ByteDance shall
                                                 Thereafter, ByteDance           shall annually
                                                                                        annually certify,
                                                                                                   certify, on   behalf of
                                                                                                              on behalf    of
 itself and
 itself       its Affiliates,
         and its  Affiliates, toto the
                                   the CMAs
                                         CMAs thatthat it
                                                        it does
                                                           does notnot possess,
                                                                        possess, and
                                                                                  and cannot
                                                                                        cannot Access,
                                                                                                Access, any     Protected
                                                                                                           any Protected
 Data or
 Data   or copies    thereof.
            copies thereof

          11.8     Restricted Access
          11.8 Restricted                to Protected
                                 Access to    Protected Data.
                                                          Data. Following
                                                                  Following thethe Deletion
                                                                                    Deletion Date,
                                                                                              Date, ByteDance
                                                                                                     ByteDance
 and
 and TikTok
      TikTok Inc.
                Inc. shall
                     shall not   take possession
                             not take possession of  of or
                                                         or Access,
                                                            Access, and
                                                                      and shall
                                                                           shall ensure  that none
                                                                                 ensure that   none of  their
                                                                                                     of their
 respective
 respective Affiliates    take possession
              Affiliates take    possession of of or
                                                  or Access,
                                                      Access, any    Protected Data,
                                                                any Protected    Data, whether
                                                                                       whether Legacy
                                                                                                  Legacy Protected
                                                                                                            Protected
 Data  or  Protected   Data   collected,  derived,    or stored  on  or after the  Transfer  Date,
 Data or Protected Data collected, derived, or stored on or after the Transfer Date, without the    without   the
 prior written consent
 prior written   consent of    the CMAs.
                           of the  CMAs. For  For the
                                                   the avoidance
                                                        avoidance of of doubt,  this Section
                                                                        doubt, this  Section 11.8
                                                                                               11.8 shall
                                                                                                    shall not
                                                                                                            not limit
                                                                                                                limit
 ByteDance’s Access
 ByteDance's     Access to to Excepted
                               Excepted Data
                                          Data or    Public Data
                                                 or Public    Data in
                                                                    in accordance    with this
                                                                       accordance with     this Agreement.
                                                                                                Agreement.
 TTUSDS
 TTUSDS shallshall ensure    that Access
                   ensure that    Access to to Protected
                                               Protected Data
                                                            Data is
                                                                  is limited
                                                                     limited to
                                                                              to those
                                                                                 those Personnel
                                                                                        Personnel who
                                                                                                    who require
                                                                                                          require
 Access
 Access toto fulfill their assigned
             fulfill their             job responsibilities.
                            assigned job    responsibilities. TheThe Transaction     Parties shall
                                                                       Transaction Parties    shall ensure   the TTP
                                                                                                    ensure the    TTP
 implements controls
 implements     controls and
                          and safeguards
                                safeguards to to ensure
                                                 ensure compliance
                                                          compliance withwith these
                                                                               these requirements,    including: (1)
                                                                                     requirements, including:       (1)
 Physical and
 Physical        Logical Access
            and Logical     Access controls
                                    controls necessary
                                                necessary to to safeguard   Protected Data
                                                                safeguard Protected     Data generally;
                                                                                              generally; and     (2)
                                                                                                            and (2)
 the ability
 the          to refuse
     ability to          Logical Access
                 refuse Logical    Access by  by the
                                                 the Transaction      Parties or
                                                      Transaction Parties     or any
                                                                                 any Affiliate   thereof to
                                                                                      Affiliate thereof  to
 Protected Data.
 Protected   Data. In   the event
                     In the         that aa TTP
                              event that     TTP isis removed
                                                      removed or or replaced,
                                                                     replaced, TTUSDS
                                                                                TTUSDS shallshall ensure   the
                                                                                                  ensure the
 previous
 previous TTP retains control of all Protected Data unless and until the CMAs consent to aa new
            TTP   retains   control of  all  Protected   Data   unless  and  until the CMAs     consent  to    new
 TTP
 TTP oror an
          an alternate
              alternate custodian
                         custodian of    Protected Data.
                                      of Protected    Data. TheThe Transaction     Parties shall
                                                                    Transaction Parties    shall ensure   the TTP
                                                                                                  ensure the   TTP



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                                                              51
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                                                          PURSUANT TO TO 50
                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 promptly
 promptly reports
          reports any
                  any non-compliance with this
                      non-compliance with this Section
                                               Section 11.8 to the
                                                       11.8 to the Third-Party Monitor and
                                                                   Third-Party Monitor and
 CMAs.
 CMAs.

          11.9     Limited Access
          11.9 Limited               to Protected
                             Access to  Protected Data.
                                                    Data. Notwithstanding
                                                           Notwithstanding the the restrictions  in
                                                                                   restrictions in
 Sections
 Sections 11.8
            11.8 and
                  and 11.10,   in addition
                       11.10, in           to TTUSDS
                                  addition to            Personnel who
                                              TTUSDS Personnel        who require
                                                                            require Access
                                                                                    Access toto Protected
                                                                                                Protected Data
                                                                                                           Data
 to fulfill
 to         their assigned
    fulfill their            job responsibilities,
                  assigned job   responsibilities, certain Personnel of
                                                   certain Personnel       the Transaction
                                                                        of the               Parties and
                                                                               Transaction Parties        their
                                                                                                     and their
 Affiliates
 Affiliates may
             may Access
                   Access certain   fields of
                            certain fields    Protected Data
                                           of Protected  Data for
                                                                for the
                                                                    the limited
                                                                        limited purposes
                                                                                 purposes ofof addressing
                                                                                               addressing
 legal
 legal and
       and compliance
             compliance matters
                           matters and
                                    and certain
                                         certain other
                                                 other emergency
                                                        emergency situations    involving the
                                                                     situations involving   the health,
                                                                                                health, safety,
                                                                                                        safety,
 and
 and security
      security of
                of TikTok    users and
                   TikTok users         the public
                                   and the          in and
                                            public in  and outside   the United
                                                           outside the   United States;
                                                                                 States; provided   that any
                                                                                          provided that  any
 such
 such Access
       Access isis strictly in accordance
                   strictly in              with aa protocol
                               accordance with                (the "Limited
                                                    protocol (the              Access Protocol”)
                                                                   “Limited Access     Protocol") developed
                                                                                                    developed
 by the
 by  the Transaction    Parties and
         Transaction Parties         the TTP
                                 and the TTP and
                                               and subject  to the
                                                    subject to the prior
                                                                    prior non-objection
                                                                          non-objection of    the CMAs.
                                                                                          of the  CMAs.

                  (1)
                  (1)      In the Limited
                           In the Limited Access   Protocol, the
                                           Access Protocol,    the Transaction   Parties shall,
                                                                   Transaction Parties   shall, among
                                                                                                among other
                                                                                                        other
 issues, identify
 issues, identify all
                   all circumstances   under which
                       circumstances under   which certain    ByteDance or
                                                     certain ByteDance     or TikTok
                                                                               TikTok Inc.  Personnel may
                                                                                       Inc. Personnel   may
 Access   Protected Data;
 Access Protected     Data; the
                            the requirements
                                requirements related   to those
                                               related to  those Personnel,
                                                                  Personnel, including
                                                                              including any
                                                                                         any citizenship,
                                                                                              citizenship,
 residency,
 residency, location,
             location, and
                        and screening
                             screening requirements;    the particular
                                        requirements; the               fields and
                                                             particular fields and formats
                                                                                   formats of   the Protected
                                                                                            of the  Protected
 Data such
 Data        Personnel may
      such Personnel      may Access;
                               Access; and  the method
                                        and the method forfor providing
                                                              providing such
                                                                          such Access   to Protected
                                                                                Access to  Protected Data,
                                                                                                      Data,
 which shall
 which         be through
         shall be through aa secure,
                              secure, auditable
                                      auditable environment
                                                 environment created
                                                                created and
                                                                         and maintained
                                                                              maintained byby the
                                                                                              the TTP.
                                                                                                   TTP.

                   (2)
                   (2)      Prior to
                            Prior  to ByteDance,
                                      ByteDance, TikTok
                                                    TikTok Inc.,
                                                              Inc., or
                                                                    or any
                                                                       any of   their respective
                                                                             of their respective Affiliates
                                                                                                  Affiliates
 having
 having any
         any Access
               Access toto Protected
                            Protected Data
                                        Data under
                                             under this
                                                     this Section
                                                          Section 11.9,    the Transaction
                                                                    11.9, the                 Parties shall
                                                                               Transaction Parties    shall submit
                                                                                                            submit
 the Limited
 the Limited Access      Protocols to
               Access Protocols      to the
                                        the Third-Party    Monitor and
                                            Third-Party Monitor      and CMAs.
                                                                           CMAs. If     the CMAs
                                                                                     If the CMAs do do not
                                                                                                        not object
                                                                                                            object
 in writing
 in writing within
             within thirty
                      thirty (30)
                             (30) days   following receipt
                                   days following    receipt of  the Limited
                                                              of the Limited Access       Protocol, the
                                                                                Access Protocol,    the lack
                                                                                                         lack of
                                                                                                               of
 action
 action shall
        shall constitute
               constitute aa non-objection.
                              non-objection. If    the CMAs
                                                If the CMAs object      to the
                                                                object to   the proposed    Limited Access
                                                                                proposed Limited      Access
 Protocol, the
 Protocol,  the Transaction     Parties shall
                  Transaction Parties    shall address
                                               address all
                                                        all concerns
                                                            concerns raised
                                                                       raised byby the
                                                                                    the CMAs
                                                                                         CMAs toto the
                                                                                                   the CMAs’
                                                                                                        CMAs'
 satisfaction  in aa revised
 satisfaction in              Limited Access
                     revised Limited             Protocol submitted
                                        Access Protocol     submitted to to the
                                                                            the CMAs     within thirty
                                                                                 CMAs within     thirty (30)
                                                                                                        (30) days
                                                                                                              days
 following
 following receipt
             receipt of   the written
                       of the written objection,   which shall
                                       objection, which           be subject
                                                           shall be  subject toto the
                                                                                  the prior
                                                                                       prior non-objection
                                                                                             non-objection of    the
                                                                                                              of the
 CMAs
 CMAs in in accordance
            accordance withwith the
                                 the same
                                      same procedures
                                            procedures as    the initial
                                                          as the initial Limited
                                                                          Limited Access     Protocol. The
                                                                                    Access Protocol.     The
 Transaction    Parties shall
 Transaction Parties           fully implement,
                         shall fully  implement, and
                                                   and shall
                                                        shall ensure   the TTP
                                                               ensure the    TTP fully   implements, the
                                                                                  fully implements,    the
 Limited Access
 Limited             Protocol prior
           Access Protocol            to ByteDance,
                               prior to  ByteDance, TikTok
                                                       TikTok Inc.,
                                                                 Inc., or
                                                                       or any
                                                                           any of  their respective
                                                                                of their  respective Affiliates
                                                                                                      Affiliates
 having
 having any
         any Access
               Access toto Protected
                            Protected Data
                                        Data under
                                             under this
                                                     this Section
                                                          Section 11.9.
                                                                    11.9. The
                                                                            The Transaction    Parties shall
                                                                                 Transaction Parties    shall
 ensure  the TTP
 ensure the   TTP promptly
                    promptly reports
                                reports any
                                         any non-compliance
                                              non-compliance withwith the
                                                                       the Limited
                                                                             Limited Access    Protocol or
                                                                                       Access Protocol       this
                                                                                                          or this
 Section
 Section 11.9
          11.9 toto the
                    the Third-Party    Monitor and
                        Third-Party Monitor      and CMAs.
                                                      CMAs.

         11.10   Restricted Persons.
          11.10 Restricted    Persons. The
                                        The Transaction     Parties shall
                                             Transaction Parties    shall not transfer, and
                                                                          not transfer, and shall
                                                                                             shall ensure
                                                                                                   ensure
 that none
 that none of  their respective
            of their respective Affiliates
                                 Affiliates or the TTP
                                            or the       transfer, any
                                                   TTP transfer,       Protected Data
                                                                   any Protected   Data to
                                                                                         to any
                                                                                            any CFIUS
                                                                                                 CFIUS
 Restricted Persons
 Restricted  Persons unless
                      unless otherwise
                              otherwise approved
                                         approved byby the
                                                        the CMAs.
                                                             CMAs. TheThe Transaction    Parties shall
                                                                           Transaction Parties    shall
 ensure  that any
 ensure that      Protected Data
              any Protected   Data transferred
                                   transferred to
                                                to third
                                                   third parties  (and therefore
                                                          parties (and therefore not  in the
                                                                                  not in  the possession
                                                                                              possession of
                                                                                                          of
 the Transaction
 the               Parties) is
      Transaction Parties)  is subject to the
                               subject to the vendor
                                              vendor reviews
                                                      reviews and
                                                                and policies  under Article
                                                                     policies under  Article XIII.
                                                                                              XIII. The
                                                                                                     The
 Transaction   Parties shall
 Transaction Parties   shall ensure  the TTP
                             ensure the  TTP promptly
                                               promptly reports
                                                          reports any
                                                                   any non-compliance
                                                                       non-compliance with with this
                                                                                                this Section
                                                                                                     Section
 11.10  to the
 11.10 to  the Third-Party   Monitor and
               Third-Party Monitor    and CMAs.
                                           CMAs.

         11.11
         11.11 Separate
                 Separate Credentials.  By no
                          Credentials. By  no later  than the
                                               later than the Operational   Date, TTUSDS
                                                              Operational Date,   TTUSDS shallshall
 ensure the TTP
 ensure the       implements controls
             TTP implements   controls such  that any
                                       such that       Logical Access
                                                  any Logical  Access toto Protected
                                                                           Protected Data
                                                                                     Data requires
                                                                                           requires
 additional,
 additional, separate
             separate credentials.
                      credentials. TTUSDS
                                   TTUSDS shall
                                              shall ensure that the
                                                    ensure that  the controls implemented jointly
                                                                     controls implemented    jointly by
                                                                                                     by
 the TTP
 the      via the
     TTP via  the MSA
                  MSA and
                        and TTUSDS
                            TTUSDS require
                                       require credentials  that are
                                               credentials that      based on
                                                                 are based  on security best practices
                                                                               security best  practices


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                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
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 (e.g., multiple
 (e.g., multiple factors
                  factors of
                          of authentication)
                             authentication) and
                                               and restrict  Logical Access
                                                    restrict Logical          based on
                                                                     Access based   on aa Person's
                                                                                          Person’s physical
                                                                                                     physical
 location  to the fullest extent possible  and   need to  Access  Protected  Data to fulfill his
 location to the fullest extent possible and need to Access Protected Data to fulfill his or her or her
 assigned   job responsibilities,
 assigned job                     in order
                responsibilities, in        to ensure
                                     order to  ensure compliance     with this
                                                       compliance with    this Agreement.
                                                                               Agreement. TTUSDS
                                                                                             TTUSDS shall shall
 ensure  the TTP
 ensure the   TTP only
                   only allows   Personnel of
                         allows Personnel       the TTP
                                             of the TTP and
                                                          and TTUSDS
                                                               TTUSDS whowho need
                                                                               need Access
                                                                                     Access toto fulfill their
                                                                                                 fulfill their
 assigned   job responsibilities,
 assigned job   responsibilities, or
                                  or other  Persons only
                                     other Persons          in accordance
                                                      only in              with the
                                                               accordance with  the Limited
                                                                                    Limited Access
                                                                                               Access
 Protocol or
 Protocol      with prior
            or with       written consent
                    prior written  consent of   the CMAs,
                                             of the CMAs, to to hold
                                                                hold credentials that allow
                                                                     credentials that         Logical
                                                                                      allow Logical
 Access
 Access toto Protected
             Protected Data.
                        Data.

         11.12   Data Security
         11.12 Data   Security Certifications.  Each of
                               Certifications. Each      the Transaction
                                                      of the               Parties shall
                                                             Transaction Parties   shall submit,
                                                                                         submit, and
                                                                                                 and
 shall
 shall ensure the TTP
       ensure the TTP submits,  to the
                       submits, to the CMAs,
                                       CMAs, onon aa semiannual  basis, aa certification
                                                     semiannual basis,     certification regarding its
                                                                                         regarding its
 full
 full compliance  with this
      compliance with  this Agreement’s
                            Agreement's requirements
                                          requirements related  to Protected
                                                        related to Protected Data.
                                                                               Data.

         11.13
         11.13 Training    by the
                  Training by  the TTP.  TTUSDS shall
                                   TTP. TTUSDS     shall ensure the TTP
                                                         ensure the TTP regularly,
                                                                        regularly, and
                                                                                   and not
                                                                                        not less than
                                                                                            less than
 annually,  trains the
 annually, trains  the TTP’s
                       TTP's relevant  Personnel (including
                              relevant Personnel (including training
                                                            training new
                                                                     new relevant  Personnel as
                                                                         relevant Personnel   as part
                                                                                                  part
 of the initial
 of the initial onboarding  process) on the MSA   and this Agreement’s  requirements   related
                onboarding process) on the MSA and this Agreement's requirements related to    to
 Protected Data.
 Protected   Data.

                                               ARTICLE XII
                                               ARTICLE XII

                     DATA PRIVACY
                     DATA         AND CYBERSECURITY
                          PRIVACY AND CYBERSECURITY PROGRAM
                                                    PROGRAM

          12.1    Program Establishment.
          12.1 Program      Establishment. TTUSDS
                                               TTUSDS shall
                                                          shall establish
                                                                establish and
                                                                          and maintain,
                                                                              maintain, and
                                                                                          and shall
                                                                                              shall ensure
                                                                                                    ensure
 the TTP
 the TTP establishes
           establishes and
                        and maintains,
                            maintains, aa comprehensive
                                            comprehensive data
                                                            data privacy
                                                                  privacy and
                                                                           and cybersecurity
                                                                               cybersecurity program
                                                                                               program
 (each, aa "DPCP")
 (each,    “DPCP”) that
                      that shall  include policies
                           shall include   policies and
                                                    and procedures   to ensure
                                                         procedures to  ensure compliance    with this
                                                                               compliance with    this
 Agreement,    including measures
 Agreement, including     measures to to safeguard  Protected Data,
                                         safeguard Protected   Data, Excepted
                                                                      Excepted Data,
                                                                                Data, and   Public Data
                                                                                        and Public  Data
 (each  as within  the respective   possession  of TTUSDS     and  the TTP)  and  to enforce
 (each as within the respective possession of TTUSDS and the TTP) and to enforce the Physicalthe Physical
 Access
 Access and    Logical Access
          and Logical   Access restrictions
                                 restrictions and
                                              and Source
                                                   Source Code
                                                           Code and   Related Files
                                                                  and Related  Files security
                                                                                     security measures.
                                                                                              measures.
 For the
 For the avoidance
          avoidance ofof doubt,  the TTP
                         doubt, the        DPCP shall
                                      TTP DPCP     shall only
                                                         only apply  with respect
                                                              apply with           to the
                                                                          respect to  the TTP’s
                                                                                          TTP's roles
                                                                                                 roles and
                                                                                                       and
 responsibilities
 responsibilities as
                   as defined by the
                      defined by   the MSA.
                                       MSA.

                  (1)
                  (1)      TTUSDS,
                           TTUSDS, in in coordination   with the
                                         coordination with    the TTP
                                                                   TTP and
                                                                         and Third-Party    Monitor, shall
                                                                             Third-Party Monitor,     shall
 develop  the DPCP
 develop the   DPCP in in accordance  with standards
                          accordance with   standards developed
                                                        developed or or published  by the
                                                                        published by   the following
                                                                                            following
 standards
 standards organizations
            organizations and/or
                            and/or as  further specified:
                                    as further             (i) NIST,
                                               specified: (i)  NIST, including
                                                                       including NIST
                                                                                  NIST Special    Publication
                                                                                         Special Publication
 800-82,
 800-82, Guide
          Guide toto Industrial
                     Industrial Control
                                Control Systems    (2015); (ii)
                                         Systems (2015);     (ii) the
                                                                  the NIST
                                                                      NIST Framework
                                                                             Framework for for Improving
                                                                                               Improving
 Critical
 Critical Infrastructure
          Infrastructure Cybersecurity,    Draft Version
                           Cybersecurity, Draft  Version 1.1     (January 10,
                                                            1.1 (January       2017); (iii)
                                                                           10, 2017);  (iii) NIST
                                                                                             NIST Special
                                                                                                   Special
 Publications 800-53
 Publications   800-53 and
                         and 800-171,   Revision 4;
                             800-171, Revision       (iv) ISO,
                                                  4; (iv)        including ISO/IEC
                                                          ISO, including               27001 and
                                                                            ISO/IEC 27001          27002
                                                                                               and 27002
 standards;  (v) the
 standards; (v)  the successor   versions of
                      successor versions   of each
                                              each of
                                                   of Section
                                                       Section 12.1(1)(i)-(iv);   (v) the
                                                                 12.1(1)(i)-(iv); (v) the Center
                                                                                           Center for
                                                                                                  for Internet
                                                                                                       Internet
 Security;
 Security; or (vi) another standards organization with provisions pertaining to data protection as
            or (vi) another  standards  organization   with  provisions   pertaining  to data  protection  as
 communicated
 communicated by  by the
                      the Third-Party   Monitor or
                          Third-Party Monitor    or CMAs.
                                                    CMAs.

                  (2)
                  (2)     TTUSDS,
                          TTUSDS, in in coordination   with the
                                        coordination with   the TTP
                                                                 TTP and
                                                                      and Third-Party      Monitor, shall
                                                                           Third-Party Monitor,      shall
 ensure  that the
 ensure that  the DPCP
                  DPCP includes,
                         includes, consistent  with the
                                    consistent with  the framework
                                                         framework on     which it
                                                                      on which    it is
                                                                                     is based,
                                                                                        based, provisions
                                                                                                provisions
 for: the encryption
 for: the encryption of
                      of all Protected Data,
                         all Protected Data, Excepted
                                              Excepted Data,
                                                         Data, and  Public Data
                                                                and Public  Data in in transit
                                                                                       transit and
                                                                                               and select
                                                                                                   select
 Protected Data,
 Protected  Data, Excepted
                   Excepted Data,
                              Data, and Public Data
                                    and Public  Data at
                                                      at rest
                                                         rest as identified in
                                                              as identified in the
                                                                                the DPCP;
                                                                                     DPCP; inventory
                                                                                             inventory of
                                                                                                        of
 authorized
 authorized devices,
              devices, software,
                       software, hardware,
                                  hardware, applications,
                                             applications, and
                                                            and credentials;
                                                                 credentials; secure
                                                                               secure configurations
                                                                                        configurations of
                                                                                                        of
 systems
 systems and
           and devices;
               devices; data
                         data recovery;
                              recovery; security  training; Physical
                                         security training; Physical Access
                                                                      Access and      Logical Access
                                                                                and Logical    Access


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                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
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 controls;
 controls; log
           log controls;  incident detection,
               controls; incident  detection, handling,
                                              handling, and
                                                         and response;
                                                              response; penetration    testing; and
                                                                         penetration testing;   and other
                                                                                                     other
 robust processes   and protections  necessary  for the activities set forth in
 robust processes and protections necessary for the activities set forth in this this Agreement,
                                                                                      Agreement,
 including the
 including  the secure
                secure submission
                        submission and   inspection of
                                     and inspection  of Source
                                                        Source Code
                                                                Code and    Related Files,
                                                                       and Related    Files, persistent
                                                                                             persistent
 monitoring
 monitoring of   interactions of
              of interactions    the TikTok
                              of the          U.S. App
                                      TikTok U.S.   App and
                                                         and TikTok    U.S. Platform,
                                                              TikTok U.S.    Platform, unauthorized
                                                                                        unauthorized
 Access  to or
 Access to     transmission of
            or transmission      Protected Data,
                              of Protected Data, and
                                                  and other
                                                      other requirements
                                                             requirements setset forth under this
                                                                                 forth under  this
 Agreement.
 Agreement.

                (3)
                (3)      TTUSDS,
                         TTUSDS, in in coordination
                                       coordination withwith the
                                                             the Third-Party Monitor, shall
                                                                 Third-Party Monitor,  shall ensure  that
                                                                                             ensure that
 the DPCP
 the DPCP provides
            provides for  independent IT
                      for independent   IT systems,
                                            systems, networks,
                                                       networks, communications
                                                                  communications systems,
                                                                                   systems, and
                                                                                             and other
                                                                                                  other
 resources that are
 resources that are logically
                    logically segregated
                              segregated from     those of
                                            from those      ByteDance or
                                                         of ByteDance  or any
                                                                          any of its Affiliates,
                                                                              of its Affiliates, and to
                                                                                                 and to
 which none
 which none of  ByteDance or
             of ByteDance    or any
                                any of  its Affiliates
                                     of its  Affiliates has
                                                        has any
                                                            any Access.
                                                                 Access.

                 (4)
                 (4)    TTUSDS,
                        TTUSDS, in in coordination  with the
                                      coordination with   the TTP
                                                              TTP and
                                                                    and Third-Party  Monitor, shall
                                                                        Third-Party Monitor,   shall
 ensure that the
 ensure that the DPCP
                 DPCP provides
                        provides for
                                 for an
                                     an annual vulnerability assessment
                                        annual vulnerability   assessment of  the TikTok
                                                                           of the          U.S. App
                                                                                  TikTok U.S.   App
 and TikTok   U.S. Platform to be conducted  by  the TTP.   TTUSDS     shall ensure that the
 and TikTok U.S. Platform to be conducted by the TTP. TTUSDS shall ensure that the Security  Security
 Officer
 Officer and
         and Technology
              Technology Officer  jointly report
                          Officer jointly        the findings
                                          report the findings of
                                                               of such vulnerability assessments
                                                                  such vulnerability               to
                                                                                      assessments to
 the Third-Party
 the              Monitor and
     Third-Party Monitor  and CMAs,
                               CMAs, along   with their
                                       along with  their plans  to address
                                                         plans to  address any
                                                                           any such  findings.
                                                                               such findings.

                  (5)
                  (5)     As
                          As part
                               part of the DPCP,
                                    of the DPCP, TTUSDS
                                                  TTUSDS shallshall develop,
                                                                    develop, and
                                                                               and shall
                                                                                    shall ensure  the TTP
                                                                                          ensure the  TTP
 implements, aa violation
 implements,      violation reporting
                             reporting plan
                                        plan requiring
                                             requiring all Personnel to
                                                       all Personnel   to report
                                                                          report actual
                                                                                  actual or
                                                                                          or potential
                                                                                             potential
 violations of
 violations     this Agreement
             of this Agreement or    the DPCP
                                  or the  DPCP to
                                                to the
                                                   the Security
                                                       Security Officer    (in the
                                                                 Officer (in   the case
                                                                                   case of
                                                                                         of TTUSDS)
                                                                                            TTUSDS) or or
 Technology
 Technology Officer     (in the
               Officer (in  the case
                                case of  the TTP).
                                      of the TTP). Such
                                                    Such plan
                                                           plan shall include protections
                                                                shall include   protections against
                                                                                              against
 retaliation
 retaliation for
             for all Personnel.
                 all Personnel.

          12.2
          12.2 Adoption.
                   Adoption. The      adoption of
                                 The adoption       the DPCP
                                                 of the  DPCP shall     be subject
                                                                  shall be           to the
                                                                            subject to   the prior
                                                                                             prior non-objection
                                                                                                    non-objection
 of the CMAs.
 of the CMAs. TTUSDS,
                   TTUSDS, in   in coordination    with the
                                   coordination with     the TTP
                                                              TTP and
                                                                    and Third-Party      Monitor, shall
                                                                         Third-Party Monitor,       shall submit
                                                                                                           submit aa
 draft
 draft of  the DPCP
       of the  DPCP to to the
                          the CMAs      within thirty
                               CMAs within      thirty (30)
                                                       (30) days
                                                             days following     the Operational
                                                                    following the                   Date. If
                                                                                     Operational Date.          the
                                                                                                             If the
 CMAs
 CMAs do  do not
             not object   in writing
                  object in  writing toto the
                                          the draft DPCP within
                                              draft DPCP     within thirty
                                                                      thirty (30)
                                                                             (30) days    following receipt,
                                                                                   days following                the
                                                                                                      receipt, the
 lack of
 lack  of action
          action shall
                  shall constitute
                        constitute aa non-objection.
                                       non-objection. If     the CMAs
                                                          If the  CMAs object     to the
                                                                          object to   the proposed    DPCP,
                                                                                           proposed DPCP,
 TTUSDS
 TTUSDS shallshall address,
                   address, and
                              and shall
                                   shall ensure   the TTP
                                          ensure the   TTP addresses,
                                                             addresses, all
                                                                          all concerns
                                                                              concerns raised     by the
                                                                                          raised by  the CMAs
                                                                                                           CMAs to  to
 the CMAs’
 the CMAs' satisfaction      in aa revised
               satisfaction in     revised draft
                                            draft of  the DPCP
                                                   of the DPCP submitted
                                                                   submitted toto the
                                                                                  the CMAs      within thirty
                                                                                        CMAs within      thirty (30)
                                                                                                                  (30)
 days  following receipt
 days following    receipt of   the written
                            of the  written objection,    which revised
                                              objection, which     revised draft
                                                                            draft shall
                                                                                  shall bebe subject  to the
                                                                                             subject to   the prior
                                                                                                               prior
 non-objection
 non-objection of    the CMAs
                  of the  CMAs in  in accordance    with the
                                      accordance with     the same
                                                               same procedures
                                                                      procedures as     the initial
                                                                                    as the  initial draft.
                                                                                                    draft.
 TTUSDS
 TTUSDS shall      implement, and
             shall implement,     and shall
                                       shall ensure   the TTP
                                             ensure the          implements, the
                                                          TTP implements,       the DPCP
                                                                                     DPCP within
                                                                                              within three
                                                                                                      three (3)
                                                                                                              (3) days
                                                                                                                   days
 following
 following non-objection
             non-objection of     the CMAs.
                               of the CMAs.

         12.3
         12.3 Amendment.
                 Amendment. If   If at
                                    at any  time TTUSDS
                                       any time              (including the
                                                  TTUSDS (including     the Security
                                                                            Security Committee),
                                                                                     Committee), thethe
 TTP,  or the CMAs    determine   that the  DPCP    should be  amended,  TTUSDS
 TTP, or the CMAs determine that the DPCP should be amended, TTUSDS shall engage, inshall engage,  in
 coordination  with the
 coordination with   the TTP
                         TTP and
                              and Third-Party     Monitor, with
                                    Third-Party Monitor,     with the
                                                                  the CMAs
                                                                      CMAs toto amend  the DPCP.
                                                                                amend the   DPCP. AnyAny
 amendment
 amendment of    the DPCP
              of the  DPCP shall   be subject
                            shall be            to the
                                       subject to  the prior
                                                       prior non-objection
                                                             non-objection of  the CMAs
                                                                            of the CMAs in in accordance
                                                                                              accordance
 with the
 with the same
           same procedures
                procedures as   the initial
                             as the  initial draft
                                             draft of the DPCP.
                                                   of the DPCP.

          12.4    Dissemination and
          12.4 Dissemination      and Training.  Within thirty
                                      Training. Within  thirty (30)
                                                               (30) days
                                                                    days following   the non-objection
                                                                          following the  non-objection
 of  the CMAs
 of the  CMAs toto the
                    the DPCP,
                        DPCP, TTUSDS
                                TTUSDS shall
                                         shall disseminate,
                                               disseminate, and
                                                            and shall
                                                                 shall ensure  the TTP
                                                                       ensure the  TTP disseminates,
                                                                                        disseminates,
 the DPCP
 the  DPCP toto all
                all appropriate  Personnel. TTUSDS,
                    appropriate Personnel.  TTUSDS, inin coordination   with the
                                                         coordination with    the TTP,
                                                                                  TTP, shall
                                                                                        shall ensure that
                                                                                              ensure that
 all
 all appropriate
      appropriate existing
                   existing and
                            and new  Personnel of
                                new Personnel  of TTUSDS
                                                  TTUSDS and     the TTP
                                                            and the  TTP receive   training on
                                                                           receive training     the
                                                                                             on the


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                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
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                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

 DPCP (the
 DPCP    (the "Training").
              “Training”). TTUSDS
                             TTUSDS shall
                                        shall ensure that all
                                              ensure that all appropriate
                                                              appropriate new   Personnel of
                                                                          new Personnel     of TTUSDS
                                                                                               TTUSDS
 and  the TTP   receive the DPCP   and  complete  the Training,
 and the TTP receive the DPCP and complete the Training, and thatand that all
                                                                          all such
                                                                              such  existing
                                                                                    existing Personnel
                                                                                             Personnel
 complete
 complete aa refresher
              refresher Training
                        Training at  least annually.
                                  at least annually. TTUSDS
                                                     TTUSDS shall
                                                                shall ensure  that the
                                                                      ensure that  the Security
                                                                                       Security Officer
                                                                                                Officer
 (in the
 (in the case
         case of
               of TTUSDS)
                  TTUSDS) and    the Technology
                             and the  Technology Officer   (in the
                                                   Officer (in the case
                                                                   case of the TTP)
                                                                        of the        implement and
                                                                                TTP) implement    and
 oversee   the dissemination
 oversee the   dissemination and
                              and Training
                                  Training processes.
                                             processes.

         12.5
         12.5 Confidentiality.
                Confidentiality. TTUSDS
                                 TTUSDS shall
                                           shall not
                                                 not share,
                                                     share, and
                                                            and shall
                                                                 shall ensure  the TTP
                                                                       ensure the   TTP does
                                                                                         does not
                                                                                               not
 share, the DPCP
 share, the DPCP or
                  or any
                     any contents thereof with
                         contents thereof with ByteDance
                                                ByteDance oror any
                                                               any of  its Affiliates,
                                                                   of its              including their
                                                                           Affiliates, including their
 respective Personnel, without
 respective Personnel, without the
                               the prior written consent
                                   prior written consent of the CMAs.
                                                         of the CMAs.

         12.6
         12.6 Violations.
                  Violations. TTUSDS
                                TTUSDS shall
                                           shall ensure  that the
                                                 ensure that   the Security
                                                                   Security Officer
                                                                             Officer and
                                                                                       and Technology
                                                                                            Technology
 Officer
 Officer report
          report any
                 any actual
                      actual or
                             or potential  violation of
                                potential violation      the DPCP
                                                      of the DPCP and and any
                                                                           any remedial
                                                                                remedial actions    taken to
                                                                                           actions taken   to the
                                                                                                              the
 CMAs
 CMAs as as soon
            soon as
                  as practicable,
                     practicable, and  in any
                                  and in   any event  within one
                                               event within         (1) day
                                                               one (1)   day of
                                                                             of discovery
                                                                                 discovery of   the actual
                                                                                            of the  actual or
                                                                                                            or
 potential  violation. TTUSDS
 potential violation.   TTUSDS shall
                                  shall ensure   that the
                                         ensure that  the Security
                                                           Security Officer
                                                                      Officer and
                                                                              and Technology
                                                                                    Technology Officer
                                                                                                  Officer each
                                                                                                            each
 independently maintain
 independently    maintain aa log
                              log of
                                  of any
                                     any reports
                                          reports received
                                                   received from    individuals regarding
                                                             from individuals     regarding perceived
                                                                                              perceived
 violations of
 violations     the DPCP,
             of the DPCP, whether
                            whether oror not ultimately reported
                                         not ultimately   reported toto the
                                                                        the CMAs.
                                                                            CMAs. Any       violation of
                                                                                      Any violation       the
                                                                                                       of the
 DPCP shall
 DPCP          be deemed
        shall be  deemed toto constitute
                              constitute aa violation
                                            violation of  this Agreement,
                                                       of this  Agreement, and     the failure
                                                                              and the  failure by
                                                                                                by TTUSDS
                                                                                                   TTUSDS or   or
 the TTP
 the TTP toto obtain
              obtain authorizations
                     authorizations and
                                      and approvals    that are
                                           approvals that   are necessary   to comply
                                                                 necessary to            with the
                                                                                comply with    the DPCP
                                                                                                   DPCP shall
                                                                                                            shall
 not
 not excuse
     excuse aa violation
                violation of the DPCP.
                          of the DPCP.

                                               ARTICLE XIII
                                               ARTICLE XIII

                                         VENDOR APPROVALS
                                         VENDOR APPROVALS

          13.1
          13.1 Identification
                  Identification of  Vendors. Within
                                  of Vendors.   Within ninety (90) days
                                                       ninety (90)  days following the Effective
                                                                         following the Effective Date,
                                                                                                 Date,
 the  Transaction   Parties shall submit to the Security Committee,   Third-Party Monitor,  and
 the Transaction Parties shall submit to the Security Committee, Third-Party Monitor, and CMAs   CMAs
 (or, if
 (or, if the
         the Third-Party  Monitor has
             Third-Party Monitor    has not been engaged
                                        not been          by the
                                                 engaged by   the time
                                                                  time of
                                                                       of submission,  within three
                                                                          submission, within  three (3)
                                                                                                    (3)
 days  following   its engagement):
 days following its engagement):

                  (1)
                 (1)       aa list
                              list and
                                   and description
                                        description of
                                                     of all third-party contracts
                                                        all third-party  contracts and
                                                                                   and other
                                                                                        other arrangements
                                                                                               arrangements asas
 of the Effective
 of the Effective Date
                   Date with
                         with third
                                 third parties that support
                                       parties that support or   will support
                                                              or will          the TikTok
                                                                      support the            U.S. App
                                                                                   TikTok U.S.    App or  the
                                                                                                       or the
 TikTok   U.S. Platform,
 TikTok U.S.    Platform, or    that otherwise
                            or that  otherwise support
                                                 support TTUSDS
                                                          TTUSDS and  and have
                                                                          have Access
                                                                                Access toto Protected
                                                                                            Protected Data
                                                                                                       Data or
                                                                                                             or
 systems
 systems on   which Protected
          on which    Protected Data
                                   Data is
                                         is stored,
                                            stored, or that otherwise
                                                    or that otherwise provide    for the
                                                                        provide for  the sale
                                                                                          sale of Protected
                                                                                               of Protected
 Data, other
 Data,        than those
        other than  those on   the Existing
                          on the    Existing Vendors
                                              Vendors and
                                                        and Contracts    List (as
                                                             Contracts List   (as defined   below).
                                                                                  defined below).

                  (2)
                  (2)    aa list
                            list and
                                 and description
                                      description of
                                                   of contracts  that are
                                                      contracts that      with the
                                                                      are with the TTP
                                                                                   TTP or   vendors directly
                                                                                         or vendors  directly
 contracted  by the
 contracted by   the TTP
                     TTP as
                          as of  the Effective
                              of the Effective Date
                                                Date (the
                                                      (the lists
                                                           lists and
                                                                 and summaries    identified in
                                                                      summaries identified   in clauses (1)
                                                                                                clauses (1)
 and (2) of
 and (2)    this Section
         of this  Section 13.1
                          13.1 collectively,   the "Existing
                                 collectively, the             Vendors and
                                                   “Existing Vendors      and Contracts
                                                                               Contracts List”).
                                                                                           List").

 The
 The Transaction  Parties shall
      Transaction Parties shall ensure that the
                                ensure that the Existing
                                                Existing Vendors
                                                         Vendors and
                                                                  and Contracts   List identifies
                                                                       Contracts List  identifies the
                                                                                                  the
 following information
 following  information for
                        for each
                            each contract:  the vendor
                                  contract: the vendor (including
                                                       (including its
                                                                  its place
                                                                      place of
                                                                            of legal
                                                                               legal organization
                                                                                     organization and
                                                                                                    and
 principal
 principal place
           place of business), the
                 of business), the service
                                   service provided,
                                           provided, and
                                                     and any
                                                          any equipment
                                                              equipment supplied.
                                                                          supplied.

        13.2
         13.2 Thereafter,
                 Thereafter, TTUSDS
                             TTUSDS shall,
                                        shall, periodically
                                               periodically and
                                                            and no  less frequently
                                                                 no less             than semi-
                                                                         frequently than  semi-
 annually,
 annually, review  the same
           review the        information described
                       same information               in Section
                                           described in  Section 13.1(1)  for each
                                                                  13.1(1) for each such
                                                                                    such contract,
                                                                                         contract,
 vendor, and
 vendor,  and other
              other arrangement   that is
                    arrangement that   is in
                                          in place, update it
                                             place, update it as
                                                              as necessary  to be
                                                                 necessary to  be accurate
                                                                                  accurate and
                                                                                           and complete
                                                                                               complete


                                                       55
                                                       55
                                                APP-481
                                                APP-481
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                                                CONFIDENTIAL
                                                CONFIDENTIAL PURSUANT
                                                               PURSUANT TO TO 50
                                                                               50 U.S.C.
                                                                                  U.S.C. § § 4565
                                                                                             4565
                                            EXEMPT
                                            EXEMPT FROM   DISCLOSURE UNDER
                                                     FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                    U.S.C. §§ 552
                                                                                              552
                                                                     Parties’ Draft as
                                                                     Parties' Draft as of 8/23/22
                                                                                       of 8/23/22

 as
 as of the date
    of the   date of
                  of review,
                     review, and
                               and submit   the updated
                                    submit the   updated information
                                                           information toto the
                                                                            the Third-Party     Monitor (each
                                                                                Third-Party Monitor       (each
 such                       and  Contracts    List”).
 such list, a "Vendors and Contracts List"). The Transaction Parties shall ensure that the Third-
       list, a “Vendors                                  The Transaction   Parties shall   ensure  that  the  Third-
 Party Monitor
 Party  Monitor reviews      the Existing
                   reviews the   Existing Vendors
                                           Vendors and  and Contracts  List used
                                                            Contracts List   used by
                                                                                  by TTUSDS
                                                                                     TTUSDS and   and each
                                                                                                        each
 Vendors
 Vendors and and Contracts    List and
                 Contracts List        identifies all
                                   and identifies   all contracts that could
                                                        contracts that could permit
                                                                               permit aa vendor
                                                                                          vendor to
                                                                                                  to Access
                                                                                                     Access
 Protected Data
 Protected    Data or  the TikTok
                    or the           U.S. Platform
                            TikTok U.S.   Platform through
                                                       through TTUSDS      (collectively, the
                                                                TTUSDS (collectively,       the "Existing
                                                                                                “Existing
 Vendor Contracts”)
 Vendor     Contracts") and and notifies the Security
                                notifies the  Security Committee
                                                          Committee and    the CMAs
                                                                      and the   CMAs of  of all Existing Vendor
                                                                                            all Existing   Vendor
 Contracts.
 Contracts. TTUSDS
               TTUSDS shallshall ensure  that the
                                 ensure that  the Security
                                                    Security Committee
                                                              Committee andand Third-Party      Monitor provide
                                                                                Third-Party Monitor       provide
 to the
 to the CMAs,     within seven
         CMAs, within             (7) days
                           seven (7)  days of
                                            of aa request  by the
                                                  request by   the CMAs,    information regarding
                                                                   CMAs, information       regarding any
                                                                                                      any current
                                                                                                             current
 or
 or prospective    third-party vendors,
    prospective third-party     vendors, contracts      with third-party
                                           contracts with    third-party vendors,
                                                                          vendors, or   information regarding
                                                                                   or information     regarding
 the review
 the review of of any
                  any current
                       current or
                                or prospective    third-party vendor.
                                   prospective third-party     vendor.

            13.3
            13.3 ReviewReview of     Existing Vendor
                                 of Existing      Vendor Contracts.
                                                              Contracts. TTUSDS
                                                                            TTUSDS shall   shall ensure      that, within
                                                                                                   ensure that,     within forty-
                                                                                                                              forty-
 five (45)
 five   (45) days
               days following
                      following anyany submission
                                          submission under under Section
                                                                   Section 13.1,
                                                                             13.1, thethe Security
                                                                                            Security Committee
                                                                                                         Committee evaluates
                                                                                                                        evaluates
 all
 all of  the Existing
      of the   Existing Vendor
                           Vendor Contracts,
                                      Contracts, withwith review
                                                             review and
                                                                      and oversight
                                                                           oversight by    by the
                                                                                               the Third-Party       Monitor, to
                                                                                                     Third-Party Monitor,          to
 determine
 determine if   if they
                    they are
                          are consistent     with the
                               consistent with      the obligations      under this
                                                           obligations under      this Agreement,
                                                                                         Agreement, and          identify, in
                                                                                                           and identify,     in the
                                                                                                                                 the
 Security
 Security Committee’s
              Committee's sole  sole discretion,
                                       discretion, any       Existing Vendor
                                                       any Existing     Vendor Contracts
                                                                                   Contracts that  that may
                                                                                                         may allow
                                                                                                                allow for
                                                                                                                        for actions
                                                                                                                             actions
 contrary
 contrary to  to this
                  this Agreement
                       Agreement and    and any    information regarding
                                             any information        regarding any        vendor party
                                                                                  any vendor        party toto any   Existing
                                                                                                               any Existing
 Vendor
 Vendor Contract         that causes
             Contract that     causes thethe Security
                                              Security Committee
                                                            Committee to  to believe
                                                                              believe thatthat the
                                                                                                 the vendor's
                                                                                                      vendor’s engagement
                                                                                                                   engagement
 under such
 under            Existing Vendor
          such Existing       Vendor Contract
                                         Contract has       undermined, or
                                                      has undermined,           would be
                                                                            or would       be reasonably        likely to
                                                                                                reasonably likely       to
 undermine, the
 undermine,        the effectiveness
                       effectiveness of      this Agreement,
                                          of this                   including, as
                                                   Agreement, including,           as appropriate,
                                                                                       appropriate, the   the vendor's
                                                                                                               vendor’s ability
                                                                                                                           ability to to
 meet
 meet itsits obligations     under such
             obligations under               Existing Vendor
                                      such Existing        Vendor Contract.
                                                                     Contract. In  In evaluating
                                                                                       evaluating any         Existing Vendor
                                                                                                       any Existing      Vendor
 Contract,
 Contract, TTUSDS
                TTUSDS shall shall ensure     that the
                                    ensure that     the Security
                                                          Security Committee
                                                                     Committee and    and Third-Party         Monitor consider
                                                                                             Third-Party Monitor          consider
 any   concerns      identified   by   the  CMAs.       TTUSDS       shall  ensure     that,
 any concerns identified by the CMAs. TTUSDS shall ensure that, upon a conclusion by the      upon     a conclusion      by  the
 Security
 Security Committee
              Committee and   and Third-Party        Monitor, or,
                                   Third-Party Monitor,               in the
                                                                  or, in the event
                                                                              event thatthat the
                                                                                              the Security
                                                                                                    Security Committee
                                                                                                                 Committee and  and
 the Third-Party
 the                    Monitor do
       Third-Party Monitor         do not
                                        not reach
                                             reach consensus,
                                                      consensus, by  by the
                                                                         the CMAs,
                                                                              CMAs, that  that any     Existing Vendor
                                                                                                 any Existing      Vendor
 Contract     undermines or
 Contract undermines              is contrary
                               or is  contrary to to this
                                                      this Agreement
                                                             Agreement or      that information
                                                                           or that    information regarding
                                                                                                        regarding any       vendor
                                                                                                                      any vendor
 party
 party toto an   Existing Vendor
             an Existing     Vendor Contract
                                         Contract supports
                                                      supports aa concern      that engagement
                                                                    concern that      engagement of          the vendor
                                                                                                         of the   vendor under
                                                                                                                            under an an
 Existing Vendor
 Existing     Vendor Contract
                         Contract has      undermined, or
                                     has undermined,             is reasonably
                                                              or is                 likely to
                                                                    reasonably likely        to undermine,
                                                                                                  undermine, the  the effectiveness
                                                                                                                       effectiveness
 of  this Agreement,
 of this                    including, as
           Agreement, including,           as appropriate,
                                              appropriate, aa concern        that the
                                                                  concern that      the vendor
                                                                                          vendor is  is unable
                                                                                                        unable to to meet    its
                                                                                                                      meet its
 obligations
 obligations underunder an    Existing Vendor
                          an Existing      Vendor Contract         (each such
                                                       Contract (each     such determination,
                                                                                  determination, aa "Contrary
                                                                                                           “Contrary
 Determination”), the
 Determination"),          the Security
                                Security Committee
                                            Committee and/or          the Third-Party
                                                              and/or the                     Monitor shall
                                                                           Third-Party Monitor            shall notify
                                                                                                                  notify TTUSDS
                                                                                                                          TTUSDS
 to which
 to  which the the Existing
                     Existing Vendor
                                Vendor Contract
                                           Contract relates,
                                                         relates, and
                                                                  and TTUSDS
                                                                        TTUSDS shall          immediately: (1)
                                                                                      shall immediately:          (1) cause    the
                                                                                                                       cause the
 termination or
 termination       or modification
                       modification of   of such   Existing Vendor
                                            such Existing       Vendor Contract
                                                                          Contract so       that it
                                                                                        so that    it no  longer allows
                                                                                                      no longer              for
                                                                                                                    allows for
 actions
 actions contrary
            contrary to to this
                            this Agreement,
                                 Agreement, as     as determined
                                                       determined by   by the
                                                                          the Security
                                                                                Security Committee
                                                                                             Committee and/or and/or Third-Party
                                                                                                                        Third-Party
 Monitor in
 Monitor     in their
                 their sole
                        sole discretion;
                               discretion; (2)(2) cause
                                                   cause thethe termination
                                                                termination of  of any
                                                                                     any role
                                                                                            role byby aa vendor
                                                                                                         vendor party      to such
                                                                                                                    party to   such
 Existing Vendor
 Existing     Vendor Contract
                         Contract so      that it
                                     so that   it is
                                                  is no    longer aa party
                                                      no longer              to the
                                                                      party to   the Existing
                                                                                       Existing Vendor
                                                                                                    Vendor Contract;
                                                                                                               Contract; (3) (3) take
                                                                                                                                  take
 all
 all actions
      actions necessary
                 necessary to to end
                                  end and
                                        and prevent       Logical Access
                                              prevent Logical       Access to to Protected
                                                                                  Protected Data  Data or    the TikTok
                                                                                                         or the   TikTok U.S.U.S.
 Platform by
 Platform      by the
                    the vendor
                        vendor at    issue until
                                  at issue   until aa revised
                                                       revised contract
                                                                  contract isis executed
                                                                                executed or    or aa new    vendor is
                                                                                                      new vendor      is
 substituted,
 substituted, if   if applicable,   that resolves
                      applicable, that     resolves the the concerns
                                                             concerns of    the Security
                                                                         of the   Security Committee
                                                                                                Committee and   and Third-Party
                                                                                                                      Third-Party
 Monitor, in
 Monitor,      in their
                   their sole
                         sole discretion,
                               discretion, and and ifif applicable;
                                                         applicable; and    (4) notify
                                                                       and (4)    notify thethe CMAs        within three
                                                                                                  CMAs within        three (3)
                                                                                                                             (3) days
                                                                                                                                  days
 of  the Contrary
 of the                 Determination.
          Contrary Determination.

                (1)
                (1)     Within fourteen
                        Within fourteen (14)
                                        (14) days following the
                                             days following the later
                                                                later of the completion
                                                                      of the             by the
                                                                             completion by  the
 Security Committee   and Third-Party Monitor  of a review of Existing Vendor   Contracts and
 Security Committee and Third-Party Monitor of a review of Existing Vendor Contracts and by    by
 TTUSDS
 TTUSDS of of action
              action regarding
                     regarding any
                               any Contrary  Determination, TTUSDS
                                   Contrary Determination,  TTUSDS shall
                                                                       shall notify the Third-Party
                                                                             notify the Third-Party



                                                                  56
                                                                  56
                                                         APP-482
                                                         APP-482
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                                             CONFIDENTIAL
                                             CONFIDENTIAL PURSUANT
                                                            PURSUANT TO TO 50
                                                                            50 U.S.C.
                                                                               U.S.C. § § 4565
                                                                                          4565
                                         EXEMPT
                                         EXEMPT FROM   DISCLOSURE UNDER
                                                  FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                 U.S.C. §§ 552
                                                                                           552
                                                                  Parties’ Draft as
                                                                  Parties' Draft as of 8/23/22
                                                                                    of 8/23/22

 Monitor and
 Monitor        the CMAs
          and the   CMAs of:  (i) any
                          of: (i)     Existing Vendor
                                  any Existing Vendor Contracts    that have
                                                         Contracts that      been terminated
                                                                        have been terminated or  or
 modified;
 modified; (ii) any vendors terminated as a party to an Existing Vendor Contract; (iii) the reason
            (ii) any vendors terminated  as a party  to an Existing Vendor   Contract; (iii) the reason
 for
 for such termination or
     such termination  or modification;
                          modification; and  (iv) all
                                        and (iv)  all other
                                                      other actions taken to
                                                            actions taken to address
                                                                             address aa Contrary
                                                                                        Contrary
 Determination.
 Determination.

          13.4
          13.4 New New Vendor
                         Vendor Contracts.
                                   Contracts. TTUSDS
                                                 TTUSDS shall shall not
                                                                    not enter   into, and
                                                                         enter into,   and shall
                                                                                              shall ensure     that its
                                                                                                      ensure that   its
 Affiliates
 Affiliates do
             do not
                 not enter  into, any
                     enter into,  any contract    with aa vendor
                                       contract with       vendor that
                                                                    that undermines
                                                                          undermines or       is contrary
                                                                                          or is   contrary to to this
                                                                                                                 this
 Agreement.
 Agreement. TTUSDS,
                TTUSDS, with with the
                                   the oversight
                                        oversight of    the Third-Party
                                                     of the                Monitor, shall
                                                            Third-Party Monitor,        shall ensure      that the
                                                                                                 ensure that    the
 Security
 Security Committee
            Committee continues
                         continues toto review
                                         review allall potential  (other than
                                                       potential (other   than routine
                                                                                routine commercial          transactions
                                                                                           commercial transactions
 between TTUSDS
 between    TTUSDS and and advertising
                             advertising oror e-commerce
                                               e-commerce customers)
                                                               customers) contracts
                                                                            contracts withwith new      vendors or
                                                                                                  new vendors      or
 existing  vendors providing
 existing vendors    providing aa new     type of
                                    new type    of service,   in each
                                                    service, in  each case   that will
                                                                       case that   will support
                                                                                         support the  the TikTok     U.S.
                                                                                                           TikTok U.S.
 App,   the TikTok
 App, the            U.S. Platform,
            TikTok U.S.     Platform, or   that otherwise
                                        or that  otherwise support
                                                             support TTUSDS
                                                                        TTUSDS and   and have
                                                                                           have Access
                                                                                                   Access to to Protected
                                                                                                                 Protected
 Data or
 Data   or systems
           systems on   which Protected
                    on which    Protected Data
                                             Data isis stored  (any such
                                                       stored (any   such contract,
                                                                           contract, aa "New        Vendor
                                                                                           “New Vendor
 Contract”).
 Contract"). TTUSDS
                 TTUSDS shallshall ensure   that the
                                   ensure that    the Security
                                                       Security Committee
                                                                 Committee notifies
                                                                                notifies thethe Security
                                                                                                  Security Officer,
                                                                                                             Officer,
 Third-Party    Monitor, and
 Third-Party Monitor,      and CMAs
                                CMAs of  of any   New Vendor
                                            any New      Vendor Contracts      that undermine
                                                                  Contracts that     undermine or     or are
                                                                                                         are contrary
                                                                                                              contrary toto
 this Agreement,
 this               including based
      Agreement, including      based on    information regarding
                                        on information      regarding any     vendor party
                                                                         any vendor     party to to aa New
                                                                                                       New Vendor
                                                                                                              Vendor
 Contract   that supports
 Contract that   supports aa concern    that engagement
                              concern that    engagement of      the vendor
                                                              of the  vendor under
                                                                               under aa New
                                                                                          New Vendor
                                                                                                   Vendor Contract
                                                                                                             Contract
 has  undermined, or
 has undermined,        is reasonably
                     or is               likely to
                           reasonably likely     to undermine,
                                                     undermine, thethe effectiveness
                                                                        effectiveness of      this Agreement,
                                                                                          of this   Agreement,
 including, as
 including,   as appropriate,
                 appropriate, aa concern     that the
                                  concern that    the vendor
                                                       vendor will
                                                                will be
                                                                      be unable
                                                                          unable toto meet
                                                                                      meet its its obligations    under aa
                                                                                                   obligations under
 New Vendor
 New   Vendor Contract.       Where the
                 Contract. Where      the Security
                                           Security Committee
                                                       Committee determines
                                                                     determines thatthat aa potential    New Vendor
                                                                                             potential New       Vendor
 Contract
 Contract isis not
               not consistent   with this
                   consistent with    this Agreement
                                           Agreement in   in its
                                                             its sole
                                                                 sole discretion,    the Transaction
                                                                       discretion, the                      Parties shall
                                                                                          Transaction Parties         shall
 not
 not execute
      execute such
               such contract.    Upon request
                     contract. Upon      request byby the
                                                       the CMAs,
                                                           CMAs, TTUSDS
                                                                     TTUSDS shall shall provide
                                                                                         provide the  the CMAs
                                                                                                           CMAs withwith aa
 list
 list of New Vendor
      of New   Vendor Contracts.
                        Contracts.

          13.5
          13.5 Vendor       Program Policy.
                   Vendor Program     Policy. TTUSDS,
                                                TTUSDS, in in coordination    with the
                                                              coordination with     the Third-Party  Monitor,
                                                                                        Third-Party Monitor,
 shall implement aa program
 shall implement        program (the  “Vendor Program”)
                                 (the "Vendor                 whereby all
                                                 Program") whereby           New Vendor
                                                                         all New   Vendor Contracts
                                                                                            Contracts
 (including, for
 (including,        the avoidance
               for the  avoidance of
                                   of doubt,  the vendors
                                      doubt, the  vendors who
                                                           who are
                                                                 are parties  to such
                                                                      parties to such contracts)  will be
                                                                                       contracts) will be
 subject  to initial
 subject to  initial and
                      and periodic
                          periodic review
                                    review and
                                            and non-objection   by the
                                                 non-objection by   the Third-Party    Monitor against
                                                                        Third-Party Monitor     against
 criteria
 criteria and
          and risk
                risk factors to be
                     factors to be identified,
                                   identified, and
                                               and TTUSDS
                                                    TTUSDS shall
                                                               shall adopt
                                                                     adopt aa written
                                                                               written policy for the
                                                                                       policy for the Vendor
                                                                                                       Vendor
 Program (the
 Program          “Vendor Program
            (the "Vendor     Program Policy”),
                                        Policy"), subject  to the
                                                   subject to the prior
                                                                  prior review
                                                                         review and
                                                                                 and non-objection
                                                                                      non-objection of   the
                                                                                                      of the
 Security
 Security Committee
           Committee and      the CMAs.
                          and the CMAs. The The Transaction    Parties shall
                                                 Transaction Parties   shall comply    with the
                                                                             comply with    the requirements
                                                                                                requirements
 of the Vendor
 of the            Program Policy
        Vendor Program       Policy and
                                     and shall
                                         shall share
                                               share all
                                                     all necessary   information with
                                                         necessary information      with TTUSDS
                                                                                         TTUSDS and      the
                                                                                                    and the
 Third-Party    Monitor to
 Third-Party Monitor      to implement
                             implement the
                                         the Vendor
                                             Vendor Program
                                                      Program Policy.
                                                                 Policy.

              (1)
              (1)   TTUSDS
                    TTUSDS shall
                               shall submit
                                     submit aa draft
                                               draft Vendor  Program Policy
                                                     Vendor Program  Policy to
                                                                             to the
                                                                                the Third-Party
                                                                                    Third-Party
 Monitor and
 Monitor and CMAs by no
             CMAs by no later than ninety
                        later than        (90) days
                                   ninety (90)  days following  the Operational
                                                      following the              Date.
                                                                    Operational Date.

                   (2)
                   (2)      The
                            The adoption
                                 adoption of    the Vendor
                                             of the           Program Policy
                                                     Vendor Program      Policy shall    be subject
                                                                                  shall be           to the
                                                                                            subject to  the prior
                                                                                                            prior
 non-objection
 non-objection of     the CMAs.
                   of the  CMAs. If     the CMAs
                                    If the  CMAs do do not
                                                        not object
                                                            object inin writing
                                                                        writing to
                                                                                 to the
                                                                                    the draft   Vendor Program
                                                                                          draft Vendor   Program
 Policy within
 Policy  within thirty
                  thirty (30)
                          (30) days
                               days following
                                     following receipt,    the lack
                                                  receipt, the lack ofof action
                                                                         action shall
                                                                                shall constitute
                                                                                        constitute aa non-
                                                                                                      non-
 objection.
 obj ection. If  the CMAs
              If the  CMAs object      to the
                               object to  the draft
                                              draft Vendor   Program Policy,
                                                     Vendor Program      Policy, TTUSDS
                                                                                   TTUSDS shallshall address
                                                                                                     address all
                                                                                                              all
 concerns
 concerns raised    to the
            raised to   the CMAs’
                            CMAs' satisfaction
                                      satisfaction and
                                                    and submit
                                                         submit aa revised
                                                                    revised draft
                                                                             draft of   the Vendor
                                                                                    of the            Program
                                                                                            Vendor Program
 Policy to
 Policy  to the
            the CMAs       within twenty-one
                 CMAs within      twenty-one (21)
                                                (21) days
                                                      days following
                                                            following receipt
                                                                         receipt of  the written
                                                                                  of the  written objection,
                                                                                                   objection,
 which subsequent
 which   subsequent draft
                       draft shall  be subject
                              shall be           to the
                                         subject to the same
                                                        same procedures
                                                               procedures as    the initial
                                                                             as the  initial draft.
                                                                                             draft. TTUSDS
                                                                                                     TTUSDS
 shall
 shall adopt  the Vendor
       adopt the    Vendor Program
                             Program Policy
                                         Policy within
                                                 within three
                                                         three (3)
                                                               (3) days
                                                                   days following
                                                                          following thethe non-objection
                                                                                            non-objection of   the
                                                                                                            of the
 CMAs.     Upon    adoption   of the  Vendor   Program    Policy,  the  Transaction    Parties
 CMAs. Upon adoption of the Vendor Program Policy, the Transaction Parties shall not execute,   shall  not execute,


                                                            57
                                                            57
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                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

 finalize, or
 finalize,    implement any
           or implement       New Vendor
                          any New   Vendor Contract    that is
                                             Contract that  is inconsistent
                                                               inconsistent with
                                                                              with the
                                                                                    the Vendor
                                                                                        Vendor Program
                                                                                                Program
 Policy,  including the requirement   to obtain the prior non-objection     of the Third-Party
 Policy, including the requirement to obtain the prior non-objection of the Third-Party Monitor. Monitor.
 Any
 Any revisions
       revisions or
                 or amendments
                    amendments toto the
                                    the Vendor    Program Policy
                                         Vendor Program     Policy shall   be subject
                                                                    shall be           to the
                                                                               subject to the prior
                                                                                              prior non-
                                                                                                    non-
 objection  of the CMAs,   subject to  the same  procedures   as the initial
 obj ection of the CMAs, subject to the same procedures as the initial draft.draft.

                  (3)
                  (3)       TTUSDS
                            TTUSDS shall
                                      shall ensure   that the
                                            ensure that     the Security
                                                                Security Committee,     with oversight
                                                                           Committee, with   oversight byby the
                                                                                                             the
 Third-Party   Monitor, oversees
 Third-Party Monitor,      oversees and
                                     and maintains
                                         maintains thethe Vendor     Program Policy
                                                            Vendor Program     Policy governing
                                                                                       governing New
                                                                                                  New Vendor
                                                                                                         Vendor
 Contracts  to ensure
 Contracts to   ensure compliance     with this
                        compliance with    this Agreement
                                                Agreement and        the Vendor
                                                                and the           Program Policy.
                                                                         Vendor Program     Policy. TTUSDS
                                                                                                      TTUSDS
 shall
 shall ensure  that the
       ensure that  the Security
                         Security Committee
                                   Committee and      the Third-Party
                                                and the                   Monitor have
                                                            Third-Party Monitor          the authority
                                                                                   have the             to
                                                                                             authority to
 approve,
 approve, reject,
           reject, mitigate,
                   mitigate, oror otherwise
                                  otherwise condition
                                             condition the the engagement
                                                               engagement of of any  New Vendor
                                                                                any New    Vendor Contract
                                                                                                   Contract or  or
 any vendor party
 any vendor          to aa New
              party to     New Vendor
                                 Vendor Contract.
                                         Contract. TTUSDS
                                                       TTUSDS shallshall ensure  that any
                                                                          ensure that      New Vendor
                                                                                      any New   Vendor
 Contract:  (i) explicitly
 Contract: (i)              incorporates the
                explicitly incorporates   the requirements
                                              requirements of      this Agreement,
                                                                of this Agreement, as as applicable,
                                                                                         applicable, and   (ii)
                                                                                                      and (ii)
 provides
 provides TTUSDS
           TTUSDS with with any
                              any contractual
                                  contractual rights
                                               rights itit will
                                                           will require  to comply
                                                                require to          with the
                                                                            comply with   the Vendor
                                                                                              Vendor Program
                                                                                                        Program
 Policy, including
 Policy, including toto assess  the risk
                         assess the risk factors
                                         factors set
                                                  set forth   in the
                                                       forth in  the Vendor
                                                                     Vendor Program
                                                                              Program Policy
                                                                                        Policy and   to
                                                                                                and to
 periodically
 periodically review    third-party vendors.
               review third-party    vendors.

                  (4)
                  (4)      TTUSDS
                           TTUSDS shallshall ensure that the
                                             ensure that the Security
                                                              Security Committee
                                                                        Committee andand Third-Party
                                                                                          Third-Party
 Monitor considers
 Monitor  considers any     information provided
                       any information              by the
                                          provided by   the CMAs
                                                            CMAs regarding
                                                                     regarding current
                                                                                current or
                                                                                         or prospective  New
                                                                                            prospective New
 Vendor
 Vendor Contracts
          Contracts or   vendors party
                      or vendors          to New
                                   party to  New Vendor
                                                  Vendor Contracts
                                                            Contracts and   implements any
                                                                        and implements    any
 recommendations
 recommendations from        the CMAs
                      from the   CMAs regarding
                                         regarding approving,
                                                    approving, rejecting,
                                                                  rejecting, mitigating,
                                                                             mitigating, or
                                                                                          or otherwise
                                                                                             otherwise
 conditioning   the engagement
 conditioning the   engagement of  of any  New Vendor
                                       any New   Vendor Contract
                                                           Contract or
                                                                     or any  vendor party
                                                                        any vendor          to aa New
                                                                                     party to     New Vendor
                                                                                                      Vendor
 Contract.
 Contract. To
            To support
                 support any
                          any such
                                such recommendation,
                                     recommendation, the  the CMAs
                                                              CMAs maymay provide
                                                                            provide aa justification
                                                                                       justification to
                                                                                                     to the
                                                                                                        the
 Security
 Security Committee
           Committee and and Third-Party    Monitor, based
                               Third-Party Monitor,   based onon relevant
                                                                  relevant available  unclassified
                                                                           available unclassified
 information. To
 information.       the extent
                 To the          that the
                         extent that  the recommendation
                                          recommendation is   is predicated
                                                                 predicated on
                                                                             on classified  information, or
                                                                                classified information,   or
 other information that
 other information    that cannot
                           cannot bebe shared  with the
                                       shared with  the Security
                                                         Security Committee
                                                                    Committee and
                                                                                and Third-Party    Monitor,
                                                                                     Third-Party Monitor,
 the CMAs
 the CMAs may      indicate so
             may indicate     so and
                                 and share  the relevant
                                     share the            information with
                                                relevant information     with those
                                                                              those Security
                                                                                     Security Committee
                                                                                                Committee
 members,
 members, ifif any,  who do
               any, who    do possess   the requisite
                               possess the  requisite qualifications
                                                      qualifications for
                                                                       for Access  to such
                                                                           Access to        information.
                                                                                      such information.

                  (5)
                  (5)      TTUSDS
                           TTUSDS shallshall ensure    that the
                                             ensure that    the Vendor
                                                                  Vendor Policy
                                                                            Policy Program,
                                                                                     Program, atat aa minimum,
                                                                                                      minimum,
 evaluates  third-party vendors
 evaluates third-party    vendors based
                                   based on
                                          on risk
                                              risk factors     including: (a)
                                                     factors including:      (a) the
                                                                                 the type,
                                                                                      type, functionality
                                                                                            functionality and
                                                                                                            and
 intended location
 intended  location ofof equipment,
                         equipment, products,
                                      products, or or services
                                                       services toto be
                                                                      be provided
                                                                          provided by by the
                                                                                         the third-party
                                                                                             third-party vendor;
                                                                                                          vendor;
 (b) the
 (b) the intended
         intended usage
                    usage and
                            and deployment
                                deployment of  of such
                                                   such equipment,
                                                          equipment, products,
                                                                          products, oror services  to or
                                                                                         services to     within aa
                                                                                                      or within
 DTC and
 DTC        the TikTok
        and the TikTok U.S.U.S. Platform;
                                Platform; (c)
                                           (c) the
                                                the nature
                                                     nature ofof Access
                                                                  Access to to Protected
                                                                               Protected Data,
                                                                                           Data, Source
                                                                                                  Source Code
                                                                                                           Code and
                                                                                                                  and
 Related Files,
 Related  Files, the
                 the TikTok    U.S. Platform,
                      TikTok U.S.    Platform, oror other
                                                      other sensitive
                                                            sensitive operations
                                                                          operations ofof TTUSDS
                                                                                          TTUSDS or      the TTP
                                                                                                      or the TTP to to
 be granted
 be  granted to
             to the
                the third-party
                     third-party vendor;
                                  vendor; (d)
                                            (d) the
                                                the third-party
                                                      third-party vendor's
                                                                     vendor’s record
                                                                                 record of
                                                                                         of compliance    with
                                                                                            compliance with
 relevant  U.S. laws,
 relevant U.S.  laws, regulations,
                       regulations, standards,
                                      standards, and
                                                   and contracts,
                                                         contracts, as     well as
                                                                       as well  as any
                                                                                    any applicable
                                                                                         applicable domestic
                                                                                                      domestic oror
 international data
 international  data protection
                      protection laws
                                  laws and
                                        and regulations;
                                             regulations; (e) (e) the
                                                                   the third-party
                                                                        third-party vendor's
                                                                                      vendor’s record
                                                                                                record ofof
 compliance    with cybersecurity
 compliance with     cybersecurity standards
                                     standards and
                                                 and anyany security     breaches, to
                                                             security breaches,      to the
                                                                                        the extent
                                                                                            extent known;    (f) the
                                                                                                     known; (f)  the
 country  in which
 country in  which the
                     the third-party
                          third-party vendor
                                       vendor maintains
                                                maintains its its principal
                                                                  principal place
                                                                              place of   business or
                                                                                      of business   or conducts
                                                                                                       conducts
 substantial
 substantial operations;
              operations; and   (vi) any
                            and (vi) any other
                                          other risk
                                                  risk factors    identified by
                                                        factors identified     by the
                                                                                   the Third-Party    Monitor or
                                                                                        Third-Party Monitor     or
 CMAs
 CMAs in in their
            their sole
                  sole discretion.
                        discretion.

        13.6
        13.6 CMA       Waivers. In
                 CMA Waivers.    In connection with the
                                    connection with  the review
                                                         review of the Existing
                                                                of the Existing Vendors
                                                                                 Vendors and
                                                                                          and
 Contracts List, each
 Contracts List,      Vendors and
                 each Vendors  and Contracts  List, New
                                    Contracts List, New Vendor
                                                         Vendor Contracts,
                                                                 Contracts, and  the development
                                                                             and the development
 and implementation of
 and implementation   of aa Vendor
                            Vendor Program
                                   Program Policy,
                                            Policy, TTUSDS
                                                    TTUSDS maymay request,
                                                                    request, and the CMAs
                                                                             and the CMAs may
                                                                                            may



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                                                          58
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                                                         PURSUANT TO TO 50
                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

 grant in
 grant in their
          their sole
                sole discretion,
                     discretion, aa waiver
                                    waiver for
                                           for any individual third-party
                                               any individual third-party vendors
                                                                          vendors to
                                                                                  to be
                                                                                     be exempt
                                                                                        exempt for
                                                                                               for aa
 specified
 specified period
            period of time or
                   of time  or completely  from such
                               completely from        future reviews.
                                                 such future reviews.

         13.7
         13.7 TTP TTP Access
                       Access to to Vendor
                                     Vendor Information.
                                              Information. TTUSDS
                                                             TTUSDS shallshall ensure  the TTP
                                                                               ensure the   TTP has
                                                                                                  has Access  to
                                                                                                      Access to
 all vendor information
 all vendor  information itit needs
                              needs toto discharge  its responsibilities
                                         discharge its                    under this
                                                        responsibilities under   this Agreement.
                                                                                      Agreement. For For the
                                                                                                         the
 avoidance
 avoidance ofof doubt,  there is
                doubt, there   is aa presumption   that the
                                     presumption that   the sharing
                                                            sharing of
                                                                     of commercially
                                                                        commercially sensitive
                                                                                         sensitive competitive
                                                                                                    competitive
 pricing
 pricing or
          or related information shall
             related information     shall not be necessary
                                           not be necessary for  the TTP
                                                             for the  TTP toto discharge   its responsibilities
                                                                               discharge its   responsibilities
 under this
 under  this Agreement.
             Agreement.

                                               ARTICLE XIV
                                               ARTICLE XIV

                                      CYBERSECURITY AUDITS
                                      CYBERSECURITY AUDITS

         14.1
         14.1 Cybersecurity
                 Cybersecurity Audit.
                                   Audit. TTUSDS
                                             TTUSDS shall shall engage,
                                                                engage, at  its own
                                                                         at its own expense,
                                                                                      expense, aa U.S.-based
                                                                                                  U.S.-based
 independent third
 independent   third party   that has
                     party that   has no
                                       no current
                                           current oror prior
                                                        prior contractual,  financial, or
                                                              contractual, financial,      fiduciary
                                                                                        or fiduciary
 relationship with ByteDance
 relationship with  ByteDance or   or any
                                      any of   its Affiliates,
                                            of its              unless otherwise
                                                    Affiliates, unless otherwise agreed
                                                                                   agreed toto by
                                                                                               by the
                                                                                                   the CMAs
                                                                                                       CMAs
 (the "Cybersecurity
 (the                    Auditor”), to
      “Cybersecurity Auditor"),         to conduct
                                           conduct and and complete
                                                           complete aa cybersecurity
                                                                        cybersecurity audit
                                                                                        audit and
                                                                                               and prepare
                                                                                                    prepare aa
 report
 report regarding  its findings
        regarding its  findings (the
                                  (the "Cybersecurity        Audit”). TTUSDS
                                        “Cybersecurity Audit").         TTUSDS shall,     in coordination
                                                                                   shall, in                with
                                                                                              coordination with
 the TTP,
 the TTP, propose    the terms,
           propose the    terms, scope,
                                  scope, methodology,
                                           methodology, and      timeframe for
                                                             and timeframe    for completion
                                                                                  completion of    the
                                                                                                of the
 Cybersecurity
 Cybersecurity Audit     (the "Cybersecurity
                 Audit (the    “Cybersecurity Audit Audit Plan”).
                                                            Plan"). The
                                                                      The Cybersecurity
                                                                          Cybersecurity Auditor
                                                                                            Auditor and
                                                                                                      and
 Cybersecurity
 Cybersecurity Audit     Plan shall
                 Audit Plan           be subject
                                shall be subject to to the
                                                       the prior
                                                           prior non-objection
                                                                 non-objection of    the CMAs.
                                                                                  of the CMAs. TTUSDS
                                                                                                    TTUSDS
 shall
 shall ensure that the
       ensure that the Cybersecurity
                        Cybersecurity Audit
                                          Audit is is undertaken
                                                      undertaken inin accordance   with the
                                                                      accordance with    the Cybersecurity
                                                                                              Cybersecurity
 Audit  Plan and
 Audit Plan       includes an
             and includes     an audit
                                 audit of
                                        of each
                                           each of    the following:
                                                  of the  following:

                  (1)
                  (1)     the TTP’s
                          the TTP's deployment
                                    deployment of the TikTok
                                               of the        U.S. Platform;
                                                      TikTok U.S. Platform;

                  (2)
                  (2)     the establishment
                          the establishment of the DTC
                                            of the DTC and implementation of
                                                       and implementation    the DTC
                                                                          of the DTC Operating
                                                                                     Operating
 Protocols;
 Protocols;

                (3)
                (3)    TTUSDS’s
                       TTUSDS's and   the TTP’s
                                 and the  TTP's processes
                                                processes and tools for
                                                          and tools for reviewing,  inspecting,
                                                                        reviewing, inspecting,
 and
 and compiling
     compiling Source
                Source Code
                       Code and Related Files
                            and Related Files and
                                              and deployment
                                                  deployment of  Executable Code
                                                              of Executable        in accordance
                                                                             Code in  accordance
 with Section
 with Section 9.10;
              9.10;

                (4)
                (4)     the identification
                        the identification of
                                           of any  vulnerabilities designated
                                              any vulnerabilities  designated as
                                                                              as high
                                                                                 high severity
                                                                                      severity or
                                                                                               or
 equivalent, including any
 equivalent, including      instance of
                       any instance     Malicious Code
                                     of Malicious         in the
                                                    Code in  the Source
                                                                 Source Code
                                                                        Code and   Related Files
                                                                              and Related  Files or
                                                                                                 or
 Executable Code,
 Executable  Code, and  the remediation
                    and the remediation of
                                         of such  issues;
                                            such issues;

              (5)
              (5)     the implementation
                      the implementation and
                                           and effectiveness
                                               effectiveness of the mobile
                                                             of the mobile sandbox
                                                                           sandbox for the
                                                                                   for the
 TikTok U.S. App
 TikTok U.S. App pursuant  to Section
                  pursuant to Section 9.8;
                                      9.8;

                (6)
                (6)     the storage
                        the storage and
                                    and protection
                                        protection of Protected Data,
                                                   of Protected Data, including
                                                                      including verification
                                                                                verification of the
                                                                                             of the
 newly  created credentials for Logical Access to Protected Data and  that none of the Transaction
 newly created credentials for Logical Access to Protected Data and that none of the Transaction
 Parties has
 Parties has Access to Protected
             Access to Protected Data
                                  Data except
                                       except as
                                              as permitted under this
                                                 permitted under this Agreement;
                                                                      Agreement;




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                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

               (7)
               (7)     the secure
                       the  secure and
                                   and fully
                                       fully auditable
                                             auditable environment    through which
                                                        environment through   which Personnel
                                                                                    Personnel of  the
                                                                                               of the
 ByteDance  and its Affiliates may  Access  certain fields of Protected Data pursuant to the Limited
 ByteDance and its Affiliates may Access certain fields of Protected Data pursuant to the Limited
 Access Protocol; and
 Access Protocol; and

                   (8)
                   (8)      TTUSDS’s
                            TTUSDS's and the TTP’s
                                     and the       implementation of
                                             TTP's implementation of and
                                                                     and compliance with the
                                                                         compliance with the
 DPCP.
 DPCP.

          14.2
          14.2     Cybersecurity
                   Cybersecurity Auditor
                                 Auditor and
                                         and Audit Plan.
                                             Audit Plan.

                   (1)
                   (1)      Within one
                            Within   one hundred
                                           hundred and
                                                     and eighty    (180) days
                                                           eighty (180)    days following
                                                                                following thethe Operational      Date,
                                                                                                  Operational Date,
 TTUSDS
 TTUSDS shall
            shall submit
                    submit toto the
                                the CMAs
                                    CMAs the the name
                                                 name of    the proposed
                                                         of the  proposed Cybersecurity
                                                                             Cybersecurity Auditor,
                                                                                               Auditor, thethe
 proposed   terms of
 proposed terms      of engagement,
                        engagement, andand any
                                             any other   information requested
                                                  other information                 by the
                                                                         requested by    the CMAs
                                                                                             CMAs to   to assess  the
                                                                                                          assess the
 proposal.
 proposal. If   the CMAs
             If the  CMAs do  do not
                                  not object  in writing
                                      object in  writing within
                                                           within thirty
                                                                    thirty (30)
                                                                           (30) days    following receipt
                                                                                 days following      receipt of
                                                                                                              of all
                                                                                                                 all
 necessary   information, as
 necessary information,       as determined
                                 determined by by the
                                                   the CMAs
                                                       CMAs in  in their
                                                                    their sole
                                                                          sole discretion,   the lack
                                                                               discretion, the    lack ofof action
                                                                                                            action
 shall
 shall constitute
       constitute aa non-objection.
                      non-objection. If     the CMAs
                                         If the CMAs object       to the
                                                          object to  the proposed
                                                                          proposed Cybersecurity
                                                                                     Cybersecurity Auditor
                                                                                                        Auditor oror
 terms  of engagement,      TTUSDS      shall, within   fourteen   (14)  days  following
 terms of engagement, TTUSDS shall, within fourteen (14) days following receipt of any such receipt   of any  such
 objection,
 objection, propose
             propose aa different
                          different Cybersecurity
                                     Cybersecurity Auditor
                                                       Auditor andand make
                                                                       make changes
                                                                              changes to to the
                                                                                            the proposed     terms of
                                                                                                proposed terms       of
 engagement,
 engagement, in  in each
                     each case
                           case subject   to the
                                 subject to  the same
                                                 same procedures
                                                         procedures as    the initial
                                                                       as the initial proposal.
                                                                                       proposal. If    the CMAs
                                                                                                    If the  CMAs
 object to the
 object to the second
                 second proposed
                          proposed Cybersecurity
                                     Cybersecurity Auditor,
                                                       Auditor, TTUSDS
                                                                   TTUSDS shall,       within fourteen
                                                                               shall, within               (14) days
                                                                                               fourteen (14)    days
 following
 following receipt
             receipt ofof such
                          such objection,
                                 objection, propose    three (3)
                                             propose three    (3) Cybersecurity
                                                                   Cybersecurity Auditors,
                                                                                    Auditors, from       which the
                                                                                                 from which     the
 CMAs
 CMAs maymay select     the Cybersecurity
               select the   Cybersecurity Auditor.
                                              Auditor. TTUSDS
                                                          TTUSDS shallshall engage
                                                                            engage thethe Cybersecurity
                                                                                          Cybersecurity Auditor
                                                                                                             Auditor
 within three
 within  three (3)
                (3) days   following the
                     days following    the non-objection
                                            non-objection of, of, or (if applicable)
                                                                  or (if applicable) selection     by, the
                                                                                       selection by,    the CMAs.
                                                                                                             CMAs.

                   (2)
                   (2)      TTUSDS,
                            TTUSDS, in in coordination    with the
                                           coordination with    the TTP
                                                                    TTP and
                                                                          and Third-Party    Monitor, shall
                                                                               Third-Party Monitor,      shall
 develop   the Cybersecurity
 develop the    Cybersecurity Audit    Plan and,
                                 Audit Plan  and, no  later than
                                                   no later  than twenty-one
                                                                  twenty-one (21)
                                                                                (21) days
                                                                                     days following     the
                                                                                            following the
 engagement
 engagement of      the Cybersecurity
                of the  Cybersecurity Auditor,
                                        Auditor, submit
                                                  submit thethe proposed
                                                                proposed Cybersecurity
                                                                           Cybersecurity Audit      Plan to
                                                                                            Audit Plan    to the
                                                                                                             the
 CMAs.
 CMAs. If     the CMAs
           If the CMAs do  do not
                               not object in writing
                                   object in writing within
                                                      within twenty-one
                                                               twenty-one (21)
                                                                             (21) days
                                                                                  days following
                                                                                        following receipt
                                                                                                     receipt of
                                                                                                              of
 the Cybersecurity
 the Cybersecurity Audit      Plan, the
                       Audit Plan,  the lack
                                        lack of
                                              of action
                                                 action shall
                                                         shall constitute
                                                                constitute aa non-objection.
                                                                              non-objection. If    the CMAs
                                                                                                If the CMAs
 object,
 object, TTUSDS
          TTUSDS shall,      in coordination
                      shall, in                with the
                                coordination with   the TTP
                                                         TTP and
                                                               and Third-Party    Monitor and
                                                                   Third-Party Monitor           within
                                                                                            and within
 fourteen   (14) days
 fourteen (14)          following receipt
                 days following    receipt of
                                            of such
                                               such objection,
                                                     objection, resolve
                                                                 resolve all
                                                                          all concerns
                                                                              concerns raised    by the
                                                                                         raised by   the CMAs
                                                                                                         CMAs
 and
 and submit
      submit aa revised
                 revised Cybersecurity
                          Cybersecurity Audit     Plan to
                                           Audit Plan   to the
                                                           the CMAs,
                                                                CMAs, subject    to the
                                                                        subject to  the same
                                                                                         same procedures
                                                                                                procedures as as
 the initial
 the initial proposal.
             proposal. TTUSDS
                          TTUSDS shall
                                     shall ensure  that the
                                           ensure that  the Cybersecurity
                                                             Cybersecurity Auditor     fully completes
                                                                              Auditor fully   completes thethe
 Cybersecurity
 Cybersecurity Audit
                  Audit inin accordance   with the
                             accordance with    the Cybersecurity
                                                    Cybersecurity Audit      Plan.
                                                                     Audit Plan.

         14.3    Review of
         14.3 Review      of Findings.   TTUSDS shall
                             Findings. TTUSDS        shall ensure  that the
                                                           ensure that  the Security
                                                                             Security Officer
                                                                                       Officer and
                                                                                               and
 Technology
 Technology Officer,   in consultation
              Officer, in                with the
                          consultation with    the Security
                                                    Security Committee,
                                                             Committee, have      the opportunity
                                                                            have the               to review
                                                                                      opportunity to  review
 and
 and comment
     comment on    the preliminary
                on the               findings of
                       preliminary findings        the Cybersecurity
                                                of the Cybersecurity Audit.
                                                                       Audit. TTUSDS
                                                                                 TTUSDS shall
                                                                                           shall ensure  that
                                                                                                 ensure that
 the Cybersecurity  Auditor   submits  to the  CMAs    the preliminary   and   final Cybersecurity
 the Cybersecurity Auditor submits to the CMAs the preliminary and final Cybersecurity Audit        Audit
 report findings within
 report findings within three
                         three (3)
                               (3) days
                                   days of  the completion
                                         of the  completion ofof each
                                                                 each such
                                                                       such report,
                                                                              report, and that the
                                                                                      and that the Security
                                                                                                   Security
 Officer
 Officer and
          and Technology
              Technology Officer
                           Officer submit
                                    submit toto the
                                                the CMAs    their responses
                                                     CMAs their   responses to to such
                                                                                  such reports.
                                                                                       reports.

         14.4
         14.4 Implementation        Plan. Following
                 Implementation Plan.      Following completion
                                                     completion of    the Cybersecurity
                                                                   of the Cybersecurity Audit
                                                                                           Audit and
                                                                                                  and
 submission
 submission of  the final
             of the final Cybersecurity
                          Cybersecurity Audit
                                           Audit report,
                                                 report, TTUSDS
                                                         TTUSDS shall
                                                                    shall ensure   that the
                                                                           ensure that  the Security
                                                                                            Security
 Officer
 Officer submits  to the
         submits to  the CMAs
                         CMAs aa plan    for implementing
                                    plan for implementing all
                                                            all recommendations
                                                                recommendations arising
                                                                                     arising from  the
                                                                                             from the
 Cybersecurity
 Cybersecurity Audit   within sixty
                Audit within          (60) days
                                sixty (60)      following receipt
                                           days following  receipt of  the final
                                                                    of the final Cybersecurity
                                                                                 Cybersecurity Audit
                                                                                                  Audit
 report.
 report. TTUSDS
         TTUSDS shall
                    shall fully  implement such
                          fully implement    such plan within sixty
                                                  plan within        (60) days
                                                               sixty (60)        following its
                                                                           days following   its submission
                                                                                                submission


                                                          60
                                                          60
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                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                          552
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                                                                                   of 8/23/22

 of its remediation
 of its remediation plan
                       plan toto the
                                 the CMAs,
                                     CMAs, absent
                                             absent an
                                                    an objection  by the
                                                        objection by the CMAs
                                                                         CMAs toto such
                                                                                   such plan
                                                                                         plan or
                                                                                              or CMA
                                                                                                  CMA
 approval    for another   timeline.  If the CMAs   object to the plan, TTUSDS    shall
 approval for another timeline. If the CMAs object to the plan, TTUSDS shall resolve anyresolve  any
 concerns
 concerns raised     by the
             raised by   the CMAs,    including by
                             CMAs, including    by submitting
                                                   submitting aa revised  implementation plan
                                                                  revised implementation   plan for
                                                                                                for CMA
                                                                                                    CMA
 review
 review ifif requested
             requested by by the
                             the CMAs,    within such
                                  CMAs, within   such reasonable
                                                       reasonable period
                                                                   period of time as
                                                                          of time as determined
                                                                                     determined byby the
                                                                                                     the
 CMAs
 CMAs in  in their
              their sole
                    sole discretion.
                          discretion.

          14.5
          14.5 Additional
                 Additional Cybersecurity
                            Cybersecurity Audits.
                                          Audits. The
                                                   The CMAs
                                                        CMAs may,    in their
                                                               may, in  their sole
                                                                              sole discretion,
                                                                                   discretion, require
                                                                                               require
 TTUSDS
 TTUSDS to  to undertake
               undertake additional
                         additional Cybersecurity
                                    Cybersecurity Audits,
                                                  Audits, subject to the
                                                          subject to the same
                                                                         same procedures
                                                                               procedures as   the
                                                                                            as the
 initial Cybersecurity
 initial Cybersecurity Audit, but no
                       Audit, but no more than once
                                     more than      (1) per
                                               once (1)     year.
                                                        per year.

         14.6
         14.6 Costs
                Costs of the Cybersecurity
                      of the Cybersecurity Audits.
                                           Audits. TTUSDS
                                                   TTUSDS shall be responsible
                                                          shall be responsible for
                                                                               for all
                                                                                   all fees,
                                                                                       fees,
 costs,
 costs, and
        and expenses
            expenses related to any
                     related to any Cybersecurity
                                    Cybersecurity Audit.
                                                  Audit.

                                                   ARTICLE XV
                                                   ARTICLE XV

                                           THIRD-PARTY AUDITS
                                           THIRD-PARTY AUDITS

        15.1
        15.1 UponUpon aa request
                          request by by the
                                        the CMAs,
                                            CMAs, butbut no
                                                         no more   than once
                                                            more than         (1) per
                                                                        once (1)       year, each
                                                                                   per year, each
 Transaction  Party shall,
 Transaction Party   shall, at its own
                            at its own expense,
                                         expense, engage
                                                   engage aa U.S.-based
                                                             U.S.-based third-party
                                                                          third-party independent
                                                                                       independent auditor
                                                                                                      auditor
 (the "Third-Party
 (the                 Auditor”) to
      “Third-Party Auditor")        to assess its overall
                                       assess its overall compliance    with this
                                                          compliance with    this Agreement    (the
                                                                                  Agreement (the
 “Audit”). For
 "Audit").   For the
                 the avoidance
                      avoidance of of doubt,  the Transaction
                                      doubt, the               Parties may
                                                  Transaction Parties   may propose    the same
                                                                             propose the          third-party
                                                                                           same third-party
 independent auditor.
 independent  auditor. The
                         The relevant
                               relevant Transaction    Party shall
                                         Transaction Party   shall ensure  that the
                                                                    ensure that the Third-Party
                                                                                     Third-Party Auditor   is
                                                                                                   Auditor is
 available to meet
 available to meet and
                    and confer    with the
                         confer with    the CMAs    independent of
                                            CMAs independent      of any
                                                                      any of the other
                                                                          of the  other Transaction   Parties.
                                                                                        Transaction Parties.

                   (1)
                   (1)      Review by
                            Review    by CMAs.
                                         CMAs. The The Third-Party
                                                         Third-Party Auditor
                                                                         Auditor and     the scope,
                                                                                   and the    scope, methodology,
                                                                                                       methodology,
 and  timeframe for
 and timeframe     for completion
                        completion of   the Audit
                                     of the Audit (the    “Audit Plan”)
                                                    (the "Audit     Plan") shall    be subject
                                                                             shall be   subject to to prior
                                                                                                      prior non-
                                                                                                             non-
 objection   of the CMAs.      The  relevant  Transaction
 obj ection of the CMAs. The relevant Transaction Party shallParty   shall submit
                                                                           submit    sufficient
                                                                                     sufficient    information
                                                                                                   information     for
                                                                                                                   for
 the proposed
 the proposed Third-Party
                  Third-Party Auditor
                                Auditor and
                                          and Audit   Plan for
                                               Audit Plan   for the
                                                                 the CMAs
                                                                      CMAs to  to assess   the nominee
                                                                                  assess the    nominee and and
 proposal   within thirty
 proposal within    thirty (30)
                            (30) days  following the
                                 days following    the request
                                                        request of    the CMAs.
                                                                  of the  CMAs. If      the CMAs
                                                                                     If the  CMAs do   do not
                                                                                                           not object
                                                                                                                object
 in writing
 in writing to
             to the
                 the Third-Party
                     Third-Party Auditor
                                   Auditor and    the Audit
                                             and the          Plan within
                                                      Audit Plan      within thirty
                                                                              thirty (30)
                                                                                      (30) days     following receipt,
                                                                                            days following       receipt,
 the lack
 the lack of
           of action
              action shall
                       shall constitute
                             constitute aa non-objection.
                                           non-obj ection. TheThe relevant
                                                                    relevant Transaction
                                                                               Transaction PartyParty shall
                                                                                                        shall ensure
                                                                                                              ensure
 that the
 that the Third-Party
          Third-Party Auditor
                          Auditor starts  the Audit
                                   starts the         within five
                                              Audit within    five (5)
                                                                     (5) days
                                                                         days following
                                                                                following thethe CMAs’
                                                                                                   CMAs' non-non-
 objection
 obj ection and
             and fully
                  fully completes    the Audit
                         completes the          in accordance
                                         Audit in  accordance with with the
                                                                         the Audit    Plan. If
                                                                              Audit Plan.         the CMAs
                                                                                               If the  CMAs object
                                                                                                                object
 to the
 to the proposed
        proposed Third-Party
                    Third-Party Auditor
                                  Auditor oror Audit   Plan, the
                                                Audit Plan,   the Transaction      Party shall
                                                                   Transaction Party       shall submit
                                                                                                   submit anan
 alternative
 alternative Third-Party
              Third-Party Auditor
                             Auditor oror modified
                                          modified Audit     Plan, which
                                                     Audit Plan,     which inin each
                                                                                 each case
                                                                                       case shall
                                                                                              shall resolve    the
                                                                                                     resolve the
 concerns
 concerns raised    to the
            raised to   the CMAs’
                            CMAs' satisfaction,     within fifteen
                                     satisfaction, within   fifteen (15)
                                                                       (15) days
                                                                            days following
                                                                                   following the the Transaction
                                                                                                      Transaction
 Party’s receipt
 Party's  receipt of
                   of any
                      any such
                            such objection,
                                 objection, subject    to the
                                              subject to  the same
                                                               same procedures
                                                                       procedures as     the initial
                                                                                     as the   initial nominee
                                                                                                       nominee or or
 proposal,  as  applicable.   The  Transaction    Parties  shall  be   responsible   for  all
 proposal, as applicable. The Transaction Parties shall be responsible for all fees, costs, andfees,  costs,  and
 expenses
 expenses related    to any
            related to   any Audits.
                              Audits.

                 (2)
                 (2)      Audit Report. Each
                          Audit Report.    Each Transaction  Party shall
                                                Transaction Party   shall require  the respective
                                                                          require the  respective Third-
                                                                                                    Third-
 Party Auditor
 Party          to produce
       Auditor to  produce aa written
                               written final
                                       final Audit
                                             Audit report,  which shall
                                                    report, which        include aa list
                                                                  shall include     list of
                                                                                         of any  identified
                                                                                            any identified
 vulnerabilities or
 vulnerabilities or deficiencies  that have
                     deficiencies that have affected
                                             affected or
                                                      or could
                                                         could affect
                                                               affect such
                                                                      such Transaction      Party’s
                                                                            Transaction Party's
 compliance   with this
 compliance with    this Agreement.
                         Agreement. TheThe Transaction   Party shall
                                            Transaction Party  shall ensure  that the
                                                                     ensure that  the audit
                                                                                       audit report  is
                                                                                              report is
 provided to the
 provided to  the Security
                  Security Committee,
                            Committee, thethe Security
                                              Security Officer, the Third-Party
                                                       Officer, the               Monitor, and
                                                                    Third-Party Monitor,           the
                                                                                              and the



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                                                                                            4565
                                           EXEMPT
                                           EXEMPT FROM   DISCLOSURE UNDER
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 CMAs.
 CMAs. TheThe CMAs
              CMAs may
                   may require
                        require supplemental
                                supplemental reports    if any
                                               reports if      final audit
                                                           any final audit report is not
                                                                           report is not consistent
                                                                                         consistent
 with the
 with the CMAs’
          CMAs' expectations
                expectations related to the
                             related to the details
                                            details of the analysis
                                                    of the  analysis and
                                                                     and conclusions
                                                                         conclusions presented.
                                                                                       presented.

                                                       ARTICLE XVI
                                                       ARTICLE XVI

                                             THIRD-PARTY MONITOR
                                             THIRD-PARTY MONITOR

           16.1      Engagement. Within
           16.1 Engagement.               Within thirty
                                                    thirty (30)
                                                            (30) days
                                                                   days following
                                                                         following the the Effective
                                                                                             Effective Date,
                                                                                                           Date, the
                                                                                                                  the
 Transaction     Parties shall
 Transaction Parties        shall nominate
                                    nominate an       independent third-party
                                                  an independent       third-party monitor
                                                                                      monitor (the (the "Third-Party
                                                                                                         “Third-Party
 Monitor”) to
 Monitor")      to monitor
                    monitor the the Transaction        Parties’ compliance
                                      Transaction Parties'        compliance with with this
                                                                                         this Agreement
                                                                                               Agreement and   and serve
                                                                                                                     serve as
                                                                                                                            as aa
 point
 point ofof contact
            contact forfor the
                            the CMAs.
                                  CMAs. The   The engagement
                                                    engagement of       the Third-Party
                                                                     of the                   Monitor shall
                                                                             Third-Party Monitor                  be subject
                                                                                                           shall be            to
                                                                                                                      subject to
 the prior
 the prior non-objection
             non-objection of         the CMAs.
                                  of the   CMAs. The   The Transaction       Parties shall
                                                            Transaction Parties        shall submit
                                                                                               submit sufficient
                                                                                                         sufficient
 information to
 information     to allow
                     allow thethe CMAs
                                   CMAs to    to assess   the nominee.
                                                 assess the    nominee. If      the CMAs
                                                                             If the  CMAs do    do not
                                                                                                    not object
                                                                                                         object inin writing
                                                                                                                      writing
 within thirty
 within   thirty (30)
                  (30) days      following receipt
                         days following         receipt ofof all  information necessary
                                                             all information      necessary to   to assess   the nominee,
                                                                                                     assess the   nominee, as as
 determined      by  the  CMAs       in  their  sole  discretion,    the  lack  of  action
 determined by the CMAs in their sole discretion, the lack of action shall constitute a non- shall    constitute   a  non-
 objection.
 obj ection. If    the CMAs
               If the   CMAs objectobject to to the
                                                the proposed
                                                     proposed nominee,
                                                                   nominee, thethe Transaction        Parties shall
                                                                                    Transaction Parties         shall nominate
                                                                                                                       nominate aa
 different
 different candidate       within five
             candidate within         five (5)
                                            (5) days    following receipt
                                                 days following       receipt ofof any
                                                                                   any such
                                                                                         such objection,
                                                                                                 objection, subject
                                                                                                               subject toto the
                                                                                                                            the
 same
 same procedures
         procedures as      the initial
                        as the    initial nomination.
                                           nomination. If       the CMAs
                                                             If the  CMAs object
                                                                              object to to the
                                                                                           the second
                                                                                                 second proposed
                                                                                                            proposed Third-
                                                                                                                        Third-
 Party Monitor,
 Party   Monitor, within
                     within fourteen
                                fourteen (14)(14) days    following receipt
                                                   days following       receipt ofof such
                                                                                     such objection,
                                                                                             objection, the the Transaction
                                                                                                                 Transaction
 Parties shall
 Parties   shall propose      three (3)
                  propose three        (3) candidates
                                           candidates meeting
                                                           meeting thethe qualifications
                                                                           qualifications set       forth in
                                                                                               set forth   in Section
                                                                                                               Section 16.2,
                                                                                                                         16.2,
 from   which the
 from which      the CMAs
                      CMAs may   may select      the Third-Party
                                         select the                   Monitor. TTUSDS
                                                      Third-Party Monitor.          TTUSDS shall  shall engage
                                                                                                          engage thethe Third-
                                                                                                                         Third-
 Party Monitor
 Party   Monitor within
                    within three
                               three (3)(3) days   following the
                                            days following       the non-objection
                                                                      non-objection of,   of, or  (if applicable)
                                                                                              or (if   applicable) selection
                                                                                                                      selection
 by, the
 by,  the CMAs.
           CMAs. TTUSDS
                      TTUSDS shall   shall not
                                             not remove
                                                  remove or  or replace    the Third-Party
                                                                 replace the                      Monitor without
                                                                                Third-Party Monitor           without the
                                                                                                                        the prior
                                                                                                                            prior
 written   consent    of  the   CMAs,      and   TTUSDS
 written consent of the CMAs, and TTUSDS shall nominate a     shall   nominate     a replacement
                                                                                     replacement        Third-Party
                                                                                                        Third-Party     Monitor
                                                                                                                        Monitor
 within five
 within   five (5)
                (5) days
                     days following
                             following such such removal,
                                                   removal, subject
                                                               subject toto the
                                                                             the same
                                                                                  same procedures
                                                                                          procedures as       the initial
                                                                                                           as the  initial
 nomination.
 nomination. The  The CMAs,
                        CMAs, in    in their
                                         their sole
                                                sole discretion,
                                                      discretion, maymay direct
                                                                           direct TTUSDS
                                                                                    TTUSDS to     to terminate
                                                                                                      terminate thethe Third-
                                                                                                                        Third-
 Party Monitor
 Party   Monitor andand TTUSDS
                           TTUSDS shall   shall promptly,
                                                 promptly, and      in any
                                                               and in   any event    within three
                                                                             event within       three (3)
                                                                                                        (3) days
                                                                                                             days of
                                                                                                                   of such
                                                                                                                       such
 direction,   terminate the
 direction, terminate       the Third-Party        Monitor. In
                                  Third-Party Monitor.              the event
                                                                 In the          that there
                                                                         event that    there isis aa vacancy
                                                                                                      vacancy in in the
                                                                                                                     the Third-
                                                                                                                         Third-
 Party Monitor
 Party   Monitor position
                    position due due to to removal
                                           removal by  by the
                                                           the CMAs,
                                                                CMAs, resignation
                                                                           resignation by  by the
                                                                                               the Third-Party        Monitor, or
                                                                                                     Third-Party Monitor,        or
 otherwise,
 otherwise, TTUSDS
               TTUSDS shall   shall nominate
                                      nominate aa replacement
                                                      replacement Third-Party          Monitor within
                                                                       Third-Party Monitor          within twenty-one
                                                                                                              twenty-one (21)(21)
 days
 days following
        following such        vacancy, subject
                      such vacancy,        subject toto the
                                                         the same
                                                              same procedures
                                                                      procedures as      the initial
                                                                                     as the   initial nomination.
                                                                                                        nomination.

         16.2    Qualifications. The
         16.2 Qualifications.      The Transaction      Parties shall
                                         Transaction Parties    shall ensure   that the
                                                                       ensure that  the Third-Party    Monitor
                                                                                         Third-Party Monitor
 is an
 is an entity incorporated and
       entity incorporated       with its
                             and with  its principal
                                           principal place
                                                       place of business in
                                                             of business   in the
                                                                              the United
                                                                                  United States
                                                                                           States and   uses
                                                                                                   and uses
 only  Resident U.S.
 only Resident   U.S. Citizens  to monitor
                      Citizens to  monitor compliance       with this
                                              compliance with     this Agreement,
                                                                       Agreement, in  in each
                                                                                         each case  unless
                                                                                               case unless
 otherwise
 otherwise approved    by the
             approved by   the CMAs.
                               CMAs. The The Transaction     Parties shall
                                               Transaction Parties    shall ensure  that the
                                                                            ensure that   the Third-Party
                                                                                              Third-Party
 Monitor possesses
 Monitor   possesses qualifications
                      qualifications appropriate
                                      appropriate forfor monitoring
                                                         monitoring compliance       with this
                                                                       compliance with     this Agreement,
                                                                                                Agreement,
 including experience
 including  experience relevant   to monitoring
                        relevant to  monitoring the the obligations
                                                        obligations of   this Agreement
                                                                      of this Agreement suchsuch as
                                                                                                  as experience
                                                                                                     experience
 with: IT
 with: IT systems,
           systems, cybersecurity,
                     cybersecurity, data
                                     data privacy,
                                           privacy, social
                                                      social media
                                                             media platforms,
                                                                     platforms, content
                                                                                  content moderation,
                                                                                            moderation,
 designing
 designing compliance
             compliance programs,
                          programs, drafting
                                      drafting policies
                                                 policies and
                                                           and procedures
                                                               procedures forfor large
                                                                                 large companies,
                                                                                        companies, andand
 related
 related national
         national security  issues. For
                   security issues.  For each
                                          each Third-Party     Monitor nominee,
                                                 Third-Party Monitor                 the Transaction
                                                                          nominee, the                  Parties
                                                                                          Transaction Parties
 shall
 shall submit  to the
       submit to  the CMAs
                      CMAs aa detailed
                                detailed professional
                                          professional synopsis
                                                          synopsis of   the nominated
                                                                    of the  nominated Third-Party
                                                                                         Third-Party
 Monitor’s experience,
 Monitor's   experience, as  well as
                          as well as any
                                     any additional     information requested
                                           additional information     requested byby the
                                                                                      the CMAs.
                                                                                           CMAs. At     the time
                                                                                                    At the  time
 of the nomination
 of the nomination and
                     and for  the duration
                          for the duration ofof aa Third-Party  Monitor’s engagement
                                                   Third-Party Monitor's     engagement in  in connection    with
                                                                                               connection with
 this Agreement,   the Transaction   Parties   shall ensure  that the  nominated    Third-Party
 this Agreement, the Transaction Parties shall ensure that the nominated Third-Party Monitor has  Monitor   has



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                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

 no
 no current
     current or
              or prior
                 prior contractual,  financial, or
                        contractual, financial,  or fiduciary
                                                    fiduciary relationship  with any
                                                              relationship with  any of  the Transaction
                                                                                      of the  Transaction
 Parties  or their Affiliates.  TTUSDS      shall ensure that the Third-Party  Monitor,
 Parties or their Affiliates. TTUSDS shall ensure that the Third-Party Monitor, for the   for the duration
                                                                                                  duration of
                                                                                                            of
 its engagement
 its engagement in in connection   with this
                      connection with     this Agreement,
                                               Agreement, does
                                                            does not
                                                                  not owe
                                                                      owe any
                                                                           any obligation
                                                                               obligation toto any
                                                                                               any of the
                                                                                                   of the
 Transaction    Parties or
 Transaction Parties        their Affiliates
                         or their            that would
                                  Affiliates that would limit
                                                         limit the
                                                               the independence
                                                                   independence of   the Third-Party
                                                                                  of the  Third-Party
 Monitor or
 Monitor       inhibit the
           or inhibit  the Third-Party   Monitor from
                            Third-Party Monitor    from sharing
                                                         sharing any  information with
                                                                  any information  with the
                                                                                          the CMAs    that the
                                                                                              CMAs that    the
 Third-Party    Monitor or
 Third-Party Monitor         the CMAs
                          or the  CMAs deem
                                          deem relevant   to ensuring
                                                relevant to            the Transaction
                                                             ensuring the               Parties’ compliance
                                                                           Transaction Parties'  compliance
 with this
 with  this Agreement.
            Agreement.

          16.3    Monitoring Agreement.
          16.3 Monitoring                     TTUSDS shall
                              Agreement. TTUSDS            shall negotiate
                                                                 negotiate aa monitoring
                                                                               monitoring agreement       (the
                                                                                              agreement (the
 "Monitoring     Agreement”) with
 “Monitoring Agreement")        with each
                                      each Third-Party      Monitor. The
                                            Third-Party Monitor.        The execution
                                                                             execution of     the Monitoring
                                                                                           of the Monitoring
 Agreement
 Agreement shall    be subject
              shall be         to the
                       subject to the prior
                                       prior non-objection
                                             non-objection of      the CMAs.
                                                               of the   CMAs. TTUSDS
                                                                                 TTUSDS shall  shall submit
                                                                                                     submit aa
 draft
 draft of the Monitoring
       of the  Monitoring Agreement
                          Agreement to  to the
                                           the CMAs      within ten
                                                CMAs within       ten (10)
                                                                       (10) days
                                                                            days following
                                                                                   following thethe non-
                                                                                                    non-
 objection
 obj ection of the CMAs
            of the        to the
                    CMAs to  the Third-Party     Monitor. If
                                  Third-Party Monitor.          the CMAs
                                                             If the  CMAs do do not
                                                                                 not object
                                                                                      object inin writing
                                                                                                  writing to
                                                                                                          to the
                                                                                                             the
 draft Monitoring Agreement
 draft Monitoring                within thirty
                     Agreement within    thirty (30)
                                                 (30) days
                                                      days following      receipt,  the lack   of action
                                                             following receipt, the lack of action shall shall
 constitute
 constitute aa non-objection.
               non-objection. If  the CMAs
                               If the CMAs object
                                               object toto the
                                                           the draft  Monitoring Agreement,
                                                               draft Monitoring      Agreement, TTUSDS
                                                                                                    TTUSDS
 shall
 shall resolve  the concerns
       resolve the           to the
                    concerns to the satisfaction
                                     satisfaction of   the CMAs
                                                    of the  CMAs in  in the
                                                                        the CMAs’
                                                                            CMAs' solesole discretion
                                                                                            discretion and
                                                                                                        and
 submit
 submit aa revised  Monitoring Agreement
           revised Monitoring   Agreement to   to the
                                                  the CMAs      within fourteen
                                                      CMAs within        fourteen (14)
                                                                                    (14) days
                                                                                         days following
                                                                                                following receipt
                                                                                                           receipt
 of the CMAs’
 of the  CMAs' comments,
                  comments, subject   to the
                             subject to  the same
                                              same procedures
                                                     procedures as     the initial
                                                                    as the initial draft.
                                                                                    draft.

        16.4     Within three
        16.4 Within     three (3)
                              (3) days  following the
                                  days following       non-objection of
                                                   the non-objection    the CMAs
                                                                     of the CMAs to to the
                                                                                       the Monitoring
                                                                                           Monitoring
 Agreement,
 Agreement, TTUSDS
               TTUSDS shall
                        shall enter into the
                              enter into the Monitoring
                                             Monitoring Agreement    with the
                                                          Agreement with  the Third-Party  Monitor.
                                                                              Third-Party Monitor.
 TTUSDS
 TTUSDS shall
           shall not
                 not amend
                     amend or  terminate the
                            or terminate   the Monitoring
                                               Monitoring Agreement   without the
                                                           Agreement without   the prior written
                                                                                   prior written
 consent
 consent of  the CMAs.
         of the  CMAs. TTUSDS
                         TTUSDS shall
                                    shall ensure that the
                                          ensure that the Monitoring
                                                          Monitoring Agreement    includes at
                                                                     Agreement includes       least the
                                                                                           at least the
 following  terms:
 following terms:

                  (1)
                  (1)      the CMAs
                           the CMAs shall be third-party
                                    shall be third-party beneficiaries
                                                         beneficiaries of the Monitoring
                                                                       of the Monitoring Agreement;
                                                                                         Agreement;

                (2)
                (2)     the Third-Party
                        the             Monitor shall
                            Third-Party Monitor shall report
                                                      report directly to the
                                                             directly to the CMAs
                                                                             CMAs and
                                                                                  and shall
                                                                                      shall owe
                                                                                            owe aa
 fiduciary duty
 fiduciary      to the
           duty to the CMAs;
                       CMAs;

                (3)
                (3)      the Third-Party
                        the                Monitor shall
                             Third-Party Monitor     shall owe
                                                           owe no
                                                                no obligation  to any
                                                                    obligation to any of  the Transaction
                                                                                      of the  Transaction
 Parties or
 Parties or any
            any other Person that
                other Person   that would
                                    would limit
                                           limit the
                                                 the sharing
                                                      sharing of  information with
                                                               of information  with the
                                                                                    the CMAs    that the
                                                                                         CMAs that   the
 Third-Party  Monitor or
 Third-Party Monitor       the CMAs
                       or the  CMAs deem
                                      deem relevant,    in the
                                             relevant, in  the CMAs’
                                                               CMAs' sole
                                                                        sole discretion, to the
                                                                             discretion, to the
 Transaction  Parties’ compliance
 Transaction Parties'                with this
                       compliance with    this Agreement;
                                               Agreement;

                 (4)
                 (4)     the Third-Party
                         the              Monitor shall
                             Third-Party Monitor    shall attend
                                                          attend all
                                                                 all meetings
                                                                     meetings of  the TTUSDS
                                                                               of the          Board
                                                                                      TTUSDS Board
 and the Security
 and the Security Committee,
                   Committee, andand otherwise
                                     otherwise review
                                                review and
                                                        and observe
                                                             observe TTUSDS’s
                                                                      TTUSDS's and     the Security
                                                                                   and the Security
 Committee’s
 Committee's activities   to ensure
               activities to        the security
                             ensure the security of  Protected Data
                                                 of Protected  Data and   that TTUSDS
                                                                     and that  TTUSDS and    the TTP
                                                                                         and the TTP do
                                                                                                     do
 not
 not engage in activities
     engage in             that undermine
                activities that undermine or
                                           or are inconsistent with
                                              are inconsistent  with this
                                                                     this Agreement;
                                                                          Agreement;

                 (5)
                 (5)     the Third-Party
                         the             Monitor shall
                             Third-Party Monitor    shall monitor  the relationships,
                                                          monitor the  relationships, communications,
                                                                                       communications,
 and  interactions between
 and interactions  between ByteDance
                             ByteDance and   its Affiliates,
                                        and its  Affiliates, on the one
                                                             on the one hand,
                                                                        hand, and
                                                                                and TTUSDS,
                                                                                    TTUSDS, on    the
                                                                                               on the
 other
 other hand,  to ensure
        hand, to        that any
                 ensure that any such
                                 such relationships,
                                      relationships, communications,
                                                      communications, or     interactions do
                                                                          or interactions do not
                                                                                             not
 interfere with
 interfere with TTUSDS’s     independence and
                 TTUSDS's independence      and are
                                                 are consistent  with this
                                                     consistent with  this Agreement;
                                                                           Agreement;




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                                                        63
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                                                                          U.S.C. § § 4565
                                                                                     4565
                                    EXEMPT
                                    EXEMPT FROM   DISCLOSURE UNDER
                                             FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                            U.S.C. §§ 552
                                                                                      552
                                                             Parties’ Draft as
                                                             Parties' Draft as of 8/23/22
                                                                               of 8/23/22

                (6)
                (6)     the Third-Party
                        the             Monitor may,
                            Third-Party Monitor         in its
                                                  may, in  its sole
                                                               sole discretion
                                                                    discretion or
                                                                                or at the direction
                                                                                   at the direction of
                                                                                                    of
 the CMAs, have the authority to conduct or trigger red or blue-team testing or exercises, the cost
 the CMAs,  have  the authority to conduct or trigger red  or  blue-team  testing or  exercises, the cost
 of which shall
 of which       be borne
          shall be borne by
                          by TTUSDS;
                             TTUSDS;

                 (7)
                 (7)     the Third-Party
                         the              Monitor shall
                             Third-Party Monitor         inform the
                                                   shall inform  the CMAs
                                                                     CMAs ofof any
                                                                               any actual
                                                                                   actual or
                                                                                          or potential
                                                                                             potential
 violation of
 violation    this Agreement
           of this             within one
                   Agreement within        (1) day
                                      one (1)  day of becoming aware
                                                   of becoming   aware of the actual
                                                                       of the actual or
                                                                                     or potential
                                                                                        potential
 violation and
 violation and shall
                shall provide, upon request,
                      provide, upon request, any  information to
                                              any information  to the
                                                                  the CMAs
                                                                      CMAs pertaining   to the
                                                                             pertaining to the
 Transaction  Parties’ compliance
 Transaction Parties'              with this
                        compliance with  this Agreement;
                                              Agreement;

                (8)
                (8)    the Third-Party
                       the              Monitor shall
                           Third-Party Monitor   shall provide  the CMAs
                                                       provide the  CMAs withwith periodic
                                                                                  periodic reports
                                                                                           reports as
                                                                                                   as
 requested by the
 requested by the CMAs
                  CMAs detailing   the Transaction
                         detailing the             Parties’ status
                                       Transaction Parties'         implementing and
                                                            status implementing     and complying
                                                                                        complying
 with this
 with this Agreement, including any
           Agreement, including  any actual
                                     actual or
                                            or potential violations of
                                               potential violations     this Agreement;
                                                                     of this Agreement;

                (9)
                (9)     the Third-Party
                        the             Monitor shall
                            Third-Party Monitor shall abide by the
                                                      abide by the CMAs’ guidance and
                                                                   CMAs' guidance and protocols
                                                                                      protocols
 in performing
 in            its functions
    performing its functions under
                             under this
                                   this Agreement;
                                        Agreement;

                 (10) the
                 (10)    the Third-Party  Monitor shall
                              Third-Party Monitor  shall have,
                                                         have, and
                                                               and TTUSDS
                                                                   TTUSDS shall
                                                                            shall provide the Third-
                                                                                  provide the Third-
 Party Monitor
 Party Monitor with,
                 with, the
                       the complete
                           complete ability  to operate
                                     ability to operate and
                                                        and have
                                                            have Access within TTUSDS
                                                                 Access within TTUSDS in in order to
                                                                                            order to
 carry
 carry out its responsibilities
       out its                  under the
               responsibilities under the Monitoring
                                          Monitoring Agreement;
                                                       Agreement;

                 (11) the
                 (11)   the Third-Party  Monitor shall
                            Third-Party Monitor    shall not
                                                         not disclose
                                                             disclose any  information it
                                                                      any information    it obtains in
                                                                                            obtains in
 connection   with the
 connection with   the Monitoring
                       Monitoring Agreement
                                  Agreement or    its services
                                               or its          thereunder to
                                                      services thereunder   to any third party,
                                                                               any third party, except
                                                                                                except
 for the
 for the TTP,
         TTP, Source
               Source Code
                       Code Inspector,
                            Inspector, Cybersecurity
                                       Cybersecurity Auditor,
                                                        Auditor, or
                                                                  or Third-Party
                                                                     Third-Party Auditor
                                                                                  Auditor asas permitted
                                                                                               permitted
 under this
 under  this Agreement,  without the
             Agreement, without  the prior written consent
                                     prior written  consent of  the CMAs;
                                                             of the CMAs;

                (12) TTUSDS
                (12)  TTUSDS shall     be responsible
                                 shall be responsible for
                                                      for all
                                                          all expenses
                                                              expenses and
                                                                       and fees in connection
                                                                           fees in            with
                                                                                   connection with
 the Third-Party
 the             Monitor and
     Third-Party Monitor     the Monitoring
                         and the Monitoring Agreement;
                                              Agreement;

                (13) the
                (13)     the Transaction Parties shall
                             Transaction Parties shall provide  the Third-Party
                                                       provide the              Monitor with
                                                                    Third-Party Monitor  with any
                                                                                               any
 information that
 information that the
                  the Third-Party  Monitor, in
                       Third-Party Monitor, in its
                                               its sole
                                                   sole discretion,
                                                        discretion, deems
                                                                    deems necessary  to verify
                                                                           necessary to verify
 compliance  with  this Agreement;
 compliance with this Agreement;

              (14) upon
              (14)  upon the
                          the request
                              request of  the CMAs,
                                      of the          the Third-Party
                                              CMAs, the               Monitor shall
                                                          Third-Party Monitor shall share with
                                                                                    share with
 the CMAs
 the CMAs any information provided
          any information          to it
                          provided to it from
                                         from the
                                               the Transaction Parties; and
                                                   Transaction Parties; and

                (15) the
                (15)    the CMAs,  in their
                            CMAs, in   their sole
                                             sole discretion,
                                                  discretion, may
                                                              may direct
                                                                   direct TTUSDS
                                                                          TTUSDS to  to terminate
                                                                                        terminate the
                                                                                                   the
 Third-Party Monitor at
 Third-Party Monitor  at any time for
                         any time for any
                                      any reason   without approval
                                           reason without             from the
                                                            approval from   the Transaction   Parties,
                                                                                Transaction Parties,
 and
 and TTUSDS
     TTUSDS shall
               shall promptly,
                     promptly, and  in any
                               and in  any event   within three
                                            event within  three (3)
                                                                (3) days
                                                                    days of
                                                                          of such
                                                                             such direction, terminate
                                                                                  direction, terminate
 the Third-Party
 the             Monitor.
     Third-Party Monitor.

         16.5    Non-Retaliation. None
         16.5 Non-Retaliation.    None of  the Transaction
                                        of the              Parties shall
                                               Transaction Parties        take any
                                                                    shall take any retaliatory
                                                                                   retaliatory
 actions, including withholding
 actions, including withholding payment,  for actions
                                payment, for          taken by
                                              actions taken by the
                                                               the Third-Party   Monitor in
                                                                    Third-Party Monitor   in order to
                                                                                             order to
 evaluate
 evaluate and
           and report
               report on
                      on compliance with this
                         compliance with this Agreement.
                                              Agreement.

          16.6    Responsibilities. In
          16.6 Responsibilities.    In addition  to the
                                        addition to the responsibilities
                                                        responsibilities of the Third-Party
                                                                         of the              Monitor set
                                                                                Third-Party Monitor  set
 forth in
 forth in this
          this Agreement,
               Agreement, TTUSDS
                           TTUSDS shall
                                      shall ensure  that the
                                            ensure that  the Third-Party  Monitor takes
                                                             Third-Party Monitor   takes all
                                                                                         all steps
                                                                                             steps
 necessary
 necessary toto continuously
                continuously monitor   the Transaction
                             monitor the                 Parties’ compliance
                                           Transaction Parties'               with this
                                                                  compliance with  this Agreement,
                                                                                        Agreement,


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                                                    64
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                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 including through:
 including through: regular  interaction with
                     regular interaction  with the
                                               the Transaction   Parties’ Personnel,
                                                   Transaction Parties'   Personnel, including
                                                                                     including their
                                                                                                 their
 management
 management and directors, and the Security Officer, Compliance Officer, ByteDance POC, and
               and directors, and the  Security Officer,  Compliance    Officer, ByteDance   POC,   and
 Technology
 Technology Officer;   inspection of
              Officer; inspection     the Transaction
                                   of the               Parties’ documents,
                                          Transaction Parties'   documents, records,
                                                                              records, policies,
                                                                                       policies, and
                                                                                                 and
 access
 access logs;
        logs; oversight
              oversight of
                         of TTUSDS’s
                            TTUSDS's operations      involving IT
                                        operations involving    IT systems,  Protected Data,
                                                                   systems, Protected   Data, Source
                                                                                              Source
 Code
 Code and  Related Files,
       and Related  Files, Content  Moderation Processes,
                           Content Moderation    Processes, and   vendors; and
                                                              and vendors;  and any
                                                                                 any other
                                                                                     other activities
                                                                                           activities
 deemed
 deemed necessary   by the
          necessary by  the Third-Party   Monitor to
                            Third-Party Monitor    to ensure  the Transaction
                                                      ensure the               Parties’ compliance
                                                                  Transaction Parties'               with
                                                                                        compliance with
 this Agreement.
 this Agreement.

          16.7
          16.7 Annual       Performance Summary.
                   Annual Performance                    TTUSDS shall
                                           Summary. TTUSDS           shall ensure  that the
                                                                           ensure that  the Third-Party
                                                                                            Third-Party
 Monitor submits
 Monitor   submits toto the
                        the CMAs,     within seven
                             CMAs, within            (7) days
                                              seven (7)  days following
                                                               following each
                                                                           each anniversary
                                                                                 anniversary of   the Effective
                                                                                               of the Effective
 Date, aa confidential
 Date,    confidential annual
                         annual performance
                                 performance summary       (each, an
                                                 summary (each,         “Annual Performance
                                                                    an "Annual    Performance
 Summary”).
 Summary"). None  None of   the Transaction
                         of the                Parties shall,
                                Transaction Parties    shall, and  the Transaction
                                                              and the                 Parties shall
                                                                        Transaction Parties   shall ensure  the
                                                                                                    ensure the
 TTP
 TTP shall
      shall not,
             not, request
                  request or
                           or receive
                               receive aa copy
                                          copy ofof any
                                                    any Annual   Performance Summary.
                                                        Annual Performance       Summary. EachEach Annual
                                                                                                    Annual
 Performance Summary
 Performance     Summary shall     generally summarize
                             shall generally               the Third-Party
                                               summarize the                  Monitor’s actions,
                                                                Third-Party Monitor's     actions, decisions,
                                                                                                    decisions,
 and work performance,
 and work    performance, as    well as
                             as well     the resources
                                      as the resources devoted    to such
                                                         devoted to   such efforts,  from the
                                                                            efforts, from  the prior year to
                                                                                               prior year  to
 carry
 carry out  its obligations
       out its                under the
                obligations under    the Monitoring
                                         Monitoring Agreement,
                                                       Agreement, and and also
                                                                          also shall
                                                                               shall detail
                                                                                      detail any
                                                                                             any restrictions
                                                                                                 restrictions
 experienced
 experienced in in carrying
                   carrying out   its obligations.
                             out its  obligations. TTUSDS
                                                     TTUSDS shall
                                                                shall ensure  that the
                                                                       ensure that  the Third-Party   Monitor
                                                                                        Third-Party Monitor
 promptly
 promptly addresses
            addresses any
                        any questions
                             questions from     the CMAs
                                         from the   CMAs regarding
                                                           regarding thethe Annual    Performance Summary.
                                                                            Annual Performance       Summary.

        16.8
        16.8 TikTok
                TikTok Inc.   TikTok Inc.
                         Inc. TikTok   Inc. shall
                                            shall share
                                                  share documentation    with the
                                                         documentation with   the Third-Party Monitor,
                                                                                  Third-Party Monitor,
 and grant the
 and grant the Third-Party  Monitor Physical
               Third-Party Monitor    Physical Access,    which may
                                                Access, which         be escorted,
                                                                 may be  escorted, as
                                                                                   as requested by the
                                                                                      requested by the
 Third-Party Monitor, in
 Third-Party Monitor,  in its
                          its sole
                              sole discretion, to facilitate
                                   discretion, to facilitate the
                                                             the Third-Party Monitor’s assessment
                                                                 Third-Party Monitor's  assessment of
                                                                                                    of
 the Transaction
 the             Parties’ compliance
     Transaction Parties'               with this
                          compliance with    this Agreement.
                                                  Agreement.

                                                ARTICLE XVII
                                                ARTICLE XVII

           CFIUS MONITORING AGENCY
           CFIUS MONITORING AGENCY REVIEW AND INSPECTION
                                   REVIEW AND INSPECTION RIGHTS
                                                         RIGHTS

          17.1
          17.1 Access
                   Access andand Inspection.     Upon one
                                  Inspection. Upon            (1) day’s
                                                         one (1)  day's notice,
                                                                         notice, each
                                                                                  each of   the Transaction
                                                                                         of the                Parties
                                                                                                 Transaction Parties
 shall
 shall allow
       allow and
               and afford    the CMAs
                     afford the  CMAs access
                                          access toto meet  with its
                                                      meet with   its Personnel
                                                                      Personnel or    the Personnel
                                                                                   or the  Personnel of   its
                                                                                                       of its
 Affiliates,
 Affiliates, and   to inspect
              and to   inspect the
                                the books
                                     books and
                                            and records,
                                                  records, equipment,
                                                            equipment, servers,
                                                                          servers, and    facilities, and
                                                                                    and facilities,   and premises
                                                                                                           premises
 owned,   leased, managed,
 owned, leased,     managed, or  or operated
                                    operated inin the
                                                   the United
                                                       United States   by such
                                                                States by  such Transaction      Party or
                                                                                 Transaction Party         its
                                                                                                        or its
 Affiliates
 Affiliates for  the purposes
             for the   purposes ofof monitoring
                                     monitoring compliance        with or
                                                    compliance with     or enforcing    this Agreement;
                                                                           enforcing this                   provided
                                                                                              Agreement; provided
 that in
 that in exigent
         exigent circumstances,
                   circumstances, no  no advance
                                          advance notice     is required.
                                                     notice is  required. This
                                                                            This right   to access
                                                                                  right to  access and   inspect
                                                                                                     and inspect
 extends
 extends toto the
              the Personnel,
                   Personnel, books
                                 books and
                                        and records,
                                             records, equipment,
                                                         equipment, servers,
                                                                      servers, facilities,
                                                                                facilities, and
                                                                                             and premises
                                                                                                  premises ofof any
                                                                                                                any
 third-party contractor
 third-party   contractor oror agent   working on
                                agent working         behalf of
                                                  on behalf   of any
                                                                 any Transaction     Party or
                                                                      Transaction Party         its Affiliates.
                                                                                             or its Affiliates. If
                                                                                                                If
 any  Transaction     Party  does  not  possess  the   authority  or capability  to  afford  such
 any Transaction Party does not possess the authority or capability to afford such access, such     access,  such
 Transaction    Party shall
 Transaction Party             use best
                        shall use  best efforts  to obtain
                                         efforts to         whatever is
                                                     obtain whatever    is required
                                                                           required from     the third-party
                                                                                      from the    third-party
 contractor
 contractor oror agent
                 agent for
                         for such
                              such access   to be
                                    access to  be afforded.     Each of
                                                    afforded. Each       the Transaction
                                                                      of the                 Parties shall
                                                                             Transaction Parties      shall
 cooperate   with the
 cooperate with     the CMAs
                         CMAs and and promptly
                                      promptly provide      the CMAs
                                                   provide the           with information
                                                                 CMAs with     information as  as may   be requested
                                                                                                   may be   requested
 by the
 by  the CMAs
         CMAs in  in their
                      their sole
                            sole discretion   to enforce
                                  discretion to  enforce and
                                                           and monitor
                                                                 monitor compliance
                                                                          compliance with with this
                                                                                                this Agreement.
                                                                                                     Agreement.

         17.2
         17.2 Access    to the
                Access to  the TTP.
                               TTP. TTUSDS
                                      TTUSDS shallshall ensure,   through the
                                                         ensure, through   the MSA,
                                                                               MSA, that
                                                                                       that the
                                                                                            the TTP
                                                                                                TTP
 provides  Physical Access
 provides Physical          to and
                    Access to       tours of
                               and tours     its facilities
                                          of its facilities to
                                                            to the
                                                               the CMAs,
                                                                    CMAs, and    facilitates meetings
                                                                            and facilitates            with
                                                                                             meetings with
 its Personnel
 its Personnel with
               with the
                    the CMAs,
                        CMAs, forfor on-site
                                     on-site reviews
                                             reviews oror audits
                                                          audits during
                                                                   during normal   business hours
                                                                          normal business           to
                                                                                             hours to
 assess the implementation
 assess the implementation of   this Agreement,
                             of this Agreement, andand allows    the CMAs
                                                        allows the   CMAs to to inspect
                                                                                inspect company
                                                                                         company records
                                                                                                   records


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                                                          PURSUANT TO TO 50
                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                               U.S.C. §§ 552
                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

 to verify
 to verify compliance   with this
           compliance with   this Agreement,
                                  Agreement, inin each
                                                  each case  with no
                                                       case with     greater than
                                                                  no greater than one  (1) day’s
                                                                                  one (1)  day's prior
                                                                                                 prior
 notice.
 notice. TTUSDS shall ensure, through the MSA, that the TTP cooperates with the CMAs and
          TTUSDS    shall ensure,  through the MSA,   that the TTP  cooperates  with  the CMAs   and
 provides  the CMAs
 provides the         with all
               CMAs with        information as
                            all information as may   be requested
                                                may be             by the
                                                        requested by  the CMAs,
                                                                          CMAs, inin their
                                                                                     their sole
                                                                                           sole
 discretion, to enforce
 discretion, to enforce and
                        and monitor
                             monitor compliance    with this
                                       compliance with  this Agreement.
                                                             Agreement.

                                               ARTICLE XVIII
                                               ARTICLE XVIII

                                                COMPLIANCE
                                                COMPLIANCE

         18.1
         18.1 Approvals
                 Approvals andand Authorizations.
                                    Authorizations. The
                                                      The Transaction       Parties shall
                                                            Transaction Parties       shall obtain
                                                                                            obtain and
                                                                                                   and maintain,
                                                                                                         maintain,
 and
 and shall
      shall ensure that their
            ensure that their Affiliates
                              Affiliates obtain
                                           obtain and
                                                  and maintain,
                                                       maintain, all    legal, statutory,
                                                                    all legal, statutory, regulatory,
                                                                                            regulatory, or
                                                                                                         or other
                                                                                                            other
 required
 required authorizations
           authorizations and
                            and approvals,   including those
                                approvals, including     those required
                                                                required by by the
                                                                                the government
                                                                                     government of     the
                                                                                                   of the
 People’s Republic
 People's   Republic of
                     of China,    that are
                         China, that   are necessary
                                           necessary toto fully
                                                          fully satisfy   their obligations
                                                                 satisfy their                 under this
                                                                                 obligations under    this
 Agreement.    Each of
 Agreement. Each         the Transaction
                     of the                 Parties intends
                             Transaction Parties    intends toto be
                                                                 be bound
                                                                     bound byby all
                                                                                  all of the obligations
                                                                                      of the               under
                                                                                             obligations under
 this Agreement   regardless   of  impossibility  or foreign   compulsion     and   waives
 this Agreement regardless of impossibility or foreign compulsion and waives any and all     any  and  all
 defenses
 defenses arising
           arising out
                   out of
                        of an inability to
                           an inability  to obtain
                                            obtain any
                                                    any legal,
                                                         legal, statutory,
                                                                 statutory, regulatory,
                                                                             regulatory, or or other
                                                                                               other required
                                                                                                     required
 authorization
 authorization or
                or approval
                   approval necessary.
                              necessary. TheThe Transaction     Parties shall
                                                 Transaction Parties      shall promptly
                                                                                promptly report    to the
                                                                                            report to  the Third-
                                                                                                           Third-
 Party Monitor
 Party  Monitor and
                 and CMAs
                     CMAs any any non-compliance
                                    non-compliance withwith this
                                                             this Section
                                                                   Section 18.1.
                                                                             18.1.

          18.2
           18.2 Compliance
                    Compliance Policies.      Each of
                                   Policies. Each        the Transaction
                                                     of the                Parties, in
                                                             Transaction Parties,   in coordination    with the
                                                                                       coordination with     the
 Security
 Security Committee,
            Committee, the the Security
                               Security Officer,
                                          Officer, Compliance
                                                    Compliance Officer,
                                                                   Officer, or  ByteDance POC
                                                                             or ByteDance     POC (as
                                                                                                    (as applicable
                                                                                                         applicable
 to such
 to  such Transaction     Party), and
           Transaction Party),         the Third-Party
                                  and the                  Monitor, shall
                                           Third-Party Monitor,       shall adopt
                                                                            adopt and   implement, and
                                                                                   and implement,     and shall
                                                                                                           shall
 ensure   that its
 ensure that   its respective  Personnel follow,
                   respective Personnel    follow, aa separate
                                                        separate compliance
                                                                  compliance policy     (each aa "Compliance
                                                                                policy (each     “Compliance
 Policy”)
 Policy") toto govern
               govern its
                        its respective  implementation of
                            respective implementation        of and
                                                                and compliance     with this
                                                                     compliance with     this Agreement.
                                                                                              Agreement. EachEach
 Compliance      Policy  shall be  subject to  the prior   non-objection   of the  CMAs.
 Compliance Policy shall be subject to the prior non-objection of the CMAs. Each of the      Each  of the
 Transaction    Parties shall
 Transaction Parties     shall submit
                               submit aa draft
                                          draft of  its Compliance
                                                 of its                Policy to
                                                        Compliance Policy      to the
                                                                                  the CMAs     within sixty
                                                                                      CMAs within             (60)
                                                                                                       sixty (60)
 days
 days following     the Operational
        following the                  Date, resolve
                        Operational Date,     resolve any
                                                        any concerns
                                                             concerns raised    by the
                                                                        raised by  the CMAs
                                                                                       CMAs withwith respect
                                                                                                      respect toto
 its Compliance
 its                Policy, and
     Compliance Policy,      and submit
                                  submit aa revised
                                            revised draft    to the
                                                       draft to the CMAs     within twenty-one
                                                                     CMAs within     twenty-one (21)
                                                                                                   (21) days
                                                                                                         days
 following
 following receipt
              receipt of
                      of any
                          any comments     from the
                               comments from      the CMAs.
                                                       CMAs. If     the CMAs
                                                                 If the CMAs do  do not
                                                                                    not object  within thirty
                                                                                         object within   thirty (30)
                                                                                                                 (30)
 days
 days following
        following receipt
                    receipt of
                             of any
                                any draft
                                     draft of
                                           of aa Compliance     Policy, the
                                                 Compliance Policy,      the lack
                                                                             lack of
                                                                                   of action
                                                                                      action shall
                                                                                              shall constitute
                                                                                                    constitute aa
 non-objection
 non-objection withwith respect   to that
                         respect to  that Compliance      Policy and
                                          Compliance Policy            the relevant
                                                                  and the  relevant Transaction     Party shall
                                                                                     Transaction Party     shall
 formally adopt
 formally           the Compliance
            adopt the                  Policy within
                        Compliance Policy       within three
                                                         three (3)
                                                               (3) days
                                                                   days following    the non-objection
                                                                         following the    non-objection of    the
                                                                                                           of the
 CMAs.
 CMAs. TTUSDS
            TTUSDS shall
                       shall ensure   that the
                              ensure that  the Security
                                                Security Officer
                                                           Officer and
                                                                     and Security
                                                                         Security Committee
                                                                                    Committee areare responsible
                                                                                                     responsible
 for  the oversight,
 for the              implementation, and
          oversight, implementation,      and maintenance
                                                maintenance of     the Compliance
                                                                of the                Policy for
                                                                        Compliance Policy     for TTUSDS.
                                                                                                  TTUSDS.

                 (1)
                 (1)   Each Transaction
                       Each             Party shall
                            Transaction Party shall ensure that its
                                                    ensure that its respective
                                                                    respective Compliance Policy
                                                                               Compliance Policy
 provides, at
 provides, at aa minimum:
                 minimum:

                        (i)
                        (i)     procedures
                                procedures for
                                            for providing,
                                                providing, receiving,
                                                            receiving, and
                                                                       and responding  to
                                                                           responding to
         information, reports,
         information, reports, and
                               and requests from the
                                   requests from   the TTP,
                                                       TTP, Third-Party   Monitor, and
                                                             Third-Party Monitor,  and CMAs
                                                                                       CMAs as
                                                                                            as
         required under this
         required under this Agreement  within the
                             Agreement within    the specified timelines;
                                                     specified timelines;

                         (ii)
                         (ii)    procedures
                                 procedures forfor coordination between the
                                                   coordination between  the relevant
                                                                             relevant Transaction
                                                                                      Transaction
         Party, its
         Party, its respective
                    respective Affiliates, the TTP,
                               Affiliates, the       the Security
                                                TTP, the Security Committee,   the Security
                                                                   Committee, the  Security Officer, the
                                                                                            Officer, the
         Content
         Content Advisory
                   Advisory Council,   the Technology
                              Council, the  Technology Officer,   the Source
                                                         Officer, the Source Code
                                                                             Code Inspector,  the
                                                                                   Inspector, the



                                                         66
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                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

         Third-Party Monitor, the
         Third-Party Monitor,  the Cybersecurity
                                   Cybersecurity Auditor,  the Third-Party
                                                  Auditor, the Third-Party Auditor,
                                                                           Auditor, and
                                                                                    and other
                                                                                        other
         designees
         designees and third parties
                   and third parties as
                                     as applicable
                                        applicable and
                                                   and as
                                                       as required under this
                                                          required under this Agreement;
                                                                              Agreement;

                        (iii) procedures
                        (iii)   procedures and
                                           and requirements
                                                requirements for
                                                              for facilitating
                                                                  facilitating all
                                                                               all necessary
                                                                                   necessary Access
                                                                                             Access
         by the
         by the TTP,
                TTP, Source
                     Source Code
                              Code Inspector,
                                   Inspector, Third-Party   Monitor, Cybersecurity
                                              Third-Party Monitor,   Cybersecurity Auditor,
                                                                                     Auditor, Third-
                                                                                              Third-
         Party Auditor,
         Party Auditor, CMAs,
                        CMAs, and
                                and other third parties
                                    other third parties as
                                                        as applicable
                                                           applicable and
                                                                      and as
                                                                           as required under this
                                                                              required under this
         Agreement;
         Agreement;

                          (iv)
                          (iv)     processes
                                   processes for informing and
                                             for informing     training its
                                                           and training its Personnel
                                                                            Personnel regarding this
                                                                                      regarding this
         Agreement;
         Agreement;

                        (v)
                        (v)     aa notification
                                   notification and
                                                and reporting
                                                     reporting policy to govern
                                                               policy to govern the
                                                                                the prompt
                                                                                    prompt reporting
                                                                                           reporting
         of
         of any
            any actual
                actual or
                       or potential violation of
                          potential violation     this Agreement
                                               of this            to the
                                                       Agreement to  the CMAs;
                                                                         CMAs;

                       (vi)
                       (vi)    guidance on
                               guidance     the roles
                                         on the roles and
                                                      and responsibilities
                                                          responsibilities of
                                                                           of relevant Personnel to
                                                                              relevant Personnel to
         ensure its compliance
         ensure its            with this
                    compliance with this Agreement;
                                         Agreement;

                         (vii) aa policy
                         (vii)      policy of
                                           of non-retaliation
                                              non-retaliation for Personnel who
                                                              for Personnel who report
                                                                                report actual
                                                                                       actual or
                                                                                              or
         potential violations of
         potential violations     this Agreement;
                               of this Agreement;

                      (viii) procedures
                      (viii)   procedures for
                                          for periodically
                                              periodically reviewing
                                                           reviewing and   updating the
                                                                       and updating the
         Compliance Policy as
         Compliance Policy  as needed to ensure
                               needed to ensure compliance   with this
                                                compliance with   this Agreement;
                                                                       Agreement; and
                                                                                   and

                        (ix)
                        (ix)   any
                               any other
                                   other matters identified by
                                         matters identified by the
                                                               the CMAs
                                                                   CMAs as
                                                                        as necessary to ensure
                                                                           necessary to ensure
         the Transaction
         the             Party’s compliance
             Transaction Party's            with this
                                 compliance with  this Agreement.
                                                       Agreement.

                (2)
                (2)      TTUSDS
                         TTUSDS shall
                                   shall ensure  that its
                                         ensure that  its Compliance   Policy includes
                                                          Compliance Policy   includes procedures
                                                                                        procedures for
                                                                                                   for
 the Security
 the Security Officer to delegate
              Officer to delegate his
                                  his or
                                      or her
                                         her obligations   under this
                                             obligations under    this Agreement  in circumstances
                                                                       Agreement in  circumstances
 where the
 where  the Security
            Security Officer is unavailable
                     Officer is unavailable or
                                             or requires
                                                requires assistance.
                                                          assistance.

         18.3
         18.3 CMA CMA Approvals      Required. All
                         Approvals Required.     All protocols
                                                     protocols and
                                                                 and policies
                                                                     policies required   under this
                                                                               required under   this
 Agreement
 Agreement shall    be subject
              shall be          to the
                        subject to the prior
                                       prior non-objection
                                             non-objection of   the CMAs,
                                                            of the           unless this
                                                                    CMAs, unless     this Agreement
                                                                                          Agreement
 expressly
 expressly provides
            provides otherwise.
                       otherwise. The
                                    The Transaction  Parties shall
                                         Transaction Parties  shall not  implement protocols
                                                                    not implement     protocols and
                                                                                                 and
 policies,
 policies, or
           or amend
               amend oror modify
                          modify such
                                  such protocols
                                        protocols and
                                                  and policies,   without the
                                                       policies, without   the prior
                                                                               prior non-objection
                                                                                     non-objection of   the
                                                                                                     of the
 CMAs.
 CMAs. The The Transaction   Parties shall
                Transaction Parties   shall comply  with the
                                            comply with  the provisions
                                                              provisions ofof all
                                                                              all protocols
                                                                                  protocols and
                                                                                            and policies
                                                                                                 policies
 that received
 that           the consent,
      received the  consent, non-objection,
                              non-objection, or
                                              or approval
                                                 approval of   the CMAs
                                                           of the           under this
                                                                   CMAs under      this Agreement.
                                                                                        Agreement. AnyAny
 violation of
 violation     the protocols
            of the protocols and
                             and policies   implemented pursuant
                                   policies implemented   pursuant toto this
                                                                        this Agreement
                                                                             Agreement shall    be deemed
                                                                                          shall be  deemed
 to constitute
 to constitute aa violation
                  violation of this Agreement,
                            of this Agreement, and   the failure
                                                 and the failure by
                                                                  by the
                                                                     the Transaction    Parties to
                                                                          Transaction Parties   to obtain
                                                                                                   obtain
 authorizations
 authorizations and
                  and approvals   that are
                       approvals that  are necessary to comply
                                           necessary to           with such
                                                        comply with    such protocols
                                                                              protocols and
                                                                                         and policies
                                                                                             policies shall
                                                                                                       shall
 not
 not excuse
      excuse aa violation
                violation thereof.
                          thereof.

         18.4     Board Resolutions.
         18.4 Board     Resolutions. Each
                                     Each of   the Transaction
                                            of the              Parties shall
                                                   Transaction Parties  shall ensure  that its
                                                                              ensure that  its respective
                                                                                               respective
 board of  directors implements  and maintains   board resolutions as applicable  and  as necessary
 board of directors implements and maintains board resolutions as applicable and as necessary to      to
 enable
 enable and
         and ensure
              ensure compliance  with this
                     compliance with  this Agreement,
                                           Agreement, and
                                                        and shall
                                                            shall submit
                                                                  submit copies
                                                                          copies of
                                                                                  of such  board
                                                                                     such board
 resolutions  to the
 resolutions to  the Third-Party Monitor and
                     Third-Party Monitor  and CMAs    within three
                                              CMAs within    three (3)
                                                                   (3) days
                                                                       days following   their adoption.
                                                                             following their   adoption.




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                                                     67
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                                                                          50 U.S.C.
                                                                             U.S.C. § § 4565
                                                                                        4565
                                       EXEMPT
                                       EXEMPT FROM   DISCLOSURE UNDER
                                                FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                         552
                                                                Parties’ Draft as
                                                                Parties' Draft as of 8/23/22
                                                                                  of 8/23/22

         18.5
         18.5 Quarterly       Meetings. At
                  Quarterly Meetings.            the request
                                             At the  request of  the CMAs,
                                                              of the  CMAs, but but not  less than
                                                                                     not less than once
                                                                                                   once every
                                                                                                          every
 ninety
 ninety (90) days unless waived in writing by the CMAs, the Transaction Parties shall meet, and
        (90)  days  unless   waived    in writing   by the  CMAs,    the  Transaction    Parties shall meet,  and
 shall
 shall ensure  through the
       ensure through    the MSA
                              MSA thatthat the
                                           the TTP
                                                TTP meets,    with the
                                                      meets, with   the Third-Party     Monitor and
                                                                         Third-Party Monitor     and CMAs
                                                                                                       CMAs atat aa
 mutually
 mutually agreed    upon time
           agreed upon     time and    location or
                                  and location       by telephone
                                                  or by  telephone (each
                                                                     (each such
                                                                             such meeting,
                                                                                    meeting, aa "Quarterly
                                                                                                “Quarterly
 Meeting”).
 Meeting"). At At each
                   each Quarterly      Meeting, the
                         Quarterly Meeting,       the Transaction    Parties shall
                                                      Transaction Parties      shall provide,
                                                                                     provide, and
                                                                                               and shall
                                                                                                    shall ensure
                                                                                                          ensure
 the TTP
 the TTP provides,
          provides, all   information requested,
                      all information     requested, and
                                                       and answer
                                                            answer allall questions
                                                                          questions posed,    by the
                                                                                      posed, by  the Third-Party
                                                                                                     Third-Party
 Monitor and
 Monitor  and CMAs.
                CMAs. The The CMAs
                                CMAs may,may, inin their
                                                   their sole
                                                          sole discretion,
                                                               discretion, exclude
                                                                             exclude one
                                                                                       one or
                                                                                           or more
                                                                                               more of  the
                                                                                                     of the
 Transaction   Parties from
 Transaction Parties   from allall or
                                   or part
                                       part of
                                            of aa Quarterly   Meeting. If
                                                  Quarterly Meeting.         the CMAs
                                                                          If the  CMAs pose     written questions
                                                                                          pose written   questions
 to any
 to any Transaction    Party or
        Transaction Party         the TTP
                              or the   TTP inin advance
                                                 advance ofof or
                                                              or following
                                                                 following aa Quarterly     Meeting, such
                                                                                 Quarterly Meeting,    such
 Transaction   Party shall
 Transaction Party   shall submit,
                             submit, and    the Transaction
                                       and the                  Parties shall
                                                 Transaction Parties     shall ensure   the TTP
                                                                                ensure the  TTP submits,    written
                                                                                                  submits, written
 responses  to the
 responses to   the CMAs     within seven
                    CMAs within               (7) days
                                      seven (7)   days following
                                                        following receipt
                                                                     receipt of   the questions,
                                                                              of the              unless otherwise
                                                                                      questions, unless   otherwise
 extended  by the
 extended by   the CMAs.
                    CMAs.

         18.6   Recordkeeping. The
         18.6 Recordkeeping.        The Transaction   Parties shall
                                        Transaction Parties   shall ensure   that the
                                                                    ensure that   the ByteDance
                                                                                      ByteDance POC,
                                                                                                  POC,
 Compliance
 Compliance Officer,
              Officer, Security
                        Security Officer,
                                  Officer, and
                                           and Technology
                                               Technology Officer
                                                             Officer create
                                                                      create and
                                                                              and maintain
                                                                                   maintain adequate
                                                                                             adequate
 records to monitor
 records to monitor each
                     each of  the Transaction
                           of the               Parties’ and
                                  Transaction Parties'       the TTP’s
                                                         and the TTP's respective
                                                                          respective compliance   with
                                                                                      compliance with
 this Agreement.
 this Agreement. If   the TTP
                   If the      is replaced,
                          TTP is            the Transaction
                                  replaced, the               Parties shall
                                                 Transaction Parties   shall ensure  that the
                                                                             ensure that  the previous
                                                                                              previous
 TTP
 TTP retains
      retains copies
              copies of
                      of any
                         any records
                             records related  to the
                                      related to the performance
                                                     performance of    its obligations
                                                                    of its             in connection
                                                                           obligations in             with
                                                                                           connection with
 this Agreement
 this Agreement and    the MSA
                 and the   MSA until
                                 until advised
                                       advised otherwise   by the
                                                otherwise by  the CMAs.
                                                                  CMAs.

        18.7
         18.7 Obligation
                 Obligation toto Report.
                                 Report. The
                                           The Transaction   Parties shall:
                                               Transaction Parties          (1) require
                                                                     shall: (1)           the ByteDance
                                                                                 require the  ByteDance
 POC, Compliance
 POC,  Compliance Officer,
                     Officer, Security
                               Security Officer,
                                         Officer, and
                                                  and Technology
                                                       Technology Officer
                                                                    Officer promptly,
                                                                             promptly, and     in any
                                                                                           and in any event
                                                                                                      event
 within one
 within      (1) day
        one (1)  day of
                     of discovery,  to report
                        discovery, to  report any
                                               any actual
                                                   actual or
                                                          or potential  violation of
                                                              potential violation      this Agreement
                                                                                    of this Agreement toto
 the Third-Party
 the              Monitor and
     Third-Party Monitor         CMAs;    and (2) each  maintain  procedures    that require  Personnel
                            and CMAs; and (2) each maintain procedures that require Personnel to         to
 promptly  inform the
 promptly inform   the ByteDance
                       ByteDance POC,
                                    POC, Compliance
                                            Compliance Officer,
                                                         Officer, Security
                                                                   Security Officer,
                                                                             Officer, oror Technology
                                                                                           Technology
 Officer, as applicable, of  any actual  or potential violation of this Agreement.
 Officer, as applicable, of any actual or potential violation of this Agreement.

         18.8    Defining aa Violation.
         18.8 Defining       Violation. The
                                        The CMAs
                                            CMAs may,    in their
                                                    may, in their sole
                                                                  sole discretion,
                                                                       discretion, provide
                                                                                   provide
 interpretive guidance
 interpretive guidance to
                        to the
                           the Transaction Parties and
                               Transaction Parties and TTP
                                                       TTP as  to what
                                                            as to what constitutes
                                                                        constitutes an
                                                                                    an actual
                                                                                       actual or
                                                                                              or
 potential violation of
 potential violation    this Agreement.
                     of this Agreement.

                                                ARTICLE XIX
                                                ARTICLE XIX

                                            ANNUAL REPORTS
                                            ANNUAL REPORTS

        19.1
        19.1 Annual      Reports. Each
                Annual Reports.     Each of  the Transaction
                                          of the              Parties shall
                                                 Transaction Parties  shall submit, within seven
                                                                            submit, within       (7)
                                                                                           seven (7)
 days
 days following
      following each
                 each anniversary
                       anniversary of  the Effective
                                    of the Effective Date,
                                                     Date, an
                                                            an annual
                                                               annual report  (each, an
                                                                       report (each,    “Annual
                                                                                     an "Annual
 Report”)  to the
 Report") to  the Third-Party  Monitor and
                  Third-Party Monitor    and CMAs    that summarizes
                                              CMAs that                its compliance
                                                          summarizes its               with this
                                                                           compliance with  this
 Agreement
 Agreement from    the prior
             from the        year, and
                       prior year,      includes, with
                                   and includes,  with respect to the
                                                       respect to the preceding  year:
                                                                      preceding year:

                  (1)
                  (1)    organizational
                         organizational charts
                                          charts showing   the equity
                                                 showing the    equity and voting interests
                                                                       and voting  interests held  in the
                                                                                              held in the
 entity, the dates
 entity, the dates of
                   of any  transactions resulting
                      any transactions            in changes
                                        resulting in changes toto such
                                                                  such equity
                                                                        equity and  voting interests,
                                                                               and voting   interests, and
                                                                                                       and
 with respect
 with          to ByteDance,
       respect to ByteDance, aa summary
                                 summary capitalization    table identifying
                                            capitalization table  identifying all
                                                                              all shareholders
                                                                                  shareholders holding
                                                                                                 holding
 more   than one
 more than   one percent  (1%) equity
                  percent (1%)         interest or
                                equity interest    voting interest
                                                or voting  interest in
                                                                    in ByteDance
                                                                       ByteDance as as of the end
                                                                                       of the  end of
                                                                                                   of each
                                                                                                      each
 quarter;
 quarter;



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                                                                       50 U.S.C.
                                                                          U.S.C. § § 4565
                                                                                     4565
                                    EXEMPT
                                    EXEMPT FROM   DISCLOSURE UNDER
                                             FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                            U.S.C. §§ 552
                                                                                      552
                                                             Parties’ Draft as
                                                             Parties' Draft as of 8/23/22
                                                                               of 8/23/22

                (2)
                (2)     the address
                        the address of the headquarters
                                    of the headquarters office
                                                        office location
                                                               location of the entity;
                                                                        of the entity;

                (3)
                (3)    the full
                       the full name (last, first,
                                name (last, first, middle
                                                   middle name)
                                                          name) and  telephone and
                                                                 and telephone and email
                                                                                    email contact
                                                                                          contact
 information for
 information     the ByteDance
             for the ByteDance POC,
                                 POC, the
                                       the Compliance
                                           Compliance Officer,
                                                         Officer, and the Security
                                                                  and the Security Officer,
                                                                                   Officer, as
                                                                                            as
 applicable;
 applicable;

                 (4)
                 (4)     with respect
                         with          to ByteDance,
                               respect to ByteDance, anan organizational
                                                          organizational chart
                                                                          chart demonstrating
                                                                                demonstrating and
                                                                                               and
 explaining  which ByteDance
 explaining which    ByteDance Affiliates   (including their
                                 Affiliates (including their location)
                                                             location) perform  work, services,
                                                                       perform work,   services,
 operations,
 operations, or
             or support  in relation
                support in           to the
                            relation to the TikTok  U.S. App
                                            TikTok U.S.  App oror TikTok  U.S. Platform;
                                                                  TikTok U.S.   Platform;

                 (5)
                 (5)       with respect
                           with          to TTUSDS:
                                 respect to         (i) aa summary
                                            TTUSDS: (i)    summary of   the funding
                                                                     of the funding provided   by
                                                                                     provided by
 ByteDance; and
 ByteDance;        (ii) aa statement
               and (ii)              by TTUSDS
                           statement by  TTUSDS regarding    the sufficiency
                                                 regarding the   sufficiency of
                                                                              of such
                                                                                 such funds to perform
                                                                                      funds to perform
 its functions
 its           under this
     functions under  this Agreement;
                             Agreement;

                (6)
                (6)     aa certification
                           certification of
                                         of compliance with the
                                            compliance with the hiring
                                                                hiring protocols
                                                                       protocols required by
                                                                                 required by
 Section
 Section 5.4;
         5.4;

                 (7)
                 (7)   aa headcount
                          headcount of Personnel, and
                                    of Personnel,     with respect
                                                  and with         to TTUSDS,
                                                           respect to TTUSDS, aa list
                                                                                 list of the names
                                                                                      of the names
 and titles of
 and titles    Key Management;
            of Key Management;

                (8)
                (8)    with respect
                       with          to TTUSDS,
                            respect to  TTUSDS, thethe number
                                                       number of  Personnel with
                                                               of Personnel with aa prior
                                                                                    prior
 relationship with ByteDance
 relationship with ByteDance or  its Affiliates,
                              or its Affiliates, and the percentage
                                                 and the percentage of
                                                                    of such workforce within
                                                                       such workforce  within
 TTUSDS;
 TTUSDS;

                 (9)
                 (9)     with respect
                         with         to TTUSDS,
                              respect to TTUSDS, aa summary  from the
                                                     summary from the Security
                                                                      Security Committee
                                                                               Committee of its
                                                                                         of its
 activities
 activities from the prior
            from the       year pursuant
                     prior year          to this
                                pursuant to this Agreement;
                                                 Agreement;

                   (10) with
                   (10)   with respect to TTUSDS,
                               respect to TTUSDS, aa summary
                                                       summary from the Content
                                                               from the Content Advisory
                                                                                Advisory Council
                                                                                         Council
 of its activities
 of its activities from the prior
                   from the       year pursuant
                            prior year          to this
                                       pursuant to this Agreement;
                                                        Agreement;

              (11)
              (11)      current
                        current Architecture Diagrams, Data
                                Architecture Diagrams, Data Flow
                                                            Flow Diagrams,
                                                                 Diagrams, and
                                                                           and Source
                                                                               Source Code
                                                                                      Code
 Review Diagrams;
 Review Diagrams;

                 (12) aa summary
                 (12)      summary ofof any findings and
                                        any findings  and reports
                                                          reports of vulnerabilities designated
                                                                  of vulnerabilities designated as
                                                                                                as
 high
 high severity
      severity or
                or equivalent, including any
                   equivalent, including      instance of
                                         any instance     Malicious Code
                                                       of Malicious       in the
                                                                     Code in the Source
                                                                                  Source Code
                                                                                          Code and
                                                                                                and
 Related Files,
 Related Files, pursuant  to Section
                 pursuant to Section 9.6;
                                     9.6;

                (13) aa certification
                (13)                  that all
                        certification that all changes, updates, alterations,
                                               changes, updates, alterations, and  improvements to
                                                                              and improvements   to
 the Source
 the Source Code
            Code and  Related Files
                  and Related Files were
                                    were deployed   to the
                                          deployed to  the TikTok   U.S. App
                                                           TikTok U.S.   App oror TikTok U.S.
                                                                                  TikTok U.S.
 Platform in
 Platform in accordance with the
             accordance with the TTP’s
                                 TTP's review
                                         review and  inspection processes
                                                 and inspection  processes pursuant  to Section
                                                                           pursuant to  Section 9.10;
                                                                                                9.10;

                (14) an
                (14)        update regarding
                        an update  regarding any
                                             any remediations
                                                 remediations or
                                                              or alterations  to Source
                                                                 alterations to  Source Code
                                                                                        Code and
                                                                                             and
 Related Files
 Related Files made
               made at  the request
                     at the request of the TTP
                                    of the TTP pursuant to Sections
                                               pursuant to Sections 9.10
                                                                    9.10 or
                                                                          or 9.15;
                                                                             9.15;

                 (15) with
                 (15)   with respect to ByteDance,
                             respect to ByteDance, aa certification that all
                                                      certification that     individuals subject
                                                                         all individuals          to
                                                                                          subject to
 classification as TikTok U.S. Users  pursuant to Sections  1.35 and  11.3  are so classified as of
 classification as TikTok U.S. Users pursuant to Sections 1.35 and 11.3 are so classified as of the the
 date
 date of the Annual
      of the         Report;
             Annual Report;


                                                   69
                                                   69
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                                                                        50 U.S.C.
                                                                           U.S.C. § § 4565
                                                                                      4565
                                     EXEMPT
                                     EXEMPT FROM   DISCLOSURE UNDER
                                              FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                             U.S.C. §§ 552
                                                                                       552
                                                              Parties’ Draft as
                                                              Parties' Draft as of 8/23/22
                                                                                of 8/23/22

                (16) with
                (16)    with respect  to TTUSDS,
                              respect to TTUSDS, aa monthly    breakdown of:
                                                       monthly breakdown     (i) the
                                                                         of: (i) the total
                                                                                     total number
                                                                                           number of
                                                                                                  of
 registered TikTok  U.S.  User  accounts, and (ii) the number of TikTok U.S. Users   who
 registered TikTok U.S. User accounts, and (ii) the number of TikTok U.S. Users who were   were
 monthly
 monthly active  users of
          active users    the TikTok
                       of the          U.S. App;
                              TikTok U.S.   App;

                (17) aa summary
                (17)    summary of of any unexpected or
                                      any unexpected     unauthorized interactions
                                                      or unauthorized  interactions pursuant to
                                                                                    pursuant to
 Section
 Section 9.17
         9.17 and whether the
              and whether the circumstances
                              circumstances permitting
                                             permitting such  interactions persist
                                                         such interactions persist or
                                                                                   or have been
                                                                                      have been
 resolved;
 resolved;

               (18) aa summary
               (18)     summary of of any
                                      any changes
                                          changes or
                                                  or remediations
                                                     remediations made
                                                                   made toto the
                                                                             the Recommendation
                                                                                 Recommendation
 Engine or
 Engine or Content Moderation Processes
           Content Moderation   Processes in
                                          in response to issues
                                             response to issues identified
                                                                identified by
                                                                           by the
                                                                               the TTP
                                                                                   TTP or
                                                                                       or Third-
                                                                                          Third-
 Party Monitor
 Party Monitor pursuant to Section
               pursuant to Section 9.13;
                                   9.13;

                 (19)
                 (19)    aa summary
                            summary of
                                    of all
                                       all changes to Excepted
                                           changes to Excepted Data
                                                               Data and Public Data;
                                                                    and Public Data;

                 (20) aa certification
                 (20)                   that all
                          certification that     Protected Data
                                             all Protected Data in
                                                                in the
                                                                    the possession
                                                                        possession of the Transaction
                                                                                   of the  Transaction
 Parties is
 Parties is stored
            stored and
                   and subject to Access
                       subject to Access controls
                                          controls consistent  with the
                                                    consistent with  the requirements
                                                                         requirements of  this Article
                                                                                       of this Article
 XI;
 XI;

                 (21) with
                 (21)     with respect  to ByteDance,
                                respect to  ByteDance, aa certification,
                                                            certification, signed  by aa duly
                                                                            signed by    duly authorized
                                                                                              authorized
 representative,  that none
 representative, that  none of  ByteDance or
                             of ByteDance       its Affiliates
                                             or its Affiliates holds,
                                                               holds, possesses,
                                                                        possesses, or
                                                                                    or has
                                                                                       has any
                                                                                           any Access  to
                                                                                               Access to
 Protected Data
 Protected  Data in
                  in violation
                     violation of  this Agreement,
                                of this Agreement, oror aa summary
                                                           summary of  of any  findings of
                                                                          any findings  of and
                                                                                           and remediations
                                                                                               remediations
 in relation
 in          to ByteDance
    relation to ByteDance or    its Affiliates
                             or its Affiliates holding,
                                               holding, possessing,
                                                         possessing, oror having
                                                                           having any
                                                                                   any Access  to Protected
                                                                                        Access to Protected
 Data after
 Data        the Deletion
       after the Deletion Date;
                           Date;

                 (22) aa summary
                 (22)      summary ofof Access  instances and
                                        Access instances  and compliance
                                                              compliance efforts  in relation
                                                                          efforts in          to the
                                                                                     relation to the
 Limited Access
 Limited          Protocol, including
         Access Protocol,    including the
                                       the number
                                           number of   Personnel who
                                                    of Personnel who used
                                                                      used the
                                                                           the Limited
                                                                               Limited Access
                                                                                        Access
 Protocol, their
 Protocol, their location,
                 location, the
                           the reason
                               reason for their Access,
                                      for their Access, and the Protected
                                                        and the Protected Data
                                                                          Data Accessed;
                                                                               Accessed;

               (23) with
               (23)   with respect to TTUSDS,
                           respect to TTUSDS, aa summary
                                                 summary of
                                                         of compliance
                                                            compliance efforts in relation
                                                                       efforts in          to
                                                                                  relation to
 the DPCP,
 the DPCP, including
           including Training;
                     Training;

                 (24)
                 (24)    with respect
                         with         to TTUSDS,
                              respect to TTUSDS, aa summary
                                                    summary of
                                                            of any
                                                               any actual
                                                                   actual or
                                                                          or potential violations
                                                                             potential violations
 of the DPCP;
 of the DPCP;

                 (25) with
                 (25)    with respect to TTUSDS,
                              respect to         updates regarding
                                         TTUSDS, updates regarding any
                                                                   any remediation
                                                                        remediation efforts in
                                                                                    efforts in
 relation to findings
 relation to findings from
                      from the
                           the Cybersecurity
                               Cybersecurity Audits
                                             Audits conducted
                                                    conducted pursuant to Article
                                                              pursuant to Article XIV;
                                                                                  XIV;

               (26) updates
               (26)    updates regarding
                               regarding any
                                         any remediation
                                             remediation efforts in relation
                                                         efforts in          to the
                                                                    relation to the Audits
                                                                                    Audits
 conducted
 conducted pursuant to Article
           pursuant to Article XV;
                               XV;

                (27) aa summary
                (27)     summary of
                                  of any
                                     any challenges
                                         challenges experienced   in obtaining
                                                     experienced in  obtaining and
                                                                               and maintaining the
                                                                                   maintaining the
 authorizations
 authorizations and
                and approvals under Section
                    approvals under Section 18.1, including any
                                            18.1, including any legal
                                                                legal or
                                                                      or regulatory
                                                                         regulatory changes
                                                                                    changes
 affecting
 affecting compliance with this
           compliance with this Agreement;
                                Agreement;

                (28) aa summary
               (28)       summary of of any
                                        any actual
                                            actual or
                                                   or potential violations of
                                                      potential violations    this Agreement
                                                                           of this Agreement and the
                                                                                             and the
 remediation
 remediation efforts in relation
             efforts in          thereto;
                        relation thereto;



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                                                     70
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                                                                       50 U.S.C.
                                                                          U.S.C. § § 4565
                                                                                     4565
                                    EXEMPT
                                    EXEMPT FROM   DISCLOSURE UNDER
                                             FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                             Parties’ Draft as
                                                             Parties' Draft as of 8/23/22
                                                                               of 8/23/22

                (29) as
                (29)     as applicable,
                            applicable, copies
                                        copies of the most
                                               of the most recent versions of
                                                           recent versions    the DTC
                                                                           of the DTC Operating
                                                                                       Operating
 Protocols, the Limited  Access  Protocol, the DPCP,   Excepted  Data, Public  Data, and
 Protocols, the Limited Access Protocol, the DPCP, Excepted Data, Public Data, and the   the
 Compliance   Policies; and
 Compliance Policies;   and

                (30) any
                (30)   any other
                           other subjects identified by
                                 subjects identified by the
                                                        the CMAs, in their
                                                            CMAs, in their sole
                                                                           sole discretion,
                                                                                discretion, as
                                                                                            as
 relevant to compliance
 relevant to            with the
             compliance with the Agreement.
                                 Agreement.

         19.2
         19.2 TTUSDS
                 TTUSDS shall
                           shall ensure, through the
                                 ensure, through  the MSA,
                                                      MSA, that
                                                           that the
                                                                the TTP
                                                                    TTP submits   to the
                                                                         submits to  the Third-Party
                                                                                         Third-Party
 Monitor and
 Monitor  and CMAs,    within seven
               CMAs, within          (7) days
                              seven (7)  days following
                                              following each
                                                        each anniversary
                                                             anniversary of  the Effective
                                                                          of the Effective Date,
                                                                                           Date, aa
 confidential
 confidential annual
              annual account  (each, an
                      account (each,  an "Annual   Account”) that
                                         “Annual Account")   that summarizes   the TTP’s
                                                                  summarizes the   TTP's
 compliance   with the
 compliance with   the requirements
                       requirements of  this Agreement
                                     of this Agreement from  the prior
                                                        from the       year, and
                                                                 prior year,     includes, with
                                                                             and includes, with
 respect to the
 respect to the preceding year:
                preceding year:

              (1)
              (1)        current
                         current Architecture Diagrams, Data
                                 Architecture Diagrams, Data Flow
                                                             Flow Diagrams,
                                                                  Diagrams, and
                                                                            and Source
                                                                                Source Code
                                                                                       Code
 Review Diagrams;
 Review Diagrams;

                 (2)
                 (2)     aa description
                            description of whether the
                                        of whether the TTP is sufficiently
                                                       TTP is              funded by
                                                              sufficiently funded by the
                                                                                     the Transaction
                                                                                         Transaction
 Parties;
 Parties;

                (3)
                (3)  aa headcount
                        headcount of Personnel of
                                  of Personnel    the TTP
                                               of the     whose job
                                                      TTP whose job responsibilities
                                                                    responsibilities are
                                                                                     are
 covered by the
 covered by the MSA
                MSA and  this Agreement;
                    and this  Agreement;

                 (4)
                 (4)     aa certification
                            certification of
                                          of compliance with the
                                             compliance with the hiring
                                                                 hiring protocols
                                                                        protocols required by
                                                                                  required by
 Section
 Section 5.4;
         5.4;

                 (5)
                 (5)     the number
                         the number of  Personnel with
                                     of Personnel with aa prior
                                                          prior relationship with ByteDance
                                                                relationship with ByteDance or its
                                                                                            or its
 Affiliates,
 Affiliates, and the percentage
             and the percentage of
                                of such  workforce within
                                   such workforce  within the
                                                           the TTP;
                                                                TTP;

                 (6)
                 (6)     aa summary
                            summary ofof any  Physical Access
                                         any Physical         to the
                                                       Access to the DTC
                                                                     DTC withheld
                                                                         withheld by
                                                                                  by ByteDance
                                                                                     ByteDance or
                                                                                               or
 any
 any of its Affiliates
     of its Affiliates and  the resolution
                       and the  resolution of the same;
                                           of the same;

               (7)
               (7)      aa statement
                           statement as  to the
                                     as to  the sufficiency
                                                sufficiency of the DTC
                                                            of the DTC Operating Protocols in
                                                                       Operating Protocols in
 enabling the TTP
 enabling the      to fully
              TTP to  fully perform  its obligations
                             perform its              under the
                                          obligations under the MSA
                                                                 MSA and in connection
                                                                     and in            with this
                                                                            connection with this
 Agreement;
 Agreement;

                (8)
                (8)      aa summary
                            summary of of any interference by
                                          any interference by ByteDance
                                                              ByteDance or or any
                                                                               any of its Affiliates
                                                                                   of its            with
                                                                                          Affiliates with
 the TTP’s
 the TTP's Access
           Access toto the
                       the DTC
                            DTC or or Source
                                      Source Code
                                             Code and   Related Files,
                                                    and Related Files, or its inspection
                                                                       or its inspection efforts  in the
                                                                                          efforts in the
 DTC, and
 DTC,      the resolution
       and the resolution of    the same;
                             of the same;

                (9)
                (9)     aa summary
                           summary ofof any  findings of
                                         any findings    vulnerabilities designated
                                                      of vulnerabilities designated as
                                                                                    as high
                                                                                       high severity
                                                                                            severity or
                                                                                                     or
 equivalent, including any
 equivalent, including       instance of
                       any instance       Malicious Code
                                      of Malicious        in the
                                                    Code in  the Source
                                                                 Source Code
                                                                         Code and  Related Files,
                                                                               and Related  Files,
 pursuant to Section
 pursuant to Section 9.6;
                     9.6;

               (10) any
               (10)    any changes to the
                           changes to the TTP’s
                                          TTP's processes,  tools, and
                                                processes, tools,      techniques used
                                                                   and techniques used for
                                                                                        for
 reviewing and inspecting Source Code  and Related  Files and monitoring
 reviewing and inspecting Source Code and Related Files and monitoring and and blocking
                                                                               blocking
 unexpected or
 unexpected    unauthorized interactions
            or unauthorized interactions pursuant to Article
                                         pursuant to Article IX;
                                                             IX;



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                                                                      50 U.S.C.
                                                                         U.S.C. § § 4565
                                                                                    4565
                                   EXEMPT
                                   EXEMPT FROM   DISCLOSURE UNDER
                                            FROM DISCLOSURE     UNDER 5  5 U.S.C.
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                                                                                     552
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                                                                              of 8/23/22

                (11)
                (11)    any
                        any deployment
                            deployment of
                                       of Source
                                          Source Code
                                                 Code and Related Files
                                                      and Related Files inconsistent
                                                                        inconsistent with
                                                                                     with
 Section
 Section 10;
         10;

                (12) aa summary
                (12)      summary of
                                   of any findings that
                                      any findings that the
                                                        the Recommendation
                                                            Recommendation Engine
                                                                           Engine operated
                                                                                  operated
 inconsistently with the requirements under  Section 9.13;
 inconsistently with the requirements under Section 9.13;

                 (13) an
                 (13)        update regarding
                         an update  regarding any
                                               any remediations
                                                   remediations or
                                                                or alterations  to Source
                                                                   alterations to  Source Code
                                                                                          Code and
                                                                                                 and
 Related Files
 Related  Files made
                made at  the request
                      at the request of the TTP
                                     of the TTP pursuant  to Sections
                                                 pursuant to Sections 9.10
                                                                      9.10 or
                                                                            or 9.15,
                                                                               9.15, and
                                                                                     and any  issues
                                                                                         any issues
 with the
 with the Transaction  Parties’ obligation
          Transaction Parties'              to address
                                obligation to  address such
                                                       such requested
                                                            requested remediations
                                                                      remediations oror alterations;
                                                                                        alterations;

                (14) aa summary
                (14)    summary of of any unexpected or
                                      any unexpected     unauthorized interactions
                                                      or unauthorized  interactions pursuant to
                                                                                    pursuant to
 Section
 Section 9.17
         9.17 and whether the
              and whether the circumstances
                              circumstances permitting
                                             permitting such  interactions persist
                                                         such interactions persist or
                                                                                   or have been
                                                                                      have been
 resolved;
 resolved;

                (15) the
                (15)   the full
                           full name  (last, first,
                                name (last,  first, middle
                                                    middle name)
                                                           name) and telephone and
                                                                 and telephone and email
                                                                                   email contact
                                                                                         contact
 information for
 information     the Technology
             for the Technology Officer;
                                  Officer;

               (16) any
               (16)        indications that
                       any indications  that ByteDance
                                             ByteDance or
                                                        or any
                                                           any of its Affiliates
                                                               of its Affiliates possessed
                                                                                 possessed or
                                                                                           or had
                                                                                              had
 Access to any
 Access to     Protected Data
           any Protected Data after the Deletion
                              after the  Deletion Date;
                                                  Date;

                (17) any
                (17)        issues with
                        any issues with the
                                        the restrictions
                                            restrictions on
                                                         on storage
                                                            storage of
                                                                    of and
                                                                       and Access to Protected
                                                                           Access to Protected Data
                                                                                               Data
 required under Article
 required under Article XI;
                        XI;

                (18)
                (18)    aa summary
                           summary of
                                   of Training
                                      Training efforts
                                               efforts pursuant to Sections
                                                       pursuant to Sections 11.13
                                                                            11.13 and
                                                                                  and 12.4;
                                                                                      12.4;

                (19) aa summary
                (19)      summary of of any
                                        any actual
                                            actual or
                                                   or potential violations of
                                                      potential violations    this Agreement
                                                                           of this Agreement and the
                                                                                             and the
 remediation
 remediation efforts in relation
             efforts in          thereto; and
                        relation thereto; and

                (20) any
                (20)   any other
                           other subjects identified by
                                 subjects identified by the
                                                        the CMAs, in their
                                                            CMAs, in their sole
                                                                           sole discretion,
                                                                                discretion, as
                                                                                            as
 relevant to compliance
 relevant to            with the
             compliance with the Agreement.
                                 Agreement.

        19.3
        19.3 TTUSDS
               TTUSDS shallshall ensure the TTP
                                 ensure the TTP does
                                                 does not
                                                      not provide
                                                          provide any
                                                                  any Annual
                                                                      Annual Account to any
                                                                             Account to any of the
                                                                                            of the
 Transaction Parties or
 Transaction Parties    their respective
                     or their respective Affiliates.
                                         Affiliates.

         19.4    Each of
         19.4 Each        the Transaction
                       of the             Parties shall
                              Transaction Parties shall promptly
                                                        promptly submit,
                                                                  submit, and
                                                                          and shall
                                                                              shall ensure the TTP
                                                                                    ensure the  TTP
 promptly
 promptly submits,
            submits, responses
                     responses and
                                and relevant
                                    relevant documentation
                                             documentation toto any
                                                                any requests by the
                                                                    requests by the CMAs
                                                                                    CMAs forfor
 further
 further or
         or clarifying information regarding
            clarifying information            the content
                                   regarding the  content of
                                                          of any
                                                             any Annual   Report or
                                                                 Annual Report   or Annual
                                                                                    Annual Account.
                                                                                             Account.

                                            ARTICLE XX
                                            ARTICLE XX

                                       CONFIDENTIALITY
                                       CONFIDENTIALITY

        20.1 Confidentiality.
        20.1     Confidentiality. This
                                  This Agreement
                                       Agreement and
                                                   and all  information provided
                                                        all information           by the
                                                                         provided by the Parties
                                                                                         Parties
 pursuant to this
 pursuant to this Agreement
                  Agreement and   the preceding
                             and the            term sheets
                                      preceding term          will be
                                                      sheets will  be accorded the confidential
                                                                      accorded the confidential
 treatment required
 treatment          by Section
           required by Section 721(c)
                                721(c) and  31 C.F.R.
                                        and 31 C.F.R. §§ 800.802   (2020).
                                                         800.802 (2020).




                                                  72
                                                  72
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                                            APP-498
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                                            CONFIDENTIAL
                                            CONFIDENTIAL PURSUANT
                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

          20.2 Public
          20.2     Public Summary.     Within seven
                           Summary. Within            (7) days
                                               seven (7)  days following   the Effective
                                                                following the   Effective Date,
                                                                                          Date, ByteDance
                                                                                                ByteDance
 and  its relevant
 and its  relevant Affiliates,  including TikTok
                    Affiliates, including TikTok Inc., shall publish a press release and post on
                                                   Inc., shall publish  a press release and  post    the
                                                                                                  on the
 Newsroom of
 Newsroom         their respective
              of their              websites and
                        respective websites      their social
                                             and their  social media
                                                               media accounts
                                                                      accounts aa statement
                                                                                   statement containing
                                                                                              containing
 the summary
 the summary of     this Agreement
                 of this Agreement at at Annex
                                         Annex G        “Public Summary”).
                                                  (the "Public
                                                G (the                           ByteDance hereby
                                                                 Summary"). ByteDance         hereby
 consents   that the
 consents that   the USG
                     USG maymay also
                                 also publicly
                                      publicly disclose  the Public
                                               disclose the  Public Summary.
                                                                     Summary. The The Transaction   Parties
                                                                                       Transaction Parties
 shall
 shall consult  in good
        consult in  good faith
                          faith on
                                on any
                                   any amendments
                                        amendments thethe CMAs
                                                          CMAs maymay propose    to the
                                                                        propose to  the Public
                                                                                        Public Summary,
                                                                                               Summary,
 and  the CMAs
 and the           will consider
           CMAs will              in good
                        consider in  good faith
                                          faith any
                                                any amendments
                                                     amendments the the Transaction   Parties may
                                                                        Transaction Parties   may propose
                                                                                                   propose
 to the
 to the Public
         Public Summary.
                 Summary.

         20.3 Accuracy
         20.3      Accuracy Certification.
                            Certification. On   the Effective
                                            On the   Effective Date,
                                                                Date, each
                                                                      each of the Transaction
                                                                           of the              Parties
                                                                                   Transaction Parties
 shall
 shall submit
       submit toto the
                   the CMAs
                       CMAs aa certification that satisfies
                               certification that           the requirements
                                                  satisfies the requirements inin Section
                                                                                  Section 721(n)  with
                                                                                          721(n) with
 respect to all
 respect to      information provided
            all information            to CFIUS
                             provided to           from May
                                          CFIUS from     May 27,
                                                               27, 2020,
                                                                   2020, through
                                                                         through the
                                                                                   the Effective
                                                                                       Effective Date,
                                                                                                 Date,
 including in
 including  in connection  with CFIUS
               connection with  CFIUS Case     20-100 and
                                         Case 20-100         this Agreement.
                                                        and this  Agreement.

                                                  ARTICLE XXI
                                                  ARTICLE XXI

                                                    REMEDIES
                                                    REMEDIES

         21.1 Penalties
         21.1     Penalties for
                             for Violations
                                  Violations of    the Agreement.
                                                of the  Agreement. Each    Each of  the Transaction
                                                                                 of the                Parties
                                                                                          Transaction Parties
 acknowledges
 acknowledges and and agrees  that if
                      agrees that   if it
                                       it violates
                                          violates any
                                                     any of    the provisions
                                                          of the     provisions of    this Agreement,
                                                                                  of this  Agreement, thethe
 Transaction   Party may
 Transaction Party   may bebe liable
                               liable to
                                       to the
                                           the United
                                                United States
                                                         States forfor aa civil
                                                                          civil penalty   (“Penalty”), or
                                                                                penalty ("Penalty"),     or subject  to
                                                                                                             subject to
 further
 further action  by the
         action by  the United
                         United States,
                                  States, consistent     with 50
                                            consistent with           U.S.C. §§ 4565
                                                                 50 U.S.C.       4565 and    31 C.F.R.
                                                                                         and 31 C.F.R. §§§§ 800.901
                                                                                                             800.901
 and
 and 800.902   (2020) for
      800.902 (2020)    for violations
                            violations of of mitigation
                                             mitigation agreements
                                                           agreements and   and conditions
                                                                                 conditions entered     into or
                                                                                               entered into   or
 imposed under
 imposed   under Section    721(l). The
                   Section 721(l).    The CMAs,
                                            CMAs, in  in their
                                                         their sole
                                                                  sole discretion,
                                                                        discretion, may
                                                                                      may determine    whether aa
                                                                                            determine whether
 violation has
 violation  has occurred,  if such
                occurred, if         violation warrants
                              such violation     warrants the the imposition
                                                                    imposition of of aa Penalty
                                                                                        Penalty or  further action,
                                                                                                 or further  action,
 and the appropriate
 and the               Penalty amount
          appropriate Penalty    amount or  or action,   if any.
                                                action, if  any. The The CMAs
                                                                          CMAs may may consider
                                                                                          consider aa number
                                                                                                      number of of
 factors in determining
 factors in               the amount
            determining the    amount of  of aa Penalty
                                                Penalty due
                                                          due forfor aa violation
                                                                        violation of    this Agreement,
                                                                                   of this                 including
                                                                                             Agreement, including
 the nature
 the nature of  the violation,
             of the violation, the
                                the materiality
                                     materiality of    the violation,
                                                    of the  violation, whether
                                                                           whether thethe conduct   was willful
                                                                                           conduct was   willful or
                                                                                                                  or
 reckless,
 reckless, and  the damage
           and the  damage to to the
                                 the national
                                      national security
                                                  security resulting      from the
                                                             resulting from      the violation.
                                                                                      violation.

         21.2 United
         21.2    United States
                           States Government      Remedies. Each
                                   Government Remedies.          Each of   the Transaction
                                                                        of the                 Parties
                                                                                Transaction Parties
 acknowledges    that if
 acknowledges that    if it
                         it fails
                            fails to
                                  to comply   with any
                                     comply with    any of   the terms
                                                         of the   terms of   this Agreement,
                                                                          of this Agreement, the the CMAs
                                                                                                     CMAs or or any
                                                                                                                any
 other
 other appropriate  USG authority
       appropriate USG      authority may
                                        may seek
                                             seek any
                                                   any and
                                                        and all
                                                              all remedies
                                                                  remedies available     under applicable
                                                                              available under    applicable law,
                                                                                                             law,
 including injunctive
 including injunctive or or other  judicial relief,
                            other judicial          in addition
                                            relief, in addition to to the
                                                                      the remedies
                                                                          remedies described
                                                                                      described inin Section  21.1
                                                                                                     Section 21.1
 of this Agreement.
 of this Agreement. The      taking of
                       The taking     of any
                                         any action  by the
                                             action by   the CMAs
                                                              CMAs or  or other
                                                                           other appropriate    USG authority
                                                                                  appropriate USG                in
                                                                                                       authority in
 the exercise
 the exercise of
              of any
                  any remedy
                      remedy shall
                                 shall not  be considered
                                        not be considered as as aa waiver
                                                                    waiver by
                                                                            by the
                                                                                the CMAs
                                                                                    CMAs or  or such
                                                                                                such other   USG
                                                                                                      other USG
 authority
 authority of
           of any
              any other
                   other rights
                           rights or
                                   or remedies.   Nothing in
                                      remedies. Nothing      in this
                                                                 this Agreement
                                                                      Agreement is  is intended
                                                                                       intended toto create
                                                                                                     create rights
                                                                                                            rights
 to damages
 to damages enforceable
              enforceable at    law by
                             at law  by the
                                         the Transaction    Parties against
                                             Transaction Parties               the USG,
                                                                      against the  USG, or    to limit
                                                                                           or to limit any
                                                                                                        any rights
                                                                                                            rights
 the USG
 the USG may
           may have    under law
                have under     law or
                                    or regulation
                                        regulation or  this Agreement.
                                                    or this Agreement.

         21.3 Temporary
         21.3    Temporary Stop.
                              Stop. The
                                    The Transaction   Parties shall
                                         Transaction Parties  shall prevent,
                                                                    prevent, and
                                                                             and shall
                                                                                 shall ensure that their
                                                                                       ensure that  their
 respective
 respective Affiliates
             Affiliates and the TTP
                        and the TTP prevent,  users from
                                     prevent, users from accessing   the TikTok
                                                         accessing the           U.S. Platform
                                                                         TikTok U.S.   Platform (in
                                                                                                 (in
 each
 each case,    “Temporary Stop”)
      case, aa "Temporary            within three
                              Stop") within three (3)
                                                  (3) days
                                                      days following   the occurrence
                                                           following the   occurrence of
                                                                                       of any
                                                                                          any of the
                                                                                              of the
 following:
 following:




                                                           73
                                                           73
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                                                   APP-499
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                                            CONFIDENTIAL
                                            CONFIDENTIAL PURSUANT
                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                (1)
                (1)      the failure
                         the         by the
                             failure by the Transaction  Parties to
                                            Transaction Parties  to establish
                                                                    establish TTUSDS
                                                                              TTUSDS and
                                                                                       and ensure  that
                                                                                            ensure that
 TTUSDS    owns  or  has a license to, and manages,  all of the assets and employs all
 TTUSDS owns or has a license to, and manages, all of the assets and employs all of theof the
 Personnel related
 Personnel          to the
           related to  the CFIUS   Functions by
                           CFIUS Functions    by the
                                                 the Operational   Date in
                                                     Operational Date   in accordance  with Article
                                                                           accordance with  Article II;
                                                                                                    II;

               (2)
               (2)      the failure
                        the failure by
                                    by the
                                       the Transaction Parties to
                                           Transaction Parties to ensure  that TTUSDS
                                                                  ensure that            becomes aa
                                                                               TTUSDS becomes
 Transaction Party to
 Transaction Party to this
                      this Agreement
                           Agreement by by the
                                           the Operational Date as
                                               Operational Date  as required  under Section
                                                                    required under          2.3;
                                                                                    Section 2.3;

                   (3)
                   (3)      the failure
                            the failure by
                                         by the
                                            the Transaction    Parties to
                                                 Transaction Parties      to execute
                                                                             execute aa final
                                                                                        final MSA
                                                                                              MSA to  to which
                                                                                                         which the
                                                                                                                 the
 CMAs
 CMAs have
        have non-objected
               non-objected in   in accordance   with the
                                    accordance with    the timelines
                                                           timelines under
                                                                         under Section
                                                                                Section 8.2(1);   provided,
                                                                                          8.2(1); provided,
            that aa Temporary
 however, that
 however,           Temporary Stop Stop shall
                                        shall not  be required
                                              not be             if: (i)
                                                      required if:   (i) the
                                                                         the CMAs
                                                                              CMAs dodo not   timely respond
                                                                                          not timely   respond to to
 an MSA submitted
 an MSA    submitted by  by the
                            the Transaction    Parties due
                                 Transaction Parties        to aa government
                                                        due to    government shutdown;
                                                                                  shutdown; or    (ii) the
                                                                                               or (ii) the failure
                                                                                                           failure toto
 execute  the MSA
 execute the   MSA is  is solely
                          solely due  to the
                                  due to the TTP
                                             TTP either
                                                   either having
                                                          having (a)(a) failed
                                                                         failed to
                                                                                to execute   the MSA
                                                                                   execute the   MSA in  in aa timely
                                                                                                               timely
 fashion, or
 fashion,     (b) unreasonably
           or (b)  unreasonably withheld
                                    withheld its
                                              its consent;
                                                  consent;

                 (4)
                 (4)     the failure
                         the  failure by
                                       by the
                                           the Transaction   Parties to
                                               Transaction Parties    to execute
                                                                          execute aa final
                                                                                      final MSA
                                                                                            MSA toto which
                                                                                                     which the
                                                                                                             the
 CMAs    have  non-objected   with   a replacement   TTP   (i.e., not Oracle)   in accordance
 CMAs have non-objected with a replacement TTP (i.e., not Oracle) in accordance with the         with the
 timelines under
 timelines  under Sections
                  Sections 8.2;    provided, however,
                             8.2; provided,             that aa Temporary
                                               however, that      Temporary Stop
                                                                               Stop shall
                                                                                      shall not be required
                                                                                            not be            if:
                                                                                                   required if:
 (i) the
 (i) the CMAs
         CMAs dodo not timely respond
                   not timely   respond to to an MSA submitted
                                              an MSA   submitted by by the
                                                                        the Transaction     Parties due
                                                                             Transaction Parties        to aa
                                                                                                    due to
 government shutdown;
 government    shutdown; or   (ii) the
                           or (ii) the failure
                                        failure to
                                                to execute  the MSA
                                                   execute the   MSA is is solely
                                                                           solely due   to the
                                                                                   due to  the replacement
                                                                                               replacement
 TTP
 TTP either
       either having (a) failed
              having (a) failed to
                                 to execute
                                    execute oror respond  to the
                                                 respond to   the MSA
                                                                   MSA draft    in aa timely
                                                                          draft in    timely fashion,
                                                                                              fashion, or (b)
                                                                                                       or (b)
 unreasonably withheld
 unreasonably   withheld its
                          its consent;
                              consent;

                   (5)
                   (5)      notification  to the
                            notification to  the CMAs
                                                  CMAs by by TTUSDS
                                                              TTUSDS or    the TTP
                                                                        or the       that ByteDance
                                                                               TTP that   ByteDance and     its
                                                                                                        and its
 Affiliates
 Affiliates have
            have notnot provided
                        provided sufficient    funds for
                                   sufficient funds   for TTUSDS
                                                          TTUSDS or     the TTP
                                                                     or the      to perform
                                                                            TTP to             their respective
                                                                                    perform their    respective
 obligations  in connection
 obligations in                 with this
                  connection with    this Agreement
                                           Agreement in in accordance   with Section
                                                            accordance with            2.8 (with
                                                                             Section 2.8   (with respect   to
                                                                                                  respect to
 TTUSDS)
 TTUSDS) and and Section
                   Section 9.10(3)    (with respect
                             9.10(3) (with            to the
                                             respect to  the TTP);            that: (i)
                                                                    provided that:
                                                             TTP); provided         (i) TTUSDS
                                                                                        TTUSDS or      the TTP
                                                                                                   or the  TTP
 has first notified
 has first            ByteDance of
           notified ByteDance         the insufficiency
                                   of the  insufficiency and   ByteDance has
                                                           and ByteDance    has not
                                                                                not resolved
                                                                                    resolved such
                                                                                               such
 insufficiency to
 insufficiency   to the
                     the satisfaction
                         satisfaction of
                                       of TTUSDS
                                          TTUSDS or      the TTP,
                                                      or the TTP, as
                                                                   as applicable, within aa timely
                                                                      applicable, within     timely manner;
                                                                                                     manner;
 and (ii) after
 and (ii)       the CMAs
          after the   CMAs have
                              have consulted    with ByteDance
                                    consulted with    ByteDance regarding
                                                                  regarding such
                                                                              such notification
                                                                                   notification ofof
 insufficiency, the
 insufficiency,   the CMAs
                       CMAs do do not
                                   not provide   their written
                                       provide their   written determination   that such
                                                               determination that   such circumstances
                                                                                          circumstances do do
 not warrant aa Temporary
 not warrant     Temporary Stop;
                               Stop;

                (6)
                (6)      notification to the
                         notification to the CMAs
                                             CMAs by by the
                                                         the TTP   that it
                                                             TTP that   it has been denied
                                                                           has been         Physical
                                                                                    denied Physical
 Access to the
 Access to the DTC
               DTC or   Logical Access
                     or Logical           to review
                                  Access to  review or  inspect Source
                                                     or inspect  Source Code
                                                                           Code and  Related Files,
                                                                                and Related  Files, or that
                                                                                                    or that
 ByteDance has
 ByteDance       interfered with
             has interfered  with the
                                  the TTP’s   inspection activities,
                                      TTP's inspection                in violation
                                                          activities, in violation of the DTC
                                                                                   of the DTC Operating
                                                                                               Operating
 Protocols or
 Protocols or Section
              Section 9.3,  unless the
                       9.3, unless the CMAs
                                       CMAs provide      their written
                                                provide their  written determination   that such
                                                                        determination that  such
 circumstances
 circumstances do
                do not  warrant aa Temporary
                   not warrant     Temporary Stop;
                                                Stop;

                (7)
                (7)      notification to the
                         notification to the CMAs
                                             CMAs by by the
                                                        the TTP
                                                            TTP of   the deployment
                                                                  of the deployment toto the
                                                                                         the TikTok
                                                                                             TikTok
 U.S. App
 U.S. App or
           or TikTok   U.S. Platform
              TikTok U.S.   Platform ofof any
                                          any changes,   updates, alterations,
                                              changes, updates,   alterations, or improvements to
                                                                               or improvements    to the
                                                                                                     the
 Source
 Source Code
         Code and   Related Files
              and Related   Files that
                                   that were
                                        were not
                                             not reviewed
                                                  reviewed and  inspected by
                                                            and inspected   by the
                                                                               the TTP  in accordance
                                                                                   TTP in  accordance
 with Section
 with Section 9.10,  including the
              9.10, including   the requirement   that only
                                    requirement that   only Source
                                                            Source Code
                                                                    Code and   Related Files
                                                                           and Related  Files for which
                                                                                              for which
 the SBOM
 the SBOM or   its equivalent
            or its equivalent has   been digitally
                               has been  digitally signed  by the
                                                   signed by  the TTP
                                                                  TTP isis deployed to the
                                                                           deployed to the TikTok   U.S.
                                                                                           TikTok U.S.
 App
 App or
      or TikTok  U.S. Platform;
         TikTok U.S.   Platform;




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                                                          74
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                                          CONFIDENTIAL
                                          CONFIDENTIAL PURSUANT
                                                         PURSUANT TO TO 50
                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

                 (8)
                (8)      notification  to the
                         notification to  the CMAs
                                              CMAs byby the
                                                         the TTP
                                                             TTP of the failure
                                                                 of the failure to,
                                                                                to, within
                                                                                    within 120
                                                                                           120 days
                                                                                               days of
                                                                                                    of
 the Operational  Date, incorporate   into  the Source Code  and Related  Files for the TikTok
 the Operational Date, incorporate into the Source Code and Related Files for the TikTok U.S.   U.S.
 App
 App aa protective
        protective solution in accordance
                   solution in                with Section
                                accordance with    Section 9.8;
                                                           9.8;

                 (9)
                 (9)      notification  to the
                          notification to  the CMAs
                                               CMAs by by the
                                                           the TTP,
                                                               TTP, or
                                                                    or any
                                                                       any results
                                                                           results of  the U.S.
                                                                                   of the  U.S. Deletion
                                                                                                 Deletion
 Audits,
 Audits, Global   Deletion Verification,
         Global Deletion    Verification, Cybersecurity
                                            Cybersecurity Audits,
                                                            Audits, Third-Party
                                                                    Third-Party Audits,
                                                                                 Audits, or
                                                                                          or any
                                                                                              any other
                                                                                                  other
 audits
 audits or
        or monitoring
           monitoring activities
                       activities performed
                                   performed pursuant     to this
                                                pursuant to  this Agreement,  that indicate
                                                                  Agreement, that  indicate that
                                                                                             that
 ByteDance or
 ByteDance   or any
                any of  its Affiliates,
                     of its              intentionally or
                            Affiliates, intentionally     through gross
                                                       or through  gross negligence,
                                                                         negligence, did
                                                                                       did not irretrievably
                                                                                           not irretrievably
 destroy Protected Data
 destroy Protected   Data as
                           as of the Deletion
                              of the Deletion Date
                                                Date or that ByteDance
                                                     or that  ByteDance or
                                                                         or any
                                                                            any of  its Affiliates,
                                                                                 of its Affiliates,
 intentionally or
 intentionally    through gross
               or through   gross negligence,
                                   negligence, maintained
                                                 maintained oror maintains
                                                                 maintains Access  to Protected
                                                                           Access to   Protected Data
                                                                                                  Data after
                                                                                                        after
 the Deletion
 the Deletion Date;
               Date;

                (10) notification
                (10)                to the
                       notification to the CMAs
                                           CMAs byby the
                                                     the TTP  that Protected
                                                          TTP that Protected Data
                                                                             Data is
                                                                                  is not
                                                                                     not stored
                                                                                         stored or
                                                                                                or
 subject to Access
 subject to Access controls in accordance
                   controls in             with Article
                               accordance with  Article XI, unless the
                                                        XI, unless the CMAs
                                                                       CMAs provide   their written
                                                                              provide their written
 determination that such
 determination that such circumstances
                         circumstances dodo not warrant aa Temporary
                                            not warrant    Temporary Stop;
                                                                       Stop;

                (11) the
                (11)    the failure
                            failure by
                                    by any
                                       any of  the Transaction
                                            of the              Parties to
                                                   Transaction Parties  to remove
                                                                           remove any  individual or
                                                                                   any individual or
 entity
 entity appointed to any
        appointed to any role under this
                         role under  this Agreement
                                          Agreement at   the written
                                                      at the written direction
                                                                     direction of the CMAs
                                                                               of the CMAs inin
 accordance  with the
 accordance with  the processes
                      processes for
                                 for such
                                     such removals   under this
                                           removals under   this Agreement;
                                                                 Agreement; oror

                (12) the
                (12)      the failure
                               failure by
                                       by the
                                          the Transaction    Parties or
                                              Transaction Parties     or any
                                                                         any of  their Affiliates
                                                                             of their              to obtain
                                                                                       Affiliates to  obtain
 and
 and maintain
      maintain all legal, statutory,
               all legal,  statutory, regulatory,
                                      regulatory, or
                                                   or other
                                                       other required
                                                              required authorizations
                                                                        authorizations and
                                                                                        and approvals,
                                                                                              approvals,
 including those
 including those required
                  required byby the
                                 the government
                                     government of     the People's
                                                   of the  People’s Republic
                                                                      Republic ofof China,  in aa manner
                                                                                    China, in             that
                                                                                                  manner that
 prevents the Transaction
 prevents the                 Parties or
              Transaction Parties     or any
                                         any of  their Affiliates
                                              of their  Affiliates from
                                                                   from fulfilling  their obligations
                                                                         fulfilling their               under
                                                                                          obligations under
 this Agreement
 this Agreement inin violation
                     violation ofof Section
                                    Section 18.1.
                                            18.1.

 For the
 For the avoidance
          avoidance of
                     of doubt,
                        doubt, as
                               as part
                                  part of
                                       of aa Temporary
                                             Temporary Stop  the Transaction
                                                        Stop the             Parties, their
                                                                 Transaction Parties,  their Affiliates,
                                                                                             Affiliates,
 and  the TTP
 and the  TTP may
               may allow
                    allow TikTok   users who
                          TikTok users    who are
                                               are not
                                                   not TikTok  U.S. Users
                                                       TikTok U.S.  Users to
                                                                          to access
                                                                             access aa TikTok
                                                                                       TikTok
 platform
 platform other  than the
           other than the TikTok   U.S. platform.
                          TikTok U.S.   platform.

          21.4 Lifting
          21.4     Lifting aa Temporary
                              Temporary Stop.
                                         Stop. Upon    the occurrence
                                                 Upon the  occurrence ofof aa Temporary
                                                                              Temporary Stop,     the
                                                                                           Stop, the
 Transaction    Parties shall
 Transaction Parties    shall not
                               not resume,
                                   resume, and
                                           and shall
                                                shall ensure the TTP
                                                      ensure the TTP does
                                                                       does not
                                                                              not resume,
                                                                                  resume, allowing     users
                                                                                            allowing users
 to access
 to         the TikTok
    access the            U.S. Platform
                 TikTok U.S.    Platform until
                                         until the
                                               the Transaction  Parties have
                                                   Transaction Parties  have received     the written
                                                                               received the    written
 consent
 consent of   the CMAs
           of the  CMAs toto resume
                              resume such
                                      such access, upon the
                                           access, upon  the CMAs’    finding, in
                                                             CMAs' finding,      in their
                                                                                    their sole
                                                                                          sole discretion,
                                                                                               discretion,
 that the
 that the event   triggering the
           event triggering   the Temporary
                                  Temporary Stop
                                              Stop has  been remedied
                                                   has been  remedied oror otherwise
                                                                            otherwise addressed
                                                                                        addressed toto the
                                                                                                        the
 satisfaction
 satisfaction of   the CMAs.
               of the  CMAs.

           21.5 Suspension
           21.5    Suspension of
                              of Service.
                                 Service. If   the Transaction
                                           If the               Parties or
                                                   Transaction Parties     their Affiliates
                                                                        or their Affiliates do
                                                                                            do not  fully
                                                                                                not fully
 implement aa Temporary
 implement       Temporary Stop
                            Stop as
                                  as required  under Section
                                     required under           21.44, the
                                                      Section 21.44,  the CMAs
                                                                          CMAs maymay direct   the TTP
                                                                                       direct the  TTP toto
 suspend,    and the Transaction Parties shall  ensure through  the MSA    that the TTP   suspends,
 suspend, and the Transaction Parties shall ensure through the MSA that the TTP suspends, user       user
 access
 access toto the
             the TikTok  U.S. Platform
                 TikTok U.S.  Platform until
                                        until the
                                              the TTP
                                                   TTP has
                                                       has received   the written
                                                            received the  written consent
                                                                                  consent of   the CMAs
                                                                                            of the CMAs
 to lift
 to lift such
         such suspension.
               suspension.




                                                       75
                                                       75
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                                            CONFIDENTIAL PURSUANT
                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                                                  ARTICLE XXII
                                                  ARTICLE XXII

                                           GENERAL
                                           GENERAL PROVISIONS
                                                   PROVISIONS

         22.1 Effectiveness.
         22.1   Effectiveness. Except
                                 Except as
                                         as otherwise
                                            otherwise specifically
                                                        specifically provided in this
                                                                     provided in this Agreement,  the
                                                                                      Agreement, the
 obligations imposed by
 obligations imposed  by this
                         this Agreement
                              Agreement shall    take effect
                                           shall take         immediately upon
                                                       effect immediately  upon the
                                                                                 the Effective
                                                                                     Effective Date
                                                                                               Date
 and
 and shall
     shall remain in effect
           remain in        until this
                     effect until this Agreement
                                       Agreement isis terminated
                                                      terminated in
                                                                  in accordance  with the
                                                                     accordance with  the terms
                                                                                          terms hereof.
                                                                                                hereof.

         22.2 Valid
         22.2     Valid and     Binding Obligation.
                          and Binding                    Each Transaction
                                          Obligation. Each                   Party agrees
                                                                Transaction Party          that this
                                                                                    agrees that this Agreement
                                                                                                     Agreement
 constitutes
 constitutes aa legal,
                legal, valid,
                        valid, and   binding obligation
                                and binding   obligation ofof such
                                                               such Transaction   Party, enforceable
                                                                    Transaction Party,   enforceable against
                                                                                                       against
 such
 such Transaction    Party in
       Transaction Party     in accordance    with its
                                 accordance with    its terms.
                                                        terms. Each
                                                                 Each Transaction    Party hereby
                                                                       Transaction Party           irrevocably
                                                                                           hereby irrevocably
 and  unconditionally waives,
 and unconditionally      waives, to
                                   to the
                                       the fullest
                                           fullest extent
                                                   extent permitted
                                                           permitted byby applicable
                                                                          applicable law,
                                                                                      law, any
                                                                                           any and
                                                                                                and all
                                                                                                     all legal,
                                                                                                         legal,
 equitable
 equitable and
           and other
                 other defenses
                         defenses toto the
                                       the enforcement
                                           enforcement of     this Agreement
                                                           of this Agreement oror any
                                                                                   any obligation
                                                                                       obligation hereunder
                                                                                                   hereunder it it
 may
 may have   (now or
       have (now       in the
                   or in  the future)
                               future) by
                                        by reason
                                            reason of
                                                    of any  illegality or
                                                       any illegality     lack of
                                                                       or lack    validity or
                                                                               of validity or enforceability
                                                                                              enforceability of of
 this Agreement
 this Agreement or or any
                       any obligation
                            obligation hereunder.
                                         hereunder.

           22.3 Release.
           22.3    Release. Upon
                               Upon the
                                      the execution    this Agreement,
                                          execution this    Agreement, eacheach of  the Transaction
                                                                                 of the               Parties, for
                                                                                        Transaction Parties,   for
 itself, its
 itself, its administrators,
             administrators, heirs,
                               heirs, representatives,
                                      representatives, successors,
                                                          successors, oror assigns,
                                                                           assigns, hereby   waives, releases,
                                                                                     hereby waives,    releases,
 abandons,
 abandons, and     forever discharges
              and forever   discharges CFIUS
                                          CFIUS and     its successors,
                                                   and its                the United
                                                            successors, the   United States,
                                                                                       States, and
                                                                                               and any
                                                                                                   any
 department,
 department, agency,
                 agency, or
                          or establishment
                             establishment of     the United
                                               of the  United States,
                                                               States, and
                                                                        and any
                                                                             any officers,
                                                                                  officers, employees,
                                                                                            employees, agents,
                                                                                                          agents,
 successors,
 successors, or or assigns
                   assigns of
                           of such
                               such department,
                                     department, agency,
                                                    agency, oror establishment,    from any
                                                                 establishment, from     any and
                                                                                              and all
                                                                                                   all claims,
                                                                                                       claims,
 demands
 demands and and causes
                  causes of
                          of action
                             action of
                                     of every
                                         every kind,
                                                kind, nature,
                                                       nature, or
                                                                or description,   whether known
                                                                   description, whether     known or    unknown,
                                                                                                    or unknown,
 which have
 which          been, could
          have been,   could have   been, or
                              have been,    or could
                                               could bebe asserted  in connection
                                                          asserted in                with CFIUS
                                                                        connection with    CFIUS Case     20-100
                                                                                                   Case 20-100
 or
 or any
    any related
          related orders  (including the
                   orders (including    the August
                                            August 14 14 Order),
                                                          Order), regardless
                                                                  regardless of    whether they
                                                                               of whether   they were
                                                                                                 were named
                                                                                                         named inin
 any  complaints    filed by  the Transaction    Parties   and regardless   of whether   they  were
 any complaints filed by the Transaction Parties and regardless of whether they were included in     included   in
 the complaint,
 the               including any
     complaint, including      any claims    for costs,
                                    claims for   costs, expenses,
                                                         expenses, attorney
                                                                     attorney fees,
                                                                               fees, and
                                                                                     and damages
                                                                                          damages of of any
                                                                                                        any sort.
                                                                                                             sort.

         In
         In connection    with such
            connection with           waiver and
                                such waiver     and relinquishment,
                                                     relinquishment, each  each of  the Transaction
                                                                                 of the                Parties
                                                                                         Transaction Parties
 acknowledges    that it
 acknowledges that    it is
                         is aware   that it
                            aware that   it may
                                            may hereafter
                                                  hereafter discover
                                                                discover claims
                                                                           claims presently    unknown or
                                                                                   presently unknown       or
 unsuspected, or
 unsuspected,      facts in
                or facts in addition   to or
                             addition to   or different
                                              different from      those which
                                                            from those   which itit now
                                                                                    now knows,     with respect
                                                                                          knows, with    respect toto
 the matters
 the matters released
              released herein.     Nevertheless, it
                        herein. Nevertheless,       it is
                                                       is the
                                                           the intention
                                                                intention of
                                                                           of each
                                                                              each of   the Transaction
                                                                                     of the                Parties,
                                                                                            Transaction Parties,
 through such
 through  such release,
                release, and   with the
                          and with   the advice
                                          advice ofof counsel,
                                                       counsel, to to settle
                                                                      settle and
                                                                             and release
                                                                                  release all
                                                                                           all such
                                                                                               such matters,
                                                                                                     matters, and
                                                                                                                and all
                                                                                                                      all
 claims
 claims as
         as described
            described above
                       above relative     thereto, which
                                relative thereto,   which heretofore
                                                               heretofore have
                                                                            have existed,
                                                                                  existed, now
                                                                                            now exist,
                                                                                                  exist, or
                                                                                                         or hereafter
                                                                                                            hereafter
 may
 may exist  between the
      exist between   the Transaction      Parties and
                            Transaction Parties     and CFIUS,
                                                           CFIUS, thethe United
                                                                          United States,
                                                                                   States, and
                                                                                           and any
                                                                                                any department,
                                                                                                     department,
 agency,
 agency, or
          or establishment
             establishment of     the United
                               of the United States,
                                                States, and
                                                          and officers,
                                                                officers, agents,
                                                                          agents, employees
                                                                                   employees and and former
                                                                                                      former
 employees,   individually or
 employees, individually         in their
                              or in their official
                                           official capacities,
                                                    capacities, arising
                                                                    arising out
                                                                             out of
                                                                                 of or
                                                                                    or related  to any
                                                                                        related to  any or
                                                                                                         or all
                                                                                                            all of  this
                                                                                                                of this
 Agreement,    CFIUS   Case    20-100,  or  any  related     orders  (including   the
 Agreement, CFIUS Case 20-100, or any related orders (including the August 14 Order); August    14  Order);
 provided, however,
 provided,             that nothing
            however, that    nothing herein
                                       herein shall
                                                shall operate
                                                       operate to to release
                                                                     release or
                                                                              or discharge
                                                                                 discharge any
                                                                                             any claim
                                                                                                   claim for  breach
                                                                                                          for breach
 of this Agreement.
 of this Agreement.

         22.4 Interpretation.
         22.4                      The section
                 Interpretation. The    section headings
                                                headings andand numbering
                                                                 numbering inin this
                                                                                this Agreement
                                                                                     Agreement are are
 inserted for
 inserted for convenience
              convenience only
                             only and
                                   and shall
                                       shall not
                                             not affect   the meaning
                                                 affect the   meaning or  interpretation of
                                                                       or interpretation      the terms
                                                                                          of the  terms of
                                                                                                         of
 this Agreement.
 this Agreement. AllAll references
                        references herein   to Articles,
                                    herein to  Articles, Sections,
                                                           Sections, and
                                                                     and Annexes
                                                                         Annexes shall    be deemed
                                                                                    shall be  deemed
 references  to Articles,
 references to  Articles, Sections,
                          Sections, and
                                     and Annexes
                                          Annexes of    this Agreement
                                                     of this             unless the
                                                             Agreement unless    the context
                                                                                     context shall
                                                                                               shall
 otherwise
 otherwise require.
            require. The   words "hereof,"
                      The words    “hereof,” "herein,"
                                              “herein,” and    “hereunder” and
                                                          and "hereunder"        words of
                                                                            and words    of like import used
                                                                                            like import  used
 in this
 in this Agreement
         Agreement refer   to this
                     refer to this Agreement
                                   Agreement as as aa whole
                                                      whole and
                                                              and not to any
                                                                  not to any particular
                                                                              particular provision
                                                                                         provision of   this
                                                                                                     of this


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                                                           76
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                                                   APP-502
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                                          CONFIDENTIAL
                                          CONFIDENTIAL PURSUANT
                                                         PURSUANT TO TO 50
                                                                         50 U.S.C.
                                                                            U.S.C. § § 4565
                                                                                       4565
                                      EXEMPT
                                      EXEMPT FROM   DISCLOSURE UNDER
                                               FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                              U.S.C. §§ 552
                                                                                        552
                                                               Parties’ Draft as
                                                               Parties' Draft as of 8/23/22
                                                                                 of 8/23/22

 Agreement.     Whenever the
 Agreement. Whenever         the words
                                 words "include,"
                                        “include,” "includes,"
                                                     “includes,” or    “including” are
                                                                    or "including"        used in
                                                                                      are used  in this
                                                                                                   this
 Agreement
 Agreement they shall be deemed to be followed by the words "without limitation." The
              they  shall be  deemed   to be followed    by  the  words   “without   limitation.”       word
                                                                                                    The word
 “extent” in
 "extent"  in the
              the phrase   “to the
                   phrase "to  the extent”
                                   extent" means    the degree
                                            means the    degree toto which
                                                                     which aa subject
                                                                               subject oror other thing extends
                                                                                            other thing extends
 and
 and such
      such phrase
            phrase shall
                    shall not
                          not mean
                               mean simply   “if.” Whenever
                                     simply "if."   Whenever any  any provision    in this
                                                                        provision in   this Agreement
                                                                                            Agreement refers   to
                                                                                                        refers to
 action to be
 action to  be taken
               taken by
                      by any   Person, or
                          any Person,      which any
                                        or which        Person is
                                                  any Person     is prohibited
                                                                    prohibited from     taking, such
                                                                                from taking,    such provision
                                                                                                      provision
 shall be applicable
 shall be              whether such
          applicable whether     such action  is taken
                                       action is taken directly
                                                         directly or  indirectly by
                                                                   or indirectly  by such    Person. The
                                                                                       such Person.   The
 definitions  given for
 definitions given   for terms
                         terms in
                                in this
                                   this Agreement
                                        Agreement shall
                                                      shall apply
                                                            apply equally    to both
                                                                    equally to  both the
                                                                                       the singular
                                                                                            singular and
                                                                                                     and plural
                                                                                                         plural
 forms of
 forms     the terms
        of the  terms defined.
                       defined.

         22.5 Notice
         22.5    Notice Regarding
                          Regarding Legal
                                     Legal Representation.
                                            Representation. The
                                                              The Transaction   Parties shall
                                                                  Transaction Parties   shall provide
                                                                                              provide
 notice to the
 notice to the CMAs,    including contact
               CMAs, including             information, of
                                   contact information, of any
                                                           any legal
                                                                legal representation  in connection
                                                                      representation in  connection
 with obligations
 with              under this
      obligations under    this Agreement,  whether outside
                                Agreement, whether  outside legal
                                                             legal counsel
                                                                   counsel or  internal general
                                                                            or internal general counsel,
                                                                                                 counsel,
 within five
 within five (5)
             (5) days
                  days following  the Effective
                       following the  Effective Date
                                                Date and  thereafter within
                                                     and thereafter  within five
                                                                             five (5)
                                                                                  (5) days following
                                                                                      days following
 any
 any change
     change toto such
                 such legal
                      legal representation.
                             representation.

         22.6 Choice
         22.6    Choice of  Law. This
                         of Law.  This Agreement
                                       Agreement shall be governed
                                                 shall be governed by
                                                                   by and interpreted according
                                                                      and interpreted according
 to the
 to the federal
        federal laws
                laws of the United
                     of the United States.
                                   States.

         22.7 Direct
         22.7    Direct Communications.
                        Communications. The  The Transaction     Parties acknowledge
                                                  Transaction Parties    acknowledge thatthat the
                                                                                              the CMAs
                                                                                                  CMAs
 may
 may communicate
      communicate directly    with the
                     directly with  the Security
                                        Security Committee,
                                                  Committee, thethe ByteDance
                                                                    ByteDance POC,POC, the
                                                                                        the Compliance
                                                                                             Compliance
 Officer, the Security
 Officer, the Security Officer, the Technology
                       Officer, the  Technology Officer
                                                   Officer and
                                                           and TTP,    the Source
                                                                 TTP, the  Source Code
                                                                                    Code Inspector,    the
                                                                                           Inspector, the
 Third-Party
 Third-Party Auditor,  the Third-Party
              Auditor, the                Monitor, the
                           Third-Party Monitor,     the Cybersecurity
                                                        Cybersecurity Auditor,
                                                                         Auditor, and
                                                                                   and any
                                                                                        any point
                                                                                             point of
                                                                                                   of
 contact
 contact designated  by the
          designated by the Transaction   Parties. The
                             Transaction Parties.    The Transaction    Parties further
                                                         Transaction Parties    further acknowledge
                                                                                         acknowledge thatthat
 the CMAs
 the CMAs maymay communicate
                  communicate directly    with any
                                 directly with       Personnel who
                                               any Personnel     who initiate
                                                                      initiate or
                                                                               or are included on
                                                                                  are included   on
 communications    with the
 communications with    the CMAs
                            CMAs regarding      this Agreement.
                                     regarding this  Agreement. These
                                                                   These acknowledgments
                                                                           acknowledgments shall       in no
                                                                                                 shall in no
 way prohibit
 way  prohibit or
               or otherwise
                  otherwise restrict  the Transaction
                             restrict the               Parties from
                                          Transaction Parties   from consulting    with, obtaining
                                                                      consulting with,    obtaining advice
                                                                                                     advice
 from, or
 from, or communicating    with the
           communicating with    the CMAs    through   counsel.
                                      CMAs through counsel.

          22.8 Forum
         22.8      Forum Selection.
                          Selection. A     civil action
                                        A civil         brought by
                                                 action brought  by any  Party for
                                                                    any Party      judicial relief
                                                                               for judicial         with
                                                                                             relief with
 respect  to any
 respect to  any dispute
                  dispute or
                          or matter   whatsoever arising
                             matter whatsoever              under, in
                                                    arising under, in connection   with, or
                                                                       connection with,      incident to,
                                                                                          or incident  to, this
                                                                                                           this
 Agreement
 Agreement shall     be brought,
              shall be  brought, if
                                  if at
                                     at all, in accordance
                                        all, in              with Section
                                                accordance with   Section 721(e)(2)   to the
                                                                           721(e)(2) to  the extent
                                                                                              extent
 applicable.
 applicable. IfIf Section
                  Section 721(e)(2)   is not
                           721(e)(2) is  not applicable,
                                               applicable, such
                                                           such civil
                                                                civil action
                                                                      action shall be brought
                                                                             shall be  brought in
                                                                                                in the
                                                                                                   the U.S.
                                                                                                        U.S.
 District Court
 District  Court for  the District
                  for the District of
                                   of Columbia.
                                      Columbia.

        22.9
        22.9      Other Laws. Nothing
                  Other Laws. Nothing in
                                      in this
                                         this Agreement is intended
                                              Agreement is intended to
                                                                    to limit,
                                                                       limit, alter,
                                                                              alter, or
                                                                                     or constitute
                                                                                        constitute aa
 waiver of:
 waiver of:

                  (1)
                  (1)      any
                           any obligation imposed on
                               obligation imposed    the Transaction
                                                  on the             Parties by
                                                         Transaction Parties by any U.S. federal,
                                                                                any U.S. federal,
 State,
 State, or
        or local law;
           local law;

                  (2)
                  (2)      any
                           any enforcement
                               enforcement authority
                                           authority available under any
                                                     available under     U.S. federal,
                                                                     any U.S. federal, State,
                                                                                       State, or
                                                                                              or local
                                                                                                 local
 law;
 law;

                  (3)
                  (3)      the sovereign
                           the           immunity of
                               sovereign immunity    the United
                                                  of the United States;
                                                                States; or
                                                                        or




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                                                       77
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                                            CONFIDENTIAL
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                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

                (4)
                (4)     any
                        any authority
                             authority or  jurisdiction the
                                       or jurisdiction  the USG
                                                            USG may
                                                                 may possess
                                                                       possess over the activities
                                                                               over the activities of
                                                                                                   of
 the Transaction
 the             Parties or
     Transaction Parties    their agents
                         or their         located within
                                  agents located   within or
                                                          or outside the United
                                                             outside the United States.
                                                                                States.

         22.10 Conflict
         22.10             with Applicable
                 Conflict with               Laws. In
                                 Applicable Laws.       the event
                                                     In the        that any
                                                            event that  any provision
                                                                            provision of
                                                                                      of law to which
                                                                                         law to which
 the Transaction
 the               Parties are
     Transaction Parties   are subject is inconsistent
                               subject is inconsistent with
                                                       with any
                                                             any provision
                                                                  provision of this Agreement,
                                                                            of this             the
                                                                                    Agreement, the
 Transaction   Parties shall
 Transaction Parties         immediately notify
                       shall immediately          the CMAs
                                           notify the CMAs of    the discrepancy
                                                              of the discrepancy and
                                                                                  and resolve the
                                                                                      resolve the
 conflict to the
 conflict to the satisfaction
                 satisfaction of the CMAs.
                              of the CMAs.

          22.11 Change
          22.11    Change in  in Circumstances.
                                 Circumstances. If,   If, after this Agreement
                                                          after this                takes effect,
                                                                      Agreement takes               the CMAs
                                                                                           effect, the  CMAs or     the
                                                                                                                 or the
 Transaction    Parties believe
  Transaction Parties    believe that
                                    that changed
                                          changed circumstances        warrant aa modification
                                                    circumstances warrant          modification or     termination of
                                                                                                    or termination   of
 this Agreement
 this               (including if
       Agreement (including        if the
                                      the CMAs
                                           CMAs determine       that the
                                                   determine that     the terms
                                                                          terms of   this Agreement
                                                                                  of this  Agreement are are
 inadequate or
 inadequate    or no  longer necessary
                  no longer    necessary to  to address
                                                address national
                                                          national security
                                                                    security concerns),      then the
                                                                               concerns), then     the Transaction
                                                                                                       Transaction
 Parties shall
 Parties  shall negotiate
                negotiate in in good
                                good faith
                                        faith with
                                               with the
                                                    the CMAs
                                                          CMAs to to modify
                                                                     modify or    terminate this
                                                                               or terminate    this Agreement.
                                                                                                    Agreement. For  For
 the avoidance
 the  avoidance ofof doubt,
                      doubt, ifif any
                                  any of   the Transaction
                                        of the                 Parties completes
                                                Transaction Parties     completes an     initial public
                                                                                     an initial  public offering
                                                                                                         offering or   if
                                                                                                                    or if
 aa sale or transfer  of any   Transaction     Party  to  any  Person   that is not  a foreign   person
    sale or transfer of any Transaction Party to any Person that is not a foreign person (as defined     (as  defined
 at  31 C.F.R.
  at 31  C.F.R. §
                § 800.224     (2020)) occurs,
                  800.224 (2020))                 the Transaction
                                         occurs, the                   Parties may
                                                       Transaction Parties      may petition    the CMAs
                                                                                      petition the   CMAs forfor aa
 modification
  modification or   termination (in
                 or termination      (in the
                                         the event
                                              event of
                                                     of aa requested   termination, pursuant
                                                           requested termination,      pursuant toto Section   22.15)
                                                                                                      Section 22.15)
 of  this Agreement,
  of this                which modification
          Agreement, which        modification or     termination shall
                                                  or termination           be in
                                                                     shall be  in the
                                                                                  the sole
                                                                                       sole discretion
                                                                                             discretion of   the
                                                                                                          of the
 CMAs.      Rejection of
  CMAs. Rejection       of aa proposed
                              proposed modification
                                           modification alone
                                                            alone does
                                                                   does not
                                                                         not constitute
                                                                              constitute evidence
                                                                                           evidence ofof aa failure to
                                                                                                            failure to
 negotiate   in good
  negotiate in  good faith.
                       faith.

          22.12 Severability.
          22.12   Severability. The
                                  The provisions
                                       provisions of    this Agreement
                                                     of this Agreement shall    be severable,
                                                                          shall be severable, and   if any
                                                                                               and if  any
 provision
  provision hereof
             hereof or  the application
                     or the application ofof such
                                             such provision    under any
                                                   provision under    any circumstances
                                                                           circumstances isis held invalid by
                                                                                              held invalid  by
 aa court
    court of
          of competent    jurisdiction, it
             competent jurisdiction,    it shall
                                           shall not
                                                 not affect  the validity
                                                     affect the  validity or
                                                                          or enforceability
                                                                              enforceability of
                                                                                              of any
                                                                                                 any other
                                                                                                     other
 provision
  provision of  this Agreement
             of this Agreement or    the application
                                  or the  application of
                                                       of any
                                                           any other
                                                               other provision,   which shall
                                                                      provision, which   shall remain   in full
                                                                                                remain in  full
 force
 force and
        and effect.
             effect.

         22.13 Waivers.
         22.13   Waivers. TheThe failure
                                  failure of  the CMAs
                                           of the  CMAs to to insist
                                                              insist on
                                                                      on strict
                                                                         strict performance
                                                                                performance of of any
                                                                                                   any of the
                                                                                                       of the
 provisions
 provisions of  this Agreement,
             of this Agreement, or    to exercise
                                   or to exercise any
                                                    any right  granted herein,
                                                        right granted    herein, shall
                                                                                  shall not  be construed
                                                                                        not be  construed asas aa
 relinquishment
 relinquishment or   future waiver;
                  or future  waiver; rather,   the provision
                                      rather, the  provision oror right
                                                                   right shall
                                                                         shall continue   in full
                                                                                continue in       force. No
                                                                                             full force.  No
 waiver by
 waiver  by the
            the CMAs
                 CMAs of of any
                            any provision
                                provision of,of, or
                                                 or right under, this
                                                    right under,   this Agreement
                                                                        Agreement shall     be valid
                                                                                     shall be  valid unless
                                                                                                      unless it
                                                                                                             it is
                                                                                                                 is
 in writing
 in writing and
            and expressly
                 expressly provides    for the
                             provides for  the waiver
                                                waiver of
                                                        of aa specified
                                                              specified requirement     under aa particular
                                                                          requirement under       particular
 provision
 provision of  this Agreement.
            of this Agreement. TheThe CMAs
                                        CMAs shall
                                                 shall have  the authority
                                                       have the              to grant
                                                                  authority to   grant or
                                                                                       or revoke
                                                                                           revoke any   waiver,
                                                                                                    any waiver,
 exception,
 exception, consent,
             consent, or
                       or approval  in their
                           approval in  their sole
                                              sole discretion.
                                                    discretion. The
                                                                  The Transaction     Parties understand
                                                                       Transaction Parties    understand andand
 acknowledge    that the
 acknowledge that    the CMAs    will consider
                          CMAs will    consider requests
                                                  requests for
                                                            for aa waiver
                                                                   waiver oror exception
                                                                               exception toto any
                                                                                              any provision
                                                                                                   provision of
                                                                                                              of
 this Agreement
 this              with aa presumption
      Agreement with       presumption of of denial.
                                             denial.

          22.14 Successors
          22.14   Successors andand Assigns.
                                     Assigns. This
                                                 This Agreement
                                                       Agreement is  is binding
                                                                        binding upon,
                                                                                  upon, and   inures to
                                                                                          and inures  to the
                                                                                                         the
 benefit of,
 benefit      the Transaction
          of, the               Parties and
                  Transaction Parties          their respective
                                          and their  respective successors
                                                                 successors andand assigns.    For purposes
                                                                                     assigns. For   purposes ofof
 this Agreement,
 this  Agreement, successors
                    successors and
                                 and assigns    under this
                                      assigns under    this Section   includes any
                                                            Section includes     any corporate
                                                                                       corporate name
                                                                                                  name changes.
                                                                                                         changes.
 No Transaction
 No                 Party may
      Transaction Party   may assign
                                assign any
                                         any obligation   under this
                                              obligation under    this Agreement      without the
                                                                       Agreement without       the prior  written
                                                                                                    prior written
 consent
 consent of   the CMAs.
           of the CMAs. The The Transaction      Parties shall
                                 Transaction Parties     shall remain
                                                               remain liable    for all
                                                                         liable for  all obligations  under this
                                                                                         obligations under   this
 Agreement
 Agreement thatthat are
                    are assigned
                        assigned toto any
                                      any other   Person. In
                                            other Person.      the event
                                                            In the          that any
                                                                    event that   any Transaction     Party effects
                                                                                      Transaction Party    effects
 the transfer,
 the  transfer, separation,
                separation, or
                             or sale
                                sale of
                                      of aa material
                                            material portion
                                                      portion of  its business
                                                               of its business operations
                                                                                 operations oror assets that are
                                                                                                 assets that  are
 subject  to requirements
 subject to                 under this
             requirements under     this Agreement,     including by
                                          Agreement, including      by way
                                                                        way ofof aa sale
                                                                                    sale of
                                                                                         of assets,
                                                                                            assets, spin-off,
                                                                                                    spin-off,
 split-off,
 split-off, reorganization,
            reorganization, oror similar   transaction, such
                                 similar transaction,    such Transaction     Party shall
                                                               Transaction Party            immediately notify
                                                                                      shall immediately    notify


                                                           78
                                                           78
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                                                   APP-504
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                                            CONFIDENTIAL
                                            CONFIDENTIAL PURSUANT
                                                           PURSUANT TO TO 50
                                                                           50 U.S.C.
                                                                              U.S.C. § § 4565
                                                                                         4565
                                        EXEMPT
                                        EXEMPT FROM   DISCLOSURE UNDER
                                                 FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                                U.S.C. §§ 552
                                                                                          552
                                                                 Parties’ Draft as
                                                                 Parties' Draft as of 8/23/22
                                                                                   of 8/23/22

 the CMAs
 the CMAs in  in writing
                 writing and,
                          and, after
                               after consultation    with the
                                     consultation with     the CMAs,
                                                               CMAs, thethe transferee,
                                                                            transferee, successor,
                                                                                          successor, or
                                                                                                      or
 acquirer,  as applicable,  may,  without   any   further  action  required of  the  Transaction
 acquirer, as applicable, may, without any further action required of the Transaction Parties,     Parties,
 execute
 execute aa joinder
             joinder agreement    under which
                     agreement under      which such    transferee, successor,
                                                  such transferee,   successor, oror acquirer,
                                                                                     acquirer, as
                                                                                                as applicable,
                                                                                                   applicable,
 takes on
 takes     the relevant
       on the   relevant obligations   under this
                          obligations under    this Agreement
                                                    Agreement and      becomes aa Party
                                                                  and becomes       Party hereto.
                                                                                           hereto. In  the event
                                                                                                    In the  event
 that any
 that any Transaction    Party effects
           Transaction Party             the transfer,
                                effects the  transfer, separation,
                                                        separation, or
                                                                     or sale
                                                                        sale of
                                                                             of aa material
                                                                                   material portion
                                                                                             portion of  its
                                                                                                      of its
 business operations
 business  operations oror assets that are
                           assets that  are subject
                                            subject toto requirements   under this
                                                         requirements under     this Agreement
                                                                                     Agreement to  to an
                                                                                                      an
 Affiliate,
 Affiliate, such
             such Transaction   Party shall,
                   Transaction Party   shall, at  the time
                                               at the time of
                                                            of such  transaction, cause
                                                               such transaction,           the relevant
                                                                                    cause the  relevant
 Affiliate  to execute
 Affiliate to  execute aa joinder
                          joinder agreement     under which
                                   agreement under      which the
                                                                the Affiliate takes on
                                                                    Affiliate takes      the relevant
                                                                                      on the relevant
 obligations   under this
 obligations under    this Agreement
                           Agreement and      becomes aa Party
                                        and becomes        Party hereto.
                                                                  hereto.

        22.15 Termination
        22.15   Termination of   this Agreement.
                              of this Agreement. After    this Agreement
                                                   After this               takes effect,
                                                               Agreement takes             it shall
                                                                                  effect, it  shall
 terminate only
 terminate      upon written
           only upon  written notice  by the
                               notice by the CMAs
                                             CMAs to to the
                                                        the Transaction   Parties. Termination
                                                            Transaction Parties.    Termination of     this
                                                                                                    of this
 Agreement
 Agreement shall
            shall not
                  not relieve
                      relieve aa Transaction Party from
                                 Transaction Party  from liability
                                                          liability for
                                                                    for any breach or
                                                                        any breach       violation of
                                                                                     or violation      this
                                                                                                    of this
 Agreement
 Agreement occurring   while the
            occurring while   the Agreement   was in
                                  Agreement was    in effect
                                                       effect or
                                                              or for
                                                                 for fraud.
                                                                     fraud. Article
                                                                             Article II (Definition
                                                                                        (Definition of
                                                                                                     of
 Terms)
 Terms) and
        and Article
             Article XXII  (General Provisions)
                     XXII (General    Provisions) shall
                                                  shall survive
                                                         survive aa termination
                                                                    termination of  this Agreement.
                                                                                 of this  Agreement.

         22.16 Amendment.
         22.16   Amendment. This
                            This Agreement
                                 Agreement may be amended
                                           may be amended only by written
                                                          only by written agreement
                                                                          agreement signed
                                                                                    signed
 by all
 by all of the Parties.
        of the Parties.

        22.17 Tolling
        22.17    Tolling of Deadlines. Any
                         of Deadlines.    Any non-objection,
                                               non-objection, consent,
                                                               consent, or
                                                                        or approval
                                                                            approval provision
                                                                                     provision
 applicable to the
 applicable to the CMAs    under this
                   CMAs under     this Agreement
                                       Agreement shall   be tolled
                                                   shall be tolled during
                                                                   during aa shutdown  in federal
                                                                             shutdown in  federal
 government operations
 government   operations due  to aa lapse
                          due to    lapse in
                                          in appropriations.
                                             appropriations.

         22.18 Computing
        22.18   Computing Time.
                            Time. All
                                  All references to "days"
                                      references to “days” in
                                                            in this
                                                               this Agreement
                                                                    Agreement mean
                                                                               mean calendar
                                                                                      calendar days
                                                                                               days
 unless otherwise
 unless otherwise expressly
                  expressly provided.
                            provided. In
                                      In computing
                                         computing any   time period
                                                     any time  period pursuant to this
                                                                      pursuant to this Agreement:
                                                                                       Agreement:

                  (1)
                  (1)      For any
                           For any period
                                   period stated in days:
                                          stated in days:

                           (i)
                           (i)     the day
                                   the day of the event
                                           of the       that triggers
                                                  event that triggers the
                                                                      the period is excluded;
                                                                          period is excluded; and
                                                                                              and

                          (ii)
                          (ii)     the last
                                   the last day
                                            day of the period
                                                of the        is included,
                                                       period is included, but
                                                                           but if
                                                                               if the
                                                                                  the last
                                                                                      last day is aa
                                                                                           day is
         Saturday,
         Saturday, Sunday,
                    Sunday, or or federal
                                  federal holiday,  the period
                                          holiday, the  period continues to run
                                                               continues to      until the
                                                                            run until  the end
                                                                                           end of   the next
                                                                                                of the  next
         day that is
         day that is not
                     not aa Saturday,
                            Saturday, Sunday,
                                        Sunday, or  federal holiday.
                                                 or federal holiday.

                  (2)
                  (2)      For any
                           For any period
                                   period stated in "months,"
                                          stated in “months,” such
                                                              such period
                                                                   period means
                                                                          means once
                                                                                once every thirty
                                                                                     every thirty
 (30) days.
 (30) days.

                  (3)
                  (3)      For any
                           For any period
                                   period stated in "quarters,"
                                          stated in “quarters,” such
                                                                such period
                                                                     period means
                                                                            means once
                                                                                  once every
                                                                                       every ninety
                                                                                             ninety
 (90) days.
 (90) days.

               (4)
               (4)     For any
                       For any period
                               period stated in "years,"
                                      stated in “years,” such
                                                         such period
                                                              period means
                                                                     means once
                                                                           once every three
                                                                                every three
 hundred
 hundred and
         and sixty-five (365) days.
             sixty-five (365) days.

                  (5)
                  (5)      For any
                           For any period
                                   period stated “semi-annually,” such
                                          stated "semi-annually," such period
                                                                       period means twice per
                                                                              means twice     year.
                                                                                          per year.

       22.19 Notices.
       22.19  Notices. All
                        All notices
                             notices and
                                      and other
                                          other communications   given or
                                                communications given   or made
                                                                          made relating to this
                                                                               relating to this
 Agreement
 Agreement shall be in
           shall be in writing,
                       writing, shall be deemed
                                shall be deemed toto have been duly
                                                     have been      given or
                                                               duly given or made
                                                                             made as
                                                                                  as of the date
                                                                                     of the date of
                                                                                                 of


                                                        79
                                                        79
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                                                APP-505
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                                                       PURSUANT TO TO 50
                                                                       50 U.S.C.
                                                                          U.S.C. § § 4565
                                                                                     4565
                                    EXEMPT
                                    EXEMPT FROM   DISCLOSURE UNDER
                                             FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                            U.S.C. §§ 552
                                                                                      552
                                                             Parties’ Draft as
                                                             Parties' Draft as of 8/23/22
                                                                               of 8/23/22

 receipt,
 receipt, and
          and shall be sent
              shall be      by electronic
                       sent by electronic mail
                                           mail addressed to the
                                                addressed to the Parties'
                                                                 Parties’ designated
                                                                          designated representatives
                                                                                     representatives
 at
 at the addresses shown below, or to such other representatives at such other addresses as
    the addresses shown   below,  or to such other representatives at such other addresses    the
                                                                                           as the
 applicable Party may
 applicable Party  may designate   in accordance
                        designate in              with this
                                      accordance with  this Section:
                                                            Section:

        If to the
        If to the CMAs:
                  CMAs:

        [XXX]
        [XXX]

        If to TTUSDS:
        If to TTUSDS:

        [XXX]
        [XXX]

        With aa copy
        With         to (which
                copy to (which shall
                               shall not
                                     not constitute
                                         constitute notice):
                                                    notice):

        [XXX]
        [XXX]

        If to TikTok
        If to TikTok Inc.:
                     Inc.:

        [XXX]
        [XXX]

        With aa copy
        With         to (which
                copy to (which shall
                               shall not
                                     not constitute
                                         constitute notice):
                                                    notice):

        [XXX]
        [XXX]

        If to TikTok
        If to        Ltd.:
              TikTok Ltd.:

        [XXX]
        [XXX]

        With aa copy
        With         to (which
                copy to (which shall
                               shall not
                                     not constitute
                                         constitute notice):
                                                    notice):

        [XXX]
        [XXX]

        If to ByteDance:
        If to ByteDance:

        [XXX]
        [XXX]

        With aa copy
        With         to (which
                copy to (which shall
                               shall not
                                     not constitute
                                         constitute notice):
                                                    notice):

        [XXX]
        [XXX]

         22.20 Entire
         22.20   Entire Agreement.
                        Agreement. This
                                     This Agreement,    together with
                                          Agreement, together    with any
                                                                       any Annexes
                                                                           Annexes and   Exhibits
                                                                                   and Exhibits
 hereto,
 hereto, constitutes the entire
         constitutes the        understandings of
                         entire understandings     the Parties
                                                of the Parties hereto
                                                               hereto and
                                                                      and supersedes
                                                                          supersedes all
                                                                                     all prior
                                                                                         prior
 agreements  or understandings   with respect to the subject matter  hereof.
 agreements or understandings with respect to the subject matter hereof

        22.21 Counterparts.
        22.21   Counterparts. This
                                 This Agreement
                                      Agreement may    be executed
                                                  may be            in one
                                                           executed in     (1) or
                                                                       one (1) or more
                                                                                  more counterparts,
                                                                                        counterparts,
 including portable
 including portable document    format (.pdf)
                    document format    (.pdf) or
                                              or other
                                                 other electronic
                                                       electronic counterparts,
                                                                  counterparts, each
                                                                                each of which shall
                                                                                     of which  shall
 be deemed
 be deemed an
            an original, but all
               original, but all of which together
                                 of which together shall  be deemed
                                                    shall be         to constitute
                                                             deemed to  constitute one
                                                                                   one and the same
                                                                                       and the same
 agreement.
 agreement.


                                                  80
                                                  80
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                                               PURSUANT TO TO 50
                                                               50 U.S.C.
                                                                  U.S.C. § § 4565
                                                                             4565
                            EXEMPT
                            EXEMPT FROM   DISCLOSURE UNDER
                                     FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                    U.S.C. §§ 552
                                                                              552
                                                     Parties’ Draft as
                                                     Parties' Draft as of 8/23/22
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                                      CONFIDENTIAL PURSUANT
                                                     PURSUANT TO TO 50
                                                                     50 U.S.C.
                                                                        U.S.C. § § 4565
                                                                                   4565
                                  EXEMPT
                                  EXEMPT FROM   DISCLOSURE UNDER
                                           FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                          U.S.C. §§ 552
                                                                                    552
                                                           Parties’ Draft as
                                                           Parties' Draft as of 8/23/22
                                                                             of 8/23/22

 This
 This Agreement is executed
      Agreement is executed on behalf of
                            on behalf    the Parties:
                                      of the Parties:

                                                    ByteDance Ltd.
                                                    ByteDance Ltd.


  Date: _____________________
  Date:                                             By: ________________________________
                                                    By:
                                                    Printed Name:
                                                    Printed Name:
                                                    Title:
                                                    Title:


                                                    TikTok Ltd.
                                                    TikTok Ltd.


  Date: _____________________
  Date:                                             By: ________________________________
                                                    By:
                                                    Printed Name:
                                                    Printed Name:
                                                    Title:
                                                    Title:


                                                    TikTok
                                                    TikTok Inc.
                                                           Inc.


  Date: _____________________
  Date:                                             By: ________________________________
                                                    By:
                                                    Printed Name:
                                                    Printed Name:
                                                    Title:
                                                    Title:


                                                    TTUSDS
                                                    TTUSDS


  Date: _____________________
  Date:                                             By: ________________________________
                                                    By:
                                                    Printed Name:
                                                    Printed Name:
                                                    Title:
                                                    Title:


                                                    For [•]
                                                    For Es]


  Date: _____________________
  Date:                                             By: ________________________________
                                                    By:
                                                    Printed Name:
                                                    Printed Name:
                                                    Title:
                                                    Title:




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                                  CONFIDENTIAL PURSUANT
                                                 PURSUANT TO TO 50
                                                                 50 U.S.C.
                                                                    U.S.C. § § 4565
                                                                               4565
                              EXEMPT
                              EXEMPT FROM   DISCLOSURE UNDER
                                       FROM DISCLOSURE     UNDER 5  5 U.S.C.
                                                                      U.S.C. §§ 552
                                                                                552
                                                       Parties’ Draft as
                                                       Parties' Draft as of 8/23/22
                                                                         of 8/23/22


                                           For [•]
                                           For Es]


  Date: _____________________
  Date:                                    By: ________________________________
                                           By:
                                           Printed Name:
                                           Printed Name:
                                           Title:
                                           Title:


                                           For [•]
                                           For [•]


  Date: _____________________
  Date:                                    By: ________________________________
                                           By:
                                           Printed Name:
                                           Printed Name:
                                           Title:
                                           Title:




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                ANNEX
                ANNEX A
                      A–  Engineering and
                        — Engineering     Business Related
                                      and Business Related Metrics
                                                           Metrics




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                        ANNEX B -– Interoperability
                        ANNEX B                     Data
                                   Interoperability Data




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                          Annex
                          Annex C
                                C–  E-Commerce Data
                                  — E-Commerce Data




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                 Annex D –— Form
                 Annex D    Form of
                                 of Joinder
                                    Joinder Agreement
                                            Agreement for
                                                      for TTUSDS
                                                          TTUSDS




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                 Annex E –— Feature
                 Annex E    Feature Categories
                                    Categories as
                                               as of the Effective
                                                  of the Effective Date
                                                                   Date




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                     ANNEX F –— List
                     ANNEX F    List of ByteDance Competitors
                                     of ByteDance Competitors




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                          ANNEX
                          ANNEX G
                                G–  Public Summary
                                  — Public Summary




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                                         Business Confidential Pursuant to 50 U.S.C. § 4565
                                            Protectedfrom Disclosure Under 5 U.S.C. § 552
                                                                                 8/19/2022

                     Updated Definition of Terms Used in Annexes A and B

 This table lists and defines various terms used in the descriptions laid out in Annexes A and B to
 the Term Sheet, related to Engineering and Business Related data and Interoperability data,
 respectively. Note that consistent with the categories laid out in Annex A, this data will be
 aggregated and will not contain identifiable information.

       Term                                            Definition
                      advertising engagement behavior (e.g., views and clicks of an
   3P data sharing
                      advertisement) that is shared with third-party partners to measure
      requested
                      advertising performance
      Account         user account data (e.g., register time, signature, number of videos
      property        published, number of followers)
                      indicates the status of the user account (e.g., registered, unregistered,
   Account status
                      banned)
                      data on each step of the user engagement funnel (e.g., how many users
       Action
                      start recording video, then edit their video, then publish their video);
   placement and
                      allows measurement of the total click-through rate and loss rate of each
       history
                      step
                      user behavior attributes (e.g., `live_duration_d30_avg_layer_byda_v1',
   Action source
                      which is calculated by the host's 30 day average live streaming duration
   user attributes
                      time)
       Activity       data related to the attributes of live streaming activity (e.g., activity name,
      attributes      activity time)
                      data from each module in the advertising process that enables advertising
      Addebug
                      optimization
                      data related to the attributes of an advertising campaign (e.g., advertising
   Ads attributes
                      objective, targeting criteria, bidding settings, delivery schedule)
                      data related to the creative aspects of an advertising campaign (e.g.,
    Ad property
                      content, graphics, text, comments)
                      data related to the attributes of an advertising campaign experiment (e.g.,
   Ads experiment
                      advertising objective, targeting criteria, bidding settings, delivery schedule,
     attributes
                      experiment details)
                      indicates whether a specific advertisement has passed or failed the
     Ads review
                      advertisement review process and the associated reason (e.g., "rejected
     attributes
                      because of violence content")
    Ads tracking      indicates an option for sending engagement behavior data between users
      option          and advertisements to third-party partners (e.g.. domain name)
   Adset property     Same as "Ad property"




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                                           Protected from
                                           Protected  from Disclosure
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                     segmented    user acquisition
                      segmented user     acquisition metrics
                                                      metrics (e.g.,   installs, retention,
                                                                (e.g., installs, retention, cost)   by
                                                                                              cost) by
  Agency property
  Agency property
                     advertising   agency names
                      advertising agency    names
                     aa range indicating the
                        range indicating   the number
                                                number of of fans
                                                             fans identified
                                                                   identified in
                                                                               in aa live-streaming
                                                                                     live-streaming anchor
                                                                                                      anchor
                     (an anchor
                     (an          is aa special
                          anchor is             link on
                                        special link  on aa video
                                                            video that
                                                                    that enables   users to
                                                                         enables users    to enter an
                                                                                             enter an
    Anchor fans
    Anchor  fans
                     application   or website
                      application or   website if
                                                if the
                                                   the user
                                                       user is
                                                             is interested
                                                                interested in
                                                                            in aa deeper
                                                                                  deeper exploration
                                                                                           exploration ofof
      range
      range
                     related
                      related content   within aa video.
                              content within      video. It's
                                                          It’s composed
                                                               composed of  of 33 basic
                                                                                  basic parts:  icon, title,
                                                                                         parts: icon, title,
                     landing page)
                     landing   page)
   App attributes
   App attributes    app installation package
                     app installation         attributes (e.g.,
                                      package attributes (e.g., app version, app
                                                                app version, app name)
                                                                                 name)

                     indicates which
                     indicates which of the two
                                     of the two potential
                                                  potential app
                                                            app homescreens is designated
                                                                homescreens is            (i.e.,
                                                                               designated (i.e.,
     App page
     App page
                     the "For
                     the “For You”
                              You" page
                                   page or   the "Following"
                                          or the “Following” page)
                                                               page)

                     basic information
                     basic information of the application
                                       of the             (e.g., app
                                              application (e.g.,     id, app
                                                                 app id,     version,
                                                                         app version,
    App property
    App property
                     iOS/Android)
                     i0S/Android)
                     indicates whether
                     indicates whether aa push  is triggered
                                           push is triggered by
                                                             by Arbit
                                                                Arbit (Arbit
                                                                      (Arbit is
                                                                             is the
                                                                                the name
                                                                                    name of
                                                                                         of aa
    Arbit trigger
    Arbit trigger
                     system  that triggers
                     system that  triggers content/video
                                           content/video pushes  by the
                                                          pushes by the push  algorithm)
                                                                        push algorithm)
     Basic user
     Basic  user     commonly    used aggregated
                     commonly used    aggregated metrics      of user
                                                     metrics of  user engagement
                                                                      engagement withwith
     interaction
     interaction     advertisements  (e.g., impression,
                     advertisements (e.g.,  impression, click,    video play)
                                                           click, video   play)
                     offer by an
                     offer by    advertiser of
                              an advertiser  of aa specific
                                                   specific price  for aa unit
                                                            price for     unit of
                                                                               of result
                                                                                  result for their
                                                                                         for their
        Bid
        Bid          advertisement  groups (e.g.,
                     advertisement groups    (e.g., aa system  generated id
                                                       system generated    id which
                                                                               which equates   to "paying
                                                                                      equates to   “paying
                     $15
                     $15 for
                         for 1K
                             1K impressions”)
                                 impressions")
                     settings that allow
                     settings that allow advertisers   to set
                                          advertisers to      their bid
                                                          set their bid strategy
                                                                        strategy (for
                                                                                 (for further
                                                                                      further
       Bidding
       Bidding
                     information on
                     information      bid strategies,
                                   on bid  strategies, see
                                                       see
      (settings)
      (settings)
                     https://ads.tiktok.com/help/article?aid=9685)
                     https://ads.tiktok.com/help/article?aid=9685)
     Campaign
     Campaign
                     segmented
                     segmented paid
                               paid advertisement
                                    advertisement metrics
                                                  metrics by
                                                          by campaign
                                                             campaign names
                                                                      names
      property
     property
                     type of
                     type of subdivision for media
                             subdivision for media source traffic (e.g.,
                                                   source traffic (e.g., Google
                                                                         Google can be divided
                                                                                can be divided
      Channel
      Channel
                     into search
                     into search channel
                                 channel and YouTube channel)
                                         and YouTube   channel)
      Channel
      Channel
                     same
                     same as “Channel”
                          as "Channel"
      property
      property
        Client
        Client       actions taken by
                     actions taken by aa user
                                         user through
                                              through the
                                                      the TikTok
                                                          TikTok app
                                                                 app or website (e.g.,
                                                                     or website (e.g., like,
                                                                                       like, save,
                                                                                             save,
     interaction
     interaction     favorite, watch
                     favorite, watch video
                                     video to
                                            to completion)
                                               completion)
   Comment  push
   Comment push
                     indicates whether
                     indicates whether aa user
                                          user has turned on
                                               has turned on push
                                                             push notification
                                                                  notification for
                                                                               for comments
                                                                                   comments
      off/on
      off/on
    Content
    Content type
            type     type of
                     type of content (e.g., video,
                             content (e.g., video, music, user card,
                                                   music, user card, comment, live streaming)
                                                                     comment, live streaming)
     Conversion
     Conversion      settings that allow
                     settings that allow advertisers to set
                                         advertisers to set aa conversion
                                                               conversion goal
                                                                          goal for their
                                                                               for their
      (settings)
      (settings)     advertisement   groups from
                     advertisement groups         the conversion
                                            from the               types
                                                      conversion types
                     type of
                     type of conversion goal advertisers
                             conversion goal  advertisers set
                                                          set for their advertisement
                                                              for their advertisement groups
                                                                                      groups (e.g.,
                                                                                             (e.g.,
  Conversion
  Conversion type
             type
                     app
                     app download,  installation, activation,
                         download, installation,  activation, registration)
                                                              registration)
                     information that
                     information    that describes the location
                                         describes the          of aa device
                                                       location of           with lower
                                                                      device with lower resolution
                                                                                        resolution
   Coarse location
   Coarse location
                     than aa latitude
                     than    latitude and
                                      and longitude
                                           longitude with
                                                     with three
                                                           three or
                                                                 or more
                                                                     more decimal
                                                                          decimal places
                                                                                   places

                                                    22

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                                             Protected  from Disclosure
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                       action types such
                       action types such as
                                          as comment
                                              comment posts
                                                       posts and
                                                             and comment  likes; comment
                                                                 comment likes;  comment
      Comment
      Comment
                       characteristics (e.g., whether
                       characteristics (e.g., whether the
                                                      the comment  is spam,
                                                          comment is        whether the
                                                                      Spam, whether the comment
                                                                                        comment
      attributes
      attributes
                       is posted
                       is        by friends)
                          posted by friends)
                       reference  to the
                       reference to  the specific images or
                                         specific images    videos that
                                                         or videos that are
                                                                        are presented
                                                                            presented toto users,
                                                                                           users, to
                                                                                                  to
      Creative
      Creative         facilitate
                       facilitate evaluation
                                  evaluation of
                                             of how  users responded
                                                how users             to that
                                                           responded to  that specific image or
                                                                              specific image      video
                                                                                               or video
                       advertisement
                       advertisement
      Creative
      Creative         creative
                       creative characteristics (e.g., creative
                                characteristics (e.g., creative media types, including
                                                                media types, including image,
                                                                                       image, video
                                                                                              video
      property
      property         and text)
                       and text)
  Creator power
  Creator       of measurement
          power of             of creator's
                   measurement of           influence (e.g.,
                                  creator's influence (e.g., how many followers,
                                                             how many followers, frequency
                                                                                 frequency
     influence
     influence     of
                   of engagement)
                      engagement)
      Customer
      Customer       segment  users by
                     segment users  by customer
                                       customer service-related  attributes (e.g.,
                                                 service-related attributes (e.g., feedback types
                                                                                   feedback types
          attributes such
  service attributes
  service            such as bugs, suggestions,
                          as bugs, suggestions, and
                                                and help)
                                                    help)
                       characteristics
                       characteristics of the device
                                       of the        being used
                                              device being used to
                                                                to access the TikTok
                                                                   access the TikTok platform
                                                                                     platform
  Device attributes
  Device attributes
                       (e.g., make,
                       (e.g., make, model,
                                    model, OS
                                            OS type,
                                                type, OS
                                                      OS version)
                                                         version)
   Device health
   Device  health      statistics that can
                       statistics that     be used
                                       can be       to check
                                              used to        whether the
                                                       check whether the app
                                                                         app resource  usage is
                                                                              resource usage is
     statistics
     statistics        normal   (e.g., CPU
                       normal (e.g.,   CPU utilization,
                                            utilization, memory usage, battery
                                                         memory usage,  battery usage)
                                                                                usage)
                       indicates whether
                       indicates whether aa user
                                            user has turned on
                                                 has turned on system
                                                               system notifications
                                                                      notifications for
                                                                                    for likes their
                                                                                        likes their
  Digg push
  Digg push off/on
            off/on
                       content
                       content receives
                               receives
    E-commerce
    E-commerce
                       characteristics
                       characteristics of
                                       of an
                                          an e-commerce
                                             e-commerce product (e.g., product
                                                        product (e.g., product category,
                                                                               category, price
                                                                                         price
      product
      product
                       range)
                       range)
     attributes
     attributes
                       identifies from
                       identifies from which
                                         which "shards"
                                                  “shards” given
                                                            given data
                                                                    data originated    (i.e., for
                                                                          originated (i.e.,   for systems  too
                                                                                                  systems too
                       large to
                       large  to host in aa single
                                 host in    single machine,
                                                    machine, the
                                                               the system
                                                                    system isis split
                                                                                split into
                                                                                      into different
                                                                                           different shards,
                                                                                                      shards,
    Engineering
    Engineering        each  shard handles
                       each shard   handles different
                                               different parts
                                                         parts of
                                                                of data
                                                                   data and
                                                                         and each
                                                                              each shard
                                                                                     shard consists   of
                                                                                            consists of
    Shard Group
    Shard Group        several
                       several processes).
                                processes). This     identifier allows
                                               This identifier           the engineering
                                                                 allows the   engineering teamteam to
                                                                                                    to identify
                                                                                                       identify
                       if there
                       if there are
                                are certain
                                    certain shards/systems      that are
                                              shards/systems that     are not  meeting performance
                                                                          not meeting     performance
                       expectations.
                       expectations.
     Evaluation
     Evaluation        metrics which can
                       metrics which       be used
                                       can be used to
                                                   to evaluate  the performance
                                                      evaluate the               of AI
                                                                    performance of  AI models
                                                                                       models or
                                                                                              or
      metrics
      metrics          other technical optimizations
                       other technical                (e.g., network
                                        optimizations (e.g., network optimization)
                                                                      optimization)
     Execution
     Execution        tag for
                      tag for moderation
                              moderation purposes   (e.g., pornography,
                                          purposes (e.g.,  pornography, hate
                                                                        hate speech,
                                                                             speech, language) to
                                                                                     language) to
      attribute
     attribute        facilitate
                      facilitate queueing for review
                                 queueing for review
                       randomized   sampling of
                       randomized sampling        users, with
                                               of users, with no identifying information
                                                              no identifying information (will
                                                                                         (will only
                                                                                               only
     Experiment
     Experiment
                       ever be generated
                       ever be  generated by
                                          by the
                                             the TTP,    with no
                                                  TTP, with      ByteDance/TikTok insight
                                                              no ByteDance/TikTok           into
                                                                                    insight into
       group
       group
                       identifiable user
                       identifiable user data)
                                         data)
                    attributes
                    attributes related  to aa mechanism
                                related to    mechanism for
                                                          for controlling
                                                              controlling how
                                                                          how many
                                                                                 many and
                                                                                       and how   fast
                                                                                            how fast
    Flow control
    Flow control    advertisements
                    advertisements should
                                      should bebe delivered to users;
                                                  delivered to users; there
                                                                      there is
                                                                            is aa module
                                                                                  module in  the
                                                                                          in the
                    advertisements
                    advertisements delivery
                                      delivery system   to enable
                                                system to         the mechanism
                                                           enable the  mechanism
  Follow new
  Follow new story  indicates whether
              story indicates  whether aa user
                                           user has  turned on
                                                 has turned on push
                                                               push notifications
                                                                     notifications for
                                                                                    for following
                                                                                        following of
                                                                                                   of
     push off/on
    push  off/on    new   stories
                    new stories
    Follow push
    Follow  push
                       indicates whether
                       indicates whether aa user
                                            user has turned on
                                                 has turned on push
                                                               push notifications
                                                                    notifications for
                                                                                  for follows
                                                                                      follows
       off/on
       off/on

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                                                                                          4565
                                             Protected from
                                             Protected  from Disclosure
                                                             Disclosure Under 5 U.S.C.
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      General
      General
                       general statistics
                       general            (e.g., sum,
                               statistics (e.g., sum, average,
                                                      average, standard
                                                               standard deviation)
                                                                        deviation)
      statistics
      statistics
                       geographic information
                       geographic information (i.e.,
                                               (i.e., country,
                                                      country, state,
                                                               state, county,
                                                                      county, city, Nielsen
                                                                              city, Nielsen
        Geo
        Geo
                       designated
                       designated market
                                  market area)
                                         area)
                       attributes
                       attributes of
                                  of aa live
                                        live streaming
                                             streaming gift,    which users
                                                          gift, which users in  the audience
                                                                             in the audience can
                                                                                             can send to aa
                                                                                                 send to
   Gift attributes
   Gift attributes
                       live
                       live streaming
                            streaming host
                                         host (e.g., gift name,
                                              (e.g., gift        gift price)
                                                          name, gift  price)
     Grade level
     Grade level       user’s age
                       user's  age range
                                   range
       Growth
       Growth          attributes
                       attributes related  to how
                                   related to how TikTok
                                                    TikTok has  acquired aa user
                                                            has acquired          (e.g., advertising
                                                                             user (e.g., advertising
      attributes
      attributes       campaign
                       campaign id,id, media
                                       media source,
                                              source, new   user status,
                                                       new user  status, activation
                                                                         activation date)
                                                                                     date)
                       one  measure of
                       one measure     of users'
                                          users’ engagement   with the
                                                 engagement with    the advertisement
                                                                        advertisement (e.g.,
                                                                                         (e.g., user
                                                                                                user
     Impression
     Impression
                       clicked  like, user
                       clicked like,  user watch
                                            watch advertisement
                                                   advertisement until
                                                                  until completion)
                                                                         completion)
                       indicates whether
                       indicates  whether aa user
                                              user has  turned on
                                                   has turned  on push
                                                                  push notifications
                                                                         notifications for instant
                                                                                       for instant
   Im push
   Im push off/on
           off/on
                       messages
                       messages
  Inner or
  Inner or out
           out app
               app
                       whether aa push
                       whether         is an
                                  push is    in-app notification
                                          an in-app notification or
                                                                 or system
                                                                    system push
                                                                           push notification
                                                                                notification
        push
        push
                       abbreviation   for "invalid
                       abbreviation for   “invalid traffic;"
                                                   traffic;” it
                                                             it relates to advertising
                                                                relates to             traffic that
                                                                           advertising traffic that has
                                                                                                    has
                       been identified
                       been  identified through
                                        through in-house
                                                 in-house oror third
                                                                third party solutions as
                                                                      party solutions as highly  unlikely
                                                                                         highly unlikely
         IVT
         IVT
                       to be
                       to be human-triggered
                             human-triggered and     therefore should
                                                and therefore    should not  be considered
                                                                         not be considered inin
                       aggregated
                       aggregated reporting   for advertisers
                                    reporting for  advertisers
                       video labeling
                       video labeling flag by aa content
                                      flag by            moderator (e.g.,
                                                 content moderator (e.g., violation,
                                                                          violation, video
                                                                                     video not
                                                                                           not
  Labeling results
  Labeling results
                       recommended,
                       recommended, or or pass)
                                          pass)
                       one measure of
                       one measure   of the
                                        the performance
                                            performance of an advertisement
                                                        of an  advertisement (e.g.,
                                                                              (e.g., percentage
                                                                                     percentage
  Lift or
  Lift or Lift
          Lift_study
               study
                       increase in
                       increase in advertiser
                                   advertiser conversions attributable to
                                              conversions attributable to the
                                                                          the advertisement)
                                                                              advertisement)
                       attributes
                       attributes associated with live
                                  associated with live streaming
                                                       streaming activities (e.g., the
                                                                 activities (e.g., the mode of live
                                                                                       mode of live
   Live attributes
   Live attributes
                       streaming:
                       streaming: Open   Broadcaster Studio
                                   Open Broadcaster           (OBS) Studio,
                                                       Studio (OBS)           live studio)
                                                                     Studio, live  studio)
   Live inner
   Live inner push
               push    indicates whether
                       indicates whether aa user
                                            user has turned on
                                                 has turned on push
                                                               push notifications
                                                                    notifications for
                                                                                  for live
                                                                                      live onsite
                                                                                           onsite
        off/on
        off/on         events
                       events
                       indicates whether
                       indicates whether aa user
                                            user has turned on
                                                 has turned on push
                                                               push notifications for live
                                                                    notifications for live offsite
                                                                                           offsite
  Live push
  Live push off/on
            off/on
                       events
                       events
   Media property
   Media property      advertisement
                       advertisement platforms (e.g., Google
                                     platforms (e.g.,        ads, Facebook
                                                      Google ads, Facebook ads,
                                                                           ads, Twitter
                                                                                Twitter ads)
                                                                                        ads)
   Mention push
   Mention push
                       indicates whether
                       indicates whether aa user
                                            user has turned on
                                                 has turned on push
                                                               push notifications for mentions
                                                                    notifications for mentions
      off/on
      off/on
                       indicates whether
                       indicates whether aa user
                                             user is
                                                  is accessing the TikTok
                                                     accessing the TikTok platform through aa wifi
                                                                          platform through    wifi
      Network
      Network
                       network
                       network or
                                or aa cellular
                                      cellular data
                                               data network; the name
                                                    network; the name and  address of
                                                                       and address    the network
                                                                                   of the          is
                                                                                          network is
    environment
    environment
                       not
                       not provided
                           provided
                       attributes
                       attributes related to aa user
                                  related to    user recharge
                                                     recharge or
                                                              or refund
                                                                  refund order
                                                                         order for
                                                                               for sales via the
                                                                                   sales via the TikTok
                                                                                                 TikTok
  Order attributes
  Order attributes
                       platform
                       platform (e.g.,
                                 (e.g., recharge
                                        recharge reason,
                                                  reason, order
                                                          order status)
                                                                 status)
                       indicates whether
                       indicates whether sales
                                          sales orders via the
                                                orders via the TikTok
                                                               TikTok platform
                                                                      platform have
                                                                               have been
                                                                                    been placed,
                                                                                         placed,
    Order status
    Order status
                       paid,
                       paid, shipped,
                             shipped, delivered,
                                      delivered, returned/refunded,
                                                 returned/refunded, or
                                                                    or cancelled
                                                                       cancelled
     Play event
     Play event        event of aa user
                       event of    user playing
                                        playing aa video
                                                   video in
                                                         in the
                                                            the application
                                                                application

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                                            Protected  from Disclosure
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                      indicates whether
                      indicates  whether user
                                          user and
                                               and their
                                                   their device  information is
                                                          device information  is stored
                                                                                 stored in
                                                                                        in pBole;
                                                                                           pBole;
       Pbole
       Pbole
                      pBole  is an
                      pBole is  an internal
                                   internal system  that is
                                            system that  is responsible
                                                            responsible for
                                                                        for push-related
                                                                            push-related activities
                                                                                          activities
                      indicates whether
                      indicates whether user
                                        user and
                                             and device information can
                                                 device information     be pushed
                                                                    can be        through
                                                                           pushed through
   Pbole pushable
   Pbole pushable
                      pBole.
                      pBole.
    Performance
    Performance       designation
                      designation ofof an
                                       an event where aa user
                                          event where     user encounters
                                                               encounters aa problem
                                                                             problem (e.g.,
                                                                                       (e.g., delay,
                                                                                              delay, lag,
                                                                                                     lag,
        event
        event         crash
                      crash (used
                            (used for   improvement/optimization purposes))
                                   for improvement/optimization      purposes))
     Placement
     Placement        settings that allow
                      settings that allow advertisers  to determine
                                           advertisers to             where their
                                                          determine where    their ads will be
                                                                                   ads will  be
      (settings)
      (settings)      delivered  (e.g., TikTok
                      delivered (e.g.,          landing page,
                                        TikTok landing          interspersed in
                                                         page, interspersed   in "For
                                                                                 “For You"
                                                                                      You” feed)
                                                                                             feed)
   Predicted age
   Predicted age
                      user’s age
                      user's     group predicated
                             age group predicated by
                                                  by AI
                                                     AI model
                                                        model
      group
      group
  Predicted gender
  Predicted        user’s gender
            gender user's gender predicted
                                 predicted by
                                           by AI
                                              AI model
                                                 model
                   AI
                   AI models  used to
                      models used  to predict what users
                                      predict what users will
                                                         will like;
                                                              like; prediction
                                                                    prediction model
                                                                                model
             model performance
  Prediction model
  Prediction                    measurements, commonly
                   performance measurements,   commonly referred
                                                           referred toto as “area under
                                                                         as "area under the
                                                                                        the
                   curve”, represents how successful the AI  model
                   curve", represents how successful the AI model is is
                      settings that allow
                      settings that allow advertisers to determine
                                          advertisers to            the goal
                                                         determine the  goal on  which they
                                                                             on which   they will
                                                                                              will be
                                                                                                   be
                      charged;  the possible values are: 1: cpm  (Cost Per Mille);  2: cpc  (Cost
                      charged; the possible values are: 1: cpm (Cost Per Mille); 2: cpc (Cost Per Per
       Pricing
       Pricing        Click); 3: cpt
                      Click); 3:     (Cost Per
                                 cpt (Cost Per Time);
                                               Time); 4:
                                                       4: noc (self-operated non-charging);
                                                          noc (self-operated  non-charging); 5:   gd
                                                                                               5: gd
      (settings)
      (settings)      (Guaranteed delivery);
                      (Guaranteed   delivery); 6:
                                               6: ocpc
                                                  ocpc (Optimization
                                                       (Optimization Cost   Per Click);
                                                                      Cost Per   Click); 7:
                                                                                         7: cpa
                                                                                            cpa (Cost
                                                                                                 (Cost
                      Per Action);
                      Per  Action); 8:
                                    8: ocpm  (Optimization Cost
                                       ocpm (Optimization         Per Mille);
                                                             Cost Per Mille); 9:
                                                                              9: cpv  (Cost Per
                                                                                 cpv (Cost   Per
                      View)
                      View)
    Promoted ad
    Promoted  ad      attributes of the
                      attributes of the promoted   mobile apps
                                         promoted mobile        (e.g., app
                                                          apps (e.g.,  app name
                                                                            name registered  in
                                                                                  registered in
     attributes
     attributes       TikTok   ads platform,
                      TikTok ads              the event
                                    platform, the       type that
                                                  event type that takes
                                                                  takes place  in the
                                                                         place in the app)
                                                                                      app)
     Promoted
     Promoted         types of
                      types of advertising
                               advertising products that TikTok
                                           products that TikTok provides (e.g., dynamic
                                                                provides (e.g., dynamic product
                                                                                        product
      product
      product         ads,
                      ads, coupon
                           coupon ads)
                                  ads)
                      indicates whether
                      indicates whether the
                                         the pSort
                                             pSort system
                                                    system has user or
                                                           has user or device
                                                                       device information;
                                                                              information; pSort is
                                                                                           pSort is
    Psort cover
    Psort cover
                      an
                      an internal
                         internal system  for algorithm-based
                                  system for  algorithm-based push
                                                               push notifications
                                                                    notifications
     Psort send
     Psort send       indicates whether
                      indicates whether the
                                        the pSort
                                            pSort systems sends push
                                                  systems sends push notifications to aa user
                                                                     notifications to    user
   Push attributes
   Push attributes    attributes of the
                      attributes of the push
                                        push notification (e.g., priority
                                             notification (e.g., priority level, timeframe)
                                                                          level, timeframe)
     Push type
     Push type        type of
                      type of push
                              push notification
                                   notification
         PV
         PV           abbreviation for "page
                      abbreviation for “page views"
                                             views”
                     designation
                     designation for
                                 for any
                                     any specific
                                          specific user
                                                   user search  term; to
                                                         search term; to request
                                                                         request aggregated
                                                                                  aggregated results
                                                                                               results
                     associated with that
                     associated with that term
                                          term (e.g.,
                                                (e.g., how
                                                       how many
                                                            many users
                                                                   users have
                                                                         have searched
                                                                               searched for
                                                                                         for
       Query
       Query
                     “superbowl2020”, "charlidamelio",
                     "superbow12020",   “charlidamelio”, "addisonre",
                                                            “addisonre”, etc.
                                                                          etc. during
                                                                               during aa specific
                                                                                         specific
                     period)
                     period)
                    designation  indicating reason
                    designation indicating          for failure
                                             reason for  failure of
                                                                 of aa backend
                                                                       backend request
                                                                                 request (e.g.,
                                                                                         (e.g.,
      Reason
      Reason
                    backend service
                    backend   service is
                                      is not
                                         not available; invalid request)
                                             available; invalid  request)
     Recommend
    Recommend       indicates whether
                    indicates  whether aa user
                                          user has turned on
                                               has turned  on push
                                                               push notification
                                                                      notification for
                                                                                   for recommended
                                                                                       recommended
  video push off/on
  video push        videos
             off/on videos




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                                                                           50 U.S.C.
                                                                              U.S.C. §§ 4565
                                                                                         4565
                                            Protected from
                                            Protected  from Disclosure
                                                            Disclosure Under 5 U.S.C.
                                                                       Under 5 U.S. C. §§ 552
                                                                                          552

                      website
                      web site or
                               or app   that led
                                  app that       the user
                                             led the      to the
                                                     user to the TikTok
                                                                 TikTok platform
                                                                           platform (e.g.,
                                                                                    (e.g., aa user
                                                                                              user
  Referral sources
  Referral sources    searches  for aa topic
                      searches for     topic using
                                              using Google
                                                    Google and    one of
                                                             and one     the search
                                                                      of the  search result  is aa link
                                                                                     result is          to aa
                                                                                                   link to
                      TikTok   video; "Google"
                      TikTok video;     “Google” would
                                                   would bebe the
                                                              the referral
                                                                  referral source)
                                                                           source)
                      attributes
                      attributes of
                                 of users who referred
                                    users who  referred other  users (e.g.,
                                                         other users  (e.g., referral
                                                                             referral action
                                                                                      action date,
                                                                                             date,
    Referral user
    Referral user
                      activation
                      activation channel,
                                  channel, activation
                                           activation date  of referred
                                                       date of           user, and
                                                               referred user,   and other
                                                                                    other common   user
                                                                                           common user
     attributes
     attributes
                      attributes such as
                      attributes such as operating
                                          operating system,
                                                    system, state,
                                                             state, region)
                                                                    region)
      Rule_id
      Rule id         internal unique
                      internal unique id
                                       id of
                                          of security
                                             security control
                                                      control rules
                                                               rules
      Rule hits
      Rule hits       number
                      number of
                             of positive
                                positive hits
                                         hits of
                                              of aa specific
                                                    specific security
                                                             security control
                                                                      control rule
                                                                              rule
                    characteristics
                    characteristics of
                                     of search behavior within
                                        search behavior  within the
                                                                the TikTok
                                                                    TikTok app.(e.g.,  where
                                                                            app.(e.g., where
  Search attributes
  Search            within the
         attributes within the app   the search activity is occurring and the document  type
                                app the search activity is occurring and the document type
                    clocked
                    clocked after
                             after aa given
                                      given search)
                                            search)
   Search channel
   Search channel     attributes of users
                      attributes of users acquired
                                          acquired through
                                                   through search
                                                            search channel (e.g., search
                                                                   channel (e.g., search source,
                                                                                         source,
     attributes
     attributes       search
                      search keyword,   if search
                              keyword, if  search page
                                                  page has
                                                       has result)
                                                           result)
                      source/channel   for the
                      source/channel for   the initiation
                                               initiation of  the search
                                                          of the  search within
                                                                         within the
                                                                                the TikTok
                                                                                    TikTok app    (e.g.,
                                                                                              app (e.g.,
  Search scenario
  Search scenario     tab at
                      tab at the
                             the bottom
                                 bottom of  the app
                                         of the app where
                                                     where the
                                                             the searches
                                                                 searches can  be initiated
                                                                           can be initiated like
                                                                                            like
                      “Discover” tab,
                      "Discover"   tab, "Video"
                                        “Video” tab,
                                                  tab, and
                                                       and "Music"
                                                           “Music” tab)
                                                                      tab)
                      type of
                      type    users who
                           of users who performed search (e.g.,
                                        performed search (e.g., registered user, unregistered
                                                                registered user, unregistered
  Search user
  Search user type
              type
                      user)
                      user)
                      Security
                      Security attributes
                                attributes refer  to security
                                            refer to security control
                                                              control decisions  (e.g., pass,
                                                                      decisions (e.g.,  pass, observe
                                                                                              observe
      Security
      Security
                      and  block) and
                      and block)   and security
                                       security engineering    features (e.g.,
                                                  engineering features  (e.g., type
                                                                               type of
                                                                                    of event,
                                                                                        event, past
                                                                                               past
     attributes
     attributes
                      security verdict of
                      security verdict  of account,
                                            account, account   signup channel)
                                                      account signup  channel)
        Shop
        Shop          seller/shop  that is
                      seller/shop that  is providing   the merchandise
                                           providing the                 (e.g., Nike
                                                           merchandise (e.g.,   Nike official)
                                                                                     official)
      Shopping
     Shopping         designation   for the
                      designation for   the steps  in the
                                            steps in  the in-app
                                                          in-app shopping
                                                                  shopping process    (e.g., viewing,
                                                                             process (e.g.,  viewing,
    process flow
    process  flow     added  to cart, review   cart, checkout)
                      added to cart, review cart, checkout)
      Stages of
      Stages  of      internal steps
                      internal        in the
                               steps in  the ads
                                             ads delivery
                                                 delivery pipeline   (e.g., target
                                                            pipeline (e.g., target setting
                                                                                   setting mapping,
                                                                                            mapping,
   delivery system
   delivery system    regional
                      regional risk-control,
                                risk-control, ads
                                               ads frequency
                                                    frequency control,
                                                               control, ads-blocking, ecpm ranking)
                                                                        ads-blocking,    ecpm   ranking)
       Status of
       Status of
                      user tier
                      user tier by
                                by number
                                   number of followers
                                          of followers
      followship
     follow ship
  Story interaction
  Story interaction   indicates whether
                      indicates whether aa user
                                           user has turned on
                                                has turned on push
                                                              push notifications
                                                                   notifications for
                                                                                 for story
                                                                                     story
     push off/on
    push   off/on     interactions
                      interactions
                      attributes of the
                      attributes of the user
                                        user completed   survey (e.g.,
                                             completed survey   (e.g., questionnaire
                                                                       questionnaire ID,
                                                                                      ID,
  Survey attributes
  Survey attributes
                      questionnaire
                      questionnaire name,
                                      name, questionnaire   type —– long
                                             questionnaire type          text v.
                                                                    long text v. multiple
                                                                                 multiple choice)
                                                                                          choice)
    Tag status &
    Tag status  &     tags for
                      tags for the
                               the audience   targeting implementation;
                                   audience targeting   implementation; they
                                                                          they indicate
                                                                                indicate the
                                                                                         the status
                                                                                             status and
                                                                                                    and
     availability
    availability      availability
                      availability of the tag
                                   of the tag generating
                                               generating process
                                                          process
                      settings  that allow
                      settings that  allow advertisers to set
                                           advertisers to     to whom
                                                          set to whom they
                                                                        they want
                                                                              want their
                                                                                   their ad groups
                                                                                         ad groups
     Targeting
     Targeting
                      delivered;
                      delivered; could   be aa combination
                                  could be     combination of  targeting attributes
                                                            of targeting            and their
                                                                         attributes and  their values
                                                                                               values
     (settings)
     (settings)
                      (e.g., "female
                      (e.g., “female 18-24    users who
                                       18-24 users  who are
                                                        are in
                                                            in NYC")
                                                                NYC”)
     Targeting
     Targeting        attributes that are
                      attributes that     associated with
                                      are associated with aa group
                                                             group that
                                                                   that the
                                                                        the advertiser wants to
                                                                            advertiser wants to target
                                                                                                target
     attributes
     attributes       (e.g., age
                      (e.g., age range, gender, country
                                 range, gender,  country and
                                                         and region,
                                                              region, device
                                                                      device platform)
                                                                              platform)
       Tasks
       Tasks          tasks assigned
                      tasks assigned to
                                     to aa content
                                           content moderator (e.g., labeling
                                                   moderator (e.g., labeling aa video)
                                                                                video)

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                                                                           50 U.S.C.
                                                                              U.S.C. §§ 4565
                                                                                         4565
                                            Protected from
                                            Protected  from Disclosure
                                                            Disclosure Under 5 U.S.C.
                                                                       Under 5 U.S. C. §§ 552
                                                                                          552

                      attributes
                      attributes of
                                 of aa live streaming task,
                                       live streaming    task, which
                                                               which the
                                                                       the operator
                                                                           operator can
                                                                                      can configure  in the
                                                                                          configure in  the
   Task attributes
   Task attributes
                      operation
                      operation platform     (e.g., task
                                 platform (e.g.,    task name,    task time,
                                                          name, task   time, task
                                                                             task config)
                                                                                   config)
                      indicates whether
                      indicates  whether aa user
                                              user device   is in
                                                    device is  in Tbase;
                                                                   Tbase; Tbase
                                                                          Tbase isis an internal system
                                                                                     an internal         that
                                                                                                 system that
        Tbase
        Tbase
                      stores user device
                      stores user device information
                                            information forfor content
                                                               content delivery
                                                                         delivery
                      indicates whether
                      indicates whether aa user
                                           user or
                                                or device is in
                                                   device is in TTPush;
                                                                TTPush; TTPush is an
                                                                        TTPush is an internal
                                                                                     internal
       Ttpush
       Ttpush
                      system  for push
                      system for  push notifications
                                       notifications
                      attributes of aa live
                      attributes of    live streaming
                                            streaming union,
                                                       union, which
                                                              which is
                                                                     is aa business
                                                                           business organization
                                                                                    organization
  Union attributes
  Union attributes    managing
                      managing aa list
                                    list of live streaming
                                         of live streaming hosts (e.g., union
                                                           hosts (e.g., union name,
                                                                               name, country
                                                                                      country of
                                                                                              of aa
                      union)
                      union)
     User active
     User active      user’s historical
                      user's historical engagement with the
                                        engagement with the app (e.g., number
                                                            app (e.g., number of
                                                                              of days the user
                                                                                 days the user is
                                                                                               is
      history
      history         active
                      active in the app)
                             in the app)
                      segment
                      segment users   by source
                                users by          (e.g., paid
                                          source (e.g.,  paid ads,
                                                              ads, referral,
                                                                   referral, organic); location (e.g.,
                                                                             organic); location (e.g.,
   User attributes
   User attributes
                      regions,
                      regions, countries,
                               countries, states);
                                           states); behaviors  (e.g., lifetime,
                                                    behaviors (e.g.,  lifetime, active
                                                                                active date)
                                                                                       date)
   User properties
   User properties    same
                      same as  “User attributes”
                            as "User  attributes"
   User grouping
   User grouping      same
                      same as “User attributes”
                           as "User attributes"
                      designation   for the
                      designation for   the relevant
                                            relevant page   of the
                                                      page of  the TikTok   app (e.g.,
                                                                   TikTok app   (e.g., "For
                                                                                       “For You"
                                                                                               You” feed,
                                                                                                    feed,
   User Scenario
   User Scenario
                      profile,
                      profile, search)
                               search)
                      abbreviation   for "unique
                      abbreviation for   “unique visitor"
                                                  visitor” or  “unique user";
                                                            or "unique  user”; refers  to aa person
                                                                               refers to            who
                                                                                             person who
         UV
         UV           has visited the
                      has visited  the website
                                       website at
                                                at least
                                                   least once
                                                         once and
                                                               and is
                                                                   is counted
                                                                      counted only
                                                                               only once
                                                                                     once in in the
                                                                                                the
                      reporting  time period,
                      reporting time   period, even
                                               even if  through multiple
                                                     if through  multiple sessions
                                                                           sessions
  UX performance
  UXperformance       user experience
                      user experience performance
                                      performance data (e.g., latency,
                                                  data (e.g.,          time to
                                                              latency, time to load first video,
                                                                               load first video,
      metrics
      metrics         crash metrics)
                      crash metrics)
                      designation
                      designation for
                                   for certain video characteristics
                                       certain video                 (e.g., video
                                                     characteristics (e.g., video effects, filters,
                                                                                  effects, filters,
   Video attributes
   Video attributes
                      hashtags,
                      hashtags, music)
                                music)
    Video  content
    Video content     technical attributes
                      technical attributes of the video
                                           of the video content
                                                        content (e.g.,
                                                                (e.g., height, width, resolution,
                                                                       height, width, resolution,
     attribution
     attribution      duration,
                      duration, music,
                                music, album)
                                        album)




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             Material Under Seal
             Material Under      Deleted
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